Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 1 of 347 Page ID #:35




                         Attachment
               Proposed Consent Decree
                   with Appendices
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 2 of 347 Page ID #:36




1     JOHN C. CRUDEN
      Assistant Attorney General
2     U.S. Department of Justice
3     Environment and Natural Resources Division
4     DEBORAH A. GITIN (CA Bar No. 284947)
      KARL J. FINGERHOOD (PA Bar No. 63260)
5     Senior Counsel
6     Environmental Enforcement Section
      Environment and Natural Resources Division
7     301 Howard St., Suite 1050
      San Francisco, CA 94105
8     Telephone: (415) 744-6488
9     Facsimile: (415) 744-6476
      Email: Deborah.Gitin@usdoj.gov
10
            Attorneys for Plaintiff United States of America
11
12    (Names and addresses of attorneys continued on next pages)

13                         UNITED STATES DISTRICT COURT
14                        CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
15
16
17    UNITED STATES OF AMERICA, and
      STATE OF CALIFORNIA, on behalf of
18    the Department of Toxic Substances           Case No.
      Control and Toxic Substances Control
19    Account,
                                                   CONSENT DECREE
20                  Plaintiffs,
21    v.
22    ABEX AEROSPACE, et al.,
23
                     Defendants.
24
25
26
27
28



                                      CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 3 of 347 Page ID #:37




1     HOPE SCHMELTZER
      Assistant Regional Counsel
2
      U.S. Environmental Protection Agency
3     Region 9
4     75 Hawthorne Street
      San Francisco, CA 94105
5     Tel: (415) 972-3218
6     Email: Schmeltzer.Hope@epa.gov
7          Of Counsel for Plaintiff United States of America
8
      KAMALA D. HARRIS
9     Attorney General of California
10    SARAH E. MORRISON
      Supervising Deputy Attorney General
11    OLIVIA W. KARLIN (CA Bar No. 150432)
12    Deputy Attorney General
      300 South Spring Street, Suite 1702
13    Los Angeles, CA 90013
14    Tel.: (213) 897-0473
      Fax: (213) 897-2802
15
      Email: Olivia.Karlin@doj.ca.gov
16
           Attorneys for State of California
17
18    GENE A. LUCERO (CA Bar No. 60252)
19    1462 Claridge Drive
      Beverly Hills, CA 90210
20    Tel: (310) 278-3585
21    Fax: (310) 278-8525
      Email: genelucero213@gmail.com
22
23         Attorney for Defendants Comprising OPOG
24    JOHN D. EDGCOMB
25    Edgcomb Law Group LLP
      One Post Street, Suite 2100
26    San Francisco, CA 94104
27    Tel.: (415) 399-1555
      Email: jedgcomb@edgcomb-law.com
28


                                            ii
                                      CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 4 of 347 Page ID #:38




1     NANCY M. WILMS
      Edgcomb Law Group LLP
2
      333 North Glenoaks Blvd., Suite 610
3     Burbank, CA 91502
4     Tel.: (818) 861-7619
      Email: nwilms@edgcomb-law.com
5
6           Attorneys for McKesson Corporation

7     SUMMER L. NASTICH
8     Morris Polich & Purdy LLP
      One Embarcadero Center
9     Suite 400
10    San Francisco, CA 94111
      Tel: (415) 984-8500
11    Email: SNastich@MPPLAW.com
12
            Attorney for Burke Street LLC and the Stadler Family Limited Partnership
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                           iii
                                     CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 5 of 347 Page ID #:39




1                             TABLE OF CONTENTS
2     I.         BACKGROUND .........................................................................................1

3     II.        JURISDICTION ..........................................................................................5

4     III.       PARTIES BOUND ......................................................................................6

5     IV.        DEFINITIONS.............................................................................................7

6     V.         GENERAL PROVISIONS ........................................................................18

7     VI.        PERFORMANCE OF THE WORK BY SETTLING
                 WORK DEFENDANTS ............................................................................21
8
      VII.       REMEDY REVIEW ..................................................................................25
9
      VIII.      ACCESS ....................................................................................................26
10
      IX.        PERFORMANCE GUARANTEE ............................................................29
11
      X.         OBLIGATIONS OF SETTLING CASH DEFENDANTS .......................37
12
      XI.        PAYMENTS FOR RESPONSE COSTS AND DTSC RESPONSE
13               COSTS .......................................................................................................38
14    XII.       INDEMNIFICATION AND INSURANCE ..............................................44
15    XIII.      FORCE MAJEURE ...................................................................................47
16    XIV.       DISPUTE RESOLUTION .........................................................................49
17    XV.        STIPULATED PENALTIES .....................................................................53
18    XVI.       COVENANTS BY PLAINTIFFS .............................................................59
19    XVII.      COVENANTS BY SETTLING DEFENDANTS .....................................67
20    XVIII. EFFECT OF SETTLEMENT; CONTRIBUTION ....................................74
21    XIX.       ACCESS TO INFORMATION .................................................................77
22    XX.        RETENTION OF RECORDS ...................................................................79
23    XXI.       NOTICES AND SUBMISSIONS .............................................................81
24    XXII.      RETENTION OF JURISDICTION...........................................................83
25    XXIII. APPENDICES ...........................................................................................83
26    XXIV. MODIFICATION ......................................................................................84
27    XXV.       LODGING AND OPPORTUNITY FOR PUBLIC COMMENT .............84
28


                                                           iv
                                                     CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 6 of 347 Page ID #:40




1                                TABLE OF CONTENTS (continued)
2     XXVI. SIGNATORIES/SERVICE .......................................................................85
3     XXVII. FINAL JUDGMENT .................................................................................86
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                     v
                                               CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 7 of 347 Page ID #:41




1     I.      BACKGROUND
2           A.     The United States of America (“United States”), on behalf of the
3     Administrator of the United States Environmental Protection Agency (“EPA”), and
4     the State of California Department of Toxic Substances Control and the Toxic
5     Substances Control Account (“DTSC”), filed a complaint in this matter pursuant to
6     Sections 106 and 107 of the Comprehensive Environmental Response,
7     Compensation, and Liability Act (“CERCLA”), 42 U.S.C. §§ 9606, 9607, and
8     Section 7003 of the Resource Conservation and Recovery Act (“RCRA”), 42
9     U.S.C. § 6973.
10          B.     The United States in its complaint seeks, inter alia: (1) reimbursement
11    of costs incurred by EPA and the Department of Justice (“DOJ”) for certain
12    response actions at Operable Unit 2 (“OU2”) of the Omega Chemical Corporation
13    Superfund Site (“Site”) in Los Angeles County, California, together with accrued
14    interest; and (2) performance of certain response actions by the Settling Defendants
15    at OU2 consistent with the National Contingency Plan, 40 C.F.R. Part 300
16    (“NCP”), and the Statement of Work (“SOW”). In accordance with the NCP and
17    Section 121(f)(1)(F) of CERCLA, 42 U.S.C. § 9621(f)(1)(F), EPA notified the
18    State of California (“State”) on December 21, 2011 of negotiations with potentially
19    responsible parties (“PRPs”) regarding the implementation of remedial design and
20    remedial action for OU2, as described in the SOW, and EPA has provided the State
21    with an opportunity to participate in such negotiations and be a party to this
22    Consent Decree. DTSC is the lead state agency.
23          C.     DTSC alleges, as co-plaintiff in that complaint, that Settling
24    Defendants are liable to DTSC under Section 107 of CERCLA, 42 U.S.C. § 9607,
25    and under Sections 25187 and 25358.3 of the California Health and Safety Code
26    for: (1) reimbursement of certain costs that DTSC has incurred at OU2, together
27    with accrued interest; and (2) performance of certain response actions by the
28


                                              1
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 8 of 347 Page ID #:42




1     Settling Defendants at OU2 consistent with the NCP, 40 C.F.R. Part 300, and the
2     SOW.
3            D.    In accordance with Section 122(j)(1) of CERCLA, 42 U.S.C.
4     § 9622(j)(1), EPA notified the Federal natural resource trustee, the United States
5     Department of the Interior, Fish and Wildlife Service, in January 2012, of
6     negotiations with PRPs regarding the release of hazardous substances that may
7     have resulted in injury to the natural resources under federal trusteeship and
8     encouraged the trustee(s) to participate in the negotiation of this Consent Decree.
9            E.    The defendants that have entered into this Consent Decree (“Settling
10    Defendants”) do not admit any liability to Plaintiffs arising out of the transactions
11    or occurrences alleged in the complaint, nor do they acknowledge that the release
12    or threatened release of hazardous substance(s) at or from OU2 constitutes an
13    imminent and substantial endangerment to the public health or welfare or the
14    environment.
15           F.    Pursuant to Section 105 of CERCLA, 42 U.S.C. § 9605, EPA placed
16    the Site on the National Priorities List, set forth at 40 C.F.R. Part 300, Appendix B,
17    by publication in the Federal Register on January 19, 1999, 64 Fed. Reg. 2950.
18           G.    To date, EPA has divided the Site into three geographically delineated
19    Operable Units (“OUs”) to expedite and streamline investigation and cleanup.
20    OU1 includes the vadose zone soils and shallow groundwater contamination at the
21    former Omega Chemical property and immediate proximity. OU2 is composed of
22    groundwater contamination outside and generally downgradient of OU1. OU3 is
23    composed of indoor air contamination at buildings located in the nearby vicinity of
24    the former Omega Chemical property.
25           H.    Previous response actions at the Site include, without limitation, those
26    described in: (1) a Unilateral Administrative Order issued by EPA to potentially
27    responsible parties (“PRPs”) who arranged for the disposal of at least 10 tons of
28    materials containing hazardous substances at the former Omega Chemical facility;


                                              2
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 9 of 347 Page ID #:43




1     (2) a consent decree (docket no. 00-12471-TJH) entered by the United States
2     District Court for the Central District of California on February 28, 2001, relating
3     to OU1 work; (3) a consent decree (docket 2:10-cv-05051-TJH-PLA) filed on
4     October 6, 2010, relating to additional OU1 work; and (4) an Administrative
5     Settlement Agreement and Order on Consent for Removal Action, signed by EPA
6     in November 2009, relating to OU3 work.
7           I.     In order to determine whether further responses to a release or a
8     substantial threat of a release of a hazardous substance(s) at or from the Site were
9     necessary, EPA commenced in 2001 a Remedial Investigation and Feasibility
10    Study (“RI/FS”) for OU2, pursuant to 40 C.F.R. § 300.430. EPA completed the
11    OU2 RI/FS in August 2010.
12          J.     Pursuant to Section 117 of CERCLA, 42 U.S.C. § 9617, EPA
13    published notice of the completion of the FS and of the proposed plan for remedial
14    action on August 12, 2010 in a local newspaper of general circulation. EPA
15    provided an opportunity for written and oral comments from the public on the
16    proposed plan for OU2 remedial action. A copy of the transcript of the public
17    meeting is available to the public as part of the administrative record upon which
18    the Assistant Director of the Superfund Division, EPA Region 9, based the
19    selection of the response action.
20          K.     The decision by EPA on the remedial action to be implemented for
21    OU2 is embodied in an OU2 Interim Action Record of Decision (“ROD”),
22    executed on September 20, 2011, on which DTSC had a reasonable opportunity to
23    review and comment, and on which DTSC has given its concurrence. The ROD
24    includes a responsiveness summary to the public comments. Notice of the ROD
25    was published in accordance with Section 117(b) of CERCLA, 42 U.S.C.
26    § 9617(b).
27          L.     EPA has begun preparing an Explanation of Significant Differences
28    (“ESD”) to approve other end uses for treated OU2 groundwater analyzed in the


                                                3
                                          CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 10 of 347 Page ID #:44




1     OU2 RI/FS and ROD, as described in Paragraph 1.3(k) of the SOW, and to
2     indicate that circumstances have changed since September 20, 2011 such that
3     drinking water is no longer the preferred end use for extracted OU2 groundwater.
4           M.     Based on the information presently available to EPA and DTSC, EPA
5     and DTSC believe that the Work will be properly and promptly conducted by
6     Settling Work Defendants if conducted in accordance with the requirements of this
7     Consent Decree and its appendices.
8           N.     Solely for the purposes of Section 113(j) of CERCLA, 42 U.S.C.
9     § 9613(j), the remedy set forth in the ROD and the Work to be performed by
10    Settling Work Defendants shall constitute a response action taken or ordered by the
11    President for which judicial review shall be limited to the administrative record.
12          O.     The Work referenced in this Consent Decree does not constitute the
13    entirety of Remedial Design/Remedial Action described in the ROD. Generally
14    speaking, this Work, which is described more particularly in Sections IV
15    (Definitions) and VI (Performance of the Work by Settling Work Defendants) and
16    Appendix B (Statement of Work) below, includes the design, construction, and
17    operation of one or more groundwater extraction and treatment systems to meet
18    Performance Standards identified in the ROD that are applicable to the Northern
19    Extraction (“NE”) Area, the Central Extraction (“CE”) Area, and the northern
20    portion of the Leading Edge (“LE”) Area as depicted in the ROD. (These Areas
21    are collectively referred to herein as the “NE/CE Area.”) The Work also includes
22    certain data collection and analysis activities in the LE Area, and other actions as
23    described herein and in the SOW. The NE, CE, and LE Areas as presented in the
24    ROD and in the Work are depicted more specifically in Appendix C hereto.
25          P.     The Parties agree that additional investigation is needed before
26    designing and implementing remedial action in the LE Area not covered by the CE
27    extraction system. Accordingly, this Consent Decree does not resolve Settling
28    Defendants’ responsibility for future work, if necessary, in the LE. Unless data


                                              4
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 11 of 347 Page ID #:45




1     suggest the need to act sooner, EPA does not currently anticipate future work in the
2     LE beyond what is required as Work in this Consent Decree until EPA evaluates
3     additional groundwater monitoring data collected from existing wells and from the
4     newly installed LE monitoring wells described in the SOW, evaluates the impact of
5     changes in the status of the Dace and Pioneer drinking water wells, and evaluates
6     the status of source control at Leading Edge source properties. It is not yet
7     determined which General Notice Letter or Special Notice Letter recipients at OU2
8     would perform such work, if any such work is needed.
9           Q.     Source Control is not incorporated within this Consent Decree. The
10    implementation of the Work required by this Consent Decree does not eliminate
11    the need for Source Control at particular properties within or adjacent to OU2.
12    Timely Source Control at these individual properties may facilitate the expeditious
13    and cost-effective achievement of the Performance Standards in this Consent
14    Decree and the Remedial Action Objectives of the ROD.
15          R.     The Parties recognize, and the Court by entering this Consent Decree
16    finds, that this Consent Decree has been negotiated by the Parties in good faith and
17    implementation of this Consent Decree will expedite the cleanup of OU2 and will
18    avoid prolonged and complicated litigation between the Parties, and that this
19    Consent Decree is fair, reasonable, and in the public interest.
20          NOW, THEREFORE, it is hereby ordered, adjudged, and decreed:
21    II.     JURISDICTION
22          1.     This Court has jurisdiction over the subject matter of this action
23    pursuant to 28 U.S.C. §§ 1331, 1345, and 1367; CERCLA Sections 106, 107, and
24    113(b), 42 U.S.C. §§ 9606, 9607, and 9613(b); and RCRA Section 7003, 42 U.S.C.
25    § 6973. This Court also has personal jurisdiction over Settling Defendants. Solely
26    for the purposes of this Consent Decree and the underlying complaint, Settling
27    Defendants waive all objections and defenses that they may have to jurisdiction of
28    the Court or to venue in this District. Settling Defendants shall not challenge the


                                              5
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 12 of 347 Page ID #:46




1     terms of this Consent Decree or this Court’s jurisdiction to enter and enforce this
2     Consent Decree. As provided for under Section 113(g)(2) of CERCLA, 42 U.S.C.
3     § 9613(g)(2), this action constitutes an “initial action for the recovery of costs” at
4     the Site within the meaning of that section, and any subsequent action by Plaintiff
5     to recover any response costs under CERCLA Section 107, 42 U.S.C. § 9607, for
6     the Site, not addressed by this Consent Decree, constitutes a “subsequent action”
7     for further response costs within the meaning of Section 113(g)(2).
8     III.    PARTIES BOUND
9            2.    This Consent Decree applies to and is binding upon the United States
10    and DTSC and upon Settling Defendants and their heirs, successors, and assigns.
11    Any change in ownership or corporate status of a Settling Defendant including, but
12    not limited to, any transfer of assets or real or personal property, shall in no way
13    alter such Settling Defendant’s responsibilities under this Consent Decree.
14           3.    Settling Work Defendants shall provide a copy of this Consent Decree
15    to each contractor hired to perform the Work required by this Consent Decree and
16    to each person representing any Settling Work Defendant with respect to OU2 or
17    the Work, and shall condition all contracts entered into hereunder upon
18    performance of the Work in conformity with the terms of this Consent Decree.
19    Settling Work Defendants or their contractors shall provide written notice of the
20    Consent Decree to all subcontractors hired to perform any portion of the Work
21    required by this Consent Decree. Settling Work Defendants shall nonetheless be
22    responsible for ensuring that their contractors and subcontractors perform the
23    Work in accordance with the terms of this Consent Decree. With regard to the
24    activities undertaken pursuant to this Consent Decree, each contractor and
25    subcontractor shall be deemed to be in a contractual relationship with Settling
26    Work Defendants within the meaning of Section 107(b)(3) of CERCLA, 42 U.S.C.
27    § 9607(b)(3).
28


                                               6
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 13 of 347 Page ID #:47




1     IV.     DEFINITIONS
2           4.     Unless otherwise expressly provided in this Consent Decree, terms
3     used in this Consent Decree that are defined in CERCLA or in regulations
4     promulgated under CERCLA shall have the meaning assigned to them in CERCLA
5     or in such regulations. Whenever terms listed below are used in this Consent
6     Decree or its appendices, the following definitions shall apply solely for purposes
7     of this Consent Decree:
8           “CERCLA” shall mean the Comprehensive Environmental Response,
9     Compensation, and Liability Act, 42 U.S.C. §§ 9601-9675.
10          “Certain Noticed PRPs” shall mean certain enumerated persons or entities
11    who received a Special Notice Letter or General Notice Letter from the United
12    States for CERCLA or RCRA liability associated with owning and/or operating
13    property within the Site, and whose liability is not based solely on their having
14    arranged for storage, disposal, or treatment, or for transport for storage, disposal, or
15    treatment, of hazardous substances at the Omega Property. As of the date of
16    lodging of this Consent Decree, the Certain Noticed PRPs and the property or
17    properties associated with such liability are listed in Appendix G. The Certain
18    Noticed PRPs are not the only PRPs that have been identified by EPA at the Site.
19    Nothing in this definition or anywhere in this Consent Decree alters EPA’s prior or
20    subsequent determination that a party who has received, or who will receive, a
21    Special Notice Letter or General Notice Letter is or may be a PRP at the Site.
22          “Certain Other Site Litigation” shall mean any litigation among Settling
23    Defendants and third parties, including: Jennie Aguirre, et al. v. Omega Chemical
24    Corporation, et al., Superior Court, County of Los Angeles, California, Case No.
25    BC 450023 [filed Nov. 24, 2010]; Alcoa Inc., et al. v. APC Investment Co., et al.,
26    United States District Court, Central District of California, Case No. 2:14 CV-
27    06456 GW (EX) [filed Aug. 15, 2014]; Angeles Chemical Company Inc., et al. v.
28    Omega Chemical PRP Group LLC et al., United States District Court, Central


                                              7
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 14 of 347 Page ID #:48




1     District of California, Case No. ED CV 5:07-01471-TJH-E [filed Nov. 7, 2007];
2     Angeles Chemical Company, Inc., et al. v. McKesson Corporation, et al., (and
3     related cross-actions), United States District Court, Central District of California,
4     Case No. 01-10532 TJH (Ex) [filed Dec. 7, 2001]; Omega Chemical PRP Group v.
5     Aaron Thomas Company, Inc., et al., United States District Court, Central District
6     of California, Case No. 2:04 CV-01340 TJH [filed Feb. 27, 2004]; and Omega
7     Chemical PRP Group v. Advanced Packaging Systems, et al., United States
8     District Court, Central District of California, Case No. 2:05 CV-00754 TJH [filed
9     Jan. 31, 2005] .
10           “Consent Decree” or “CD” shall mean this Consent Decree and all
11    appendices attached hereto (listed in Section XXIII). In the event of conflict
12    between this Consent Decree and any appendix, this Consent Decree shall control.
13           “Day” or “day” shall mean a calendar day unless expressly stated to be a
14    working day. The term “working day” shall mean a day other than a Saturday,
15    Sunday, or federal or state holiday. In computing any period of time under this
16    Consent Decree, where the last day would fall on a Saturday, Sunday, or federal or
17    state holiday, the period shall run until the close of business of the next working
18    day.
19           “De Micromis Parties” shall mean those persons whose liability with respect
20    to the Site is based solely on having arranged for disposal or treatment, or for
21    transport for disposal or treatment, of hazardous substances at the Omega Property,
22    or having accepted for transport for disposal or treatment of hazardous substances
23    at the Omega Property, if the disposal, treatment, or transport occurred before
24    April 1, 2001, and the total amount of material containing hazardous substances
25    contributed by such person to the Omega Property was less than one ton, as
26    recorded in the State’s Hazardous Waste Manifest database.
27           “DOJ” shall mean the United States Department of Justice and its successor
28    departments, agencies, or instrumentalities.


                                              8
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 15 of 347 Page ID #:49




1           “DTSC” shall mean the California Department of Toxic Substances Control
2     and the Toxic Substances Control Account and their successor departments,
3     agencies, or instrumentalities.
4           “DTSC Future Response Costs” shall mean all costs, including, but not
5     limited to, direct and indirect costs, that DTSC incurs in connection with OU2 in
6     reviewing or developing plans, reports, and other deliverables submitted pursuant
7     to this Consent Decree, in overseeing implementation of the Work, or otherwise
8     implementing, overseeing, or enforcing this Consent Decree, including, but not
9     limited to, payroll costs, contractor costs, travel costs and laboratory costs, and the
10    costs incurred pursuant to Section VII (Remedy Review), Section VIII (Access)
11    (including, but not limited to, the cost of attorney time and any monies paid to
12    secure access), Paragraph 25 (Funding for Work Takeover), and Paragraph 13
13    (Community Involvement). This term does not encompass any response actions by
14    DTSC in connection with Source Control for properties located within or
15    proximate to the boundaries of OU2, which are outside the Work covered by this
16    Consent Decree.
17          “DTSC Past Response Costs” shall mean all costs, including, but not limited
18    to, direct and indirect costs, that DTSC paid at or in connection with OU2, through
19    June 30, 2015, plus Interest on all such costs that has accrued pursuant to
20    California Health and Safety Code section 25360.1 through such date. DTSC Past
21    Response Costs do not include any DTSC costs specifically related to work at OU1
22    and OU3, including without limitation any costs that DTSC paid at or in
23    connection with any of the following three agreements: the consent decree (docket
24    no. 00-12471-TJH), entered by the United States District Court for the Central
25    District of California on February 28, 2001, relating to OU1 work; the consent
26    decree filed on October 6, 2010 (docket 2:10-cv-05051-TJH-PLA), relating to
27    OU1 work; and the Administrative Settlement Agreement and Order on Consent
28    for Removal Action, signed by EPA in November 2009, relating to OU3. This


                                               9
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 16 of 347 Page ID #:50




1     term also does not encompass any costs incurred by DTSC for response actions in
2     connection with Source Control for properties located within or proximate to the
3     boundaries of OU2, which are outside the Work covered by this Consent Decree.
4            “Effective Date” shall mean the date upon which this Consent Decree is
5     entered by the Court as recorded on the Court docket, or, if the Court instead issues
6     an order approving the Consent Decree, the date such order is recorded on the
7     Court docket.
8            “EPA” shall mean the United States Environmental Protection Agency and
9     its successor departments, agencies, or instrumentalities.
10           “EPA Hazardous Substance Superfund” shall mean the Hazardous
11    Substance Superfund established by the Internal Revenue Code, 26 U.S.C. § 9507.
12           “Federal Interest” shall mean interest at the rate specified for interest on
13    investments of the EPA Hazardous Substance Superfund established by 26 U.S.C.
14    § 9507, compounded annually on October 1 of each year, in accordance with
15    42 U.S.C. § 9607(a). The applicable rate of interest shall be the rate in effect at the
16    time the interest accrues. The rate of interest is subject to change on October 1 of
17    each year. Rates are available online at http://www2.epa.gov/superfund/superfund-
18    interest-rates.
19           “Further Settling De Minimis Parties” shall mean those persons who, after
20    April 1, 2015, have entered or will enter into a final CERCLA Section 122(g) (42
21    U.S.C. § 9622(g)) de minimis settlement with EPA and whose liability with respect
22    to the Site is based solely on having arranged for storage, disposal, or treatment; or
23    for transport for storage, disposal, or treatment, of hazardous substances at the
24    Omega Property before April 1, 2001, and the total amount of material containing
25    hazardous substances contributed by such person is at least one ton but less than
26    three tons, as recorded in the DTSC’s Hazardous Waste Manifest database. Such
27    term does not encompass Previously Settling De Minimis Parties.
28


                                               10
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 17 of 347 Page ID #:51




1           “Further Settlor(s)” shall mean the party or parties described in Paragraph
2     78.
3           “Future Response Costs” shall mean all costs, including, but not limited to,
4     direct and indirect costs, that the United States incurs in connection with OU2 in
5     reviewing or developing plans, reports, and other deliverables submitted pursuant
6     to this Consent Decree, in overseeing implementation of the Work, or otherwise
7     implementing, overseeing, or enforcing this Consent Decree, including, but not
8     limited to, payroll costs, contractor costs, travel costs, laboratory costs, and the
9     costs incurred pursuant to Section VII (Remedy Review), Section VIII (Access)
10    (including, but not limited to, the cost of attorney time and any monies paid to
11    secure access), Paragraph 25 (Funding for Work Takeover), and Paragraph 13
12    (Community Involvement), and including Agency for Toxic Substances and
13    Disease Registry costs relating to the Work. This term does not encompass any
14    direct or indirect costs incurred by the United States in connection with a CERCLA
15    § 122(g) (42 U.S.C. § 9622(g)) de minimis settlement or in connection with Source
16    Control for properties located within or proximate to the boundaries of OU2.
17          “Institutional Controls” or “ICs” shall mean non-engineering controls that
18    will supplement engineering controls to prevent or limit potential exposure to
19    hazardous substances, pollutants, or contaminants at the Site related to the Work
20    and to ensure that the portion of the ROD applicable to the Work is effective. The
21    ICs in the ROD applicable to the Work are informational ICs and include (1)
22    annual notifications to all water rights holders in the Central Basin and other
23    stakeholders, (2) periodic meetings with state and local agencies with jurisdiction
24    over well drilling and groundwater use within the Central Basin, and (3)
25    contemporaneous notifications by such agencies regarding groundwater extraction
26    and well drilling, as described in the SOW.
27          “Interest” shall mean “Federal Interest” for payments to the United States
28    and “State Interest” for payments to DTSC.


                                               11
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 18 of 347 Page ID #:52




1             “Matters Addressed” in this Consent Decree are the Work, Past Response
2     Costs, DTSC Past Response Costs, Future Response Costs, and DTSC Future
3     Response Costs.
4             “McKesson” shall mean McKesson Corporation, a Delaware corporation; its
5     current and former subsidiaries; its successors; its officers, directors, shareholders
6     and employees in the course and scope of their employment or agency; and, for
7     purposes of this Consent Decree only, its indemnitees, Harvey Sorkin and the
8     Estates of Paul Maslin and Seymour Moslin. Any subsidiary or successor is
9     included within the definition of “McKesson” only to the extent that that
10    subsidiary’s or successor’s liability is based on its status as a subsidiary or
11    successor of McKesson Corporation, and not to the extent that its liability arose
12    independently of such status.
13            “National Contingency Plan” or “NCP” shall mean the National Oil and
14    Hazardous Substances Pollution Contingency Plan promulgated pursuant to
15    Section 105 of CERCLA, 42 U.S.C. § 9605, codified at 40 C.F.R. Part 300, and
16    any amendments thereto.
17            “NE/CE Area” shall mean the area described as such in the Statement of
18    Work.
19            “Omega Property” shall mean the property formerly owned by the Omega
20    Chemical Corporation, encompassing approximately one acre, located at 12504
21    and 12512 East Whittier Boulevard, Whittier, California.
22            “Omega PRP Organized Group” or “OPOG” shall refer collectively to the
23    parties listed in Appendix F.
24            “Operable Unit” or “OU” shall mean a discrete action that comprises an
25    incremental step in the remediation of a contaminated site. The cleanup of a site
26    can be divided into a number of operable units, depending on the complexity of the
27    problems associated with the site. Operable units may address geographical
28    portions of a site, specific site problems, or initial phases of an action.


                                               12
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 19 of 347 Page ID #:53




1           “Operation and Maintenance” or “O&M” shall mean all activities required
2     to maintain the effectiveness of the Remedial Action as required under the
3     Operation and Maintenance Plan approved or developed by EPA pursuant to
4     Section VI (Performance of the Work by Settling Work Defendants) and the SOW.
5           “OU2” shall mean the contamination in groundwater generally
6     downgradient of the Omega Property, much of which has commingled with
7     chemicals released at other locations into a regional plume containing multiple
8     contaminants which, when considered in total, is more than four miles long and
9     one mile wide.
10          “Paragraph” shall mean a portion of this Consent Decree identified by an
11    Arabic numeral or an upper or lower case letter.
12          “Parties” shall mean the United States, DTSC, and Settling Defendants.
13          “Past Response Costs” shall mean all costs, including, but not limited to,
14    direct and indirect costs, that the United States paid at or in connection with OU2
15    through the date of lodging of this Consent Decree, plus Interest that has accrued
16    on all such costs pursuant to 42 U.S.C. § 9607(a) through such date. Past
17    Response Costs do not include any costs specifically related to work at OU1 and
18    OU3 and billable by the United States under any of the following three
19    agreements: the consent decree (docket no. 00-12471-TJH), entered by the United
20    States District Court for the Central District of California on February 28, 2001,
21    relating to OU1 work; the consent decree filed on October 6, 2010 (docket 2:10-
22    cv-05051-TJH-PLA), relating to OU1 work; and the Administrative Settlement
23    Agreement and Order on Consent for Removal Action, signed by EPA in
24    November 2009, relating to OU3.
25          “Performance Standards” shall mean the cleanup levels and other measures
26    of achievement of the remedial action objectives, as set forth in the SOW
27    (Paragraph 1.3(c)).
28          “Plaintiffs” shall mean the United States of America and DTSC.


                                              13
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 20 of 347 Page ID #:54




1           “Previously Settling De Minimis Parties” shall mean the parties: (a) who
2     entered into the final CERCLA Section 122(g) (42 U.S.C. § 9622(g)) de minimis
3     settlement with EPA and DTSC dated December 12, 2005; and (b) whose liability
4     at the Site stems solely from their status as arrangers for treatment, storage, or
5     disposal at the Omega Property. A party must meet both criteria (a) and (b) in the
6     preceding sentence in order to be a Previously Settling De Minimis Party.
7           “RCRA” shall mean the Solid Waste Disposal Act, 42 U.S.C. §§ 6901-6992
8     (also known as the Resource Conservation and Recovery Act).
9           “Record of Decision” or “ROD” shall mean the EPA Interim Action Record
10    of Decision relating to OU2, signed on September 20, 2011 by the Assistant
11    Director of the Superfund Division, EPA Region 9, and all attachments thereto.
12    The ROD is attached as Appendix A.
13          “Remedial Action” or “RA” shall mean all activities Settling Defendants are
14    required to perform under the Consent Decree to implement the ROD, in
15    accordance with the SOW, the final approved remedial design submission, the
16    approved Remedial Action Work Plan, and other plans approved by EPA,
17    including the Institutional Controls and Implementation and Assurance Plan
18    (ICIAP), until the Performance Standards are met, and excluding performance of
19    the Remedial Design, O&M, and the activities required under Section XX
20    (Retention of Records).
21          “Remedial Action Work Plan” or “RA Work Plan” shall mean the document
22    developed pursuant to Paragraph 4.1 of the SOW and approved by EPA, and any
23    modifications thereto.
24          “Remedial Design” or “RD” shall mean those activities to be undertaken by
25    Settling Work Defendants to develop the final plans and specifications for the
26    Remedial Action pursuant to the Remedial Design Work Plan.
27
28


                                              14
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 21 of 347 Page ID #:55




1            “Remedial Design Work Plan” or “RD Work Plan” shall mean the document
2     developed pursuant to Paragraph 3.1 of the SOW and approved by EPA, and any
3     modifications thereto.
4            “Section” shall mean a portion of this Consent Decree identified by a Roman
5     numeral.
6            “Settling Cash Defendants” shall mean those Parties listed in Appendix D,
7     who are signatories to this Consent Decree, who will participate in this Consent
8     Decree with the other Parties to this Consent Decree, primarily through cash
9     payments, and are not involved in performing the Work under this Consent Decree.
10    The term “Settling Cash Defendant” shall also apply to certain affiliates of each
11    Settling Cash Defendant; where the Settling Cash Defendant is a trust, its trustees
12    and successor trustees appointed to carry out the purposes of said trust; where the
13    Settling Cash Defendant is a corporate entity, its corporate successors to potential
14    liability for Matters Addressed; and where the Settling Cash Defendant is a
15    partnership, its partners. However, as set out more generally in Paragraph 5.b, the
16    term “Settling Cash Defendant” shall not include any person or entity with liability
17    for OU2 independent of that person’s or entity’s affiliation with a Settling Cash
18    Defendant, including liability for hazardous substances that has not been attributed
19    to a Settling Cash Defendant. Additionally, for each Settling Cash Defendant, the
20    nature of the liability it is settling (i.e., whether it is settling owner/operator
21    liability pursuant to Section 107(a)(1) and/or Section 107(a)(2) of CERCLA, 42
22    U.S.C. §§ 9607(a)(1) and/or 9607(a)(2), arranger liability pursuant to Section
23    107(a)(3) of CERCLA, 42 U.S.C. § 9607(a)(3), or transporter liability pursuant to
24    Section 107(a)(4) of CERCLA, 42 U.S.C. § 9607(a)(4), or some combination of
25    all) is indicated by identifying the specific property or properties associated with
26    the liability in connection with that Settling Cash Defendant’s name in Appendix
27    D. For each Settling Cash Defendant, any potential basis of liability not explicitly
28    described in Appendix D is not resolved in this Consent Decree until such person


                                                15
                                          CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 22 of 347 Page ID #:56




1     or entity has separately settled such liability with the United States or the Settling
2     Work Defendants and this Consent Decree has been modified to reflect the
3     settlement of such liability. Settling Work Defendants, after the Effective Date of
4     this Consent Decree, may propose that a party be removed from the list of Settling
5     Work Defendants listed in Appendix E and added to the list of Settling Cash
6     Defendants listed in Appendix D. Such removal and addition shall be a non-
7     material modification of this Consent Decree, pursuant to Paragraph 95.
8           “Settling Defendants” shall mean the Settling Work Defendants and Settling
9     Cash Defendants.
10          “Settling Work Defendants” or “SWDs” shall mean those Parties identified
11    in Appendix E, who are signatories to this Consent Decree, and who are required
12    to perform the Work, whether they perform the Work individually or through any
13    legal entity that they may establish to perform the Work. The term “Settling Work
14    Defendants” shall also apply to certain affiliates of each Settling Work Defendants:
15    where the Settling Work Defendant is a trust, its trustees and successor trustees
16    appointed to carry out the purposes of said trust; where the Settling Work
17    Defendant is a corporate entity, its corporate successors to potential liability for
18    Matters Addressed; and, where the Settling Work Defendant is a partnership, its
19    partners. However, the term “Settling Work Defendant” shall not include any
20    person or entity with liability for OU2 independent of that person’s or entity’s
21    affiliation with a Settling Work Defendant, including liability for hazardous
22    substances that has not been attributed to a Settling Work Defendant.
23          “Settling Work Defendants’ Project Coordinator” shall mean an individual
24    who represents the SWDs, is responsible for overall coordination of the Work, and
25    satisfies the requirements of Paragraph 10.a(1).
26          “Site” shall mean the Omega Chemical Corporation Superfund Site,
27    originally listed on the National Priorities List on January 19, 1999, 64 Fed. Reg.
28


                                               16
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 23 of 347 Page ID #:57




1     2950, which is located in Los Angeles County, California, and includes the
2     contamination being addressed by multiple Operable Units.
3           “Site Special Account” shall mean the special account, within the EPA
4     Hazardous Substance Superfund, established for the Site by EPA pursuant to
5     Section 122(b)(3) of CERCLA, 42 U.S.C. § 9622(b)(3).
6           “Source Control” shall mean those actions that have been or will be taken at
7     or near a property within or proximate to OU2 to reduce contaminant mass loading
8     to soil and/or groundwater. Source Control actions can include property-specific
9     soil vapor extraction, contaminated soil removal, in situ treatment, or groundwater
10    containment or mass removal actions, as well as any monitoring required to
11    evaluate the need for or the effectiveness of the Source Control actions.
12          “State” shall mean the State of California.
13          “State Interest” shall mean the interest at the rate specified in California
14    Health and Safety Code § 25360.1. The applicable rate of State Interest shall be
15    the rate in effect at the time State Interest accrues.
16          “Statement of Work” or “SOW” shall mean the statement of work for
17    implementation of certain Remedial Design, Remedial Action, O&M, and other
18    activities at OU2, as set forth in Appendix B to this Consent Decree and any
19    modifications made in accordance with this Consent Decree.
20          “Transfer” shall mean to sell, assign, convey, lease, mortgage, or grant a
21    security interest in, or where used as a noun, a sale, assignment, conveyance, or
22    other disposition of any interest by operation of law or otherwise.
23          “United States” shall mean the United States of America and each
24    department, agency, and instrumentality of the United States, including EPA.
25          “Waste Material” shall mean (1) any “hazardous substance” under Section
26    101(14) of CERCLA, 42 U.S.C. § 9601(14); (2) any pollutant or contaminant
27    under Section 101(33), 42 U.S.C. § 9601(33); (3) any “solid waste” under Section
28


                                               17
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 24 of 347 Page ID #:58




1     1004(27) of RCRA, 42 U.S.C. § 6903(27); or as any of the foregoing terms are
2     defined under any appropriate or applicable provisions of California law.
3           “Work” shall mean all activities and obligations Settling Work Defendants
4     are required to perform under this Consent Decree, except the activities required
5     under Section XX (Retention of Records).
6           “Work Area” shall mean the portions of OU2 that are the subject of Work
7     under this Consent Decree and SOW.
8     V.      GENERAL PROVISIONS
9           5.     Objectives of the Parties.
10                a.      The objectives of the Parties in entering into this Consent
11    Decree are to protect public health or welfare or the environment by the design and
12    implementation of response actions at OU2 by Settling Work Defendants, to pay
13    response costs of the Plaintiffs, and to resolve the claims of Plaintiffs against
14    Settling Defendants as provided in this Consent Decree.
15                b.      Specifically, it is the intention of Plaintiffs and Settling
16
      Defendants to address in this Consent Decree certain known liabilities for
17
      hazardous substances associated with OU2 of the Settling Defendants, Previously
18
      and Further Settling De Minimis Parties and De Micromis Parties. The liability
19
      that McKesson is resolving in this Consent Decree is the liability associated with
20
      its ownership and operation of property, and any facilities thereon, located at 9005
21
      Sorenson Ave., Santa Fe Springs, California. The liability that the settling
22
      members of OPOG are resolving in this Consent Decree is their liability for
23
24    arranging for storage, disposal, or treatment, or for transport for storage, disposal,

25    or treatment, of hazardous substances at the Omega Property. For each Settling
26    Cash Defendant, the liability resolved in this Consent Decree is that liability
27    indicated for that Settling Cash Defendant in Appendix D. For any Settling
28    Defendant who joins this Consent Decree after the Effective Date, the liability that


                                               18
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 25 of 347 Page ID #:59




1     that Settling Defendant is resolving will be explicitly indicated in the Appendix or
2     other document that adds that Settling Defendant to the Consent Decree. However,
3     if any person or entity covered by such terms has a separate, independent liability
4     for hazardous substances arising out of ownership or operations of other property
5     with the Site, or arranging for storage, disposal, or treatment, or transport for
6     storage, disposal, or treatment, of hazardous substances to other property within
7
      the Site, which is not specifically settled by this Consent Decree, the terms
8
      “Settling Defendants,” “Settling Cash Defendants,” “Settling Work Defendants,”
9
      “Previously Settling De Minimis Parties,” “Further Settling De Minimis Parties”
10
      and “De Micromis Parties” do not encompass such separate, independent liability,
11
      nor do the covenants, waivers, contribution protection, or other benefits and
12
      obligations tied to such categories in this Consent Decree attach to such person or
13
14    entity for such separate liability until specifically resolved and addressed by this

15    Consent Decree. The specific property or properties associated with the liability of
16    Settling Cash Defendants for hazardous substances addressed by this Consent
17    Decree are set out in Appendix D and for Settling Work Defendants in Appendix
18    E.
19          6.     Agency Coordination. EPA is the lead agency under the National
20    Contingency Plan (“NCP”) for overseeing the implementation of the response
21    actions at the Site. DTSC is a support agency, as defined in the NCP, 40 C.F.R. §
22    300.515(a). It is EPA’s and DTSC’s intention to reduce unnecessary duplication
23    of effort between these agencies, while allowing DTSC to fulfill its role as a
24    support agency under the NCP. Should the Settling Work Defendants have
25    concerns about lack of coordination and unnecessary duplication of effort, the
26    Settling Work Defendants may address such concerns in accordance with the
27    dispute resolution provisions of Paragraph 31.b (Contesting DTSC Future
28    Response Costs).


                                               19
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 26 of 347 Page ID #:60




1           7.     Commitments by Settling Defendants.
2                 a.     Settling Work Defendants shall finance and perform the Work
3     in accordance with this Consent Decree, the SOW, and all work plans and other
4     plans, standards, specifications, and schedules set forth in this Consent Decree or
5     developed by Settling Work Defendants and approved by EPA pursuant to this
6     Consent Decree. Settling Work Defendants shall pay the United States for Past
7     Response Costs and Future Response Costs, and shall pay DTSC for DTSC Past
8     Response Costs and DTSC Future Response Costs, as provided in this Consent
9     Decree.
10                b.     The obligations of Settling Work Defendants to finance and
11    perform the Work, including obligations to pay amounts due under this Consent
12    Decree, are joint and several. In the event of the insolvency of any Settling Work
13    Defendant or the failure by any Settling Work Defendant to implement any
14    requirement of this Consent Decree, the remaining Settling Work Defendants shall
15    complete all such requirements.
16                c.     This Consent Decree does not obligate Settling Work
17    Defendants to provide water from the Work for drinking water use or to perform
18    further analysis of the drinking water end use.
19                d.     The Settling Cash Defendants shall cooperate with the EPA and
20    DTSC and the Settling Work Defendants to effectuate the purposes of this Consent
21    Decree, including, but not limited to, those obligations set forth in Section X
22    (Obligations of Settling Cash Defendants).
23          8.     Compliance With Applicable Law. All activities undertaken by
24    Settling Work Defendants pursuant to this Consent Decree shall be performed in
25    accordance with the requirements of all applicable federal and state laws and
26    regulations. Settling Work Defendants must also comply with all applicable or
27    relevant and appropriate requirements of all federal and state environmental laws
28    as set forth in the ROD, applicable to the Work covered in this Consent Decree and


                                              20
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 27 of 347 Page ID #:61




1     the SOW. The activities conducted pursuant to this Consent Decree, if approved
2     by EPA, shall be deemed to be consistent with the NCP as provided in Section
3     300.700(c)(3)(ii) of the NCP.
4           9.     Permits.
5                 a.      As provided in Section 121(e) of CERCLA, 42 U.S.C. §
6     9621(e), and Section 300.400(e) of the NCP, no permit shall be required for any
7     portion of the Work conducted entirely within the areal extent of contamination or
8     in very close proximity to the contamination and necessary for implementation of
9     the Work. Where any portion of the Work does require a federal or state permit or
10    approval, Settling Work Defendants shall submit timely and complete applications
11    and take all other actions necessary to obtain all such permits or approvals. The
12    EPA and DTSC agree to cooperate with and assist the Settling Work Defendants in
13    obtaining any necessary permits or approvals.
14                b.      Settling Work Defendants may seek relief under the provisions
15    of Section XIII (Force Majeure) for any delay in the performance of the Work
16    resulting from a failure to obtain, or a delay in obtaining, any permit or approval
17    referenced in Paragraph 9.a and required for the Work, provided that they have
18    submitted timely and complete applications and taken all other actions necessary to
19    obtain all such permits or approvals.
20                c.      This Consent Decree is not, and shall not be construed to be, a
21    permit issued pursuant to any federal or state statute or regulation.
22    VI.     PERFORMANCE OF THE WORK BY SETTLING WORK
23            DEFENDANTS
24          10.    Coordination and Supervision.
25                 a.     Project Coordinators.
26                        (1)   Settling Work Defendants’ Project Coordinator must
27    have sufficient technical expertise to coordinate the Work. Settling Work
28    Defendants’ Project Coordinator may not be an attorney representing any Settling


                                              21
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 28 of 347 Page ID #:62




1     Work Defendants in this matter and may not act as the Supervising Contractor.
2     Settling Work Defendants’ Project Coordinator may assign other representatives,
3     including other contractors, to assist in coordinating the Work.
4                        (2)    EPA shall designate and notify the Settling Work
5     Defendants of its Project Coordinator and Alternate Project Coordinator. EPA
6     may designate other representatives, which may include its employees, contractors
7     and/or consultants, to oversee the Work. EPA’s Project Coordinator/Alternate
8     Project Coordinator will have the same authority as a remedial project manager
9     and/or an on-scene coordinator, as described in the NCP. This includes the
10    authority to halt or modify the Work, and/or to conduct or direct any necessary
11    response action in response to his or her determination that conditions at the Work
12    Area constitute an emergency or may present an immediate threat to public health
13    or welfare or the environment due to a release or threatened release of Waste
14    Material.
15                       (3)    DTSC shall designate and notify EPA and the Settling
16    Work Defendants of its Project Coordinator and Alternate Project Coordinator.
17    DTSC may designate other representatives, including its employees, contractors
18    and/or consultants to oversee the Work. For any in-person meetings and
19    inspections in which EPA’s Project Coordinator participates, DTSC’s Project
20    Coordinator also may participate. Settling Work Defendants shall notify DTSC
21    reasonably in advance of any such in-person meetings or inspections.
22                 b.    Supervising Contractor. Settling Work Defendants’ proposed
23    Supervising Contractor must have a quality assurance system that complies with
24    ANSI/ASQC E4-2004, Quality Systems for Environmental Data and Technology
25    Programs: Requirements with Guidance for Use (American National Standard).
26                 c.    Procedures for Disapproval/Notice to Proceed.
27                       (1)    Settling Work Defendants shall designate, and notify
28    EPA within ten (10) days after the Effective Date, of the name[s], contact


                                             22
                                       CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 29 of 347 Page ID #:63




1     information, and qualifications of the Settling Work Defendants’ proposed Project
2     Coordinator. Settling Work Defendants’ obligation to designate a Supervising
3     Contractor begins on the due date of the Preliminary Remedial Design Report as
4     defined in the SOW. Settling Work Defendants shall notify EPA of the name,
5     contact information, and qualifications of the Settling Work Defendants’ proposed
6     Supervising Contractor on that due date; or earlier, if the Supervising Contractor
7     will be used prior to the completion of the Preliminary Remedial Design Report.
8                        (2)    EPA, after a reasonable opportunity for review and
9     comment by DTSC, shall issue notices of disapproval and/or authorizations to
10    proceed regarding the proposed Project Coordinator and Supervising Contractor, as
11    applicable. If EPA issues a notice of disapproval, Settling Work Defendants shall,
12    within thirty (30) days, submit to EPA a list of supplemental proposed Project
13    Coordinators and/or Supervising Contractors, as applicable, including a description
14    of the qualifications of each. EPA shall issue a notice of disapproval or
15    authorization to proceed regarding each supplemental proposed coordinator and/or
16    contractor. Settling Work Defendants may select any coordinator/contractor
17    covered by an authorization to proceed and shall, within twenty-one (21) days,
18    notify EPA of Settling Work Defendants’ selection.
19                       (3)    Settling Work Defendants may change their Project
20    Coordinator and/or Supervising Contractor, as applicable, by following the
21    procedures of Paragraphs 10.c(1) and 10.c(2).
22          11.    Performance of Work in Accordance with SOW. Settling Work
23    Defendants shall: (a) develop the RD; (b) perform the RA; (c) complete any other
24    obligations prescribed in the SOW; and (d) operate, maintain, and monitor the
25    effectiveness of the RA; all in accordance with the SOW and all EPA-approved,
26    conditionally-approved, or modified deliverables as required by the SOW. All
27    deliverables required to be submitted for approval under the CD or SOW shall be
28


                                             23
                                       CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 30 of 347 Page ID #:64




1     subject to approval by EPA in accordance with Paragraph 7.6 (Approval of
2     Deliverables) of the SOW.
3           12.    Emergencies and Releases. Settling Work Defendants shall comply
4     with the emergency and release response and reporting requirements under
5     Paragraph 4.4 (Emergency Response and Reporting) of the SOW. Subject to
6     Section XVI (Covenants by Plaintiffs), nothing in this CD, including Paragraph 4.4
7     of the SOW, limits any authority of Plaintiffs: (a) to take all appropriate action to
8     protect human health and the environment or to prevent, abate, respond to, or
9     minimize an actual or threatened release of Waste Material on, at, or from the
10    Work Area, or (b) to direct or order such action, or seek an order from the Court, to
11    protect human health and the environment or to prevent, abate, respond to, or
12    minimize an actual or threatened release of Waste Material on, at, or from the
13    Work Area. If, due to Settling Work Defendants’ failure to take appropriate
14    response action under Paragraph 4.4 of the SOW, EPA or, as appropriate, DTSC
15    takes such action instead, Settling Work Defendants shall reimburse EPA and
16    DTSC under Section XI (Payments for Response Costs and DTSC Response
17    Costs) for all costs of the response action.
18          13.    Community Involvement. If requested by EPA, Settling Work
19    Defendants shall support community involvement activities under EPA’s oversight
20    as provided for in, and in accordance with, the SOW. Such activities may include,
21    but are not limited to, designation of a Community Involvement Coordinator.
22    Costs incurred by the United States under this Section constitute Future Response
23    Costs to be reimbursed under Section XI (Payments for Response Costs and DTSC
24    Response Costs).
25          14.    Modification of SOW or Related Deliverables.
26                 a.     If EPA determines that it is necessary to modify the work
27    specified in the SOW and/or in deliverables developed under the SOW in order to
28    achieve and/or maintain the Performance Standards or to carry out and maintain


                                              24
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 31 of 347 Page ID #:65




1     the effectiveness of the RA, and such modification is consistent with the Scope of
2     the Remedy set forth in Paragraph 1.3 of the SOW, then EPA may notify Settling
3     Work Defendants of such modification. If Settling Work Defendants object to the
4     modification they may, within thirty (30) days after EPA’s notification, seek
5     dispute resolution under Section XIV.
6                   b.    The SOW and/or related deliverables shall be modified: (1) in
7     accordance with the modification issued by EPA; or (2) if Settling Work
8     Defendants invoke dispute resolution, in accordance with the final resolution of the
9     dispute. The modification shall be incorporated into and enforceable under this
10    CD, and Settling Work Defendants shall implement all work required by such
11    modification. Settling Work Defendants shall incorporate the modification into the
12    deliverable required under the SOW, as appropriate.
13                  c.    Nothing in this Paragraph shall be construed to limit EPA’s
14    authority to require performance of further response actions as otherwise provided
15    in this CD.
16           15.    Nothing in this CD, the SOW, or any deliverable required under the
17    SOW constitutes a warranty or representation of any kind by Plaintiffs that
18    compliance with the work requirements set forth in the SOW or related deliverable
19    will achieve the Performance Standards.
20    VII.    REMEDY REVIEW
21           16.    Periodic Review. Settling Work Defendants shall conduct any studies
22    and investigations that EPA requests in order to permit EPA to conduct reviews of
23    whether the Remedial Action is protective of human health and the environment at
24    least every five (5) years as required by Section 121(c) of CERCLA, 42 U.S.C.
25    § 9621(c), and any applicable regulations.
26
27
28


                                             25
                                       CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 32 of 347 Page ID #:66




1     VIII.    ACCESS
2             17.   If properties in the Work Area, or any other real property where
3     access and/or land/water use restrictions are needed in connection with the Work,
4     are owned or controlled by any of Settling Defendants:
5                   a.    such Settling Defendant(s) shall, commencing on the date of
6     lodging of this Consent Decree, upon reasonable notice (generally not less than 48
7     hours for unoccupied properties), provide the United States and the State, and their
8     representatives, including EPA, DTSC and their contractors, and Settling Work
9     Defendants and their contractors and representatives, with access at all reasonable
10    times to that portion of the Work Area, or such other real property, for the purpose
11    of conducting any activity regarding the Consent Decree including, but not limited
12    to, the following activities:
13                        (1)    Monitoring the Work;
14                        (2)    Verifying any data or information submitted to the
15    United States or DTSC;
16                        (3)    Conducting investigations pursuant to the SOW
17    regarding contamination at or near the Work Area;
18                        (4)    Obtaining samples pursuant to the SOW;
19                        (5)    Assessing the need for, planning, or implementing
20    additional response actions at or near the Work Area consistent with the terms of
21    this Consent Decree and in a manner intended to minimize disruption to the
22    ongoing conduct of any business on such property;
23                        (6)    Assessing implementation of quality assurance and
24    quality control practices as defined in the approved CQA Plan;
25                        (7)    Implementing the Work pursuant to the conditions set
26    forth in Paragraph 63 (Work Takeover);
27
28


                                              26
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 33 of 347 Page ID #:67




1                         (8)   Inspecting and copying records, operating logs, contracts,
2     or other documents maintained or generated by Settling Defendants or their agents,
3     consistent with Section XIX (Access to Information);
4                         (9)   Assessing Settling Defendants’ compliance with the
5     Consent Decree; and
6                         (10) Determining whether the property in the Work Area or
7     such other real property is being used in a manner that is prohibited or restricted, or
8     that may need to be prohibited or restricted, under the Consent Decree; and
9                  b.     commencing on the date of lodging of the Consent Decree, such
10    Settling Defendant(s) shall not use property within the Work Area, or such other
11    real property, in any manner that EPA or DTSC determines will pose an
12    unacceptable risk to human health or to the environment due to exposure to Waste
13    Material, or interfere with or adversely affect the implementation, integrity, or
14    protectiveness of the Remedial Action or O&M.
15          18.    If property at the Work Area, or any other real property where access
16    is needed in connection with the Work, is owned or controlled by persons other
17    than any Settling Defendant:
18                 a.     Settling Work Defendants shall use best efforts to secure from
19    such persons:
20                        (1)   an agreement to provide access thereto for the United
21    States, DTSC, and Settling Work Defendants, and their representatives,
22    contractors, and subcontractors, to conduct any activity regarding the Consent
23    Decree including, but not limited to, the activities listed in Paragraph 17.a; and
24                        (2)   if EPA so requests, an agreement, enforceable by Settling
25    Work Defendants, the United States, and DTSC, (i) to provide the access described
26    in Paragraph 17.a, and (ii) to refrain from using such property in any manner that
27    EPA or DTSC determines will pose an unacceptable risk to human health or to the
28


                                              27
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 34 of 347 Page ID #:68




1     environment due to exposure to Waste Material, or interfere with or adversely
2     affect the implementation, integrity, or protectiveness of the Remedial Action.
3                    b.    All other obligations on the part of Settling Work Defendants to
4     implement Institutional Controls in the Work Area shall be set forth in the
5     Institutional Control Implementation and Assurance Plan (“ICIAP”) consistent
6     with Paragraph 7.7(h) of the SOW.
7           19.      For purposes of Paragraph 18.a, “best efforts” includes the offer of
8     payment of commercially reasonable sums of money to obtain access. However,
9     in no event shall Settling Work Defendants be required to pay money to secure an
10    agreement to refrain from using property as described in Paragraph 18.a.(2)(ii), to
11    any party to whom EPA has sent a General Notice Letter or Special Notice Letter
12    regarding OU2. If, within forty-five (45) days after the Preliminary Remedial
13    Design is approved, unless the Parties agree to a different time frame, Settling
14    Work Defendants have not obtained agreements as required by Paragraph 18.a(1)
15    or 18.a.(2), Settling Work Defendants shall promptly notify the United States in
16    writing, and shall include in that notification a summary of the steps that Settling
17    Work Defendants have taken to attempt to comply with Paragraph 18. The United
18    States or DTSC may, as they deem appropriate, assist Settling Work Defendants in
19    obtaining such agreements. Settling Work Defendants shall reimburse the United
20    States and DTSC under Section XI (Payments for Response Costs and DTSC
21    Response Costs) for all costs incurred, direct or indirect, by the United States and
22    DTSC in obtaining such agreements, including, but not limited to, the cost of
23    attorney time and the amount of monetary consideration paid or just compensation.
24          20.      Notwithstanding any provision of the Consent Decree, the United
25    States and DTSC retain all of their access authorities and rights, as well as all of
26    their rights to require Institutional Controls, including enforcement authorities
27    related thereto, under CERCLA, RCRA, and any other applicable statute or
28    regulations.


                                               28
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 35 of 347 Page ID #:69




1     IX.     PERFORMANCE GUARANTEE
2           21.    In order to ensure the full and final completion of the Work, Settling
3     Work Defendants shall establish and maintain a performance guarantee, initially in
4     the amount of seventy million dollars ($70,000,000), for the benefit of EPA
5     (hereinafter “Estimated Cost of the Work”). If the Settling Work Defendants use
6     the mechanisms described in Subparagraphs 21.a., 21.b., 21.c, or 21.d., the
7     Performance Guarantee may be allocated among the Settling Work Defendants as
8     the Settling Work Defendants agree among themselves so long as the aggregated
9     total equals seventy million dollars ($70,000,000). The performance guarantee
10    must be one or more of the mechanisms listed below and, if applicable, in a form
11    substantially identical to the relevant sample documents available from the
12    “Financial Assurance” category on the Cleanup Enforcement Model Language and
13    Sample Documents Database at http://cfpub.epa.gov/compliance/models/, and
14    satisfactory to EPA. If a Settling Work Defendant intends to use multiple
15    mechanisms, such multiple mechanisms shall be limited to surety bonds
16    guaranteeing payment, letters of credit, trust funds, and insurance policies.
17                a.      A surety bond unconditionally guaranteeing payment and/or
18    performance of the Work that is issued by a surety company among those listed as
19    acceptable sureties on federal bonds as set forth in Circular 570 of the U.S.
20    Department of the Treasury;
21                b.      One or more irrevocable letters of credit, payable to or at the
22    direction of EPA, that is issued by one or more financial institution(s) (1) that has
23    the authority to issue letters of credit and (2) whose letter-of-credit operations are
24    regulated and examined by a federal or state agency;
25                c.      A trust fund established for the benefit of EPA that is
26    administered by a trustee (1) that has the authority to act as a trustee and (2) whose
27    trust operations are regulated and examined by a federal or state agency;
28


                                               29
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 36 of 347 Page ID #:70




1                 d.      A policy of insurance that (1) provides EPA with acceptable
2     rights as a beneficiary thereof; and (2) is issued by an insurance carrier (i) that has
3     the authority to issue insurance policies in the applicable jurisdiction(s) and
4     (ii) whose insurance operations are regulated and examined by a federal or state
5     agency;
6                 e.      A demonstration by one or more Settling Work Defendants that
7     each such Settling Work Defendant meets the relevant financial test criteria of 40
8     C.F.R. § 264.143(f) and reporting requirements of this Section with respect to the
9     Estimated Cost of the Work (plus the amount(s) of any other federal or any state
10    environmental obligations financially assured through the use of a financial test or
11    guarantee). Such demonstration shall be made in accordance with the
12    requirements of 40 C.F.R. § 264.143(f)(3);
13                f.      A demonstration by one or more Settling Work Defendants, but
14    in no event more than three Settling Work Defendants, that each such Settling
15    Work Defendant meets the relevant financial test criteria of 40 C.F.R.
16    § 264.143(f)(1)(i) or (ii), and the reporting requirements of this Section with
17    respect to the Estimated Cost of the Work (plus the amount(s) of any other federal
18    or any state environmental obligations financially assured through the use of a
19    financial test or guarantee). The demonstration shall be made by:
20                        (i) submission of each such Settling Work Defendant’s
21    independently audited financial statements (e.g., a 10-K report submitted to the
22    Securities and Exchange Commission), including a letter signed by that Settling
23    Work Defendant’s chief financial officer certifying the integrity and accuracy of
24    the financial data, as required pursuant to the Sarbanes-Oxley Act of 2002, 15
25    U.S.C. § 7241, and certifying that such Settling Work Defendant meets the criteria
26    of 40 C.F.R. § 264.143(f)(1)(i) or (ii), and including a copy of the independent
27    certified public accountant’s report on examination of such Settling Work
28    Defendant’s financial statements for the latest completed fiscal year; and


                                               30
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 37 of 347 Page ID #:71




1                         (ii) if a Settling Work Defendant applies the criteria of 40
2     C.F.R. § 264.143(f)(1)(ii), a report, including a printout from ratings available
3     online, from the Standard and Poor’s or Moody’s ratings services indicating the
4     current bond rating for that Settling Work Defendant.
5           The foregoing demonstration requirements are in lieu of the requirements of
6     40 C.F.R. § 264.143(f)(3). The use of the demonstration methods described in this
7     Subparagraph 21.f.(i) and 21.f.(ii) is a permissible option for this Consent Decree
8     only because it was used in the previous consent decree filed on October 6, 2010
9     (docket 2:10-cv-05051-TJH-PLA), relating to OU1 work at this Site; or
10                g.      A written guarantee to fund or perform the Work executed in
11    favor of EPA by one or more of the following: (1) a direct or indirect parent
12    company of a Settling Work Defendant, or (2) a company that has a “substantial
13    business relationship” (as defined in 40 C.F.R. § 264.141(h)) with at least one
14    Settling Work Defendant; provided, however, that any company providing such a
15    guarantee must demonstrate to the satisfaction of EPA that it satisfies the relevant
16    financial test criteria of 40 C.F.R. § 264.143(f) and reporting requirements of this
17    Section with respect to the Estimated Cost of the Work (plus the amount(s) of any
18    other federal or any state environmental obligations financially assured through the
19    use of a financial test or guarantee) that it proposes to guarantee hereunder.
20          22.    Settling Work Defendants have selected, and EPA has found
21    satisfactory, as an initial performance guarantee a demonstration pursuant to
22    Paragraph 21.f, in the form attached hereto as Appendix H. Within thirty (30) days
23    after the Effective Date, Settling Work Defendants shall secure all executed and/or
24    otherwise finalized mechanisms or other documents consistent with the form of
25    performance guarantee attached as Appendix H, and shall submit such mechanisms
26    and documents to the EPA Regional Financial Management Officer in accordance
27    with Section XXI (Notices and Submissions), with copies to the United States,
28    EPA, and DTSC as specified in Section XXI.


                                              31
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 38 of 347 Page ID #:72




1           23.     If, at any time after the Effective Date and before EPA’s issuance of
2     the Certification of Work Completion pursuant to Paragraph 4.7 of the SOW,
3     Settling Work Defendants provide a performance guarantee for completion of the
4     Work by means of a demonstration or guarantee pursuant to Paragraph 21.e, 21.f,
5     or 21.g, the relevant Settling Work Defendants shall also comply with the other
6     relevant requirements of 40 C.F.R. § 264.143(f) and this Section, including but not
7     limited to:
8                   a.     the initial submission to EPA of required financial reports and
9     statements from the relevant entity’s chief financial officer (“CFO”) and
10    independent certified public accountant (“CPA”) no later than thirty (30) days after
11    the Effective Date, in the form prescribed by EPA in its financial test sample CFO
12    letters and CPA reports available at:
13    http://cfpub.epa.gov/compliance/models/view.cfm?model_ID=573, or in the form
14    prescribed in Appendix H (CERCLA Performance Guarantee Sample Letter), as
15    applicable;
16                  b.    the annual resubmission of such reports and statements within
17    ninety (90) days after the close of each such entity’s fiscal year; and
18                  c.    the prompt notification of EPA and DTSC after each such
19    entity determines that it no longer satisfies the financial test criteria and
20    requirements set forth at 40 C.F.R. § 264.143(f)(1) and in any event within ninety
21    (90) days after the close of any fiscal year in which such entity no longer satisfies
22    such financial test requirements. For purposes of the performance guarantee
23    mechanisms specified in this Section IX, references in 40 C.F.R. Part 264, Subpart
24    H, to “closure,” “post-closure,” and “plugging and abandonment” shall be deemed
25    to include the Work; the terms “current closure cost estimate,” “current post-
26    closure cost estimate,” and “current plugging and abandonment cost estimate” shall
27    be deemed to include the Estimated Cost of the Work; the terms ”owner” and
28    “operator” shall be deemed to refer to each Settling Work Defendant making a


                                               32
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 39 of 347 Page ID #:73




1     demonstration or obtaining a guarantee under Paragraph 21.e, 21.f, or 21.g; and the
2     terms “facility” and “hazardous waste facility” shall be deemed to include the
3     Work Area.
4           24.    In the event that EPA determines at any time that a performance
5     guarantee provided by any Settling Work Defendant pursuant to this Section is
6     inadequate or otherwise no longer satisfies the requirements set forth in this
7     Section, whether due to an increase in the estimated cost of completing the Work
8     or for any other reason, or in the event that any Settling Work Defendant becomes
9     aware of information indicating that a performance guarantee provided pursuant to
10    this Section is inadequate or otherwise no longer satisfies the requirements set
11    forth in this Section, whether due to an increase in the estimated cost of completing
12    the Work or for any other reason, Settling Work Defendants, within thirty (30)
13    days after receipt of notice of EPA’s determination or, as the case may be, within
14    thirty (30) days after any Settling Work Defendant becoming aware of such
15    information, shall obtain and present to EPA for approval a proposal for a revised
16    or alternative form of performance guarantee listed in Paragraph 21 that satisfies
17    all requirements set forth in this Section IX; provided, however, that if any Settling
18    Work Defendant cannot obtain such revised or alternative form of performance
19    guarantee within such 30-day period, and provided further that the Settling Work
20    Defendant shall have commenced to obtain such revised or alternative form of
21    performance guarantee within such 30-day period, and thereafter diligently
22    proceeds to obtain the same, EPA shall extend such period for such time as is
23    reasonably necessary for the Settling Work Defendant in the exercise of due
24    diligence to obtain such revised or alternative form of performance guarantee, such
25    additional period not to exceed sixty (60) days. On day 30, Settling Work
26    Defendants shall provide to EPA and DTSC a status report on its efforts to obtain
27    the revised or alternative form of guarantee. In seeking approval for a revised or
28    alternative form of performance guarantee, Settling Work Defendants shall follow


                                              33
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 40 of 347 Page ID #:74




1     the procedures set forth in Paragraph 26.b(2). Settling Work Defendants’ inability
2     to post a performance guarantee for completion of the Work shall in no way excuse
3     performance of any other requirements of this Consent Decree, including, without
4     limitation, the obligation of Settling Work Defendants to complete the Work in
5     strict accordance with the terms of this Consent Decree.
6           25.    Funding for Work Takeover. The commencement of any Work
7     Takeover pursuant to Paragraph 63 shall trigger EPA’s right to receive the benefit
8     of any performance guarantee(s) provided pursuant to Paragraphs 21.a, 21.b, 21.c,
9     or 21.d, and at such time EPA shall have immediate access to resources guaranteed
10    under any performance guarantee(s) provided pursuant to Paragraphs 21.a, 21.b,
11    21.c, or 21.d, whether in cash or in kind, as needed to continue and complete the
12    Work assumed by EPA under the Work Takeover. Upon the commencement of
13    any Work Takeover, if (a) for any reason EPA is unable to promptly secure the
14    resources guaranteed under any such performance guarantee(s), whether in cash or
15    in kind, necessary to continue and complete the Work assumed by EPA under the
16    Work Takeover, or (b) in the event that the performance guarantee involves a
17    demonstration of satisfaction of the financial test criteria pursuant to Paragraph
18    21.e, 21.f, or 21.g, Settling Work Defendants (or in the case of Paragraph 21.g, the
19    guarantor) shall promptly upon written demand from EPA deposit into a special
20    account within the EPA Hazardous Substance Superfund or such other account as
21    EPA may specify, in immediately available funds and without setoff, counterclaim,
22    or condition of any kind, a cash amount up to but not exceeding the estimated cost
23    of completing the Work as of such date, as determined by EPA. In addition, if at
24    any time EPA is notified by the issuer of a performance guarantee that such issuer
25    intends to cancel the performance guarantee mechanism it has issued, then, unless
26    Settling Work Defendants provide a substitute performance guarantee mechanism
27    in accordance with this Section IX no later than thirty (30) days prior to the
28    impending cancellation date, EPA shall be entitled (as of and after the date that is


                                              34
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 41 of 347 Page ID #:75




1     thirty (30) days prior to the impending cancellation) to draw fully on the funds
2     guaranteed under the then-existing performance guarantee. All EPA Work
3     Takeover costs not reimbursed under this Paragraph shall be reimbursed under
4     Section XI (Payments for Response Costs and DTSC Response Costs).
5           26.    Modification of Amount and/or Form of Performance Guarantee.
6                 a.     Reduction of Amount of Performance Guarantee. If Settling
7     Work Defendants believe that the estimated cost of completing the Work has
8     diminished below the amount set forth in Paragraph 21, Settling Work Defendants
9     may, on any anniversary of the Effective Date, or at any other time agreed to by
10    the Parties, petition EPA in writing to request a reduction in the amount of the
11    performance guarantee provided pursuant to this Section so that the amount of the
12    performance guarantee is equal to the estimated cost of completing the Work.
13    Settling Work Defendants shall submit a written proposal for such reduction to
14    EPA that shall specify, at a minimum, the estimated cost of completing the Work
15    and the basis upon which such cost was calculated. In seeking approval for a
16    reduction in the amount of the performance guarantee, Settling Work Defendants
17    shall follow the procedures set forth in Paragraph 26.b(2) for requesting a revised
18    or alternative form of performance guarantee, except as specifically provided in
19    this Paragraph 26.a. If EPA decides to accept Settling Work Defendants’ proposal
20    for a reduction in the amount of the performance guarantee either to the amount set
21    forth in Settling Work Defendants’ written proposal or to some other amount as
22    selected by EPA, EPA will notify the petitioning Settling Work Defendants of such
23    decision in writing. Upon EPA’s acceptance of a reduction in the amount of the
24    performance guarantee, the Estimated Cost of the Work shall be deemed to be the
25    estimated cost of completing the Work set forth in EPA’s written decision. After
26    receiving EPA’s written decision, Settling Work Defendants may reduce the
27    amount of the performance guarantee in accordance with and to the extent
28    permitted by such written acceptance and shall submit copies of all executed


                                              35
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 42 of 347 Page ID #:76




1     and/or otherwise finalized instruments or other documents required in order to
2     make the selected performance guarantee(s) legally binding in accordance with
3     Paragraph 26.b(2). In the event of a dispute, Settling Work Defendants may
4     reduce the amount of the performance guarantee required hereunder only in
5     accordance with a final administrative or judicial decision resolving such dispute
6     pursuant to Section XIV (Dispute Resolution). No change to the form or terms of
7     any performance guarantee provided under this Section, other than a reduction in
8     amount, is authorized except as provided in Paragraphs 24 or 26.b.
9                 b.     Change of Form of Performance Guarantee.
10                       (1)    If, after the Effective Date, Settling Work Defendants
11    desire to change the form or terms of any performance guarantee(s) provided
12    pursuant to this Section, Settling Work Defendants may, on any anniversary of the
13    Effective Date, or at any other time agreed to by the Parties, petition EPA in
14    writing to request a change in the form or terms of the performance guarantee
15    provided hereunder. The submission of such proposed revised or alternative
16    performance guarantee shall be as provided in Paragraph 26.b(2). Any decision
17    made by EPA on a petition submitted under this Paragraph shall be made in EPA’s
18    sole and unreviewable discretion, and such decision shall not be subject to
19    challenge by Settling Work Defendants pursuant to the dispute resolution
20    provisions of this Consent Decree or in any other forum.
21                       (2)    Settling Work Defendants shall submit a written proposal
22    for a revised or alternative performance guarantee to EPA that shall specify, at a
23    minimum, the estimated cost of completing the Work, the basis upon which such
24    cost was calculated, and the proposed revised performance guarantee, including all
25    proposed instruments or other documents required in order to make the proposed
26    performance guarantee legally binding. The proposed revised or alternative
27    performance guarantee must satisfy all requirements set forth or incorporated by
28    reference in this Section. Settling Work Defendants shall submit such proposed


                                             36
                                       CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 43 of 347 Page ID #:77




1     revised or alternative performance guarantee to the EPA Regional Financial
2     Management Officer in accordance with Section XXI (Notices and Submissions).
3     EPA will notify DTSC and Settling Work Defendants in writing of its decision to
4     accept or reject a revised or alternative performance guarantee submitted pursuant
5     to this Paragraph. Settling Work Defendants shall submit copies of all executed
6     and/or otherwise finalized instruments or other documents required in order to
7     make the selected performance guarantee(s) legally binding to the EPA Regional
8     Financial Management Officer within thirty (30) days after receiving a written
9     decision approving the proposed revised or alternative performance guarantee in
10    accordance with Section XXI (Notices and Submissions) and to the United States,
11    EPA, and DTSC, as specified in Section XXI.
12                c.     Release of Performance Guarantee. Settling Work Defendants
13    shall not release, cancel, or discontinue any performance guarantee provided
14    pursuant to this Section except as provided in this Paragraph. If Settling Work
15    Defendants receive written notice from EPA in accordance with Paragraph 4.7 of
16    the SOW that the Work has been fully and finally completed in accordance with
17    the terms of this Consent Decree and the SOW, or if EPA otherwise so notifies
18    Settling Work Defendants in writing, Settling Work Defendants may thereafter
19    release, cancel, or discontinue the performance guarantee(s) provided pursuant to
20    this Section. In the event of a dispute, Settling Work Defendants may release,
21    cancel, or discontinue the performance guarantee(s) required hereunder only in
22    accordance with a final administrative or judicial decision resolving such dispute
23    pursuant to Section XIV (Dispute Resolution).
24    X.      OBLIGATIONS OF SETTLING CASH DEFENDANTS
25          27.    Obligations.
26                 a.    No later than thirty (30) days following the Effective Date of
27    this Consent Decree, all funds to be paid by or on behalf of each Settling Cash
28    Defendant shall be deposited into one or more Qualified Settlement Funds under


                                             37
                                       CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 44 of 347 Page ID #:78




1     Treas. Reg. §1.468(b) and Treas. Reg. §301.7701-4(e) or such other funding
2     mechanism established and designated by mutual agreement of the Settling Work
3     Defendants, in contribution toward the Work, toward payment of Past Response
4     Costs, DTSC Past Response Costs, Future Response Costs, and DTSC Future
5     Response Costs, and fulfilling legal obligations related to the Work and
6     implementation of this Consent Decree. Each Settling Cash Defendant’s
7     obligations under this Consent Decree shall be limited to its obligations under
8     Section VIII (Access), Section XVII (Covenants by Settling Defendants), Section
9     XX (Retention of Records), and the payment of its requisite amount as agreed to
10    by the Settling Cash Defendants. No Settling Cash Defendant shall be responsible
11    for any payment required of any other party. The name of each Settling Cash
12    Defendant shall be submitted by the Settling Work Defendants to the United States
13    as provided in Section XXI (Notices and Submissions) upon execution of the
14    Consent Decree. The name of each Settling Cash Defendant at the time of lodging
15    is appended as Appendix D to this Consent Decree.
16                 b.    The failure of any Settling Cash Defendant to satisfy its
17    payment obligation pursuant to this Paragraph shall not defer the obligations of the
18    Settling Work Defendants under this Consent Decree.
19                 c.    Each Settling Cash Defendant shall cooperate with the other
20    Settling Defendants in good faith to effect the obligations and provisions set forth
21    in this Consent Decree.
22    XI.     PAYMENTS FOR RESPONSE COSTS AND DTSC RESPONSE
23            COSTS
            28.    Payments for Past Response Costs and DTSC Past Response Costs.
24
                  a.     Within thirty (30) days after the Effective Date, Settling Work
25
      Defendants shall pay to EPA EIGHT MILLION DOLLARS ($8,000,000) in
26
      payment for Past Response Costs, and pay to DTSC SEVENTY THOUSAND
27
      DOLLARS ($70,000), in payment for DTSC Past Response Costs. Payment shall
28
      be made in accordance with Paragraphs 30.a, 30.c and 30.d.

                                              38
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 45 of 347 Page ID #:79




1                 b.     Deposit of Past Response Costs Payments. The total amount to
2     be paid by Settling Work Defendants to EPA pursuant to Paragraph 28.a shall be
3     deposited by EPA in the Site Special Account to be retained and used to conduct or
4     finance response actions at or in connection with the Site, or to be transferred by
5     EPA to the EPA Hazardous Substance Superfund.
6           29.    Payments for Future Response Costs and DTSC Future Response
7     Costs. Settling Work Defendants shall pay to EPA all Future Response Costs and
8     to DTSC all DTSC Future Response Costs not inconsistent with the NCP.
9                 a.     Billing. On a periodic basis, EPA will send Settling Work
10    Defendants a bill requiring payment, with a copy to the United States Department
11    of Justice at the address listed below in Paragraph 92 (referencing Department of
12    Justice Number 90-11-3-06529/10), that includes an EPA cost summary, which
13    includes direct and indirect costs incurred by EPA and its contractors. EPA shall
14    use its best efforts to submit bills requiring payment no less often than annually.
15    Failure by EPA to submit annual bills shall not affect the United States’ right to
16    reimbursement under this Consent Decree. Upon request, EPA will provide the
17    same level of supporting documentation that EPA currently provides in connection
18    with bills regarding the consent decree filed on October 6, 2010 (docket 2:10-cv-
19    05051-TJH-PLA), relating to OU1 work. Settling Work Defendants shall make all
20    payments of Future Response Costs within forty-five (45) days of Settling Work
21    Defendants’ receipt of each bill requiring payment, or as otherwise agreed in
22    writing by EPA with written confirmation provided to DOJ, except as otherwise
23    provided in Paragraph 31, in accordance with Paragraphs 30.b and 30.c
24    (Instructions for Future Response Cost Payments; Instructions for All Payments to
25    EPA). On a periodic basis, DTSC will send Settling Work Defendants a similar
26    bill requiring payment of DTSC Future Response Costs, that includes a DTSC cost
27    summary, which includes direct and indirect costs incurred by DTSC and its
28    contractors. DTSC shall use its best efforts to submit bills requiring payment no


                                              39
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 46 of 347 Page ID #:80




1     less often than quarterly. Failure by DTSC to submit quarterly bills shall not affect
2     the DTSC’s right to reimbursement under this Consent Decree. Settling Work
3     Defendants shall make all payments of DTSC Future Response Costs within sixty
4     (60) days after the date of the billing, except as otherwise provided in
5     Paragraph 31, in accordance with Paragraph 30.d (Instructions for All Payments to
6     DTSC).
7                 b.     Deposit of Future Response Costs Payments. The total amount
8     to be paid by Settling Work Defendants to EPA pursuant to Paragraph 29.a shall be
9     deposited by EPA in the Site Special Account to be retained and used to conduct or
10    finance response actions at or in connection with the Site, or to be transferred by
11    EPA to the EPA Hazardous Substance Superfund.
12          30.    Payment Instructions.
13                a.     Instructions for Past Response Costs Payments. All payments
14    required elsewhere in this Consent Decree to be made to EPA in accordance with
15    this Paragraph 30.a, shall be made in accordance with instructions that will be
16    provided to Settling Work Defendants by the Financial Litigation Unit (“FLU”) of
17    the United States Attorney’s Office for the Central District of California after the
18    Effective Date. The payment instructions provided by the FLU shall include a
19    Consolidated Debt Collection System (“CDCS”) number, which shall be used to
20    identify all payments required to be made in accordance with this Consent Decree.
21    The FLU shall provide the payment instructions to Settling Work Defendants in
22    accordance with Section XXI (Notices and Submissions). Settling Work
23    Defendants may change the individual to receive payment instructions on their
24    behalf by providing written notice of such change in accordance with Section XXI
25    (Notices and Submissions). When making payments under this Paragraph 30.a,
26    Settling Work Defendants shall also comply with Paragraph 30.c.
27                b.     Instructions for Future Response Costs Payments and Stipulated
28    Penalties. All payments required elsewhere in this Consent Decree to be made to


                                              40
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 47 of 347 Page ID #:81




1     EPA in accordance with this Paragraph 30.b shall be made in accordance with
2     instructions to be provided by EPA following lodging of the Consent Decree, and
3     shall be identified as “future response costs payments” or “stipulated penalties” as
4     applicable. All payments required to be made under this Paragraph shall reference
5     the EPA Site/Spill ID Number 09BC and DOJ Case Number 90-11-3-06529/10.
6     At the time of payment required to be made in accordance with Paragraph 30.a or
7     30.b, Settling Defendants shall also comply with Paragraph 30.c.
8                 c.     Instructions for All Payments to EPA. All payments made to
9     EPA under Paragraphs 30.a (Instructions for Past Response Cost Payments) or 30.b
10    (Instructions for Future Response Cost Payments) shall reference the CDCS
11    Number that will be provided by the FLU as described in Paragraph 30.a, EPA
12    Site/Spill ID Number 09BC and DOJ Case Number 90-11-3-06529/10. At the time
13    of any payment required to be made in accordance with Paragraphs 30.a or 30.b,
14    Settling Work Defendants shall send notice that payment has been made to the
15    United States, to EPA and to the Regional Financial Management Officer, in
16    accordance with Section XXI (Notices and Submissions), and to the EPA
17    Cincinnati Finance Office by email at cinwd_acctsreceivable@epa.gov, or by mail
18    at 26 W. Martin Luther King Drive, Cincinnati, Ohio 45268. Such notice shall
19    also reference the CDCS Number, Site/Spill ID Number, and DOJ Case Number.
20                d.     Instructions for All Payments to DTSC. All payments to
21    DTSC made under this Consent Decree shall reference Site Code Number 300223-
22    00. DTSC will bill Settling Work Defendants quarterly for DTSC Future Response
23    Costs. Settling Work Defendants shall make all payments to DTSC that are
24    required pursuant to this Consent Decree in the form of a check or checks made
25    payable to the Department of Toxic Substances Control, Accounting
26    Office/Cashier, 1001 I Street, 21st Floor, P.O. Box 806, Sacramento, California
27    95812-0806, or as DTSC subsequently notifies Settling Work Defendants in a bill
28    or in accordance with Section XXI (Notices and Submissions). A photocopy of


                                             41
                                       CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 48 of 347 Page ID #:82




1     each check shall also be sent to DTSC’s Project Coordinator designated under
2     Paragraph 10.a.
3           31.    Contesting Future Response Costs and DTSC Future Response Costs.
4                 a.      Contesting Future Response Costs. If Settling Work
5     Defendants dispute a Future Response Costs billing, or any part thereof, Settling
6     Work Defendants shall notify EPA’s Project Coordinator and attempt to informally
7     resolve the dispute with EPA’s Project Coordinator. Settling Work Defendants
8     may submit a Notice of Dispute, initiating the procedures of Section XIV (Dispute
9     Resolution), regarding any Future Response Costs billed under Paragraph 29
10    (Payments for Future Response Costs and DTSC Future Response Costs) if they
11    determine that EPA has made a mathematical error or included a cost item that is
12    not within the definition of Future Response Costs, or if they believe EPA incurred
13    excess costs as a direct result of an EPA action that was inconsistent with a specific
14    provision or provisions of the NCP. Such Notice of Dispute shall be submitted in
15    writing within thirty (30) days after receipt of the bill and must be sent to the
16    United States pursuant to Section XXI (Notices and Submissions). Such Notice of
17    Dispute shall specifically identify the contested Future Response Costs and the
18    basis for objection. If Settling Work Defendants submit a Notice of Dispute,
19    Settling Work Defendants shall pay all uncontested Future Response Costs to the
20    United States within thirty (30) days after Settling Work Defendants’ receipt of the
21    bill requiring payment. Simultaneously, Settling Work Defendants shall establish,
22    in a duly chartered bank or trust company, an interest-bearing escrow account that
23    is insured by the Federal Deposit Insurance Corporation (“FDIC”), and remit to
24    that escrow account funds equivalent to the amount of the contested Future
25    Response Costs. Settling Work Defendants shall send to the United States, as
26    provided in Section XXI (Notices and Submissions), a copy of the transmittal letter
27    and check paying the uncontested Future Response Costs, and a copy of the
28    correspondence that establishes and funds the escrow account, including, but not


                                               42
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 49 of 347 Page ID #:83




1     limited to, information containing the identity of the bank and bank account under
2     which the escrow account is established as well as a bank statement showing the
3     initial balance of the escrow account. If the United States prevails in the dispute,
4     Settling Work Defendants shall pay the sums due (with accrued Interest) to the
5     United States within seven (7) days after the resolution of the dispute. If Settling
6     Work Defendants prevail concerning any aspect of the contested costs, Settling
7     Work Defendants shall pay that portion of the costs (plus associated accrued
8     Interest) for which they did not prevail to the United States within seven (7) days
9     after the resolution of the dispute. Settling Work Defendants shall be disbursed
10    any balance of the escrow account. All payments to the United States under this
11    Paragraph shall be made in accordance with Paragraph 30.b (Instructions for
12    Future Response Costs Payments and Stipulated Penalties). The dispute resolution
13    procedures set forth in this Paragraph in conjunction with the procedures set forth
14    in Section XIV (Dispute Resolution) shall be the exclusive mechanisms for
15    resolving disputes regarding Settling Work Defendants’ obligation to reimburse the
16    United States for its Future Response Costs.
17                b.      Contesting DTSC Future Response Costs. If Settling Work
18    Defendants dispute a DTSC billing, or any part thereof, Settling Work Defendants
19    shall notify DTSC’s Project Coordinator and attempt to informally resolve the
20    dispute with DTSC’s Project Coordinator. If Settling Work Defendants desire to
21    formally request dispute resolution with regard to the billing, Settling Work
22    Defendants shall file a request for dispute resolution in writing within forty-five
23    (45) days of the date of the billing in dispute. The written request shall describe all
24    issues in dispute and shall set forth the reasons for the dispute, both factual and
25    legal. If the dispute pertains only to a portion of the costs included in the invoice,
26    Settling Work Defendants shall pay all costs which are undisputed in accordance
27    with Paragraph 30.d. The filing of a written request for dispute resolution pursuant
28


                                              43
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 50 of 347 Page ID #:84




1     to this Paragraph shall not stay the accrual of Interest on any unpaid costs pending
2     resolution of the dispute. The written request shall be sent to:
3                 Chief, Collections and Resolution Unit
4                 Department of Toxic Substances Control
                  1001 I Street, 21st Floor
5                 P.O. Box 806
6                 Sacramento, CA 95812-0806
      A copy of the written request for dispute resolution shall also be sent to the person
7
      designated by DTSC to receive submittals under this Consent Decree. A decision
8
      on the billing dispute will be rendered by the Chief of the Collections and
9
      Resolution Unit or other DTSC designee.
10
             32.   Interest. In the event that any payment for Past Response Costs, for
11
      DTSC Past Response Costs, for Future Response Costs, or for DTSC Future
12
      Response Costs required under this Section is not made by the date required,
13
      Settling Work Defendants shall pay Interest on the unpaid balance. The Interest to
14
      be paid on Past Response Costs or DTSC Past Response Costs under this
15
      Paragraph shall begin to accrue on the Effective Date. The Interest on Future
16
      Response Costs shall begin to accrue on the date of receipt of the bill. The Interest
17
      shall accrue through the date of Settling Work Defendants’ payment. Payments of
18
      Interest made under this Paragraph shall be in addition to such other remedies or
19
      sanctions available to Plaintiffs by virtue of Settling Work Defendants’ failure to
20
      make timely payments under this Section including, but not limited to, payment of
21
      stipulated penalties pursuant to Paragraphs 48-50. Any billing by DTSC not paid
22
      within sixty (60) days is subject to Interest calculated from the date of the billing
23
      pursuant to California Health and Safety Code section 25360.1.
24
      XII.    INDEMNIFICATION AND INSURANCE
25
             33.   Settling Defendants’ Indemnification of the United States and DTSC.
26
                   a.     The United States and DTSC do not assume any liability by
27
      entering into this Consent Decree or by virtue of any designation of Settling Work
28
      Defendants as EPA’s authorized representatives under Section 104(e) of CERCLA,

                                              44
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 51 of 347 Page ID #:85




1     42 U.S.C. § 9604(e). Settling Work Defendants shall indemnify, save and hold
2     harmless the United States, DTSC, and their officials, agents, employees,
3     contractors, subcontractors, and representatives for or from any and all claims or
4     causes of action arising from, or on account of, negligent or other wrongful acts or
5     omissions of Settling Work Defendants, their officers, directors, employees,
6     agents, contractors, subcontractors, and any persons acting on their behalf or under
7     their control, in carrying out activities pursuant to this Consent Decree, including,
8     but not limited to, any claims arising from any designation of Settling Work
9     Defendants as EPA’s authorized representatives under Section 104(e) of CERCLA,
10    42 U.S.C. § 9604(e). Further, Settling Work Defendants agree to pay the United
11    States and DTSC all costs they incur including, but not limited to, attorneys’ fees
12    and other expenses of litigation and settlement arising from, or on account of,
13    claims made against the United States or DTSC based on negligent or other
14    wrongful acts or omissions of Settling Work Defendants, their officers, directors,
15    employees, agents, contractors, subcontractors, and any persons acting on their
16    behalf or under their control, in carrying out activities pursuant to this Consent
17    Decree. Neither the United States nor DTSC shall be held out as a party to any
18    contract entered into by or on behalf of Settling Work Defendants in carrying out
19    activities pursuant to this Consent Decree. Neither Settling Work Defendants nor
20    any such contractor shall be considered an agent of the United States or DTSC.
21                b.      The United States and DTSC shall give Settling Work
22    Defendants notice of any claim for which the United States or DTSC plans to seek
23    indemnification pursuant to this Paragraph 33, and shall consult with Settling
24    Work Defendants prior to settling such claim.
25          34.    Settling Defendants covenant not to sue and agree not to assert any
26    claims or causes of action against the United States or DTSC for damages or
27    reimbursement or for set-off of any payments made or to be made to the United
28    States or DTSC, arising from or on account of any contract, agreement, or


                                              45
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 52 of 347 Page ID #:86




1     arrangement between any one or more of Settling Defendants and any person for
2     performance of Work on or relating to the Work Area, including, but not limited
3     to, claims on account of construction delays. In addition, Settling Work
4     Defendants shall indemnify and hold harmless the United States and DTSC with
5     respect to any and all claims for damages or reimbursement arising from or on
6     account of any contract, agreement, or arrangement between any one or more of
7     Settling Work Defendants and any person for performance of Work on or relating
8     to the Work Area, including, but not limited to, claims on account of construction
9     delays.
10          35.    Settling Work Defendants’ Insurance Obligations. No later than
11    fifteen (15) days before commencing any field Work that occurs after the Effective
12    Date, Settling Work Defendants shall collectively secure, and shall maintain until
13    the first anniversary after issuance of EPA’s Certification of Work Completion
14    pursuant to Paragraph 4.7 of the SOW, commercial general liability insurance with
15    limits of five million dollars ($5,000,000) for any one occurrence, and automobile
16    liability insurance with limits of five million dollars ($5,000,000), combined single
17    limit, naming the United States and DTSC as additional insureds with respect to all
18    liability arising out of the activities performed by or on behalf of Settling Work
19    Defendants pursuant to this Consent Decree. In addition, for the duration of this
20    Consent Decree, Settling Work Defendants shall satisfy, or shall ensure that their
21    contractors or subcontractors satisfy, all applicable laws and regulations regarding
22    the provision of worker’s compensation insurance for all persons performing the
23    Work on behalf of Settling Work Defendants in furtherance of this Consent
24    Decree. Prior to commencement of the Work under this Consent Decree, Settling
25    Work Defendants shall provide to EPA and DTSC certificates of such insurance
26    and a copy of each insurance policy. Settling Work Defendants shall resubmit
27    such certificates and copies of policies each year on the anniversary of the
28    Effective Date. If Settling Work Defendants demonstrate by evidence satisfactory


                                              46
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 53 of 347 Page ID #:87




1     to EPA that any contractor or subcontractor maintains insurance equivalent to that
2     described above, or insurance covering the same risks but in a lesser amount, then,
3     with respect to that contractor or subcontractor, Settling Work Defendants need
4     provide only that portion of the insurance described above that is not maintained
5     by the contractor or subcontractor.
6     XIII.    FORCE MAJEURE
7             36.   “Force majeure,” for purposes of this Consent Decree, is defined as
8     any event arising from causes beyond the control of Settling Work Defendants, of
9     any entity controlled by Settling Work Defendants, or of Settling Work
10    Defendants’ contractors that delays or prevents the performance of any obligation
11    under this Consent Decree despite Settling Work Defendants’ best efforts to fulfill
12    the obligation. The requirement that Settling Work Defendants exercise “best
13    efforts to fulfill the obligation” includes using best efforts to anticipate any
14    potential force majeure and best efforts to address the effects of any potential force
15    majeure (a) as it is occurring and (b) following the potential force majeure such
16    that the delay is minimized to the greatest extent possible. “Force majeure” does
17    not include financial inability to complete the Work or a failure to achieve the
18    Performance Standards.
19            37.   If any event occurs or has occurred that may delay the performance of
20    any obligation under this Consent Decree for which Settling Work Defendants
21    intend or may intend to assert a claim of force majeure, Settling Work Defendants
22    shall notify EPA’s Project Coordinator orally or, in his or her absence, EPA’s
23    Alternate Project Coordinator or, in the event both of EPA’s designated
24    representatives are unavailable, the Director of the Superfund Division, EPA
25    Region 9, within three (3) working days of when Settling Work Defendants first
26    knew that the event might cause a delay. Settling Work Defendants shall also
27    notify the DTSC Project Coordinator as soon as practicable. Within five (5)
28    working days thereafter, Settling Work Defendants shall provide in writing to EPA


                                               47
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 54 of 347 Page ID #:88




1     and DTSC an explanation and description of the reasons for the delay; the
2     anticipated duration of the delay; all actions taken or to be taken to prevent or
3     minimize the delay; a schedule for implementation of any measures to be taken to
4     prevent or mitigate the delay or the effect of the delay; Settling Work Defendants’
5     rationale for attributing such delay to a force majeure; and a statement as to
6     whether, in the opinion of Settling Work Defendants, such event may cause or
7     contribute to an endangerment to public health or welfare, or the environment.
8     Settling Work Defendants shall include with any notice all available
9     documentation supporting their claim that the delay was attributable to a force
10    majeure. Settling Work Defendants shall be deemed to know of any circumstance
11    of which Settling Work Defendants, any entity controlled by Settling Work
12    Defendants, or Settling Work Defendants’ contractors knew or should have known.
13    Failure to comply with the above requirements regarding an event shall preclude
14    Settling Work Defendants from asserting any claim of force majeure regarding that
15    event for the period of time of such failure to provide notice and for any additional
16    delay caused by such failure, provided, however, that if EPA, despite the late or
17    incomplete notice, is able to assess to its satisfaction whether the event is a force
18    majeure under Paragraph 36 and whether Settling Work Defendants have exercised
19    their best efforts under Paragraph 36, EPA may, in its unreviewable discretion,
20    excuse in writing Settling Work Defendants’ failure to submit timely or complete
21    notices under this Paragraph.
22          38.    If EPA, after a reasonable opportunity for review and comment by
23    DTSC, agrees that the delay or anticipated delay is attributable to a force majeure,
24    the time for performance of the obligations under this Consent Decree that are
25    affected by the force majeure will be extended by EPA for such time as is
26    necessary to complete those obligations. An extension of the time for performance
27    of the obligations affected by the force majeure shall not, of itself, extend the time
28    for performance of any other obligation. If EPA does not agree that the delay or


                                               48
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 55 of 347 Page ID #:89




1     anticipated delay has been or will be caused by a force majeure, EPA will notify
2     Settling Work Defendants and DTSC in writing of its decision. If EPA agrees that
3     the delay is attributable to a force majeure, EPA will notify Settling Work
4     Defendants and DTSC in writing of the length of the extension, if any, for
5     performance of the obligations affected by the force majeure.
6            39.   If Settling Work Defendants elect to invoke the dispute resolution
7     procedures set forth in Section XIV (Dispute Resolution), they shall do so no later
8     than fifteen (15) days after receipt of EPA’s notice. In any such proceeding,
9     Settling Work Defendants shall have the burden of demonstrating by a
10    preponderance of the evidence that the delay or anticipated delay has been or will
11    be caused by a force majeure, that the duration of the delay or the extension sought
12    was or will be warranted under the circumstances, that best efforts were exercised
13    to avoid and mitigate the effects of the delay, and that Settling Work Defendants
14    complied with the requirements of Paragraphs 36 and 37. If Settling Work
15    Defendants carry this burden, the delay at issue shall be deemed not to be a
16    violation by Settling Work Defendants of the affected obligation of this Consent
17    Decree identified to EPA and the Court.
18           40.   The failure of EPA to timely complete any obligation under the
19    Consent Decree, or any plan, report, or other deliverable approved by EPA under
20    the Consent Decree, is not a violation of the Consent Decree, provided, however,
21    that if such failure prevents Settling Work Defendants from meeting one or more
22    deadlines established by or approved under the Consent Decree, Settling Work
23    Defendants may seek relief under this Section.
24    XIV.    DISPUTE RESOLUTION
25           41.   Unless otherwise expressly provided for in this Consent Decree, the
26    dispute resolution procedures of this Section shall be the exclusive mechanism to
27    resolve disputes regarding this Consent Decree. However, the procedures set forth
28    in this Section shall not apply to actions by the United States or DTSC to enforce


                                             49
                                       CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 56 of 347 Page ID #:90




1     obligations of Settling Work Defendants that have not been disputed in accordance
2     with this Section.
3           42.    A dispute shall be considered to have arisen when one party sends the
4     other parties a written Notice of Dispute. Any dispute regarding this Consent
5     Decree shall in the first instance be the subject of informal negotiations between
6     the parties to the dispute. The period for informal negotiations shall not exceed
7     thirty (30) days from the time the dispute arises, unless it is modified by written
8     agreement of the parties to the dispute. During informal negotiations, EPA shall
9     provide DTSC a reasonable opportunity for review and comment on the dispute.
10          43.    Statements of Position.
11                a.       In the event that the parties cannot resolve a dispute by informal
12    negotiations under the preceding Paragraph, then the position advanced by EPA
13    shall be considered binding unless, within thirty (30) days after the conclusion of
14    the informal negotiation period, Settling Work Defendants invoke the formal
15    dispute resolution procedures of this Section by serving on the United States and
16    DTSC a written Statement of Position on the matter in dispute, including, but not
17    limited to, any factual data, analysis, or opinion supporting that position and any
18    supporting documentation relied upon by Settling Work Defendants. The
19    Statement of Position shall specify Settling Work Defendants’ position as to
20    whether formal dispute resolution should proceed under Paragraph 44 (Record
21    Review) or Paragraph 45.
22                b.       Within thirty (30) days after receipt of Settling Work
23    Defendants’ Statement of Position, EPA will serve on Settling Work Defendants
24    its Statement of Position, including, but not limited to, any factual data, analysis, or
25    opinion supporting that position and all supporting documentation relied upon by
26    EPA. EPA’s Statement of Position shall include a statement as to whether formal
27    dispute resolution should proceed under Paragraph 44 (Record Review) or
28


                                               50
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 57 of 347 Page ID #:91




1     Paragraph 45. Within fourteen (14) days after receipt of EPA’s Statement of
2     Position, Settling Work Defendants may submit a Reply.
3                 c.     If there is disagreement between EPA and Settling Work
4     Defendants as to whether dispute resolution should proceed under Paragraph 44
5     (Record Review) or Paragraph 45, the parties to the dispute shall follow the
6     procedures set forth in the paragraph determined by EPA to be applicable.
7     However, if Settling Work Defendants ultimately appeal to the Court to resolve the
8     dispute, the Court shall determine which paragraph is applicable in accordance
9     with the standards of applicability set forth in Paragraphs 44 and 45.
10          44.    Record Review. Formal dispute resolution for disputes pertaining to
11    the selection or adequacy of any response action and all other disputes that are
12    accorded review on the administrative record under applicable principles of
13    administrative law shall be conducted pursuant to the procedures set forth in this
14    Paragraph. For purposes of this Paragraph, the adequacy of any response action
15    includes, without limitation, the adequacy or appropriateness of plans, procedures
16    to implement plans, or any other items requiring approval by EPA under this
17    Consent Decree, and the adequacy of the performance of response actions taken
18    pursuant to this Consent Decree. Nothing in this Consent Decree shall be
19    construed to allow any dispute by Settling Work Defendants regarding the validity
20    of the ROD’s provisions.
21                a.     An administrative record of the dispute shall be maintained by
22    EPA and shall contain all statements of position, including supporting
23    documentation, submitted pursuant to this Section. Where appropriate, EPA may
24    allow submission of supplemental statements of position by the parties to the
25    dispute.
26                b.     The Director of the Superfund Division, EPA Region 9, will
27    issue a final administrative decision resolving the dispute based on the
28    administrative record described in Paragraph 44.a. This decision shall be binding


                                              51
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 58 of 347 Page ID #:92




1     upon Settling Work Defendants, subject only to the right to seek judicial review
2     pursuant to Paragraphs 44.c and 44.d.
3                 c.      Any administrative decision made by EPA pursuant to
4     Paragraph 44.b shall be reviewable by this Court, provided that a motion for
5     judicial review of the decision is filed by Settling Work Defendants with the Court
6     and served on all Parties within thirty (30) days after receipt of EPA’s decision.
7     The motion shall include a description of the matter in dispute, the efforts made by
8     the parties to resolve it, the relief requested, and the schedule, if any, within which
9     the dispute must be resolved to ensure orderly implementation of this Consent
10    Decree. The United States may file a response to Settling Work Defendants’
11    motion.
12                d.      In proceedings on any dispute governed by this Paragraph,
13    Settling Work Defendants shall have the burden of demonstrating that the decision
14    of the Superfund Division Director is arbitrary and capricious or otherwise not in
15    accordance with law. Judicial review of EPA’s decision shall be on the
16    administrative record compiled pursuant to Paragraph 44.a.
17          45.    Formal dispute resolution for disputes that neither pertain to the
18    selection or adequacy of any response action nor are otherwise accorded review on
19    the administrative record under applicable principles of administrative law, shall be
20    governed by this Paragraph.
21                a.      The Director of the Superfund Division, EPA Region 9, will
22    issue a final decision resolving the dispute based on the statements of position and
23    reply, if any, served under Paragraph 43. The Superfund Division Director’s
24    decision shall be binding on Settling Work Defendants unless, within thirty (30)
25    days after receipt of the decision, Settling Work Defendants file with the Court and
26    serve on the parties a motion for judicial review of the decision setting forth the
27    matter in dispute, the efforts made by the parties to resolve it, the relief requested,
28    and the schedule, if any, within which the dispute must be resolved to ensure


                                               52
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 59 of 347 Page ID #:93




1     orderly implementation of the Consent Decree. The United States may file a
2     response to Settling Work Defendants’ motion.
3                 b.     Notwithstanding Paragraph I.N of Section I (Background),
4     judicial review of any dispute governed by this Paragraph shall be governed by
5     applicable principles of law.
6           46.    The invocation of formal dispute resolution procedures under this
7     Section does not extend, postpone, or affect in any way any obligation of Settling
8     Work Defendants under this Consent Decree, not directly in dispute, except as
9     provided in Paragraph 31 (Contesting Future Response Costs and DTSC Future
10    Response Costs), as agreed by EPA, or as determined by the Court. Stipulated
11    penalties with respect to the disputed matter shall continue to accrue as applicable
12    but payment shall be stayed pending resolution of the dispute as provided in
13    Paragraph 54. Notwithstanding the stay of payment, stipulated penalties shall
14    accrue from the first day of noncompliance with any applicable provision of this
15    Consent Decree. In the event that Settling Work Defendants do not prevail on the
16    disputed issue, stipulated penalties shall be assessed and paid as provided in
17    Section XV (Stipulated Penalties).
18    XV.     STIPULATED PENALTIES
19          47.    Settling Work Defendants shall be liable for stipulated penalties in the
20    amounts set forth in Paragraphs 48, 49, and 50 to the United States for failure to
21    comply with the requirements of this Consent Decree specified below, unless
22    excused under Section XIII (Force Majeure). “Compliance” by Settling Work
23    Defendants shall include completion of all payments and activities required under
24    this Consent Decree, or any plan, report, or other deliverable approved under this
25    Consent Decree, in accordance with all applicable requirements of law, this
26    Consent Decree, the SOW, and any plans, reports, or other deliverables approved
27    under this Consent Decree and within the specified time schedules established by
28    and approved under this Consent Decree.


                                              53
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 60 of 347 Page ID #:94




1           48.     Stipulated Penalty Amounts – Work, Financial Assurance, and
2     Payments.
3                   a.    The following stipulated penalties shall accrue per violation per
4     day for any noncompliance identified in Paragraph 48.b:
5                   Penalty Per Violation Per Day         Period of Noncompliance
6                         $2,500                          1st through 14th day
7                         $5,000                          15th through 30th day
8                         $10,000                         31st day and beyond
9
10                  b.    Compliance Milestones.
11                        (1)   Failure to comply with the following Work schedule
12    milestones:
13                              a) Pre-Design Investigation
14                              b) Start of RA Implementation
15                              c)   Completion of all outstanding construction items
16                                   identified in the Pre-final Inspection
17                        (2)   Failure to establish and maintain financial assurance in
18    compliance with the timelines and other substantive and procedural requirements
19    of Section IX (Performance Guarantee).
20                  c.    The following stipulated penalties shall accrue per violation per
21
      day for failure to comply with the requirements of Paragraph 48.d. below:
22
                    Penalty Per Violation Per Day         Period of Noncompliance
23
                    $1,000                                1st through 14th day
24
                    $2,500                                15th through 30th day
25
                    $7,500                                31st day and beyond
26
27
28


                                              54
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 61 of 347 Page ID #:95




1                   d. Compliance Milestones.
2                         (1)     Failure to comply with the following Work schedule
3     milestones: all Work schedule milestones listed in Section 8 of the SOW that are
4     not described in Paragraph 48.b.(1) above.
5                         (2)     Failure to make timely payment of Future Response
6     Costs, DTSC Future Response Costs, Past Response Costs, or DTSC Past
7     Response Costs.
8           49.      Stipulated Penalty Amounts – Deliverables.
9                 a. Material Defects. If an initially submitted or resubmitted deliverable
10    contains a material defect, and the deliverable is disapproved or modified by EPA
11    under Paragraph 7.6(a) (Initial Submissions) or Paragraph 7.6(b) (Resubmissions)
12    of the SOW due to such material defect, then the material defect shall constitute a
13    lack of compliance for purposes of Paragraph 47. The provisions of Section XIV
14    (Dispute Resolution) and Section XV (Stipulated Penalties) shall govern the
15    accrual and payment of any stipulated penalties regarding Settling Work
16    Defendants’ submissions under this Consent Decree.
17                b. The following stipulated penalties shall accrue per violation per day
18    for failure to comply with the requirements of Paragraph 49.c. below:
19                   Penalty Per Violation Per Day          Period of Noncompliance
20                         $2,500                           1st through 14th day
21                         $5,000                           15th through 30th day
22                         $10,000                          31st day and beyond
23                c. Compliance Milestones.
24                      1) Failure to submit the following deliverables in a timely and
25                         adequate fashion:
26                              a) Groundwater Flow Modeling Work Plan
27                              b) Groundwater Flow Model Development and Calibration
28                                Report


                                                 55
                                           CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 62 of 347 Page ID #:96




1                              c) Groundwater Flow Model Predictive Simulations Report
2                              d) Remedial Design Work Plan
3                              e) Pre-Design Investigation Report
4                              f) Preliminary Remedial Design
5                              g) Pre-final Remedial Design
6                              h) Final Remedial Design
7                              i) Compliance Monitoring Plan
8                              j) Remedial Action Work Plan
9                              k) Leading Edge Investigation Work Plan
10                             l) Leading Edge Investigation Report
11                d. The following stipulated penalties shall accrue per violation per day
12    for failure to comply with the requirements of Paragraph 49.e. below:
13                   Penalty Per Violation Per Day          Period of Noncompliance
14                         $1,000                           1st through 14th day
15                         $2,500                           15th through 30th day
16                         $7,500                           31st day and beyond
17                e. Compliance Milestones.
18                   1)    Failure to submit the following deliverables in a timely and
19    adequate fashion: all deliverables listed in Section 8 of the SOW that are not
20    described in Paragraph 49.c.(1) above.
21          50.      Stipulated Penalty Amount – Work Takeover. In the event that EPA
22    assumes performance of a portion or all of the Work pursuant to Paragraph 63
23    (Work Takeover), Settling Work Defendants shall be liable for a stipulated penalty
24    in the amount of the lesser of three million dollars ($3,000,000) or three (3) times
25    the Response Costs (as defined in CERCLA Sections 107(a) and 101(25), 42
26    U.S.C. §§ 9607(a) and 9601(25)) incurred in performance of all such Work.
27    Stipulated penalties under this Paragraph are in addition to the remedies available
28    under Paragraphs 25 (Funding for Work Takeover) and 63 (Work Takeover).


                                               56
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 63 of 347 Page ID #:97




1           51.    Stipulated Penalty Accrual. All penalties shall begin to accrue on the
2     day after the complete performance is due or the day a violation occurs and shall
3     continue to accrue through the final day of the correction of the noncompliance or
4     completion of the activity. However, stipulated penalties shall not accrue: (a) with
5     respect to a deficient submission under Paragraph 7.6 of the SOW (Approval of
6     Deliverables), during the period, if any, beginning on the 31st day after EPA’s
7     receipt of such submission until the date that EPA notifies Settling Work
8     Defendants of any deficiency; (b) with respect to a decision by the Director of the
9     Superfund Division, EPA Region 9, under Paragraph 44.b or 45.a of Section XIV
10    (Dispute Resolution), during the period, if any, beginning on the 21st day after the
11    date that Settling Work Defendants’ reply to EPA’s Statement of Position is
12    received until the date that the Director issues a final decision regarding such
13    dispute; or (c) with respect to judicial review by this Court of any dispute under
14    Section XIV (Dispute Resolution), during the period, if any, beginning on the 31st
15    day after the Court’s receipt of the final submission regarding the dispute until the
16    date that the Court issues a final decision regarding such dispute. Nothing in this
17    Consent Decree shall prevent the simultaneous accrual of separate penalties for
18    separate violations of this Consent Decree.
19          52.    Following EPA’s determination (after providing DTSC with a
20    reasonable opportunity for review and comment) that Settling Work Defendants
21    have failed to comply with a requirement of this Consent Decree set forth in
22    Paragraphs 48, 49, or 50, EPA may give Settling Work Defendants written
23    notification of the same and describe the noncompliance. EPA may send Settling
24    Work Defendants a written demand for the payment of the penalties. However,
25    penalties shall accrue as provided in the preceding Paragraph regardless of whether
26    EPA has notified Settling Work Defendants of a violation.
27          53.    All penalties accruing under this Section shall be due and payable to
28    the United States within thirty (30) days after Settling Work Defendants’ receipt


                                              57
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 64 of 347 Page ID #:98




1     from EPA of a demand for payment of the penalties, unless Settling Work
2     Defendants invoke the Dispute Resolution procedures under Section XIV (Dispute
3     Resolution) within the 30-day period. All payments to the United States under this
4     Section shall indicate that the payment is for stipulated penalties and shall be made
5     in accordance with Paragraph 30.b (Instructions for Future Response Costs
6     Payments and Stipulated Penalties).
7           54.    Penalties shall continue to accrue as provided in Paragraph 51 during
8     any dispute resolution period, but need not be paid until the following:
9                 a.      If the dispute is resolved by agreement of the Parties or by a
10    decision of EPA that is not appealed to this Court, accrued penalties determined to
11    be owed shall be paid to EPA within thirty (30) days after the agreement or the
12    receipt of EPA’s decision or order;
13                b.      If the dispute is appealed to this Court and the United States
14    prevails in whole or in part, Settling Work Defendants shall pay all accrued
15    penalties determined by the Court to be owed to EPA within sixty (60) days after
16    receipt of the Court’s decision or order, except as provided in Paragraph 54.c;
17                c.      If the District Court’s decision is appealed by any Party,
18    Settling Work Defendants shall pay all accrued penalties determined by the District
19    Court to be owed to the United States into an interest-bearing escrow account,
20    established at a duly chartered bank or trust company that is insured by the FDIC,
21    within sixty (60) days after receipt of the Court’s decision or order. Penalties shall
22    be paid into this account as they continue to accrue, at least every sixty (60) days.
23    Within fifteen (15) days after receipt of the final appellate court decision, the
24    escrow agent shall pay the balance of the account to EPA or to Settling Work
25    Defendants to the extent that they prevail.
26          55.    If Settling Work Defendants fail to pay stipulated penalties when due,
27    Settling Work Defendants shall pay Interest on the unpaid stipulated penalties as
28    follows: (a) if Settling Work Defendants have timely invoked dispute resolution


                                              58
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 65 of 347 Page ID #:99




1     such that the obligation to pay stipulated penalties has been stayed pending the
2     outcome of dispute resolution, Interest shall accrue from the date stipulated
3     penalties are due pursuant to Paragraph 54 until the date of payment; and (b) if
4     Settling Work Defendants fail to timely invoke dispute resolution, Interest shall
5     accrue from the date of demand under Paragraph 53 until the date of payment. If
6     Settling Work Defendants fail to pay stipulated penalties and Interest when due,
7     the United States may institute proceedings to collect the penalties and Interest.
8            56.   The payment of penalties and Interest, if any, shall not alter in any
9     way Settling Work Defendants’ obligation to complete the performance of the
10    Work required under this Consent Decree.
11           57.   Nothing in this Consent Decree shall be construed as prohibiting,
12    altering, or in any way limiting the ability of the United States or DTSC to seek
13    any other remedies or sanctions available by virtue of Settling Work Defendants’
14    violation of this Consent Decree or of the statutes and regulations upon which it is
15    based, including, but not limited to, penalties pursuant to Section 122(l) of
16    CERCLA, 42 U.S.C. § 9622(l), provided, however, that the United States shall not
17    seek civil penalties pursuant to Section 122(l) of CERCLA for any violation for
18    which a stipulated penalty is provided in this Consent Decree, except in the case of
19    a willful violation of this Consent Decree.
20           58.   Notwithstanding any other provision of this Section, the United States
21    may, in its unreviewable discretion, waive any portion of stipulated penalties that
22    have accrued pursuant to this Consent Decree.
23    XVI.    COVENANTS BY PLAINTIFFS
24           59.   Covenants for Settling Defendants by United States.
25                 a.    In consideration of the actions that will be performed and the
26    payments that will be made by Settling Work Defendants under this Consent
27    Decree, and except as specifically provided in Paragraph 61 (General Reservations
28    of Rights as to the Settling Work Defendants) of this Section, the United States


                                              59
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 66 of 347 Page ID #:100




1      covenants not to sue or to take administrative action against Settling Work
2      Defendants pursuant to Sections 106 and 107(a) of CERCLA, 42 U.S.C. §§ 9606
3      and 9607(a), and Section 7003 of RCRA, 42 U.S.C. § 6973, for the performance of
4      the Work, for recovery of Past Response Costs, and for recovery of Future
5      Response Costs. These covenants shall take effect upon the Effective Date, for
6      those Settling Work Defendants who have already signed this Consent Decree as
7      of that date. As to any Settling Work Defendants who join this Consent Decree
8      after the Effective Date, these covenants shall take effect when the Court enters a
9      modified or amended Consent Decree including them as Settling Work
10     Defendants; or, if no such judicial entry is required, the date that the United States
11     indicates in writing that the Consent Decree has been modified pursuant to
12     Paragraph 95 to add those defendants as Settling Work Defendants. These
13     covenants are conditioned upon the satisfactory performance by Settling Work
14     Defendants of their obligations under this Consent Decree. These covenants
15     extend only to Settling Work Defendants and do not extend to any other person.
16                 b.      In consideration of the payments made and costs incurred to
17     date, including payments made or to be made pursuant to this Consent Decree by
18     or on behalf of each Settling Cash Defendant, and except as specifically provided
19     in Paragraph 62 (General Reservations of Rights as to the Settling Cash
20     Defendants) of this Section, the United States covenants not to sue or to take
21     administrative action against Settling Cash Defendants pursuant to Sections 106
22     and 107(a) of CERCLA, 42 U.S.C. §§ 9606 and 9607(a), and Section 7003 of
23     RCRA, 42 U.S.C. § 6973, for performance of the Work, for recovery of Past
24     Response Costs, and for recovery of Future Response Costs. These covenants
25     shall take effect upon the Effective Date, for those Settling Cash Defendants who
26     have already signed this Consent Decree as of that date. As to any Settling Cash
27     Defendants who join this Consent Decree after the Effective Date, these covenants
28     shall take effect when the Court enters a modified or amended Consent Decree


                                               60
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 67 of 347 Page ID #:101




1      including them as Settling Cash Defendants; or, if no such judicial entry is
2      required, the date that the United States indicates in writing that the Consent
3      Decree has been modified pursuant to Paragraph 95 to add those defendants as
4      Settling Cash Defendants. These covenants are conditioned upon the satisfactory
5      performance by each individual Settling Cash Defendant of its respective
6      obligations under this Consent Decree. These covenants extend only to Settling
7      Cash Defendants and do not extend to any other person.
8            60.    Covenants for Settling Defendants by DTSC.
9                   a.     In consideration of the actions that will be performed and the
10     payments that will be made by Settling Work Defendants under the terms of this
11     Consent Decree, and except as specifically provided in Paragraph 61 (General
12     Reservations of Rights as to the Settling Work Defendants) of this Section, DTSC
13     covenants not to sue Settling Work Defendants pursuant to Section 107(a) of
14     CERCLA, 42 U.S.C. § 9607(a), and California Health and Safety Code sections
15     25355.5, 25358.3, and 25360, or to take administrative action against Settling
16     Work Defendants under California Health and Safety Code section 25358.3, for the
17     Work, DTSC Past Response Costs, and DTSC Future Response Costs. These
18     covenants shall take effect upon the Effective Date, for those Settling Work
19     Defendants who have already signed this Consent Decree as of that date. As to
20     any Settling Work Defendants who join this Consent Decree after the Effective
21     Date, these covenants shall take effect when the Court enters a modified or
22     amended Consent Decree including them as Settling Work Defendants; or, if no
23     such judicial entry is required, the date that the United States indicates in writing
24     that the Consent Decree has been modified pursuant to Paragraph 95 to add those
25     defendants as Settling Work Defendants. These covenants are conditioned upon
26     the satisfactory performance by Settling Work Defendants of their obligations
27     under this Consent Decree. These covenants extend only to Settling Work
28     Defendants and do not extend to any other person.


                                               61
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 68 of 347 Page ID #:102




1                   b.     In consideration of the actions that will be performed and the
2      payments that will be made by Settling Cash Defendants under the terms of this
3      Consent Decree, and except as specifically provided in Paragraph 62 (General
4      Reservations of Rights as to the Settling Cash Defendants) of this Section, DTSC
5      covenants not to sue Settling Cash Defendants pursuant to Section 107(a) of
6      CERCLA, 42 U.S.C. § 9607(a), and California Health and Safety Code sections
7      25355.5, 25358.3, and 25360, or to take administrative action against Settling Cash
8      Defendants under California Health and Safety Code section 25358.3, for the
9      Work, DTSC Past Response Costs, and DTSC Future Response Costs. These
10     covenants shall take effect upon the Effective Date, for those Settling Cash
11     Defendants who have already signed this Consent Decree as of that date. As to
12     any Settling Cash Defendants who join this Consent Decree after the Effective
13     Date, these covenants shall take effect when the Court enters a modified or
14     amended Consent Decree including them as Settling Cash Defendants; or, if no
15     such judicial entry is required, the date that the United States indicates in writing
16     that the Consent Decree has been modified pursuant to Paragraph 95 to add those
17     defendants as Settling Cash Defendants. These covenants are conditioned upon
18     the satisfactory performance by Settling Cash Defendants of their obligations
19     under this Consent Decree. These covenants extend only to Settling Cash
20     Defendants and do not extend to any other person.
21           61.    General Reservations of Rights as to the Settling Work Defendants.
22     The United States and DTSC reserve, and this Consent Decree is without prejudice
23     to, all rights against Settling Work Defendants with respect to all matters not
24     expressly included within Plaintiffs’ covenants. Areas of the Site outside the Work
25     Area are generally not encompassed within the scope of this Consent Decree;
26     therefore, the United States’ and DTSC’s rights regarding areas of the Site outside
27     the Work Area are generally reserved, unless expressly included within Plaintiffs’
28     covenants. Notwithstanding any other provision of this Consent Decree, the


                                               62
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 69 of 347 Page ID #:103




1      United States and DTSC reserves all rights against Settling Work Defendants with
2      respect to:
3                    a.   liability for failure by Settling Work Defendants to meet a
4      requirement of this Consent Decree;
5                    b.   liability arising from the past, present, or future disposal,
6      release, or threat of release of Waste Material outside of the Work Area;
7                    c.   liability based on the ownership of any real property within the
8      Work Area by any Settling Work Defendant when such ownership commences
9      after signature of this Consent Decree by that Settling Work Defendant and does
10     not arise solely from Settling Work Defendants’ performance of the Work;
11                   d.    liability based on the operation of any facilities within the
12     Work Area by any Settling Work Defendant when such operation commences after
13     signature of this Consent Decree by that Settling Work Defendant and does not
14     arise solely from Settling Work Defendants’ performance of the Work;
15                   e.   liability based on any Settling Work Defendant’s transportation,
16     treatment, storage, or disposal, or arrangement for transportation, treatment,
17     storage, or disposal of Waste Material at or in connection with the Work Area,
18     other than as provided in the ROD, the Work, or otherwise ordered by EPA or
19     DTSC, after signature of this Consent Decree by that Settling Work Defendant;
20                   f.   liability for damages for injury to, destruction of, or loss of
21     natural resources, and for the costs of any natural resource damage assessments;
22                   g.   criminal liability;
23                   h.   liability for violations of federal or state law that occur during
24     or after implementation of the Work;
25                   i.   liability, prior to Certification of Work Completion (as
26     described in Paragraph 4.7 of the SOW), for additional response actions that EPA
27     determines are necessary to achieve and maintain Performance Standards or to
28     carry out and maintain the effectiveness of the remedy set forth in the ROD, but


                                               63
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 70 of 347 Page ID #:104




1      that cannot be required pursuant to Paragraph 14 (Modification of SOW or Related
2      Deliverables);
3                    j.    liability for additional operable units at the Site or the final
4      response action for OU2; and
5                    k.    liability for costs that the United States or DTSC will incur or
6      has incurred regarding OU2 but that are not within the definition of Past Response
7      Costs, DTSC Past Response Costs, Future Response Costs, or DTSC Future
8      Response Costs; however, this Subparagraph k. does not alter any previous
9      agreements reached in the documents listed in Section I, Paragraph H of this
10     Consent Decree.
11           62.     General Reservations of Rights as to the Settling Cash Defendants.
12     The United States and DTSC reserve, and this Consent Decree is without prejudice
13     to, all rights against Settling Cash Defendants with respect to all matters not
14     expressly included within Plaintiffs’ covenants. Areas of the Site outside the Work
15     Area are generally not encompassed within the scope of this Consent Decree;
16     therefore, the United States’ and DTSC’s rights regarding areas of the Site outside
17     the Work Area are generally reserved, unless expressly included within Plaintiffs’
18     covenants. Notwithstanding any other provision of this Consent Decree, the
19     United States and DTSC reserve all rights against Settling Cash Defendants with
20     respect to:
21                   a.    liability for failure by Settling Cash Defendants to meet a
22     requirement of this Consent Decree;
23                   b.    liability arising from the past, present, or future disposal,
24     release, or threat of release of Waste Material outside of the Work Area;
25                   c.    liability based on the ownership of any real property within the
26     Work Area by any Settling Cash Defendant when such ownership commences after
27     signature of this Consent Decree by that Settling Cash Defendant;
28


                                                64
                                          CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 71 of 347 Page ID #:105




1                   d.     liability based on the operation of any facilities within the
2      Work Area by any Settling Cash Defendant when such operation commences after
3      signature of this Consent Decree by that Settling Cash Defendant;
4                   e.    liability based on any Settling Cash Defendant’s transportation,
5      treatment, storage, or disposal, or arrangement for transportation, treatment,
6      storage, or disposal of Waste Material at or in connection with the Work Area,
7      other than as provided in the ROD, the Work, or otherwise ordered by EPA or
8      DTSC, after signature of this Consent Decree by that Settling Cash Defendant;
9                   f.    liability for damages for injury to, destruction of, or loss of
10     natural resources, and for the costs of any natural resource damage assessments;
11                  g.    criminal liability;
12                  h.    liability for implementing Source Control;
13                  i.    liability for additional operable units at the Site or the final
14     response action for OU2; and
15                  j.    liability for costs that the United States or DTSC will incur or
16     has incurred regarding OU2 but that are not within the definition of Past Response
17     Costs, DTSC Past Response Costs, Future Response Costs, or DTSC Future
18     Response Costs; however, this Subparagraph j. does not alter any previous
19     agreements reached in the documents listed in Section I, Paragraph H of this
20     Consent Decree.
21           63.    Work Takeover.
22                  a.    In the event EPA (after providing DTSC with a reasonable
23     opportunity for review and comment) determines that Settling Work Defendants
24     (1) have ceased implementation of any portion of the Work, (2) are seriously or
25     repeatedly deficient or late in their performance of the Work, or (3) are
26     implementing the Work in a manner that may cause an endangerment to human
27     health or the environment, EPA may issue a written notice (“Work Takeover
28     Notice”) to Settling Work Defendants. Any Work Takeover Notice issued by EPA


                                               65
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 72 of 347 Page ID #:106




1      will specify the grounds upon which such notice was issued and will provide
2      Settling Work Defendants a period of fifteen (15) working days within which to
3      remedy the circumstances giving rise to EPA’s issuance of such notice.
4                   b.    If, after expiration of the fifteen (15) working-day notice period
5      specified in Paragraph 63.a, Settling Work Defendants have not remedied to EPA’s
6      satisfaction the circumstances giving rise to EPA’s issuance of the relevant Work
7      Takeover Notice, EPA may at any time thereafter assume the performance of all or
8      any portion(s) of the Work as EPA deems necessary (“Work Takeover”). EPA
9      will notify Settling Work Defendants in writing (which writing may be electronic)
10     if EPA determines that implementation of a Work Takeover is warranted under this
11     Paragraph 63.b. Funding of Work Takeover costs is addressed under
12     Paragraph 25.
13                  c.    Settling Work Defendants may invoke the dispute resolution
14     procedures set forth in Section XIV (Dispute Resolution) to dispute EPA’s
15     implementation of a Work Takeover under Paragraph 63.b. However,
16     notwithstanding Settling Work Defendants’ invocation of such dispute resolution
17     procedures, and during the pendency of any such dispute, EPA may in its sole
18     discretion commence and continue a Work Takeover under Paragraph 63.b until
19     the earlier of (1) the date that Settling Work Defendants remedy, to EPA’s
20     satisfaction, the circumstances giving rise to EPA’s issuance of the relevant Work
21     Takeover Notice, or (2) the date that a final decision is rendered in accordance with
22     the dispute resolution provisions of Section XIV requiring EPA to terminate such
23     Work Takeover.
24           64.    Notwithstanding any other provision of this Consent Decree, the
25     United States and DTSC retain all authority and reserve all rights to take any and
26     all response actions authorized by law.
27
28


                                              66
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 73 of 347 Page ID #:107




1      XVII. COVENANTS BY SETTLING DEFENDANTS
2            65.    Covenants by Settling Defendants. Subject to the reservations in
3      Paragraph 67, Settling Defendants covenant not to sue and agree not to assert any
4      claims or causes of action against the United States or DTSC with respect to the
5      Work, past response actions regarding OU2, Past Response Costs, DTSC Past
6      Response Costs, Future Response Costs, DTSC Future Response Costs, and this
7      Consent Decree, including, but not limited to:
8                   a.     any direct or indirect claim for reimbursement from the EPA
9      Hazardous Substance Superfund through CERCLA Sections 106(b)(2), 107, 111,
10     112 or 113 (42 U.S.C. §§ 9606(b)(2), 9607, 9611, 9612, or 9613), or any other
11     provision of law;
12                  b.     any claims under CERCLA Sections 107 or 113, 42 U.S.C. §§
13     9607 or 9613, RCRA Section 7002(a), 42 U.S.C. § 6972(a), or state law regarding
14     the Work, past response actions regarding OU2, Past Response Costs, DTSC Past
15     Response Costs, Future Response Costs, DTSC Future Response Costs, and this
16     Consent Decree; or
17                  c.     any claims arising out of past response actions at or in
18     connection with OU2, including any claim under the United States Constitution,
19     the California Constitution, the Tucker Act, 28 U.S.C. § 1491, the Equal Access to
20     Justice Act, 28 U.S.C. § 2412, or at common law.
21           66.    Except as provided in Paragraph 69 (Claims Against De Micromis
22     Parties), Paragraph 71 (Claims Against Previously and Further Settling De Minimis
23     Parties and Ability to Pay Parties), and Paragraph 85 (Res Judicata and Other
24     Defenses), the covenants in this Section shall not apply if the United States or
25     DTSC brings a cause of action or issues an order pursuant to any of the
26     reservations in Section XVI (Covenants by Plaintiffs), other than in Paragraphs
27     61.a or 62.a (claims for failure to meet a requirement of the Consent Decree), 61.g
28     or 62.g (criminal liability), and 61.h (violations of federal/state law during or after


                                                67
                                          CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 74 of 347 Page ID #:108




1      implementation of the Work), but only to the extent that Settling Defendants’
2      claims arise from the same response action, response costs, or damages that the
3      United States or DTSC is seeking pursuant to the applicable reservation.
4            67.    Settling Defendants reserve, and this Consent Decree is without
5      prejudice to, claims against the United States, subject to the provisions of
6      Chapter 171 of Title 28 of the United States Code, or DTSC, subject to the
7      provisions of Division 3.6 of the California Government Code, section 810 et seq.
8      and brought pursuant to any statute other than CERCLA or RCRA and for which
9      the waiver of sovereign immunity is found in a statute other than CERCLA or
10     RCRA, for money damages for injury or loss of property or personal injury or
11     death caused by the negligent or wrongful act or omission of any employee of the
12     United States, as that term is defined in 28 U.S.C. § 2671, or any employee of
13     DTSC, as that term is defined in California Government Code section 19815, while
14     acting within the scope of his or her office or employment under circumstances
15     where the United States or DTSC, if a private person, would be liable to the
16     claimant in accordance with the law of the place where the act or omission
17     occurred. However, the foregoing shall not include any claim based on EPA’s or
18     DTSC’s selection of response actions, or the oversight or approval of Settling
19     Defendants’ plans, reports, other deliverables or activities.
20           68.    Nothing in this Consent Decree shall be deemed to constitute
21     preauthorization of a claim within the meaning of Section 111 of CERCLA,
22     42 U.S.C. § 9611, or 40 C.F.R. § 300.700(d).
23           69.    Claims Against De Micromis Parties. Settling Defendants agree not
24     to assert any claims and to waive all claims or causes of action (including but not
25     limited to claims or causes of action under Sections 107(a) and 113 of CERCLA,
26     42 U.S.C. §§ 9607(a) and 9613) that they may have for all matters relating to the
27     Site against any De Micromis Parties.
28


                                               68
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 75 of 347 Page ID #:109




1            70.    The waiver in Paragraph 69 (Claims Against De Micromis Parties)
2      shall not apply with respect to any defense, claim, or cause of action that a Settling
3      Defendant may have against any person meeting the criteria in Paragraph 69 if
4      such person asserts a claim or cause of action relating to the Site against such
5      Settling Defendant. This waiver also shall not apply to any claim or cause of
6      action against any person meeting the criteria in Paragraph 69 if EPA determines:
7                   a.     that such person has failed to comply with any EPA requests for
8      information or administrative subpoenas issued pursuant to Section 104(e) or
9      122(e) of CERCLA, 42 U.S.C. § 9604(e) or 9622(e), or Section 3007 of RCRA,
10     42 U.S.C. § 6927, or has impeded or is impeding, through action or inaction, the
11     performance of a response action or natural resource restoration with respect to the
12     Site, or has been convicted of a criminal violation for the conduct to which this
13     waiver would apply and that conviction has not been vitiated on appeal or
14     otherwise; or
15                  b.     that the materials containing hazardous substances sent to the
16     Omega Property by such person have contributed significantly, or could contribute
17     significantly, either individually or in the aggregate, to the cost of response action
18     or natural resource restoration at the Site.
19           71.    Claims Against Previously and Further Settling De Minimis Parties
20     and Ability to Pay Parties. Settling Defendants agree not to assert any claims or
21     causes of action and to waive all claims or causes of action (including but not
22     limited to claims or causes of action under Sections 107(a) and 113 of CERCLA,
23     42 U.S.C. §§ 9607(a) and 9613) that they may have for response costs relating to
24     the Site against any Previously and Further Settling De Minimis Parties, or any
25     parties that have entered into a final settlement based on limited ability to pay, with
26     EPA with respect to the Site. This waiver shall not apply with respect to any
27     defense, claim, or cause of action that a Settling Defendant may have against any
28     person if such person asserts a claim or cause of action relating to the Site against


                                                69
                                          CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 76 of 347 Page ID #:110




1      such Settling Defendant. Further, this waiver shall not apply with respect to any
2      claim or cause of action a Settling Defendant could raise against insurers or
3      guarantors of performance of Ability to Pay Parties, unless such insurer or
4      guarantor has settled potential liability with EPA or the Settling Work Defendants.
5            72.    Settling Defendants’ Release and Covenant Not To Sue. Except as
6
       specifically provided in Paragraph 73 (Reservations of Rights Among Defendants),
7
       each Settling Defendant releases and covenants not to sue each other Settling
8
       Defendant, pursuant to Sections 107(a) or 113 of CERCLA, 42 U.S.C. §§ 9607(a)
9
       and 9613, Section 7002 of RCRA, 42 U.S.C. § 6972, or any other federal or state
10
       statute or common law with respect to all claims of any kind, known and unknown,
11
       against other Settling Defendants in connection with the alleged release or
12
       threatened release of any Contaminants of Concern (as that term is defined in the
13
14     ROD) at, on, or under the portions of the Site that are within the scope of Matters

15     Addressed in this Consent Decree. This covenant shall take effect upon the
16     Effective Date, for those Settling Defendants who have already signed this Consent
17     Decree as of that date. As to any Settling Defendants who join this Consent
18     Decree after the Effective Date, this covenant shall take effect when the Court
19     enters a modified or amended Consent Decree including them as Settling
20     Defendants; or, if no such judicial entry is required, the date that the United States
21     indicates in writing that the Consent Decree has been modified pursuant to
22     Paragraph 95 to add those defendants as Settling Defendants. This covenant is
23     conditioned upon the satisfactory performance by Settling Defendants of their
24
       obligations under this Consent Decree and under any cost sharing or settlement
25
       agreements to resolve liabilities for the Matters Addressed in this Consent Decree
26
       that such parties have entered into among themselves (“Other Settlement
27
       Agreements”).
28


                                               70
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 77 of 347 Page ID #:111




1            73.    Reservations of Rights Among Defendants. Settling Defendants
2      reserve, and this Consent Decree is without prejudice to, claims against other
3      Settling Defendants (a) to enforce obligations under this Consent Decree or Other
4      Settlement Agreements and (b) for matters that are not Matters Addressed by this
5      Consent Decree and which are excluded from or not subject to any Other
6      Settlement Agreements, including, but not limited to, claims or causes of actions
7
       under federal or state law Settling Defendants may have for natural resource
8
       damages, common law claims, Proposition 65 and California Unfair Business
9
       Practices, and Source Control.
10
11           74.    Claims Against Other Settling Defendants in Certain Other Site
12     Litigation. For Certain Other Site Litigation, each Settling Defendant agrees not to
13     assert any claims and to waive all claims or causes of action (including but not
14     limited to claims or causes of action under Sections 107(a) and 113 of CERCLA,
15     42 U.S.C. §§ 9607(a) and 9613) that that Settling Defendant may have against
16     other Settling Defendants for response costs relating to Matters Addressed in this
17     Consent Decree.
18
             75.    Agreement Between the United States and OPOG Regarding Sharing
19
       of Costs Recovered From Certain Noticed PRPs. For purposes of this Paragraph,
20
       “Certain Noticed PRPs” shall mean the parties listed in Appendix G, as well as
21
       their corporate successors, each of which parties were sent Special and/or General
22
       Notice Letters by EPA.
23
                    a.    If OPOG receives payment(s) from one or more Certain
24
       Noticed PRPs for all or part of OPOG’s claims against those parties, OPOG shall
25
       pay 30% of the gross recovered payment(s) to EPA, plus Interest on such
26
       payment(s) calculated from the date of OPOG’s receipt of each payment to
27
       December 31st of the calendar year of such receipt. OPOG shall provide to the
28
       United States (in accordance with Section XXI (Notices and Submissions)) notice

                                              71
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 78 of 347 Page ID #:112




1      of OPOG’s receipt of all such payments within fourteen (14) days of such receipt.
2      OPOG shall make such payments to EPA under this Paragraph no later than
3      March 1 of the year immediately following the calendar year in which OPOG
4      received such gross recovered payment(s). EPA may transmit a bill for such
5      payment (including Interest), but is not required to do so.
6                   b.    The requirement to remit 30% of such gross recovered
7      payments to EPA shall not begin unless and until OPOG has recovered $6 million
8      gross, collectively from one or more Certain Noticed PRPs, and such requirement
9      shall terminate after EPA has received $7 million (exclusive of Interest payments
10     related to the $7 million) pursuant to this Paragraph. OPOG will provide
11     appropriate covenants and releases of their cost recovery claims and other related
12     claims, substantially similar to the covenants and releases provided in Paragraphs
13     72 and 74 of this Consent Decree and, if fair, reasonable, and in the public interest
14     to do so, EPA will extend an appropriate covenant and contribution protection to
15     those PRPs, as provided in Paragraphs 59 and 81 of this Decree.
16                   c.   The 70%/30% cost-sharing ratio, the $6 million trigger for
17     remittances to EPA, and the $7 million cap on remittances to EPA described in
18     subparagraphs a. and b. of this Paragraph also will apply to payments that EPA
19     recovers directly from one or more Certain Noticed PRPs pursuant to a settlement
20     agreement between EPA and such Certain Noticed PRP(s) for response costs
21     relating to Matters Addressed in this Consent Decree. In such settlement
22     agreement(s) with Certain Noticed PRP(s), if any, EPA will endeavor to provide
23     for OPOG’s 70% share to be remitted directly to OPOG from any such settling
24     party.
25              76. Agreement Between the United States and OPOG Regarding Sharing
26     of Costs Recovered From Further Settling De Minimis Parties. OPOG will work
27     cooperatively with EPA to prepare a CERCLA § 122(g) (42 U.S.C. § 9622(g)) de
28     minimis settlement for Further Settling De Minimis Parties. If EPA receives


                                               72
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 79 of 347 Page ID #:113




1      payment(s) from one or more Further Settling De Minimis Parties, EPA shall pay
2      70% of the gross recovered payment(s) to OPOG, plus Interest on such payment(s)
3      calculated from the date of receipt of each payment to December 31st of the
4      calendar year of such receipt. EPA shall provide to OPOG, in accordance with
5      Section XXI (Notices and Submissions), notice of EPA’s receipt of all such
6      payments within thirty (30) days of such receipt. EPA shall make such payments
7      to OPOG under this Paragraph no later than March 1 of the year immediately
8      following the calendar year in which EPA received such gross recovered
9      payment(s).
10             77. Agreement Between the United States and OPOG Regarding Costs
11     Recovered from Reichhold Bankruptcy. Reichhold Holdings US, Inc., and related
12     debtors (“Reichhold”), filed for Bankruptcy Court protection on September 30,
13     2014 (Bankr. No. 14-12237-MFW (USBC D. Del.)). The United States filed a
14     Proof of Claim in the bankruptcy asserting that Reichhold was liable as a
15     potentially responsible party (“PRP”) at the Site pursuant to Section 107 of
16     CERCLA, 42 U.S.C. § 9607. OPOG also filed a Proof of Claim asserting that
17     Reichhold was liable as a PRP at the Site, but withdrew its claim when it became
18     apparent that the United States was negotiating a settlement that would provide
19     funds, inter alia, for Work under this Consent Decree. Under the terms of a
20     proposed Bankruptcy Settlement Agreement, if such settlement is approved by the
21     Bankruptcy Court, OPOG shall have an allowed claim, as provided therein. Any
22     funds received by OPOG as a result of its allowed claim in the Reichhold
23     bankruptcy shall be used by OPOG to perform the Work. Such funds shall not be
24     subject to the cost sharing ratio set forth in Paragraph 75.a, but shall be counted
25     toward the $6 million trigger for remittances to EPA set forth in Paragraph 75.b.
26             78. Further Settlors. Settling Defendants agree that in the event that: (a)
27     on or after April 1, 2015, the United States and/or EPA reaches or has reached
28     settlement with any other potentially responsible party at OU2 who is not a


                                               73
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 80 of 347 Page ID #:114




1      signatory to this Consent Decree, and (b) the United States gives notice in
2      accordance with Section XXI (Notices and Submissions) that such party has
3      become a Further Settlor; then upon Court approval of a future settlement, Settling
4      Defendants commit that they shall extend to any such Further Settlor identical
5      releases and covenants not to sue to those set forth in Paragraphs 72 and 74,
6      without further monetary consideration except as described in Paragraphs 75 and
7      76, subject to the reservations of rights in Paragraph 73, and in exchange for
8      mutual releases of claims and appeals by that Further Settlor against Settling
9      Defendants identical to the releases and covenants not to sue set forth in
10     Paragraphs 72 and 74. The commitments of Settling Defendants to provide such
11     covenants not to sue shall not take effect as to any Further Settlor unless and until
12     the settlement with such Further Settlor becomes a final judgment. The United
13     States, on behalf of EPA, has sole discretion to determine whether a party is to be
14     deemed a “Further Settlor” for purposes of this Paragraph, and may include parties
15     whom EPA identifies as potentially responsible parties after the Effective Date of
16     this Decree. Notwithstanding the foregoing, the United States and the Settling
17     Work Defendants agree that no Further Settlor shall be deemed a Settling Work
18     Defendant to perform Work and to implement this Consent Decree without the
19     prior consent of the Settling Work Defendants, which consent shall not be
20     unreasonably withheld.
21           79.    The United States and Settling Work Defendants may, by agreement,
22     modify this Consent Decree after its Effective Date by enlarging the list of
23     Settling Cash Defendants and/or the list of Certain Noticed PRPs.
24     XVIII. EFFECT OF SETTLEMENT; CONTRIBUTION
25           80.    Except as provided in Paragraph 78 (Further Settlors), Paragraph 71
26     (Claims Against Previously and Further Settling De Minimis Parties and Ability to
27     Pay Parties) and Paragraph 69 (Claims Against De Micromis Parties), nothing in
28     this Consent Decree shall be construed to create any rights in, or grant any cause of


                                               74
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 81 of 347 Page ID #:115




1      action to, any person not a Party to this Consent Decree. Except as provided in
2      Paragraph 71 (Claims Against Previously and Further Settling De Minimis Parties
3      and Ability to Pay Parties) and Paragraph 69 (Claims Against De Micromis
4      Parties), each of the Parties expressly reserves any and all rights (including, but not
5      limited to, pursuant to Section 113 of CERCLA, 42 U.S.C. § 9613, and Section
6      7002 of RCRA, 42 U.S.C. § 6972), defenses, claims, demands, and causes of
7      action that each Party may have with respect to any matter (including but not
8      limited to Source Control), transaction, or occurrence relating in any way to the
9      Site against any person not a Party hereto. Nothing in this Consent Decree
10     diminishes the right of the United States or DTSC, pursuant to Section 113(f)(2)
11     and (3) of CERCLA, 42 U.S.C. § 9613(f)(2)-(3), to pursue any such persons to
12     obtain additional response costs or response action and to enter into settlements
13     that give rise to contribution protection pursuant to Section 113(f)(2).
14           81.    The Parties agree, and by entering this Consent Decree this Court
15     finds, that this Consent Decree constitutes a judicially-approved settlement
16     pursuant to which each Settling Defendant who is a Settling Defendant at the time
17     of the Effective Date has, as of the Effective Date, resolved liability to the United
18     States and DTSC within the meaning of Section 113(f)(2) of CERCLA, 42 U.S.C.
19     § 9613(f)(2), and is entitled, as of the Effective Date, to protection from
20     contribution actions or claims as provided by Section 113(f)(2) of CERCLA, or as
21     may be otherwise provided by law, for Matters Addressed in this Consent Decree.
22     For Settling Defendants, if any, who join this Consent Decree after the Effective
23     Date, the date on which that defendant shall have “resolved liability to the United
24     States and DTSC” within the meaning of this Paragraph is the date on which the
25     Court enters a modified or amended Consent Decree including that defendant as a
26     Settling Defendant, or, if no such judicial entry is required, the date that the United
27     States indicates in writing that the Consent Decree has been modified pursuant to
28     Paragraph 95 to add those defendants as Settling Defendants.


                                               75
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 82 of 347 Page ID #:116




1             82.    The Parties further agree, and by entering this Consent Decree this
2      Court finds, that the complaint filed by the United States and by DTSC in this
3      action is a civil action within the meaning of Section 113(f)(1) of CERCLA, 42
4      U.S.C. § 9613(f)(1), and that this Consent Decree constitutes a judicially-approved
5      settlement pursuant to which each Settling Defendant who is a Settling Defendant
6      at the time of the Effective Date has, as of the Effective Date, resolved liability to
7      the United States and DTSC within the meaning of Section 113(f)(3)(B) of
8      CERCLA, 42 U.S.C. § 9613(f)(3)(B). For Settling Defendants, if any, who join
9      this Consent Decree after the Effective Date, the date on which that defendant shall
10     have “resolved liability to the United States and DTSC” within the meaning of this
11     Paragraph is the date on which the Court enters a modified or amended Consent
12     Decree including that defendant as a Settling Defendant, or, if no such judicial
13     entry is required, the date that the United States indicates in writing that the
14     Consent Decree has been modified pursuant to Paragraph 95 to add those
15     defendants as Settling Defendants.
16            83.    Each Settling Defendant shall, with respect to any suit or claim
17     brought by it for matters related to this Consent Decree, notify the United States
18     and DTSC in writing no later than sixty (60) days prior to the initiation of such suit
19     or claim.
20            84.    Each Settling Defendant shall, with respect to any suit or claim
21     brought against it for matters related to this Consent Decree, notify in writing the
22     United States and DTSC within ten (10) days after service of the complaint on
23     such Settling Defendant. In addition, each Settling Defendant shall notify the
24     United States and DTSC within ten (10) days after service or receipt of any Motion
25     for Summary Judgment and within ten days after receipt of any order from a court
26     setting a case for trial.
27            85.    Res Judicata and Other Defenses. In any subsequent administrative
28     or judicial proceeding initiated by the United States or DTSC for injunctive relief,


                                                76
                                          CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 83 of 347 Page ID #:117




1      recovery of response costs, or other appropriate relief relating to the Site, Settling
2      Defendants shall not assert, and may not maintain, any defense or claim based
3      upon the principles of waiver, res judicata, collateral estoppel, issue preclusion,
4      claim-splitting, or other defenses based upon any contention that the claims raised
5      by the United States or DTSC in the subsequent proceeding were or should have
6      been brought in the instant case; provided, however, that nothing in this Paragraph
7      affects the enforceability of the covenants not to sue set forth in Section XVI
8      (Covenants by Plaintiffs).
9      XIX.    ACCESS TO INFORMATION
10            86.   Settling Defendants shall provide to EPA and DTSC, upon request,
11     subject to the provisions of Paragraph 87 (Business Confidential and Privileged
12     Documents), copies of all records, reports, documents, and other information
13     (including records, reports, documents, and other information in electronic form)
14     (hereinafter referred to as “Records”) within their possession or control or that of
15     their contractors or agents relating to activities at the Site or to the implementation
16     of this Consent Decree, including, but not limited to, sampling, analysis, chain of
17     custody records, manifests, trucking logs, receipts, reports, sample traffic routing,
18     correspondence, or other documents or information regarding the Work. With
19     respect to requests for information regarding the Work, such requests shall be
20     made through Settling Work Defendants’ Project Coordinator in the first instance.
21     Settling Work Defendants shall also make available to EPA and DTSC, for
22     purposes of investigation, information gathering, or testimony, their employees,
23     agents, or representatives with knowledge of relevant facts concerning the
24     performance of the Work. This Paragraph does not create any requirement that
25     Settling Defendants retain Records beyond any Records they are already required
26     to retain pursuant to Section XX (Retention of Records) or any other applicable
27     requirements.
28


                                                77
                                          CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 84 of 347 Page ID #:118




1               87.   Business Confidential and Privileged Documents.
2                     a.    Settling Defendants may assert business confidentiality claims
3      covering part or all of the Records submitted to Plaintiffs under this Consent
4      Decree to the extent permitted by and in accordance with Section 104(e)(7) of
5      CERCLA, 42 U.S.C. § 9604(e)(7), and 40 C.F.R. § 2.203(b). A Settling Defendant
6      asserting business confidentiality claims shall segregate and clearly identify all
7      Records or parts thereof submitted under this Consent Decree for which that
8      Settling Defendant asserts business confidentiality claims. Records determined to
9      be confidential by EPA will be afforded the protection specified in 40 C.F.R. Part
10     2, Subpart B. If no claim of confidentiality accompanies Records when they are
11     submitted to EPA and DTSC, or if EPA has notified the Settling Defendant
12     asserting such business confidentiality claims that the Records are not confidential
13     under the standards of Section 104(e)(7) of CERCLA or 40 C.F.R. Part 2, Subpart
14     B, the public may be given access to such Records without further notice to
15     Settling Defendants.
16                    b.    Settling Defendants may assert that all or part of a Record is
17     privileged or protected as provided under federal or state law. If any such Settling
18     Defendant asserts such a privilege in lieu of providing Records, it shall provide
19     Plaintiffs with the following: (1) the title of the Record; (2) the date of the Record;
20     (3) the name, title, affiliation (e.g., company or firm), and address of the author of
21     the Record; (4) the name and title of each addressee and recipient; (5) a description
22     of the contents of the Record; and (6) the privilege asserted by Settling Defendant.
23     If a claim of privilege applies only to a portion of a Record, the Record shall be
24     provided to the United States and DTSC in redacted form to mask the privileged
25     portion only. Settling Defendants shall retain all Records that they claim to be
26     privileged until the United States has had a reasonable opportunity to dispute the
27     privilege claim and any such dispute has been resolved in the Settling Defendants’
28     favor.


                                                78
                                          CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 85 of 347 Page ID #:119




1                   c.     Settling Work Defendants asserting business confidentiality or
2      privilege claims pursuant to Paragraphs 87.a. or 87.b. may do so through the
3      Settling Work Defendants’ Project Coordinator.
4            88.    No claim of privilege or protection shall be made with respect to (a)
5      any data regarding the Site, including, but not limited to, all sampling, analytical,
6      monitoring, hydrogeologic, scientific, chemical, radiological, or engineering data,
7      or (b) the portion of any other Record that Settling Work Defendants are required
8      to create or generate pursuant to this Consent Decree.
9      XX.     RETENTION OF RECORDS
10             89. Records.
11                 a.      Liability Records. Until five (5) years after EPA’s Certification
12     of Work Completion under Paragraph 4.7 of the SOW, each Settling Defendant
13     shall preserve and retain all non-identical copies of Records (including Records in
14     electronic form) now in its possession or control or that come into its possession or
15     control that relate in any manner to its liability under CERCLA with respect to
16     OU2, provided, however, that Settling Defendants who are potentially liable as
17     owners or operators of property within the OU2 boundary must retain, in addition,
18     all Records that relate to the liability of any other person under CERCLA with
19     respect to such property. As to Records that relate to the potential liability of
20     Settling Defendants who arranged for disposal or treatment, or for transport for
21     disposal or treatment, of hazardous substances, at the Omega Property, or who
22     accepted for transport for disposal or treatment of hazardous substances at the
23     Omega Property, and who are members of OPOG, the requirement for Settling
24     Defendants to preserve and retain such Records in this Paragraph may be satisfied
25     by preservation and retention of such Records by OPOG or its contractors. The
26     requirements of this Paragraph do not extend to or encompass Records protected
27     under privilege and Records independently created for, or exchanged in connection
28     with, Certain Other Site Litigation.


                                               79
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 86 of 347 Page ID #:120




1                   b.     Records Related to Performance of Work and Implementation
2      of this Consent Decree. If not preserved and retained by the Settling Work
3      Defendants’ Project Coordinator, each Settling Defendant must also retain, and
4      instruct its contractors and agents to preserve, for the same period of time specified
5      above in Paragraph 89.a, all non-identical copies of the last draft or final version of
6      any Records (including Records in electronic form) now in its possession or
7      control or that come into its possession or control that relate in any manner to the
8      performance of the Work or implementation of this Consent Decree, provided,
9      however, that each Settling Defendant (and its contractors and agents) must retain,
10     in addition, copies of all data generated during the performance of the Work and
11     not contained in the aforementioned Records required to be retained. Each of the
12     above record retention requirements shall apply regardless of any corporate
13     retention policy to the contrary. As to Records that relate to the performance of the
14     Work and copies of data as referred to in the preceding sentences, but not as to any
15     other Records, the requirement for Settling Defendants to preserve and retain and
16     to instruct their contractors and agents to preserve such Records may be satisfied
17     by preservation and retention of such Records by the Settling Work Defendants’
18     Project Coordinator, to which the requirements of this Paragraph shall apply.
19           90.    At the conclusion of this record retention period, Settling Defendants
20     shall notify the United States and DTSC at least ninety (90) days prior to the
21     destruction of any such Records, and, upon request by the United States or DTSC,
22     Settling Defendants shall deliver any such Records to EPA or DTSC. Settling
23     Defendants may assert that certain Records are privileged under the attorney-client
24     privilege or any other privilege recognized by federal law. If Settling Defendants
25     assert such a privilege, they shall provide Plaintiffs with the following: (a) the title
26     of the Record; (b) the date of the Record; (c) the name, title, affiliation (e.g.,
27     company or firm), and address of the author of the Record; (d) the name and title
28     of each addressee and recipient; (e) a description of the subject of the Record; and


                                                80
                                          CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 87 of 347 Page ID #:121




1      (f) the privilege asserted by Settling Defendants. If a claim of privilege applies
2      only to a portion of a Record, the Record shall be provided to the United States and
3      DTSC in redacted form to mask the privileged portion only. Settling Defendants
4      shall retain all Records that they claim to be privileged until the United States and
5      DTSC have had a reasonable opportunity to dispute the privilege claim and any
6      such dispute has been resolved in the Settling Defendants’ favor. However, no
7      Records created or generated pursuant to the requirements of this Consent Decree
8      shall be withheld on the grounds that they are privileged or confidential.
9             91.   Each Settling Defendant certifies individually that, to the best of its
10     knowledge and belief, after thorough inquiry, it has not altered, mutilated,
11     discarded, destroyed, or otherwise disposed of any Records (other than identical
12     copies) relating to its potential liability regarding OU2 since the earlier of
13     notification of potential liability by the United States or the filing of suit against it
14     regarding OU2 and that it has fully complied with any and all EPA requests for
15     information regarding the Site pursuant to Sections 104(e) and 122(e) of CERCLA,
16     42 U.S.C. §§ 9604(e) and 9622(e), and Section 3007 of RCRA, 42 U.S.C. § 6927.
17     XXI.    NOTICES AND SUBMISSIONS
18            92.   Whenever, under the terms of this Consent Decree, written notice is
19     required to be given or a report or other document is required to be sent by one
20     Party to another, it shall be directed to the individuals at the addresses specified
21     below, unless those individuals or their successors give notice of a change to the
22     other Parties in writing. All notices and submissions shall be considered effective
23     upon receipt, unless otherwise provided. Notices required to be sent to EPA, and
24     not to the United States, under the terms of this Consent Decree should not be sent
25     to the U.S. Department of Justice. Except as otherwise provided, notice to a Party
26     by electronic means (if an email address is provided below) or by regular mail in
27     accordance with this Section satisfies any notice requirement of the Consent
28     Decree regarding such Party.


                                                 81
                                           CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 88 of 347 Page ID #:122




1       As to the United States:          EES Case Management Unit
2                                         Environment and Natural Resources Division
                                          U.S. Department of Justice
3                                         P.O. Box 7611
                                          Washington, DC 20044-7611
4
                                          Re: DJ #90-11-3-06529/10
5
                                          Wayne Praskins
6
                                          EPA Project Coordinator
7                                         United States Environmental Protection
                                           Agency, Region 9
8                                         75 Hawthorne Street, SFD-7
9                                         San Francisco, CA 94105
                                          Praskins.Wayne@epa.gov
10
11                                        With copies to:
12                                        Deborah Gitin
13                                        U.S. Department of Justice
                                          Environmental Enforcement Section
14                                        301 Howard St., Suite 1050
15                                        San Francisco, CA 94105
                                          Re: DJ #90-11-3-06529/10
16                                        Deborah.Gitin@usdoj.gov
17
        As to EPA:                        Wayne Praskins
18                                        EPA Project Coordinator
19                                        United States Environmental Protection
                                           Agency, Region 9
20                                        75 Hawthorne Street, SFD-7
21                                        San Francisco, CA 94105
                                          Praskins.Wayne@epa.gov
22
23      As to the Regional Financial      Regional Financial Management Officer
        Management Officer:               United States Environmental Protection
24                                          Agency, Region 9
25                                        75 Hawthorne Street
                                          San Francisco, CA 94105
26
27      As to DTSC Counsel:              Chief Counsel
                                         California Department of Toxic Substances
28                                         Control


                                             82
                                       CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 89 of 347 Page ID #:123




1                                           Office of Legal Counsel
2                                           1001 I Street, P.O. Box 806
                                            Sacramento, CA 95812
3
                                            Don Indermill
4
        As to DTSC:                         DTSC Project Coordinator
5                                           California Department of Toxic Substances
                                              Control
6
                                            9211 Oakdale Avenue
7                                           Chatsworth, CA 91311
                                            Don.Indermill@dtsc.ca.gov
8
9       As to Settling Work                 de maximis
        Defendants:                         Settling Work Defendants’ Project
10                                          Coordinator
11                                          1322 Scott Street, Suite 104
                                            San Diego, CA 92106
12                                          jkeener@demaximis.com
13
       XXII. RETENTION OF JURISDICTION
14
             93.    This Court retains jurisdiction over both the subject matter of this
15
       Consent Decree and Settling Defendants for the duration of the performance of the
16
       terms and provisions of this Consent Decree for the purpose of enabling any of the
17
       Parties to apply to the Court at any time for such further order, direction, and relief
18
       as may be necessary or appropriate for the construction or modification of this
19
       Consent Decree, or to effectuate or enforce compliance with its terms, or to resolve
20
       disputes in accordance with Section XIV (Dispute Resolution).
21
       XXIII. APPENDICES
22
             94.    The following appendices are attached to and incorporated into this
23
       Consent Decree:
24
             “Appendix A” is the ROD.
25
             “Appendix B” is the SOW.
26
             “Appendix C” is a map of the Site. It includes the general locations of key
27
       Work components as compared with ROD remedy locations.
28
             “Appendix D” is the list of Settling Cash Defendants.

                                               83
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 90 of 347 Page ID #:124




1            “Appendix E” is the list of Settling Work Defendants.
2            “Appendix F” is the list of parties that collectively comprise OPOG.
3            “Appendix G” is the list of Certain Noticed PRPs.
4            “Appendix H” is the CERCLA Performance Guarantee Sample Letter.
5      XXIV. MODIFICATION
6            95.    Except as provided in Paragraph 14 (Modification of SOW or Related
7      Deliverables), material modifications to this Consent Decree, including the SOW,
8      shall be in writing, signed by the United States, DTSC, and Settling Work
9      Defendants, and shall be effective upon approval by the Court. Except as provided
10     in Paragraph 14, non-material modifications to this Consent Decree, including the
11     SOW, shall be in writing and shall be effective when signed by duly authorized
12     representatives of the United States, DTSC, and Settling Work Defendants. A
13     modification to the SOW shall be considered material if it implements a ROD
14     amendment that fundamentally alters the basic features of the selected remedy
15     within the meaning of 40 C.F.R. § 300.435(c)(2)(ii). Before providing its approval
16     to any modification to the SOW, the United States will provide DTSC with a
17     reasonable opportunity to review and comment on the proposed modification.
18           96.    Modifications (non-material or material) that affect the obligations of
19     or the protections afforded to any Settling Cash Defendant must be signed by the
20     affected Settling Cash Defendant in order to be effective.
21           97.    Nothing in this Consent Decree shall be deemed to alter the Court’s
22     power to enforce, supervise, or approve modifications to this Consent Decree.
23     XXV. LODGING AND OPPORTUNITY FOR PUBLIC COMMENT
24           98.    This Consent Decree shall be lodged with the Court for a period of not
25     less than thirty (30) days for public notice and comment in accordance with
26     Section 122(d)(2) of CERCLA, 42 U.S.C. § 9622(d)(2), and 28 C.F.R. § 50.7. The
27     United States and DTSC reserve the right to withdraw or withhold their consent if
28     the comments regarding the Consent Decree disclose facts or considerations that


                                              84
                                        CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 91 of 347 Page ID #:125




1      indicate that the Consent Decree is inappropriate, improper, or inadequate.
2      Settling Defendants consent to the entry of this Consent Decree without further
3      notice.
4            99.    If for any reason the Court should decline to approve this Consent
5      Decree in the form presented, this agreement is voidable at the sole discretion of
6      any Party and the terms of the agreement may not be used as evidence in any
7      litigation between the Parties.
8      XXVI. SIGNATORIES/SERVICE
9            100. Each undersigned representative of a Settling Defendant and DTSC to
10     this Consent Decree, and the Assistant Attorney General for the Environment and
11     Natural Resources Division of the Department of Justice, certifies that he or she is
12     fully authorized to enter into the terms and conditions of this Consent Decree and
13     to execute and legally bind such Party to this document.
14           101. Each Settling Defendant agrees not to oppose entry of this Consent
15     Decree by this Court or to challenge any provision of this Consent Decree unless
16     the United States has notified Settling Defendants in writing that it no longer
17     supports entry of the Consent Decree.
18           102. Each Settling Defendant shall identify, on the attached signature page,
19     the name, address, and telephone number of an agent who is authorized to accept
20     service of process by mail on behalf of that Party with respect to all matters arising
21     under or relating to this Consent Decree. Settling Defendants agree to accept
22     service in that manner and to waive the formal service requirements set forth in
23     Rule 4 of the Federal Rules of Civil Procedure and any applicable local rules of
24     this Court, including, but not limited to, service of a summons. Settling
25     Defendants need not file an answer to the complaint in this action unless or until
26     the Court expressly declines to enter this Consent Decree.
27
28


                                               85
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 92 of 347 Page ID #:126




1      XXVII. FINAL JUDGMENT
2            103. This Consent Decree and its appendices constitute the final, complete,
3      and exclusive agreement and understanding among the Parties regarding the
4      settlement embodied in the Consent Decree. The Parties acknowledge that there
5      are no representations, agreements, or understandings relating to the settlement
6      other than those expressly contained in this Consent Decree.
7            104. Upon entry of this Consent Decree by the Court, this Consent Decree
8      shall constitute a final judgment between and among the United States, DTSC, and
9      Settling Defendants. The Court finds that there is no just reason for delay and
10     therefore enters this judgment as a final judgment under Fed. R. Civ. P. 54 and 58.
11
12     SO ORDERED THIS ____ DAY OF ______________, 2016.
13
14
15                                         ___________________________________
                                           United States District Judge
16
17
18
19
20
21
22
23
24
25
26
27
28


                                              86
                                        CONSENT DECREE
         Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 93 of 347 Page ID #:127




     1     Signature Page for Consent Decree regarding Operable Unit 2 at the Ome
 2 Chemical Corporation Superfund Site
 3
 4                                         FOR THE UNITED STATES OF
                                           A ARZ'7~7!'~ A .
 5
 b
 7
            ~.:                            JOIN `CRUD
 8
                                           Assis nt Attorney eneral
 9                                         E~onment and Natural Resources Division
10                                         U.S. Department of Justice
                                           Washington,DC 20530
11
12
13
                                           DEBO~ZAH A. GITIN                  V
14                                         KARL J. FINGERHOOD
15                                         Senior Counsel
                                           Environmental Enforcement Section
16,
                                           Environment and Natural Resources Division
17                                         U.S. Department of Justice
18                                         301 Howard St., Suite 1050
                                           San Francisco, CA 94105
19
20
21
22
23
24
25
26
27
28


                                               g~
                                        CONSENT DECREE
         Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 94 of 347 Page ID #:128




     1     Signature Page for Consent Decree regarding Operable Unit 2 at the Omega
     2     Chemical Corporation Superfund Site
     3
     4
                                          FOR THE UNITED STATES
                                          ENVIRONMENTAL PROTECTION
     6                                    AGENCY:
     7
 8
 9         Dated      7      k
10                                         ENRIQUE MANZANILLA
                                           Director, Superfund Division
11                                         U.S. Environmental Protection Agency
12                                         Region 9
13                                         75 Hawthorne Street
                                           San Francisco, CA 94105
14



          Date
17                                         HO~E~CHME’ yR
18                                         Assistant Regional Counsel
19                                         U.S. Environmental Protection Agency
                                           Region 9
20                                         75 Hawthorne Street
21                                         SanFrancisco,CA 94105
22
23
24
25
26
27
28


                                               88
                                         CONSENT DECREE
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 95 of 347 Page ID #:129




 1    Signature Page for Consent Decree regarding Operable Unit 2 at the Omega
 2 Chemical Corporation Superfund Site
 3
 4
                                          FOR PLAINTIFF STATE OF
 5                                        CALIFORNIA DEPARTMENT OF
 6                                        TOXIC SUBSTANCES CONTROL:

 7
 8
      Date '~       /~ > V ~~
 9                                        SAYAREH AMIREBRAHIMI
10                                        Branch Chief, Brownfields and
                                          Environmental Restoration Program
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                           89
                                     CONSENT DECREE
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 96 of 347 Page ID #:130




                                     90
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 97 of 347 Page ID #:131




                                       91
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 98 of 347 Page ID #:132




                                        92
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 99 of 347 Page ID #:133




                                        93
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 100 of 347 Page ID #:134




                                        94
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 101 of 347 Page ID #:135




                                        95
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 102 of 347 Page ID #:136




                                      96
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 103 of 347 Page ID #:137




                                        97
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 104 of 347 Page ID #:138




                                        98
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 105 of 347 Page ID #:139




                                        99
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 106 of 347 Page ID #:140




                                     100
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 107 of 347 Page ID #:141




                                        101
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 108 of 347 Page ID #:142




                                      102
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 109 of 347 Page ID #:143




                                       103
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 110 of 347 Page ID #:144




                                       104
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 111 of 347 Page ID #:145




                                    104.1
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 112 of 347 Page ID #:146




                                        105
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 113 of 347 Page ID #:147




                                        106
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 114 of 347 Page ID #:148




                                        107
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 115 of 347 Page ID #:149




                                        108
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 116 of 347 Page ID #:150




                                        109
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 117 of 347 Page ID #:151




                                        110
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 118 of 347 Page ID #:152




                                        111
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 119 of 347 Page ID #:153




                                         112
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 120 of 347 Page ID #:154




                                         113
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 121 of 347 Page ID #:155




                                        114
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 122 of 347 Page ID #:156




                                       115
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 123 of 347 Page ID #:157




                                        116
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 124 of 347 Page ID #:158




                                        117
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 125 of 347 Page ID #:159




                                        118
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 126 of 347 Page ID #:160




                                        119
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 127 of 347 Page ID #:161




                                        120
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 128 of 347 Page ID #:162




                                        121
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 129 of 347 Page ID #:163




                                        122
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 130 of 347 Page ID #:164




                                        123
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 131 of 347 Page ID #:165




                                        124
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 132 of 347 Page ID #:166




                                        125
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 133 of 347 Page ID #:167




                                         126
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 134 of 347 Page ID #:168




                                        127
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 135 of 347 Page ID #:169




                                        128
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 136 of 347 Page ID #:170




                                        129
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 137 of 347 Page ID #:171




                                        130
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 138 of 347 Page ID #:172




                                        131
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 139 of 347 Page ID #:173




                                        132
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 140 of 347 Page ID #:174




                                        133
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 141 of 347 Page ID #:175




                                        134
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 142 of 347 Page ID #:176




                                        135
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 143 of 347 Page ID #:177




                                        136
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 144 of 347 Page ID #:178




                                        137
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 145 of 347 Page ID #:179




                                        138
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 146 of 347 Page ID #:180




                                        139
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 147 of 347 Page ID #:181




                                    139.1
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 148 of 347 Page ID #:182




                                    140
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 149 of 347 Page ID #:183




                                        141
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 150 of 347 Page ID #:184




                                        142
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 151 of 347 Page ID #:185




                                        143
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 152 of 347 Page ID #:186




                                        144
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 153 of 347 Page ID #:187




                                        145
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 154 of 347 Page ID #:188




                                        146
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 155 of 347 Page ID #:189




                                      146.1
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 156 of 347 Page ID #:190




                                        147
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 157 of 347 Page ID #:191




                                        148
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 158 of 347 Page ID #:192




                                        149
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 159 of 347 Page ID #:193




                                        150
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 160 of 347 Page ID #:194




                                       151
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 161 of 347 Page ID #:195




                               152
 Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 162 of 347 Page ID #:196




1                                  Appendix A
2
                                      ROD
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                        153
                                 CONSENT DECREE
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 163 of 347 Page ID #:197




                                        

                             (3$6XSHUIXQG
                ,QWHULP$FWLRQ5HFRUGRI'HFLVLRQ
                                        
                                        

          2PHJD&KHPLFDO&RUSRUDWLRQ6XSHUIXQG6LWH
                              2SHUDEOH8QLW
                   /RV$QJHOHV&RXQW\&DOLIRUQLD
                       (3$,'&$'
                                        
                           6HSWHPEHU
                                        
                                        
                                        



                                                          
  




                                       154                         Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 164 of 347 Page ID #:198




                ,QWHULP$FWLRQ5HFRUGRI'HFLVLRQ
                                      IRU

                             2SHUDEOH8QLW
        2PHJD&KHPLFDO&RUSRUDWLRQ6XSHUIXQG6LWH
                                        
                                        
                       /RV$QJHOHV&RXQW\&DOLIRUQLD
                           (3$,'&$'
                                        
                                        
                              6HSWHPEHU
                                        
                                        
               8QLWHG6WDWHV(QYLURQPHQWDO3URWHFWLRQ$JHQF\
                    5HJLRQ,;±6DQ)UDQFLVFR&DOLIRUQLD
                                        




  
                                            155                      Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 165 of 347 Page ID #:199




                                            7DEOHRI&RQWHQWV
  $FURQ\PVDQG$EEUHYLDWLRQVYL

  3DUW±'HFODUDWLRQ
                    6LWH1DPHDQG/RFDWLRQ
                    6WDWHPHQWRI%DVLVDQG3XUSRVH
                    $VVHVVPHQWRIWKH6LWH
                    'HVFULSWLRQRIWKH6HOHFWHG5HPHG\
                    6WDWXWRU\'HWHUPLQDWLRQV
                    52'&HUWLILFDWLRQ&KHFNOLVW
                    $XWKRUL]LQJ6LJQDWXUH
  3DUW±'HFLVLRQ6XPPDU\
                    6LWH1DPH/RFDWLRQDQG'HVFULSWLRQ
                    6LWH+LVWRU\DQG(QIRUFHPHQW$FWLYLWLHV
                           6LWH+LVWRU\
                           )HGHUDO6WDWHDQG/RFDO6LWH,QYHVWLJDWLRQVDQG5HVSRQVH$FWLRQV
                    &RPPXQLW\3DUWLFLSDWLRQ
                    6FRSHDQG5ROHRI2SHUDEOH8QLW
                           5ROHRI2SHUDEOH8QLW
                           6FRSHRI5HVSRQVH$FWLRQ
                    6LWH&KDUDFWHULVWLFV
                           &RQFHSWXDO6LWH0RGHO
                           2YHUYLHZRIWKH6LWH
                           6XUIDFHDQG6XEVXUIDFH)HDWXUHV
                           6DPSOLQJ6WUDWHJ\
                           &RQWDPLQDQW6RXUFH$UHDV
                           7\SHVRI&RQWDPLQDWLRQDQG$IIHFWHG0HGLD
                           /RFDWLRQRI&RQWDPLQDWLRQDQG3RWHQWLDO5RXWHVRI0LJUDWLRQ
                    &XUUHQWDQG3RWHQWLDO)XWXUH/DQGDQG:DWHU8VHV
                    6XPPDU\RI6LWH5LVNV
                           ,GHQWLILFDWLRQRI&2&V
                           ([SRVXUH$VVHVVPHQW
                           7R[LFLW\$VVHVVPHQW
                           5LVN&KDUDFWHUL]DWLRQ
                           %DVLVIRU$FWLRQ
                    5HPHGLDO$FWLRQ2EMHFWLYHV
                    'HVFULSWLRQRI5HPHGLDO$OWHUQDWLYHV
                           'HVFULSWLRQRI5HPHGLDO$OWHUQDWLYH&RPSRQHQWV
                           &RPPRQ(OHPHQWVDQG'LVWLQJXLVKLQJ)HDWXUHVRI(DFK$OWHUQDWLYH
                           ([SHFWHG2XWFRPHVRI(DFK$OWHUQDWLYH
                   6XPPDU\RI&RPSDUDWLYH$QDO\VLVRI$OWHUQDWLYHV
                        2YHUDOO3URWHFWLRQRI+XPDQ+HDOWKDQGWKH(QYLURQPHQW
                        &RPSOLDQFHZLWK$5$5V


                                                                                                                                             iii


                                                                       156                                            Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 166 of 347 Page ID #:200




                         /RQJ7HUP(IIHFWLYHQHVVDQG3HUPDQHQFH
                         5HGXFWLRQRI7R[LFLW\0RELOLW\RU9ROXPHWKURXJK7UHDWPHQW
                         6KRUW7HUP(IIHFWLYHQHVV
                         ,PSOHPHQWDELOLW\
                         &RVW
                         6WDWH$FFHSWDQFH
                         &RPPXQLW\$FFHSWDQFH
                    3ULQFLSDO7KUHDW:DVWHV
                    6HOHFWHG5HPHG\
                         6XPPDU\RIWKH5DWLRQDOHIRUWKH,QWHULP5HPHG\
                         'HVFULSWLRQRIWKH,QWHULP5HPHG\
                         6XPPDU\RIWKH(VWLPDWHG5HPHG\&RVWV
                         ([SHFWHG2XWFRPHVRIWKH6HOHFWHG5HPHG\
                         $SSOLFDEOHRU5HOHYDQWDQG$SSURSULDWH5HTXLUHPHQWV
                    6WDWXWRU\'HWHUPLQDWLRQV
                         3URWHFWLRQRI+XPDQ+HDOWKDQGWKH(QYLURQPHQW
                         &RPSOLDQFHZLWK$5$5V
                         &RVW(IIHFWLYHQHVV
                         8WLOL]DWLRQRI3HUPDQHQW6ROXWLRQVDQG$OWHUQDWLYH7UHDWPHQW
                                 7HFKQRORJLHVWRWKH0D[LPXP([WHQW3UDFWLFDEOH
                         3UHIHUHQFHIRU7UHDWPHQWDVD3ULQFLSDO(OHPHQW
                         )LYH<HDU5HYLHZ5HTXLUHPHQWV
                    'RFXPHQWDWLRQRI6LJQLILFDQW&KDQJHV
  3DUW±5HVSRQVLYHQHVV6XPPDU\
           6WDNHKROGHU,VVXHV
         7HFKQLFDODQG/HJDO,VVXHV
  $SSHQGL[$'HWDLOHG5HVSRQVHVWR&RPPHQWV
  
  /LVWRI7DEOHV
  7DEOH6XPPDU\RI&KHPLFDOVRI&RQFHUQDQG0HGLXP6SHFLILF([SRVXUH3RLQW
  &RQFHQWUDWLRQV
  7DEOH$&DQFHU7R[LFLW\'DWD
  7DEOH%&DQFHU7R[LFLW\'DWD
  7DEOH$1RQ&DQFHU7R[LFLW\'DWD
  7DEOH%1RQ&DQFHU7R[LFLW\'DWD
  7DEOH$5LVN&KDUDFWHUL]DWLRQ6XPPDU\±&DUFLQRJHQV
  7DEOH%5LVN&KDUDFWHUL]DWLRQ6XPPDU\1RQ&DUFLQRJHQV
  7DEOH$5LVN&KDUDFWHUL]DWLRQ6XPPDU\±&DUFLQRJHQV
  7DEOH%5LVN&KDUDFWHUL]DWLRQ6XPPDU\1RQ&DUFLQRJHQV
  7DEOH$5LVN&KDUDFWHUL]DWLRQ6XPPDU\±&DUFLQRJHQV
  7DEOH6XPPDU\RI5HPHGLDO$OWHUQDWLYH&RPSRQHQWV
  7DEOH6XPPDU\2I(VWLPDWHG&RVWV)RU5HPHGLDO$OWHUQDWLYHV
  7DEOH&RPSDUDWLYH$QDO\VLVRI5HPHGLDO$OWHUQDWLYHV



                                                                                                                                               iv

                                                                       157
                                                                                                                      Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 167 of 347 Page ID #:201




  7DEOH$'HWDLOHG&RVW(VWLPDWHIRUWKH6HOHFWHG5HPHG\3OXPHZLGH([WUDFWLRQ:LWK
  'ULQNLQJ:DWHU(QG8VH
  7DEOH%'HWDLOHG&RVW(VWLPDWHIRUWKH6HOHFWHG5HPHG\3OXPH:LGH([WUDFWLRQ:LWK
  'ULQNLQJ:DWHU(QG8VH
  7DEOH$'HWDLOHG&RVW(VWLPDWHIRUWKH6HOHFWHG5HPHG\±3OXPHZLGH([WUDFWLRQ:LWK
  5HLQMHFWLRQ
  7DEOH%'HWDLOHG&RVW(VWLPDWHIRUWKH6HOHFWHG5HPHG\±3OXPHZLGH([WUDFWLRQ:LWK
  5HLQMHFWLRQ
  7DEOH3HUIRUPDQFH6WDQGDUGVIRU7UHDWPHQWRI([WUDFWHG*URXQGZDWHUIRU'ULQNLQJ
  :DWHU(QG8VH
  7DEOH3HUIRUPDQFH6WDQGDUGVLQ7UHDWHG*URXQGZDWHUIRU5HLQMHFWLRQ(QG8VH
  7DEOH3RWHQWLDO&KHPLFDO6SHFLILF$SSOLFDEOHRU5HOHYDQWDQG$SSURSULDWH
  5HTXLUHPHQWV
  7DEOH3RWHQWLDO$FWLRQ6SHFLILF$SSOLFDEOHRU5HOHYDQWDQG$SSURSULDWH5HTXLUHPHQWV
  7DEOH3RWHQWLDO/RFDWLRQ6SHFLILF$SSOLFDEOHRU5HOHYDQWDQG$SSURSULDWH
  5HTXLUHPHQWV
  7DEOH7R%H&RQVLGHUHG&ULWHULD
  
  /LVWRI)LJXUHV
           /RFDWLRQRI28
           28([WHQWRI3&(*URXQGZDWHU&RQWDPLQDWLRQ
           6RXUFH$UHDVDQG0RQLWRULQJ:HOO/RFDWLRQV
           &RQFHSWXDO6LWH0RGHO
           6XUIDFH6WUHDPVDQG6SUHDGLQJ%DVLQVLQ28$UHD
           6HSWHPEHU3&(3OXPH
           6HSWHPEHU7&(3OXPH
           6FKHPDWLFRI6HOHFWHG5HPHG\
           3URFHVV)ORZ'LDJUDPRI6HOHFWHG5HPHG\
    




                                                                                                                                                  v
                                                                          158                                           Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 168 of 347 Page ID #:202




  $FURQ\PVDQG$EEUHYLDWLRQV
  J/           PLFURJUDP V SHUOLWHU
  JP          PLFURJUDP V SHUFXELFPHWHU
  $0.            $QJHOHV&KHPLFDO&RPSDQ\DQG0F.HVVRQ&RUSRUDWLRQIDFLOLWLHV
  $2&            $GPLQLVWUDWLYH2UGHURQ&RQVHQW
  $23            DGYDQFHGR[LGDWLRQSURFHVV
  $5$5           $SSOLFDEOHRU5HOHYDQWDQG$SSURSULDWH5HTXLUHPHQW
  %$&7           EHVWDYDLODEOHFRQWUROWHFKQRORJ\
  EJV            EHORZJURXQGVXUIDFH
  %03            EHVWPDQDJHPHQWSUDFWLFH
  &DO(3$        &DOLIRUQLD(QYLURQPHQWDO3URWHFWLRQ$JHQF\
  &%0:'          &HQWUDO%DVLQ0XQLFLSDO:DWHU'LVWULFW
  &&5            &DOLIRUQLD&RGHRI5HJXODWLRQV
  &'             &RQVHQW'HFUHH
  &'3+           &DOLIRUQLD'HSDUWPHQWRI3XEOLF+HDOWK
  &':5           &DOLIRUQLD'HSDUWPHQWRI:DWHU5HVRXUFHV
  &(             FHQWUDOH[WUDFWLRQ
  &(5&/$         &RPSUHKHQVLYH(QYLURQPHQWDO5HVSRQVH&RPSHQVDWLRQ
                  DQG/LDELOLW\$FW
  &(5&/,6        &RPSUHKHQVLYH(QYLURQPHQWDO5HVSRQVH&RPSHQVDWLRQ
                 DQG/LDELOLW\,QIRUPDWLRQ6\VWHP
  &)5            Code of Federal Regulations
  &2&            FRQWDPLQDQWRIFRQFHUQ
  &:$            &OHDQ:DWHU$FW
  '&$            GLFKORURHWKDQH
  '&(            GLFKORURHWKHQH
  '(+3           ELV HWK\OKH[\O SKWKDODWH
  '76&           &DOLIRUQLD'HSDUWPHQWRI7R[LF6XEVWDQFHV&RQWURO
  (/&5           H[FHVVOLIHWLPHFDQFHUULVN
  (3$            86(QYLURQPHQWDO3URWHFWLRQ$JHQF\
  (3&            H[SRVXUHSRLQWFRQFHQWUDWLRQ
  )H             LURQ
  )6             IHDVLELOLW\VWXG\
  *$&            JUDQXODUDFWLYDWHGFDUERQ
  *+*            JUHHQKRXVHJDV
  JSP            JDOORQ V SHUPLQXWH
  *6:&           *ROGHQ6WDWH:DWHU&RPSDQ\
  *:73           JURXQGZDWHUWUHDWPHQWSODQW
  + 6&RGH       +HDOWKDQG6DIHW\&RGH
  +($67          +HDOWK(IIHFWV$VVHVVPHQW6XPPDU\7DEOHV

                                                                                    vi

                                             159                       Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 169 of 347 Page ID #:203




  +,             KD]DUGLQGH[
  ++5$           KXPDQKHDOWKULVNDVVHVVPHQW
  +4             KD]DUGTXRWLHQW
  +9$&           KHDWLQJYHQWLODWLRQDQGDLUFRQGLWLRQLQJ
  N:             NLORZDWW V 
  ,&             LQVWLWXWLRQDOFRQWURO
  ,5,6           ,QWHJUDWHG5LVN,QIRUPDWLRQ6\VWHP
  ,;             LRQH[FKDQJH
  /$&'+6         /RV$QJHOHV&RXQW\'HSDUWPHQWRI+HDOWK6HUYLFHV
  /$&6'          /RV$QJHOHV&RXQW\6DQLWDWLRQ'LVWULFW
  /(             OHDGLQJHGJH
  /*$&           OLTXLGSKDVHJUDQXODUDFWLYDWHGFDUERQ
  0&/            PD[LPXPFRQWDPLQDQWOHYHO
  PJ/           PLOOLJUDP V SHUOLWHU
  0Q             PDQJDQHVH
  PVO            PHDQVHDOHYHO
  07%(           PHWK\OWHUWEXW\OHWKHU
  1$3/V          QRQDTXHRXVSKDVHOLTXLGV
  1&3            1DWLRQDO2LODQG+D]DUGRXV6XEVWDQFHV3ROOXWLRQ&RQWLQJHQF\3ODQ
  1'             QRQGHWHFW
  1'0$           11LWURVRGLPHWK\ODPLQH
  1(             QRUWKHUQH[WUDFWLRQ
  1)             QDQRILOWUDWLRQ
  1/             QRWLILFDWLRQOHYHO
  12[            QLWURJHQR[LGHV
  13'(6          1DWLRQDO3ROOXWDQW'LVFKDUJH(OLPLQDWLRQ6\VWHP
  13/            1DWLRQDO3ULRULWLHV/LVW
  139            QHWSUHVHQWYDOXH
  16)            16),QWHUQDWLRQDO
  1:8            QRQFRQVXPSWLYHZDWHUXVH
  2 0            RSHUDWLRQDQGPDLQWHQDQFH
  2(++$          2IILFHRI(QYLURQPHQWDO+HDOWK+D]DUG$VVHVVPHQW
  232*           2PHJD&KHPLFDO6LWH3532UJDQL]HG*URXS
  26+$           862FFXSDWLRQDO6DIHW\DQG+HDOWK$GPLQLVWUDWLRQ
  2692*          2PHJD6PDOO9ROXPH*URXS
  28             2SHUDEOH8QLW
  3&(            WHWUDFKORURHWK\OHQH
  3+*            SXEOLFKHDOWKJRDO
  30             SDUWLFXODWHPDWWHU
  327:           SXEOLFO\RZQHGWUHDWPHQWZRUNV
  SSE            SDUW V SHUELOOLRQ

                                                                                         vii

                                               160                          Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 170 of 347 Page ID #:204




  SSP            SDUW V SHUPLOOLRQ
  35*            SUHOLPLQDU\UHPHGLDWLRQJRDO
  353            SRWHQWLDOO\UHVSRQVLEOHSDUW\
  5$             UHPHGLDODFWLRQ
  5$2            UHPHGLDODFWLRQREMHFWLYH
  5'             UHPHGLDOGHVLJQ
  5I'            UHIHUHQFHGRVH
  5,             UHPHGLDOLQYHVWLJDWLRQ
  5,)6          UHPHGLDOLQYHVWLJDWLRQIHDVLELOLW\VWXG\
  50(            UHDVRQDEOHPD[LPXPH[SRVXUH
  52             UHYHUVHRVPRVLV
  52'            5HFRUGRI'HFLVLRQ
  5:4&%          /RV$QJHOHV5HJLRQDO:DWHU4XDOLW\&RQWURO%RDUG
  6$5$           6XSHUIXQG$PHQGPHQWVDQG5HDXWKRUL]DWLRQ$FW
  6&$40'         6RXWK&RDVW$LU4XDOLW\0DQDJHPHQW'LVWULFW
  6':$           6DIH'ULQNLQJ:DWHU$FW
  6,3            VWDWHLPSOHPHQWDWLRQSODQ
  6LWH           2PHJD&KHPLFDO&RUSRUDWLRQ6XSHUIXQG6LWH
  62            VXOIDWH
  62[            VXOIXUR[LGHV
  62:            6WDWHPHQWRI:RUN
  6WDWH          6WDWHRI&DOLIRUQLD
  69(            VRLOYDSRUH[WUDFWLRQ
  692&           VHPLYRODWLOHRUJDQLFFRPSRXQG
  6:5&%          6WDWH:DWHU5HVRXUFHV&RQWURO%RDUG
  7%$&7         EHVWDYDLODEOHFRQWUROWHFKQRORJ\IRUWR[LFV
  7%&            WREHFRQVLGHUHG
  7&$            WULFKORURHWKDQH
  7&(            WULFKORURHWK\OHQH
  7'6            WRWDOGLVVROYHGVROLGV
  8$2            8QLODWHUDO$GPLQLVWUDWLYH2UGHU
  8&/            XSSHUFRQILGHQFHOLPLW
  86&            8QLWHG6WDWHV&RGH
  86*6           86*HRORJLFDO6XUYH\
  867            XQGHUJURXQGVWRUDJHWDQN
  89             XOWUDYLROHW
  9)'            YDULDEOHIUHTXHQF\GULYH
  92&            YRODWLOHRUJDQLFFRPSRXQG
  :42            ZDWHUTXDOLW\REMHFWLYH
  :5'            :DWHU5HSOHQLVKPHQW'LVWULFW
  

                                                                                   viii

                                            161                       Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 171 of 347 Page ID #:205




                                                                   3DUW
                                                              'HFODUDWLRQ



  
                                        162                       Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 172 of 347 Page ID #:206




  3DUW±'HFODUDWLRQ
        6LWH1DPHDQG/RFDWLRQ
  7KH2PHJD&KHPLFDO&RUSRUDWLRQ6XSHUIXQG6LWH 6LWH LVORFDWHGLQ/RV$QJHOHV&RXQW\
  &DOLIRUQLD &RPSUHKHQVLYH(QYLURQPHQWDO5HVSRQVH&RPSHQVDWLRQDQG/LDELOLW\,QIRUPDWLRQ
  6\VWHP>&(5&/,6@,'1R&$' 2SHUDEOH8QLW 28 RIWKH6LWHLVWKH
  FRQWDPLQDWLRQLQJURXQGZDWHUJHQHUDOO\GRZQJUDGLHQWDQGRULJLQDWLQJIURPWKHIRUPHU2PHJD
  &KHPLFDO&RUSRUDWLRQ 2PHJD&KHPLFDO IDFLOLW\LQ:KLWWLHU&DOLIRUQLDPXFKRIZKLFKKDV
  FRPPLQJOHGZLWKFKHPLFDOVUHOHDVHGDWRWKHUDUHDVRYHUOD\LQJWKH28JURXQGZDWHUSOXPH6HH
  )LJXUHIRUWKHORFDWLRQRI28

        6WDWHPHQWRI%DVLVDQG3XUSRVH
  7KLV5HFRUGRI'HFLVLRQ 52' LVVXHGE\WKH8QLWHG6WDWHV(QYLURQPHQWDO3URWHFWLRQ$JHQF\
  5HJLRQ,; (3$ VHOHFWVDQ,QWHULP5HPHG\IRU28RIWKH2PHJD&KHPLFDO&RUSRUDWLRQ
  6XSHUIXQG6LWHLQ/RV$QJHOHV&RXQW\&DOLIRUQLD7KHVHOHFWHGUHPHG\ZDVFKRVHQLQ
  DFFRUGDQFHZLWKWKH&RPSUHKHQVLYH(QYLURQPHQWDO5HVSRQVH&RPSHQVDWLRQDQG/LDELOLW\$FW
   &(5&/$ DVDPHQGHGE\6XSHUIXQG$PHQGPHQWVDQG5HDXWKRUL]DWLRQ$FW 6$5$ DQGWR
  WKHH[WHQWSUDFWLFDEOHWKH1DWLRQDO&RQWLQJHQF\3ODQ 1&3 7KLVGHFLVLRQLVEDVHGRQWKH
  $GPLQLVWUDWLYH5HFRUG $5 IRUWKH6LWH7KH6WDWHRI&DOLIRUQLD 6WDWH UHSUHVHQWHGE\WKH
  'HSDUWPHQWRI7R[LF6XEVWDQFHV&RQWURO '76& FRQFXUVZLWKWKH,QWHULP5HPHG\

        $VVHVVPHQWRIWKH6LWH
  (3$KDVGHWHUPLQHGWKDWKD]DUGRXVVXEVWDQFHVSROOXWDQWVRUFRQWDPLQDQWVKDYHEHHQUHOHDVHG
  LQWRJURXQGZDWHUZLWKLQ28DQGWKDWDVXEVWDQWLDOWKUHDWRIVSUHDGLQJRIWKHUHOHDVHLQWR
  XQLPSDFWHGSRUWLRQVRIWKHDTXLIHUH[LVWV7KHUHVSRQVHDFWLRQVHOHFWHGLQWKLV52'LVQHFHVVDU\
  WRSURWHFWWKHSXEOLFKHDOWKRUZHOIDUHRUWKHHQYLURQPHQWIURPDFWXDORUWKUHDWHQHGUHOHDVHVRI
  KD]DUGRXVVXEVWDQFHVLQWRWKHHQYLURQPHQW

        'HVFULSWLRQRIWKH6HOHFWHG5HPHG\
  (3$¶VVHOHFWHG,QWHULP5HPHG\IRU28RIWKH6LWHLVDJURXQGZDWHUSXPSDQGWUHDWV\VWHP
  LQWHQGHGWROLPLWWKHPRYHPHQWRIFRQWDPLQDWHGJURXQGZDWHU7KHRYHUDOOREMHFWLYHRIWKH
  ,QWHULP5HPHG\LVWRSURWHFWKXPDQKHDOWKDQGHQYLURQPHQWE\SUHYHQWLQJIXUWKHUVSUHDGLQJRI
  WKHFRQWDPLQDWHGJURXQGZDWHUWRDV\HWXQFRQWDPLQDWHGSRUWLRQVRIWKHDTXLIHUDQGQHDUE\
  SURGXFWLRQZHOOV)ROORZLQJVHOHFWLRQRIWKHUHPHGLDODFWLRQIRU28(3$ZLOOFRQGXFWIXUWKHU
  VWXGLHVDQGH[SHFWVWRSURSRVHDGGLWLRQDOUHPHGLDODFWLRQVIRUWKH28SOXPHDVSDUWRIWKHILQDO
  FOHDQXSUHPHG\IRUWKH6LWH$VSDUWRIWKRVHVWXGLHV(3$ZLOOZRUNZLWKWKH6WDWHWRLGHQWLI\
  DQGDGGUHVVDOOVLJQLILFDQWVRXUFHVZLWKLQWKH28SOXPHDUHDWKDWKDYHFRQWULEXWHGWRWKH
  JURXQGZDWHUFRQWDPLQDWLRQ0RVWRIWKHNQRZQVRXUFHVDUHFXUUHQWO\EHLQJDGGUHVVHGE\6WDWH
  OHGDFWLRQV(3$H[SHFWVWKDWWKHUHVWRIWKHVRXUFHVZLOOEHDGGUHVVHGE\WKHFRPELQHGHIIRUWVRI
  WKH6WDWHDQG(3$


                                                                                                  1-1



                                                    163                        Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 173 of 347 Page ID #:207




  7KHUHDUHWKUHHSULPDU\JRDOVRU5HPHGLDO$FWLRQ2EMHFWLYHV 5$2V GHYHORSHGIRUWKH,QWHULP
  5HPHG\IRU28
   3UHYHQWXQDFFHSWDEOHKXPDQH[SRVXUHWRJURXQGZDWHUFRQWDPLQDWHGE\FRQWDPLQDQWVRI
     FRQFHUQ &2&V 
   3UHYHQWODWHUDODQGYHUWLFDOVSUHDGLQJRI&2&VLQJURXQGZDWHUDW28WRSURWHFWFXUUHQWDQG
     IXWXUHXVHVRIJURXQGZDWHUDQG
   3UHYHQWODWHUDODQGYHUWLFDOPLJUDWLRQRIJURXQGZDWHUZLWKKLJKFRQFHQWUDWLRQVRI&2&VLQWR
     ]RQHVZLWKFXUUHQWO\ORZHUFRQFHQWUDWLRQVRI&2&VWRRSWLPL]HWKHWUHDWPHQWRIH[WUDFWHG
     JURXQGZDWHU
  ,QDGGLWLRQWKH,QWHULP5HPHG\LVH[SHFWHGWREHJLQWKHSURFHVVRIUHVWRULQJWKHFRQWDPLQDWHG
  DTXLIHUE\UHPRYLQJFRQWDPLQDQWPDVVIURPWKHJURXQGZDWHU
  %HFDXVHWKLVDFWLRQLVFRQVLGHUHGʊLQWHULP”(3$LVQRWVHWWLQJQXPHULFFOHDQXSJRDOVIRUWKH
  JURXQGZDWHULQWKHDTXLIHU LHʊL
                                     QVLWu” cOHDQXSJRDOV DWWKLVWLPH
  7KHVFRSHRIWKH,QWHULP5HPHG\GRHVQRWLQFOXGHUHVWRUDWLRQRIWKHDTXLIHULQSDUWEHFDXVHRI
  WKHIROORZLQJ
     7KHUHDUHNQRZQVRXUFHVWKDWKDYHFRQWULEXWHGWRJURXQGZDWHUFRQWDPLQDWLRQZLWKLQ28
     RWKHUWKDQWKHIRUPHU2PHJD&KHPLFDOIDFLOLW\DWDQG:KLWWLHU%RXOHYDUGDQG
     FOHDQXSDFWLRQVKDYHQRW\HWEHHQVHOHFWHGIRUVRPHRIWKRVHVRXUFHV0RVWRIWKHNQRZQ
     VRXUFHVDUHFXUUHQWO\EHLQJDGGUHVVHGE\6WDWHOHGDFWLRQV,QDGGLWLRQWKHUHDUHRWKHU
     SRWHQWLDOEXWXQFRQILUPHGVRXUFHDUHDVFRQWULEXWLQJWRWKH28JURXQGZDWHUFRQWDPLQDWLRQ
     ZKLFKQHFHVVLWDWHFRQWLQXHGFRRUGLQDWLRQZLWKWKH6WDWHDQGSRVVLEOHIXUWKHULQYHVWLJDWLRQWR
     HYDOXDWHUHVWRUDWLRQRIWKHDTXLIHU(3$ZLOOFRQWLQXHWRZRUNZLWKWKH6WDWHWRLGHQWLI\DQG
     DGGUHVVWKHVHRWKHUVRXUFHDUHDV
     $GGLWLRQDOGDWDDUHQHHGHGLQVRPHDUHDVRIWKHDTXLIHUZKHUHWKHH[WHQWRIFRQWDPLQDWLRQ
     ZLOOQHHGWREHEHWWHUGHILQHGEHIRUH(3$FDQGHWHUPLQHZKHWKHUDQ\DGGLWLRQDODFWLRQVDUH
     QHHGHGWRDGGUHVVWKHVHRWKHUDUHDVRIJURXQGZDWHUFRQWDPLQDWLRQ
  (3$ZLOOFRQWLQXHWRZRUNFORVHO\ZLWKWKH6WDWHWRHQVXUHWKDWFRQWDPLQDQWVRXUFHDUHDVZLWKLQ
  28KDYHEHHQDGGUHVVHG&ROODERUDWLRQZLWKWKH6WDWHZLOOHQVXUHWKDWWKHSOXPHFRQWDLQPHQW
  DFKLHYHGE\WKLV,QWHULP5HPHG\ZLOOEHVXVWDLQHGDQGWKDWVRXUFHFRQWURODFWLRQVDUHFRQVLVWHQW
  ZLWKWKHILQDOUHPHG\IRUWKH28SOXPH7KHDUHDRIKLJKO\FRQWDPLQDWHGJURXQGZDWHUZLWKLQ
  28RIWKH6LWHLVFXUUHQWO\EHLQJFRQWUROOHGE\DSXPSDQGWUHDWV\VWHPWKDWEHJDQRSHUDWLRQLQ
  -XO\,QDGGLWLRQWKHZRUNIRUGHVLJQDQGFRQVWUXFWLRQRIWKHVRLOUHPHG\IRU28 VRLO
  YDSRUH[WUDFWLRQ>69(@WKURXJKRXWWKHYDGRVH]RQH EHJDQLQ
  &RPSRQHQWVRIWKH,QWHULP5HPHG\IRU28LQFOXGHWKHIROORZLQJ
     ,QVWDOODWLRQRIH[WUDFWLRQZHOOV
     &RQVWUXFWLRQRIJURXQGZDWHUWUHDWPHQWIDFLOLWLHVDQGDVVRFLDWHGSLSLQJ
     'HOLYHU\RIWUHDWHGZDWHUWRRQHRUPRUHORFDOGULQNLQJZDWHUSXUYH\RUVSHQGLQJIXWXUH
     VWDNHKROGHUQHJRWLDWLRQVRULI(3$GHWHUPLQHVWKHUHTXLUHGDJUHHPHQW V FDQQRWEHUHDFKHG
     LQDWLPHO\PDQQHUUHLQMHFWLRQRIWKHWUHDWHGZDWHULQWRWKHDTXLIHU

                                                                                                    1-2



                                                 164                                  Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 174 of 347 Page ID #:208




     ,QVWLWXWLRQDOFRQWUROV ,&V IRUWKHSXUSRVHRIPLQLPL]LQJWKHULVNWKDWIXWXUHSXPSLQJIURP
     SURGXFWLRQZHOOVZRXOGLQWHUIHUHZLWKWKHFRQWDLQPHQWREMHFWLYHVRIWKLV,QWHULP5HPHG\
     DQG
     ,QVWDOODWLRQRIQHZJURXQGZDWHUPRQLWRULQJZHOOV

        6WDWXWRU\'HWHUPLQDWLRQV
  7KHVHOHFWHGUHPHGLDODFWLRQLVSURWHFWLYHRIKXPDQKHDOWKDQGWKHHQYLURQPHQWFRPSOLHVZLWK
  IHGHUDODQGVWDWHUHTXLUHPHQWVWKDWDUHDSSOLFDEOHRUUHOHYDQWDQGDSSURSULDWHWRWKHUHPHGLDO
  DFWLRQLVFRVWHIIHFWLYHDQGXVHVSHUPDQHQWVROXWLRQVDQGDOWHUQDWLYHWUHDWPHQWWHFKQRORJLHVWR
  WKHPD[LPXPH[WHQWSUDFWLFDEOH
  7KLVUHPHG\DOVRVDWLVILHVWKHVWDWXWRU\SUHIHUHQFHIRUWUHDWPHQWDVDSULQFLSDOHOHPHQWRIWKH
  UHPHG\ LHUHGXFHVWKHWR[LFLW\PRELOLW\RUYROXPHRIKD]DUGRXVVXEVWDQFHVSROOXWDQWVRU
  FRQWDPLQDQWVWKURXJKWUHDWPHQW 
  %HFDXVHWKLVUHPHG\ZLOOUHVXOWLQKD]DUGRXVVXEVWDQFHVSROOXWDQWVRUFRQWDPLQDQWVUHPDLQLQJ
  RQVLWH LHLQJURXQGZDWHU DERYHOHYHOVWKDWDOORZIRUXQOLPLWHGXVHDQGXQUHVWULFWHGH[SRVXUH
  DVWDWXWRU\UHYLHZZLOOEHFRQGXFWHGZLWKLQ\HDUVDIWHULQLWLDWLRQRIWKHUHPHGLDODFWLRQWR
  HQVXUHWKDWWKHUHPHG\LVRUZLOOEHSURWHFWLYHRIKXPDQKHDOWKDQGWKHHQYLURQPHQW

        52'&HUWLILFDWLRQ&KHFNOLVW
  7KHIROORZLQJLQIRUPDWLRQLVSUHVHQWHGLQWKH'HFLVLRQ6XPPDU\VHFWLRQ 3DUWRIWKLV52' 
  $GGLWLRQDOLQIRUPDWLRQFDQEHIRXQGLQWKHDGPLQLVWUDWLYHUHFRUGILOHIRUWKH6LWH
     &2&VDQGWKHLUUHVSHFWLYHFRQFHQWUDWLRQV VHH6HFWLRQVDQG 
     %DVHOLQHULVNUHSUHVHQWHGE\WKH&2&V VHH6HFWLRQ 
     +RZVRXUFHPDWHULDOVFRQVWLWXWLQJSULQFLSDOWKUHDWVDUHDGGUHVVHG VHH6HFWLRQ 
     &XUUHQWDQGSRWHQWLDOIXWXUHEHQHILFLDOXVHVRIJURXQGZDWHUXVHGLQWKHEDVHOLQHULVN
     DVVHVVPHQWDQG52' VHH6HFWLRQVDQG 
     3RWHQWLDOJURXQGZDWHUXVHWKDWZLOOEHDYDLODEOHDWWKH6LWHDVDUHVXOWRIWKHVHOHFWHGUHPHG\
      VHH6HFWLRQ 
     (VWLPDWHGFDSLWDORSHUDWLRQDQGPDLQWHQDQFH 2 0 DQGWRWDOSUHVHQWZRUWKFRVWVGLVFRXQW
     UDWHDQGWKHQXPEHURI\HDUVRYHUZKLFKWKHUHPHG\FRVWHVWLPDWHVDUHSURMHFWHG VHH
     6HFWLRQ 
     .H\IDFWRUVWKDWOHGWRVHOHFWLQJWKHUHPHG\ LHKRZWKHVHOHFWHGUHPHG\SURYLGHVWKHEHVW
     EDODQFHRIWUDGHRIIVZLWKUHVSHFWWRWKHEDODQFLQJDQGPRGLI\LQJFULWHULD  VHH6HFWLRQ 
  7KLV52'GRHVQRWHVWDEOLVKFOHDQXSOHYHOVIRUWKH&2&VLQWKHDTXLIHUDQGWKHEDVLVIRUWKHVH
  OHYHOVEHFDXVHWKHVHOHFWHGUHPHG\LVDQ,QWHULP5HPHG\




                                                                                                     1-3



                                               165                                Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 175 of 347 Page ID #:209




                                          166                   Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 176 of 347 Page ID #:210




                                                                3DUW
                                                    'HFLVLRQ6XPPDU\




                                         167                    Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 177 of 347 Page ID #:211




  3DUW±'HFLVLRQ6XPPDU\
        6LWH1DPH/RFDWLRQDQG'HVFULSWLRQ
  7KH2PHJD&KHPLFDO&RUSRUDWLRQ6XSHUIXQG6LWH 6LWH LQFOXGHVWKHORFDWLRQRIWKHIRUPHU
  2PHJD&KHPLFDO&RUSRUDWLRQ 2PHJD&KHPLFDO DUHIULJHUDQWDQGVROYHQWUHF\FOLQJDQG
  WUHDWPHQWIDFLOLW\ORFDWHGLQ:KLWWLHU&DOLIRUQLDDFRPPXQLW\RIDSSUR[LPDWHO\SHRSOH
  2PHJD&KHPLFDOZDVORFDWHGDWDQG:KLWWLHU%RXOHYDUG WZRDGMRLQLQJSDUFHOV
  UHIHUUHGWRFROOHFWLYHO\DVWKH2PHJDSURSHUW\ DFURVVWKHVWUHHWIURPDUHVLGHQWLDOQHLJKERUKRRG
  DQGZLWKLQRQHPLOHRIVHYHUDOVFKRROVLQFOXGLQJWKUHHHOHPHQWDU\VFKRROVDQGWZRKLJKVFKRROV
  7KH2PHJDSURSHUW\RFFXSLHV/RV$QJHOHV&RXQW\$VVHVVRU7UDFW1XPEHU /RWV
  DQG 7KHIDFLOLW\RSHUDWHGIURPDSSUR[LPDWHO\WRKDQGOLQJSULPDULO\FKORULQDWHG
  K\GURFDUERQVDQGFKORURIOXRURFDUERQV'UXPVDQGEXONORDGVRIZDVWHVROYHQWVDQGFKHPLFDOV
  IURPYDULRXVLQGXVWULDODFWLYLWLHVZHUHSURFHVVHGDWWKHIDFLOLW\&KHPLFDOWKHUPDODQGSK\VLFDO
  WUHDWPHQWSURFHVVHVUHSRUWHGO\ZHUHXVHGWRUHF\FOHWKHZDVWHPDWHULDOV:DVWHVJHQHUDWHGIURP
  WUHDWPHQWDQGUHF\FOLQJDFWLYLWLHVLQFOXGHGGLVWLOODWLRQFROXPQ VWLOO ERWWRPVDTXHRXVIUDFWLRQV
  DQGQRQUHFRYHUDEOHVROYHQWV
  $VDUHVXOWRIWKHVHRSHUDWLRQVVXEVXUIDFHVRLODQGJURXQGZDWHUKDYHKLJKFRQFHQWUDWLRQVRI
  WHWUDFKORURHWK\OHQH 3&( WULFKORURHWK\OHQH 7&( RWKHUFKORULQDWHGK\GURFDUERQV)UHRQVDQG
  RWKHUFRQWDPLQDQWV3&(7&(DQG)UHRQVDOVRKDYHEHHQIRXQGLQJURXQGZDWHUFRQWDPLQDWLRQ
  H[WHQGLQJPRUHWKDQPLOHVGRZQJUDGLHQWRIWKH2PHJDSURSHUW\
  )RUWKHSXUSRVHRIUHVSRQGLQJWRFRQWDPLQDWLRQDWWKH6LWH(3$KDVGLYLGHGLWLQWRWKUHH28V
   2828DQG28 DVGLVFXVVHGLQ6HFWLRQ28LQFOXGHVWKHIRUPHU2PHJD&KHPLFDO
  IDFLOLW\DQGLPPHGLDWHYLFLQLW\28LVWKHFRQWDPLQDWLRQLQJURXQGZDWHUJHQHUDOO\
  GRZQJUDGLHQWRI28WKDWRULJLQDWHGIURPWKHIRUPHU2PHJD&KHPLFDOIDFLOLW\PXFKRIZKLFK
  KDVFRPPLQJOHGZLWKFKHPLFDOVUHOHDVHGDWFHUWDLQVRXUFHDUHDVIDFLOLWLHVLQWRDFRQWLQXRXV
  SOXPHWKDWLVDSSUR[LPDWHO\òPLOHVORQJDQGòPLOHVZLGHDVVKRZQLQ)LJXUH28
  UHIHUVWRYDSRULQWUXVLRQIURPVXEVXUIDFHFRQWDPLQDWLRQWKDWKDVRFFXUUHGLQVHYHUDOEXLOGLQJVRQ
  DQGQHDUWKH2PHJDSURSHUW\
  (3$LVWKHOHDGDJHQF\IRUWKHFXUUHQWDQGSODQQHGIXWXUHJURXQGZDWHUUHPHGLDODFWLYLWLHVDW
  28(3$¶VUHVSRQVHDFWLYLWLHVDW28DUHDQGKDYHEHHQFRQGXFWHGXQGHUWKHDXWKRULW\
  HVWDEOLVKHGLQ&(5&/$DVDPHQGHG8QLWHG6WDWHV&RGH 86& 6HFWLRQHWVHT DOVR
  NQRZQDV6XSHUIXQG 7KHOHDG6WDWHDJHQF\IRU28LV'76&7KH/RV$QJHOHV5HJLRQDO
  :DWHU4XDOLW\&RQWURO%RDUG 5:4&% KDVSURYLGHGDQGFRQWLQXHVWRSURYLGHVXEVWDQWLDO
  VXSSRUWSDUWLFXODUO\ZLWKWKHLQYHVWLJDWLRQDQGFOHDQXSRIVRXUFHVRIFRQWDPLQDWLRQLQWKH28
  DUHD7RGDWHWKHVRXUFHRIFOHDQXSPRQLHVIRUWKH6LWHDVDZKROHKDVEHHQDPL[RIWKH
  6XSHUIXQGWUXVWIXQGDQGVHWWOHPHQWVZLWKSRWHQWLDOO\UHVSRQVLEOHSDUWLHV 353V 7KHH[SHFWHG
  VRXUFHRIFOHDQXSPRQLHVIRULPSOHPHQWDWLRQRIWKHVHOHFWHGUHPHG\IRU28LVDVHWWOHPHQW
  ZLWK353V




                                                                                                   2-1


                                                    168                               Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 178 of 347 Page ID #:212




        6LWH+LVWRU\DQG(QIRUFHPHQW$FWLYLWLHV
       6LWH+LVWRU\
  +LVWRULFDO8VHRIWKH)RUPHU2PHJD3URSHUW\
  7KHIROORZLQJVXPPDUL]HVRZQHUVKLSDQGXVHRIWKH2PHJDSURSHUW\
     /DWHV± 7KHSURSHUW\ZDVXQGHYHORSHGRUXVHGIRUDJULFXOWXUDOSXUSRVHV
     ± 7KHSURSHUW\ZDVGHYHORSHGRIILFHDQGZDUHKRXVHZHUHFRQVWUXFWHGIRU6LHUUD
     0DQXIDFWXULQJ&RPSDQ\,Q'HFHPEHUWKH6LHUUD0DQXIDFWXULQJ&RPSDQ\VROGWKH
     SURSHUW\WR6LHUUD%XOOHWV,QFD&DOLIRUQLDFRUSRUDWLRQ2SHUDWLRQVLQFOXGHGPDQXIDFWXULQJ
     RIPHWDOMDFNHWHGULIOHDQGSLVWROSURMHFWLOHVDQGPHWDOFXSVIRUGHWRQDWLRQGHYLFHV$
     JDOORQXQGHUJURXQGVWRUDJHWDQN 867 ZDVXVHGIRUVWRUDJHRINHURVHQH7&(DOVRZDV
     UHSRUWHGO\XVHGDWWKHVLWH
     ±7KHQRUWKHUQSDUFHO :KLWWLHU%RXOHYDUG ZDVRZQHGE\)UHG55LSS\
     ,QF 5LSS\,QF ZKLFKXVHGWKHSDUFHOIRUWKHSXUSRVHVRIGLHPDNLQJDQGRSHUDWLRQRID
     VWDPSLQJPDFKLQHVKRS
     ±7KHQRUWKHUQSDUFHOZDVXVHGWRFRQYHUWYDQVWRDPEXODQFHV)UHG55LSS\DV
     DQLQGLYLGXDOZDVWKHRZQHURIWKLVSDUFHOIURPXQWLOWUDQVIHUULQJRZQHUVKLSWRWKH)UHG
     55LSS\7UXVWLQ
     ±7KHQRUWKHUQSDUFHOZDVRFFXSLHGE\%DFKHORU&KHPLFDO3URFHVVLQJ
     2SHUDWLRQVUHSRUWHGO\LQFOXGHGWKHUHF\FOLQJRI)UHRQV
     ±2PHJD&KHPLFDOEHJDQOHDVLQJ:KLWWLHU%RXOHYDUG
     ±7KHSURSHUW\ZDVWUDQVIHUUHGIURP)UHG55LSS\DVDQLQGLYLGXDOWRWKH)UHG5
     5LSS\7UXVW
     ±2PHJD&KHPLFDOSXUFKDVHGWKHOHDVHGQRUWKHUQSDUFHODQGDGMRLQLQJVRXWKHUQSDUFHO
      :KLWWLHU%RXOHYDUG IURPWKH)UHG55LSS\7UXVW
     $SULO±2PHJD&KHPLFDOZDVRUGHUHGE\WKH6XSHULRU&RXUWRIWKH&RXQW\RI/RV
     $QJHOHVWRFHDVHRSHUDWLRQUHPRYHDOOKD]DUGRXVZDVWHVDQGFORVHWKHIDFLOLW\
     6HSWHPEHU±2PHJD&KHPLFDOILOHG&KDSWHUEDQNUXSWF\ZKLFKZDVGLVPLVVHGRQ
     6HSWHPEHU
  7KHIRUPHU2PHJD&KHPLFDO&RUSRUDWLRQRSHUDWHGDUHIULJHUDQWDQGVROYHQWUHF\FOLQJ
  UHIRUPXODWLRQDQGWUHDWPHQWIDFLOLW\'UXPVDQGEXONORDGVRIZDVWHVROYHQWVDQGRWKHU
  FKHPLFDOVIURPYDULRXVLQGXVWULDODFWLYLWLHVZHUHWUHDWHGVWRUHGGLVSRVHGRIDQGRUSURFHVVHGDW
  WKHIDFLOLW\WRIRUPFRPPHUFLDOSURGXFWVZKLFKVRPHWLPHVZHUHVROGLQWKHPDUNHWSODFH
  $FFRUGLQJWRLWV2FWREHU2SHUDWLRQ3ODQIRU+D]DUGRXV:DVWH5HFRYHU\WKH2PHJD
  &KHPLFDOIDFLOLW\PDLQWDLQHGWUHDWPHQWXQLWVFRPSULVLQJGLVWLOODWLRQFROXPQVUHDFWRUVDZLSH
  ILOPSURFHVVRUDOLTXLGH[WUDFWRUDQGDVROLGZDVWHJULQGHU7KHIDFLOLW\DOVRPDLQWDLQHG
  VWDLQOHVVVWHHOWDQNVZLWKFDSDFLWLHVUDQJLQJIURPWRJDOORQVDQGILYHFDUERQVWHHO


                                                                                                   2-2


                                                                                Appendix A
                                                   169
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 179 of 347 Page ID #:213




  WDQNVZLWKFDSDFLWLHVRIJDOORQV0DQLIHVWUHFRUGVLQGLFDWHDSSUR[LPDWHO\WRQVRI
  ZDVWHZHUHGHOLYHUHGWRWKHIDFLOLW\GXULQJLWV\HDUVRIRSHUDWLRQ7KHPDMRULW\RIWKHZDVWH
  FRQVLVWHGRILQGXVWULDOVROYHQWVDQGUHIULJHUDQWV
  )URPDSSUR[LPDWHO\WKURXJKWKHQRUWKHUQSDUFHO :KLWWLHU%RXOHYDUG 
  FRQWLQXHGXQGHUWKHRZQHUVKLSRI2PHJD&KHPLFDO,QFDQGZDVOHDVHGE\0U1LFKRODV
  6W\PXLDQNZKRRFFXSLHGWKHZDUHKRXVHDQGVWRUHGPLVFHOODQHRXVHTXLSPHQWDQGPDWHULDOVLQWKH
  ZDUHKRXVHDQGVHUYLFH\DUGV
  9DQ2ZHQ+ROGLQJV//&RI/RV$QJHOHV&DOLIRUQLDSXUFKDVHGWKH2PHJDSURSHUW\LQDQG
  FRQWLQXHVWRRZQLW7KHZDUHKRXVHRQWKHQRUWKHUQSDUFHO :KLWWLHU%OYG ZDVFRQYHUWHG
  DQGXVHGE\6WDU&LW\$XWR%RG\IRUDXWRERG\UHSDLU6WDU&LW\$XWR%RG\FRQWLQXHVWROHDVHWKH
  SURSHUW\DQGXVHVLWIRUDXWRPRWLYHERG\UHSDLUDQGSDLQWLQJ7KHDXWRERG\VKRSDOVROHDVHVWKH
  VPDOOSDYHGSDUNLQJORWQRUWKRIWKHZDUHKRXVHEXLOGLQJIRUDXWRPRELOHSDUNLQJ
  'XULQJWKHSDVWIHZ\HDUVVHYHUDOWHQDQWVKDYHRSHUDWHGDWWKHIRUPHUDGPLQLVWUDWLYHEXLOGLQJ
  DQGWKHFRQFUHWHSDYHGH[WHULRU\DUGSDUNLQJDUHDVRXWKRIWKHZDUHKRXVHRQWKHVRXWKHUQ
  SDUFHO :KLWWLHU%RXOHYDUG & ,(OHFWULFXVHGWKHSURSHUW\IRUHTXLSPHQWDQGELOOERDUG
  VWRUDJH)ROORZLQJWKHWHUPLQDWLRQRIWKH& ,(OHFWULFOHDVH7KUHH.LQJV&RQVWUXFWLRQRFFXSLHG
  WKHSURSHUW\,Q'HFHPEHU/ 03DOOHWVOHDVHGWKHH[WHULRU\DUGIRUSDOOHWVWRUDJHDQG
  FRQWLQXHGWRXVHWKH\DUGWKURXJK$VWRQHFRXQWHUWRSWLOHEXVLQHVVOHDVHGWKHSURSHUW\
  WKHUHDIWHUIRUDYHU\VKRUWWLPH%RWKWKHDGPLQLVWUDWLYHEXLOGLQJDQGWKHH[WHULRU\DUGZHUH
  YDFDQWDVRI$XJXVW
  +LVWRULFDO8VHRIWKH28$UHD
  7KHPDMRULW\RIWKH28DUHDZDVLUULJDWHGDJULFXOWXUDOODQGLQWKHHDUO\VDQGDJULFXOWXUDO
  XVHSHUVLVWHGWKURXJKWKHV&RPPHUFLDOLQGXVWULDODQGUHVLGHQWLDOGHYHORSPHQWVWDUWHGLQ
  WKHVDQGV7KHKLVWRULFDOLQGXVWULDOIDFLOLWLHVLQFOXGHGDQXPEHURIFKHPLFDO
  PDQXIDFWXULQJDQGSURFHVVLQJSODQWVDQRLOUHILQHU\RLOSURGXFWLRQIDFLOLWLHVLQFOXGLQJZHOOV
  DQGSLSHOLQHVPDFKLQHVKRSVDQGRWKHUEXVLQHVVHV
  &XUUHQW8VHRIWKH28$UHD
  &XUUHQWLQGXVWULDOIDFLOLWLHVZLWKLQWKH28DUHDLQFOXGHFKHPLFDOPDQXIDFWXULQJDQGSURFHVVLQJ
  SODQWVDFORVHGRLOUHILQHU\RLOSURGXFWLRQZHOOVDQGSLSHOLQHVUDLOURDG\DUGPDFKLQHVKRSVDQG
  RWKHUEXVLQHVVHV7KHUHLVVRPHUHVLGHQWLDOXVHLQWKHDUHD/DQGXVHVDUHQRWH[SHFWHGWRFKDQJH
  VLJQLILFDQWO\LQWKHQH[W\HDUVRUORQJHU
  7KHJURXQGZDWHUEDVLQLVDQLPSRUWDQWVRXUFHRIGULQNLQJZDWHUIRUWKHPHWURSROLWDQDUHDHDVWRI
  /RV$QJHOHVLQFOXGLQJWKHFLWLHVRI:KLWWLHU6DQWD)H6SULQJVDQG1RUZDON7KHXVHRI
  JURXQGZDWHULQWKHEDVLQLVVXEMHFWWRDGMXGLFDWHGZDWHUULJKWVDGPLQLVWHUHGE\WKH&DOLIRUQLD
  'HSDUWPHQWRI:DWHU5HVRXUFHV &':5 ZKLFKVHUYHVDVWKH:DWHUPDVWHUIRUWKH&HQWUDO
  %DVLQ
       )HGHUDO6WDWHDQG/RFDO6LWH,QYHVWLJDWLRQVDQG5HVSRQVH$FWLRQV
  %HWZHHQDQG2PHJD&KHPLFDOUHFHLYHGVHYHUDOQRWLFHVRIYLRODWLRQVIURPWKH/RV
  $QJHOHV&RXQW\'HSDUWPHQWRI+HDOWK6HUYLFHV,QWKHV'76&DQG(3$DFWLYHO\SXUVXHG
  WKHRZQHURSHUDWRURI2PHJD&KHPLFDOWRUHPRYHGUXPVRIFRQWDPLQDQWVDQGFOHDQXSWKHVLWH


                                                                                                    2-3


                                                   170                                    Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 180 of 347 Page ID #:214




  $WWKHUHTXHVWRI'76&(3$FRQGXFWHGDVVHVVPHQWVRIWKH2PHJD&KHPLFDOIDFLOLW\DQG
  SURSHUW\LQDQGHDUO\WRHYDOXDWHWKHFRQGLWLRQRIDSSUR[LPDWHO\GUXPVRI
  XQSURFHVVHGKD]DUGRXVZDVWHSUHVHQWRQPRVWRIWKHDYDLODEOHVWRUDJHDUHDRQWKHSURSHUW\,Q
  -DQXDU\(3$REVHUYHGDSSUR[LPDWHO\GUXPVLQYDULRXVVWDJHVRIGHWHULRUDWLRQPDQ\
  RIZKLFKZHUHFRUURGHGDQGOHDNLQJ7KHGUXPVZHUHVLWXDWHGRQSDOOHWVLQVRPHFDVHVWKUHH
  KLJKDQGPDQ\ZHUHZHDWKHUHGIURP\HDUVRIRXWVLGHVWRUDJH/HDNLQJVXEVWDQFHVZHUH
  PLJUDWLQJWRRWKHUSRUWLRQVRIWKH2PHJDSURSHUW\DQGRIIVLWH
  'XULQJDQGDJURXSRI353V WKDWODWHUIRUPHGWKH2PHJD&KHPLFDO6LWH353
  2UJDQL]HG*URXS>232*@ XQGHUWRRNVHYHUDOUHVSRQVHDFWLRQVDWWKHIRUPHU2PHJD&KHPLFDO
  IDFLOLW\LQFOXGLQJWKHUHPRYDORIGUXPVDQGFROOHFWLRQRIVRLODQGJURXQGZDWHUVDPSOHV
  ,Q(3$VWDUWHGLQYHVWLJDWLRQVRIWKHH[WHQWRIJURXQGZDWHUFRQWDPLQDWLRQDW28
  LQFOXGLQJSHULRGLFJURXQGZDWHUPRQLWRULQJ7KHUHVXOWVRIWKHLQLWLDOLQYHVWLJDWLRQVZHUH
  GRFXPHQWHGLQUHSRUWVFRPSOHWHGLQDQG
  ,Q0D\LQGRRUDLUZDVVDPSOHGZLWKLQVHYHUDOEXLOGLQJVQHDUWKHIRUPHU2PHJDSURSHUW\
  LQFOXGLQJ6NDWHODQGDQLQGRRUUROOHUVNDWLQJULQN7KHUHVXOWVLQGLFDWHGLQWUXVLRQRI3&(DQG
  7&(YDSRUVLQWRVHYHUDOEXLOGLQJVIURPVRLODQGJURXQGZDWHUDWWKH2PHJDSURSHUW\7KH
  KLJKHVWOHYHOVZHUHIRXQGLQWKH6NDWHODQGEXLOGLQJZKHUH3&(PHDVXUHGPLFURJUDPVSHU
  FXELFPHWHU JPñ ZHOOH[FHHGLQJ(3$¶VKHDOWKSURWHFWLYHUDQJHIRUORQJWHUP3&(H[SRVXUH
  LQDQLQGXVWULDOFRPPHUFLDOXVHVFHQDULR WRJPñ 232*PHPEHUVLPSOHPHQWHGDQ
  (3$DSSURYHGUHVSRQVHDFWLRQDW6NDWHODQGE\XOWLPDWHO\IXQGLQJWKHSXUFKDVHDQGGHPROLWLRQ
  RIWKH6NDWHODQGEXLOGLQJ,QGRRUDLUPRQLWRULQJRIVHYHUDOEXLOGLQJVLQWKHDUHDQHDUWKHIRUPHU
  2PHJDSURSHUW\FRQWLQXHV
  ,QDQG353PHPEHUVRIWKH2PHJD6PDOO9ROXPH*URXS 2692* LQVWDOOHGDQG
  VDPSOHGDGGLWLRQDOJURXQGZDWHUPRQLWRULQJZHOOVWRKHOSFKDUDFWHUL]HWKHSOXPHRIFRQWDPLQDWHG
  JURXQGZDWHUHPDQDWLQJIURPWKH2PHJDSURSHUW\
  ,Q1RYHPEHUZLWK(3$RYHUVLJKW232*FRPSOHWHGD5HPHGLDO,QYHVWLJDWLRQ 5, IRU
  28VRLOV232*FRPSOHWHGWKH28)HDVLELOLW\6WXG\ )6 IRUVRLOVLQ0D\
  (3$LQVWDOOHGDGGLWLRQDOJURXQGZDWHUPRQLWRULQJZHOOVSHUIRUPHGDTXLIHUWHVWLQJDQGFROOHFWHG
  GLVFUHWHJURXQGZDWHUVRLODQGVRLOJDVVDPSOHVZLWKLQWKH28DUHDLQDQG,Q0DUFK
  (3$FRPSOHWHGDGUDIW285,5HSRUW(3$FRPSOHWHGWKH285,)6DQGLVVXHGD
  3URSRVHG3ODQLQ$XJXVW(3$SUHVHQWHGWKHSURSRVHG,QWHULP5HPHG\LQDSXEOLFPHHWLQJ
  KHOGRQ$XJXVWLQ:KLWWLHU&DOLIRUQLDDQGKHOGDGD\SXEOLFFRPPHQWSHULRG
  (3$FRQWLQXHVWRPRQLWRUWKHH[WHQWRIFRQWDPLQDWLRQLQ28DQGWRLQYHVWLJDWHRWKHUSRWHQWLDO
  VRXUFHVRIFRQWDPLQDWLRQ
  $GGLWLRQDO,QYHVWLJDWLRQVDQG$FWLRQVDW286RXUFH$UHDV
  6WDWHDQGORFDOUHJXODWRU\DJHQFLHVKDYHLGHQWLILHGQXPHURXVLQVWDQFHVRIUHOHDVHVRIKD]DUGRXV
  VXEVWDQFHVDWIDFLOLWLHVLQDQGQHDUWKH28DUHD,QDQHIIRUWWRLGHQWLI\ZKHWKHURUQRWWKHVH
  VRXUFHDUHDVKDYHFRQWULEXWHGFRQWDPLQDWLRQWRWKH28SOXPH(3$KDVVHDUFKHGDQGUHYLHZHG
  UHFRUGVDQGDJHQF\ILOHVDQGSHUIRUPHGILHOGLQYHVWLJDWLRQVDWVHYHUDORIWKHFRQILUPHGDQG
  SRWHQWLDOVRXUFHDUHDVLGHQWLILHGLQWKH28SOXPHDUHD(3$KDVGHWHUPLQHGWKDWPDQ\VRXUFH
  DUHDVRIVLJQLILFDQWO\FRQWDPLQDWHGVRLOVDQGJURXQGZDWHUKDYHOLNHO\FRQWULEXWHGFRQWDPLQDQWV


                                                                                                  2-4


                                                                                    Appendix A
                                                171
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 181 of 347 Page ID #:215




  WRWKH28SOXPH0RVWRIWKHVRXUFHDUHDLQYHVWLJDWLRQVKDYHEHHQSHUIRUPHGXQGHUWKH
  RYHUVLJKWRI6WDWHDJHQFLHV '76& 5:4&% (3$H[SHFWVWKDWDOORIWKHVRXUFHVZLOOEH
  DGGUHVVHGE\WKHFRPELQHGHIIRUWVRIWKH6WDWHDQG(3$(3$ZLOOFRQWLQXHWRZRUNFORVHO\ZLWK
  WKH6WDWHWRHQVXUHWKDWFRQWDPLQDQWVRXUFHDUHDVZLWKLQ28KDYHEHHQDGGUHVVHG&ROODERUDWLRQ
  ZLWKWKH6WDWHZLOOHQVXUHWKDWWKHSOXPHFRQWDLQPHQWDFKLHYHGE\WKLV,QWHULP5HPHG\ZLOOEH
  VXVWDLQHGDQGWKDWVRXUFHFRQWURODFWLRQVDUHFRQVLVWHQWZLWKWKHILQDOUHPHG\IRUWKH28SOXPH
  +LVWRU\RI&(5&/$DQG6WDWH(QIRUFHPHQW$FWLRQVDWWKH6LWH
  %HWZHHQDQG2PHJD&KHPLFDOUHFHLYHGVHYHUDOQRWLFHVRIYLRODWLRQVIURPWKH/RV
  $QJHOHV&RXQW\'HSDUWPHQWRI+HDOWK6HUYLFHV
  2Q0D\(3$LVVXHGD8QLODWHUDO$GPLQLVWUDWLYH2UGHU 8$2 WRWKH2PHJD&KHPLFDO
  &RUSRUDWLRQLWV3UHVLGHQW'HQQLV2¶0HDUDDQGWRʊP  DMor”JHQHUDWRUV LH353VWKDWVHQWDW
  OHDVWWRQVRIKD]DUGRXVVXEVWDQFHVWRWKH2PHJD&KHPLFDOIDFLOLW\ 7KH8$2ZDV
  DPHQGHGLQ6HSWHPEHUDQGLVVXHGWRDGGLWLRQDO353V$PRQJRWKHUWKLQJVWKH8$2
  UHTXLUHGWKHUHPRYDORIFRQWDLQHUVRIPDWHULDOVDQGGHFRPPLVVLRQLQJRIFHUWDLQHTXLSPHQWDW
  WKH2PHJDSURSHUW\DQLQYHVWLJDWLRQRIWKHH[WHQWRIVRLODQGJURXQGZDWHUFRQWDPLQDWLRQDWRU
  IURPWKH2PHJDSURSHUW\DQGUHPRYDORIKD]DUGRXVVXEVWDQFHVIURPWKHSURSHUW\$WRWDORI
  SDUWLHVSHUIRUPHGZRUNXQGHUWKH8$2
  ,Q6HSWHPEHU(3$SURSRVHGWKH6LWHIRUOLVWLQJRQWKH1DWLRQDO3ULRULWLHV/LVW 13/ DQG
  RQ-DQXDU\SODFHGWKH6LWHRQWKH13/ )HG5HJ '76&KDVVXSSRUWHGDQG
  FRQWLQXHVWRVXSSRUW(3$DQGUHSUHVHQWVWKH6WDWHUHJDUGLQJVLWHLQYHVWLJDWLRQLVVXHV
  2Q$SULO(3$LVVXHGVSHFLDOQRWLFHOHWWHUVWR353VDQGFRPPHQFHGQHJRWLDWLRQRID
  FRQVHQWGHFUHH &' XOWLPDWHO\HQWHUHGE\WKH86'LVWULFW&RXUWLQZKLFKUHTXLUHG353V
  WRSHUIRUPDQRQWLPHFULWLFDOUHPRYDODFWLRQDGGUHVVLQJJURXQGZDWHULQWKHDUHDRIWKHIRUPHU
  2PHJDSURSHUW\DQGDQ5,)6DGGUHVVLQJVRLOVORFDWHGDWRUQHDUWKH2PHJDSURSHUW\2Q
  6HSWHPEHUIROORZLQJ232*¶VFRPSOHWLRQRIDQHQJLQHHULQJHYDOXDWLRQFRVWDQDO\VLV
   ((&$ UHSRUWIRU28JURXQGZDWHU(3$LVVXHGDQDFWLRQPHPRUDQGXPGHVFULELQJWKH
  UHTXLUHGUHPRYDODFWLRQZKLFKLQFOXGHGJURXQGZDWHUH[WUDFWLRQDQGWUHDWPHQWDWRUQHDUWKH
  2PHJDSURSHUW\IRUSXUSRVHVRIFRQWDLQLQJFRQWDPLQDWHGJURXQGZDWHU7KH&'DOVR
  UHTXLUHGSD\PHQWVIURPRWKHUGHIHQGDQWVLQOLHXRISDUWLFLSDWLRQLQWKHZRUNUHTXLUHG
  WKHUHXQGHU232*KDVLPSOHPHQWHGWKHJURXQGZDWHUFRQWDLQPHQWDFWLRQSXUVXDQWWRWKH
  &' 
  2Q-DQXDU\(3$LVVXHGDVHSDUDWH8$2WR2692*DJURXSRIRWKHUPDMRU
  JHQHUDWRU353VZKRVHQWDWOHDVWWRQVRIKD]DUGRXVZDVWHWR2PHJD&KHPLFDO7KH8$2
  UHTXLUHG2692*WRLQVWDOODQGVDPSOHDGGLWLRQDOJURXQGZDWHUPRQLWRULQJZHOOVWRKHOS
  FKDUDFWHUL]HWKHSOXPHRIFRQWDPLQDWHGJURXQGZDWHUHPDQDWLQJIURPWKH2PHJDSURSHUW\
  2692*FRPSOLHGZLWKWKH8$2
  ,Q(3$VHWWOHGZLWKGHPLQLPLVSDUWLHVZKLFKVHQWEHWZHHQDQGWRQVRI
  KD]DUGRXVVXEVWDQFHVWRWKHIRUPHU2PHJD&KHPLFDOIDFLOLW\,Q(3$VHWWOHGZLWK
  SDUWLHVGHHPHGWRKDYHOLPLWHGDELOLW\WRSD\UHVSRQVHFRVWVLQFXUUHGDQGWREHLQFXUUHGDWWKH
  2PHJD&KHPLFDO6LWH
  ,Q-XQH(3$UHOHDVHGIRUSXEOLFFRPPHQWD3URSRVHG3ODQIRUVRLOFOHDQXSDW28DQG
  LVVXHGWKH52'IRU28VRLOVRQ6HSWHPEHU7KHUHPHG\LQFOXGHVDVRLOYDSRU

                                                                                                     2-5



                                                     172                        Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 182 of 347 Page ID #:216




  H[WUDFWLRQ 69( V\VWHPDQG,&V,Q(3$VHQWVSHFLDOQRWLFHOHWWHUVWR353VVROLFLWLQJDQ
  RIIHUWRSHUIRUPWKH285'5$LGHQWLILHGLQWKH52'DQGSD\PHQWRI(3$¶VXQUHLPEXUVHG
  UHVSRQVHFRVWV,Q(3$VLJQHGD&'ZLWK232*WKDWUHTXLUHVWKH353JURXSWRGHVLJQ
  FRQVWUXFWDQGRSHUDWHWKH28VRLOUHPHG\DQGWRSD\DSRUWLRQRI(3$¶VUHVSRQVHFRVWV
  ,Q1RYHPEHU(3$VLJQHGDQ$GPLQLVWUDWLYH2UGHURQ&RQVHQW $2& ZLWK232*WR
  PLWLJDWHWKHYDSRULQWUXVLRQLQWREXLOGLQJVDW287KH$2&KDVEHHQPRGLILHGWZLFHWR
  HQFRPSDVVDGGLWLRQDOEXLOGLQJVDQGUHVSRQVHZRUN232*LQLWLDWHGWKH$2&ZRUNLQ'HFHPEHU
  WKHVHPLWLJDWLRQHIIRUWVDUHRQJRLQJ(3$SUHVHQWO\RYHUVHHVWKHRQJRLQJ232*28DQG
  28DFWLYLWLHV
  $GGLWLRQDO(QIRUFHPHQW$FWLRQVDW286RXUFHV$UHDV
  0RVWRIWKHNQRZQVRXUFHVWKDWKDYHFRQWULEXWHGWRWKH28JURXQGZDWHUFRQWDPLQDWLRQDUH
  FXUUHQWO\XQGHU6WDWHRYHUVLJKW '76&RU5:4&% DQGDUHFXUUHQWO\EHLQJDGGUHVVHGE\6WDWH
  OHGDFWLRQV(3$KDVLVVXHGJHQHUDOQRWLFHOHWWHUVWR353VDWQLQHRIWKHVH28VRXUFHDUHDV
  (3$DVVXPHVWKDWWKH6WDWHZLOOUHTXLUHVRXUFHFRQWURODFWLRQVDWWKHVHIDFLOLWLHVDVQHHGHGDQG
  H[SHFWVWKDWLIDQGZKHQDGGLWLRQDOVRXUFHDUHDVDUHLGHQWLILHGWKH\ZLOOEHDGGUHVVHGE\WKH
  FRPELQHGHIIRUWVRIWKH6WDWHDQG(3$,QYHVWLJDWLRQRIDGGLWLRQDOSRWHQWLDO28VRXUFHDUHDV
  FRQWLQXHV

        &RPPXQLW\3DUWLFLSDWLRQ
  'RFXPHQW5HSRVLWRULHV
  6LWHUHODWHGGRFXPHQWVFDQEHIRXQGLQWKH$GPLQLVWUDWLYH5HFRUGILOHDWWKH(3$5HJLRQ
  6XSHUIXQG5HFRUGV&HQWHUORFDWHGDW+DZWKRUQH6WUHHW WK)ORRU LQ6DQ)UDQFLVFRDQGDW
  WKHLQIRUPDWLRQUHSRVLWRU\ORFDWHGDWWKH:KLWWLHU3XEOLF/LEUDU\DW6:DVKLQJWRQ$YHQXH
  LQ:KLWWLHU&DOLIRUQLD
  28
  ,Q-XQHWKH3URSRVHG3ODQIRU28VRLOVDQGWKHUHODWHG5,)6DQG+XPDQ+HDOWK5LVN
  $VVHVVPHQW ++5$ UHSRUWVZHUHPDGHDYDLODEOHWRWKHSXEOLF$SXEOLFQRWLFHZDVSXEOLVKHG
  RQ-XQHLQWKHWhittier Daily NewsWRQRWLI\FRPPXQLW\PHPEHUVDERXWWKHDYDLODELOLW\
  RIWKH3URSRVHG3ODQWKHXSFRPLQJSXEOLFPHHWLQJDQGWKHSXEOLFFRPPHQWSHULRG7KH
  3URSRVHG3ODQZDVDOVRPDLOHGWRWKHFRPPXQLW\
  7KHSXEOLFPHHWLQJIRUWKH3URSRVHG3ODQZDVKHOG-XQH$WWKLVPHHWLQJ(3$
  UHSUHVHQWDWLYHVSUHVHQWHGWKH3URSRVHG3ODQDQGDQVZHUHGTXHVWLRQVDERXWWKHSUHIHUUHG
  DOWHUQDWLYHDQGLVVXHVUHJDUGLQJFRQWDPLQDWLRQDW281RFRPPHQWVRUREMHFWLRQVFRQFHUQLQJWKH
  SUHIHUUHGDOWHUQDWLYHZHUHUDLVHGDWWKHPHHWLQJ7KHWUDQVFULSWIRUWKHSXEOLFPHHWLQJLVSDUWRIWKH
  $GPLQLVWUDWLYH5HFRUGILOHDWWKHLQIRUPDWLRQUHSRVLWRULHV
  28
  $IDFWVKHHWSUHVHQWLQJDVXPPDU\RIWKHGUDIW285,UHVXOWVZDVLVVXHGDQGGLVWULEXWHGWRWKH
  SXEOLFLQ6HSWHPEHU(3$PDGHWKHGUDIW5,5HSRUWDYDLODEOHE\SRVWLQJLWRQDILOHWUDQVIHU
  SURWRFRO )73 VLWHIRUSXEOLFDFFHVV7KHILQDO5,)6ZDVFRPSOHWHGLQ$XJXVWDQGZDV
  PDGHDYDLODEOHWRWKHSXEOLF7KHVHGRFXPHQWVDOVRFDQEHIRXQGLQWKH$5ILOHDWWKH(3$


                                                                                                    2-6



                                                     173                         Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 183 of 347 Page ID #:217




  5HJLRQ6XSHUIXQG5HFRUGV&HQWHUORFDWHGDW+DZWKRUQH6WUHHW WK)ORRU LQ6DQ)UDQFLVFR
  DQGDWWKHLQIRUPDWLRQUHSRVLWRU\ORFDWHGDWWKH:KLWWLHU3XEOLF/LEUDU\DW6:DVKLQJWRQ
  $YHQXHLQ:KLWWLHU&DOLIRUQLD$SXEOLFQRWLFHZDVSXEOLVKHGRQ$XJXVWLQWKH
  Whittier Daily News WRQRWLI\FRPPXQLW\PHPEHUVDERXWWKHDYDLODELOLW\RIWKH3URSRVHG3ODQ
  WKHSXEOLFPHHWLQJDQGWKHGXUDWLRQRIWKHSXEOLFFRPPHQWSHULRG7KH3URSRVHG3ODQZDVDOVR
  PDLOHGWRWKHFRPPXQLW\$IWHUUHFHLYLQJDUHTXHVWIURP*ROGHQ6WDWH:DWHU&RPSDQ\IRUD
  GD\H[WHQVLRQRIWKHSXEOLFFRPPHQWSHULRG(3$H[WHQGHGWKHUHYLHZSHULRGWKURXJK
  2FWREHUDQGQRWLILHGWKHSXEOLFRIWKHH[WHQVLRQYLDDQRWLFHRQ(3$¶VZHESDJHIRU
  WKH6LWHDQGWKURXJKDSXEOLFQRWLFHLQWKHWhittier Daily News.$IWHUUHFHLYLQJDVXEVHTXHQW
  UHTXHVWIURPWKHRIILFHRI&RQJUHVVZRPDQ*UDFH1DSROLWDQRIRUDGD\H[WHQVLRQRIWKHSXEOLF
  FRPPHQWSHULRG(3$H[WHQGHGWKHUHYLHZSHULRGWKURXJK1RYHPEHUDQGDJDLQ
  QRWLILHGWKHSXEOLFRIWKHH[WHQVLRQYLDLQIRUPDWLRQSRVWHGRQ(3$¶VZHESDJHIRUWKH6LWHDQGD
  SXEOLFQRWLFHLQWKHWhittier Daily News.
  7KHSXEOLFPHHWLQJIRUWKH283URSRVHG3ODQZDVKHOG$XJXVW$WWKLVPHHWLQJ(3$
  UHSUHVHQWDWLYHVSUHVHQWHGWKH3URSRVHG3ODQDQGDQVZHUHGTXHVWLRQVDERXWWKHSUHIHUUHG
  DOWHUQDWLYHDQGFRQWDPLQDWLRQDW28&RPPHQWVPDGHRQWKHSUHIHUUHGDOWHUQDWLYHGXULQJWKH
  SXEOLFPHHWLQJZHUHODWHULQFOXGHGLQIRUPDOFRPPHQWOHWWHUVVXEPLWWHGGXULQJWKHSXEOLF
  FRPPHQWSHULRG7KHWUDQVFULSWIRUWKHSXEOLFPHHWLQJLVSDUWRIWKH$GPLQLVWUDWLYH5HFRUGILOHDW
  WKHLQIRUPDWLRQUHSRVLWRULHV(3$¶VUHVSRQVHVWRFRPPHQWVRQLWVSURSRVHGFOHDQXSSODQDUH
  LQFOXGHGLQWKH5HVSRQVLYHQHVV6XPPDU\ZKLFKLV3DUWRIWKLV52'

        6FRSHDQG5ROHRI2SHUDEOH8QLW
      5ROHRI2SHUDEOH8QLW
  7KLVVHFWLRQEULHIO\GHVFULEHVWKH2SHUDEOH8QLWV 28V WRSURYLGHFRQWH[WIRUWKLV5HFRUGRI
  'HFLVLRQ$VLVWKHFDVHDWPDQ\6XSHUIXQGVLWHVWKHLVVXHVDWWKH2PHJD&KHPLFDO&RUSRUDWLRQ
  6XSHUIXQG6LWHDUHFRPSOH[%HFDXVHRIWKLVFRPSOH[LW\(3$PDQDJHVWKH6LWHDVWKUHH28V
     28LQFOXGHVWKHFRQWDPLQDWHGVRLODQGJURXQGZDWHUDWDQGLQWKHLPPHGLDWHYLFLQLW\RIWKH
     IRUPHU2PHJDSURSHUW\
     28LVFRPSRVHGRIJURXQGZDWHUFRQWDPLQDWLRQRXWVLGHDQGJHQHUDOO\GRZQJUDGLHQW
     JHQHUDOO\VRXWKVRXWKZHVW RI28DQG
     28LVFRPSRVHGRILQGRRUDLUFRQWDPLQDWLRQDWEXLOGLQJVORFDWHGRQDQGQHDUWKHIRUPHU
     2PHJD&KHPLFDOSURSHUW\
  232*LVOHDGLQJWKHLQYHVWLJDWLRQDQGFOHDQXSRI28DQG28ZLWK(3$RYHUVLJKW(3$KDV
  FRQGXFWHGWKH5,)6IRU28ZKLFKLVWKHVXEMHFWRIWKLV52'
  8QGHUWKH&'232*KDVGHVLJQHGDQGLPSOHPHQWHGDJURXQGZDWHUFRQWDLQPHQWDQGPDVV
  UHPRYDOWUHDWPHQWV\VWHPIRU28JURXQGZDWHUZKLFKLVFXUUHQWO\RSHUDWLQJ&RQVWUXFWLRQRI
  WKHJURXQGZDWHUWUHDWPHQWV\VWHPZDVFRPSOHWHGDQGIXOORSHUDWLRQEHJDQLQ-XO\7KH
  V\VWHPFRQVLVWVRIILYHH[WUDFWLRQZHOOVDQGDWUHDWPHQWSODQW7KHWUHDWHGZDWHULVGLVFKDUJHGWR
  DVDQLWDU\VHZHUOLQH)URP-XO\WKURXJK0DUFKWKHV\VWHPH[WUDFWHGDQGWUHDWHG
  DSSUR[LPDWHO\JDOORQVRIZDWHUDQGUHPRYHGSRXQGVRI92&V7KHJURXQGZDWHU


                                                                                                  2-7



                                                  174                               Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 184 of 347 Page ID #:218




  H[WUDFWLRQV\VWHPLVPRQLWRUHGPRQWKO\DQGTXDUWHUO\UHSRUWVDUHSURYLGHGWRHQVXUH
  SHUIRUPDQFHVWDQGDUGVDUHPHW
  7KH6HSWHPEHU52'VHOHFWHGDUHPHG\WRDGGUHVVVRLODQGVRLOYDSRUFRQWDPLQDWLRQZLWKLQ
  287KHVRLOUHPHG\ZLOOXVHDQ69(V\VWHPWRUHPRYHVRLOFRQWDPLQDWLRQWRUHGXFHULVN
  DVVRFLDWHGZLWKH[SRVXUHWRFRQWDPLQDWHGVRLOVDQGFRQWDPLQDQWYDSRUVDQGWRUHGXFHWKHLPSDFW
  RIWKHVRLOFRQWDPLQDWLRQRQJURXQGZDWHU232*EHJDQSLORWVWXGLHVDQGILHOGWHVWLQJIRU
  UHPHGLDOGHVLJQRIWKH69(V\VWHPLQODWH
  ,QDGGLWLRQXQGHUWKH1RYHPEHU$2&DVPRGLILHG232*KDVXQGHUWDNHQDYDULHW\RI
  PHDVXUHVLQFOXGLQJWKHLQVWDOODWLRQRIDQLQWHULP69(V\VWHPDQGDVXEVODEGHSUHVVXUL]DWLRQ
  V\VWHPWRDGGUHVVYDSRULQWUXVLRQDWDQXPEHURIEXLOGLQJVDGMDFHQWWRWKHIRUPHU2PHJD
  SURSHUW\7KHYDSRULQWUXVLRQPLWLJDWLRQHIIRUWVDUHRQJRLQJ(3$SUHVHQWO\RYHUVHHVWKHRQJRLQJ
  232*28DQG28DFWLYLWLHV
      6FRSHRI5HVSRQVH$FWLRQ
  6HOHFWLRQDQGLPSOHPHQWDWLRQRIWKH,QWHULP5HPHG\IRU28LVLQWHQGHGWRDGGUHVVWKH
  FRQWDPLQDWHGJURXQGZDWHULQWKHDUHDJHQHUDOO\GRZQJUDGLHQWRIWKHIRUPHU2PHJD&KHPLFDO
  IDFLOLW\%HFDXVHWKHDUHDRYHUO\LQJWKH28SOXPHLVKLJKO\LQGXVWULDOL]HGWKH28SOXPHIURP
  WKH2PHJDSURSHUW\ZKLFKFRQWDLQVVLJQLILFDQWYRODWLOHRUJDQLFFRPSRXQG 92& )UHRQDQG
  GLR[DQHFRQWDPLQDWLRQLVFRPPLQJOHGZLWKRWKHUJURXQGZDWHUFRQWDPLQDQWV LQFOXGLQJ
  FKURPLXPSHUFKORUDWHVHOHQLXPDQGIXHOK\GURFDUERQV WKDWDUHQRWEHOLHYHGWRKDYHEHHQSDUW
  RIWKH2PHJD&KHPLFDOIDFLOLW\¶VRSHUDWLRQVEXWKDYHEHHQUHOHDVHGDWIDFLOLWLHVZLWKLQWKH28
  DUHD7KHVHFRQWDPLQDQWVDQGRWKHUVDUHSUHVHQWLQ28JURXQGZDWHUDWOHYHOVWKDWH[FHHGWKH
  PD[LPXPFRQWDPLQDQWOHYHOV 0&/V RU6WDWHQRWLILFDWLRQOHYHOVIRUGULQNLQJZDWHUDQGSRVHD
  FXUUHQWDQGSRWHQWLDOULVNWRKXPDQKHDOWK
  7KHDUHDRIKLJKO\FRQWDPLQDWHGJURXQGZDWHUZLWKLQ28LVFRQWUROOHGE\DQLQWHULPSXPSDQG
  WUHDWV\VWHPWKDWEHJDQRSHUDWLRQLQ-XO\DQG5'5$ZRUNRQWKHVRLOUHPHG\IRU28
   69(WKURXJKRXWWKHYDGRVH]RQH EHJDQLQ7KHLQYHVWLJDWLRQDQGFOHDQXSZRUNDW
  QXPHURXVVRXUFHDUHDVRIVLJQLILFDQWO\FRQWDPLQDWHGVRLOVDQGJURXQGZDWHUDW28WKDWZHUH
  LGHQWLILHGLQWKH5,DUHXQGHU6WDWHRYHUVLJKW '76&RU5:4&% (3$ZLOOFRQWLQXHWRZRUN
  FORVHO\ZLWKWKH6WDWHWRHQVXUHWKDWFRQWDPLQDQWVRXUFHDUHDVZLWKLQ28DUHDGGUHVVHG
  &ROODERUDWLRQZLWKWKH6WDWHZLOOHQVXUHWKDWWKHSOXPHFRQWDLQPHQWDFKLHYHGE\WKLV,QWHULP
  5HPHG\ZLOOEHVXVWDLQHGDQGWKDWVRXUFHFRQWURODFWLRQVDUHFRQVLVWHQWZLWKWKHILQDOUHPHG\IRU
  WKH28SOXPH
  ,QWKLV52'(3$LVVHOHFWLQJDQLQWHULPFRQWDLQPHQWUHPHG\IRUWKHFRQWDPLQDWHGJURXQGZDWHU
  DW287KLVZLOOSURWHFWKXPDQKHDOWKDQGHQYLURQPHQWE\SUHYHQWLQJIXUWKHUVSUHDGLQJRIWKH
  FRQWDPLQDWHGJURXQGZDWHUWRDV\HWXQFRQWDPLQDWHGSRUWLRQVRIWKHDTXLIHUDQGQHDUE\
  SURGXFWLRQZHOOV)ROORZLQJLPSOHPHQWDWLRQRIWKH28,QWHULP5HPHG\(3$ZLOOHYDOXDWH
  DQGDVDSSURSULDWHVHOHFWDGGLWLRQDOFOHDQXSDFWLRQVIRUWKHFRQWDPLQDWHGJURXQGZDWHUDWWKH
  6LWHDVSDUWRIDILQDO52'
  7KH,QWHULP5HPHG\ZLOOZRUNLQSDUDOOHOZLWKWKHDFWLRQVDW28 VRLOFOHDQXSDQGLQWHULP
  JURXQGZDWHUFRQWDLQPHQWUHPHG\ DQGWKH6WDWHOHGFOHDQXSDFWLRQVDWWKHVRXUFHDUHDVRYHUO\LQJ
  WKH28SOXPH )LJXUH 7KLVDSSURDFKZLOODOORZFOHDQXSWRPRYHIRUZDUGXQGHUWKH6WDWHOHG
  DFWLRQVIRUWKHVRXUFHDUHDVDQGXQGHU(3$OHGDFWLRQIRUWKHFRPPLQJOHG28SOXPH7KH


                                                                                                 2-8



                                                   175                          Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 185 of 347 Page ID #:219




  ,QWHULP5HPHG\LVH[SHFWHGWREHFRQVLVWHQWZLWKWKH6WDWHOHGDFWLRQVDQGZLWKWKHILQDOUHPHG\
  IRUWKH6LWH

        6LWH&KDUDFWHULVWLFV
      &RQFHSWXDO6LWH0RGHO
  7KHFRQFHSWXDOVLWHPRGHOIRU28WDNHVLQWRDFFRXQWSDVWVSLOOVOHDNVRURWKHUUHOHDVHVRI
  KD]DUGRXVFRQWDPLQDQWVWKDWKDYHRFFXUUHGDWWKHIRUPHU2PHJD&KHPLFDOIDFLOLW\DQGNQRZQ
  VRXUFHDUHDVZLWKLQ28ZKLFKKDYHUHVXOWHGLQVLJQLILFDQWJURXQGZDWHUFRQWDPLQDWLRQWKDW
  SRVHVDSRWHQWLDOULVNWRKXPDQKHDOWKYLDWKHXVHRIFRQWDPLQDWHGJURXQGZDWHUIRUSRWDEOHZDWHU
  VXSSO\7KHFRQWDPLQDWLRQIURPWKHVHVRXUFHDUHDVFRPPLQJOHGLQWRDFRQWLQXRXVSOXPHLQ
  JURXQGZDWHU
  &RQWDPLQDWHGJURXQGZDWHUDW28LVNQRZQWREHSUHVHQWIURPDERXWWRIHHWEHORZ
  JURXQGVXUIDFH EJV DQGH[WHQGVWRDERXWIHHWEJV7KHSOXPHRIFRQWDPLQDWHGJURXQGZDWHU
  H[WHQGVDSSUR[LPDWHO\PLOHVJHQHUDOO\VRXWKVRXWKZHVWIURPWKH2PHJDSURSHUW\LQWKH&LW\
  RI:KLWWLHUWKURXJKWKH&LW\RI6DQWD)H6SULQJVDQGLQWRWKH&LW\RI1RUZDON:LWKLQWKH28
  SOXPHWKHUHDUHWZRPRVWO\GLVWLQFWKLJKFRQFHQWUDWLRQDUHDVRIFRQWDPLQDWLRQZKHUH3&(
  FRQFHQWUDWLRQVH[FHHGPLFURJUDPVSHUOLWHU ȝJ/ 7KH5,)6GDWDLQGLFDWHWKDWWKHILUVWKLJK
  FRQFHQWUDWLRQDUHDRULJLQDWHVDWWKHIRUPHU2PHJD&KHPLFDOIDFLOLW\DQGH[WHQGVIRUDGLVWDQFHRI
  DSSUR[LPDWHO\PLOHGRZQJUDGLHQW7KHVHFRQGKLJKFRQFHQWUDWLRQDUHDVWDUWVZLWKLQDVKRUW
  GLVWDQFHGRZQJUDGLHQWRIWKHILUVWDQGFRQWLQXHVIRUDERXWRQHKDOIPLOH VHH)LJXUH 
  *URXQGZDWHUDW28JHQHUDOO\IORZVVRXWKDQGVRXWKZHVW7KHJURXQGZDWHUZLWKLQWKH28DUHD
  LVXVHGDVDVRXUFHRIGULQNLQJZDWHUE\VHYHUDOPXQLFLSDODQGSULYDWHZDWHUSXUYH\RUV0RVWRI
  WKHGULQNLQJZDWHUZHOOVORFDWHGLQWKH28DUHDGUDZZDWHUSULPDULO\IURPGHHSHUSRUWLRQVRIWKH
  DTXLIHUDWGHSWKVRIIHHWEJVRUJUHDWHUDQGDUHQRWFXUUHQWO\LPSDFWHGE\JURXQGZDWHU
  FRQWDPLQDWLRQ+RZHYHUDIHZGULQNLQJZDWHUZHOOVLQWKHDUHDGUDZZDWHUDWDERXWWKHIHHW
  EJVOHYHODQGKDYHKDGVRPHFRQWDPLQDQWVGHWHFWHG7KHVHZHOOVDUHFXUUHQWO\HTXLSSHGZLWK
                             ZKLFKFRQVLVWRIJUDQXODUDFWLYDWHGFDUERQ *$& ILOWHUV7KH*$&
  ILOWHUUHPRYHVWKHFRQWDPLQDQWVIURPWKHZDWHUWRHQVXUHWKDWLWPHHWVGULQNLQJZDWHUVWDQGDUGV
  'ULQNLQJZDWHUIRUWKHFLWLHVRI:KLWWLHU6DQWD)H6SULQJVDQG1RUZDONLVWHVWHGUHJXODUO\SULRU
  WRGLVWULEXWLRQWRWKHSXEOLFDQGEDVHGRQLQIRUPDWLRQ(3$KDVEHHQSURYLGHGDOOWDSZDWHU
  PHHWV6WDWHDQG)HGHUDOGULQNLQJZDWHUVWDQGDUGV
  7KH++5$UHVXOWVLQGLFDWHGWKDWWKH28FRQWDPLQDWHGJURXQGZDWHUGRHVQRWSRVHDFXUUHQWRU
  LPPHGLDWHULVNWRKXPDQKHDOWKEXWFRXOGSRVHDVLJQLILFDQWSRWHQWLDOIXWXUHULVNWKURXJK
  GRPHVWLFXVHRIFRQWDPLQDWHGJURXQGZDWHU'HOD\LQJDFWLRQFRXOGUHVXOWLQWKHLQFUHDVHG
  OLNHOLKRRGWKDWDGGLWLRQDOZDWHUVXSSO\ZHOOVLQWKHDUHDZRXOGKDYHWREHPRGLILHGUHPRYHG
  IURPVHUYLFHRSHUDWHGLQWHUPLWWHQWO\RUZRXOGUHTXLUHWUHDWPHQWWRUHPRYHFRQWDPLQDQWV7KH
  FRQFHSWXDOVLWHPRGHOLVJUDSKLFDOO\LOOXVWUDWHGLQ)LJXUH
  7KHULVNWRHFRORJLFDOUHFHSWRUVIURPFRQWDPLQDQWVLQ28JURXQGZDWHULVQHJOLJLEOHGXHWRWKH
  GHSWKRIJURXQGZDWHU$OOVXUIDFHZDWHUGUDLQVDUHDWVXEVWDQWLDOO\KLJKHUHOHYDWLRQVWKDQWKH
  ZDWHUWDEOHDW28WKXVJURXQGZDWHUGRHVQRWGLVFKDUJHWRVXUIDFHZDWHUERGLHVZKHUH
  H[SRVXUHRIHFRORJLFDOUHFHSWRUVRWKHUZLVHFRXOGRFFXU



                                                                                                  2-9



                                                    176                          Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 186 of 347 Page ID #:220




  7KH6LWHDQGVXUURXQGLQJDUHDVDUHQHDUO\FRPSOHWHO\GHYHORSHGZLWKDPL[RISUHGRPLQDQWO\
  FRPPHUFLDOLQGXVWULDODQGPLQRUUHVLGHQWLDOODQGXVH(3$GRHVQRWH[SHFWWKHIXWXUHODQGRU
  UHVRXUFHXVHVLQWKLVDUHDWRFKDQJH
  
  )LJXUH&RQFHSWXDO6LWH0RGHOIRU28




                                                                                                        
  
       2YHUYLHZRIWKH6LWH
  7KHIRUPHU2PHJD&KHPLFDO&RUSRUDWLRQZDVORFDWHGDWDQG:KLWWLHU%RXOHYDUG
  :KLWWLHU&DOLIRUQLD7KHIRUPHU2PHJDSURSHUW\LVDSSUR[LPDWHO\VTXDUHIHHWLQDUHD
   IW[IW DQGFRQWDLQVWZRVWUXFWXUHV²DE\IRRWZDUHKRXVHDQGDQE\IRRW
  DGPLQLVWUDWLYHEXLOGLQJ$ORDGLQJGRFNLVDWWDFKHGWRWKHUHDURIWKHZDUHKRXVH7KH2PHJD
  SURSHUW\LVSDYHGZLWKFRQFUHWHDQGVHFXUHGZLWKDIRRWKLJKSHULPHWHUIHQFHDQGORFNLQJJDWH
  7KHIHQFHLVWRSSHGZLWKUD]RUZLUH
  7KHSOXPHRIFRQWDPLQDWHGJURXQGZDWHUWKDWFRPSULVHV28H[WHQGVIURPWKH2PHJDSURSHUW\
  IRUDSSUR[LPDWHO\PLOHVLQDVRXWKVRXWKZHVWHUO\GLUHFWLRQ VHH)LJXUH 7KHZLGWKRIWKH
  FRQWDPLQDWHGJURXQGZDWHUSOXPHYDULHVIURPDSSUR[LPDWHO\WRPLOHDQGWKHDUHDFRYHUHG
  E\WKHSOXPHLVDSSUR[LPDWHO\VTXDUHPLOHV7KH2PHJD&KHPLFDO6LWHDQGWKHYDVWPDMRULW\
  RIVXUURXQGLQJDUHDVDUHGHYHORSHGZLWKUHVLGHQWLDOLQGXVWULDORUFRPPHUFLDOIDFLOLWLHVYHU\OLWWOH
  XQGHYHORSHGSURSHUW\UHPDLQVLQWKLVDUHD7KHSOXPHKDVH[SDQGHGDWDUDWHRIDWOHDVWIHHW
  SHU\HDUVLQFH
  7KHJURXQGVXUIDFHVORSHVVRXWKZHVWIURPWKHIRUPHU2PHJD&KHPLFDOIDFLOLW\DWDSSUR[LPDWHO\
  IHHWDERYHPHDQVHDOHYHO PVO WRDSSUR[LPDWHO\WRIHHWDERYHPVOLQWKH
  VRXWKZHVWHUQSRUWLRQRI28*URXQGZDWHUIORZYHORFLW\DW28LVDSSUR[LPDWHO\IHHWSHU
  \HDU




                                                                                                     2-10



                                                    177                                 Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 187 of 347 Page ID #:221




      6XUIDFHDQG6XEVXUIDFH)HDWXUHV
  1RGUXPVWDQNVRURWKHUIHDWXUHVUHODWHGWRWKHRSHUDWLRQRIWKHIRUPHU2PHJD&KHPLFDO
  &RUSRUDWLRQUHPDLQRQWKHSURSHUW\7KURXJKRXW28WKHDUHDLVYHU\LQGXVWULDOL]HGZLWKPDQ\
  IDFLOLWLHVXWLOL]LQJYDULRXVFRQWDLQHUVIRUFKHPLFDOVWRUDJH
  1RDUHDVRIDUFKDHRORJLFDORUKLVWRULFDOLPSRUWDQFHKDYHEHHQLGHQWLILHGDWWKH6LWH
  7KH6LWHLVORFDWHGLQWKH0RQWHEHOOR)RUHED\DQGWKH:KLWWLHUDUHDRIWKH&HQWUDO%DVLQD
  VXEEDVLQRIWKH&RDVWDO3ODLQRI/RV$QJHOHV&RXQW\&DOLIRUQLD$FFRUGLQJWR%XOOHWLQ
  SXEOLVKHGE\&':5ZDWHUEHDULQJVHGLPHQWVLGHQWLILHGLQWKH:KLWWLHUDUHDH[WHQGWRDQ
  DSSUR[LPDWHGHSWKRIDWOHDVWIHHWEJV7KHPDLQJHRORJLFXQLWVFRQVLVWRIUHFHQWDOOXYLXP
  WKHXSSHU3OHLVWRFHQH/DNHZRRGIRUPDWLRQDQGWKHORZHU3OHLVWRFHQH6DQ3HGURIRUPDWLRQ7KH
  DUHDGRZQVWUHDPRIWKH:KLWWLHU1DUURZVLVNQRZQDVWKH0RQWHEHOOR)RUHED\ZKHUHVXUIDFH
  ZDWHUFRXOGIUHHO\SHUFRODWHLQWRWKHJURXQGZDWHUV\VWHP
  0RVWRIWKHVXUIDFHVWUHDPVLQWKH&HQWUDO%DVLQDUHFRQFUHWHOLQHG HJWKH6RUHQVRQ'UDLQ DQG
  UHFKDUJHWKURXJKWKHERWWRPVRIWKHVHVWUHDPFKDQQHOVLVDVVXPHGWREHQHJOLJLEOH([FHSWLRQVWR
  WKLVDUHHQJLQHHUHGUHFKDUJH]RQHVWKH5LR+RQGRDQG6DQ*DEULHOVSUHDGLQJEDVLQVDQGWKH
  XQOLQHGVHFWLRQRIWKH6DQ*DEULHO5LYHUGRZQJUDGLHQWRIWKHVSUHDGLQJEDVLQH[WHQGLQJ
  DSSUR[LPDWHO\WR)ORUHQFH$YHQXH )LJXUH 7KHUHDUHQRJURXQGZDWHUGLVFKDUJHVWRVXUIDFH
  ZDWHUERGLHVZLWKLQ28
  7KH6DQ*DEULHODQGWKH5LR+RQGRVSUHDGLQJEDVLQVDUHWKHPDMRUJURXQGZDWHUUHSOHQLVKPHQW
  VRXUFHVIRUWKH&HQWUDO%DVLQ1XPHURXVSURGXFWLRQZHOOVDUHORFDWHGZLWKLQWKH&HQWUDO%DVLQ
  0RVWRIWKHVHSURGXFWLRQZHOOVDUHVFUHHQHGLQWKHGHHSHUSRUWLRQRIWKHDTXLIHUDWGHSWKV
  JHQHUDOO\JUHDWHUWKDQIHHWEJV*URXQGZDWHUIORZVJHQHUDOO\WRWKHVRXWKZHVWLQWKH
  0RQWHEHOOR)RUHED\DQGWKHQWXUQVWRWKHVRXWKVRXWKZHVWLQWKH&HQWUDO%DVLQSUHVVXUHDUHD
  7KHJURXQGZDWHUIORZLQWKH&HQWUDO%DVLQLVPDLQO\FRQWUROOHGE\QDWXUDODQGDUWLILFLDOUHFKDUJH
  LQWKH0RQWHEHOOR)RUHED\DQGSURGXFWLRQSXPSLQJ'HVSLWHZDWHUOHYHOIOXFWXDWLRQRYHUWLPH
  WKHJHQHUDOJURXQGZDWHUIORZGLUHFWLRQDQGJUDGLHQWRIWKHXSSHU ZDWHUWDEOH DTXLIHUKDYH
  UHPDLQHGUHODWLYHO\FRQVWDQWDW28
  6KDOORZGHSRVLWVDW28FRQVLVWRIXQFRQVROLGDWHGVDQGVDQGVLOWV
  $QXPHULFDOJURXQGZDWHUIORZDQGVROXWHWUDQVSRUWPRGHOIRU28ZDVGHYHORSHGXVLQJ
  )()/2:7KHPRGHOVLPXODWHVJURXQGZDWHUIORZLQWKHVWXG\DUHDIRUDSHULRGRI\HDUV
  EHWZHHQZDWHU\HDUVDQG 2FWREHUWR6HSWHPEHU 
  7KHQXPHULFDOPRGHOLQJUHVXOWVVXSSRUWWKHFRQFHSWXDOXQGHUVWDQGLQJRIJURXQGZDWHUIORZDQG
  FRQWDPLQDQWWUDQVSRUWDW287KH6LWHJURXQGZDWHUIORZPRGHOVLPXODWHGWKHJURXQGZDWHUIORZ
  FRQGLWLRQVDW28DQGWKHGHYHORSPHQWRIWKH3&(SOXPHGXULQJWKHKLVWRULFDOSHULRGRI
  RSHUDWLRQVDW2PHJD&KHPLFDO
  7KH6LWHPRGHOZDVXVHGWRHVWLPDWHWKHPLQLPXPH[WUDFWLRQUDWHVQHHGHGWRDFKLHYH
  FRQWDLQPHQWXQGHUWZRSXPSLQJVFHQDULRV7KHWDUJHWHGDUHDRIK\GUDXOLFFRQWDLQPHQWLVWKH
  IRRWSULQWRIWKH28SOXPHDQGWKHWDUJHWHGGHSWKLVWKHNQRZQFRQWDPLQDWHGSRUWLRQRIWKH
  28DTXLIHUWKDWLVWRDGHSWKRIDERXWIHHWEJV




                                                                                                 2-11



                                                    178                               Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 188 of 347 Page ID #:222




      6DPSOLQJ6WUDWHJ\
  (3$EHJDQWKHUHPHGLDOLQYHVWLJDWLRQDW28LQZLWKWKHPDMRULW\RIWKHJURXQGZDWHUGDWD
  FROOHFWHGLQ2QHWLPHGLVFUHWHJURXQGZDWHUVDPSOHVZHUHFROOHFWHGGXULQJWKHLQLWLDO
  LQYHVWLJDWLRQVDQGSHUPDQHQWZHOOVZHUHVXEVHTXHQWO\LQVWDOOHGQHDUWKHSOXPHHGJHVDQGIRUWKH
  FKDUDFWHUL]DWLRQRIVRXUFHDUHDVDW286HPLDQQXDOJURXQGZDWHUPRQLWRULQJDQGDGGLWLRQDO
  LQYHVWLJDWLRQRIDGGLWLRQDOSRWHQWLDOVRXUFHVRIFRQWDPLQDWLRQFRQWLQXHV
  (3$KDVLQVWDOOHGPRQLWRULQJZHOOFOXVWHUVHDFKFRQVLVWLQJRIRQHWRIRXUZHOOVIRUDWRWDORI
  ZHOOVFUHHQV8QGHU(3$GLUHFWLRQ232*LQVWDOOHGDGGLWLRQDOPRQLWRULQJZHOOV+LVWRULFDO
  VDPSOLQJLQFOXGHGDZLGHUDQJHRIDQDO\WHVLQFOXGLQJVHPLYRODWLOHRUJDQLFFRPSRXQGV 692&V 
  PHWDOVLQRUJDQLFVSHVWLFLGHVDQGHPHUJHQWFRQWDPLQDQWV$OOPRQLWRULQJZHOOVDUHFXUUHQWO\
  VDPSOHGVHPLDQQXDOO\IRU92&V
  2YHURQHWLPH+\GUR3XQFKJURXQGZDWHUVDPSOHVZHUHFROOHFWHGDW28
  (OHYHQSXPSLQJWHVWVDQGRYHUVOXJWHVWVZHUHFRQGXFWHGRQWKHPRQLWRULQJZHOOVWR
  FKDUDFWHUL]HWKHDTXLIHUSURSHUWLHVDW28
  ,QDGGLWLRQWRJURXQGZDWHUVDPSOLQJSHUIRUPHGIRU6LWHLQYHVWLJDWLRQVWKHUHDUHVHYHUDOIDFLOLW\
  VSHFLILFLQYHVWLJDWLRQVWKDWKDYHEHHQSHUIRUPHGLQWKH28DUHDXQGHUWKHGLUHFWLRQRI(3$
  5:4&%DQGRU'76&0DQ\RIWKHVHLQYHVWLJDWLRQVLQFOXGHGFROOHFWLRQDQGDQDO\VLVRI
  JURXQGZDWHUVRLODQGVRLOYDSRUVDPSOHVWRGHOLQHDWHFRQWDPLQDWLRQLQWKHVKDOORZDTXLIHUDQG
  QHDUVXUIDFHDQGGHHSVRLOVDWIDFLOLWLHVLGHQWLILHGDVSRWHQWLDOVRXUFHDUHDVIRU&2&V
  (3$FRPSOHWHGWKH5,)6IRU28DQGLVVXHGDQ5,)65HSRUWLQWKDWSUHVHQWVWKHUHVXOWV
  RI28LQYHVWLJDWLRQV
      &RQWDPLQDQW6RXUFH$UHDV
  7KH2PHJD&KHPLFDOFRQWDPLQDQWVDUHFKHPLFDOVIRXQGDWFRQFHQWUDWLRQVH[FHHGLQJWKHLU
  VFUHHQLQJOHYHOVDW28DUHDPRQLWRULQJZHOOVLQFOXGLQJ2:$2:%2:2:$2:%
  2:$DQG2:%ORFDWHGLQWKHLPPHGLDWHYLFLQLW\RIWKHIRUPHU2PHJD&KHPLFDOIDFLOLW\
  7KH2PHJD&KHPLFDOFRQWDPLQDQWVDUHEHOLHYHGWRKDYHEHHQLQWURGXFHGWRJURXQGZDWHUDVD
  UHVXOWRIWKHUHOHDVHRIKD]DUGRXVVXEVWDQFHVDWWKHIRUPHU2PHJD&KHPLFDOIDFLOLW\7KH
  KD]DUGRXVVXEVWDQFHVUHOHDVHGDWWKH2PHJDSURSHUW\KDYHHQWHUHGLQWRWKHDTXLIHUDQGZKLOH
  PLJUDWLQJZLWKJURXQGZDWHUIORZKDYHFRPPLQJOHGZLWKFRQWDPLQDQWVUHVXOWLQJIURPUHOHDVHVRI
  KD]DUGRXVVXEVWDQFHVDWRWKHUVRXUFHDUHDV1XPHURXVFRQILUPHGDQGSRWHQWLDOVRXUFHDUHDVDUH
  GHVFULEHGLQWKH5,5HSRUW0DQ\RIWKHLQYHVWLJDWLRQVDQGVRXUFHUHPHGLDWLRQDFWLYLWLHVDUHVWLOO
  LQSURJUHVVDQGZLOOFRQWLQXHEHFDXVHWKH\DUHLPSRUWDQWWRHQVXUHWKDWWKHJURXQGZDWHUUHPHG\
  LVPD[LPDOO\HIIHFWLYHDQGWKHJURXQGZDWHUTXDOLW\LPSURYHPHQWVJDLQHGE\WKHUHPHG\DUH
  VXVWDLQHGRYHUWLPH$VVRXUFHDUHDVDUHPRUHIXOO\GHOLQHDWHGRULIPRUHDUHLGHQWLILHG(3$ZLOO
  FRRUGLQDWHZLWKWKH6WDWHWRLGHQWLI\WKHDSSURSULDWHOHDGDJHQF\IRULQYHVWLJDWLRQDQGFOHDQXS
  ZRUN0RVWRIWKHPDMRUFKHPLFDOFRQVWLWXHQWVLQWKHUHOHDVHVDW2PHJD&KHPLFDODQGWKH
  UHOHDVHVIURPGRZQJUDGLHQWVRXUFHVDUHWKHVDPH HJ3&(DQG7&( )UHRQDQG)UHRQ
  KRZHYHUDUHFRQVLGHUHGVLJQDWXUH2PHJD&KHPLFDOFRQWDPLQDQWVEHFDXVHWKHIRUPHU2PHJD
  &KHPLFDOIDFLOLW\LVWKHRQO\FRQILUPHGVRXUFHRI)UHRQUHOHDVHVWKDWKDYHLPSDFWHG28
  JURXQGZDWHU



                                                                                                 2-12


                                                  179                                 Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 189 of 347 Page ID #:223




  &2&VIRU28DUHGHILQHGDVFKHPLFDOVIRXQGDW28DQG28DWFRQFHQWUDWLRQVH[FHHGLQJ
  WKHLUVFUHHQLQJOHYHOV HJ)HGHUDORU&DOLIRUQLDSULPDU\0&/RU&DOLIRUQLD'HSDUWPHQWRI
  3XEOLF+HDOWK>&'3+@1RWLILFDWLRQ/HYHO  7DEOHRIWKH5,5HSRUW 7KH\PD\KDYH
  RULJLQDWHGIURPWKHIRUPHU2PHJD&KHPLFDOIDFLOLW\RUIURPRWKHUNQRZQDQGXQNQRZQVRXUFHV
  5HJDUGOHVVRIWKHLURULJLQVWKH&2&VLQH[WUDFWHGJURXQGZDWHUPXVWEHDGGUHVVHGE\WKH28
  ,QWHULP5HPHG\)RUH[DPSOHDSRWHQWLDOUHPHG\EDVHGRQJURXQGZDWHUH[WUDFWLRQZRXOG
  UHTXLUHWKHWUHDWPHQWIRUPRVWLIQRWDOORIWKHVHFRPSRXQGVLQRUGHUWRPHHWWKHUHTXLUHPHQWV
  DVVRFLDWHGZLWKWKHHQGXVHRIWKHWUHDWHGZDWHU
  2PHJD&KHPLFDOFRQWDPLQDQWVLQJURXQGZDWHUJHQHUDOO\H[WHQGODWHUDOO\XSWRDERXWPLOHV
  VRXWKVRXWKZHVWIURPWKH2PHJDSURSHUW\7KHSOXPHH[WHQWVYDU\DPRQJWKHGLIIHUHQW&2&V
      7\SHVRI&RQWDPLQDWLRQDQG$IIHFWHG0HGLD
  7KH2PHJD&KHPLFDO&RUSRUDWLRQRSHUDWHGDUHIULJHUDQWDQGVROYHQWUHF\FOLQJUHIRUPXODWLRQ
  DQGWUHDWPHQWIDFLOLW\'UXPVDQGEXONORDGVRIZDVWHVROYHQWVDQGRWKHUFKHPLFDOVIURPYDULRXV
  LQGXVWULDODFWLYLWLHVZHUHSURFHVVHGDWWKHIDFLOLW\
  :DVWHVDFFHSWHGE\2PHJD&KHPLFDOLQFOXGHGRUJDQLFVROYHQWVDQGFKHPLFDOVDQGDTXHRXV
  ZDVWHVZLWKRUJDQLFZDVWHFRQVWLWXHQWV7KHLQFRPLQJZDVWHVZHUHJHQHUDWHGE\DZLGH
  DVVRUWPHQWRIPDQXIDFWXULQJDQGLQGXVWULDOSURFHVVHV VXFKDVSHWUROHXPUHILQLQJUXEEHUDQG
  SODVWLFVFKHPLFDOSDSHUDQGDOOLHGSURGXFWVIXUQLWXUHDQGIL[WXUHSURGXFWVOXPEHUDQGZRRG
  SURGXFWVSULQWLQJDQGSXEOLVKLQJWH[WLOHPLOOSURGXFWVDQGIRRGDQGNLQGUHGSURGXFWV 
  $VDUHVXOWRIWKHRSHUDWLRQVDQGVSLOOVDQGOHDNVRIYDULRXVFKHPLFDOVWKHVRLODQGJURXQGZDWHU
  EHQHDWKWKH2PHJDSURSHUW\EHFDPHFRQWDPLQDWHGZLWKKLJKFRQFHQWUDWLRQVRI
  WHWUDFKORURHWK\OHQH 3&( WULFKORURHWK\OHQH 7&( )UHRQVDQGDQGRWKHUFRQWDPLQDQWV
  LQFOXGLQJGLR[DQH7KHFRQWDPLQDWHGJURXQGZDWHUH[WHQGVIRXUDQGRQHKDOIPLOHVJHQHUDOO\
  GRZQJUDGLHQW VRXWKVRXWKZHVW RIWKH2PHJDSURSHUW\
  7KHWDUJHWPHGLXPIRU(3$¶V,QWHULP5HPHG\IRU28LVFRQWDPLQDWHGJURXQGZDWHU7KH
  FKHPLFDOVRIFRQFHUQDUHPRELOHLQJURXQGZDWHUWR[LFDQGPDQ\RIWKHPDUHNQRZQRU
  VXVSHFWHGKXPDQFDUFLQRJHQV
  7KH28SOXPHFRYHUVDQDUHDRIDSSUR[LPDWHO\VTXDUHPLOHVDQGH[WHQGVIURPWKHZDWHU
  WDEOHWKDWRFFXUVDWDSSUR[LPDWHO\WRIHHWEJVWRPRUHWKDQIHHWEJVLQVRPHSODFHV
  $VVXPLQJDQDYHUDJHWKLFNQHVVRIIHHWIRUWKHSXUSRVHVRIHVWLPDWLQJWKHFRQWDPLQDWHG]RQH
  WKHYROXPHRIWKHFRQWDPLQDWHGDTXLIHULVDSSUR[LPDWHO\FXELF\DUGV
  $PRQJDOOWKH&2&VDWWKH6LWH3&(DQG7&(KDYHWKHJUHDWHVWSOXPHH[WHQWVZLWKWKHKLJKHVW
  FRQWDPLQDQWFRQFHQWUDWLRQV3&(DKXPDQFDUFLQRJHQLVWKHPDLQULVNGULYHUDVVRFLDWHGZLWK
  WKHSRWHQWLDOLQJHVWLRQRIWKHFRQWDPLQDWHGJURXQGZDWHU WKHULVNLVVXPPDUL]HGLQ6HFWLRQ 
  DQGLVWKHPRVWZLGHO\SUHVHQWFRQWDPLQDQWDW287KH)UHRQVDUHFRQVLGHUHGVLJQDWXUH
  FKHPLFDOVRIWKH2PHJD&KHPLFDOIDFLOLW\WKHLUSOXPHH[WHQWVDUHVPDOOHUWKDQWKRVHRI3&(DQG
  7&(7KHJUHDWHUH[WHQWVRI3&(DQG7&(SOXPHVWKDQWKRVHRI)UHRQSOXPHVDUHDWWULEXWHGWR
  WKHLUKLJKHUVRXUFHFRQFHQWUDWLRQVUHODWLYHWRWKHFRQFHQWUDWLRQVRI)UHRQV DW28 DQGDOVRWR
  WKHFRQWULEXWLRQVIURPRWKHUVRXUFHVRI3&(DQG7&(SUHVHQWZLWKLQ28
  $GHWDLOHGGLVFXVVLRQRIWKHJURXQGZDWHUFRQWDPLQDWLRQDW28LVSUHVHQWHGLQWKH5,5HSRUW
  7KH5,)6LVEDVHGRQ28JURXQGZDWHUPRQLWRULQJGDWDWKURXJK-XO\ DQGLQFOXGHVVRPH


                                                                                                    2-13


                                                   180                              Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 190 of 347 Page ID #:224




  OLPLWHGVXSSOHPHQWDOLQIRUPDWLRQJDWKHUHGLQHDUO\IURPWKLUGSDUWLHVDQG(3$VDPSOLQJ 
  6LQFHLVVXLQJWKH5,)6UHSRUW(3$KDVFRQWLQXHGURXWLQHVHPLDQQXDOJURXQGZDWHUPRQLWRULQJ
  DW28DQGWKHGDWDWKURXJKLQGLFDWHWKHUHDUHQRVXEVWDQWLDOFKDQJHVLQWKHRYHUDOO
  GLVWULEXWLRQRIFRQWDPLQDQWVWKURXJKRXW28DVGHVFULEHGLQWKH5,)6
  $EULHIVXPPDU\RIWKHPDLQ&2&VGHWHFWHGGXULQJWKH-XO\WKURXJK$XJXVWVDPSOLQJ
  HYHQWLVSUHVHQWHGDVIROORZV
     7KHPD[LPXP3&(GHWHFWLRQRIJ/ZDVIRXQGLQ:HOO2:$ORFDWHGDWWKHIRUPHU
     2PHJDSURSHUW\7KH3&(SOXPHZLWKFRQFHQWUDWLRQVJUHDWHUWKDQJ/H[WHQGV
     DSSUR[LPDWHO\PLOHVGRZQJUDGLHQWVRXWKVRXWKZHVWRIWKHIRUPHU2PHJD&KHPLFDO
     IDFLOLW\ )LJXUH 3&(FRQFHQWUDWLRQVH[FHHGLQJJ/IRUPDUHODWLYHO\QDUURZ]RQH
     WKDWH[WHQGVIURPWKH2PHJDSURSHUW\WRZHVWRIWKHIRUPHU&(1&25HILQHU\7ZRPRVWO\
     GLVWLQFW]RQHVRIFRQFHQWUDWLRQVH[FHHGLQJJ/DUHSUHVHQW2QHRULJLQDWHVDWWKH2PHJD
     SURSHUW\DQGH[WHQGVDSSUR[LPDWHO\PLOHVRXWKZHVWWKHVHFRQG]RQHLVGLUHFWO\
     GRZQJUDGLHQWRIWKH$QJHOHV&KHPLFDODQGWKH0F.HVVRQ&RUSRUDWLRQ $0. VLWHVDQG
     H[WHQGVDERXWPLOH7KHVHWZRIDFLOLWLHVDUHDGMDFHQWDQGKDYHGRFXPHQWHGUHOHDVHVRI
     VLPLODUFRQWDPLQDQWVWRJURXQGZDWHUWKH\DUHWUHDWHGDVRQHVRXUFHDUHD $0. LQWKH)6
     2WKHUPRUHORFDOL]HGDQGPXFKVPDOOHU]RQHVRIKLJK3&(FRQFHQWUDWLRQVSUHVHQWZHVWRI
     $0.DUHDVVRFLDWHGZLWKRWKHULQGXVWULDOIDFLOLWLHV
     7KHPD[LPXP7&(GHWHFWLRQRIJ/ZDVIRXQGLQ:HOO2:$7&(LVDOVRDKXPDQ
     FDUFLQRJHQ7KHH[WHQWDQGFKDUDFWHULVWLFVRIWKHREVHUYHG7&(SOXPHDUHVLPLODUWRWKRVHRI
     WKH3&(SOXPH )LJXUH 7&(FRQFHQWUDWLRQVXSWRWLPHVWKH0&/ZHUHIRXQGWREH
     DVVRFLDWHGZLWKWKH2PHJDSURSHUW\DQG$0.DQGH[WHQGDERXWPLOHDQGPLOHIURP
     HDFKUHVSHFWLYHVRXUFHDUHD$GLVWLQFWOREHRI7&(FRQFHQWUDWLRQVJUHDWHUWKDQJ/
     ZHVWRIWKH2PHJDSURSHUW\LVDVVRFLDWHGZLWKDVRXUFHDUHDDW:KLWWLHU%RXOHYDUG2WKHU
     PRUHORFDOL]HGDQGPXFKVPDOOHU]RQHVRIKLJK7&(FRQFHQWUDWLRQVSUHVHQWZHVWRI$0.
     DQGJHQHUDOO\FRORFDWHGZLWK]RQHVRIKLJK3&(DUHDVVRFLDWHGZLWKRWKHULQGXVWULDO
     IDFLOLWLHV
     7KHPD[LPXP)UHRQGHWHFWLRQRIJ/ZDVIRXQGLQ:HOO2:DERXWPLOHIURP
     WKHIRUPHU2PHJDSURSHUW\7KH)UHRQSOXPHLVQDUURZHUWKDQ3&(RU7&(SOXPHVDQG
     LWGRHVQRWH[WHQGDVIDUGRZQJUDGLHQW1RVRXUFHIRU)UHRQLQJURXQGZDWHURWKHUWKDQWKH
     IRUPHU2PHJD&KHPLFDOIDFLOLW\KDVEHHQLGHQWLILHG)UHRQLVWKHUHIRUHFRQVLGHUHGD
     WUDFHUFRPSRXQGIRUFRQWDPLQDWLRQRULJLQDWLQJDWWKH2PHJDSURSHUW\+RZHYHUEHFDXVH
     )UHRQLVSUHVHQWDWPXFKORZHUFRQFHQWUDWLRQVWKDQ3&(DQG7&(DW28 LHWKH2PHJD
     &KHPLFDOFRQWDPLQDQWVVRXUFHDUHD LWVH[WHQWLQJURXQGZDWHUDW28LVVPDOOHUWKDQWKH
     H[WHQWRIRWKHUKD]DUGRXVVXEVWDQFHVIURPWKH2PHJDSURSHUW\
     7KHPD[LPXP)UHRQGHWHFWLRQRIJ/ZDVIRXQGLQ:HOO2:$MXVWVRXWKZHVWRI
     WKHIRUPHU2PHJDSURSHUW\7KH)UHRQSOXPHH[WHQWLVVLPLODUWRWKHH[WHQWRIWKH
     )UHRQSOXPH1RVRXUFHIRU)UHRQLQJURXQGZDWHURWKHUWKDQWKHIRUPHU2PHJD
     &KHPLFDOIDFLOLW\KDVEHHQLGHQWLILHG)UHRQLVWKHUHIRUHFRQVLGHUHGDWUDFHUFRPSRXQG
     IRUFRQWDPLQDWLRQRULJLQDWLQJDWWKH2PHJDSURSHUW\+RZHYHUEHFDXVH)UHRQLVSUHVHQW
     DWPXFKORZHUFRQFHQWUDWLRQVWKDQ3&(DQG7&(DW28 LHWKHVRXUFHDUHD LWVH[WHQWLQ
     JURXQGZDWHUDW28LVVPDOOHUWKDQWKHH[WHQWRIRWKHUKD]DUGRXVVXEVWDQFHVIURPWKH2PHJD
     SURSHUW\


                                                                                               2-14


                                                  181                        Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 191 of 347 Page ID #:225




     7KHPD[LPXPGLR[DQHGHWHFWLRQRIJ/ZDVIRXQGLQ:HOO2:$7KHH[WHQWRI
     GLR[DQHLVVLPLODUWRWKHH[WHQWRI3&(DQG7&(H[FHSWWKDWLWLVZLGHU7KHGLR[DQH
     FRQFHQWUDWLRQVGHFUHDVHUDSLGO\GRZQJUDGLHQWIURPWKH2PHJDSURSHUW\DVHSDUDWH]RQHRI
     KLJKFRQFHQWUDWLRQVH[WHQGVIURPWKH$0.DUHD
     7KHPD[LPXPKH[DYDOHQWFKURPLXPGHWHFWLRQIRXQGZDVJ/7KHH[WHQWRIKH[DYDOHQW
     FKURPLXPGRHVQRWIROORZDSDWWHUQVLPLODUWRWKH92&SOXPHV+LVWRULFDOFRQFHQWUDWLRQV
     QHDUWKH2PHJDSURSHUW\KDYHEHHQORZVXJJHVWLQJWKDWWKH2PHJD&KHPLFDOIDFLOLW\LV
     SUREDEO\QRWDVLJQLILFDQWVRXUFHIRUKH[DYDOHQWFKURPLXPFRQWDPLQDWLRQ6HSDUDWH]RQHVRI
     FRQFHQWUDWLRQVH[FHHGLQJJ/H[WHQGIURPWKH)RVV3ODWLQJDQG3KLEUR7HFK,QFIDFLOLW\
     SURSHUWLHV
     7KHPD[LPXPGLFKORURHWKHQH '&( GHWHFWLRQIRXQGZDVJ/7KHH[WHQWRI
     '&(LQJURXQGZDWHUZDVIRXQGWREHVLPLODUWRWKDWRI3&(DQG7&(LQFOXGLQJWKH
     UHODWLYHO\KLJKFRQFHQWUDWLRQVDVVRFLDWHGZLWKWKH2PHJDSURSHUW\DQGWKH$0.DUHD
     7KHPD[LPXPFLV'&(GHWHFWLRQIRXQGZDV-J/ - HVWLPDWHG 7KUHHVHSDUDWH
     ]RQHVRIFLV'&(FRQWDPLQDWLRQDERYHWKH0&/ J/ ZHUHLGHQWLILHGLQGLFDWLQJWKH
     SRVVLELOLW\RIPXOWLSOHVRXUFHV
     7KHPD[LPXPFKORURIRUPGHWHFWLRQIRXQGZDVJ/&KORURIRUPLVSUHVHQWDWORZ
     FRQFHQWUDWLRQVJHQHUDOO\OHVVWKDQJ/WKURXJKRXW28
     7KHPD[LPXPFDUERQWHWUDFKORULGHGHWHFWLRQIRXQGZDVJ/'HWHFWLRQVIRUFDUERQ
     WHWUDFKORULGHH[WHQGIURPWKH2PHJDSURSHUW\DERXWPLOHVWRWKHVRXWKZHVW
     7KHPD[LPXPGLFKORURHWKDQH '&$ GHWHFWLRQIRXQGZDVJ/'HWHFWLRQVIRU
     '&$H[WHQGIURPWKH2PHJDSURSHUW\DERXWPLOHVWRWKHVRXWKZHVW&RQFHQWUDWLRQV
     GHFUHDVHTXLFNO\GRZQJUDGLHQWRIWKH2PHJDSURSHUW\DQGDUHPXFKKLJKHUDW$0.
     7KHPD[LPXP'&$GHWHFWLRQRIJ/ZDVIRXQGDW:HOO2:$7KH'&$
     SOXPHH[WHQGVDERXWPLOHVIURP:HOO2:$
     7KHPD[LPXPWULFKORURHWKDQH 7&$ GHWHFWLRQRIJ/ZDVIRXQGDW
     :HOO2:$'HWHFWLRQVRI7&$H[WHQGIURPWKH2PHJDSURSHUW\DERXWPLOHV
     VRXWKZHVW+LJKFRQFHQWUDWLRQVRI7&$DUHIRXQGDW$0.6LWH%DQG6LWH&
      /RFDWLRQRI&RQWDPLQDWLRQDQG3RWHQWLDO5RXWHVRI0LJUDWLRQ
  *URXQGZDWHUFRQWDPLQDWLRQZLWKLQ28LVNQRZQWREHSUHVHQWIURPWKHZDWHUWDEOH WKDWRFFXUV
  DWDSSUR[LPDWHO\WRIHHWEJV WRGHSWKVRIDERXWIHHWEJVDOWKRXJKFRQWDPLQDQWV
  FRXOGKDYHPLJUDWHGLQWRGHHSHUDTXLIHUXQLWV WKDWH[LVWEHORZEJV7KH28SOXPHH[WHQGV
  DERXWPLOHVVRXWKRIWKHIRUPHU2PHJD&KHPLFDOIDFLOLW\DQGLVXSWRDERXWPLOHZLGH
  7KH6LWHLVORFDWHGLQWKH0RQWHEHOOR)RUHED\DQGWKH:KLWWLHUDUHDRIWKH&HQWUDO%DVLQD
  VXEEDVLQRIWKH&RDVWDO3ODLQRI/RV$QJHOHV&RXQW\&DOLIRUQLD7KH&RDVWDO3ODLQLVXQGHUODLQ
  E\DQH[WHQVLYHJURXQGZDWHUEDVLQLQ/RV$QJHOHVDQG2UDQJHFRXQWLHV:DWHUEHDULQJ
  VHGLPHQWVLGHQWLILHGLQWKH:KLWWLHUDUHDH[WHQGWRDQDSSUR[LPDWHGHSWKRIDWOHDVWIHHW
  EJV7KHPDLQJHRORJLFXQLWVFRQVLVWRIUHFHQWDOOXYLXPWKHXSSHU3OHLVWRFHQH/DNHZRRG
  )RUPDWLRQDQGWKHORZHU3OHLVWRFHQH6DQ3HGUR)RUPDWLRQ7KHDUHDGRZQVWUHDPRIWKH:KLWWLHU


                                                                                                2-15



                                                182                        Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 192 of 347 Page ID #:226




  1DUURZVLVNQRZQDVWKH0RQWHEHOOR)RUHED\ZKHUHVXUIDFHZDWHUFRXOGIUHHO\SHUFRODWHLQWR
  WKHJURXQGZDWHUV\VWHP7KHQRQIRUHED\SDUWRIWKH&HQWUDO%DVLQZKHUHVXFKSHUFRODWLRQLV
  UHVWULFWHGE\VKDOORZILQHJUDLQHGVHGLPHQWVLVRIWHQUHIHUUHGWRDVWKH3UHVVXUH$UHD
  7KHJURXQGZDWHUIORZLQWKH&HQWUDO%DVLQLVPDLQO\FRQWUROOHGE\QDWXUDODQGDUWLILFLDOUHFKDUJH
  LQWKH0RQWHEHOOR)RUHED\DQGSURGXFWLRQSXPSLQJ*URXQGZDWHUIORZVJHQHUDOO\WRWKH
  VRXWKZHVWLQWKH0RQWHEHOOR)RUHED\DQGWKHQWXUQVWRWKHVRXWKVRXWKZHVWLQWKH&HQWUDO%DVLQ
  SUHVVXUHDUHD3LH]RPHWULFKHDGVPHDVXUHGLQ28DQG28ZHOOVJHQHUDOO\EXWQRWDOZD\V
  GHFOLQHZLWKWKHGHSWKRIWKHK\GURVWUDWLJUDSKLFXQLWWKDWWKHZHOOLVVFUHHQHGLQVXJJHVWLQJD
  JHQHUDOO\GRZQZDUGYHUWLFDOJUDGLHQW
  7KHFRQWDPLQDQWVDW28DUHSUHVHQWLQWKHGLVVROYHGSKDVHDQGZLOOFRQWLQXHWRPLJUDWHZLWKWKH
  UHJLRQDOK\GUDXOLFJUDGLHQW7KHFRQWDPLQDWLRQDW28KDVDGYDQFHGDWDQDSSDUHQWSOXPH
  H[SDQVLRQUDWHRIDWOHDVWIHHWSHU\HDUWKLVUDWHLVDQHVWLPDWHGPLQLPXPUDWHDQGLQFOXGHV
  WKHFRPELQHGHIIHFWVRIDGYHFWLRQVRUSWLRQGLVSHUVLRQDQGGHJUDGDWLRQ7KLVSOXPHH[SDQVLRQ
  UDWHLVFRQVLVWHQWZLWKHVWLPDWHVRIDGYHFWLYHYHORFLW\RIIHHWSHU\HDU7KHPDLQPLJUDWLRQ
  SDWKZD\VWDUWVDWWKHIRUPHU2PHJDSURSHUW\DQGFRQWLQXHVJHQHUDOO\VRXWKZHVWIRUDERXW
  PLOHVWKHQWXUQVPRUHVRXWKHUO\&RQWDPLQDWLRQIURPRWKHUVRXUFHDUHDVZLWKLQ28IROORZVD
  SDUDOOHOSDWKZD\7KHFRQWDPLQDWLRQIURPWKHIRUPHU2PHJD&KHPLFDOIDFLOLW\LVFRPPLQJOHG
  ZLWKFRQWDPLQDWLRQUHOHDVHGIURPWKHVHRWKHUVRXUFHV
  &2&VDUHSUHVHQWLQJURXQGZDWHUSULPDULO\ZLWKLQWKHFRDUVHUPRUHSHUPHDEOHXQLWV7KHUHLV
  QRHYLGHQFHWRVXJJHVWWKDWQRQDTXHRXVSKDVHOLTXLGV 1$3/V DUHSUHVHQWLQWKHVXEVXUIDFH
  ZLWKLQ28H[FHSWSRVVLEO\DWVRPHRIWKHVRXUFHDUHDV
  *URXQGZDWHUZLWKLQWKH28DUHDLVXVHGDVDVRXUFHRIGULQNLQJZDWHUE\VHYHUDOPXQLFLSDODQG
  SULYDWHZDWHUSXUYH\RUV0RVWRIWKHGULQNLQJZDWHUZHOOVORFDWHGLQWKH28DUHDGUDZZDWHU
  SULPDULO\IURPGHHSHUSRUWLRQVRIWKHDTXLIHUIURPGHSWKVDWRUJUHDWHUWKDQIHHWEJVDQGDUH
  QRWFXUUHQWO\LPSDFWHGE\JURXQGZDWHUFRQWDPLQDWLRQ+RZHYHUDIHZGULQNLQJZDWHUZHOOVLQ
  WKHDUHDGUDZZDWHUDWDERXWWKHIHHWEJVOHYHODQGKDYHKDGVRPHFRQWDPLQDQWVGHWHFWHG
  3&(DQGRWKHU92&FRQWDPLQDQWVKDYHEHHQGHWHFWHGKLVWRULFDOO\DWILYHGULQNLQJZDWHUVXSSO\
  ZHOOVWKDWKDYHVFUHHQVVWDUWLQJDWIHHWEJV 6)6:HOODQGWKH*ROGHQ6WDWH:DWHU
  &RPSDQ\>*6:&@ZHOOV3LRQHHU3LRQHHU3LRQHHUDQG'DFH 7KHVHZHOOVDUH
  FXUUHQWO\HTXLSSHGZLWKZHOOKHDGWUHDWPHQWXQLWVZKLFKFRQVLVWRIJUDQXODUDFWLYDWHGFDUERQ
   *$& ILOWHUV7KH*$&ILOWHUUHPRYHVWKHFRQWDPLQDQWVIURPWKHZDWHUWRHQVXUHWKDWLWPHHWV
  GULQNLQJZDWHUVWDQGDUGV'ULQNLQJZDWHUIRUWKH&LWLHVRI:KLWWLHU6DQWD)H6SULQJVDQG
  1RUZDONLVWHVWHGUHJXODUO\SULRUWRGLVWULEXWLRQWRWKHSXEOLFDQGEDVHGRQLQIRUPDWLRQ(3$KDV
  EHHQSURYLGHGDOOWDSZDWHUPHHWV6WDWHDQG)HGHUDOGULQNLQJZDWHUVWDQGDUGV

        &XUUHQWDQG3RWHQWLDO)XWXUH/DQGDQG:DWHU8VHV
  7KH6LWHDQGVXUURXQGLQJDUHDVDUHDOPRVWFRPSOHWHO\GHYHORSHGZLWKDPL[RISUHGRPLQDQWO\
  FRPPHUFLDOLQGXVWULDODQGPLQRUUHVLGHQWLDOODQGXVH5HVLGHQWLDOEXLOGLQJVDUHSUHVHQWLQWKH
  VRXWKHUQSRUWLRQRI28 VRXWKRI/DNHODQG5RDGDQGZHVWRI%DOVDP6WUHHW QRUWKRI
  :DVKLQJWRQ%RXOHYDUGQHDULWVLQWHUVHFWLRQZLWK&URZQGDOH$YHQXHDQGZHVWRIWKHLQWHUVHFWLRQ
  RI/DPEHUW5RDGDQG6DQWD)H6SULQJV5RDG$QXPEHURIUHVLGHQWLDOEXLOGLQJVDOVRERUGHU28
  RQWKHVRXWKHDVWQRUWKZHVWDQGZHVW/DQGXVHVDUHQRWH[SHFWHGWRFKDQJHVLJQLILFDQWO\LQWKH
  QH[W\HDUVRUORQJHU

                                                                                                  2-16

                                             183                              Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 193 of 347 Page ID #:227




  *URXQGZDWHUZLWKLQWKH28DUHDLVXVHGDVDVRXUFHRIGULQNLQJZDWHUE\VHYHUDOPXQLFLSDODQG
  SULYDWHZDWHUSXUYH\RUV7ZHOYHSURGXFWLRQZHOOVDUHNQRZQWRH[LVWDW28)LYHRIWKH
  SURGXFWLRQZHOOVLQWKH28DUHD VHH)LJXUH DUHNQRZQWRKDYHEHHQLPSDFWHGE\92&V7KH
  QHDUHVWLPSDFWHGZHOOLVORFDWHGPLOHVWRWKHZHVWVRXWKZHVWRIWKH2PHJD&KHPLFDOIDFLOLW\
  DQGLVRZQHGDQGRSHUDWHGE\WKH&LW\RI6DQWD)H6SULQJV)RXURWKHULPSDFWHGDFWLYH
  SURGXFWLRQZHOOVDUHORFDWHGQHDUWKHOHDGLQJHGJH /( RI287KHVHZHOOVDUHRZQHGDQG
  RSHUDWHGE\*6:&
  $GGLWLRQDOSURGXFWLRQZHOOVH[LVWRXWVLGH JHQHUDOO\VRXWKDQGZHVW RI287KRVHORFDWHG
  GRZQJUDGLHQWRI28DUHOLNHO\WREHFRPHLPSDFWHGE\WKH2PHJD&KHPLFDOSOXPHLQWKH
  DEVHQFHRIDUHPHG\WKDWFRQWDLQVWKHSOXPH&RQWDPLQDWLRQIURPVRXUFHVRWKHUWKDQWKH2PHJD
  &KHPLFDOSOXPHPD\DOVREHSUHVHQWLQWKHVHZHOOV7KHXVHRIJURXQGZDWHULQWKLVEDVLQLV
  VXEMHFWWRDGMXGLFDWHGZDWHUULJKWVDGPLQLVWHUHGE\&':5WKH:DWHUPDVWHUIRUWKH&HQWUDO
  %DVLQ7KHJURXQGZDWHUEDVLQLVDQLPSRUWDQWVRXUFHRIGULQNLQJZDWHUIRUWKHPHWURSROLWDQDUHD
  HDVWRI/RV$QJHOHVLQFOXGLQJWKHFLWLHVRI:KLWWLHU6DQWD)H6SULQJVDQG1RUZDON(3$
  DQWLFLSDWHVWKDWWKHQHHGIRUGULQNLQJZDWHUGHYHORSPHQWLVH[SHFWHGWRLQFUHDVHDQGDV
  UHVWULFWLRQVRQLPSRUWLQJZDWHUWR6RXWKHUQ&DOLIRUQLDLQFUHDVHDQGLPSRUWHGZDWHUEHFRPHV
  PRUHH[SHQVLYHDGGLWLRQDOSURGXFWLRQZHOOVZLOOEHLQVWDOOHGLQWKH28DUHD
  &RQWUROVRQJURXQGZDWHUH[WUDFWLRQDQGXVHDUHLQHIIHFWLQWKH&HQWUDO%DVLQ2QHVXFKFRQWURO
  LVWKHMXGJPHQWE\WKH6XSHULRU&RXUWRI&DOLIRUQLD&RXQW\RI/RV$QJHOHV 6XSHULRU&RXUW
  &DVH1R  ʊDG  MXGLFation”)ZKLFKHVWDEOLVKHGULJKWVWRH[WUDFWJURXQGZDWHULQWKH
  &HQWUDO%DVLQDVZHOODVDFRXUWDSSRLQWHG:DWHUPDVWHUZLWKDXWKRULW\WRDGPLQLVWHUWKH
  DGMXGLFDWLRQLQFOXGLQJPRQLWRULQJVXFKULJKWVDQGSHUIRUPLQJRWKHUIXQFWLRQV
  ,QDGGLWLRQHQWLWLHVWKDWDGPLQLVWHUDSXEOLFGULQNLQJZDWHUV\VWHPDUHUHJXODWHGE\WKH&'3+,Q
  JHQHUDOSURGXFWLRQZHOOVDQGDVVRFLDWHGZDWHUWUHDWPHQWDQGGHOLYHU\IDFLOLWLHVWKDWVXSSO\
  GULQNLQJZDWHUWRWKHSXEOLFDUHVXEMHFWWRWKHDSSURYDOE\DQGZDWHUTXDOLW\UHSRUWLQJWRWKH
  &'3+&'3+¶V3ROLF\0HPR 3ROLF\*XLGDQFHIRU'LUHFW'RPHVWLF8VHRI([WUHPHO\
  ,PSDLUHG6RXUFHV HVWDEOLVKHVDSURFHVVWREHIROORZHGEHIRUHDQH[WUHPHO\LPSDLUHGZDWHU
  VRXUFHFDQEHXVHGDVDGULQNLQJZDWHUVXSSO\
  )XUWKHUDSHUPLWIURP/RV$QJHOHV&RXQW\'HSDUWPHQWRI+HDOWK6HUYLFHV /$&'+6 LV
  UHTXLUHGSULRUWRLQVWDOOLQJDQ\ZHOOLQWKH28DUHD7KHSHUPLWFRYHUVZHOOFRQVWUXFWLRQ
  VSHFLILFDWLRQVDQGORFDWLRQ
  7KHVHZHOOSHUPLWUHTXLUHPHQWVGULQNLQJZDWHUUHJXODWRU\FRQWUROVDQGWKH:DWHUPDVWHU¶V
  DXWKRULW\WRUHJXODWHDQGDOORFDWHZDWHUUHVRXUFHVSURYLGHDGHJUHHRIFHQWUDOL]HGFRQWURORYHU
  JURXQGZDWHUXVHLQWKH28DUHD

        6XPPDU\RI6LWH5LVNV
  $W28WKHUHDUHQRSRWHQWLDOO\VLJQLILFDQWFRPSOHWHH[SRVXUHSDWKZD\VIRUHFRORJLFDO
  UHFHSWRUV)XUWKHUPRUHEHFDXVHWKH28DUHDLVQHDUO\IXOO\GHYHORSHGSURWHFWHGVSHFLHVDUHQRW
  SUHVHQW7KHUHIRUHWKLVVHFWLRQIRFXVHVRQKXPDQKHDOWKULVNV
  $VSDUWRIWKH285,(3$FRQGXFWHGDEDVHOLQHKXPDQKHDOWKULVNDVVHVVPHQW7KHEDVHOLQH
  ULVNDVVHVVPHQWHVWLPDWHVZKDWULVNVWKH6LWHSRVHVLIQRDFWLRQZHUHWDNHQ,WSURYLGHVWKHEDVLV
  IRUWDNLQJDFWLRQDQGLGHQWLILHVWKHFRQWDPLQDQWVDQGH[SRVXUHSDWKZD\VWKDWQHHGWREH

                                                                                                   2-17



                                                184                                 Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 194 of 347 Page ID #:228




  DGGUHVVHGE\WKHUHPHGLDODFWLRQ7KLVVHFWLRQRIWKH52'VXPPDUL]HVWKHEDVHOLQHULVN
  DVVHVVPHQWIRU28
      ,GHQWLILFDWLRQRI&2&V
  7KH&2&VWKDWZHUHLGHQWLILHGDW28DUHVXPPDUL]HGLQ7DEOH7KLVWDEOHSUHVHQWVDQDO\WLFDO
  UHVXOWVIURP(3$DQG232*PRQLWRULQJZHOOVIURP0DUFKWR6HSWHPEHU6 that ZHUH
  HYDOXDWHGIRUWKHULVNDVVHVVPHQWFRQGXFWHGLQ7KHRUXSSHUFRQILGHQFH
  OHYHOOLPLW 8&/ RQWKHDULWKPHWLFPHDQDVUHFRPPHQGHGE\(3$¶V3UR8&/8VHU
  *XLGHZDVXVHGDVWKHH[SRVXUHSRLQWFRQFHQWUDWLRQIRUDOO&2&V7DEOHSUHVHQWVWKHUDQJHRI
  FRQFHQWUDWLRQVGHWHFWHGIRUHDFK&2&WKHIUHTXHQF\RIGHWHFWLRQ LHWKHQXPEHURIWLPHVWKH
  FKHPLFDOZDVGHWHFWHGLQWKHVDPSOHVFROOHFWHGDWWKHVLWH WKHH[SRVXUHSRLQWFRQFHQWUDWLRQ
   (3& DQGKRZWKH(3&ZDVGHULYHG3&(7&(DQG'&(DUHWKHPRVWIUHTXHQWO\GHWHFWHG
  &2&VLQ28JURXQGZDWHU




                                                                                               2-18


                                               185                            Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 195 of 347 Page ID #:229



  Table 1. Summary of Chemicals of Concern and Medium Specific Exposure Point Concentrations
  Omega Chemical Superfund Site – OU2
  Scenario Timeframe: Current/Future
  Medium: Groundwater
  Exposure Medium: Groundwater
                                                Drinking      Minimum         Maximum                                      Exposure
                                                 Water        Detected        Detected                    Frequency          Point
   Exposure                                     Standard   Concentration    Concentration                     of         Concentration
     Point         Chemical of Concern           (μg/L)      (Qualifier)     (Qualifier)        Units     Detection         (μg/L)          Statistical Measure
  Ingestion,     1,1,2-Trichloro-1,2,2-           1,200     11               2800                μg/L        83/88               992              95% KM
  Dermal,        trifluoroethane                                                                                                              (Chebyshev) UCL
  and            (Freon 113)
  Inhalation
                 1,1-Dichloroethene                 6       14               5100                μg/L        88/88               1044         95% Approximate
                 (1,1-DCE)                                                                                                                      Gamma UCL
                 1,2-Dichloroethane                0.5      0.3      J       1300                μg/L        59/88               245             97.5% KM
                 (1,2-DCA)                                                                                                                    (Chebyshev) UCL
                 1,4-Dioxane (p-dioxane)           1**      0.5      J      26000                μg/L        79/88               3563            97.5% KM
                                                                                                                                              (Chebyshev) UCL
                 Chloroform                         80      2.9      J       2800                μg/L        85/88               582             97.5% KM
                                                                                                                                              (Chebyshev) UCL
                 Tetrachloroethylene                5       12              210000        J      μg/L        88/88            65020           99% Chebyshev
                 (PCE)                                                                                                                        (Mean, Sd) UCL
                 Trichloroethylene (TCE)            5       8.4             10000                μg/L        88/88               1320           95% H-UCL
                 Trichlorofluoromethane            150       7               1000                μg/L        83/88               358              95% KM
                 (Freon 11)                                                                                                                   (Chebyshev) UCL
                 1,1,2-Trichloroethane              5       0.1      J       2000                μg/L        35/87               179             97.5% KM
                 (1,1,2-TCA)                                                                                                                  (Chebyshev) UCL
                 1,1-Dichloroethane                 5       0.4      J       150          J      μg/L        62/88               37.8            97.5% KM
                 (1,1-DCA)                                                                                                                    (Chebyshev) UCL
                 Carbon tetrachloride              0.5      0.1      J        1                  μg/L        16/88               0.3          95% KM (t) UCL
                 cis-1,2-Dichloroethene             22      0.4      J        48                 μg/L        54/88               14.4             95% KM
                 (cis-1,2-DCE)                                                                                                                (Chebyshev) UCL
                 Hexavalent chromium               50*      0.6              23.1                μg/L        45/49               9.3        95% KM (BCA) UCL

  Notes:                                                                          KM (Chebyshev) UCL – UCL based upon Kaplan Meier estimates using the
                                                                                  Chebyshev inequality
  UCL = Upper Confidence Limit on the mean
  μg/L = micrograms per liter                                                     KM (t) UCL - UCL based upon Kaplan Meier estimates using the student t-
                                                                                  distribution cut off value
  *No MCL – value shown is the State Total Chromium MCL
                                                                                  KM (BCA) UCL – UCL based upon bias corrected accelerated bootstrap method
  **No MCL – value shown is the State notification level
                                                                                  H – UCL – UCL based upon Land’s H- statistic
                                                                                  Chebyshev (Mean, Sd) UCL – UCL based upon sample mean and standard
                                                                                  deviation

             ([SRVXUH$VVHVVPHQW
  7KHPDMRUH[SRVXUHSDWKZD\VHYDOXDWHGLQWKH++5$ZHUHWKRVHDVVRFLDWHGZLWKXVHRI
  FRQWDPLQDWHGJURXQGZDWHUDVDVRXUFHRIGRPHVWLFZDWHUVXSSO\5HFHSWRUVWKDWFRXOGSRWHQWLDOO\
  EHH[SRVHGWRWKHFRQWDPLQDWHGJURXQGZDWHULQFOXGHFXUUHQWDQGIXWXUHUHVLGHQWVWKDWUHFHLYH
  GULQNLQJZDWHU
  3RWHQWLDOXVHRIWKH28JURXQGZDWHUIRUGRPHVWLFZDWHUVXSSO\SUHVHQWVULVNVWRKXPDQKHDOWK
  WKURXJKWKHIROORZLQJSDWKZD\V
        ,QJHVWLRQH[SRVXUHWRWKHFRQWDPLQDQWVWKURXJKLQJHVWLRQRIGULQNLQJZDWHUDQGXVHLQIRRG
         SULPDU\H[SRVXUHURXWHIRU92&V692&VDQGPHWDOV 


                                                                                                                                                     2-19



                                                                      186                                                         Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 196 of 347 Page ID #:230




     ,QKDODWLRQ²H[SRVXUHWR92&VWKURXJKLQKDODWLRQGXULQJDFWLYLWLHVVXFKDVEDWKLQJDQG
     GLVKZDVKLQJ SULPDU\H[SRVXUHURXWHIRU92&V 
     'HUPDO²H[SRVXUHWR92&V692&VDQGPHWDOVWKURXJKVNLQGXULQJDFWLYLWLHVVXFKDV
     EDWKLQJ QRWDSULPDU\H[SRVXUHSDWKZD\IRU92&V 
  ([SRVXUHDQGSRWHQWLDODVVRFLDWHGKHDOWKULVNVIURPVRLOJDVYDSRULQWUXVLRQDUHLQJHQHUDO
  SRVVLEOHGXHWRYRODWLOL]DWLRQRIFRQWDPLQDQWVIURPJURXQGZDWHU(3$SHUIRUPHGDVFUHHQLQJ
  OHYHOULVNDVVHVVPHQWIRUVRLOJDVYDSRULQWUXVLRQLQWRLQGRRUDLUDWRQHUHSUHVHQWDWLYHORFDWLRQIRU
  DGXOWUHFHSWRUV
       7R[LFLW\$VVHVVPHQW
  6HYHUDO(3$DQG&DOLIRUQLD(QYLURQPHQWDO3URWHFWLRQ$JHQF\ &DO(3$ VRXUFHVZHUHXVHGWR
  REWDLQWR[LFLW\FULWHULD LHFDQFHUVORSHIDFWRUVDQGQRQFDUFLQRJHQLFUHIHUHQFHGRVHV LQWKLV
  ULVNDVVHVVPHQW7KHOLVWRIVRXUFHVLQFOXGHVWKHIROORZLQJ
     ,QWHJUDWHG5LVN,QIRUPDWLRQ6\VWHP ,5,6 
     +HDOWK(IIHFWV$VVHVVPHQW6XPPDU\7DEOHV +($67 
     3URYLVLRQDO1DWLRQDO&HQWHUIRU(QYLURQPHQWDO$VVHVVPHQW7&(7R[LFLW\9DOXH IURPWKH
     5HJLRQSUHOLPLQDU\UHPHGLDWLRQJRDO>35*@WDEOHV 
     &DO(3$2IILFHRI(QYLURQPHQWDO+HDOWK+D]DUG$VVHVVPHQW 2(++$ 7R[LFLW\&ULWHULD
     'DWDEDVH
  &DQFHUWR[LFLW\FULWHULD LHFDQFHUVORSHIDFWRUV IRU&2&VLQJURXQGZDWHUDUHSUHVHQWHGLQ
  7DEOHV$DQG%7KHVHWDEOHVSUHVHQWRUDOFDQFHUVORSHIDFWRUVGHUPDOFDQFHUVORSH
  IDFWRUVDQGLQKDODWLRQXQLWULVNVIRU&2&V
  $WWKHWLPHRIWKHULVNDVVHVVPHQWHLJKWRIWKH&2&VZHUHFRQVLGHUHGWREHFDUFLQRJHQLF
  YLDLQJHVWLRQ'&$GLR[DQHFKORURIRUP3&(7&(7&$'&$DQGFDUERQ
  WHWUDFKORULGH7R[LFLW\YDOXHVIRUWKHVHFDUFLQRJHQVDUHSUHVHQWHGLQ7DEOH$6LQFHWKHWLPH
  RIWKHULVNDVVHVVPHQW2(++$KDVLGHQWLILHGKH[DYDOHQWFKURPLXPDVSRVLQJDSRWHQWLDO
  FDQFHUULVNYLDLQJHVWLRQDVGHVFULEHGLQWKH3XEOLF+HDOWK*RDO 3+* GRFXPHQWIRUWKLV
  FKHPLFDO7KHUHIRUHIRUFRPSOHWHQHVV7DEOH$LQFOXGHVWKHQHZRUDOWR[LFLW\YDOXHVIRU
  KH[DYDOHQWFKURPLXP
  $WWKLVWLPHVORSHIDFWRUVDUHQRWDYDLODEOHIRUWKHGHUPDOURXWHRIH[SRVXUH7KXVWKHGHUPDO
  VORSHIDFWRUVXVHGLQWKHDVVHVVPHQWKDYHEHHQH[WUDSRODWHGIURPRUDOYDOXHV$QDGMXVWPHQW
  IDFWRULVVRPHWLPHVDSSOLHGDQGLVGHSHQGHQWXSRQKRZZHOOWKHFKHPLFDOLVDEVRUEHGYLDWKHRUDO
  URXWH$GMXVWPHQWVDUHSDUWLFXODUO\LPSRUWDQWIRUFKHPLFDOVZLWKOHVVWKDQDEVRUSWLRQYLDWKH
  LQJHVWLRQURXWH+RZHYHUDGMXVWPHQWVDUHQRWQHFHVVDU\IRUWKHFKHPLFDOVHYDOXDWHGDWWKLVVLWH
  7KHUHIRUHWKHVDPHYDOXHVSUHVHQWHGZHUHXVHGDVWKHGHUPDOFDUFLQRJHQLFVORSHIDFWRUVIRU
  WKHVHFRQWDPLQDQWV(LJKWRIWKH&2&VDUHDOVRFDUFLQRJHQLFYLDLQKDODWLRQ7KHVH&2&VLQFOXGH
  '&$GLR[DQH3&(7&(7&$'&$FDUERQWHWUDFKORULGHDQGKH[DYDOHQW
  FKURPLXP




                                                                                                    2-20


                                                  187                                   Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 197 of 347 Page ID #:231



  Table 2.1A. Cancer Toxicity Data
  Omega Chemical Superfund Site – OU2
  Pathway: Ingestion, Dermal
                                               Dermal Cancer                    Weight of Evidence/
                                Oral Cancer     Slope Factor     Slope Factor    Cancer Guideline                     Date(s)
      Chemical of Concern       Slope Factor        (1)             Units          Description        Source(s)    (MM/DD/YYYY)

  1,1,2-Trichloro-1,2,2-            NA              NA               NA                NA               NA             NA
  trifluoroethane (Freon 113)

  1,1-Dichloroethene                NA              NA               NA                NA               NA             NA
  (1,1-DCE)

  1,2-Dichloroethane              9.1E-02        9.1E-02         1/mg/kg/day            B2              IRIS        8/27/2007
  (1,2-DCA)

  1,4-Dioxane (p-dioxane)         2.7E-02        2.7E-02         1/mg/kg/day           NA             OEHHA         8/10/2005

  Chloroform                      3.1E-02        3.1E-02         1/mg/kg/day            B2            OEHHA         8/10/2005

  Tetrachloroethylene (PCE)       5.4E-01        5.4E-01         1/mg/kg/day           NA             OEHHA         8/10/2005

  Trichloroethylene (TCE)         1.3E-02        1.3E-02         1/mg/kg/day            B2            OEHHA         6/12/2007

  Trichlorofluoromethane            NA              NA               NA                NA               NA             NA
  (Freon 11)

  1,1,2-Trichloroethane           7.2E-02        7.2E-02         1/mg/kg/day           NA             OEHHA         8/10/2005
  (1,1,2-TCA)

  1,1-Dichloroethane              5.7E-03        5.7E-03         1/mg/kg/day            C             OEHHA         8/10/2005
  (1,1-DCA)

  Carbon tetrachloride            1.5E-01        1.5E-01         1/mg/kg/day            B2            OEHHA         8/10/2005

  cis-1,2-Dichloroethene            NA              NA               NA                NA               NA             NA
  (cis-1,2-DCE)

  Hexavalent chromium (2)         5.0E-01        5.0E-01         1/mg/kg/day           NA             OEHHA         7/27/2011




                                                                                                                            2-21


                                                               188                                             Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 198 of 347 Page ID #:232



  Table 2.1B. Cancer Toxicity Data
  Omega Chemical Superfund Site – OU2
  Pathway: Inhalation
                                                                                                        Weight of
                                                                  Inhalation                        Evidence/ Cancer
                                                                 Cancer Slope                           Guideline                         Date(s)
      Chemical of Concern              Unit Risk     Units          Factor              Units          Description        Source(s)    (MM/DD/YYYY)

  1,1,2-Trichloro-1,2,2-                 NA           NA              NA                   NA              NA               NA             NA
  trifluoroethane (Freon 113)

  1,1-Dichloroethene                     NA           NA              NA                   NA               C               IRIS        8/27/2007
  (1,1-DCE)

  1,2-Dichloroethane                   2.6E-05      μg/m3           9.1E-02          1/mg/kg/day           B2               IRIS        8/27/2007
  (1,2-DCA)

  1,4-Dioxane (p-dioxane)              7.7E-06      μg/m3           2.7E-02          1/mg/kg/day           NA             OEHHA         8/10/2005

  Chloroform                             NA           NA            8.1E-02          1/mg/kg/day           B2               IRIS        8/27/2007

  Tetrachloroethylene (PCE)            5.9E-06      μg/m3           2.1E-02          1/mg/kg/day           NA             OEHHA         8/10/2005

  Trichloroethylene (TCE)              2.0E-06      μg/m3           7.0E-03          1/mg/kg/day           B2             OEHHA         6/12/2007

  Trichlorofluoromethane                 NA           NA              NA                   NA              NA               NA             NA
  (Freon 11)

  1,1,2-Trichloroethane                1.6E-05      μg/m3           5.7E-02          1/mg/kg/day           NA             OEHHA         8/10/2005
  (1,1,2-TCA)

  1,1-Dichloroethane                   1.6E-06      μg/m3           5.7E-03          1/mg/kg/day            C             OEHHA         8/10/2005
  (1,1-DCA)

  Carbon tetrachloride                 4.2E-05      μg/m3           1.5E-01          1/mg/kg/day           B2             OEHHA         8/10/2005

  cis-1,2-Dichloroethene                 NA           NA              NA                   NA               D               IRIS        8/27/2007
  (cis-1,2-DCE)

  Hexavalent chromium                  1.5E-01      μg/m3          5.1E+02           1/mg/kg/day            A             OEHHA         8/27/2007
  Notes for Tables 2.1A and 2.1B:
  (1) Dermal slope factor is based on oral slope factor assuming 100% absorption efficiency.
  (2) Values shown reflect the OEHHA Public Health Goal adopted on July 27, 2011
  NA = Not available or not applicable
  IRIS = Integrated Risk Information System; available at http://www.epa.gov/iris/
  HEAST = Health Effects Assessment Summary Table(s); Values from EPA Region 9 PRG Table, October 2004
  OEHHA = Office of Environmental Health Hazard Assessment; Online database http://www.oehha.ca.gov/risk/ChemicalDB/index.asp
  Route extrapolation: Values from EPA Region 9 PRG Table, October 2004
  Weight of Evidence Classification:
  A - Human carcinogen
  B1 - Probable human carcinogen - indicate that limited human data are available
  B2 - Probable human carcinogen - indicate that sufficient evidence in animals and inadequate or no evidence in humans
  C - Possible human carcinogen
  D - Not classifiable as human carcinogen
  E - Evidence of noncarcinogenecity




                                                                                                                                                2-22



                                                                                     189                                              Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 199 of 347 Page ID #:233




  1RQFDQFHUWR[LFLW\FULWHULD LHUHIHUHQFHGRVHV IRU&2&VLQJURXQGZDWHUDUHSUHVHQWHGLQ
  7DEOHV$DQG%7KHVHWDEOHVSUHVHQWRUDOGHUPDODQGLQKDODWLRQUHIHUHQFHGRVHV 5I'V 
  DQGWDUJHWRUJDQVIRU&2&V7KHFKURQLFRUDOWR[LFLW\GDWDDUHDYDLODEOHIRUDOO&2&VH[FHSW
  GLR[DQH6LPLODUWRFDUFLQRJHQLFGDWDGHUPDO5I'VFDQEHH[WUDSRODWHGIURPWKHRUDO5I'V
  DSSO\LQJDQDGMXVWPHQWIDFWRUDVDSSURSULDWHKRZHYHUIRUDOO28&2&VQRDGMXVWPHQWZDV
  QHFHVVDU\7KHFKURQLFLQKDODWLRQWR[LFLW\GDWDZHUHDYDLODEOHIRUDOO&2&VH[FHSW7&$
  FDUERQWHWUDFKORULGHDQGFLV'&(2UDOWRLQKDODWLRQURXWHH[WUDSRODWLRQZDVXVHGIRU
  7&$FDUERQWHWUDFKORULGHDQGFLV'&(WR[LFLW\YDOXHV




                                                                                                2-23


                                                  190                                 Appendix A
                        Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 200 of 347 Page ID #:234



Table 2.2A. Non-Cancer Toxicity Data
Omega Chemical Superfund Site – OU2
Pathway: Ingestion, Dermal
                                                                                                                                                RfD:Target Organ(s)
                                                                                                                    Combined
   Chemical of Potential        Chronic/               Oral RfD    Dermal RfD    Dermal RfD   Primary Target      Uncertainty/                               Date(s)
        Concern                Subchronic   Oral RfD    Units         (1)          Units         Organ(s)      Modifying Factors (2)   Source(s)          (MM/DD/YYYY)
1,1,2-Trichloro-1,2,2-          Chronic     3.0E+01    mg/kg/day    3.0E+01      mg/kg/day     Neurological            10/1              IRIS                8/27/2007
trifluoroethane (Freon 113)

1,1-Dichloroethene (1,1-DCE)    Chronic     5.0E-02    mg/kg/day    5.0E-02      mg/kg/day        Liver               100/1              IRIS                9/13/2007

1,2-Dichloroethane (1,2-DCA)    Chronic     2.0E-02    mg/kg/day    2.0E-02      mg/kg/day     Decreased               NA               NCEA                10/20/2004
                                                                                                survival

1,4-Dioxane (p-dioxane)           NA          NA          NA          NA            NA             NA                  NA                 NA                    NA

Chloroform                      Chronic     1.0E-02    mg/kg/day    1.0E-02      mg/kg/day        Liver               1000/1             IRIS                8/27/2007

Tetrachloroethylene (PCE)       Chronic     1.0E-02    mg/kg/day    1.0E-02      mg/kg/day        Liver               1000/1             IRIS                8/27/2007

Trichloroethylene (TCE)         Chronic     3.0E-04    mg/kg/day    3.0E-04      mg/kg/day        Liver                NA               NCEA                10/20/2004

Trichlorofluoromethane          Chronic     3.0E-01    mg/kg/day    3.0E-01      mg/kg/day       General              1000/1             IRIS                8/27/2007
(Freon 11)

1,1,2-Trichloroethane           Chronic     4.0E-03    mg/kg/day    4.0E-03      mg/kg/day        Blood               1000/1             IRIS                8/27/2007
(1,1,2-TCA)

1,1-Dichloroethane (1,1-DCA)    Chronic     1.0E-01    mg/kg/day    1.0E-01      mg/kg/day        None                1000/1            HEAST                7/31/1997

Carbon tetrachloride            Chronic     7.0E-04    mg/kg/day    7.0E-04      mg/kg/day        Liver               1000/1             IRIS                8/27/2007

cis-1,2-Dichloroethene          Chronic     1.0E-02    mg/kg/day    1.0E-02      mg/kg/day        Liver                NA               PPRTV               10/20/2004
(cis-1,2-DCE)

Hexavalent chromium             Chronic     3.0E-03    mg/kg/day    3.0E-03      mg/kg/day        None                300/3              IRIS                8/27/2007




                                                                                                                                                                      2-24


                                                                                                                                           Appendix A
                                                                           191
                       Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 201 of 347 Page ID #:235



Table 2.2B. Non-Cancer Toxicity Data
Omega Chemical Superfund Site – OU2
Pathway: Inhalation
                                                                                                                         Combined                       RfD: Target Organ(s)
                                           Chronic/          Inhalation       Inhalation RfD       Primary Target       Uncertainty/
         Chemical of Concern              Subchronic            RfD               Units               Organ(s)        Modifying Factors       Source(s)           Date(s) (MM/DD/YYYY)
1,1,2-Trichloro-1,2,2-                      Chronic           8.6E+00           mg/kg/day            Neurological           10/1               HEAST                    7/31/1997
trifluoroethane (Freon 113)

1,1-Dichloroethene (1,1-DCE)                Chronic           2.0E-02           mg/kg/day                  Liver           100/1               OEHHA                    6/12/2007

1,2-Dichloroethane (1,2-DCA)                Chronic           1.4E-03           mg/kg/day               Decreased            NA                 NCEA                    10/20/2004
                                                                                                         survival

1,4-Dioxane (p-dioxane)                     Chronic           8.6E-01           mg/kg/day                   NA               NA                OEHHA                    12/XX/2000

Chloroform                                  Chronic           1.4E-02           mg/kg/day                  Liver           1000/1               NCEA                    10/20/2004

Tetrachloroethylene (PCE)                   Chronic           1.0E-02           mg/kg/day                  Liver           1000/1              OEHHA                    08/XX/1991

Trichloroethylene (TCE)                     Chronic           1.7E-01           mg/kg/day                  Liver             NA                OEHHA                    6/12/2007

Trichlorofluoromethane (Freon 11)           Chronic           2.0E-01           mg/kg/day                General           1000/1              HEAST                    7/31/1997

1,1,2-Trichloroethane (1,1,2-TCA)           Chronic           4.0E-03           mg/kg/day                 Blood            1000/1         Route Extrapolation           10/20/2004

1,1-Dichloroethane (1,1-DCA)                Chronic           1.4E-01           mg/kg/day                 Kidney           1000/1              HEAST                    7/31/1997

Carbon tetrachloride                        Chronic           7.0E-04           mg/kg/day                  Liver           1000/1         Route Extrapolation           10/20/2004

cis-1,2-Dichloroethene (cis-1,2-            Chronic           1.0E-02           mg/kg/day                  Liver             NA           Route Extrapolation           10/20/2004
DCE)

Hexavalent chromium                         Chronic           2.2E-06           mg/kg/day               Respiratory         90/1                 IRIS                   8/27/2007
Notes:
(1) Dermal RfD is based on oral RfD assuming 100 % absorption efficiency.
(2) Source: IRIS
Route extrapolation: Values from EPA Region 9 PRG Table, October 2004
NA = Not available or not applicable
IRIS = Integrated Risk Information System; available at http://www.epa.gov/iris/
NCEA = National Center for Environmental Assessment; Values from EPA Region 9 PRG Table, October 2004
OEHHA = Office of Environmental Health Hazard Assessment




                                                                                                                                                                                         2-25

                                                                                               192                                                                     Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 202 of 347 Page ID #:236




        5LVN&KDUDFWHUL]DWLRQ
  )RUFDUFLQRJHQVULVNLVH[SUHVVHGDVWKHLQFUHPHQWDOSUREDELOLW\RIDQLQGLYLGXDO¶VGHYHORSLQJ
  FDQFHURYHUDOLIHWLPHDVDUHVXOWRIH[SRVXUHWRWKHFDUFLQRJHQ([FHVVOLIHWLPHFDQFHUULVN
   (/&5 ZDVHVWLPDWHGIURPWKHIROORZLQJHTXDWLRQ
                                           5LVN &',[&6)
  ZKHUH
     ULVN      DXQLWOHVVSUREDELOLW\ HJ[ RIDQLQGLYLGXDO¶VGHYHORSLQJFDQFHU
     &',       &KURQLFGDLO\LQWDNHDYHUDJHGRYHU\HDUV PJNJGD\ 
     &6)       &DQFHUVORSHIDFWRU PJNJGD\ 
  $Q(/&5RI[LQGLFDWHVWKDWDQLQGLYLGXDOH[SHULHQFLQJWKHUHDVRQDEOHPD[LPXPH[SRVXUH
  HVWLPDWHKDVDLQFKDQFHRIGHYHORSLQJFDQFHUDVDUHVXOWRIVLWHUHODWHGH[SRVXUH
  7KH(/&5ZRXOGEHLQDGGLWLRQWRWKHULVNVRIFDQFHULQGLYLGXDOVIDFHIURPRWKHUFDXVHVVXFKDV
  VPRNLQJRUH[SRVXUHWRWRRPXFKVXQ7KHFKDQFHRIDQLQGLYLGXDO¶VGHYHORSLQJFDQFHUIURPDOO
  RWKHUFDXVHVKDVEHHQHVWLPDWHGWREHDVKLJKDVRQHLQWKUHH(3$¶VJHQHUDOO\DFFHSWHGULVN
  UDQJHIRUVLWHUHODWHGH[SRVXUHVLV LQ WR LQ 
  )RUQRQFDUFLQRJHQVWKHSRWHQWLDOIRUDUHFHSWRUWRGHYHORSDQDGYHUVHKHDOWKHIIHFWLVHVWLPDWHG
  E\FRPSDULQJWKHSUHGLFWHGOHYHORIH[SRVXUHIRUDSDUWLFXODUFKHPLFDO HJFKURQLFGDLO\LQWDNH 
  ZLWKWKHKLJKHVWOHYHORIH[SRVXUHWKDWLVFRQVLGHUHGSURWHFWLYH WKDWLVLWVUHIHUHQFHGRVH>5I'@ 
  7KHUDWLRRIWKHFKURQLFGDLO\LQWDNH LHH[SRVXUH WR5I' LHWR[LFLW\ LVWHUPHGWKHKD]DUG
  TXRWLHQW +4 DQGLVFDOFXODWHGDVIROORZV
                                            HQ CDI/RfD
  ZKHUH
     +4        +D]DUGTXRWLHQW
     5I'       5HIHUHQFHGRVH PJNJGD\ 
     &',       &KURQLFGDLO\LQWDNH PJNJGD\ 
  &',DQG5I'UHSUHVHQWWKHVDPHH[SRVXUHSHULRG LHFKURQLFVXEFKURQLFRUVKRUWWHUP 
  7KH+D]DUG,QGH[ +, LVJHQHUDWHGE\DGGLQJWKH+4VIRUDOOFKHPLFDO V RIFRQFHUQWKDWDIIHFW
  WKHVDPHWDUJHWRUJDQ HJOLYHU RUWKDWDFWWKURXJKWKHVDPHPHFKDQLVPRIDFWLRQZLWKLQD
  PHGLXPRUDFURVVDOOPHGLDWRZKLFKDJLYHQLQGLYLGXDOPD\UHDVRQDEO\EHH[SRVHG$Q+,
  LQGLFDWHVWKDWEDVHGRQWKHVXPRIDOO+4¶VIURPGLIIHUHQWFRQWDPLQDQWVDQGH[SRVXUHURXWHV
  WR[LFQRQFDUFLQRJHQLFHIIHFWVIURPDOOFRQWDPLQDQWVDUHXQOLNHO\$Q+,!LQGLFDWHVWKDWVLWH
  UHODWHGH[SRVXUHVPD\SUHVHQWDULVNWRKXPDQKHDOWK
   &DUFLQRJHQLF5LVNV
  3RWHQWLDOIXWXUHFDUFLQRJHQLFULVNVDUHHVWLPDWHGIRUWKHGRPHVWLFXVHRIXQWUHDWHG28
  JURXQGZDWHUDVWDSZDWHU7KH++5$HYDOXDWHGWKH50(VFHQDULRIRUDQDGXOWFKLOGDQG
  OLIHWLPH DGXOWSOXVFKLOG UHVLGHQWGXHWRLQJHVWLRQLQKDODWLRQDQGGHUPDOH[SRVXUHWR&2&VLQ
  JURXQGZDWHU7DEOH$7DEOH$DQG7DEOH$SURYLGHULVNHVWLPDWHVIRUHDFKURXWHRI
  H[SRVXUHIRUDGXOWFKLOGDQGOLIHWLPH DGXOWSOXVFKLOG UHVLGHQWUHVSHFWLYHO\



                                                                                                    2-26


                                                 193                                  Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 203 of 347 Page ID #:237




  7KHWRWDOULVNVIURPH[SRVXUHWRJURXQGZDWHUIRUDGXOWFKLOGDQGOLIHWLPH DGXOWSOXVFKLOG 
  UHVLGHQWDUH[[DQG[UHVSHFWLYHO\7KH&2&FRQWULEXWLQJPRVWWRWKHULVNLV
  3&(LQJURXQGZDWHU2WKHU&2&VWKDWFRQWULEXWH[RUPRUHULVNWRWKHWRWDOULVNDUH
  '&(GLR[DQHFKORURIRUP7&(DQG7&$7KHULVNDVVHVVPHQWLQGLFDWHVWKDWLIQR
  FOHDQXSDFWLRQLVWDNHQDQGDQLQGLYLGXDOZHUHWRXVHWKHPRUHKLJKO\FRQWDPLQDWHG28
  JURXQGZDWHUIRUGULQNLQJDQGEDWKLQJWKURXJKRXWKLVRUKHUOLIHWLPHWKDWSHUVRQFRXOGKDYHDV
  PXFKDVDRXWRI RU FKDQFHRIGHYHORSLQJFDQFHUDVDUHVXOWRIVLWHUHODWHGH[SRVXUH
  WRWKH&2&V
   1RQ&DUFLQRJHQLF+HDOWK+D]DUGV
  3RWHQWLDOIXWXUHQRQFDUFLQRJHQLFKHDOWKKD]DUGVDUHHVWLPDWHGIRUWKHGRPHVWLFXVHRI28
  XQWUHDWHGJURXQGZDWHU7KH++5$HYDOXDWHGDVFHQDULRRI50(IRUDQDGXOWDQGFKLOGUHVLGHQW
  GXHWRLQJHVWLRQLQKDODWLRQDQGGHUPDOH[SRVXUHRI&2&VLQJURXQGZDWHU7DEOH%DQG
  7DEOH%SURYLGHKD]DUGTXRWLHQWV +4V IRUHDFKURXWHRIH[SRVXUHDQGWKHKD]DUGLQGH[ VXP
  RIKD]DUGTXRWLHQWVIRUURXWHVRIH[SRVXUH IRUDGXOWDQGFKLOGUHVLGHQWUHVSHFWLYHO\
  7KHHVWLPDWHG+,VIRUDGXOWDQGFKLOGUHVLGHQWDUHJUHDWHUWKDQZKLFKLQGLFDWHVWKHSRWHQWLDOIRU
  DGYHUVHQRQFDQFHUKHDOWKHIIHFWV7KHHVWLPDWHG+,VRIIRUDQDGXOWUHVLGHQWDQGIRU
  DFKLOGUHVLGHQWLQGLFDWHWKDWWKHSRWHQWLDOIRUDGYHUVHQRQFDQFHUHIIHFWVFRXOGRFFXUIURP
  H[SRVXUHWRFRQWDPLQDWHGJURXQGZDWHUFRQWDLQLQJ'&$FKORURIRUP3&(7&(DQG
  7&$2IWKHVH&2&VWKH&2&FRQWULEXWLQJPRVWWRWKHKD]DUGLV3&( +4 IRUDQ
  DGXOWUHVLGHQWDQG+4 IRUDFKLOGUHVLGHQW 
   ,QGRRU$LU5LVN6XPPDU\
  7KHVFUHHQLQJOHYHOULVNHYDOXDWLRQIRULQKDODWLRQH[SRVXUHWRFRQWDPLQDQWVLQVRLOJDVWKDWDUH
  SUHVHQWLQLQGRRUDLUDVDUHVXOWRIYDSRULQWUXVLRQIRXQGWKDWWKHSRWHQWLDOKHDOWKULVNWRUHVLGHQWV
  LVORZ
  7KHULVNHYDOXDWLRQZDVEDVHGRQFRQGLWLRQVDWWKH:KLVSHULQJ)RXQWDLQV$SDUWPHQWVZKLFKDUH
  ORFDWHGLQDQDUHDRI28ZKHUH&2&FRQFHQWUDWLRQVLQJURXQGZDWHUDUHUHODWLYHO\KLJKDQGWKH
  GHSWKWRJURXQGZDWHULVUHODWLYHO\ORZ7KHVHFRQGLWLRQVDUHEHOLHYHGWRSUHVHQWWKHJUHDWHVW
  SRWHQWLDOZLWKLQWKH28DUHDIRUWKHPLJUDWLRQRIYRODWLOH&2&VIURPJURXQGZDWHUXSWKURXJK
  WKHRYHUO\LQJVRLODQGLQWRUHVLGHQWLDOEXLOGLQJV7KHHVWLPDWHRIULVNZDVGRQHE\XVLQJVRLOJDV
  GDWDIURPWKLVORFDWLRQWRSUHGLFWWKHOHYHOVRIVRLOJDV&2&VWKDWFRXOGEHSUHVHQWLQLQGRRUDLU
  DVDUHVXOWRIYDSRULQWUXVLRQ&DQFHUULVNVDQGQRQFDQFHUKHDOWKKD]DUGVZHUHHVWLPDWHGIRUDQ
  DGXOWUHFHSWRU
  7KHHVWLPDWHGSRWHQWLDOFDQFHUULVNIRUDQDGXOWUHVLGHQWRIWKH:KLVSHULQJ)RXQWDLQV$SDUWPHQWV
  UDQJHVIURP[WR[7KHVHULVNOHYHOVDUHQRWFRQVLGHUHGWREHVLJQLILFDQWE\(3$
  (VWLPDWHGQRQFDQFHUKD]DUGTXRWLHQWVIRUDQDGXOWUHVLGHQWRIWKH:KLVSHULQJ)RXQWDLQV
  $SDUWPHQWVUDQJHIURPWR

  8QFHUWDLQW\
  7KHPDLQXQFHUWDLQWLHVLQWKH++5$DUHDVVRFLDWHGZLWKGDWDTXDOLW\H[SRVXUHHVWLPDWLRQDQG
  WR[LFRORJLFDOGDWD*LYHQWKHVLPSOHSRWHQWLDOURXWHVIRUH[SRVXUHLQWKHFRQFHSWXDOVLWHPRGHO
  GDWDTXDOLW\FRQWURODQGKLJK&2&FRQFHQWUDWLRQVLQJURXQGZDWHUDW28WKHVHXQFHUWDLQWLHV
  DUHORZIRUWKH28++5$7KHXQFHUWDLQWLHVRIWKH++5$DUHGLVFXVVHGLQGHWDLOLQWKH5,)6

                                                                                                      2-27


                                                      194                                    Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 204 of 347 Page ID #:238



  Table 3.1A. Risk Characterization Summary – Carcinogens
  Omega Chemical Superfund Site – OU2
  Scenario Timeframe: Current/Future
  Receptor Population: Resident
  Receptor Age: Adult
                                                                                                                       Carcinogenic Risk
                                                                                                                                                         Exposure
                   Exposure         Exposure                                                                                            External          Routes
      Medium        Medium            Point              Chemical of Concern              Ingestion      Inhalation       Dermal       (Radiation)         Total
  Groundwater      Groundwater     Groundwater 1,1,2-Trichloro-1,2,2-                          --             --              --            NA               --
                                               trifluoroethane (Freon 113)

                                                  1,1-Dichloroethene (1,1-DCE)                 --             --              --            NA               --

                                                  1,2-Dichloroethane (1,2-DCA)             2.1 x 10-4     1.0 x 10-3      1.6 x 10-5        NA           1.3 x 10-3

                                                  1,4-Dioxane (p-dioxane)                   9 x 10-4          --          3.2 x 10-6        NA           9.1 x 10-4

                                                  Chloroform                               1.7 x 10-4     2.2 x 10-3      1.5 x 10-5        NA           2.4 x 10-3

                                                  Tetrachloroethylene (PCE)                3.3 x 10-1     6.3 x 10-2      1.9 x 10-1        NA           5.9 x 10-1

                                                  Trichloroethylene (TCE)                  1.6 x 10-4     4.3 x 10-4      2.8 x 10-5        NA           6.2 x 10-4

                                                  Trichlorofluoromethane (Freon 11)            --             --              --            NA               --

                                                  1,1,2-Trichloroethane (1,1,2-TCA)        1.2 x 10-4     4.8 x 10-4      1.1 x 10-5        NA           6.1 x10-4

                                                  1,1-Dichloroethane (1,1-DCA)             2.0 x 10-6      1 x 10-5       1.6 x 10-7        NA           1.2 x10-5

                                                  Carbon tetrachloride                     4.4 x 10-7     2.2 x 10-6      1.2 x 10-7        NA           2.7 x 10-6

                                                  cis-1,2-Dichloroethene (cis-1,2-DCE)         --             --              --            NA               --

                                                  Hexavalent chromium (1)                      --             --              --            NA               --

                                                                                                                          Groundwater Risk Total =        6 x 10-1

                                                                                                                                       Total Risk =       6 x 10-1
  Notes:
  NA - Not applicable

  (1) The cancer risk estimates shown in this table do not incorporate the cancer risks posed by hexavalent chromium. Since the time of the 2007 risk assessment,
      hexavalent chromium has been identified by OEHHA as posing a potential cancer risk via ingestion. Using the EPC of 9.3 ug/L and the new OEHHA toxicity
      factors, the ingestion risk from hexavalent chromium is about 4 x 10-4.

  
  
                                                 




                                                                                                                                                           2-28


                                                                                   195                                                     Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 205 of 347 Page ID #:239



  Table 3.1B. Risk Characterization Summary - Non-Carcinogens
  Omega Chemical Superfund Site – OU2
  Scenario Timeframe: Current/Future
  Receptor Population: Resident
  Receptor Age: Adult
                                                                                                       Non-Carcinogenic Hazard
                                                                                       Primary                                                 Exposure
                    Exposure    Exposure                                                Target                                                  Routes
      Medium         Medium       Point              Chemical of Concern               Organ(s)      Ingestion      Inhalation     Dermal        Total
  Groundwater     Groundwater   Groundwater 1,1,2-Trichloro-1,2,2-                    Neurological    0.0009           0.015       0.00032      0.017
                                            trifluoroethane (Freon 113)

                                                 1,1-Dichloroethene (1,1-DCE)            Liver         0.57             7.2         0.078        7.8

                                                 1,2-Dichloroethane (1,2-DCA)         Decreased        0.33             24          0.026        24.3
                                                                                       survival

                                                 1,4-Dioxane (p-dioxane)                  NA            --              --            --          --

                                                 Chloroform                              Liver          1.6             5.7          0.14        7.4

                                                 Tetrachloroethylene (PCE)               Liver         178             891           105         1174

                                                 Trichloroethylene (TCE)                 Liver         121              1.1          20.7        142

                                                 Trichlorofluoromethane (Freon 11)      General       0.032            0.24        0.0061        0.28

                                                 1,1,2-Trichloroethane                   Blood          1.2             6.1          0.11        7.47
                                                 (1,1,2-TCA)

                                                 1,1-Dichloroethane (1,1-DCA)           Kidney         0.01            0.036       0.0008       0.047

                                                 Carbon tetrachloride                    Liver         0.01            0.061       0.0032       0.076

                                                 cis-1,2-Dichloroethene                  Liver        0.039            0.19        0.0049        0.24
                                                 (cis-1,2-DCE)

                                                 Hexavalent chromium                     None         0.084             --         0.00088      0.085

                                                                                                                       Liver Hazard Index =      1332

                                                                                                                 Neurological Hazard Index=     0.017

                                                                                                                      Kidney Hazard Index=      0.047

                                                                                                       Decreased Survival hazard Index =          24

                                                                                                                     General Hazard Index=       0.28
                                                                                                                       Blood Hazard Index =       7
                                                                                                                      Thyroid Hazard Index =     0.12
  Notes:
  NA - Not applicable




                                            




                                                                                                                                                2-29


                                                                                196                                               Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 206 of 347 Page ID #:240




  
  Table 3.2A. Risk Characterization Summary – Carcinogens
  Omega Chemical Superfund Site – OU2
  Scenario Timeframe: Current/Future
  Receptor Population: Resident
  Receptor Age: Child
                                                                                                                Carcinogenic Risk
                    Exposure     Exposure                                                                                       External       Exposure
      Medium         Medium        Point              Chemical of Concern             Ingestion    Inhalation      Dermal      (Radiation)    Routes Total
  Groundwater     Groundwater   Groundwater 1,1,2-Trichloro-1,2,2-                        --           --             --            NA             --
                                            trifluoroethane (Freon 113)

                                                 1,1-Dichloroethene (1,1-DCE)             --           --             --            NA             --

                                                 1,2-Dichloroethane (1,2-DCA)         1.2 x 10-4   6.1 x 10-4     9.4 x 10-6        NA         7.4 x 10-4

                                                 1,4-Dioxane (p-dioxane)              5.3 x 10-4       --         1.9 x 10-6        NA         5.3 x 10-4

                                                 Chloroform                           9.9 x 10-5   1.3 x 10-3     8.6 x 10-6        NA         1.4 x 10-3

                                                 Tetrachloroethylene (PCE)            1.9 x 10-1   3.7 x 10-2     1.1 x 10-1        NA         3.4 x 10-1

                                                 Trichloroethylene (TCE)              9.4 x 10-5   2.5 x 10-4     1.6 x 10-5        NA         3.6 x 10-4

                                                 Trichlorofluoromethane (Freon 11)        --           --             --            NA             --

                                                 1,1,2-Trichloroethane (1,1,2-        7.1 x 10-5   2.8 x 10-4     6.3 x 10-6        NA         3.6 x 10-4
                                                 TCA)

                                                 1,1-Dichloroethane (1,1-DCA)         1.2 x 10-6   5.9 x 10-6     9.1 x 10-8        NA         7.2 x 10-6

                                                 Carbon tetrachloride                 2.6 x 10-7   1.3 x 10-6     6.6 x 10-8        NA         1.6 x 10-6

                                                 cis-1,2-Dichloroethene (cis-1,2-         --           --             --            NA             --
                                                 DCE)

                                                 Hexavalent chromium                      --           --             --            NA             --

                                                                                                                  Groundwater Risk Total =      3 x 10-1

                                                                                                                               Total Risk =     3 x 10-1
  Notes:
  NA - Not applicable

  
  
                                            




                                                                                                                                                 2-30


                                                                                    197                                                  Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 207 of 347 Page ID #:241



  Table 3.2B. Risk Characterization Summary - Non-Carcinogens
  Omega Chemical Superfund Site – OU2
  Scenario Timeframe: Current/Future
  Receptor Population: Resident
  Receptor Age: Child
                                                                                                         Non-Carcinogenic Hazard
                                                                                         Primary                                                  Exposure
                        Exposure      Exposure                                            Target                                                   Routes
    Medium               Medium         Point            Chemical of Concern             Organ(s)      Ingestion      Inhalation    Dermal          Total
   Groundwater          Groundwater   Groundwater 1,1,2-Trichloro-1,2,2-                Neurological    0.0021          0.036       0.00072            0.039
                                                  trifluoroethane (Freon 113)
                                                    1,1-Dichloroethene (1,1-DCE)           Liver          1.3            16.7         0.18             18.2
                                                    1,2-Dichloroethane (1,2-DCA)        Decreased        0.78            55.9         0.06             56.8
                                                                                         survival
                                                    1,4-Dioxane (p-dioxane)                 NA            --              --           --               --
                                                    Chloroform                             Liver          3.7            13.3         0.32             17.3
                                                    Tetrachloroethylene (PCE)              Liver         416             2078         236              2730
                                                    Trichloroethylene (TCE)                Liver         281             2.5          46.6             330
                                                    Trichlorofluoromethane (Freon 11)     General       0.076            0.57        0.013             0.66
                                                    1,1,2-Trichloroethane (1,1,2-TCA)      Blood          2.9            14.3         0.25             17.4
                                                    1,1-Dichloroethane (1,1-DCA)          Kidney        0.024           0.084        0.0018            0.11
                                                    Carbon tetrachloride                   Liver        0.028            0.14        0.0073            0.18
                                                    cis-1,2-Dichloroethene (cis-1,2-       Liver        0.092            0.46        0.011             0.56
                                                    DCE)
                                                    Hexavalent chromium                    None          0.19             --         0.0026             0.2
                                                                                                                         Liver Hazard Index =          3097
                                                                                                                   Neurological Hazard Index=          0.039
                                                                                                                        Kidney Hazard Index=           0.11
                                                                                                         Decreased Survival hazard Index =              57
                                                                                                                       General Hazard Index=           0.66
                                                                                                                        Blood Hazard Index =            17
                                                                                                                       Thyroid Hazard Index =          0.29
  Notes:
  NA - Not applicable




                                                                                                                                                2-31

                                                                                198                                             Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 208 of 347 Page ID #:242



  Table 3.3A. Risk Characterization Summary – Carcinogens
  Omega Chemical Superfund Site – OU2
  Scenario Timeframe: Current/Future
  Receptor Population: Resident
  Receptor Age: Child/Adult
                                                                                                               Carcinogenic Risk
                        Exposure    Exposure                                                                                   External       Exposure
    Medium               Medium       Point           Chemical of Concern            Ingestion    Inhalation     Dermal       (Radiation)    Routes Total
  Groundwater       Groundwater    Groundwater   1,1,2-Trichloro-1,2,2-                  --           --             --            NA               --
                                                 trifluoroethane (Freon 113)

                                                 1,1-Dichloroethene (1,1-DCE)            --           --             --            NA               --

                                                 1,2-Dichloroethane (1,2-DCA)        3.3 x 10-4   1.7 x 10-3     2.6 x 10-5        NA           2 x 10-3

                                                 1,4-Dioxane (p-dioxane)             1.4 x 10-3       --         5.1 x 10-6        NA          1.4 x 10-3

                                                 Chloroform                          2.7 x 10-4   3.5 x 10-3     2.4 x 10-5        NA          3.8 x 10-3

                                                 Tetrachloroethylene (PCE)           5.2 x 10-1   1.0 x 10-1     3.0 x 10-1        NA          9.3 x 10-1

                                                 Trichloroethylene (TCE)             2.6 x 10-4   6.9 x 10-4     4.3 x 10-5        NA          9.9 x 10-4

                                                 Trichlorofluoromethane (Freon 11)       --           --             --            NA               --

                                                 1,1,2-Trichloroethane (1,1,2-TCA)   1.9 x 10-4   7.6 x 10-4     1.8 x 10-5        NA          9.7 x 10-4

                                                 1,1-Dichloroethane (1,1-DCA)        3.2 x 10-6   1.6 x 10-5     2.5 x 10-7        NA          1.9 x 10-5

                                                 Carbon tetrachloride                7.0 x 10-7   3.4 x 10-6     1.8 x 10-7        NA          4.3 x 10-6

                                                 cis-1,2-Dichloroethene (cis-1,2-        --           --             --            NA               --
                                                 DCE)

                                                 Hexavalent chromium                     --           --             --            NA               --

                                                                                                                 Groundwater Risk Total =       9 x 10-1

                                                                                                                              Total Risk =      9 x 10-1
  Notes:
  NA - Not applicable


            %DVLVIRU$FWLRQ
  7KHUHVSRQVHDFWLRQVHOHFWHGLQWKLV52'LVQHFHVVDU\WRSURWHFWWKHSXEOLFKHDOWKRUZHOIDUHRU
  WKHHQYLURQPHQWIURPDFWXDORUWKUHDWHQHGUHOHDVHVRIKD]DUGRXVVXEVWDQFHVLQWRWKH
  HQYLURQPHQWDQGIURPDFWXDORUWKUHDWHQHGUHOHDVHVRISROOXWDQWVRUFRQWDPLQDQWVZKLFKPD\
  SUHVHQWDQLPPLQHQWDQGVXEVWDQWLDOHQGDQJHUPHQWWRSXEOLFKHDOWKRUZHOIDUH

             5HPHGLDO$FWLRQ2EMHFWLYHV
  7KH,QWHULP5HPHG\IRU28LVLQWHQGHGWRDFKLHYHWKHIROORZLQJ5$2V
   3UHYHQWXQDFFHSWDEOHKXPDQH[SRVXUHWRJURXQGZDWHUFRQWDPLQDWHGE\FRQWDPLQDQWVRI
     FRQFHUQ &2&V 
   3UHYHQWODWHUDODQGYHUWLFDOVSUHDGLQJRI&2&VLQJURXQGZDWHUDW28WRSURWHFWFXUUHQWDQG
     IXWXUHXVHVRIJURXQGZDWHUDQG


                                                                                                                                             2-32


                                                                    199                                             Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 209 of 347 Page ID #:243




   3UHYHQWODWHUDODQGYHUWLFDOPLJUDWLRQRIJURXQGZDWHUZLWKKLJKFRQFHQWUDWLRQVRI&2&VLQWR
     ]RQHVZLWKFXUUHQWO\ORZHUFRQFHQWUDWLRQVRI&2&VWRRSWLPL]HWKHWUHDWPHQWRIH[WUDFWHG
     JURXQGZDWHU
  ,QDGGLWLRQWKH,QWHULP5HPHG\LVH[SHFWHGWREHJLQWKHSURFHVVRIUHVWRULQJWKHFRQWDPLQDWHG
  DTXLIHUE\UHPRYLQJFRQWDPLQDQWPDVVIURPWKHJURXQGZDWHU
  7KH5$2VDUHEDVHGRQWKHFXUUHQWDQGIXWXUHKLJKHVWEHQHILFLDOXVHRIJURXQGZDWHULQWKH28
  DUHD LHXVHDVDVRXUFHRIGULQNLQJZDWHU 
  7KH28FRQWDPLQDQWSOXPHLVNQRZQWREHVSUHDGLQJLQWROHVVFRQWDPLQDWHGRUXQFRQWDPLQDWHG
  SRUWLRQVRIWKHDTXLIHUDQGSRVLQJDWKUHDWWRGRZQJUDGLHQWZDWHUVXSSO\ZHOOV'HOD\LQJDFWLRQ
  FRXOGUHVXOWLQWKHIROORZLQJ
   &RQWLQXHGFRQWDPLQDQWPLJUDWLRQQHFHVVLWDWLQJDGGLWLRQDOWUHDWPHQWLQFUHDVLQJFRVWVDQG
     FRPSOLFDWLQJWKHRSHUDWLRQRIH[LVWLQJRUSODQQHGSURGXFWLRQZDWHUWUHDWPHQWIDFLOLWLHVDV
     ZHOODVSODQQHGLQWHULPUHPHG\DQGIXWXUHILQDOUHPHG\WUHDWPHQWIDFLOLWLHV
   ,QFUHDVHGOLNHOLKRRGWKDWDGGLWLRQDOZDWHUVXSSO\ZHOOVLQWKHDUHDZRXOGKDYHWREH
     PRGLILHGUHPRYHGIURPVHUYLFHRSHUDWHGLQWHUPLWWHQWO\RUZRXOGUHTXLUHWUHDWPHQWWR
     UHPRYHFRQWDPLQDQWVDQG
   ,QFUHDVHGFRVWGLIILFXOW\DQGWLPHUHTXLUHGIRUFRQWDLQPHQWRIFRQWDPLQDQWSOXPHVRU
     UHVWRUDWLRQRIWKHDTXLIHUEHFDXVHFRQWLQXHGFRQWDPLQDQWPLJUDWLRQZRXOGLQFUHDVHWKH
     YROXPHFRQWDPLQDQWFRQFHQWUDWLRQVDQGSRWHQWLDO&2&VLQWKDWFRQWDPLQDWHGJURXQGZDWHU

        'HVFULSWLRQRI5HPHGLDO$OWHUQDWLYHV
  (3$GHYHORSHGDQGHYDOXDWHGILYHUHPHGLDODFWLRQDOWHUQDWLYHV $OWHUQDWLYHVWKURXJK WR
  DGGUHVVWKH5$2V$1R$FWLRQDOWHUQDWLYH $OWHUQDWLYH ZDVDOVRHYDOXDWHGDVDEDVHOLQHIRU
  FRPSDULVRQ
      'HVFULSWLRQRI5HPHGLDO$OWHUQDWLYH&RPSRQHQWV
  7KHSULPDU\REMHFWLYHVRI$OWHUQDWLYHVWKURXJKDUHWRDFKLHYHWKH5$2VGHVFULEHGDERYH
  $OORIWKHDFWLRQDOWHUQDWLYHVLQFOXGHGJURXQGZDWHUH[WUDFWLRQZHOOVZDWHUWUHDWPHQWV\VWHPV
  FRQYH\DQFHV\VWHPVDQGJURXQGZDWHUPRQLWRULQJZHOOV7KHSULQFLSDOGLIIHUHQFHVEHWZHHQWKH
  DOWHUQDWLYHVDUHLQWKHORFDWLRQDQGQXPEHURIJURXQGZDWHUH[WUDFWLRQZHOOVDQGWKHHQGXVHIRU
  WKHWUHDWHGZDWHU7KHWUHDWPHQWSURFHVVHVDUHVLPLODUEXWGLIIHUVOLJKWO\EDVHGRQWKH
  UHTXLUHPHQWVIRUWKHVSHFLILFHQGXVHRIWKHWUHDWHGZDWHU LHGULQNLQJZDWHUDTXLIHU
  UHLQMHFWLRQVSUHDGLQJEDVLQGLVFKDUJHDQGUHFODLPHGZDWHU 
      &RPPRQ(OHPHQWVDQG'LVWLQJXLVKLQJ)HDWXUHVRI(DFK$OWHUQDWLYH
  7KHVL[DOWHUQDWLYHVGHYHORSHGIRU28DUHSUHVHQWHGLQ7DEOH6XPPDU\RI5HPHGLDO
  $OWHUQDWLYH&RPSRQHQWV7KHILYHDFWLRQDOWHUQDWLYHVDUHJURXQGZDWHUSXPSDQGWUHDWV\VWHPV
  FRQVLVWLQJRIVL[NH\FRPSRQHQWV
   ([WUDFWLRQRI&RQWDPLQDWHG*URXQGZDWHU(DFKRIWKHDOWHUQDWLYHVDVVXPHVWKDW
     FRQWDPLQDWHGJURXQGZDWHULVSXPSHGIURPWKHVKDOORZDTXLIHU WRIHHWEJV 


                                                                                                 2-33


                                                200                              Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 210 of 347 Page ID #:244




     ([WUDFWLRQZHOOVZRXOGEHLQVWDOOHGWRH[WUDFWIURPXSWRJDOORQVSHUPLQXWH
      JSP 7KHDOWHUQDWLYHVYDU\LQWHUPVRIWKHQXPEHUDQGORFDWLRQRIJURXQGZDWHUH[WUDFWLRQ
     ZHOOV7KHYDULRXVH[WUDFWLRQZHOOORFDWLRQVLQFOXGHWKHOHDGLQJHGJH /( RIWKH28SOXPH
     WKHFHQWUDOH[WUDFWLRQ &( DUHDDQGLQWKHQRUWKHUQH[WUDFWLRQ 1( DUHDRIWKH28SOXPH
     7KH&(DQG1(DUHDVDUHORFDWHGJHQHUDOO\GRZQJUDGLHQWRIWKHWZRPDMRUKLJK
     FRQFHQWUDWLRQDUHDVZLWKLQWKHSOXPH7KHVHORFDWLRQVDUHGHSLFWHGLQ)LJXUH)RU
     FRPSDULQJWKHH[WUDFWLRQ$OWHUQDWLYHVWKURXJKLWLVDVVXPHGWKDWWKHSURGXFWLRQZHOOV
     WKDWKDYHEHHQLPSDFWHG 6)6DQGWKHIRXU*6:&SURGXFWLRQZHOOV ZLOOFRQWLQXHWR
     RSHUDWH+RZHYHULWVKRXOGEHQRWHGWKDWWKHLQWHULPUHPHG\ZLOOSHUIRUPPRUHHIILFLHQWO\
     DQGRSHUDWHDWORZHUH[WUDFWLRQUDWHVDQGORZHUFRVWLIWKRVHZHOOVZHUHWRVWRSSXPSLQJ
   7UHDWPHQWRI*URXQGZDWHUWR5HPRYH&RQWDPLQDQWV7KHJURXQGZDWHUWUHDWPHQW
     UHTXLUHPHQWVIRUHDFKRIWKHDFWLRQDOWHUQDWLYHVDUHGULYHQE\WKHHQGXVHUHTXLUHPHQWVRIWKH
     WUHDWHGZDWHU7KHFKRLFHRIRQHFHQWUDOL]HGWUHDWPHQWSODQWRUVHSDUDWHVPDOOHUWUHDWPHQW
     SODQWVDWVSHFLILFH[WUDFWLRQDUHDVRUFOXVWHUVRIH[WUDFWLRQDUHDVZLOOEHGHWHUPLQHGGXULQJ
     UHPHGLDOGHVLJQGHSHQGLQJXSRQZKLFKDSSURDFKLVPRUHFRVWHIIHFWLYHDQGRUHDVLHUWR
     LPSOHPHQW7KHIROORZLQJWUHDWPHQWSURFHVVHVZHUHLGHQWLILHGLQWKH)6DVEHLQJFRPPRQWR
     DOOWKHDFWLRQDOWHUQDWLYHV
         $GYDQFHGR[LGDWLRQSURFHVV $23 IRUGLR[DQHUHPRYDO
         %LROLTXLGSKDVHJUDQXODUDFWLYDWHGFDUERQ /*$& DQGFRQYHQWLRQDO/*$&WUHDWPHQW
         IRU92&VELR/*$&WUHDWPHQWLVXVHGIRUUHPRYDORISDUWLDOR[LGDWLRQSURGXFWVIRUPHG
         LQWKH$23/*$&WUHDWPHQWLVXVHGIRUUHPRYDORIUHVLGXDO92&VDQG
         0HPEUDQHWUHDWPHQWSURFHVV QDQRILOWUDWLRQ>1)@RUUHYHUVHRVPRVLV>52@ IRUUHPRYDO
         RIWRWDOFKURPLXPKH[DYDOHQWFKURPLXPVHOHQLXPWRWDOGLVVROYHGVROLGV 7'6 VXOIDWH
          62 DQGDOXPLQXPGHSHQGLQJRQWKHHQGXVHUHTXLUHPHQWV
   &RQYH\DQFH6\VWHPVWR7UDQVSRUW8QWUHDWHGDQG7UHDWHG*URXQGZDWHUDQG:DVWH
     %ULQH$OOWKHDFWLRQDOWHUQDWLYHVLQFOXGHWKHFRQVWUXFWLRQRISLSHOLQHVIRUFRQYH\LQJ
         ([WUDFWHGJURXQGZDWHUIURPWKHH[WUDFWLRQZHOOVWRWKH28WUHDWPHQWSODQW
         7UHDWHGZDWHUWRHQGXVHSRLQWVDQG
         :DVWHZDWHUEULQHIURPWKHPHPEUDQHWUHDWPHQWSURFHVVWRDQLQGXVWULDOVHZHU
         FRQQHFWLRQ
   8VHRI*URXQGZDWHUDIWHU5HPRYDORI&RQWDPLQDQWV7KHILYHDFWLRQDOWHUQDWLYHVGLIIHULQ
     WKHDVVXPHGXVHRIWKHJURXQGZDWHUDIWHUWKHFRQWDPLQDQWVDUHUHPRYHG$OWHUQDWLYHVDQG
     LQFOXGHGHOLYHU\WRDORFDOZDWHUXWLOLW\IRUSRWDEOHZDWHUXVH1HJRWLDWLRQVDQGDJUHHPHQWV
     GXULQJWKH5'SKDVHZLOOGHWHUPLQHVSHFLILFDOO\ZKLFKZDWHUSXUYH\RURUSXUYH\RUVZRXOG
     UHFHLYHWKHWUHDWHGZDWHU$OWHUQDWLYHVDQGLQFOXGHWUHDWHGZDWHUUHXVHDVUHFODLPHG
     ZDWHUUHLQMHFWLRQLQWRWKHDTXLIHUDQGVSUHDGLQJEDVLQGLVFKDUJHIRUDTXLIHUUHSOHQLVKPHQW
     UHVSHFWLYHO\
   *URXQGZDWHU0RQLWRULQJ$OORIWKHDOWHUQDWLYHVDVVXPHWKHPRQLWRULQJRIZDWHUOHYHOVDQG
     JURXQGZDWHUTXDOLW\WRHYDOXDWHWKHSHUIRUPDQFHRIWKHLPSOHPHQWHGUHPHG\DQGRSWLPL]HLWV



                                                                                                 2-34


                                                 201                                Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 211 of 347 Page ID #:245




     RSHUDWLRQ0RQLWRULQJZLOOEHFRQGXFWHGXVLQJH[LVWLQJPRQLWRULQJZHOOVDVZHOODVQHZO\
     LQVWDOOHGPRQLWRULQJZHOOV
     )RU$OWHUQDWLYHLWZDVHVWLPDWHGWKDWQHZPRQLWRULQJZHOOVZRXOGEHLQVWDOOHGDWVL[
     ORFDWLRQVGRZQJUDGLHQWRIWKHH[WUDFWLRQZHOOVZLWKHDFKPRQLWRULQJZHOOFOXVWHUFRPSULVLQJ
     IRXUPRQLWRULQJZHOOVLQVWDOOHGDWGLIIHUHQWGHSWKVZLWKLQWKHDTXLIHUDWHDFKORFDWLRQIRUD
     WRWDORIQHZPRQLWRULQJZHOOV
     )RU$OWHUQDWLYHVDQGLWZDVHVWLPDWHGWKDWDWRWDORIFOXVWHUVRIZHOOVZRXOGEH
     LQVWDOOHGDWORFDWLRQVGRZQJUDGLHQWRIWKHH[WUDFWLRQZHOOVLQWKH/(&(DQG1(DUHDVZLWK
     HDFKPRQLWRULQJZHOOFOXVWHUFRPSULVLQJIRXUZHOOVLQVWDOOHGDWGLIIHUHQWGHSWKVZLWKLQWKH
     DTXLIHUIRUDWRWDORIQHZPRQLWRULQJZHOOV
   ,QVWLWXWLRQDO&RQWUROV7KH,&VDUHHVVHQWLDOO\LQIRUPDWLRQDO,&VWRUHGXFHWKHSRVVLELOLW\
     WKDWSURGXFWLRQZHOOVLQWKHYLFLQLW\RI28FRXOGEHFRPHFRQWDPLQDWHGDQGWRSUHYHQW
     RSHUDWLRQRIWKHZHOOVIURPLQWHUIHULQJZLWKWKHSOXPHFRQWDLQPHQWJRDOVRIWKH,QWHULP
     5HPHG\7KH\LQFOXGH  DQQXDOQRWLILFDWLRQVWRDOOZDWHUULJKWVKROGHUVLQWKH&HQWUDO%DVLQ
     DQGRWKHUVWDNHKROGHUV  SHULRGLFPHHWLQJVZLWK6WDWHDQGORFDODJHQFLHVZLWKMXULVGLFWLRQ
     RYHUZHOOGULOOLQJDQGJURXQGZDWHUXVHZLWKLQWKH&HQWUDO%DVLQDQG  FRQWHPSRUDQHRXV
     QRWLILFDWLRQVE\VXFKDJHQFLHVUHJDUGLQJJURXQGZDWHUH[WUDFWLRQDQGZHOOGULOOLQJDV
     GHVFULEHGEHORZ
     7KHDQQXDOQRWLILFDWLRQSURYLGHGWRDOOZDWHUULJKWVKROGHUVLQWKH&HQWUDO%DVLQZRXOG
     H[SODLQWKHJRDOVRIWKH,QWHULP5HPHG\WKHVWDWXVRIWKHUHPHG\¶VLPSOHPHQWDWLRQWKH
     QDWXUHDQGH[WHQWRI28JURXQGZDWHUFRQWDPLQDWLRQDQGWKHPRVWUHFHQWDYDLODEOH
     JURXQGZDWHUGDWDDQGGLVFXVVUHODWHG6WDWHRUORFDOUHVWULFWLRQVDQGSURKLELWLRQVRQZHOO
     GULOOLQJDQGJURXQGZDWHUXVHZLWKRXWQHFHVVDU\DSSURYDOVDQGSHUPLWV
     7KHSXUSRVHRIWKHSHULRGLF HJDQQXDO PHHWLQJVZLWK6WDWHDQGORFDOVWDNHKROGHUVZRXOG
     EHWRHQDEOHWKHSHULRGLFH[FKDQJHRIDOODYDLODEOHLQIRUPDWLRQUHOHYDQWWRZKHWKHURSHUDWLRQ
     RIDQ\SURGXFWLRQZHOO V ZLWKLQ28RULWVYLFLQLW\LVLQFRPSDWLEOHRUSRVHVDULVNRI
     LQFRPSDWLELOLW\ZLWKWKHJURXQGZDWHUFRQWDPLQDWLRQFRQWDLQPHQWJRDOVRIWKH,QWHULP
     5HPHG\6XFKLQIRUPDWLRQZRXOGLQFOXGHDQ\SHUPLW V IRUZHOOLQVWDOODWLRQWKDWKDGEHHQ
     DSSOLHGIRURUJUDQWHGLQWKH28DUHDRUYLFLQLW\DQGWKHFRPSDWLELOLW\RIVXFKSHUPLW V 
     ZLWKWKH5$2VRIWKHVHOHFWHG28UHPHG\
     7KHVHPHHWLQJVZRXOGEHVXSSOHPHQWHGE\DQDQQXDOUHYLHZRIGRFXPHQWDWLRQPDLQWDLQHG
     E\WKH6WDWHDQGORFDOHQWLWLHVWRGHWHUPLQHLIZDWHUVXSSO\ZHOOVKDYHEHHQLQVWDOOHGRUD
     SXUYH\RURURWKHUZDWHUULJKWVKROGHUKDGLQFUHDVHGJURXQGZDWHUSURGXFWLRQRUSURGXFWLRQ
     FDSDFLW\ZLWKLQ28RULWVYLFLQLW\
     )LQDOO\WKH,&VLQFOXGHFRQWHPSRUDQHRXVQRWLILFDWLRQIURP6WDWHDQGORFDODJHQFLHVZLWK
     MXULVGLFWLRQRYHUZHOOGULOOLQJDQGJURXQGZDWHUXVHZLWKLQWKH&HQWUDO%DVLQ)RUH[DPSOH
     :5'FRXOGSURYLGH(3$DQGWKHHQWLW\HQWLWLHVLPSOHPHQWLQJWKHUHPHG\ZLWKPRQWKO\
     SXPSLQJWRWDOVUHSRUWHGE\ZDWHUZHOORSHUDWRUV)XUWKHU/$&'+6FRXOGQRWLI\(3$DQG
     VXFKHQWLW\HQWLWLHVZKHQHYHUDSHUPLWIRUZHOOFRQVWUXFWLRQPRGLILFDWLRQRUGHVWUXFWLRQKDV
     EHHQVRXJKW7KLVFRQWHPSRUDQHRXVQRWLILFDWLRQZRXOGIXUWKHUUHGXFHWKHSRVVLELOLW\RI
     FRQWDPLQDWLRQRI28DUHDSURGXFWLRQZHOOVDQGLQWHUIHUHQFHRIZHOORSHUDWLRQZLWKSOXPH
     FRQWDLQPHQWJRDOV


                                                                                                   2-35

                                                  202                                   Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 212 of 347 Page ID #:246




          ,PSOHPHQWDWLRQRIDOOFRPSRQHQWVRIWKHVH,&VLVDQLQWHJUDOSDUWRIHDFKDOWHUQDWLYHDQGZLOO
          EHWKHUHVSRQVLELOLW\RIWKHSDUW\RUSDUWLHVLPSOHPHQWLQJWKHUHPHG\
  
      Table 4. Summary of Remedial Alternative Components
      Omega Chemical Superfund Site – OU2
                                                                           Remedial Alternative
            Remedy Component              1                 2             3                  4                5                 6
      Groundwater Extraction                             9                9                  9                9                9
      Pipelines and Pumps                                9                9                  9                9                9
      (Conveyance)
      Groundwater Treatment Plant                    1,800 gpm        2,000 gpm          2,000 gpm        2,200 gpm        2,000 gpm
      (GWTP) Capacity
      Ion Exchange Treatment for                                          9                                   9
      Hexavalent Chromium
      AOP for 1,4-Dioxane                                9                9                  9                9                9
      Bio-LGAC/LGAC for VOCs                             9                9                  9                9                9
      NF or RO                                       Chromium,        TDS, SO4,          Hexavalent       TDS, SO4,         TDS, SO4,
                                                     Hexavalent       Selenium            Chromium,       Aluminum,         Aluminum
                                                   Chromium, TDS,                      Aluminum, TDS,     Selenium
                                                        SO4                               SO4, Other
                                                                                            COCs
      Disinfection                                       9                9                                                    9
      Groundwater Monitoring Program                     9                9                  9                9                9
      Institutional Controls                             9                9                  9                9                9
      End Use                          No Action   Drinking Water   Reclaimed Water      Reinjection    Spreading Basin   Drinking Water




  $OWHUQDWLYH1R$FWLRQ
  (3$LVUHTXLUHGWRHYDOXDWHD1R$FWLRQDOWHUQDWLYHXQGHUWKH1&37KLVDOWHUQDWLYHHVWDEOLVKHVD
  EDVHOLQHDJDLQVWZKLFKRWKHUDOWHUQDWLYHVFDQEHFRPSDUHG7KH1R$FWLRQDOWHUQDWLYHZRXOG
  DOORZWKH28FRQWDPLQDWLRQWRFRQWLQXHWRPLJUDWHDOWKRXJKDUHODWLYHO\VPDOODUHDZRXOGEH
  FDSWXUHGDQGWUHDWHGDVSDUWRIDQ\JURXQGZDWHUFOHDQXSDFWLRQVDWLQGLYLGXDOVRXUFHVZLWKLQWKH
  28DUHDRYHUVHHQE\WKH6WDWH

  $OWHUQDWLYH/(([WUDFWLRQZLWK'ULQNLQJ:DWHU(QG8VH
  $OWHUQDWLYHFRQVLVWVRIJURXQGZDWHUH[WUDFWLRQDWWKHOHDGLQJHGJHRIWKHSOXPHWRSUHYHQW
  IXUWKHUPLJUDWLRQRIFRQWDPLQDWHGJURXQGZDWHULQWRWKHGRZQJUDGLHQWDUHDV7KLVDOWHUQDWLYHLV
  HVWLPDWHGWRUHTXLUHWKUHHH[WUDFWLRQZHOOVHDFKDERXWIWGHHSORFDWHGDWWKH/(DUHDRIWKH
  28SOXPHZLWKH[WUDFWLRQUDWHVRIDSSUR[LPDWHO\JSPHDFKIRUDWRWDOH[WUDFWLRQUDWHRI
  JSP7KHH[WUDFWHGFRQWDPLQDWHGJURXQGZDWHUZRXOGEHWUHDWHGWROHYHOVWKDWFRPSO\
  ZLWKGULQNLQJZDWHUVWDQGDUGVDQGGHOLYHUHGYLDSLSHOLQHWRRQHRUPRUHRIWKHPXQLFLSDORU
  SULYDWHZDWHUSXUYH\RUVLQWKH28DUHD7KHVSHFLILFHQWLW\RUHQWLWLHVWKDWZRXOGUHFHLYHWKH
  WUHDWHGZDWHUZRXOGEHLGHQWLILHGGXULQJWKHUHPHGLDOGHVLJQSKDVH
  7KHIROORZLQJNH\WUHDWPHQWVWHSVZRXOGEHFRQGXFWHGDWWKHJURXQGZDWHUWUHDWPHQWSODQW
   *:73 DQ$23WRUHPRYHGLR[DQHELRORJLFDODQGFRQYHQWLRQDO/*$&IRU92&UHPRYDO
  DQGD1)PHPEUDQHSURFHVVIRUUHPRYDORIWRWDOFKURPLXPDQG7'6LQFOXGLQJ627KH

                                                                                                                                    2-36


                                                                    203                                               Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 213 of 347 Page ID #:247




  JURXQGZDWHULQWKLVDUHDFRQWDLQVKLJKOHYHOVRIQDWXUDOO\RFFXUULQJGLVVROYHGVROLGVZKLFK
  ZRXOGEHUHPRYHGZKHQWKHZDWHULVWUHDWHG7KHUHVXOWLQJKLJKVDOLQLW\ʊ  EULQH”DE\SURGXFWRI
  WKHWUHDWPHQWSURFHVVZRXOGEHGLVFKDUJHGWRDQHDUE\LQGXVWULDOVHZHUOLQHIRUGLVSRVDO
  2WKHUWUHDWPHQWSURFHVVUHVLGXDOVLQFOXGHVSHQWOLTXLGSKDVHJUDQXODUDFWLYDWHGFDUERQ /*$& 
  ILOWHUEDJVDQGGHZDWHUHGVOXGJHIURPSHULRGLF/*$&EDFNZDVKLQJRSHUDWLRQV7KHVSHQW/*$&
  ZLOOEHVHQWRIIVLWHWRD/*$&WKHUPDOUHDFWLYDWLRQIDFLOLW\VRWKDWWKH/*$&FDQEHUHXVHG)LOWHU
  EDJVIURPLQIOXHQWZDWHUWUHDWPHQWDQGGHZDWHUHGVOXGJHIURP/*$&EDFNZDVKLQJRSHUDWLRQVZLOO
  EHVHQWWRRIIVLWHGLVSRVDOW\SLFDOO\LQDODQGILOO

  $OWHUQDWLYH3OXPHZLGH([WUDFWLRQZLWK5HFODLPHG:DWHU(QG8VH
  $OWHUQDWLYHLQFOXGHVJURXQGZDWHUH[WUDFWLRQDWWKUHHORFDWLRQVDQGWKHGHOLYHU\RIWUHDWHGZDWHU
  IRUXVHDVUHFODLPHGZDWHUIRUQRQSRWDEOHLUULJDWLRQDQGLQGXVWULDOXVHV
  ,QDGGLWLRQWRH[WUDFWLQJJURXQGZDWHUDWWKHOHDGLQJHGJH /( RIWKH28SOXPH$OWHUQDWLYH
  ZRXOGLQFOXGHH[WUDFWLRQRIJURXQGZDWHUDWWZRDGGLWLRQDOORFDWLRQV &(DQG1( WRSUHYHQW
  VSUHDGLQJRIWKHKLJKFRQFHQWUDWLRQDUHDVRIWKHSOXPHPRUHHIIHFWLYHO\UHPRYHJURXQGZDWHU
  FRQWDPLQDQWVDQGFRQWUROYHUWLFDOPLJUDWLRQRIWKHSOXPH([WUDFWHGJURXQGZDWHUZRXOGEH
  WUHDWHGDWDFHQWUDOL]HG*:73ORFDWHGLQWKHYLFLQLW\RIWKH&(H[WUDFWLRQDUHD DOWKRXJKWKH
  VSHFLILFQXPEHUDQGORFDWLRQRIWUHDWPHQWSODQWVZRXOGEHGHWHUPLQHGGXULQJGHVLJQ 7KH
  WUHDWHGZDWHUZRXOGEHGLVFKDUJHGWRDUHFODLPHGZDWHUOLQH7KHUHFODLPHGZDWHUHQGXVH IRU
  QRQGULQNLQJSXUSRVHVVXFKDVLUULJDWLRQRULQGXVWULDOXVH XQGHUWKLVDOWHUQDWLYHZRXOGEH
  FRQVLVWHQWZLWKZDWHUFRQVHUYDWLRQHIIRUWVLQWKH&HQWUDO%DVLQ
  7KHH[WUDFWLRQV\VWHPXQGHUWKLVDOWHUQDWLYHDVVXPHVWKHUHZRXOGEHWZR1(ZHOOVZLWK
  H[WUDFWLRQUDWHVRIDSSUR[LPDWHO\JSPHDFKWZR&(ZHOOVZLWKH[WUDFWLRQUDWHVRI
  DSSUR[LPDWHO\JSPHDFKDQGWKUHH/(ZHOOVZLWKH[WUDFWLRQUDWHVRIDSSUR[LPDWHO\JSP
  HDFK7KHWRWDOH[WUDFWLRQUDWHZRXOGEHDERXWJSPIRUWKLVSOXPHZLGHH[WUDFWLRQ
  VFHQDULR$WWKH*:73WKHJURXQGZDWHUZRXOGJRWKURXJKDQLRQH[FKDQJH ,; V\VWHPWR
  UHPRYHKH[DYDOHQWFKURPLXP$23WRUHPRYHGLR[DQHELRORJLFDODQGFRQYHQWLRQDO/*$&
  WRUHPRYH92&VDQG52WUHDWPHQWWRUHGXFHVHOHQLXPDQG7'6LQFOXGLQJ62WRPHHW
  UHFODLPHGZDWHUGLVFKDUJHOLPLWV2QO\DERXWSHUFHQWRIWKHWRWDOZDWHUIORZLVWUHDWHGLQWKH
  52SURFHVVZKLOHSHUFHQWRIWKHIORZLVE\SDVVHGDURXQGWKLVWUHDWPHQWVWHS:KHQEOHQGHG
  WRJHWKHUWKHWUHDWHG52HIIOXHQWDQGWKH52E\SDVVVWUHDPZLOOPHHWHQGXVHUHTXLUHPHQWV7KLV
  DOWHUQDWLYHLQFOXGHVSLSHOLQHVWRFRQYH\WUHDWHGZDWHUWRDQHDUE\UHFODLPHGZDWHUOLQHDQGWR
  GLVFKDUJHZDVWHEULQHIURPWKH*:73WRDQHDUE\LQGXVWULDOVHZHU
  ,QDGGLWLRQWRZDVWHEULQHIURP52WUHDWPHQWRWKHUWUHDWPHQWSURFHVVUHVLGXDOVLQFOXGHVSHQW,;
  UHVLQ/*$&ILOWHUEDJVDQGGHZDWHUHGVOXGJHIURPSHULRGLF/*$&EDFNZDVKLQJRSHUDWLRQV
  6SHQW,;UHVLQZLOOEHVHQWRIIVLWHIRUUHJHQHUDWLRQZKLOHVSHQW/*$&ZLOOEHVHQWRIIVLWHWRD
  /*$&WKHUPDOUHDFWLYDWLRQIDFLOLW\VRWKDWLWFDQEHUHXVHG)LOWHUEDJVIURPLQIOXHQWZDWHU
  WUHDWPHQWDQGGHZDWHUHGVOXGJHIURP/*$&EDFNZDVKLQJRSHUDWLRQVZLOOEHVHQWWRRIIVLWH
  GLVSRVDOW\SLFDOO\LQDODQGILOO
  0LWLJDWLRQRIWKHODWHUDODQGYHUWLFDOVSUHDGLQJRIWKHSOXPHZRXOGEHJLQDVVRRQDVWKHV\VWHP
  VWDUWVRSHUDWLQJ7KHH[WUDFWLRQZHOOVZLOOLPPHGLDWHO\EHJLQWRSXOOFRQWDPLQDWHGJURXQGZDWHU
  LQWKHXSJUDGLHQWSRUWLRQRI28LQWRWKHZHOOVZKLFKZLOOSUHYHQWFRQWLQXHGYHUWLFDODQGODWHUDO
  JURXQGZDWHUPLJUDWLRQRIWKHSOXPH

                                                                                                   2-37


                                                   204                               Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 214 of 347 Page ID #:248




  $OWHUQDWLYH3OXPHZLGH([WUDFWLRQZLWK5HLQMHFWLRQ
  $OWHUQDWLYHZRXOGKDYHWKHVDPHH[WUDFWLRQZHOOQHWZRUNDV$OWHUQDWLYHEXWWKHWUHDWHGZDWHU
  ZRXOGEHUHLQMHFWHGLQWRWKHDTXLIHU$VGHVFULEHGLQWKH)6UHLQMHFWLRQZRXOGKDYHWREH
  LPSOHPHQWHGLQDPDQQHUWKDWGRHVQRWFDXVHLQWHUIHUHQFHZLWKFRQWDLQPHQWRIWKHSOXPHDQG
  GRHVQRWUHVXOWLQIXUWKHUVSUHDGLQJRIH[LVWLQJSOXPHVLQWKHVKDOORZDTXLIHU7KHUHSOHQLVKPHQW
  RIWKHGULQNLQJZDWHUDTXLIHUVXQGHUWKLVDOWHUQDWLYHZRXOGEHFRQVLVWHQWZLWKZDWHUFRQVHUYDWLRQ
  HIIRUWVLQWKH&HQWUDO%DVLQ
  7KHH[WUDFWLRQV\VWHPXQGHUWKLVDOWHUQDWLYHZRXOGEHWKHVDPHDVIRU$OWHUQDWLYHDQGKDVD
  WRWDOH[WUDFWLRQUDWHRIDSSUR[LPDWHO\JSPIRUWKHSOXPHZLGHH[WUDFWLRQ7KH*:73
  ZRXOGLQFRUSRUDWHWKHVDPHWUHDWPHQWVWHSVDVLQ$OWHUQDWLYHH[FHSWWKDWLWZRXOGXVHDPRUH
  UREXVW52V\VWHPLQVWHDGRIDQ1)SURFHVVWRSURYLGHDKLJKHUGHJUHHRIFRQWDPLQDQWUHPRYDO
  SULRUWRLQMHFWLRQRIWKHJURXQGZDWHU WKHVSHFLILFQXPEHUDQGORFDWLRQRIWUHDWPHQWSODQWVZRXOG
  EHGHWHUPLQHGGXULQJGHVLJQ 7KH6WDWHRI&DOLIRUQLD¶VDQWLGHJUDGDWLRQSROLF\KDVHVWDEOLVKHG
  ZDWHUTXDOLW\OLPLWVIRUUHLQMHFWHGZDWHUWKDWDUHVWULFWHUWKDQWKRVHIRURWKHUZDWHUHQGXVHV7KH
  WUHDWHGZDWHUZRXOGEHSXPSHGWRLQMHFWLRQZHOOV7UHDWPHQWSURFHVVUHVLGXDOVDQGWKHPDQQHULQ
  ZKLFKWKH\DUHKDQGOHGDUHVLPLODUWR$OWHUQDWLYHVDQG

  $OWHUQDWLYH3OXPHZLGH([WUDFWLRQZLWK6SUHDGLQJ%DVLQ5HFKDUJH
  $OWHUQDWLYHLVLGHQWLFDOWR$OWHUQDWLYHVDQGZLWKUHJDUGWRH[WUDFWLRQZHOOORFDWLRQVEXW
  GLIIHUVLQWKDWWKHWUHDWHGZDWHUZRXOGEHGHOLYHUHGWRWKHQHDUE\6DQ*DEULHO6SUHDGLQJ%DVLQIRU
  LQILOWUDWLRQLQWRWKHJURXQG0RUHVSHFLILFDOO\WKLVWUHDWHGZDWHUZRXOGEHGLVFKDUJHGWRWKH
  XQOLQHGSRUWLRQVRIWKH6DQ*DEULHO5LYHUWKDWDUHSDUWRIWKHUHJLRQDOVSUHDGLQJEDVLQDUHD)URP
  WKHUHWKHWUHDWHGZDWHUZRXOGLQILOWUDWHLQWRWKHGHHSGULQNLQJZDWHUDTXLIHUVRIWKH&HQWUDO
  %DVLQ7KHUHSOHQLVKPHQWRIWKHGULQNLQJZDWHUDTXLIHUVXQGHUWKLVDOWHUQDWLYHZRXOGEH
  FRQVLVWHQWZLWKZDWHUFRQVHUYDWLRQHIIRUWVLQWKH&HQWUDO%DVLQ
  7KHH[WUDFWLRQZHOOV\VWHPXQGHUWKLVDOWHUQDWLYHZRXOGKDYHDQH[WUDFWLRQUDWHWKDWLVDERXW
  SHUFHQWKLJKHUWKDQ$OWHUQDWLYHVDQGDQGSHUFHQWKLJKHUWKDQ$OWHUQDWLYH7KH
  VSUHDGLQJEDVLQDUHDVXQGHUJRURXWLQHPDLQWHQDQFHDQGDUHQRWDYDLODEOHIRUDSSUR[LPDWHO\
  ZHHNVSHU\HDU7RHQVXUHWKDWWKHSOXPHLVDGHTXDWHO\FDSWXUHGRQRYHUDOODQQXDOEDVLVWKLV
  V\VWHPZRXOGSXPSDWDQRYHUDOOH[WUDFWLRQUDWHWKDWLVDSSUR[LPDWHO\JSPWRFRPSHQVDWH
  IRUURXWLQHVSUHDGLQJEDVLQPDLQWHQDQFHSHULRGV
  7KH*:73ZRXOGLQFRUSRUDWHWKHVDPHWUHDWPHQWVWHSVDV$OWHUQDWLYH DOWKRXJKWKHVSHFLILF
  QXPEHUDQGORFDWLRQRIWUHDWPHQWSODQWVZRXOGEHGHWHUPLQHGGXULQJGHVLJQ DQGLQFOXGH,;
  $23/*$&DQG52WUHDWPHQWXQLWV$VLQ$OWHUQDWLYHRQO\DERXWSHUFHQWRIWKHWRWDO
  IORZLVHVWLPDWHGWRQHHGWUHDWPHQWLQWKH52SURFHVVWRPHHWHQGXVHUHTXLUHPHQWV7UHDWPHQW
  SURFHVVUHVLGXDOVDQGWKHPDQQHULQZKLFKWKH\DUHKDQGOHGDUHVLPLODUWR$OWHUQDWLYH

  $OWHUQDWLYH3OXPHZLGH([WUDFWLRQZLWK'ULQNLQJ:DWHU(QG8VH
  $OWHUQDWLYHZDVSUHVHQWHGDVWKH3UHIHUUHG$OWHUQDWLYHLQWKH$XJXVW3URSRVHG3ODQ,WLV
  VLPLODUWR$OWHUQDWLYHVDQGLQWKDWLWZRXOGLQFRUSRUDWHWKHVDPHSOXPHZLGHH[WUDFWLRQ
  VFHQDULRZLWKJURXQGZDWHUH[WUDFWLRQDWWKH/(&(DQG1(DUHDV$OWHUQDWLYHDOVRLVVLPLODU
  WR$OWHUQDWLYHLQWKDWJURXQGZDWHUZRXOGEHWUHDWHGDQGGLVWULEXWHGWRDPXQLFLSDOZDWHUVXSSO\
  V\VWHPDVGULQNLQJZDWHU([WUDFWHGFRQWDPLQDWHGJURXQGZDWHUZRXOGEHWUHDWHGZLWKD

                                                                                                   2-38


                                                   205                                   Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 215 of 347 Page ID #:249




  FHQWUDOL]HG*:73ORFDWHGLQWKHYLFLQLW\RIWKH&(DUHD DOWKRXJKWKHVSHFLILFQXPEHUDQG
  ORFDWLRQRIWUHDWPHQWSODQWVZRXOGEHGHWHUPLQHGGXULQJGHVLJQ 
  7KHH[WUDFWLRQV\VWHPXQGHUWKLVDOWHUQDWLYHZRXOGEHWKHVDPHDVIRU$OWHUQDWLYHVDQG
  ZLWKDWRWDOH[WUDFWLRQUDWHRIDERXWJSPIRUWKHSOXPHZLGHH[WUDFWLRQV\VWHP7KH*:73
  ZRXOGXVHWKHVDPHWUHDWPHQWWHFKQRORJLHVDVWKRVHIRXQGLQ$OWHUQDWLYHZKLFKZRXOGLQFOXGH
  DQ$23ELRORJLFDODQGFRQYHQWLRQDO/*$&1)PHPEUDQHSURFHVVDQGILQDOGLVLQIHFWLRQ
  7UHDWPHQWSURFHVVUHVLGXDOVDQGWKHPDQQHULQZKLFKWKH\DUHKDQGOHGDUHVLPLODUWR
  $OWHUQDWLYH
  
  $SSOLFDEOHRU5HOHYDQWDQG$SSURSULDWH5HTXLUHPHQWV
  7KHIROORZLQJDUHWKHNH\$SSOLFDEOHRU5HOHYDQWDQG$SSURSULDWH5HTXLUHPHQWV $5$5V WKDW
  ZRXOGDSSO\WRWKHSURSRVHGDOWHUQDWLYHVPRUHGHWDLOVIRUWKHVHDQGRWKHU$5$5VDUHSURYLGHG
  LQ7DEOHVDQG
      )HGHUDO6DIH'ULQNLQJ:DWHU$FW 6':$ 86&HWVHT(VWDEOLVKHV0&/VWR
      SURWHFWWKHTXDOLW\RIZDWHULQSXEOLFZDWHUV\VWHPV HJJ/IRU3&(μJ/IRU7&(
      VHH7DEOHVDQG 
      6WDWHRI&DOLIRUQLD'RPHVWLF:DWHU4XDOLW\DQG0RQLWRULQJ5HJXODWLRQV&&5
       DQG(VWDEOLVKHV&DOLIRUQLD0&/V2QO\WKRVHVWDWHVWDQGDUGVWKDWDUH
      LGHQWLILHGLQDWLPHO\PDQQHUDUHPRUHVWULQJHQWWKDQIHGHUDOUHTXLUHPHQWVDQGDUH
      SURPXOJDWHGDQGXQLIRUPO\DSSOLHGPD\EHUHOHYDQWDQGDSSURSULDWH HJJ/IRUWRWDO
      FKURPLXPVHH7DEOHVDQG 
      &DOLIRUQLD3RUWHU&RORJQH:DWHU4XDOLW\&RQWURO$FW&DOLIRUQLD:DWHU&RGH
      3URYLGHVVWDQGDUGVXVHGWRGHWHUPLQHGLVFKDUJHOLPLWVLIWUHDWHGJURXQGZDWHULVUHLQMHFWHGRU
      WHPSRUDULO\GLVFKDUJHGWRVXUIDFHZDWHU
  ,QDGGLWLRQ(3$LVVHOHFWLQJWKHIROORZLQJWREHFRQVLGHUHG 7%& FULWHULRQDVDSHUIRUPDQFH
  VWDQGDUGIRUWKH6HOHFWHG5HPHG\
      &'3+'ULQNLQJ:DWHU1RWLILFDWLRQ/HYHOV7KHQRWLILFDWLRQOHYHORIJ/IRU
      GLR[DQHZRXOGVHUYHDVDSHUIRUPDQFHVWDQGDUGZLWKUHVSHFWWRWKHRIIVLWHGHOLYHU\RI
      WUHDWHGZDWHUIRUXVHLQDSXEOLFZDWHUVXSSO\V\VWHP


  (VWLPDWHG&RVWVIRU5HPHGLDO$OWHUQDWLYHV
  $VXPPDU\RIWKHFDSLWDODQQXDO2 0DQGQHWSUHVHQWYDOXH 139 FRVWIRUHDFKDOWHUQDWLYHLV
  SUHVHQWHGLQ7DEOH7KHVHFRVWHVWLPDWHVDUHEDVHGRQDSHUFHQWGLVFRXQWUDWH HVVHQWLDOO\WKH
  LQWHUHVWUDWHRQLQYHVWPHQW DQG\HDU2 0SHULRG1XPHURXVDVVXPSWLRQVKDYHEHHQPDGHLQ
  HVWLPDWLQJWKHVHFRVWV'HWDLOVRIWKHFRVWHVWLPDWHVIRUHDFKDOWHUQDWLYHDUHSURYLGHGLQ
  $SSHQGL[%RIWKH)6




                                                                                                   2-39

                                             206                                Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 216 of 347 Page ID #:250




  
  Table 5. Summary Of Estimated Costs For Remedial Alternatives
  Omega Chemical Superfund Site – OU2
                                              Capital Costs                Annual O&M Costs                  Total NPV of O&M                Total Estimated NPV
             Alternative                           ($)                            ($)                               ($)                               ($)
  1 – No Action                                     0                                0                                0                                0
  2 –LE Extraction with Drinking               29,200,000                        2,000,000                       24,400,000                       53,600,000
  Water End Use
  3—Plume-wide Extraction and                  40,100,000                        3,700,000                       46,400,000                       86,600,000
  Reclaimed Water End Use
  4– Plume-wide Extraction and                 41,400,000                        2,600,000                       31,800,000                       73,200,000
  Reinjection End Use
  5 – Plume-wide Extraction with               41,600,000                        3,300,000                       41,300,000                       82,900,000
  Discharge to Spreading Basin
  6 – Plume-wide Extraction with               38,400,000                        2,500,000                       30,800,000                       69,200,000
  Drinking Water End Use
  Notes:
  (1) Capital costs and NPV have been rounded to the nearest $100,000. Annual O&M costs have been rounded to the nearest $1,000. NPV calculations assumed
  30 years of O&M at 7 percent discount rate.
  (2) Cost estimates were prepared based on an AOP treatment process designed to exceed the previous Notification Level (NL) of 3 μg/L for 1,4-dioxane. The NL
  for 1,4-dioxane has since been reduced to 1 μg/L. As a result, the AOP treatment costs for Alternatives 3, 5, and 6 will increase slightly to meet lower treatment
  limits. The estimated costs for Alternative 4 will not be impacted since its treatment level for 1,4-dioxane was already to a concentration below its NL. Overall, the
  relative cost ranking would not be impacted.




             ([SHFWHG2XWFRPHVRI(DFK$OWHUQDWLYH
  $OWHUQDWLYH
  7KH1R$FWLRQDOWHUQDWLYHGRHVQRWFRQWDLQWKHFRQWDPLQDWHGSOXPHWRDQ\H[WHQWDQGGRHVQRW
  DFKLHYHWKH5$2V$OWHUQDWLYHVHUYHVDVDEDVHOLQHIRUFRPSDULVRQZLWKWKHRWKHUDOWHUQDWLYHV
  $OWHUQDWLYH
  $OWHUQDWLYHZRXOGSURWHFWGRZQJUDGLHQWSURGXFWLRQZHOOVIURPIXWXUHFRQWDPLQDQWPLJUDWLRQ
  EXWLWDOORZVWKHVSUHDGLQJRIKLJKFRQFHQWUDWLRQ]RQHVZLWKLQWKHSOXPHWR]RQHVRIORZHU
  FRQWDPLQDQWFRQFHQWUDWLRQVDQGGRHVQRWPHHWWKHUHPHGLDODFWLRQREMHFWLYHV([WUDFWLRQDWWKH
  OHDGLQJHGJHZLOOQRWSUHYHQWXSJUDGLHQWFRQWDPLQDWLRQIURPPLJUDWLQJGRZQJUDGLHQWDQGSRVVLEO\
  PLJUDWLQJGHHSHULQWRWKHDTXLIHUGXHWRH[LVWLQJYHUWLFDOJUDGLHQWV/DWHUDOFDSWXUHFRXOGEH
  FRPSURPLVHGLIJURXQGZDWHUFRQGLWLRQVLQWKHDTXLIHUFKDQJH2YHUDOOWKLVDOWHUQDWLYHLVSUHGLFWHG
  WRDFKLHYHOHVVWKDQDGHTXDWHYHUWLFDO DVZHOODVODWHUDO FDSWXUHRIWKHFRQWDPLQDWHG
  JURXQGZDWHU
  $OWHUQDWLYHVDQG
  $OWHUQDWLYHVWKURXJKZRXOGXVHDSOXPHZLGHH[WUDFWLRQZHOOQHWZRUNWRDFKLHYHSOXPH
  FRQWDLQPHQW7KHVHDOWHUQDWLYHVZRXOGDOVRLPSHGHWKHVSUHDGRIFRQWDPLQDWLRQIURPKLJKWR
  ORZHUFRQFHQWUDWLRQ]RQHVZLWKLQ28
  )RU$OWHUQDWLYHVWKURXJKSOXPHFRQWDLQPHQWZRXOGEHJLQHVVHQWLDOO\DVVRRQDVWKHV\VWHP
  VWDUWVRSHUDWLQJ7KHH[WUDFWLRQZHOOVZLOOLPPHGLDWHO\EHJLQWRSXOOFRQWDPLQDWHGJURXQGZDWHU
  WKURXJKRXW28LQWRWKHZHOOVZKLFKZLOOSUHYHQWFRQWLQXHGYHUWLFDODQGODWHUDOJURXQGZDWHU
  PLJUDWLRQRIWKHSOXPH

                                                                                                                                                                   2-40


                                                                                  207                                                  Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 217 of 347 Page ID #:251




  $OWHUQDWLYHZRXOGSURYLGHOHVVRYHUDOOFRQWDLQPHQWWKDQ$OWHUQDWLYHVDQGEHFDXVHWKH
  DPRXQWRIZDWHUWKDWFRXOGEHH[WUDFWHGZRXOGEHFRQVWUDLQHGGXULQJSHULRGVRIOLWWOHRUQR
  GHPDQGIRUUHFODLPHGZDWHU5HFODLPHGZDWHUGHPDQGLVVHDVRQDOZLWKSHDNGHPDQGRFFXUULQJ
  GXULQJKRWZHDWKHUSHULRGVDQGPXFKORZHUGHPDQGRFFXUULQJGXULQJZHWWHUZLQWHUSHULRGV$VD
  UHVXOWJURXQGZDWHUH[WUDFWLRQDQGWUHDWPHQWRSHUDWLRQVZRXOGOLNHO\IOXFWXDWHWKURXJKRXWWKH
  \HDUEDVHGRQUHFODLPHGZDWHUGHPDQG:KHQUHFODLPHGZDWHUGHPDQGLVKLJKJURXQGZDWHU
  H[WUDFWLRQUDWHVZLOOEHKLJKDQGSOXPHFRQWDLQPHQWZLOOEHHIIHFWLYH:KHQUHFODLPHGZDWHU
  GHPDQGLVORZJURXQGZDWHUH[WUDFWLRQUDWHVZLOOEHORZDQGSOXPHFRQWDLQPHQWZLOOEH
  FRPSURPLVHG

   6XPPDU\RI&RPSDUDWLYH$QDO\VLVRI$OWHUQDWLYHV
  7KHIROORZLQJVHFWLRQVVXPPDUL]HWKHFRPSDUDWLYHDQDO\VLVRIDOWHUQDWLYHVSUHVHQWHGLQWKH
  GHWDLOHGDQDO\VLVVHFWLRQRIWKH$XJXVW5,)65HSRUW$VHSDUDWHVHFWLRQDGGUHVVHVHDFKRI
  WKHQLQHUHPHG\VHOHFWLRQFULWHULDDQG7DEOHSUHVHQWVDVXPPDU\RIWKHFRPSDUDWLYHDQDO\VLV




                                                                                                2-41


                                                  208                           Appendix A
                                  Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 218 of 347 Page ID #:252


Table 6. Comparative Analysis of Remedial Alternatives
Omega Chemical Superfund Site – OU2
                                                                                                              Reduction of Toxicity,
 Alternative      Protection of Human Health           Compliance       Long-term Effectiveness and         Mobility, or Volume Through              Short-term                                                                  Cost
                       and Environment                 with ARARs               Permanence                            Treatment                     Effectiveness                   Implementability                           (millions)
      1           NO – Provides no long-term          NO                LOW – Would allow uninhibited       Not Applicable                       Not Applicable          Not Applicable                                                      $0
                  protection of human health or                         migration of the contaminants in
  No-Action
  Alternative     the environment                                       groundwater


      2           NO – Would not achieve              YES – Meets       MEDIUM – Would achieve              MEDIUM – The treatment would         HIGH – The remedy       MEDIUM – This alternative is based on       Capital                $29.2
                  complete capture of the plume       all chemical-,    partial capture because the         reduce the toxicity and mobility     can be constructed      proven technologies for both
Leading Edge                                                                                                                                                                                                         Annual                  $2.0
                  by extraction at the leading        location-, and    vertical capture will likely be     of contaminants removed from         within 1 year of        construction and operation and can be
Extraction with                                                                                                                                                                                                      O&M
                  edge; the capture in the            action-specific   incomplete; would also allow        the extracted groundwater, but       completion of design    modified in the future, if necessary.                              $24.4
Drinking Water
                  vertical direction and lateral      ARARs.            contamination from high-            not to the extent provided by        with minimal expected   Water rights would not be an                NPV of
   End Use                                                                                                                                                                                                                                  $53.6
                  capture during changing                               concentration zones to migrate      plume-wide extraction in             impacts to the          impediment assuming that the                O&M
                  hydrogeologic conditions                              into less-contaminated zones        Alternatives 3 through 6.            environment.            purveyor(s) receiving OU2 treated           Total NPV
                  would be uncertain.                                   within the plume; the overall       Alternative 2 only extracts at the                           water use their water rights.
                                                                        plume size would initially          LE (at a lower total flow rate                               Constructability is similar to the other
                                                                        increase, then decrease.            than Alternatives 3 through 6),                              alternatives. Complicated regulatory
                                                                                                            where COC concentrations are                                 review and permitting process is
                                                                                                            much lower than within the                                   expected as CDPH Policy Memo 97-
                                                                                                            more contaminated areas of                                   005 requirements would have to be
                                                                                                            OU2 that would be pumped by                                  followed.
                                                                                                            Alternatives 3 through 6.
      3           YES – Would achieve capture         YES – Meets       HIGH – Would achieve complete       MEDIUM – The treatment would         HIGH – The remedy       LOW – This alternative is based on          Capital                $40.1
                  through extraction along the        all chemical-,    capture of the plume when           reduce the toxicity and mobility     can be constructed      proven technologies for both
 Plume-wide                                                                                                                                                                                                          Annual                  $3.7
                  longitudinal axis of the plume      location-, and    operating; would impede the         of contaminants removed from         within 1 year of        construction and operation and can be
Extraction with                                                                                                                                                                                                      O&M
                  if there is sufficient year-round   action-specific   spread of contamination from        the extracted groundwater;           completion of design    modified in the future, if necessary.                              $46.4
 Reclaimed
                  demand for reclaimed water;         ARARs.            highly contaminated zones; the      however, due to prolonged            with minimal expected   Water rights may be an issue and basin      NPV of
Water End Use                                                                                                                                                                                                                               $86.6
                  otherwise, overall plume                              downgradient portion of the         periods of reduced extraction        impacts to the          replenishment assessment fees may           O&M
                  capture efficiency would be                           plume size would initially          due to low seasonal demand for       environment.            be incurred. Coordination with Water        Total NPV
                  impaired because of                                   increase, then decrease; the low    reclaimed water, less                                        Replenishment District (WRD),
                  prolonged periods of little or                        seasonal reclaimed water            contaminant mass would be                                    Sanitation Districts of Los Angeles
                  no reclaimed water demand                             demand would necessitate lower      removed compared to the other                                County (LACSD; main supplier of
                  during which groundwater                              extraction rates, which would       alternatives.                                                regional reclaimed water), and with
                  extraction rates would be                             negatively affect the plume                                                                      purveyors would be necessary.
                  significantly curtailed; it would                     capture; as a result, the capture                                                                Constructability is similar to other
                  permanently remove                                    would likely be not as complete                                                                  alternatives. All permits are expected to
                  contamination from the                                as Alternatives 4, 5, and 6.                                                                     be acquired. This alternative has the
                  extracted groundwater.                                                                                                                                 lowest overall implementability as a
                                                                                                                                                                         stand-alone alternative. The possibility
                                                                                                                                                                         of combining this alternative with
                                                                                                                                                                         another end use alternative also has
                                                                                                                                                                         low implementability because regional
                                                                                                                                                                         reclaimed water supply far exceeds the
                                                                                                                                                                         current demand and there would be no
                                                                                                                                                                         incentive to provide additional
                                                                                                                                                                         reclaimed water to this region.




                                                                                                                                                                                                                                              2-42


                                                                                                                     209                                                                    Appendix A
                                 Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 219 of 347 Page ID #:253


Table 6. Comparative Analysis of Remedial Alternatives
Omega Chemical Superfund Site – OU2
                                                                                                            Reduction of Toxicity,
 Alternative      Protection of Human Health         Compliance       Long-term Effectiveness and         Mobility, or Volume Through           Short-term                                                                 Cost
                       and Environment               with ARARs               Permanence                            Treatment                  Effectiveness                   Implementability                          (millions)
      4           YES – Would achieve capture       YES – Meets       HIGH – Would achieve complete       HIGH – The treatment provided     HIGH – The remedy       MEDIUM – This alternative is based on      Capital                $41.4
                  through extraction along the      all chemical-,    capture of the plume; the           would reduce the toxicity and     can be constructed      proven technologies for both
 Plume-wide                                                                                                                                                                                                    Annual                  $2.6
Extraction with   longitudinal axis of the plume    location-, and    plumewide extraction can better     mobility of contaminants          within 1 year of        construction and operation and can be
                                                                                                                                                                                                               O&M
                                                    action-specific   maintain capture during             removed from the extracted        completion of design    modified in the future, if necessary.                             $31.8
 Reinjection      Would permanently remove
                                                    ARARs             changing hydrogeological            groundwater, and the mass of      with minimal expected   Water rights would not be an               NPV of                 $73.2
                  contamination from the
                                                                      conditions than the LE-only         contamination removed by the      impacts to the          impediment, but coordination with          O&M
                  extracted groundwater
                                                                      extraction under Alternative 2;     extraction wells would be high.   environment.            purveyors would be necessary.              Total NPV
                                                                      would impede the spread of                                                                    Constructability is similar to the other
                                                                      contamination from highly                                                                     alternatives. Regulatory agencies may
                                                                      contaminated zones; the                                                                       require more stringent treatment than
                                                                      downgradient portion of the                                                                   assumed in the FS. Water purveyors
                                                                      plume would initially increase in                                                             may oppose deep aquifer injection
                                                                      size, then decrease                                                                           because of the potential to spread
                                                                                                                                                                    hypothetical, yet to be identified
                                                                                                                                                                    contaminants into the aquifer.
      5           YES – Would achieve capture       YES – Meets       HIGH – Would achieve complete       HIGH – The treatment provided     HIGH – The remedy       MEDIUM – This alternative is based on      Capital                $41.6
                  through extraction along the      all chemical-,    capture of the plume; the           would reduce the toxicity and     can be constructed      proven technologies for both
 Plume-wide                                                                                                                                                                                                    Annual                  $3.3
Extraction with   longitudinal axis of the plume;   location-, and    plumewide extraction can better     mobility of contaminants          within 1 year of        construction and operation and can be
                                                                                                                                                                                                               O&M
                  would permanently remove          action-specific   maintain capture during             removed from the extracted        completion of design    modified in the future, if necessary.                             $41.3
 Discharge to
                  contamination from the            ARARs.            changing hydrogeological            groundwater, and the mass of      with minimal expected   Water rights would not be an               NPV of                 $82.9
  Spreading
                  extracted groundwater.                              conditions than the leading edge    contamination removed by the      impacts to the          impediment, but coordination with          O&M
    Basins
                                                                      only extraction under Alternative   extraction wells would be high.   environment.            purveyors would be necessary.              Total NPV
                                                                      2; would impede the spread of                                                                 Constructability is similar to the other
                                                                      contamination from highly                                                                     alternatives. Complicated regulatory
                                                                      contaminated zones; the                                                                       review and permitting process is
                                                                      downgradient portion of the                                                                   expected.
                                                                      plume would initially increase in
                                                                      size, then decrease.
      6           YES – Would achieve capture       YES – Meets       HIGH – Would achieve complete       HIGH – The treatment provided     HIGH – The remedy       MEDIUM – This alternative is based on      Capital                $38.4
                  through extraction along the      all chemical-,    capture of the plume; the           would reduce the toxicity and     can be constructed      proven technologies for both
 Plume-wide                                                                                                                                                                                                    Annual                  $2.5
                  longitudinal axis of the plume;   location-, and    plumewide extraction can better     mobility of contaminants          within 1 year of        construction and operation and can be
Extraction with                                                                                                                                                                                                O&M
                  would permanently remove          action-specific   maintain capture during             removed from the extracted        completion of design    modified in the future, if necessary.                             $30.8
Drinking Water
                  contamination from the            ARARs             changing hydrogeological            groundwater, and the mass of      with minimal expected   Water rights would not be an               NPV of
   End Use                                                                                                                                                                                                                            $69.2
                  extracted groundwater                               conditions than the leading edge    contamination removed by the      impacts to the          impediment assuming that the               O&M
                                                                      only extraction under Alternative   extraction wells would be high.   environment.            purveyor(s) receiving OU2 treated          Total NPV
                                                                      2; would impede the spread of                                                                 water use their water rights.
                                                                      contamination from highly                                                                     Constructability is similar to the other
                                                                      contaminated zones; the                                                                       alternatives. Complicated regulatory
                                                                      downgradient portion of the                                                                   review and permitting process is
                                                                      plume would initially increase in                                                             expected as CDPH Policy Memo 97-
                                                                      size, then decrease                                                                           005 requirements would have to be
                                                                                                                                                                    followed.




                                                                                                                                                                                                                                        2-43


                                                                                                            210                                                                               Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 220 of 347 Page ID #:254




   2YHUDOO3URWHFWLRQRI+XPDQ+HDOWKDQGWKH(QYLURQPHQW
  7KLVFULWHULRQDGGUHVVHVZKHWKHUHDFKDOWHUQDWLYHSURYLGHVDGHTXDWHSURWHFWLRQRIKXPDQKHDOWK
  DQGWKHHQYLURQPHQWDQGGHVFULEHVKRZULVNVSRVHGWKURXJKHDFKH[SRVXUHSDWKZD\DUH
  HOLPLQDWHGUHGXFHGRUFRQWUROOHGWKURXJKWUHDWPHQWHQJLQHHULQJFRQWUROVDQGRULQVWLWXWLRQDO
  FRQWUROV ,&V 
  $OWHUQDWLYHVWKURXJKZRXOGUHGXFHVKRUWWHUPDQGORQJWHUPULVNVWRKXPDQKHDOWKDQGWKH
  HQYLURQPHQWE\FRQWDLQLQJWKH28SOXPHDQGSUHYHQWLQJIXUWKHUVSUHDGRIFRQWDPLQDWLRQWR
  FOHDQDUHDVRIWKHGULQNLQJZDWHUDTXLIHUVDQGWRSURGXFWLRQZHOOVRXWVLGHRIWKH28SOXPH
  7KH\ZRXOGSHUPDQHQWO\UHPRYHFRQWDPLQDWLRQIURPWKHH[WUDFWHGJURXQGZDWHUDQGZRXOG
  DOORZIRUEHQHILFLDOUHXVHRIWKHWUHDWHGZDWHUZLWKLQWKHEDVLQ$OWHUQDWLYHZRXOGDFKLHYH
  RYHUDOOSURWHFWLRQRQO\LIWKHUHLVVXIILFLHQW\HDUURXQGGHPDQGIRUWKHUHFODLPHGZDWHU6LQFHWKH
  GHPDQGIRUUHFODLPHGZDWHULVW\SLFDOO\F\FOLFDOSOXPHFDSWXUHHIILFLHQF\ZRXOGEHLPSDLUHG
  DQG$OWHUQDWLYHZRXOGQRWDFKLHYHDGHTXDWHRYHUDOOSURWHFWLRQ
  $OWHUQDWLYHZRXOGQRWUHGXFHORQJWHUPULVNVWRKXPDQKHDOWKEHFDXVHLWZLOOOLNHO\QRWDFKLHYH
  FRPSOHWHSOXPHFDSWXUH YHUWLFDODQGODWHUDO DQGWKXVZLOOQRWSURWHFWGULQNLQJZDWHUDTXLIHUV
  DQGSURGXFWLRQZHOOVRXWVLGHDQGZLWKLQ28$OWHUQDWLYHZRXOGDOVRDOORZPLJUDWLRQRI
  FRQWDPLQDQWVIURPKLJKHUFRQFHQWUDWLRQVDUHDVZLWKLQWKHSOXPHWRDUHDVRIORZHUFRQFHQWUDWLRQ
  ZLWKLQWKHSOXPHZKLFKZRXOGIXUWKHUGHJUDGHWKHZDWHUTXDOLW\LQSURGXFWLRQZHOOVZLWKLQWKH
  SOXPHDQGQHDUWKHSOXPHERXQGDU\
  8QGHUDOOWKHDOWHUQDWLYHVLWLVDVVXPHGWKDWWKHSURGXFWLRQZHOOVWKDWKDYHEHHQLPSDFWHG 6)6
  DQGWKHIRXU*6:&SURGXFWLRQZHOOV ZLOOFRQWLQXHWRRSHUDWHDQGWKDWWKH\ZLOOFRQWLQXHWR
  UHTXLUHZHOOKHDGWUHDWPHQWV\VWHPV
  $OWHUQDWLYHVDQGZRXOGSURYLGHGULQNLQJZDWHUWKDWPHHWVDOOKHDOWKEDVHGVWDWHDQGIHGHUDO
  UHTXLUHPHQWV
  $OWHUQDWLYHZRXOGQRWSURYLGHORQJWHUPSURWHFWLRQRIKXPDQKHDOWKDQGHQYLURQPHQW,WZRXOG
  DOORZXQLQKLELWHGPLJUDWLRQRIWKHFRQWDPLQDQWVLQJURXQGZDWHUWRSDUWVRIWKH&HQWUDO%DVLQWKDW
  FRQWDLQGULQNLQJZDWHUDTXLIHUVDQGSURGXFWLRQZHOOV
  $VVXPPDUL]HGLQ7DEOH$OWHUQDWLYHVDQGZRXOGDFKLHYHRYHUDOOSURWHFWLRQRIKXPDQ
  KHDOWKDQGWKHHQYLURQPHQW$OWHUQDWLYHZRXOGDFKLHYHRYHUDOOSURWHFWLRQDVORQJDVWKHUHLV
  VXIILFLHQW\HDUURXQGGHPDQGIRUWKHUHFODLPHGZDWHURWKHUZLVHLWZRXOGQRWDFKLHYHRYHUDOO
  SURWHFWLRQ$OWHUQDWLYHZRXOGQRWDFKLHYHSURWHFWLRQEHFDXVHLWLVSUHGLFWHGWRDFKLHYHOHVVWKDQ
  DGHTXDWHYHUWLFDO DVZHOODVODWHUDO FDSWXUHRIWKHFRQWDPLQDWHGJURXQGZDWHU$OWHUQDWLYH
  ZRXOGQRWDFKLHYHRYHUDOOSURWHFWLRQ
   &RPSOLDQFHZLWK$5$5V
  6HFWLRQ G RI&(5&/$DQG1&3 I  LL % UHTXLUHWKDWUHPHGLDODFWLRQVDW
  &(5&/$VLWHVDWOHDVWDWWDLQOHJDOO\DSSOLFDEOHRUUHOHYDQWDQGDSSURSULDWHIHGHUDODQGVWDWH
  UHTXLUHPHQWVVWDQGDUGVFULWHULDDQGOLPLWDWLRQVZKLFKDUHFROOHFWLYHO\UHIHUUHGWRDV$5$5V
  XQOHVVVXFK$5$5VDUHZDLYHG
  $SSOLFDEOHUHTXLUHPHQWVDUHWKRVHFOHDQXSVWDQGDUGVVWDQGDUGVRIFRQWURODQGRWKHUVXEVWDQWLYH
  UHTXLUHPHQWVFULWHULDRUOLPLWDWLRQVSURPXOJDWHGXQGHUIHGHUDOHQYLURQPHQWDORUVWDWH


                                                                                                  2-44


                                                211                              Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 221 of 347 Page ID #:255




  HQYLURQPHQWDORUIDFLOLW\VLWLQJODZVWKDWVSHFLILFDOO\DGGUHVVDKD]DUGRXVVXEVWDQFHSROOXWDQW
  FRQWDPLQDQWUHPHGLDODFWLRQORFDWLRQRURWKHUFLUFXPVWDQFHIRXQGDWD&(5&/$VLWH2QO\
  WKRVHVWDWHVWDQGDUGVWKDWDUHLGHQWLILHGE\DVWDWHLQDWLPHO\PDQQHUDQGWKDWDUHPRUHVWULQJHQW
  WKDQIHGHUDOUHTXLUHPHQWVPD\EHDSSOLFDEOH
  5HOHYDQWDQGDSSURSULDWHUHTXLUHPHQWVDUHWKRVHFOHDQXSVWDQGDUGVVWDQGDUGVRIFRQWURODQG
  RWKHUVXEVWDQWLYHUHTXLUHPHQWVFULWHULDRUOLPLWDWLRQVSURPXOJDWHGXQGHUIHGHUDOHQYLURQPHQWDO
  RUVWDWHHQYLURQPHQWDORUIDFLOLW\VLWLQJODZVWKDWZKLOH not “applicable”WRDKD]DUGRXV
  VXEVWDQFHSROOXWDQWFRQWDPLQDQWUHPHGLDODFWLRQORFDWLRQRURWKHUFLUFXPVWDQFHDWD&(5&/$
  VLWHDGGUHVVSUREOHPVRUVLWXDWLRQVVXIILFLHQWO\VLPLODUWRWKRVHHQFRXQWHUHGDWWKH&(5&/$VLWH
  WKDWWKHLUXVHLVZHOOVXLWHGWRWKHSDUWLFXODUVLWH2QO\WKRVHVWDWHVWDQGDUGVWKDWDUHLGHQWLILHGLQD
  WLPHO\PDQQHUDQGDUHPRUHVWULQJHQWWKDQIHGHUDOUHTXLUHPHQWVPD\EHUHOHYDQWDQGDSSURSULDWH
  7KHʊ&R  PSOLDQFHZLWK$5$Rs” crLWHULRQDGGUHVVHVZKHWKHUDQDOWHUQDWLYHZLOOPHHWDOORIWKH
  LGHQWLILHG$5$5VRURWKHUIHGHUDODQGVWDWHHQYLURQPHQWDOVWDWXWHVRUSURYLGHVDEDVLVIRU
  LQYRNLQJDZDLYHU
  $OODOWHUQDWLYHVH[FHSWWKHQRDFWLRQDOWHUQDWLYH $OWHUQDWLYH KDGFRPPRQ$5$5VDVVRFLDWHG
  ZLWKWKHFRQVWUXFWLRQDQGRSHUDWLRQRIDSXPSDQGWUHDWV\VWHPIRUFRQWDPLQDWHGJURXQGZDWHU
  0RVWRIWKH$5$5VDUHDVVRFLDWHGZLWKWKHHQGXVHRIWUHDWHGJURXQGZDWHUDQGPDQDJHPHQWDQG
  GLVSRVDORIWUHDWPHQWUHVLGXDOV$OWHUQDWLYHVWKURXJKZRXOGPHHWDOOFKHPLFDOORFDWLRQDQG
  DFWLRQVSHFLILF$5$5VIRUDQLQWHULPDFWLRQFRQWDLQPHQWUHPHG\
  3HUPLWVZRXOGQRWEHUHTXLUHGIRUWKHSRUWLRQRIWKHLQWHULPUHPHG\FRQGXFWHGHQWLUHO\RQVLWH
  1RFKHPLFDOORFDWLRQRUDFWLRQVSHFLILF$5$5VDSSO\WR$OWHUQDWLYH
  $OWHUQDWLYHVWKURXJKZRXOGDOOHTXDOO\VDWLVI\$5$5V
   /RQJ7HUP(IIHFWLYHQHVVDQG3HUPDQHQFH
  7KLVFULWHULRQDVVHVVHVWKHUHVLGXDOULVNDQGWKHDELOLW\RIDUHPHG\WRPDLQWDLQUHOLDEOH
  SURWHFWLRQRIKXPDQKHDOWKDQGWKHHQYLURQPHQWRYHUWLPHRQFHWKH5$2VDUHPHW5HVLGXDOULVN
  FDQUHVXOWIURPH[SRVXUHWRXQWUHDWHGZDVWHRUWUHDWPHQWUHVLGXDOV7KHPDJQLWXGHRIWKHULVN
  GHSHQGVRQWKHQDWXUHDQGTXDQWLW\RIWKHZDVWHVDQGWKHDGHTXDF\DQGUHOLDELOLW\RIFRQWUROVLI
  DQ\WKDWDUHXVHGWRPDQDJHXQWUHDWHGZDVWHDQGWUHDWPHQWUHVLGXDOV)RUWKLV,QWHULP5HPHG\
  XQWUHDWHGZDVWHUHIHUVWRWKHFRQWDPLQDWHGJURXQGZDWHUWKDWLVQRWUHPRYHG RUWUHDWHG IURPWKH
  DTXLIHU
  7KHSHUIRUPDQFHRIWKHDOWHUQDWLYHVLQUHODWLRQWRWKLVFULWHULRQZDVHYDOXDWHGEDVHGRQWKHH[WHQW
  WRZKLFKHDFKDOWHUQDWLYHUHPRYHVFRQWDPLQDWLRQIURPWKHDTXLIHUFRQWDLQVWKH28SOXPHDQG
  SUHYHQWVFRQWDPLQDWHGJURXQGZDWHUIURPPLJUDWLQJLQWRFOHDQDQGOHVVFRQWDPLQDWHGDUHDV
  $OWHUQDWLYHVDQGZRXOGSHUPDQHQWO\UHPRYHFRQWDPLQDQWVIURPWKHH[WUDFWHG
  JURXQGZDWHUDQGZRXOGDFKLHYHYDU\LQJEXWJHQHUDOO\KLJKGHJUHHVRIORQJWHUPHIIHFWLYHQHVV
  DQGSHUPDQHQFH$OWHUQDWLYHZRXOGQRWUHPRYHDVPXFKFRQWDPLQDWLRQDVWKHRWKHU
  DOWHUQDWLYHVEHFDXVHLWZRXOGH[WUDFWUHODWLYHO\ORZOHYHOFRQWDPLQDWHGJURXQGZDWHUIURPWKH
  OHDGLQJHGJHRQO\$OWHUQDWLYHVDQGDUHUDQNHG+LJKZLWKUHVSHFWWRWKLVFULWHULRQ
  EHFDXVHWKHLQVWDOODWLRQRIH[WUDFWLRQZHOOVWKURXJKRXWWKHSOXPHZLOOUHVXOWLQLPPHGLDWH



                                                                                                        2-45


                                                     212                              Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 222 of 347 Page ID #:256




  FRQWDLQPHQWRIWKHPRUHKLJKO\FRQWDPLQDWHGJURXQGZDWHUDQGSURYLGHPRUHFHUWDLQW\ZLWK
  UHVSHFWWRSUHYHQWLQJLWVYHUWLFDODQGODWHUDOPLJUDWLRQ
  7KHHQYLURQPHQWDOLPSDFWVRIFOHDQXSDFWLYLWLHVZHUHDVVHVVHGDQGIRXQGWREHDERXWWKHVDPH
  IRUHDFKDOWHUQDWLYH H[FHSWWKH1R$FWLRQDOWHUQDWLYH EHFDXVHDOOWKHDOWHUQDWLYHVKDYHVLPLODU
  HQHUJ\XVHDQGH[WHQWRIFRQVWUXFWLRQDFWLYLWLHVDQGWKH\DOOLQFRUSRUDWHFRQVHUYDWLRQRI
  JURXQGZDWHUUHVRXUFHV$OWHUQDWLYHZLWKH[WUDFWLRQRQO\DWWKHOHDGLQJHGJHKDGDORZHU
  HQYLURQPHQWDOIRRWSULQW EHFDXVHLWUHTXLUHVOHVVSLSLQJDQGHQHUJ\FRQVXPSWLRQ WKDQ
  $OWHUQDWLYHVDQG
  7KHVXVWDLQDELOLW\DVVHVVPHQWRIWKHDFWLRQDOWHUQDWLYHVLVSUHVHQWHGLQGHWDLOLQ$SSHQGL[&RI
  WKH)6
   5HGXFWLRQRI7R[LFLW\0RELOLW\RU9ROXPHWKURXJK7UHDWPHQW
  7KLVFULWHULRQDGGUHVVHVWKHSUHIHUHQFHDVVWDWHGLQWKH1&3IRUVHOHFWLQJUHPHGLDODFWLRQV
  HPSOR\LQJWUHDWPHQWWHFKQRORJLHVWKDWSHUPDQHQWO\DQGVLJQLILFDQWO\UHGXFHWKHWR[LFLW\
  PRELOLW\RUYROXPHRIWKHKD]DUGRXVVXEVWDQFHVDVDSULQFLSDOHOHPHQWRIWKHDFWLRQ7KLV
  SUHIHUHQFHLVVDWLVILHGZKHQWUHDWPHQWLVXVHGWRUHGXFHWKHSULQFLSDOWKUHDWVDWDVLWHWKURXJK
  GHVWUXFWLRQRIWR[LFFRQWDPLQDQWVUHGXFWLRQRIWRWDOPDVVRIWR[LFFRQWDPLQDQWVLUUHYHUVLEOH
  UHGXFWLRQLQFRQWDPLQDQWPRELOLW\RUUHGXFWLRQRIWRWDOYROXPHRIFRQWDPLQDWHGPHGLD
  $OWHUQDWLYHZRXOGQRWSURYLGHDQ\WUHDWPHQWDQGWKHUHIRUHUDQNV/RZZLWKUHVSHFWWRWKLV
  FULWHULRQ
  7KHWUHDWPHQWPHWKRGVLQ$OWHUQDWLYHVWKURXJKZRXOGSHUPDQHQWO\UHPRYHFRQWDPLQDQWV
  IURPWKHH[WUDFWHGJURXQGZDWHU7KHWUHDWPHQWWHFKQRORJLHVXVHGLQWKHGHYHORSPHQWRIWKH
  DOWHUQDWLYHVDUHEDVHGRQWKHYDULRXVHQGXVHUHTXLUHPHQWV(DFKZRXOGUHPRYHFRQWDPLQDQWV
  VXFKDV692&V92&VGLR[DQH$23E\SURGXFWVVHOHQLXPKH[DYDOHQWFKURPLXPDQGRWKHU
  PHWDOV7KHWUHDWHGHIIOXHQWFRQFHQWUDWLRQVIRUDOORIWKHDFWLRQDOWHUQDWLYHVDUHH[SHFWHGWREH
  EHORZ0&/VDQGZRXOGDOVRQHHGWRPHHWRWKHUDSSOLFDEOHGLVFKDUJHVWDQGDUGV
  $OWHUQDWLYHUDQNVORZHUWKDQ$OWHUQDWLYHVWKURXJKEHFDXVH$OWHUQDWLYHZRXOGRQO\H[WUDFW
  JURXQGZDWHUIURPWKHOHDGLQJHGJHRIWKHSOXPHZKHUH&2&FRQFHQWUDWLRQVDUHVLJQLILFDQWO\
  ORZHUWKDQLQWKHKRWVSRWDUHDVWKDWDUHFDSWXUHGE\WKH&(DQG1(H[WUDFWLRQZHOOORFDWLRQV
  LQFOXGHGLQ$OWHUQDWLYHVWKURXJK
  $OWHUQDWLYHLQFOXGHVSOXPHZLGHH[WUDFWLRQKRZHYHULWZRXOGSURYLGHDORZHUGHJUHHRI&2&
  UHGXFWLRQVRIDOOWKHSOXPHZLGHH[WUDFWLRQDOWHUQDWLYHV $OWHUQDWLYHVDQG EHFDXVHRI
  SURORQJHGSHULRGVRIOLWWOHRUQRH[WUDFWLRQDQGWUHDWPHQWGXHWRORZVHDVRQDOGHPDQGVIRU
  UHFODLPHGZDWHU
  $OWHUQDWLYHVDQGLQFOXGHSOXPHZLGHH[WUDFWLRQDQGZRXOGSURYLGHDJUHDWHUGHJUHHRI
  &2&UHGXFWLRQVWKDQ$OWHUQDWLYHVDQG8QGHU$OWHUQDWLYHWUHDWHGHIIOXHQWUHLQMHFWHGLQWR
  WKHDTXLIHUZRXOGPHHWWKHVDPHRUORZHUFRQFHQWUDWLRQVIRUWKRVHFRQWDPLQDQWVWKDWDUHSUHVHQW
  ZKHUHUHLQMHFWLRQLVRFFXUULQJLQWKHDTXLIHU)RUH[DPSOH&2&VQRWSUHVHQWLQWKHGHHSDTXLIHU
  ZRXOGEHWUHDWHGWRQRQGHWHFW 1' OHYHOVSULRUWRUHLQMHFWLRQVRDVQRWWRGHJUDGHWKHZDWHU
  TXDOLW\LQWKHGHHSDTXLIHU$FRPSUHKHQVLYHFKDUDFWHUL]DWLRQRIWKHUHLQMHFWLRQ]RQHZRXOGEH
  FRPSOHWHGGXULQJUHPHGLDOGHVLJQWRGHWHUPLQHWKHWUHDWPHQWUHTXLUHPHQWV



                                                                                                      2-46


                                                   213                                 Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 223 of 347 Page ID #:257




  2YHUDOO$OWHUQDWLYHUDQNVWKHORZHVWRIDOOWKHDFWLRQDOWHUQDWLYHVIRUWKLVFULWHULRQEHFDXVHWKH
  FRQFHQWUDWLRQRIJURXQGZDWHUFRQWDPLQDWLRQH[WUDFWHGFRPSDUHGWRWKHSOXPHZLGHH[WUDFWLRQ
  VFHQDULRVZRXOGEHORZHURUOHVVFRQFHQWUDWHG$OWHUQDWLYHZKLFKLQFOXGHVSOXPHZLGH
  H[WUDFWLRQUDQNVKLJKHUWKDQ$OWHUQDWLYHEXWORZHUWKDQ$OWHUQDWLYHVDQGEHFDXVHWKHUH
  ZRXOGEHORQJSHULRGVRIOLWWOHRUQRH[WUDFWLRQGXHWRVHDVRQDOGHPDQGVIRUUHFODLPHGZDWHU
  $OWHUQDWLYHVDQGDUHHTXDOWRHDFKRWKHUIRUWKLVFULWHULRQDQGUDQNKLJKHUWKDQ
  $OWHUQDWLYHVDQGEHFDXVHWKH\ZRXOGH[WUDFWDQGWUHDWWKHPRVWFRQWDPLQDWHGZDWHUDQGWKH
  ODUJHVWJURXQGZDWHUYROXPHVFRPSDUHGWRWKHRWKHUDOWHUQDWLYHV
   6KRUW7HUP(IIHFWLYHQHVV
  7KLVFULWHULRQHYDOXDWHVWKHHIIHFWVRIHDFKUHPHGLDODOWHUQDWLYHRQKXPDQKHDOWKDQGWKH
  HQYLURQPHQWGXULQJFRQVWUXFWLRQDQGRSHUDWLRQDVZHOODVWKHWLPHUHTXLUHGWRPHHWWKH5$2V
  $OWHUQDWLYHZRXOGQRWLQFOXGHDQ\FRQVWUXFWLRQRURWKHUUHVSRQVHDFWLRQVWKHUHIRUHWKHUH
  ZRXOGEHQRVKRUWWHUPDGYHUVHLPSDFWVWRWKHFRPPXQLW\RUWRKXPDQKHDOWKRUWKHHQYLURQPHQW
  DVDUHVXOWRIWKLVDOWHUQDWLYH
  $OWHUQDWLYHVWKURXJKZRXOGDOOUHTXLUHWKHFRQVWUXFWLRQRIRQHWUHDWPHQWSODQWRIVLPLODUVL]H
  $OWHUQDWLYHZRXOGUHTXLUHWKHLQVWDOODWLRQRIH[WUDFWLRQZHOOVLQRQHDUHD QHDUWKHOHDGLQJHGJH
  RIWKHSOXPH DQGFRQVWUXFWLRQRIDQHVWLPDWHGIHHWRISLSHOLQH$OWHUQDWLYHVWKURXJK
  ZRXOGUHTXLUHWKHLQVWDOODWLRQRIH[WUDFWLRQZHOOVWKURXJKRXWWKHSOXPH UHSUHVHQWHGE\WKHWKUHH
  DUHDV²/(&(DQG1( DQGFRQVWUXFWLRQRIDQHVWLPDWHGDQG
  IHHWRISLSHOLQHUHVSHFWLYHO\7KHUHTXLUHPHQWVIRUSLSHOLQHFRQVWUXFWLRQDQGZHOOLQVWDOODWLRQ
  XQGHU$OWHUQDWLYHVWKURXJKDUHDSSUR[LPDWHO\GRXEOHWKRVHIRU$OWHUQDWLYH
  ,QDGGLWLRQWKH)6HVWLPDWHGWKDW$OWHUQDWLYHZRXOGUHTXLUHWKHLQVWDOODWLRQRIWZRLQMHFWLRQ
  ZHOOV DOWKRXJKWKHDFWXDOQXPEHUZRXOGEHGHWHUPLQHGGXULQJGHVLJQ 
  ,WZDVHVWLPDWHGLQWKH)6WKDWDOOWKHUHPHG\FRPSRQHQWVFRXOGEHFRQVWUXFWHGZLWKLQ\HDURI
  DSSURYDORIILQDOGHVLJQVIRUHDFKRIWKH$OWHUQDWLYHVWKURXJK$OOFRQVWUXFWLRQDFWLYLWLHV
  ZRXOGWDNHSODFHZLWKLQGHYHORSHGDUHDVZLWKPLQLPDOH[SHFWHGLPSDFWVWRWKHHQYLURQPHQW
  1RLVHDQGGXVWDEDWHPHQWDORQJZLWKPDQDJHPHQWDQGRIIVLWHGLVSRVDORIWKHFRQWDPLQDWHGGULOO
  FXWWLQJVDQGSXUJHZDWHUZRXOGEHUHTXLUHGWRPLQLPL]HLPSDFWVWRWKHFRPPXQLW\GXULQJ
  UHPHG\FRQVWUXFWLRQ6WDQGDUG862FFXSDWLRQDO6DIHW\DQG+HDOWK$GPLQLVWUDWLRQ 26+$ 
  UHTXLUHPHQWVZRXOGEHSURWHFWLYHRIZRUNHUVGXULQJWKHFRQVWUXFWLRQ
  5HGXFWLRQRIWKHHQYLURQPHQWDOLPSDFWVRIWKHVHOHFWHGDOWHUQDWLYHZLOOEHFRQVLGHUHGGXULQJWKH
  5'SKDVHDQGLQWHJUDWHGLQWRWKHGHVLJQDQGRSHUDWLRQRIWKHJURXQGZDWHUH[WUDFWLRQDQG
  WUHDWPHQWV\VWHP)RUH[DPSOHWKHXVHRIDOWHUQDWLYHHQHUJ\VRXUFHVDQGORZHQHUJ\FRQVXPLQJ
  HTXLSPHQW VXFKDVYDULDEOHIUHTXHQF\PRWRUV FDQEHFRXSOHGZLWKRSWLPXPSLSHOLQHURXWLQJ
  VL]LQJDQGPDWHULDOVHOHFWLRQ LQFOXGLQJWKHXVHRIUHF\FOHGFRQVWUXFWLRQPDWHULDOV WRORZHUWKH
  HQYLURQPHQWDOIRRWSULQWRIWKHUHPHG\
  $OWHUQDWLYHVWKRXJKUDQN+LJKRQVKRUWWHUPHIIHFWLYHQHVV$OWHUQDWLYHLVQRWUDQNHG




                                                                                                      2-47


                                                   214                                  Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 224 of 347 Page ID #:258




   ,PSOHPHQWDELOLW\
  7KLVFULWHULRQDGGUHVVHVWKHWHFKQLFDODQGDGPLQLVWUDWLYHIHDVLELOLW\RILPSOHPHQWLQJDQ
  DOWHUQDWLYHDQGWKHDYDLODELOLW\RIYDULRXVVHUYLFHVDQGPDWHULDOVUHTXLUHGGXULQJLWV
  LPSOHPHQWDWLRQ
  7KH1R$FWLRQ$OWHUQDWLYHLVE\GHILQLWLRQLPSOHPHQWDEOH
  7KHIROORZLQJFULWHULDDUHFRPPRQWR$OWHUQDWLYHVWKURXJK
     7KH\DUHEDVHGRQSURYHQWHFKQRORJLHVIRUERWKFRQVWUXFWLRQDQGRSHUDWLRQ
     7KH\FDQPHHWIHGHUDOVWDWHDQGORFDOSHUPLWWLQJUHTXLUHPHQWV$OWKRXJKSHUPLWVZRXOGQRW
     EHUHTXLUHGIRUDQ\SRUWLRQRIWKHUHPHGLDODFWLRQFRQGXFWHGHQWLUHO\RQVLWHFRPSOLDQFHZLWK
     WKHVXEVWDQWLYHDVSHFWVRIDOOSRWHQWLDO$5$5V LQFOXGLQJWKRVHLQYROYLQJSHUPLWV LV
     UHTXLUHG
     7KH\ZRXOGUHTXLUHDFFHVVWRZDWHUULJKWVREWDLQHGIURPDZDWHUULJKWVKROGHUE\DJUHHPHQW
     7KH\ZRXOGJHQHUDWHZDVWHEULQHDVDE\SURGXFWRIWKH7'6UHGXFWLRQ$OWKRXJKE\SROLF\
     /$&6'JHQHUDOO\SUHIHUVQRWWRDFFHSWJURXQGZDWHULQWRLWVSXEOLFO\RZQHGWUHDWPHQWZRUNV
      327: V\VWHPLWLVYHU\OLNHO\WKDWWKHDJHQF\ZRXOGDFFHSWWKLVZDVWHZDWHUEHFDXVHLWLV
     ZDVWHZDWHUJHQHUDWHGDVSDUWRIDZDWHUUHXVHHIIRUW7KLVZDWHUZRXOGTXDOLI\IRUD
     1RQFRQVXPSWLYH:DWHU8VH 1:8 3HUPLWZKLFKPXVWEHUHQHZHGSHULRGLFDOO\
  $OWHUQDWLYHVDQGGRQRWLQYROYHFRQVXPSWLYHZDWHUXVHDQGZRXOGUHTXLUHD1:83HUPLWIRU
  WKHHQWLUHH[WUDFWHGYROXPH
  7UHDWPHQWRIJURXQGZDWHUIURPDQLPSDLUHGVRXUFHIRUSRWDEOHXVHXQGHU$OWHUQDWLYHVDQG
  ZRXOGUHTXLUHWKHSUHSDUDWLRQRID&'3+SHUPLWDSSOLFDWLRQDQGLPSOHPHQWDWLRQRILWV
  UHTXLUHPHQWVLQFOXGLQJH[WHQVLYHPRQLWRULQJDQGWHVWLQJSURYLVLRQV
  7KHGHPDQGIRUUHFODLPHGZDWHUJHQHUDWHGXQGHU$OWHUQDWLYHLVFXUUHQWO\PXFKORZHUWKDQWKH
  H[LVWLQJDYDLODEOHVXSSO\,QDGGLWLRQUHFODLPHGZDWHUGHPDQGKDVKLJKVHDVRQDOIOXFWXDWLRQV
  WKDWZRXOGLPSDLUSOXPHFDSWXUHHIILFLHQF\
  7KHUHLQMHFWLRQRIWUHDWHGZDWHUXQGHU$OWHUQDWLYHDQGWKHGLVFKDUJHWRVSUHDGLQJEDVLQVXQGHU
  $OWHUQDWLYHZRXOGUHTXLUHH[WHQVLYHWHVWLQJDQGDFRPSOLFDWHGUHJXODWRU\UHYLHZDQGSHUPLWWLQJ
  SURFHVV
  7KHUHJXODWRU\DQGSHUPLWWLQJUHTXLUHPHQWVDUHWKHPDLQGLVWLQJXLVKLQJIDFWRUVIRUWKH
  LPSOHPHQWDELOLW\RI$OWHUQDWLYHVWKURXJK%DVHGRQWKHVHIDFWRUV$OWHUQDWLYHVDQG
  UDQN0HGLXPIRUWKLVFULWHULRQ)RU$OWHUQDWLYHKRZHYHUWKHODFNRIDFRQVLVWHQWDQGODUJH
  HQRXJKGHPDQGIRUUHFODLPHGZDWHULVSUREOHPDWLFUHVXOWLQJLQD/RZUDQNLQJ$OWHUQDWLYHLV
  QRWUDQNHG
   &RVW
  7KHHVWLPDWHG139RIWKHDOWHUQDWLYHVQRWLQFOXGLQJWKH1R$FWLRQDOWHUQDWLYHUDQJHIURP
  PLOOLRQWRPLOOLRQ7KHPDLQFRVWGLIIHUHQFHVDPRQJWKHDOWHUQDWLYHVDULVHIURPWKH
  GLIIHUHQWOHQJWKVRISLSHOLQHVGLIIHUHQWWUHDWPHQWUHTXLUHPHQWVGULYHQE\WKHHQGXVHRIWKH
  WUHDWHGZDWHUDQGUHSOHQLVKPHQWIHHV$OWHUQDWLYHKDVWKHORZHVWFDSLWDODQG2 0FRVWV
  EHFDXVHWKHLQIOXHQW92&FRQFHQWUDWLRQVZRXOGEHORZHULQFRPSDULVRQWKHLQIOXHQW


                                                                                                  2-48


                                                   215                               Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 225 of 347 Page ID #:259




  FRQFHQWUDWLRQVXQGHU$OWHUQDWLYHVWKURXJK7KHFDSLWDOFRVWVIRU$OWHUQDWLYHVWKURXJKDUH
  VLPLODUGXHWRURXJKO\WKHVDPHH[WUDFWLRQDQGPRQLWRULQJZHOOQHWZRUNDQGVLPLODUWUHDWPHQW
  SODQWVL]HDQGOHQJWKRISLSLQJ7KHFRVWVIRU$OWHUQDWLYHLQFOXGHWKHLQVWDOODWLRQRIWZR
  LQMHFWLRQZHOOVWKHFRVWRISLSHOLQHVLVORZHULQFRPSDULVRQWR$OWHUQDWLYHVDQG7KH
  2 0FRVWVIRU$OWHUQDWLYHLQFOXGHDUHSOHQLVKPHQWDVVHVVPHQWRISHUDFUHIRRW7KH
  FRVWVIRU$OWHUQDWLYHVDQGH[FOXGHWKHUHSOHQLVKPHQWDVVHVVPHQWIHHEDVHGRQWKHDVVXPSWLRQ
  WKDWWKHZDWHUSXUYH\RU V UHFHLYLQJWKHSRWDEOHZDWHUIURPWKH,QWHULP5HPHG\ZRXOGXVHWKHLU
  H[LVWLQJZDWHUULJKWV
   6WDWH$FFHSWDQFH
  '76&DVWKHOHDGDJHQF\IRUWKH6WDWHKDVFRQFXUUHGZLWK(3$¶VFKRLFHRI$OWHUQDWLYH
   SOXPHZLGHH[WUDFWLRQZLWKGULQNLQJZDWHUHQGXVH DVWKHVHOHFWHGUHPHG\'76&VXSSRUWVWKH
  ,QWHULP5HPHG\DQGUHFRJQL]HVLWLVFRQWLQJHQWXSRQRQHRUPRUHORFDOZDWHUSXUYH\RUV
  DJUHHLQJWRDFFHSWWKHWUHDWHGZDWHU,IDQDJUHHPHQWZLWKWKHZDWHUSXUYH\RU V FDQQRWEH
  UHDFKHGLQDWLPHO\PDQQHU'76&VXSSRUWVWKHDOWHUQDWLYHHQGXVHRIUHLQMHFWLQJWKHWUHDWHG
  ZDWHULQWRWKHDTXLIHU
   &RPPXQLW\$FFHSWDQFH
  7KLVFULWHULRQHYDOXDWHVWKHLVVXHVDQGFRQFHUQVWKHSXEOLFH[SUHVVHGGXULQJWKHSXEOLFFRPPHQW
  SHULRGUHJDUGLQJHDFKDOWHUQDWLYH,QUHVSRQVHWRYDULRXVUHTXHVWV(3$DJUHHGWRWZRH[WHQVLRQV
  DOORZLQJVXEPLWWDORIFRPPHQWVRQLWV3URSRVHG3ODQIURP$XJXVWWR1RYHPEHU
  'XULQJWKDWWLPH(3$UHFHLYHGOHWWHUVIURPVWDNHKROGHUVDQGRQHORFDOFRQVXOWDQWZLWK
  FRPPHQWVRQWKH3URSRVHG3ODQ7KHFRPPHQWVIURP353VLQFOXGHGWKHLUEHOLHIWKDWWKHH[WHQW
  RIWKHVHOHFWHG,QWHULP5HPHG\LVXQQHFHVVDU\DQGWKDWDPXFKVPDOOHUSOXPHDUHDVKRXOGEH
  FRQWDLQHG&RPPHQWVIURPZDWHUSXUYH\RUVDQGRWKHUVWDNHKROGHUVLQFOXGHGFRQFHUQVWKDWWKH
  VFRSHRIWKH,QWHULP5HPHG\LVWRROLPLWHGDQGQRWVXIILFLHQWO\SURWHFWLYHRISURGXFWLRQZHOOV
  2WKHUFRPPHQWVLQFOXGHGWKHGHVLUHWRLPSOHPHQWWKHUHPHG\LPPHGLDWHO\WRSURWHFWGULQNLQJ
  ZDWHUZHOOVFRQFHUQVWKDWWKHUHPHG\PD\UHTXLUHH[WHQVLYHHIIRUWDQGWLPHWRLPSOHPHQWDQG
  FRQFHUQWKDWWKHOHQJWKDQGGHSWKRIWKHSOXPHHVSHFLDOO\QHDUWKHOHDGLQJHGJHPD\EHIXUWKHU
  DQGGHHSHUWKDQZKDWZDVGHWHUPLQHGLQWKH5,)62QHFRPPHQWHUSURSRVHGDVHYHQWK
  DOWHUQDWLYH2WKHUFRPPHQWHUVH[SUHVVHGDSUHIHUHQFHIRUDFRPELQDWLRQRIDOWHUQDWLYHV(3$
  KDVDGGUHVVHGDOORIWKHVLJQLILFDQWFRPPHQWVUHFHLYHGLQWKH5HVSRQVLYHQHVV6XPPDU\6HFWLRQ
  RIWKLV52'(3$GRHVQRWEHOLHYHWKDWDQ\RIWKHLVVXHVDQGFRQFHUQVUDLVHGZDUUDQWV
  VHOHFWLRQRIDQ,QWHULP5HPHG\RWKHUWKDQ(3$¶VSUHIHUUHG$OWHUQDWLYH

   3ULQFLSDO7KUHDW:DVWHV
  7KH1&3HVWDEOLVKHVDQH[SHFWDWLRQWKDW(3$ZLOOXVHWUHDWPHQWWRDGGUHVVWKHSULQFLSDOWKUHDWV
  SRVHGE\DVLWHZKHUHYHUSUDFWLFDEOH7KHʊSU  LQFLSDOWKUHat” cRQFHSW KLJKO\WR[LFRUKLJKO\
  PRELOHZDVWHVWKDWFDQQRWEHUHOLDEO\FRQWDLQHG LVDSSOLHGWRWKHFKDUDFWHUL]DWLRQRIʊVRXU FH
  PDWHULDls”DWD6XSHUIXQGVLWH$VRXUFHPDWHULDOLVPDWHULDOWKDWLQFOXGHVRUFRQWDLQVKD]DUGRXV
  VXEVWDQFHVSROOXWDQWVRUFRQWDPLQDQWVWKDWDFWDVDUHVHUYRLUIRUPLJUDWLRQRIFRQWDPLQDWLRQWR
  JURXQGZDWHUVXUIDFHZDWHURUDLURUDFWVDVDVRXUFHIRUGLUHFWH[SRVXUH&RQWDPLQDWHG
  JURXQGZDWHUJHQHUDOO\LVQRWFRQVLGHUHGWREHDVRXUFHPDWHULDOKRZHYHU1$3/VLQ
  JURXQGZDWHUPD\EHYLHZHGDVVRXUFHPDWHULDO%HFDXVH28LVDSOXPHRIFRQWDPLQDWHG


                                                                                                  2-49



                                                  216                                Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 226 of 347 Page ID #:260




  JURXQGZDWHUDQG1$3/KDVQRWEHHQGHWHFWHGLQJURXQGZDWHULQ28SULQFLSDOWKUHDWZDVWHVDUH
  QRWFRQVLGHUHGWREHSUHVHQWZLWKLQ28

   6HOHFWHG5HPHG\
  (3$¶VVHOHFWHG,QWHULP5HPHG\IRU28LV$OWHUQDWLYHZLWKDGGHGIOH[LELOLW\IRUUHLQMHFWLRQ
  HQGXVHDVGHVFULEHGLQGHWDLOEHORZ
   6XPPDU\RIWKH5DWLRQDOHIRUWKH,QWHULP5HPHG\
  %DVHGRQWKHLQIRUPDWLRQFXUUHQWO\DYDLODEOH(3$KDVFRQFOXGHGWKDWWKHVHOHFWHGUHPHG\PHHWV
  WKHWKUHVKROGFULWHULDDQGSURYLGHVWKHEHVWEDODQFHRIWUDGHRIIVDPRQJWKHUHPHGLDODOWHUQDWLYHV
  (3$¶VVHOHFWHGUHPHG\IRU28RIWKH2PHJD&KHPLFDO6XSHUIXQG6LWHLVDJURXQGZDWHUSXPS
  DQGWUHDWV\VWHPZLWKH[WUDFWLRQZHOOVDWWKUHHORFDWLRQVDORQJWKHSOXPHDQGWUHDWPHQWRIWKH
  FRQWDPLQDWHGJURXQGZDWHUIRUGULQNLQJZDWHUHQGXVHRUUHLQMHFWLRQRIWKHZDWHULQWRWKH
  DTXLIHULIDJUHHPHQWVZLWKZDWHUSXUYH\RUVFDQQRWEHUHDFKHGLQDWLPHO\PDQQHU
  7KHPRVWGHFLVLYHFRQVLGHUDWLRQVWKDWDIIHFWHGWKHVHOHFWLRQRIWKHUHPHG\ZHUH
     7KHUHPHG\ZLOODFKLHYHVLJQLILFDQWULVNUHGXFWLRQE\FRQWDLQLQJWKHFRQWDPLQDWHGSOXPHWR
     WKHVDPHGHJUHHRUEHWWHUWKDQWKHRWKHUDOWHUQDWLYHV
     7KHUHPHG\ZLOOVDWLVI\WKH5$2VRISUHYHQWLQJWKHVSUHDGRIFRQWDPLQDWLRQLQWKH
     JURXQGZDWHUWRSURWHFWIXWXUHXVHVRIJURXQGZDWHUDQGSUHYHQWLQJPLJUDWLRQRIJURXQGZDWHU
     ZLWKKLJKFRQFHQWUDWLRQVRI&2&VLQWR]RQHVZLWKFXUUHQWO\ORZHUFRQFHQWUDWLRQVRI&2&V
     7KHUHPHG\ZLOOVDWLVI\WKH5$2RISUHYHQWLQJXQDFFHSWDEOHKXPDQH[SRVXUHWR
     JURXQGZDWHUFRQWDPLQDWHGE\&2&V
     7KHUHPHG\SURYLGHVSHUPDQHQWDQGVLJQLILFDQWUHGXFWLRQLQWKHWR[LFLW\PRELOLW\DQGYROXPH
     RI92&VDQGRWKHU&2&VLQWKHJURXQGZDWHUDW28DQGE\UHPRYLQJFRQWDPLQDQWPDVV
     IURPWKHJURXQGZDWHUEHJLQVWKHSURFHVVRIUHVWRULQJWKHFRQWDPLQDWHGDTXLIHU
     7KHUHPHG\ZLOOPDNHWUHDWHGJURXQGZDWHUDYDLODEOHDVDVRXUFHRIGULQNLQJZDWHUZKLFKLV
     FRQVLVWHQWZLWKUHJLRQDOZDWHUFRQVHUYDWLRQDQGUHXVHHIIRUWV
     7KHUHPHG\KDVWKHORZHVWHVWLPDWHGWRWDOFRVWRIWKHIRXUSOXPHZLGHFRQWDLQPHQW
     DOWHUQDWLYHV
  7KH6WDWHKDVFRQFXUUHGZLWK(3$¶VVHOHFWHGUHPHG\LQDOHWWHUGDWHG0D\
  )XUWKHUPRUHWKHVHOHFWHGUHPHG\VDWLVILHVWKHIROORZLQJVWDWXWRU\UHTXLUHPHQWVRI&(5&/$
  6HFWLRQ E   EHSURWHFWLYHRIKXPDQKHDOWKDQGWKHHQYLURQPHQW  FRPSO\ZLWK$5$5V
   RUMXVWLI\DZDLYHU   EHFRVWHIIHFWLYH  XVHSHUPDQHQWVROXWLRQVDQGDOWHUQDWLYHWUHDWPHQW
  WHFKQRORJLHVRUUHVRXUFHUHFRYHU\WHFKQRORJLHVWRWKHPD[LPXPH[WHQWSUDFWLFDEOHDQG
    VDWLVI\WKHSUHIHUHQFHIRUWUHDWPHQWDVDSULQFLSDOHOHPHQW
   'HVFULSWLRQRIWKH,QWHULP5HPHG\
  7KHIROORZLQJLVDGHVFULSWLRQRIWKHVHOHFWHGUHPHG\EDVHGRQ$OWHUQDWLYH SOXPHZLGHH[WUDFWLRQ
  DQGGULQNLQJZDWHUHQGXVH ZLWKWKHRSWLRQIRUUHLQMHFWLRQRIWUHDWHGZDWHULIDJUHHPHQWVZLWKRQHRU

                                                                                                      2-50


                                                 217                                   Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 227 of 347 Page ID #:261




  PRUHZDWHUSXUYH\RUVFDQQRWEHUHDFKHGLQDWLPHO\PDQQHU7KH,QWHULP5HPHG\LQFOXGHVWKH
  FRQVWUXFWLRQRIQHZH[WUDFWLRQZHOOVDWWKUHHORFDWLRQVDORQJWKHSOXPHFRQVWUXFWLRQRI
  FRQYH\DQFHSLSHOLQHVIRUVHQGLQJH[WUDFWHGJURXQGZDWHUIURPQHZH[WUDFWLRQZHOOVWRWKH
  WUHDWPHQWSODQW V IRUVHQGLQJWUHDWHGZDWHUWRDZDWHUSXUYH\RUFRQQHFWLRQSRLQW V  RUWRQHZ
  LQMHFWLRQZHOOV DQGIRUVHQGLQJZDVWHEULQHWRDQLQGXVWULDOVHZHUFRQQHFWLRQFRQVWUXFWLRQRID
  WUHDWPHQWSODQWFRQVLVWLQJRIPXOWLSOHSURFHVVHV WKHILQDOWUHDWPHQWSURFHVVHVDQGVHTXHQFHZLOO
  EHGHWHUPLQHGGXULQJUHPHGLDOGHVLJQ WUHDWHGZDWHUGLVLQIHFWLRQLQVWDOODWLRQRIQHZPRQLWRULQJ
  ZHOOVDQGLPSOHPHQWDWLRQRI,&V$UHSUHVHQWDWLYHVFKHPDWLFGLDJUDPRIWKHH[SHFWHGORFDWLRQV
  RIH[WUDFWLRQZHOOVWUHDWPHQWSODQWDQGSLSHOLQHVIRUWKHVHOHFWHGUHPHG\ EDVHGRQWKHGULQNLQJ
  ZDWHUHQGXVHVFHQDULR LVSURYLGHGLQ)LJXUH)LQDOORFDWLRQVZLOOEHGHWHUPLQHGGXULQJ
  UHPHGLDOGHVLJQ$GGLWLRQDOGHWDLOVDUHSURYLGHGEHORZ
  7KHGULQNLQJZDWHUHQGXVHIRUWKLVUHPHG\LVFRQWLQJHQWXSRQRQHRUPRUHORFDOZDWHUSXUYH\RUV
  DJUHHLQJWRDFFHSWWKHWUHDWHGZDWHU,IDQDJUHHPHQWZLWKWKHZDWHUSXUYH\RU V FDQQRWEH
  UHDFKHGLQDWLPHO\PDQQHUWKHWUHDWHGZDWHUZLOOEHUHLQMHFWHGLQWRWKHDTXLIHU
  $OWKRXJK(3$GRHVQRWH[SHFWVLJQLILFDQWFKDQJHVWRWKLVUHPHG\WKHUHPD\EHVRPHOHYHORI
  PRGLILFDWLRQGXULQJWKHUHPHGLDODQGFRQVWUXFWLRQSURFHVVHV$Q\FKDQJHVWRWKHUHPHG\GHVFULEHG
  LQWKLV52'ZRXOGEHDGRSWHGDQGGRFXPHQWHGDVDSSURSULDWHDQGFRQVLVWHQWZLWKDSSOLFDEOH
  UHJXODWLRQV
  *URXQGZDWHU([WUDFWLRQ:HOOV&RQYH\DQFH3LSHOLQHVDQG0RQLWRULQJ
  7KHH[WUDFWLRQZHOOV\VWHPIRUWKHVHOHFWHGUHPHG\ZLOOEHGHWHUPLQHGGXULQJUHPHGLDOGHVLJQ
  EDVHGRQDFKLHYLQJWKH5$2VDQGSHUIRUPDQFHFULWHULD7KHIROORZLQJWH[WVXPPDUL]HVWKHW\SHV
  RIH[WUDFWLRQZHOOVDVVXPHGLQ$OWHUQDWLYHDQGLQWKHUHPHG\FRVWHVWLPDWHV7KHVHDVVXPSWLRQVDUH
  H[SHFWHGWREHUHSUHVHQWDWLYHRIWKHIDFLOLWLHVUHTXLUHGDVSDUWRIWKHUHPHG\
  %DVHGRQSUHOLPLQDU\FRPSXWHUPRGHOLQJFRQGXFWHGGXULQJWKH5,)6WZR&(DUHDZHOOVZLWK
  DQH[WUDFWLRQUDWHRIDSSUR[LPDWHO\JSPHDFKWZR1(DUHDZHOOVZLWKDQH[WUDFWLRQUDWHRI
  DSSUR[LPDWHO\JSPHDFKDQGWKUHH/(ZHOOVZLWKDQH[WUDFWLRQUDWHRIDSSUR[LPDWHO\
  JSPHDFKDUHQHHGHGWRDFKLHYHWKHSHUIRUPDQFHFULWHULD7KHWRWDOH[WUDFWLRQUDWHLVJSP
   QRPLQDOO\JSP IRUWKHSOXPHZLGHH[WUDFWLRQZHOOQHWZRUN7KHH[DFWORFDWLRQVGHSWKV
  VFUHHQHGLQWHUYDOVDQGSXPSLQJUDWHVIRUWKHH[WUDFWLRQZHOOVZLOOEHGHWHUPLQHGGXULQJUHPHGLDO
  GHVLJQDQGZRXOGGHSHQGRQH[WUDFWLRQFRQILJXUDWLRQVQHHGHGWRDFKLHYHFRQWDLQPHQWRIWKH
  SOXPHDQGWDNLQJLQWRDFFRXQWSUDFWLFDOOLPLWDWLRQVVXFKDVDFFHVV7KHVSHFLILFFRQYH\DQFH
  V\VWHPVUHTXLUHGIRUWKHVHOHFWHGUHPHG\VKDOOEHGHWHUPLQHGGXULQJWKHUHPHGLDOGHVLJQDIWHUWKH
  H[WUDFWLRQZHOOVWUHDWPHQWSODQW V DQGWUHDWHGZDWHUGHOLYHU\ORFDWLRQVDUHILQDOL]HG
  *URXQGZDWHUPRQLWRULQJLVDNH\FRPSRQHQWRIWKHVHOHFWHGUHPHG\DQGZLOOEHFDUULHGRXWWR  
  SURYLGHLQIRUPDWLRQWRPRQLWRUWKHHIIHFWLYHQHVVRIWKHFRQWDLQPHQWV\VWHPDQGWRRSWLPL]HWKH
  V\VWHPSHUIRUPDQFHDQG  SURYLGHHDUO\ZDUQLQJRIXSJUDGLHQWFKDQJLQJFRQGLWLRQVWKDWFRXOG
  DGYHUVHO\DIIHFWV\VWHPSHUIRUPDQFHRUQHFHVVLWDWHV\VWHPPRGLILFDWLRQVVXFKDVDFKDQJHLQ
  JURXQGZDWHUIORZFRQGLWLRQVDFKDQJHLQFRQWDPLQDQWFRQFHQWUDWLRQVRUGHWHFWLRQRIQHZ
  FRQWDPLQDQWV
  7KHH[LVWLQJJURXQGZDWHUPRQLWRULQJQHWZRUNDW2PHJD&KHPLFDO28ZLOOEHLQFRUSRUDWHGLQWR
  WKHVHOHFWHGUHPHG\+RZHYHUDGGLWLRQDOPRQLWRULQJZHOOVFRPSOHPHQWLQJWKHFXUUHQW
  PRQLWRULQJQHWZRUNDUHQHHGHGWRIXOILOOWKHILUVWPRQLWRULQJREMHFWLYH)RUWKHSXUSRVHRIFRVW


                                                                                                   2-51


                                                  218                                     Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 228 of 347 Page ID #:262




  HVWLPDWLRQWKH)6DVVXPHGWKDWDWRWDORIFOXVWHUVRIPRQLWRULQJZHOOVZLOOEHLQVWDOOHGDW
  ORFDWLRQVGRZQJUDGLHQWRIWKH/(&(DQG1(ZHOOVZLWKHDFKZHOOFOXVWHUFRPSULVLQJIRXU
  ZHOOVLQVWDOOHGDWGLIIHUHQWGHSWKVZLWKLQWKHFRQWDPLQDWHGDTXLIHU$WRWDORIQHZPRQLWRULQJ
  ZHOOVZDVDVVXPHGWKHILQDOQXPEHURIPRQLWRULQJZHOOVZLOOEHGHWHUPLQHGGXULQJUHPHGLDO
  GHVLJQ
  *URXQGZDWHU7UHDWPHQW
  7KHVHOHFWHGUHPHG\ZLOOLQFRUSRUDWHWUHDWPHQWSURFHVVHVWKDWPD\LQFOXGHVRPHRUDOORIWKH
  IROORZLQJNH\SURFHVVVWHSV
     $23IRUGLR[DQHUHPRYDOXVLQJXOWUDYLROHW 89 OLJKWDQGK\GURJHQSHUR[LGHVRPH
     92&VUHPRYHGVRPHSDUWLDOR[LGDWLRQE\SURGXFWVSRWHQWLDOO\IRUPHG
     %DJILOWHUVIRUUHPRYDORISUHFLSLWDWHV LURQ>)H@PDQJDQHVH>0Q@ SRWHQWLDOO\IRUPHGLQ
     $23
     %LR/*$&IRUUHPRYDORISRWHQWLDOUHFDOFLWUDQWSDUWLDOR[LGDWLRQSURGXFWVIRUPHGLQ$23
     /*$&IRUUHPRYDORIUHVLGXDO92&V
     1)IRUUHPRYDORIWRWDO DQGKH[DYDOHQW FKURPLXP7'662
     'LVLQIHFWLRQXVLQJFKORULQDWLRQWRPHHWSRWDEOHZDWHUVWDQGDUGV
     'LVFKDUJHRIWUHDWHGZDWHUWRSRWDEOHZDWHUV\VWHP RUWRUHLQMHFWLRQZHOOV 
     'LVFKDUJHRI1)UHMHFWEULQHWRLQGXVWULDOVHZHUWUXQNOLQH
  7KHSRWHQWLDOVHTXHQFHRIWUHDWPHQWSURFHVVHVLVGHSLFWHGLQ)LJXUHZKLFKLVEDVHGRQWKH
  GHVFULSWLRQRI$OWHUQDWLYHLQWKH)67KHDFWXDOWUHDWPHQWSURFHVVHVDQGVHTXHQFHZLOOEH
  GHWHUPLQHGGXULQJUHPHGLDOGHVLJQDVZLOOWKHQXPEHUDQGORFDWLRQRIWUHDWPHQWSODQWV7KH
  WUHDWPHQWSODQW V GHVLJQIORZFDSDFLW\ZRXOGEHJSPZKLOHWKHDYHUDJHIORZUDWHZRXOG
  EHDERXWJSP
  7UHDWHG:DWHU(QG8VH
  7KHVHOHFWHGUHPHG\FDOOVIRUWUHDWHGZDWHUWREHGLVWULEXWHGWRRQHRUPRUHORFDOZDWHUSXUYH\RUV
  IRUXVHDVGULQNLQJZDWHU,QLWLDOGLVFXVVLRQVZLWKWKHORFDOZDWHUSXUYH\RUVLQGLFDWHDJHQHUDO
  ZLOOLQJQHVVWRDFFHSWVXLWDEO\WUHDWHGZDWHUIRUXVHLQSRWDEOHZDWHUVXSSO\V\VWHPVKRZHYHU
  IRUPDODJUHHPHQWVKDYHQRW\HWEHHQQHJRWLDWHG,WLVSRVVLEOHWKDWPRUHWKDQRQHZDWHUSXUYH\RU
  ZLOOUHFHLYHWUHDWHGZDWHU,WLVDQWLFLSDWHGWKDWQHJRWLDWLQJWKHUHTXLUHGDJUHHPHQW V ZLOOWDNH
  FRQVLGHUDEOHWLPHDQGHIIRUW,I(3$GHWHUPLQHVWKHUHTXLUHGDJUHHPHQW V FDQQRWEHUHDFKHGLQD
  WLPHO\PDQQHU(3$PD\DSSURYHWKHDOWHUQDWHHQGXVHRSWLRQRIUHLQMHFWLRQLQWRWKHDTXLIHU,I
  WKHVHOHFWHGHQGXVHEHFRPHVUHLQMHFWLRQDGGLWLRQDOHYDOXDWLRQVDQGVWDNHKROGHUQHJRWLDWLRQV
  VKDOOEHFRQGXFWHGWRVHOHFWWKHDSSURSULDWHQXPEHUDQGORFDWLRQRILQMHFWLRQZHOOV
  &'3+3ROLF\0HPRUDQGXPHVWDEOLVKHVDVSHFLILFSURFHVVIRUWKHHYDOXDWLRQRILPSDLUHG
  ZDWHUVRXUFHVEHIRUHWKH\FDQEHDSSURYHGIRUXVHDVDVRXUFHRIGULQNLQJZDWHU7KHVHRIIVLWH
  UHTXLUHPHQWVWKDWDSSO\WR&2&VPXVWEHPHWLQRUGHUWRGHOLYHUWUHDWHG28ZDWHUIRUXVHLQ
  GRPHVWLFZDWHUVXSSO\,QWKHFRVWHVWLPDWHVGHYHORSHGDVSDUWRIWKH)6LWZDVDVVXPHGWKDW
  QHJRWLDWLRQVZLWKWKHZDWHUSXUYH\RUUHFHLYLQJWKHSRWDEOHZDWHUZRXOGUHVXOWLQWKHZDWHU

                                                                                                  2-52



                                                   219                                 Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 229 of 347 Page ID #:263




  SXUYH\RUXVLQJLWVZDWHUULJKWV7KHWUHDWPHQWSURFHVVZLOOJHQHUDWHDZDVWHEULQHVWUHDPKLJKLQ
  7'6ZKLFKFDQQRWEHUHXVHGDQGZLOOWKHUHIRUHEHGLVFKDUJHGWRDQLQGXVWULDOVHZHU$Q1:8
  3HUPLWDQGUHSOHQLVKPHQWDVVHVVPHQWH[HPSWLRQFRXOGEHREWDLQHGDW:5'¶VGLVFUHWLRQIRUWKH
  YROXPHRIZDWHUH[WUDFWHGWKDWHQGVXSDVQRQUHXVDEOHZDVWHEULQH
  ,QVWLWXWLRQDO&RQWUROV
  ,&VDUHQRQHQJLQHHULQJFRQWUROVWKDWZLOOVXSSOHPHQWHQJLQHHULQJFRQWUROVWRSUHYHQWRUOLPLW
  SRWHQWLDOH[SRVXUHWRKD]DUGRXVVXEVWDQFHVSROOXWDQWVRUFRQWDPLQDQWVDQGWRHQVXUHWKDWWKHUHPHG\
  LVHIIHFWLYH
  *URXQGZDWHULQWKHYLFLQLW\RI28LVDQLPSRUWDQWVRXUFHRIGULQNLQJZDWHU7KHJURXQGZDWHU
  FRQWDPLQDWLRQLQ28SRWHQWLDOO\OLPLWVWKHDELOLW\RIQXPHURXVZDWHUULJKWVKROGHUVWRIXOO\H[HUFLVH
  WKHLUZDWHUULJKWVDQGLWDOVRFRXOGFUHDWHDVLJQLILFDQWFKDOOHQJHIRUFHUWDLQULJKWVKROGHUVWRRSHUDWH
  WKHLUSURGXFWLRQZHOOVLQDPDQQHUWKDWLVFRPSDWLEOHZLWKWKHJURXQGZDWHUFRQWDPLQDWLRQ
  FRQWDLQPHQWJRDOVRIWKH28,QWHULP5HPHG\7KH,&VIRUWKH,QWHULP5HPHG\DUHHVVHQWLDOO\
  LQIRUPDWLRQDO,&V7KH\LQFOXGH  DQQXDOQRWLILFDWLRQVWRDOOZDWHUULJKWVKROGHUVLQWKH&HQWUDO
  %DVLQDQGRWKHUVWDNHKROGHUV  SHULRGLFPHHWLQJVZLWK6WDWHDQGORFDODJHQFLHVZLWK
  MXULVGLFWLRQRYHUZHOOGULOOLQJDQGJURXQGZDWHUXVHZLWKLQWKH&HQWUDO%DVLQDQG  
  FRQWHPSRUDQHRXVQRWLILFDWLRQVE\VXFKDJHQFLHVUHJDUGLQJJURXQGZDWHUH[WUDFWLRQDQGZHOO
  GULOOLQJDVGHVFULEHGEHORZ
  7KHDQQXDOQRWLILFDWLRQSURYLGHGWRDOOZDWHUULJKWVKROGHUVLQWKH&HQWUDO%DVLQZLOOH[SODLQWKH
  JRDOVRIWKH,QWHULP5HPHG\WKHVWDWXVRIWKHUHPHG\¶VLPSOHPHQWDWLRQWKHQDWXUHDQGH[WHQWRI
  28JURXQGZDWHUFRQWDPLQDWLRQDQGWKHPRVWUHFHQWDYDLODEOHJURXQGZDWHUGDWDDQGGLVFXVV
  DQ\UHODWHG6WDWHRUORFDOUHVWULFWLRQVDQGSURKLELWLRQVRQZHOOGULOOLQJDQGJURXQGZDWHUXVH
  ZLWKRXWQHFHVVDU\DSSURYDOVDQGSHUPLWV
  7KHSHULRGLF HJDQQXDO PHHWLQJVDPRQJ(3$DQG6WDWHDQGORFDOHQWLWLHVZLWKMXULVGLFWLRQ
  RYHUZHOOGULOOLQJDQGJURXQGZDWHUXVHZLWKLQWKH&HQWUDO%DVLQZRXOGLQFOXGHWKH:DWHUPDVWHU
  WKH/RV$QJHOHV&RXQW\'HSDUWPHQWRI+HDOWK6HUYLFHV /$&'+6 DQGWKHFLWLHVRI:KLWWLHU
  6DQWD)H6SULQJVDQG1RUZDON7KHSXUSRVHRIWKHPHHWLQJVZRXOGEHWRSHULRGLFDOO\H[FKDQJH
  DOODYDLODEOHLQIRUPDWLRQUHOHYDQWWRZKHWKHURSHUDWLRQRIDQ\SURGXFWLRQZHOO V ZLWKLQ28RU
  LWVYLFLQLW\LVLQFRPSDWLEOHRUSRWHQWLDOO\LQFRPSDWLEOHZLWKWKHJURXQGZDWHUFRQWDPLQDWLRQ
  FRQWDLQPHQWJRDOVRIWKH,QWHULP5HPHG\6XFKLQIRUPDWLRQZRXOGLQFOXGHDQ\SHUPLW V IRU
  ZHOOLQVWDOODWLRQWKDWKDGEHHQDSSOLHGIRURUJUDQWHGLQWKH28DUHDRUYLFLQLW\DQGWKH
  FRPSDWLELOLW\RIVXFKSHUPLW V ZLWKWKH5$2VRIWKHVHOHFWHG28UHPHG\

  7KHVHPHHWLQJVZRXOGEHVXSSOHPHQWHGE\DQDQQXDOUHYLHZRIDYDLODEOHGRFXPHQWDWLRQ
  PDLQWDLQHGE\WKH6WDWHDQGORFDOHQWLWLHVWRGHWHUPLQHLIZDWHUVXSSO\ZHOOVKDYHEHHQLQVWDOOHG
  RUDSXUYH\RURURWKHUZDWHUULJKWVKROGHUKDGLQFUHDVHGJURXQGZDWHUSURGXFWLRQRUSURGXFWLRQ
  FDSDFLW\ZLWKLQ28RULWVYLFLQLW\

  )LQDOO\WKH,&VLQFOXGHFRQWHPSRUDQHRXVQRWLILFDWLRQIURP6WDWHDQGORFDODJHQFLHVZLWK
  MXULVGLFWLRQRYHUZHOOGULOOLQJDQGJURXQGZDWHUXVHZLWKLQWKH&HQWUDO%DVLQ)RUH[DPSOH:5'
  FRXOGSURYLGH(3$DQGWKHHQWLW\HQWLWLHVLPSOHPHQWLQJWKHUHPHG\ZLWKPRQWKO\SXPSLQJWRWDOV
  UHSRUWHGE\ZDWHUZHOORSHUDWRUV)XUWKHU/$&'+6FRXOGQRWLI\(3$DQGVXFKHQWLW\HQWLWLHV
  ZKHQHYHUDSHUPLWIRUZHOOFRQVWUXFWLRQPRGLILFDWLRQRUGHVWUXFWLRQKDVEHHQVRXJKW7KLV



                                                                                                         2-53



                                                     220                                    Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 230 of 347 Page ID #:264




  FRQWHPSRUDQHRXVQRWLILFDWLRQZRXOGIXUWKHUUHGXFHWKHSRVVLELOLW\RIFRQWDPLQDWLRQRI28DUHD
  SURGXFWLRQZHOOVDQGLQWHUIHUHQFHRIZHOORSHUDWLRQZLWKSOXPHFRQWDLQPHQWJRDOV
  ,IDQ\LQIRUPDWLRQH[FKDQJHGSXUVXDQWWRWKHPHHWLQJRUREWDLQHGWKURXJKWKHGRFXPHQWDWLRQ
  UHYLHZVXJJHVWHGDSRVVLEOHLQFRPSDWLELOLW\EHWZHHQWKHRSHUDWLRQRISURGXFWLRQZHOOVDQGWKH
  JURXQGZDWHUFRQWDPLQDWLRQFRQWDLQPHQWJRDOVRIWKHVHOHFWHGUHPHG\SURPSWQRWLILFDWLRQWR
  (3$ZRXOGEHSURYLGHGLIQRWSUHYLRXVO\SURYLGHG7KHUHDIWHU(3$ZRXOGWDNHVXFKDFWLRQVLW
  GHWHUPLQHVDUHQHFHVVDU\RUDSSURSULDWHWRDVVXUHWKDWVXFKSHUPLWRUDXWKRUL]DWLRQGRHVQRW
  FUHDWHDULVNWRKXPDQKHDOWKRUWKHHQYLURQPHQWRULPSDLURUGHOD\DQ\UHVSRQVHDFWLRQIRUWKH
  6LWH

  7KHLQIRUPDWLRQH[FKDQJHSURYLGHGE\WKHVH,&VZRXOGSURWHFWSXEOLFKHDOWKE\UHGXFLQJWKH
  SRVVLELOLW\WKDWSURGXFWLRQZHOOVLQWKHYLFLQLW\RI28FRXOGEHFRPHFRQWDPLQDWHGDQGDOVR
  UHGXFLQJWKHSRVVLELOLW\WKDWRSHUDWLRQRISURGXFWLRQZHOOVZRXOGLQWHUIHUHZLWKWKHSOXPH
  FRQWDLQPHQWJRDOVRIWKHLQWHULP28UHPHG\
  (QYLURQPHQWDO)RRWSULQW$VVHVVPHQW
  7KH)6SURYLGHGDSUHOLPLQDU\DVVHVVPHQWRIWKHHQYLURQPHQWDOIRRWSULQWRIWKHUHPHGLDO
  DOWHUQDWLYHVLQFOXGLQJWKRVHWKDWPDNHXSWKHVHOHFWHGUHPHG\'XULQJWKH5'SKDVHWKH
  FRQVWUXFWLRQDQGRSHUDWLRQRIWKHJURXQGZDWHUH[WUDFWLRQDQGWUHDWPHQWV\VWHPZLOOEHHYDOXDWHG
  LQWHUPVRIRSSRUWXQLWLHVWRUHGXFHWKHHQYLURQPHQWDOIRRWSULQWRIWKHUHPHG\'HWDLOHG
  HQJLQHHULQJVWXGLHVZLOOEHFRQGXFWHGWRRSWLPL]HSLSHOLQHURXWLQJDQGGHVLJQIRUH[DPSOHQRW
  MXVWWRUHGXFHWKHLQLWLDOFRVWRISLSHOLQHLQVWDOODWLRQEXWWRDFFRXQWIRUHQHUJ\XVDJH SXPSLQJ
  SRZHUFRVWV DVVRFLDWHGZLWKGLIIHUHQWSLSHOLQHPDWHULDOV HJXVHVPDOOHUYHUVXVODUJHUSLSH
  VL]HVXVHRIVPRRWKHUSLSHOLQHPDWHULDOVWRUHGXFHSUHVVXUHORVVHVHWF 7KHGHVLJQZLOOLQFOXGH
  FRQVLGHUDWLRQRIH[WHQVLYHXVHRIORZHUHQHUJ\FRQVXPLQJHTXLSPHQWVXFKDVYDULDEOHIUHTXHQF\
  PRWRUVZLWKKLJKHIILFLHQFLHV$VDSSURSULDWHFRQVLGHUDWLRQZLOOEHJLYHQWRVRODUSDQHOVWR
  SURGXFHRQVLWHSRZHUWRRIIVHWIDFLOLW\SRZHUUHTXLUHPHQWVIURPWKHORFDOSRZHUVXSSOLHUDQG
  SURFXUHPHQWRIHOHFWULFDOSRZHUIURPDOWHUQDWLYHHQHUJ\ JUHHQHU VRXUFHVXSSOLHUV(PHUJLQJ
  WHFKQRORJLHVDWWKHWLPHRIWKH5'HIIRUWZLOOEHFRQVLGHUHGWRPLQLPL]HWKHHQYLURQPHQWDO
  IRRWSULQWRIWKHVHOHFWHGUHPHG\
  3HUIRUPDQFH&ULWHULD
  7KHSHUIRUPDQFHFULWHULDIRUWKHVHOHFWHGUHPHG\DUHDVIROORZV7KHUHPHGLDODFWLRQVKDOO
  SURYLGHVXIILFLHQWK\GUDXOLFFRQWUROODWHUDOO\DQGYHUWLFDOO\LQWKH/(&(DQG1(DUHDVRIWKH
  28SOXPHWRSUHYHQWVSUHDGLQJRIWKHSOXPHLQWRFOHDQSRUWLRQVRIWKHDTXLIHUVDQGWKH
  PRYHPHQWRIJURXQGZDWHUIURPKLJKFRQFHQWUDWLRQ]RQHVLQWROHVVFRQWDPLQDWHG]RQHVDW28
  &RPSOLDQFHZLWKWKHSHUIRUPDQFHFULWHULRQVKDOOEHYHULILHGE\GHPRQVWUDWLQJODWHUDODQGYHUWLFDO
  K\GUDXOLFFRQWURORIWKHSOXPH$IWHUWKHUHPHG\KDVRSHUDWHGIRUDSHULRGRIWLPHH[SHFWHGWR
  ODVWVHYHUDO\HDUVFRPSOLDQFHVKDOOEHGHWHUPLQHGE\GHPRQVWUDWLQJFRQWLQXHGK\GUDXOLFFRQWURO
  DQGDGHFUHDVHLQ&2&FRQFHQWUDWLRQVLQFRPSOLDQFHZHOOVRYHUWLPH
  7RGHPRQVWUDWHK\GUDXOLFFRQWUROWKHUHPXVWEHHYLGHQFHWKDWWKHK\GUDXOLFFDSWXUH]RQHFUHDWHG
  E\WKHUHPHG\HQFRPSDVVHV287KHFDSWXUH]RQHVKDOOEHHVWLPDWHGE\PHDVXULQJ
  JURXQGZDWHUOHYHOVDQGXVLQJDJURXQGZDWHUIORZPRGHOFDSDEOHRISDUWLFOHWUDFNLQJVLPXODWLRQV
  RUDVLPLODUDSSURDFK+\GUDXOLFFRQWUROVKDOOEHDFKLHYHGVKRUWO\DIWHUVWDUWXSRIWKHUHPHG\DQG
  EHPDLQWDLQHGWKHUHDIWHU,PSOHPHQWDWLRQRIWKHUHPHGLDODFWLRQVKDOOQRWUHVXOWLQDGYHUVHHIIHFWV

                                                                                                   2-54



                                                    221                                  Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 231 of 347 Page ID #:265




  WRZDWHUVXSSO\ZHOOVWKDWDUHQRWSDUWRIWKHUHPHGLDODFWLRQ HJQRVLJQLILFDQWLQFUHDVHLQWKH
  FRQFHQWUDWLRQVRI&2&VRUVLJQLILFDQWPRYHPHQWRIFRQWDPLQDWHGJURXQGZDWHUWRZDUGVXFK
  ZHOOV 
  7KHFRPSOLDQFHORFDWLRQVVKDOOEHFRPSOLDQFHPRQLWRULQJZHOOVORFDWHGJHQHUDOO\GRZQJUDGLHQW
  RIWKHUHPHG\H[WUDFWLRQZHOOV&RPSOLDQFHZHOOVVKDOOEHFRQVWUXFWHGWRSURYLGHDGHTXDWH
  PRQLWRULQJRIWKHUHPHG\HIIHFWVRQJURXQGZDWHUTXDOLW\
   6XPPDU\RIWKH(VWLPDWHG5HPHG\&RVWV
  6XPPDULHVRIWKHHVWLPDWHGFDSLWDO2 0DQGSUHVHQWYDOXHFRVWVRIWKHPDMRUFRPSRQHQWVRI
  WKHVHOHFWHGUHPHG\DUHLQFOXGHGLQ7DEOHV$%DQG$DQG%7DEOHV$DQG%DVVXPHWKH
  WUHDWHGJURXQGZDWHULVVXSSOLHGIRUSRWDEOHGULQNLQJZDWHUXVHEDVHGRQ$OWHUQDWLYH7DEOHV$
  DQG%SUHVHQWFRVWVIRUUHLQMHFWLRQ EDVHGRQ$OWHUQDWLYHLQZKLFKWKHWUHDWHGZDWHULV
  UHLQMHFWHGLQWRWKHGHHSDTXLIHU $GHWDLOHGEUHDNGRZQRIWKHVHFRVWVLVSURYLGHGLQ$SSHQGL[%
  RIWKH)67KHLQIRUPDWLRQLQWKLVFRVWHVWLPDWHVXPPDU\WDEOHLVEDVHGRQWKHEHVWDYDLODEOH
  LQIRUPDWLRQUHJDUGLQJWKHDQWLFLSDWHGVFRSHRIWKHUHPHGLDODOWHUQDWLYH&KDQJHVLQWKHFRVW
  HOHPHQWVDUHOLNHO\WRRFFXUDVDUHVXOWRIQHZLQIRUPDWLRQDQGGDWDFROOHFWHGGXULQJWKH
  HQJLQHHULQJGHVLJQRIWKHUHPHG\$VLVWKHSUDFWLFHDWIHGHUDO6XSHUIXQGVLWHVWKHVHFRVW
  HVWLPDWHVDUHEDVHGRQDQH[SHFWHGDFFXUDF\UDQJHRIWRSHUFHQWRIDFWXDOFRVWV
                                




                                                                                                     2-55


                                                      222                                    Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 232 of 347 Page ID #:266



  Table 7A. Detailed Cost Estimate for the Selected Remedy - Plumewide Extraction With Drinking Water End Use
  Omega Chemical Superfund Site - OU2
                                                Capital Costs (Plume-Wide Extraction With Drinking Water End Use)
                           Major System/Component                                    Quantity                  Unit Cost          Cost
  CONVEYANCE & WELL SYSTEM COSTS
  Water Pipelines


  Pipelines for extracted and treated water                                         40,700 feet                     varies         $3,230,500
  Extraction Wells
  Three wells at LE                                                                      7                     $ 276,678           $1,936,700
  Two wells at CE
  Two wells at NE
  Monitoring Wells
  New Monitoring Wells                                                                  10                      $72,800            $1,080,600
  (10 with four screened well intervals each)
  Extraction Well Pumps/Well Heads
  New EW systems                                                                         7                     $ 133,024            $ 931,200
  Pumps, vaults, valves, gauges, flow meters/totalizers, relief valves, power
  supply, etc.
  TOTAL CONVEYANCE and WELL SYSTEM SUBTOTAL A                                                                                      $7,179,000
  Engineering - Design and Technical Support                                            8%                                          $ 574,300
  Contractors Overhead, General Conditions, Mobilization/Demobilization,               ~24%                                        $1,737,400
  Temporary Facilities and Profit
  Construction Management                                                               5%                                          $ 445,800
  Construction Contingency                                                             25%                                         $2,484,100
  Conveyance and Extraction Well System Cost                                                                                  $ 12,420,600
  GROUNDWATER TREATMENT PLANT
  Untreated Water Tank
  Holding Tank (6,000 gal)                                                               1                      $35,590               $35,600
  Level Switch                                                                           1                          $365                 $400
  Treatment Plant Feed Pump
  Feed Pump(2,000 gpm @ 250 feet of head)                                                2                      $73,365             $ 146,700
  8" Flow indicating totalizer                                                           1                      $4,000                $ 4,000
  Bag Filter System
  Bag Filters (2,000 gpm)                                                                2                      $20,403               $40,800
  Differential pressure switch (0 to 30 psig)                                            1                                    included above
  Advanced Oxidation Process (AOP)--Trojan System
  AOP System
  (2,000 gpm; Infl 1,4-dioxane @ 13.2 ppb to <2 ppb design; 48.5 kW reqd,
  use three standard 18.5-kW modules)
  --ASME code vessels                                                                    1                      $54,254             $ 542,300
  Peroxide Feed System                                                                   1                      $80,984               $81,000
  Sodium Metabisulfite Injection                                                         1                      $33,365               $33,400
  Biological LGAC Adsorber System
  LGAC Adsorber Columns                                                                 2.5                    $ 177,674            $ 444,200
  Differential Pressure Switch (0 to 30 psig)                                            5                          $590              $ 3,000
  8-inch flow indicating totalizer                                                       7                      $4,000                $28,000
  LGAC Adsorber System




                                                                                                                                               2-56


                                                                                    223                                      Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 233 of 347 Page ID #:267



  Table 7A. Detailed Cost Estimate for the Selected Remedy - Plumewide Extraction With Drinking Water End Use
  Omega Chemical Superfund Site - OU2
                                                Capital Costs (Plume-Wide Extraction With Drinking Water End Use)
                           Major System/Component                                    Quantity                  Unit Cost          Cost
  LGAC Adsorber Column Pairs - 20,000 pounds, 10-foot diameter                           5                     $ 177,674           $ 888,400
  (One pair, 20,000 pounds, 120-inch-diameter x 144-inch SS each)
  Differential Pressure Switch (0 to 30 psig)                                           10                          $590             $ 5,900
  8-inch Flow Indicating Totalizer                                                      12                      $4,000               $48,000
  BW and Rinse Recovery System - 30,000 gallons                                          1                     $ 175,164           $ 175,200
  Biocide Injection System                                                               1                      $33,365              $33,400
  NF Feed Tank
  Tank @ 10-minute retention time (20,000 gallons)                                       1                      $70,691              $70,700
  Level Switch                                                                           1                          $365                 $400
  Nanofiltration System (NF)
  NF System (75 percent Recovery, 2,000 gpm)                                             1                    $ 2,880,000         $2,880,000
  --RO reject brine pump (to sewer, 500 gpm @ 60 feet of head)                           2                      $28,992              $58,000
  -- Flow indicating totalizer                                                           1                      $4,000               $ 4,000
  Chlorination System
  Holding tank, metering pumps, chlorine analyzer, mixer, etc.                           1                      $85,000              $85,000
  Treated Water Tank
  Holding Tank (30,000 gallons) and Level Switch                                         1                      $89,436              $89,400
  Treated Water Pump
  Treated Water Pump (1,500 gpm @ 120 feet of head)                                      2                      $52,368            $ 104,700
  Flow Indicating Totalizer                                                              1                      $4,000               $ 4,000
  TREATMENT PLANT Equipment Material Only "B"                                                                                     $5,806,200
  Installation (Labor for Equipment Installation)                                                                                 $1,161,200
  TREATMENT PLANT SUBTOTAL "B"                                                                                                    $6,967,400
  Site Work                                                                            5.0%                                        $ 348,400
  Mechanical Piping                                                                    15.0%                                      $1,045,100
  I&C                                                                                  10.0%                                       $ 696,700
  Electrical                                                                           10.0%                                       $ 696,700
  Common Facilities                                                                    8.0%                                        $ 557,400
  Building--Office/Control Room/Lab/Restroom (Pre-Fab Office)                        Lump Sum                                        $62,000
  Metals                                                                               5.0%                                        $ 348,400
  RO Concrete Slab and Roof Structure                                                  2500                         $ 42           $ 105,000
  TREATMENT PLANT SUBTOTAL "C"                                                                                                   $10,827,100
  Engineering - Design and Technical Support                                            8%                                         $ 866,200
  Contractors Overhead, General Conditions, Mob/Demob, Temp Facilities                 ~24%                                       $2,620,200
  and Profit
  Construction Management                                                               5%                                         $ 672,400
  Construction Contingency                                                             25%                                        $3,529,900
  LACSD Sewer Connection Fee                                                         Lump Sum                                     $7,485,800

  TOTAL TREATMENT PLANT COST                                                                                                   $ 26,001,600
  GRAND TOTAL - CONVEYANCE, WELL SYSTEM AND TREATMENT PLANT CAPITAL COST                                                       $ 38,422,200




                                                                                                                                           2-57


                                                                                  224                                       Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 234 of 347 Page ID #:268



  Table 7A. Detailed Cost Estimate for the Selected Remedy - Plumewide Extraction With Drinking Water End Use
  Omega Chemical Superfund Site - OU2
                                              Capital Costs (Plume-Wide Extraction With Drinking Water End Use)
                         Major System/Component                                         Quantity                    Unit Cost                      Cost
  NOTES:
  1. All equipment cost adjustments for size based on the formula: Adjusted Cost = Orig. Cost * (Adjusted Size/Orig. Size) EXP X where "X" is 0.33 for pumps, 0.57
  for Tanks, 0.62 for towers, and 0.6 for other process equipment.
  2. Cost escalation adjustments from the following time periods were used, if needed, as appropriate.
  Escalation Factors
  2000-2009:36.02%
  2003-2009: 31.61%
  2004-2009: 25.74%
  2005-2009: 17.72
  2008-2009: 4.21%
  NOTE: THESE ARE ORDER OF MAGNITUDE COST ESTIMATES, AND EXPECTED TO BE ACCURATE TO -30%/+50%.

  




                                                                                                                                                             2-58

                                                                                         225                                             Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 235 of 347 Page ID #:269



  Table 7B. Detailed Cost Estimate for the Selected Remedy - Plume-Wide Extraction With Drinking Water End Use
  Omega Chemical Superfund Site - OU2
                                            Annual O&M Costs (Plume-Wide Extraction With Drinking Water End Use)
                                                                                             Total
                                        Equip. Name                                       Requirements   Units      Unit Cost         Cost
  Electrical Power
  Extraction Wells to Treatment Plant                                                       803,806      kW-hr
  Treatment Plant and Miscellaneous Equipment                                              3,016,125     kW-hr
                                                                                  Total    3,819,931     kW-hr        $0.12          $ 458,400
  Carbon Make-up
  LGAC (920 pounds per day)                                                                 335,800       lb C        $1.00          $ 335,800
  Chemicals/Materials
  Chemicals/Materials                                                                                                                $ 365,400
  Misc. Consumables, Sludge Disposal, Etc.                                                                                            $ 76,200
  Analytical
  Treatment Plant, Extraction, Monitoring Wells                                                                                       $ 54,000
  Labor
  Well Operating, Administrative and Management                                              10,200       hrs      $20 to $50        $ 439,300
  Subcontracts
  Monitoring Wells Sampling (Subcontract)                                                      1           lot     $ 90,000.00        $ 90,000
  Regulatory Monitoring reports allowance (RWQCB, EPA, Air Emissions Inventory)                1           lot     $ 25,000.00        $ 25,000
  Parts
  2 percent of Treatment Plant Installed Cost                                                 2%                   $10,827,251       $ 216,500
                                                                                                                                    $2,093,000
  Contingency on Materials/Services                                                           10%                                    $ 209,300
  LACSD Annual Sewer Surcharge (annual)                                                        1           ea       $179,097         $ 179,100
  TOTAL ANNUAL O&M COSTS                                                                                                            $2,481,400

  NET PRESENT VALUE OF THE ESTIMATED O&M COSTS (30 years, 7% discount rate)                                                      $30,791,800
  TOTAL ESTIMATED PRESENT WORTH FOR THE SELECTED REMEDY                                                                          $69,214,000


  




                                                                                                                                             2-59


                                                                                     226                                         Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 236 of 347 Page ID #:270



  Table 8A. Detailed Cost Estimate for the Selected Remedy – Plumewide Extraction With Reinjection
  Omega Chemical Superfund Site - OU2
                                                     Capital Costs (Plume-Wide Extraction With Reinjection)
                                     Component                                           Quantity             Unit Cost         Cost
  CONVEYANCE & WELL SYSTEM COSTS



  Water Pipelines
  Pipelines for extracted and treated water                                             33,200 feet             varies          $2,511,400
  Extraction
  Three Wells at LE
  Two Wells at CE
  Two Wells at NE                                                                            7                $ 276,678         $1,936,700
  New Monitoring Wells
  New Monitoring Wells
  10 with four screened well intervals each                                                 10                $ 108,060         $1,080,600
  Injection Wells
  Injection Wells (500 feet)                                                                 2                $ 414,196          $ 828,400
  Extraction Well Pumps/Well Heads
  Pumps, vaults, valves, gauges, flow meters/totalizers, relief valves, power
  supply, etc.                                                                               7                $ 133,024          $ 931,200
  CONVEYANCE AND WELL SYSTEM SUBTOTAL A                                                                                         $7,288,300
  Engineering - Design and Technical Support                                                8%                                   $ 583,064
  Contractors Overhead, General Conditions, Mob/Demob, Temporary Facilities
  and Profit                                                                               ~24%                                 $1,763,769
  Construction Management                                                                   5%                                   $ 452,603
  Construction Contingency                                                                 25%                                  $2,521,934
  Total Conveyance and Extraction Well System Cost                                                                           $12,609,700
  GROUNDWATER TREATMENT PLANT
  Untreated Water Tank
  Holding Tank (6,000 gallons)                                                               1                 $ 35,590           $ 35,600
  Level Switch                                                                               1                  $ 365                  $ 400
  Treatment Plant Feed Pump
  Feed Pump (2,000 gpm @ 250 feet head)                                                      2                 $ 73,365          $ 146,700
  8-inch Flow Indicating Totalizer                                                           1                 $4,000               $4,000
  Bag Filter System
  Bag Filters (2,000 gpm)                                                                    2                 $ 20,403           $ 40,800
  Differential Pressure Switch (0 to 30 psig)                                                1                               included above
  Advanced Oxidation Process (AOP)--Trojan System
  AOP System
  (2,000 gpm; Infl 1,4-dioxane @ 13.2 ppb to <0.05 ppb design; 143.2 kW reqd,
  use 8 std 18.5 kW modules)                                                                                  $1,446,010        $1,446,000
  Peroxide Feed System                                                                       1                 $ 80,984           $ 81,000
  Sodium Metabisulfite Injection                                                             1                 $ 33,365           $ 33,400
  Biological LGAC Adsorber System
  LGAC Adsorber Columns (one pair, 20,000 pounds, 120-inch-diameter x 144-
  inch SS each)                                                                             2.5               $ 177,674          $ 444,200
  Differential Pressure Switch (0 to 30 psig)                                                5                  $ 590               $3,000
  8-inch Flow Indicating Totalizer                                                           7                 $4,000             $ 28,000
  LGAC Adsorber System



                                                                                                                                          2-60


                                                                                   227                                     Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 237 of 347 Page ID #:271



  Table 8A. Detailed Cost Estimate for the Selected Remedy – Plumewide Extraction With Reinjection
  Omega Chemical Superfund Site - OU2
                                                    Capital Costs (Plume-Wide Extraction With Reinjection)
                                     Component                                          Quantity             Unit Cost          Cost
  LGAC Adsorber Column Pairs, 20,000 pounds, 10-foot diameter                               5                $ 177,674           $ 888,400
  Differential Pressure Switch (0 to 30 psig)                                              10                  $ 590                $5,900
  8-inch Flow indicating totalizer                                                         12                 $4,000              $ 48,000
  BW and Rinse Recovery System                                                              1                $ 175,164           $ 175,200
  Biocide Injection System                                                                  1                  33365                33,400
  RO Feed Tank
  Tank @ 10 Min. ret time (20,000 gallons)                                                  1                 $ 70,691            $ 70,700
  Level Switch                                                                              1                  $ 365                   $ 400
  Reverse Osmosis System (RO)
  RO System (75 percent Recovery, 2,000 gpm)                                                1                $2,880,000         $2,880,000
  --RO reject brine pump (to sewer, 500 gpm @ 60 feet of head)                              2                 $ 28,992            $ 58,000
  -- Flow indicating totalizer                                                              1                 $4,000                $4,000
  Inj Well Cleaning and Water Conditioning Chemicals Injection System                       1                  56730                56,700
  Treated Water Tank and Level Switch                                                       1
  Holding Tank (30,000 gallons)                                                             1                 $ 89,636            $ 89,400
  Treated Water Pump
  Treated Water Pump (1,500 gpm @ 25 feet of head)                                          2                 $ 31,207            $ 62,400
  Flow Indicating Totalizer                                                                 1                 $4,000                $4,000
  Inj Well Cartridge filters
  Cartridge Filters (2,000 gpm)                                                             2                 $ 20,403            $ 40,800
  Differential Pressure Switch (0 to 30 psig)                                               1                                included above
  TREATMENT PLANT Equipment Material Only "B"                                                                                   $6,680,200
  Installation (Labor For Equipment Installation)                                                                               $1,336,000
  TREATMENT PLANT SUBTOTAL "B"                                                                                                  $8,016,200
  Site work                                                                               5.0%                                   $ 400,800
  Mechanical Piping                                                                      15.0%                                  $1,202,400
  I&C                                                                                    10.0%                                   $ 801,600
  Electrical                                                                             10.0%                                   $ 801,600
  Common Facilities                                                                       8.0%                                   $ 641,300
  Building--Office/Control Room/Lab/Restroom (Pre-Fab Office)                          Lump Sum               $ 62,000            $ 62,000
  Metals                                                                                  5.0%                                   $ 400,800
  RO Concrete Slab and Roof Structure                                                     2500                  $42              $ 105,000
  TREATMENT PLANT SUBTOTAL "C"                                                                                                 $12,431,700
  Engineering- Design and Technical Support                                                8%                                    $ 994,500
  Contractors Overhead, General Conditions, Mob/Demob, Temp Facilities and
  Profit                                                                                  ~24%                                  $3,008,500
  Construction Management                                                                  5%                                    $ 772,000
  Construction Contingency                                                                25%                                   $4,053,100
  LACSD Sewer Connection Fee                                                           Lump Sum                                 $7,485,800
  TOTAL TREATMENT PLANT COST                                                                                                 $28,745,600
  GRAND TOTAL CONVEYANCE, WELL SYSTEM AND TREATMENT PLANT COST                                                               $41,355,300




                                                                                                                                          2-61


                                                                                   228                                    Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 238 of 347 Page ID #:272



  Table 8A. Detailed Cost Estimate for the Selected Remedy – Plumewide Extraction With Reinjection
  Omega Chemical Superfund Site - OU2
                                                    Capital Costs (Plume-Wide Extraction With Reinjection)
                                   Component                                                 Quantity                  Unit Cost                    Cost
  NOTES:
  1. All equipment cost adjustments for size based on the formula: Adjusted Cost = Orig. Cost * (Adjusted Size/Orig. Size) EXP X where "X" is 0.33 for pumps, 0.57
  for Tanks, 0.62 for towers, and 0.6 for other process equipment.
  2. Cost escalation adjustments from the following time periods were used, if needed, as appropriate.
  Escalation Factors
  2000-2009:36.02%
  2003-2009: 31.61%
  2004-2009: 25.74%
  2005-2009: 17.72
  2008-2009: 4.21%
  NOTE: THESE ARE ORDER OF MAGNITUDE COST ESTIMATES, AND EXPECTED TO BE ACCURATE TO -30%/+50%.

  




                                                                                                                                                             2-62


                                                                                    229                                             Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 239 of 347 Page ID #:273



  Table 8B. Detailed Cost Estimate for the Selected Remedy – Plumewide Extraction With Reinjection
  Omega Chemical Superfund Site - OU2
                                                  Annual O&M Costs (Plume-Wide Extraction With Reinjection)

                                                                                             Total
                                        Equip. Name                                       Requirements    Units       Unit Cost           Cost
  Electrical Power
  Extraction Wells to Treatment Plant                                                       803,806       kW-hr
  Treatment Plant and Misc. Equipment                                                       3,372,219     kW-hr
                                                                                  Total     4,176,025     kW-hr         $0.12            $ 501,100
  Carbon Make-up
  LGAC (920 pounds per day)                                                                 335,800           lb C      $1.00            $ 335,800
  Chemicals/Materials
  Chemicals                                                                                                                              $ 365,400
  Misc. Consumables, Sludge Disposal, Etc.                                                                                                $ 76,200
  Analytical
  Treatment Plant, Extraction, Monitoring Wells                                                                                           $ 54,000
  Labor
  Operating, Administrative, and Management                                                  10,220           hrs    $20 to $50          $ 439,800
  Subcontracts
  Monitoring Wells Sampling (Subcontract)                                                      1              lot    $ 90,000.00          $ 90,000
  Regulatory Monitoring reports allowance (RWQCB, EPA, Air Emissions Inventory)                1              lot    $ 25,000.00          $ 25,000
  Parts
  2 percent of Treatment Plant Installed Cost                                                  2%                    $12,431,861         $ 248,600
                                                                                                                                        $2,168,000
  Contingency on Materials/Services                                                           10%                                        $ 216,800
  LACSD Annual Sewer Surcharge (annual)                                                        1                      $179,097           $ 179,100
  TOTAL O&M COSTS                                                                                                                       $2,563,900

  NET PRESENT VALUE OF THE ESTIMATED O&M COSTS (30 years, 7% discount rate)                                                            $31,815,500

  TOTAL ESTIMATED PRESENT WORTH                                                                                                      $73,170,800


   ([SHFWHG2XWFRPHVRIWKH6HOHFWHG5HPHG\
  7KHVHOHFWHGUHPHG\ZLOOSURWHFWKXPDQKHDOWKDQGHQYLURQPHQWE\SUHYHQWLQJIXUWKHUVSUHDGLQJ
  RIWKHFRQWDPLQDWHGJURXQGZDWHUWRDV\HWXQFRQWDPLQDWHGSRUWLRQVRIWKHDTXLIHUDQGQHDUE\
  SURGXFWLRQZHOOV$SOXPHZLGHH[WUDFWLRQV\VWHPZLOOSURYLGHDKLJKGHJUHHRIFRQILGHQFHLQ
  DFKLHYLQJFRPSOHWHSOXPHFDSWXUHDQGZLOOJUHDWO\LPSHGHWKHVSUHDGRIFRQWDPLQDWLRQIURP
  KLJKWRORZHUFRQFHQWUDWLRQ]RQHVDW287UHDWPHQWSODQWLQIOXHQWFRQFHQWUDWLRQVDUHH[SHFWHG
  WRGHFUHDVHRYHUWLPHDVFRQWDPLQDWHGJURXQGZDWHULVUHPRYHG7KHUHPHG\ZLOOVWDUWSURWHFWLQJ
  GRZQJUDGLHQWDUHDVVKRUWO\DIWHUVWDUWXS
  $OWKRXJKUHVWRUDWLRQRIWKHDTXLIHULVQRWDQREMHFWLYHRIWKLVUHPHG\WKHUHPHG\ZLOOEHJLQWKH
  SURFHVVRIUHVWRULQJWKHFRQWDPLQDWHGDTXLIHUE\UHPRYLQJFRQWDPLQDQWVIURPWKHJURXQGZDWHU
  7KHUHPHG\ZLOOUHGXFHWKHHYHQWXDOFRVWGLIILFXOW\DQGWLPHUHTXLUHGIRUUHVWRUDWLRQRIWKH
  DTXLIHU
  &RPSOLDQFHZLWKSOXPHFRQWDLQPHQWREMHFWLYHVVKDOOEHYHULILHGE\GHPRQVWUDWLQJK\GUDXOLF
  FRQWURORIWKH28JURXQGZDWHUSOXPH7KHUHPHGLDODFWLRQVKDOOSURYLGHVXIILFLHQWK\GUDXOLF


                                                                                                                                                 2-63


                                                                               230                                                 Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 240 of 347 Page ID #:274




  FRQWUROWRSUHYHQWODWHUDODQGYHUWLFDOVSUHDGLQJRI&2&VLQJURXQGZDWHUDW28WRSURWHFW
  FXUUHQWDQGIXWXUHXVHVRIJURXQGZDWHUDQGWRSUHYHQWODWHUDODQGYHUWLFDOPLJUDWLRQRI
  JURXQGZDWHUZLWKKLJKFRQFHQWUDWLRQVRI&2&VLQWR]RQHVZLWKFXUUHQWO\ORZHUFRQFHQWUDWLRQVRI
  &2&VWRRSWLPL]HWKHWUHDWPHQWRIH[WUDFWHGJURXQGZDWHU7RHYDOXDWHFRPSOLDQFHZLWKWKRVH
  REMHFWLYHVWKHUHPHG\LQFOXGHVDPRQLWRULQJSURJUDPWKDWZLOOSURYLGHGDWDWRGHWHUPLQHLIWKH
  UHPHG\LVDFKLHYLQJK\GUDXOLFFRQWURO&RPSOLDQFHZLWK(3$¶VREMHFWLYHVZLOODOVREHHYDOXDWHG
  ZLWKPHDVXUHGJURXQGZDWHUOHYHOVDQGJURXQGZDWHUPRGHOLQJFRXSOHGZLWKDQDO\WLFDOUHVXOWV
  IURPZHOOVZLWKLQWKHSOXPHDQGGRZQJUDGLHQWRIWKHSOXPH7KHPRQLWRULQJSURJUDPLQFOXGLQJ
  PRQLWRULQJZHOOVDQGVDPSOLQJDQDO\WLFDOUHTXLUHPHQWVZLOOEHGHYHORSHGGXULQJUHPHGLDO
  GHVLJQ
  3HUIRUPDQFHVWDQGDUGVIRUWUHDWHGJURXQGZDWHUDUHVXPPDUL]HGLQ7DEOHEDVHGRQGULQNLQJ
  ZDWHUHQGXVH7KHFXUUHQWUHJXODWRU\VWDQGDUGVIRU7&(3&(DQGWKHRWKHU92&&2&VDUHWKH
  VWDWHDQGIHGHUDO0&/V+RZHYHUIRUWKHGULQNLQJZDWHUHQGXVHWKHZDWHUZLOOEHWUHDWHGWR
  ORZHUOHYHOVWRWKHH[WHQWUHTXLUHGE\WKH&'3+WKURXJKWKHSHUPLWSURFHVV
  7KHFXUUHQWUHJXODWRU\VWDQGDUGIRUWRWDOFKURPLXP LQFOXGLQJKH[DYDOHQWFKURPLXP LQGULQNLQJ
  ZDWHULVWKH6WDWH0&/RIȝJ/7KHUHLVQR)HGHUDORU6WDWH0&/IRUKH[DYDOHQWFKURPLXP
  DOWKRXJKWKH6WDWHKDVUHFHQWO\DGRSWHGD3XEOLF+HDOWK*RDOIRUKH[DYDOHQWFKURPLXPRI
  ȝJ/7KLVOHYHOKRZHYHULVEHORZWKHFXUUHQW&'3+GHWHFWLRQOLPLWIRUSXUSRVHVRIUHSRUWLQJ
  RIȝJ/DQGLVDOVRQRWDFKLHYDEOHE\H[LVWLQJWUHDWPHQWWHFKQRORJLHVIRUGULQNLQJZDWHU7KH
  ILQDOL]DWLRQRIWKH3+*LVH[SHFWHGWROHDGWRWKHDGRSWLRQRIDQ0&/ZLWKLQ\HDUV,QWKH
  LQWHULP&'3+KDVQRWHGWKDWDWUHDWPHQWVWDQGDUGRIȝJ/LVZLWKLQWKHOLPLWVDFKLHYDEOHE\
  H[LVWLQJWUHDWPHQWWHFKQRORJLHV7KH28)6DVVXPHGWKHXVHRIDWUHDWPHQWWHFKQRORJ\IRU
  KH[DYDOHQWFKURPLXPWKDWFRXOGDFKLHYHDFKLHYHDQHIIOXHQWOHYHORIȝJ/
  1RVWDWHRUIHGHUDO0&/KDVEHHQSURPXOJDWHGIRUGLR[DQH(3$LVWKHUHIRUHXVLQJWKH
  &'3+QRWLILFDWLRQOHYHOZKLFKLVDKHDOWKEDVHGDGYLVRU\OHYHO IRUGULQNLQJZDWHUXVHDVWKH
  SHUIRUPDQFHVWDQGDUGIRUWUHDWPHQWRIH[WUDFWHGJURXQGZDWHULQ281RWLILFDWLRQOHYHOVDUH
  HVWDEOLVKHGE\&'3+DVSUHFDXWLRQDU\PHDVXUHVIRUFRQWDPLQDQWVWKDWPD\EHFRQVLGHUHG
  FDQGLGDWHVIRUHVWDEOLVKPHQWRI0&/V$OWKRXJKWKH28)6ZDVEDVHGRQWKHWKHQFXUUHQW1/
  RIJ/IRUGLR[DQHWKH1/KDVUHFHQWO\EHHQUHGXFHGWRJ/7KLVFKDQJHZLOOLQFUHDVH
  WKHFRVWHVWLPDWHIRUWKHVHOHFWHGUHPHG\UHODWLYHWRWKHHVWLPDWHLQWKH)6IRU$OWHUQDWLYHEXW
  WKHFRVWLQFUHDVHLVUHODWLYHO\VPDOO
  &RPSOLDQFHZLWKSOXPHFRQWDLQPHQWREMHFWLYHVIRUWKHHQGXVHRIUHLQMHFWLRQLVWKHVDPHDVWKDW
  GHVFULEHGDERYHIRUWKHSUHIHUUHGGULQNLQJZDWHUHQGXVH+RZHYHUWKHSHUIRUPDQFHVWDQGDUGV
  IRUWUHDWHGJURXQGZDWHUIRUWKHUHLQMHFWLRQHQGXVHSUHVHQWHGLQ7DEOHDUHGLIIHUHQWWKDQIRU
  GULQNLQJZDWHUHQGXVH
                               




                                                                                                  2-64


                                                    231                            Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 241 of 347 Page ID #:275




  
  Table 9. Performance Standards for Treatment of Extracted Groundwater for Drinking Water End Use
  Omega Chemical Superfund Site – OU2
                Contaminant of Concern                                 Basis for Performance Standard                             Performance Standarda
  TCE`                                                                            Federal MCL                                               5 μg/L
  PCE                                                                             Federal MCL                                               5 μg/L
  1,1-DCA                                                                         Federal MCL                                               5 μg/L
  1,2-DCA                                                                         Federal MCL                                              0.5 μgL
  1,1-DCE                                                                         Federal MCL                                               6 μg/L
  cis-1,2-DCE                                                                     Federal MCL                                               6 μg/L
  1,1,2-TCA                                                                       Federal MCL                                               5 μg/L
  Bis(2-Ethylhexyl)phthalate                                                     California MCL                                             4 μg/L
  Aluminum                                                                        Federal MCL                                              50 μg/L
  Manganese                                                                       Federal MCL                                              50 μg/L
  Total Chromium                                                                 California MCL                                            50 μg/L
  Hexavalent Chromium                                                            See footnote “c”                                         50 b,c μg/L
  Nitrate (as Nitrogen)                                                           Federal MCL                                              10 mg/L
  Sulfate                                                                        California MCL                                           250 mg/L
  TDS                                                                             Federal MCL                                             500 mg/L
  1,4-dioxane                                                                CDPH notification level                                        1 μg/L
  Perchlorate                                                                    California MCL                                             6 μg/L
  Carbon Tetrachloride                                                           California MCL                                            0.5 μg/L
  Notes:
  Additional contaminants not listed above may be included by CDPH in the 97-005 permit.
  aThe CDPH may require lower concentrations in the treated effluent   as a result of the 97-005 permit process.
  bFederal and State MCLs for hexavalent chromium have not been established; therefore, the State MCL for total chromium (50 μg/L) is the current regulatory
  standard applied to hexavalent chromium in drinking water.
  cA public health goal (PHG) for hexavalent chromium of 0.02 μg/L has recently been adopted by OEHHA. It is expected that a State MCL for hexavalent
  chromium will be adopted in 3-4 years. In the interim, CDPH has noted that a treatment standard of 5 μg/L is within the capabilities of existing treatment
  technologies.



  




                                                                                                                                                               2-65


                                                                                      232                                                     Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 242 of 347 Page ID #:276



  Table 10. Performance Standards in Treated Groundwater for Reinjection End Use
  Omega Chemical Superfund Site – OU2
                Contaminant of Concern                                    Basis for Performance Standardd                            Performance Standarda (μg/L)
  TCE                                                                  Federal MCL/State Antidegredation Policy                                    TBD
  PCE                                                                  Federal MCL/State Antidegredation Policy                                    TBD
  1,1-DCA                                                              Federal MCL/State Antidegredation Policy                                     TBD
  1,2-DCA                                                              Federal MCL/State Antidegredation Policy                                     TBD
  1,1-DCE                                                              Federal MCL/State Antidegredation Policy                                     TBD
  cis-1,2-DCE                                                          Federal MCL/State Antidegredation Policy                                     TBD
  1,1,2-TCA                                                            Federal MCL/State Antidegredation Policy                                     TBD
  Bis(2-Ethylhexyl)phthalate                                          California MCL/State Antidegredation Policy                                   TBD
  Aluminum                                                             Federal MCL/State Antidegredation Policy                                    TBD
  Mn                                                                   Federal MCL/State Antidegredation Policy                                     TBD
  Selenium                                                             Federal MCL/State Antidegredation Policy                                     TBD
  Total Chromiumb                                                     California MCL/State Antidegredation Policy                                   TBD

  Hexavalent Chromiumc                                               See footnote “c” /State Antidegredation Policy                                 TBD

  Nitrate (as Nitrogen)                                                Federal MCL/State Antidegredation Policy                                    TBD
  Sulfate                                                             California MCL/State Antidegredation Policy                                  TBD
  TDS                                                                  Federal MCL/State Antidegredation Policy                                    TBD
  1,4-dioxane                                                    CDPH notification level/State Antidegredation Policy                               TBD
  Perchlorate                                                         California MCL/State Antidegredation Policy                                   TBD
  Carbon Tetrachloride                                                California MCL/State Antidegredation Policy                                   TBD
  Notes:
  a Performance standards for reinjection water for the COCs listed are TBD (To Be Determined) and must be addressed in the future RD phase consistent wtih

  statewide aquifer anti-degradation policies recognizing that the aquifer at the point of reinjection will need to be fully characterized. Consequently, it is possible
  that additional contaminants may require treatment to ND levels if they are not present in the aquifer where reinjection is to occur.
  bTotal chromium is mostly hexavalent chromium.

  cA PHG for hexavalent chromium has recently been adopted by OEHHA. It is expected that a State MCL for hexavalent chromium will be adopted within 3-4

  years.
  d The basis for a performance standard will be (at a minimum) MCLs (Federal or State) in the scenario when a specific constituent is already at levels higher

  than MCLs in the aquifer. The basis of performance standard will be the California State antidegradation policy (SWRCB Resolution 68-16) in the scenario in
  which a given constituent is 1) present at lower levels than the MCL, or, 2) if it is not present in the aquifer (e.g., at ND levels). In the first scenario, reinjected
  water must be treated in a manner consistent with Basin Plan requirements. In the second scenario, specific constituents must be treated to ND levels before
  reinjection.

  
   $SSOLFDEOHRU5HOHYDQWDQG$SSURSULDWH5HTXLUHPHQWV
  7KHVHOHFWHGUHPHG\LVH[SHFWHGWRFRPSO\ZLWKDOOIHGHUDODQG6WDWH$5$5V%HFDXVHWKLV
  UHPHG\LVDQLQWHULPDFWLRQWKDWGRHVQRWLQFOXGHUHVWRUDWLRQRIWKHDTXLIHUDVDQREMHFWLYH(3$
  LVQRWDWWKLVWLPHHVWDEOLVKLQJFKHPLFDOVSHFLILF$5$5VDVLQVLWXFOHDQXSJRDOVIRU
  FRQWDPLQDWHGJURXQGZDWHUDWWKH6LWH,QVLWXFOHDQXSJRDOVZLOOEHDGGUHVVHGLQDVXEVHTXHQW
  GHFLVLRQGRFXPHQW)HGHUDODQG6WDWHGULQNLQJZDWHUVWDQGDUGVDUHUHOHYDQWDQGDSSURSULDWHWR
  ZDWHUH[WUDFWHGIURPWKHDTXLIHUDQGGHOLYHUHGWRRQHRUPRUHSRWDEOHZDWHUSXUYH\RUVIRUXVHDV
  GULQNLQJZDWHU$OOH[WUDFWHGDQGWUHDWHGZDWHUWKDWLVGHOLYHUHGWRZDWHUSXUYH\RUVLVH[SHFWHG
  WRFRPSO\ZLWK0&/V



                                                                                                                                                                        2-66


                                                                                            233                                                  Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 243 of 347 Page ID #:277




   6WDWXWRU\'HWHUPLQDWLRQV
  8QGHU&(5&/$6HFWLRQ(3$PXVWVHOHFWUHPHGLHVWKDWDUHSURWHFWLYHRIKXPDQKHDOWKDQG
  WKHHQYLURQPHQWFRPSO\ZLWK$5$5V XQOHVVDVWDWXWRU\ZDLYHULVMXVWLILHG FRQVLGHUWKH
  UHDVRQDEOHQHVVRIFRVWIRUWKHVHOHFWHGUHPHG\DQGXVHSHUPDQHQWVROXWLRQVDQGDOWHUQDWLYH
  WUHDWPHQWWHFKQRORJLHVRUUHVRXUFHUHFRYHU\WHFKQRORJLHVWRWKHPD[LPXPH[WHQWSUDFWLFDEOH,Q
  DGGLWLRQ&(5&/$LQFOXGHVDSUHIHUHQFHIRUUHPHGLHVWKDWHPSOR\DVDSULQFLSDOHOHPHQW
  WUHDWPHQWWKDWSHUPDQHQWO\DQGVLJQLILFDQWO\UHGXFHVWKHWR[LFLW\PRELOLW\RUYROXPHRI
  KD]DUGRXVZDVWHVDQGDELDVDJDLQVWRIIVLWHGLVSRVDORIXQWUHDWHGZDVWHV7KHIROORZLQJVHFWLRQV
  GLVFXVVKRZWKHVHOHFWHGUHPHG\PHHWVWKHVHVWDWXWRU\UHTXLUHPHQWV
   3URWHFWLRQRI+XPDQ+HDOWKDQGWKH(QYLURQPHQW
  7KHVHOHFWHGUHPHG\ZLOOUHGXFHKXPDQKHDOWKULVNE\OLPLWLQJWKHVSUHDGRIFRQWDPLQDWHG
  JURXQGZDWHULQWRFOHDQSRUWLRQVRIWKHDTXLIHUDQGLQWROHVVFRQWDPLQDWHGSRUWLRQVRI
  JURXQGZDWHUZLWKLQWKHSOXPHLWVHOIUHGXFLQJWKHOLNHOLKRRGDQGSRWHQWLDOO\WKHPDJQLWXGHRI
  KXPDQH[SRVXUHWRFRQWDPLQDWHGJURXQGZDWHU7KHUHPHG\WDUJHWVJURXQGZDWHULQKLJKHU
  FRQWDPLQDWLRQDUHDVZLWKLQWKHSOXPH &(DQG1(DUHDV DQGDOVRFDSWXUHVWKHSOXPHDWWKH
  OHDGLQJHGJH
  ,IQRDFWLRQLVWDNHQFRQWDPLQDWHGJURXQGZDWHUZLOOFRQWLQXHWRVSUHDGLQFUHDVLQJWKHOLNHOLKRRG
  RIIXWXUHLQFUHDVHVLQFRQWDPLQDQWFRQFHQWUDWLRQVLQGRZQJUDGLHQWSRUWLRQVRIWKHDTXLIHUDQG
  LQFUHDVLQJWKHHYHQWXDOFRVWGLIILFXOW\DQGWLPHUHTXLUHGIRUUHVWRUDWLRQRIWKHDTXLIHU
  7KHVHOHFWHGUHPHG\LQFOXGHVDERYHJURXQGWUHDWPHQWV\VWHPVWRUHPRYHWKH&2&VIURPWKH
  H[WUDFWHGJURXQGZDWHU$IWHUWUHDWPHQWWKHH[WUDFWHGJURXQGZDWHUZLOODFKLHYHDOO$5$56LGHQWLILHG
  LQWKLV52'7KHUHPHG\DOVRUHTXLUHVFRPSOLDQFHZLWK$5$5VDVVRFLDWHGZLWKWKHGLVSRVDORI
  WUHDWPHQWUHVLGXDOVLIDQ\WRHOLPLQDWHRUPLQLPL]HVKRUWWHUPULVNVDQGFURVVPHGLDLPSDFWV7KH
  UHPHG\LQFOXGHVDQH[WHQVLYHPRQLWRULQJSURJUDPWRHYDOXDWHWKHHIIHFWLYHQHVVRIWKHUHPHG\
  $WSUHVHQWWKHUHLVQRNQRZQH[SRVXUHSDWKZD\LQZKLFKHFRORJLFDOUHFHSWRUVFRXOGEHH[SRVHG
  WRFRQWDPLQDWHGJURXQGZDWHUDWWKH6LWH
   &RPSOLDQFHZLWK$5$5V
  7KHVHOHFWHGUHPHG\VKDOOFRPSO\ZLWK$5$5VDVGHVFULEHGDVIROORZV$FRPSOHWHOLVWRIDOO
  $5$5VIRUWKHVHOHFWHGUHPHG\LVSURYLGHGLQ7DEOHVWR7DEOHVXPPDUL]HVWREH
  FRQVLGHUHG 7%& PDWHULDO
  6HFWLRQ H  L $ RIWKH1&3UHTXLUHVWKDWWKHFRQWDPLQDQWOHYHOVRIWKHJURXQGZDWHU
  WKDWUHPDLQVLQWKHDTXLIHUDUHUHGXFHGEHORZ0&/V%HFDXVHWKLVUHPHG\LVDQLQWHULPDFWLRQ
  WKDWGRHVQRWLQFOXGHUHVWRUDWLRQRIWKHDTXLIHUDVDQREMHFWLYH(3$LVQRWDWWKLVWLPH
  HVWDEOLVKLQJFKHPLFDOVSHFLILF$5$5VDVLQVLWXFOHDQXSJRDOVIRUFRQWDPLQDWHGJURXQGZDWHUDW
  WKH6LWH,QVLWXFOHDQXSJRDOVZLOOEHDGGUHVVHGLQDVXEVHTXHQWGHFLVLRQGRFXPHQW$OO
  H[WUDFWHGDQGWUHDWHGZDWHUWKDWLVSURYLGHGDVGULQNLQJZDWHULVH[SHFWHGWRFRPSO\ZLWK0&/
  $5$5V
  7KH$5$5VDUHIUR]HQDWWKHWLPHWKH52'LVVLJQHGEXWRIIVLWHUHTXLUHPHQWVLQFOXGLQJ
  UHTXLUHPHQWVDSSOLFDEOHWRWUHDWHGZDWHUGHOLYHUHGWRWKHGULQNLQJZDWHUVXSSO\PXVWEHPHWLQ
  RUGHUWRFRPSO\ZLWKWKHVHOHFWHGUHPHG\¶VVHOHFWHGHQGXVHUHJDUGOHVVRIZKHWKHUWKRVH

                                                                                                  2-67


                                                   234                               Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 244 of 347 Page ID #:278




  UHTXLUHPHQWVFKDQJHRYHUWLPH$VDUHVXOWLIDQRIIVLWHGULQNLQJZDWHUUHTXLUHPHQWFKDQJHVWKH
  WUHDWPHQWV\VWHPPXVWPHHWZKLFKHYHUVWDQGDUG²WKHSHUIRUPDQFHVWDQGDUGVHOHFWHGLQWKH52'
  RUWKHRIIVLWHUHTXLUHPHQW²LVORZHU
  




                                                                                                 2-68


                                                   235                          Appendix A
                              Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 245 of 347 Page ID #:279


Table 11. Potential Chemical-Specific Applicable or Relevant and Appropriate Requirements
Omega Chemical Corporation Superfund Site - OU2
                                                                                                                              Applicable or
                                                                                                                              Relevant and
          Requirements                                             Description                                  Media         Appropriate                   Findings and Comments
Federal Primary Drinking Water         The SDWA establishes Federal primary drinking water standards,           Groundwater   Relevant and    The Interim Remedy will result in the use of treated
Standards                              including MCLs to protect the quality of water in public drinking                      appropriate     groundwater as drinking water supply or for aquifer
Federal Safe Drinking Water Act        water systems. MCLs are enforceable standards and represent the                                        replenishment. In either case, water treatment systems
(SDWA), 42 USC §300 et seq.            maximum contaminant concentrations permissible in a public water                                       will reduce the concentrations of COCs to below EPA or
                                       system.                                                                                                State MCLs, whichever is lower. MCLs are considered
40 CFR Part 141.61 and 40 CFR                                                                                                                 relevant and appropriate for the purpose of establisihing
141.62                                                                                                                                        performance standards for treated groundwater.
California Toxics Rule                 The California Toxics Rule is a federal regulation promulgated under     Groundwater   Applicable      Criteria will be applicable if there are temporary
40 CFR 131.36(d)(10)(ii)               the federal Clean Water Act that sets numeric criteria for certain                                     discharges of surface water during operation of the
                                       pollutants in inland waters. It applies to waters assigned an aquatic                                  Interim Remedy.
                                       life or human health use classification in a California Regional Water
                                       Quality Control Plan.
State of California Domestic Water     Establishes California MCLs. Some California MCLs are more               Groundwater   Relevant and    State MCLs that are more stringent than federal MCLs
Quality and Monitoring Regulations     stringent than the federal MCLs, and some California MCLs are                          appropriate     are ARARs for the purpose of establishing performance
Health and Safety Code (H&S Code)      established chemicals for which there are no federal MCLs. The                                         standards for COCs in the water extracted from the
§4010 et seq.                          more stringent limit is determined on a chemical-by-chemical basis.                                    aquifer and treated at the groundwater treatment plant.
                                                                                                                                              The State MCLs for perchlorate (for which no federal
22 California Code of Regulations                                                                                                             MCL exists) and for carbon tetrachloride and Total
(CCR) §64431 and 64444                                                                                                                        Chromium (which are lower than the federal MCLs) are
                                                                                                                                              relevant and appropriate to the Interim Remedy.
Water Quality Control Plan (Basin      The California Porter-Cologne Water Quality Act incorporates the         Groundwater   Relevant and    The provisions of Chapters 2 and 3 of the Basin Plan that
Plan) for Los Angeles Region           requirements of the federal Clean Water Act (CWA) and implements                       appropriate     establish beneficial uses of ground and surface waters;
(adopted 06/13/94), Chapters 2 and 3   additional standards and requirements for surface waters and                                           establish water quality objectives (WQOs), including
                                       groundwaters of the state. Pursuant to California Water Code                                           narrative and numerical standards; establish
                                       §13240 et seq., the Regional Water Quality Control Board, Los                                          implementation plans to meet WQOs and protect
                                       Angeles Region, formulates and enforces water quality standards                                        beneficial uses; and incorporate Statewide Water Quality
                                       defined in the Basin Plan.                                                                             Control Plans and policies are relevant and appropriate
                                       The Basin Plan (Chapters 2 and 3) establishes beneficial uses of                                       to the Interim Remedy. Water extracted from the aquifer
                                       ground and surface waters; establishes water quality objectives                                        will be treated to achieve MCLs, which are identified in
                                       (WQOs), including narrative and numerical standards; establishes                                       the Basin Plan as a WQO for groundwater.
                                       implementation plans to meet WQOs and protect beneficial uses,
                                       and incorporates Statewide Water Quality Control Plans and
                                       policies. The WQOs for groundwater are based on the primary
                                       MCLs.




                                                                                                                                                                                                      2-69



                                                                                                          236                                                     Appendix A
                               Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 246 of 347 Page ID #:280


Table 12. Potential Action-Specific Applicable or Relevant and Appropriate Requirements
Omega Chemical Corporation Superfund Site – OU2
                                                                                                                                 Applicable or
                                                                                                                                 Relevant and
           Requirements                                               Description                                    Media       Appropriate                    Findings and Comments
Storm Water Discharge Requirements        Nonpoint sources must be addressed using best management                 Groundwater   Applicable      If construction of the groundwater treatment plant disturbs
40 CFR §122.26                            practices (BMPs) to control contaminants in stormwater runoff from                                     1 acre or more of soil, compliance with substantive aspects
                                          construction activities. The SWRCB has established requirements                                        of the General Permit for Storm Water Discharges
                                          for general construction activities, including clearing, grading,                                      Associated with Construction or Land Disturbance Activity
                                          excavation reconstruction, and dredge and fill activities. Regulates                                   (Order No. 2009-0009-DWQ, NPDES No. CAS000002) is
                                          pollutants in stormwater discharge from hazardous waste treatment                                      required.
                                          plants, landfills, land application sites, and spent dumps.
SWRCB Resolution 68-16 (Statement         SWRCB Resolution No. 68-16 requires maintenance of existing              Groundwater   Applicable      Applies to the discharge of waste to waters, including
of Policy with Respect to Maintaining     state water quality using best practicable treatment technology                                        groundwater reinjection. Implementation of the Interim
High Quality of Waters in California)     unless a demonstrated change will benefit the people of California,                                    Remedy will protect existing groundwater quality by
                                          will not unreasonably affect present or potential uses, and will not                                   containing contamination within the OU2 plume, and will
                                          result in water quality less than that prescribed in other state                                       not preclude the final remedy from maintaining the existing
                                          policies. In no case may Basin WQOs be exceeded.                                                       quality of background water.
Sources of Drinking Water                 This policy specifies that ground and surface waters of the State are                  Applicable      The requirement is applicable because groundwater
SWRCB Resolution No. 88-63                considered to be suitable or potentially suitable for municipal or       Groundwater                   underlying the Site meets the criteria as a potential source
                                          domestic water supply (MUN designation) subject to limited                                             for drinking water. Water extracted from the aquifer will be
                                          exceptions. If the water is designation as MUN beneficial use, then it                                 treated to achieve MCLs, which are identified in the Basin
                                          must meet the requirements of the Water Quality Control Plan (i.e.,                                    Plan as a WQO for groundwater. Thus, extracted water
                                          the Basin Plan).                                                                                       will be reduced to levels protective of beneficial uses.
Identification and Listing of Hazardous   A waste generator must determine if the waste is classified as a         Soil and      Applicable      Influent groundwater and waste generated during
Waste                                     hazardous waste in accordance with the substantive criteria and          groundwater                   construction of the Interim Remedy and operation of the
     22 CCR §66260.200                    methodology provided in these requirements. Some of the Site                                           groundwater treatment plant will be evaluated,
     (Classification of a Waste as        waste may meet the characteristics of hazardous waste.                                                 characterized, and managed in accordance with
     Hazardous or Nonhazardous)                                                                                                                  substantive provisions of these requirements.

     22 CCR Div. 4.5, Chap. 11
     (§66261.1 et seq.) (Identification
     and Listing of Hazardous Waste)
     22 CCR §66264.13 (General
     Waste Analysis)




                                                                                                                                                                                                         2-70


                                                                                                             237                                                      Appendix A
                              Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 247 of 347 Page ID #:281


Table 12. Potential Action-Specific Applicable or Relevant and Appropriate Requirements
Omega Chemical Corporation Superfund Site – OU2
                                                                                                                                 Applicable or
                                                                                                                                 Relevant and
          Requirements                                               Description                                     Media       Appropriate                    Findings and Comments
Standards Applicable to Generators of                                                                              Soil and
Hazardous Waste, 22 CCR Div. 4.5,                                                                                  groundwater
Chap. 12
     22 CCR §66262.10                    22 CCR 66262.10 lists the sections of California law with which a                       Applicable      The Interim Remedy need only comply with the substantive
                                         generator of hazardous waste must comply.                                                               provisions of the regulations listed in 22 CCR 66262.10.

     22 CCR §66262.11                    22 CCR 66262.11 Requires waste generators to determine if wastes                        Applicable      The substantive requirements of 22 CCR 66262.11 will be
                                         are hazardous, and establishes procedures for such determinations.                                      applicable to management of waste materials generated by
                                                                                                                                                 the groundwater treatment plant and to any waste
                                                                                                                                                 generated while installing new wells.

     22 CCR 66262.34(a)(1)(A)            Waste stored on-Site will be placed in containers or tanks that are in                  Relevant &      Wastes generated during construction of the Interim
                                         compliance with California Hazardous Waste Regulations.                                 appropriate     Remedy and operation of the groundwater treatment plant
                                                                                                                                                 will be managed in accordance with the requirements of 22
                                                                                                                                                 CCR Div. 4.5, Chap. 12. Storage of hazardous waste
                                                                                                                                                 accumulated on-Site must be in compliance with
                                                                                                                                                 substantive requirements prior to offsite disposal. An EPA
                                                                                                                                                 Region 9-approved CERCLA disposal facility must be used
                                                                                                                                                 to dispose of CERCLA waste.
Requirements for Hazardous Waste
Accumulation
     Preparedness and Prevention         Facility design and operation to minimize potential fire, explosion, or   Soil and      Applicable      The groundwater treatment plant will be designed and
     22 CCR Div. 4.5, Chap. 15, Art. 3   unauthorized release of hazardous waste.                                  groundwater                   operated in a manner that minimizes the potential for fire,
     (§66265.30 et seq.)                                                                                                                         explosion, or unauthorized release of hazardous waste.


     Use and Management of               Regulates use and management of containers, compatibility of              Soil and      Applicable      Hazardous waste generated during construction of the
     Containers; Tank Systems            wastes with containers, and special requirements for certain wastes.      groundwater                   Interim Remedy and operation of the groundwater
     22 CCR Div. 4.5, Chap. 15, Art.     Maintain hazardous waste in containers and dispose to a Class I                                         treatment plant will be managed in accordance with 22
     9, 10 (§66265.170 et seq.;          hazardous waste disposal facility within 90 days. These                                                 CCR Div. 4.5, Chap. 15, Art. 9, including accumulation in
     §66265.190 et seq.)                 requirements may apply for the storage of soil cuttings,                                                appropriate DOT -specification containers that are in good
                                         contaminated groundwater, and sediments trapped by the bag filter                                       condition and kept closed except when adding or removing
                                         during startup operation.                                                                               waste, and inspected on a weekly basis. Waste will not be
                                                                                                                                                 kept onsite for more than 90 days.




                                                                                                                                                                                                         2-71

                                                                                                                                                                        Appendix A
                                                                                                             238
                                Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 248 of 347 Page ID #:282


Table 12. Potential Action-Specific Applicable or Relevant and Appropriate Requirements
Omega Chemical Corporation Superfund Site – OU2
                                                                                                                                 Applicable or
                                                                                                                                 Relevant and
           Requirements                                             Description                                          Media   Appropriate                    Findings and Comments
California Land Disposal Restrictions,   Compliance with land disposal regulation standards is required if         Soil          Applicable      Land disposal requirements may apply to the disposal of
Requirements for Generators              hazardous waste (e.g. contaminated soil) is placed on land.                                             spent carbon generated during the treatment of
     22 CCR Div. 4.5, Chap. 18, Art.                                                                                                             groundwater for VOCs and, potentially, to the disposal of
     2, 4, 5, 10 & 11                                                                                                                            treatment residuals associated with other technologies if
                                                                                                                                                 the wastes are determined to be hazardous wastes.
                                                                                                                                                 Wastes will be characterized before shipment offsite to
                                                                                                                                                 determine whether land disposal restriction treatment
                                                                                                                                                 standards apply and, if so, whether the waste meets the
                                                                                                                                                 treatment standards.
Clean Air Act, South Coast Air Quality   The SCAQMD regulations are established to achieve and maintain            Air           Applicable      Construction and operational activities must comply with all
Management District (SCAQMD)             state and federal ambient air quality standards through the federal-                                    substantive applicable SCAQMD requirements.
     Rules and Regulations               approved state implementation plan (SIP).

     Regulation IV, Rule 401, Visible    SCAQMD Rule 401 limits visible emissions from a point source and                                        If air stripping is used to remove VOCs from groundwater,
     Emissions                           provides air quality standards that may not be exceeded.                                                air emissions must meet substantive applicable SCAQMD
                                                                                                                                                 requirements.
     Regulation IV, Rule 402,            SCAQMD Rule 402 prohibits discharge of material that is odorous or
     Nuisance                            causes injury, nuisance, or annoyance to the public.

     Regulation IV, Rule 403,            SCAQMD Rule 403 limits downwind particulate concentrations.
     Fugitive Dust


     Regulation XIII, Rules 1301         SCAQMD Rules 1301 through 1313 establish new source review
     through 1313, New Source            requirements. Rule 1303 requires that all new sources of air
     Review                              pollution in the air district use best available control technology
                                         (BACT) and meet appropriate offset requirements. Emission offsets
                                         are required for all new sources that emit more than 1 pound per
                                         day of VOCs.
     Regulation XIV, Rules 1401 and      SCAQMD Rule 1401 requires that best available control technology
     1401.1, New Source of Toxic Air     for toxics (T-BACT) be employed for new stationary operating
     Contaminants.                       equipment if the cumulative carcinogenic impact from air toxics
                                         would exceed the maximum individual cancer risk limit of 1 in 1
                                         million (1 x 10-6) without T-BACT.

                                         SCAQMD Rule 1401.1 applies to discharges that are within 500 feet
                                         of a school and requires that the discharges from the facility do not
                                         create a cancer risk in excess of 1 in 1 million (1 x 10-6) at the
                                         school.




                                                                                                                                                                                                         2-72



                                                                                                             239                                                         Appendix A
                            Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 249 of 347 Page ID #:283


Table 12. Potential Action-Specific Applicable or Relevant and Appropriate Requirements
Omega Chemical Corporation Superfund Site – OU2
                                                                                                                       Applicable or
                                                                                                                       Relevant and
         Requirements                                        Description                                   Media       Appropriate                   Findings and Comments
Publicly Owned Treatment Works     Treated effluent discharge to reclaimed water line and brine          Groundwater   Applicable      The groundwater treatment plant will be constructed and
(POTW) Requirements                discharge to sanitary sewer must comply with any requirements set                                   operated in a manner that complies with requirements
                                   forth by the current POTW owner, LACSD.                                                             established by the POTW.




                                                                                                                                                                                            2-73


                                                                                                   240                                                              Appendix A
                               Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 250 of 347 Page ID #:284


Table 13. Potential Location-Specific Applicable or Relevant and Appropriate Requirements
Omega Chemical Corporation Superfund Site – OU2
                                                                                                                             Applicable or
                                                                                                                             Relevant and
           Requirements                                          Description                                     Media       Appropriate                    Findings and Comments
National Historic Preservation Act   The requirements establish a National Register and Advisory               Soil and      Applicable      Construction of extraction wells, piping, and the central
                                     Council on Historic Preservation. Remedial activities that would          groundwater                   groundwater treatment plant are not expected to occur at
16 USC §470 et seq.                  affect a property on or eligible for the National Register are required                                 any locations identified as historic sites or structures; no
36 CFR §60.4                         to consult with the Advisory Council and the State Historic                                             areas within the Site have been designated as having
                                     Preservation Officer. Surveys that may be required will result in the                                   historic value to warrant inclusion in the National Register.
                                     determination of adverse effects and the development of mitigation                                      EPA will evaluate whether any site or structure
                                     reports. Historic sites that would be affected by potential remedial                                    encountered during implementation of the remedy is
                                     activity at this location may be identified on or adjacent to the Site.                                 eligible.




                                                                                                                                                                                                       2-74


                                                                                                       241                                                           Appendix A
                                  Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 251 of 347 Page ID #:285


Table 14. To-Be-Considered Criteria
Omega Chemical Corporation Superfund Site – OU2
          Requirements                                                     Description                                     Media                                Findings and Comments
California Notification Levels (NLs)            NLs are health-based advisory levels established by the                 Groundwater   In the absence of an MCL, the CDPH notification level for 1,4-dioxane has been
                                                California Department of Public Health (CDPH) for contaminants                        considered during selection of performance standards for extracted groundwater.
                                                that lack primary MCLs. NLs are advisory levels and not
                                                enforceable standards. An NL is the level of a contaminant in
                                                drinking water that, if not exceeded, is considered to not pose a
                                                significant health risk to people ingesting that water on a daily
                                                basis. For 1,4-dioxane, a chemical considered a probable
                                                carcinogen and a COC at the Site, the NL is generally a level
                                                considered to pose ―de minimis‖ risk (that is, a theoretical lifetime
                                                increase in risk of up to one excess case of cancer in a
                                                population of 1,000,000 people—the 10E-6 risk level). Table 2-1
                                                provides the NL for 1,4-dioxane.
CDPH Policy Guidance for Direct                 This policy establishes a process, including permitting, that must      Groundwater   Administrative and substantive requirements of Policy Memo 97-005 must be
Domestic Use of Extremely Impaired              be followed before using an ―extremely impaired water source‖ as                      followed by any water purveyor seeking to use treated OU2 groundwater in its
Sources (Policy Memo 97-005)                    a drinking water supply. This policy is not a promulgated                             water supply system, if the use of the water occurs off-Site. If the use of water
                                                requirement (i.e., not promulgated under federal or State law),                       occurs on-Site, only substantive requirements of Policy Memo 97-005 are
                                                and therefore is not an ARAR.                                                         required to be followed. Policy Memo 97-005 will be considered during design
                                                                                                                                      and operation of the treatment system, including establishing performance
                                                                                                                                      standards, failure response triggers, and operator qualifications.
California Well Standards                       CDWR Bulletin 74-81 (domestic water well standards) and                 Soil and      Substantive provisions of the California well standards will be considered when
                                                supplemental Bulletin 74-90 provide minimum specifications for          groundwater   designing and installing groundwater extraction wells.
CDWR Bulletin 74-81                             monitoring wells, extractions wells, injection wells, exploratory
                                                borings, and cathodic protection wells. Design and construction
CDWR Bulletin 74-90                             specifications are provided for construction and destruction of
                                                wells and borings.

Notes:
DOT = California Department of Transportation
POTW = Publicly Owned Treatment Works
T-BACT = Best Available Control Technology for Toxics
VOC = volatile organic compound
WDR = waste discharge requirements
WQO = water quality objectives




                                                                                                                                                                                                                      2-75


                                                                                                                        242                                                         Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 252 of 347 Page ID #:286




  7KHVHOHFWHGUHPHG\VKDOOFRPSO\ZLWKDOO$5$5VGHVFULEHGLQWKLVVHFWLRQ%HFDXVHWKLVLVDQ
  LQWHULPDFWLRQIRUFRQWDLQPHQWRIJURXQGZDWHUFRQWDPLQDWLRQ(3$KDVQRWHVWDEOLVKHGFKHPLFDO
  VSHFLILF$5$5VDVLQVLWXFOHDQXSOHYHOVIRUUHVWRUDWLRQRIWKHDTXLIHU
  7KHUHPHGLDODFWLRQVVHOHFWHGLQWKLV52'PD\WULJJHUDGGLWLRQDOOHJDOUHTXLUHPHQWV7KHVH
  UHTXLUHPHQWVDUHQRWLGHQWLILHGDV$5$5VLQWKLV52'HLWKHUEHFDXVHVXFKUHTXLUHPHQWVGRQRW
  PHHWWKHGHILQLWLRQDOSUHUHTXLVLWHV DVHVWDEOLVKHGE\&(5&/$6HFWLRQ G  WREH
  LGHQWLILHGDVDQ$5$5IRURQVLWHDFWLYLWLHVRUEHFDXVHVXFKUHTXLUHPHQWVDUHWULJJHUHGE\RIIVLWH
  DFWLYLWLHV)RUH[DPSOHWKH*HQHUDO3UHWUHDWPHQW5HJXODWLRQVIRU([LVWLQJDQG1HZ6RXUFHVRI
  3ROOXWLRQ&)5et seqDSSO\WREULQHGLVFKDUJHIURPWKHJURXQGZDWHUWUHDWPHQWSODQWWR
  WKH327:(IIOXHQWGLVFKDUJHGWRVDQLWDU\VHZHUVDQG327:VDUHUHJXODWHGE\PXQLFLSDOLWLHV
  WKURXJKWKH13'(63URJUDP'LVFKDUJHVWRDQRIIVLWHZDVWHZDWHUWUHDWPHQWIDFLOLW\PXVWPHHW
  SUHWUHDWPHQWUHTXLUHPHQWVHVWDEOLVKHGE\WKH327:
   &RVW(IIHFWLYHQHVV
  ,Q(3$¶VMXGJPHQWWKHVHOHFWHGUHPHG\LVFRVWHIIHFWLYH6HFWLRQ I LL ' RIWKH1&3
  UHTXLUHV(3$WRHYDOXDWHWKHFRVWRIDQDOWHUQDWLYHUHODWLYHWRLWVRYHUDOOHIIHFWLYHQHVV7KLVZDV
  DFFRPSOLVKHGE\HYDOXDWLQJʊRYHUDOO     HIIHFWLYeness” ofWKRVHDOWHUQDWLYHVWKDWVDWLVILHGWKH
  WKUHVKROGFULWHULD LH$OWHUQDWLYHVWKURXJKZKLFKDUHSURWHFWLYHRIKXPDQKHDOWKDQG
  FRPSO\ZLWKDOOVHOHFWHG$5$5V 2YHUDOOHIIHFWLYHQHVVZDVHYDOXDWHGE\DVVHVVLQJIRXURIWKH
  ILYHEDODQFLQJFULWHULDLQFRPELQDWLRQ ORQJWHUPHIIHFWLYHQHVVDQGSHUPDQHQFHUHGXFWLRQLQ
  WR[LFLW\PRELOLW\RUYROXPHWKURXJKWUHDWPHQWVKRUWWHUPHIIHFWLYHQHVVDQGLPSOHPHQWDELOLW\ 
  2YHUDOOHIIHFWLYHQHVVZDVWKHQFRPSDUHGWRFRVWVWRGHWHUPLQHFRVWHIIHFWLYHQHVV7KH
  UHODWLRQVKLSRIWKHRYHUDOOHIIHFWLYHQHVVRIWKLVUHPHGLDODOWHUQDWLYHZDVGHWHUPLQHGWREH
  SURSRUWLRQDOWRLWVFRVWVDQGKHQFHWKLVDOWHUQDWLYHUHSUHVHQWVDUHDVRQDEOHYDOXHIRUWKHPRQH\
  VSHQW
  7KHHVWLPDWHG139RIWKHVHOHFWHGUHPHG\ $OWHUQDWLYHDVPRGLILHG LVPLOOLRQ
  GHSHQGLQJRQWKHHQGXVHRIWKHZDWHU$OWKRXJK$OWHUQDWLYHKDVWKHORZHVW139FRVWRI
  PLOOLRQLWGRHVQRWPHHWWKHSOXPHFDSWXUHDQGFRQWDLQPHQWFULWHULRQ$OOWKHRWKHUDFWLRQ
  $OWHUQDWLYHVDQGKDYHHTXDORUKLJKHU139FRVWV PLOOLRQPLOOLRQDQG
  PLOOLRQUHVSHFWLYHO\ ZKLOHSURYLGLQJWKHVDPHGHJUHHRISOXPHFDSWXUHDQGFRQWDLQPHQW RUOHVV
  LQWKHFDVHRI$OWHUQDWLYH DVWKHVHOHFWHGUHPHG\
   8WLOL]DWLRQRI3HUPDQHQW6ROXWLRQVDQG$OWHUQDWLYH7UHDWPHQW
         7HFKQRORJLHVWRWKH0D[LPXP([WHQW3UDFWLFDEOH
  (3$KDVGHWHUPLQHGWKDWWKHVHOHFWHGUHPHG\UHSUHVHQWVWKHPD[LPXPH[WHQWWRZKLFK
  SHUPDQHQWVROXWLRQVDQGWUHDWPHQWWHFKQRORJLHVFDQEHXVHGLQDSUDFWLFDEOHPDQQHUDW28
  XQWLO(3$REWDLQVVXIILFLHQWGDWDWRVHOHFWDILQDOUHPHG\(3$KDVDOVRGHWHUPLQHGWKDWWKH
  VHOHFWHGUHPHG\SURYLGHVWKHEHVWEDODQFHRIWUDGHRIIVLQWHUPVRIWKHILYHEDODQFLQJFULWHULD
  ZKLOHDOVRFRQVLGHULQJWKHVWDWXWRU\SUHIHUHQFHIRUWUHDWPHQWDVDSULQFLSDOHOHPHQWDQGELDV
  DJDLQVWRIIVLWHWUHDWPHQWDQGGLVSRVDODVRXWOLQHGDVIROORZV
     /RQJWHUP(IIHFWLYHQHVVDQG3HUPDQHQFH%\FRQWUROOLQJ WRWKHH[WHQWSUDFWLFDEOH 
     PLJUDWLRQRIWKHJURXQGZDWHUH[FHHGLQJ0&/VLQFOXGLQJWKHPRVWKLJKO\FRQWDPLQDWHG
     JURXQGZDWHULQWKH28SOXPHWKHDUHDIRUSRWHQWLDOIXWXUHUHVLGXDOFRQWDPLQDWLRQLQ
     JURXQGZDWHULVOLPLWHG

                                                                                                     2-76



                                                       243                              Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 253 of 347 Page ID #:287




     5HGXFWLRQRI7R[LFLW\0RELOLW\RU9ROXPHWKURXJK7UHDWPHQW+\GUDXOLFFRQWDLQPHQWDQG
     JURXQGZDWHUWUHDWPHQWZLOOUHGXFHWKHPRELOLW\DQGYROXPHRIGLVVROYHGSKDVH92&DQG
     RWKHUFRQWDPLQDQWFRQFHQWUDWLRQVLQJURXQGZDWHUDQGUHVXOWLQWKHSHUPDQHQWGHVWUXFWLRQRI
     92&VDQGGLR[DQH
     6KRUWWHUP(IIHFWLYHQHVV7KHUHDUHQRVSHFLDOVKRUWWHUPHIIHFWLYHQHVVLVVXHVWKDWVHWWKH
     VHOHFWHGUHPHG\DSDUWIURPWKHRWKHUDOWHUQDWLYHVHYDOXDWHG
     ,PSOHPHQWDELOLW\7KHVHOHFWHGUHPHG\LVQRWPRUHFRPSOH[WRLPSOHPHQWWKDQWKHRWKHU
     UHPHGLDODOWHUQDWLYHV
   3UHIHUHQFHIRU7UHDWPHQWDVD3ULQFLSDO(OHPHQW
  7KHVHOHFWHGUHPHG\ZLOOWUHDW92&VDQGRWKHUFRQWDPLQDQWVLQWKHH[WUDFWHGJURXQGZDWHUWR
  DFKLHYHWKHSHUIRUPDQFHVWDQGDUGV%\XVLQJWUHDWPHQWDVDVLJQLILFDQWSRUWLRQRIWKHUHPHG\WKH
  VWDWXWRU\SUHIHUHQFHIRUUHPHGLHVWKDWHPSOR\WUHDWPHQWDVDSULQFLSDOHOHPHQWLVVDWLVILHG
   )LYH<HDU5HYLHZ5HTXLUHPHQWV
  %HFDXVHWKLVUHPHG\ZLOOUHVXOWLQKD]DUGRXVVXEVWDQFHVSROOXWDQWVRUFRQWDPLQDQWVUHPDLQLQJ
  RQVLWHDERYHOHYHOVWKDWDOORZIRUXQOLPLWHGXVHDQGXQUHVWULFWHGH[SRVXUHDVWDWXWRU\UHYLHZZLOO
  EHFRQGXFWHGZLWKLQ\HDUVDIWHULQLWLDWLRQRIUHPHGLDODFWLRQWRHQVXUHWKDWWKHUHPHG\LVRU
  ZLOOEHSURWHFWLYHRIKXPDQKHDOWKDQGWKHHQYLURQPHQW

   'RFXPHQWDWLRQRI6LJQLILFDQW&KDQJHV
  7KH3URSRVHG3ODQIRU28ZDVUHOHDVHGIRUSXEOLFFRPPHQWLQ$XJXVW,WLGHQWLILHGDV
  (3$¶VSUHIHUUHGDOWHUQDWLYHWKHJURXQGZDWHUH[WUDFWLRQWUHDWPHQWFRQYH\DQFHDQGPRQLWRULQJ
  IDFLOLWLHVDQGLQVWLWXWLRQDOFRQWUROVLQFOXGHGLQ$OWHUQDWLYH,WLGHQWLILHGGULQNLQJZDWHUDVWKH
  HQGXVH
  (3$UHYLHZHGDOOZULWWHQDQGYHUEDOFRPPHQWVVXEPLWWHGGXULQJWKHSXEOLFFRPPHQWSHULRG
   $XJXVWWR1RYHPEHU 0XOWLSOHSDUWLHVFRPPHQWHGRQWKHGULQNLQJZDWHU
  HQGXVHLQFOXGLQJWKHDVVHUWLRQWKDW$OWHUQDWLYHZRXOGEHGLIILFXOWWRLPSOHPHQWWKDWLWZLOOEH
  WLPHFRQVXPLQJIRUSDUWLHVWRUHDFKDJUHHPHQWRQVHYHUDODVSHFWVRIWKHUHPHG\DQGWKDWDSODQ
  LVQHHGHGWRDGGUHVVSRWHQWLDOGHOD\VRILPSOHPHQWLQJWKHUHPHG\&RQVHTXHQWO\(3$LV
  PHPRULDOL]LQJLQWKLV52'WKHDOWHUQDWHHQGXVHRSWLRQRIUHLQMHFWLRQLQWRWKHDTXLIHU$VQRWHG
  LQWKLV52'LI(3$GHWHUPLQHVWKDWDJUHHPHQW V QHFHVVDU\IRULPSOHPHQWDWLRQRI$OWHUQDWLYH
   GULQNLQJZDWHUHQGXVH FDQQRWEHUHDFKHGLQDWLPHO\PDQQHU(3$PD\DSSURYHUHLQMHFWLRQDV
  DQDOWHUQDWHHQGXVHRSWLRQ
  ,QWKHVHOHFWHGUHPHG\UHLQMHFWLRQLVQRWOLPLWHGWRWKHGHHSDTXLIHUDVLWZDVLQ$OWHUQDWLYH
  +RZHYHUUHJDUGOHVVRIWKHGHSWKDWZKLFKLWRFFXUVUHLQMHFWLRQPXVWEHLPSOHPHQWHGLQD
  PDQQHUWKDWGRHVQRWFDXVHLQWHUIHUHQFHZLWKFRQWDLQPHQWRIWKHSOXPHDQGGRHVQRWUHVXOWLQ
  IXUWKHUVSUHDGLQJRIH[LVWLQJSOXPHVLQWKHVKDOORZRUGHHSDTXLIHU
  (3$¶VUHVSRQVHVWRFRPPHQWVRQLWVSURSRVHGFOHDQXSSODQDUHLQFOXGHGLQWKH5HVSRQVLYHQHVV
  6XPPDU\ZKLFKLV3DUWRIWKLV52'



                                                                                                        2-77


                                                        244                      Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 254 of 347 Page ID #:288




                                                               3DUW
                                             5HVSRQVLYHQHVV6XPPDU\
  
  


  


                                       245                          Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 255 of 347 Page ID #:289




  3DUW5HVSRQVLYHQHVV6XPPDU\
  

  7KHSXUSRVHRIWKLV5HVSRQVLYHQHVV6XPPDU\LVWRSURYLGHDVXPPDU\RI(3$¶VUHVSRQVHVWR
  FRPPHQWVUHFHLYHGIURPVWDNHKROGHUVDQGWKHSXEOLFRQ(3$¶V3URSRVHG3ODQIRUWKH2PHJD
  &KHPLFDO&RUSRUDWLRQ6XSHUIXQG6LWH,QWHULP*URXQGZDWHU5HPHG\IRU2SHUDEOH8QLW 28 
  (3$KHOGDSXEOLFPHHWLQJRQ$XJXVWDWZKLFK(3$UHSUHVHQWDWLYHVSUHVHQWHGWKH
  3URSRVHG3ODQDQGDQVZHUHGTXHVWLRQVDERXWWKH6LWHDQGWKHSUHIHUUHGUHPHGLDODOWHUQDWLYHIURP
  YDULRXVLQGLYLGXDOVLQFOXGLQJUHSUHVHQWDWLYHVRIZDWHUSXUYH\RUV&RPPHQWVPDGHRQWKH
  SUHIHUUHGDOWHUQDWLYHZHUHODWHULQFOXGHGLQIRUPDOFRPPHQWOHWWHUVVXEPLWWHGGXULQJWKHSXEOLF
  FRPPHQWSHULRGRQWKH3URSRVHG3ODQ $XJXVWWR1RYHPEHU 7KHWUDQVFULSW
  IRUWKHSXEOLFPHHWLQJLVSDUWRIWKH$GPLQLVWUDWLYH5HFRUGILOHDWWKHLQIRUPDWLRQUHSRVLWRULHV
  LGHQWLILHGLQWKH52'DQGEHORZ
  *ROGHQ6WDWH:DWHU&RPSDQ\ *6:& UHTXHVWHGDGD\H[WHQVLRQRIWKHLQLWLDOSXEOLF
  FRPPHQWSHULRG WR6HSWHPEHU ZKLFK(3$JUDQWHG7KHUHDIWHUWZRDGGLWLRQDO
  VWDNHKROGHUV &RQJUHVVZRPDQ*UDFH1DSROLWDQRDQGWKH6RXWKHDVW:DWHU&RDOLWLRQ UHTXHVWHG
  DQDGGLWLRQDOGD\H[WHQVLRQZKLFK(3$DOVRJUDQWHGH[WHQGLQJWKHSXEOLFUHYLHZSHULRG
  WKURXJK1RYHPEHU
  'XULQJWKHSXEOLFFRPPHQWSHULRG(3$UHFHLYHGOHWWHUVIURPVWDNHKROGHUVDQGRQHORFDO
  FRQVXOWDQWZLWKFRPPHQWVRQWKH3URSRVHG3ODQ&RPPHQWVZHUHUHFHLYHGIURPWKHIROORZLQJ
  $QWKRQ\0DUWLQH] ORFDOFRQVXOWDQW &DOLIRUQLD'HSDUWPHQWRI3XEOLF+HDOWK &'3+ &HQWUDO
  %DVLQ0XQLFLSDO:DWHU'LVWULFW &%0:' &LW\RI/DNHZRRG&LW\RI1RUZDON&LW\RI6DQWD
  )H6SULQJV*ROGHQ6WDWH:DWHU&RPSDQ\ *6:& /RV$QJHOHV&RXQW\'HSDUWPHQWRI3XEOLF
  :RUNV /$'3: 0F.HVVRQ&RUSRUDWLRQ2PHJD&KHPLFDO6LWH3532UJDQL]HG*URXS
    232* 3KLEUR7HFK,QF 37, 6RXWKHDVW:DWHU&RDOLWLRQ7:%XVLQHVV6ROXWLRQV,QFDQG
  WKH:DWHU5HSOHQLVKPHQW'LVWULFWRI6RXWKHUQ&DOLIRUQLD :5' $OORIWKHFRPPHQWOHWWHUVDUH
  LQFOXGHGLQWKH$GPLQLVWUDWLYH5HFRUG
  
  ,QWKLV5HVSRQVLYHQHVV6XPPDU\(3$LVUHTXLUHGWRFRQVLGHUDQGDGGUHVVFRPPHQWVWKDWDUH
  SHUWLQHQWDQGVLJQLILFDQWWRWKHUHPHGLDODFWLRQEHLQJVHOHFWHG(3$LVQRWUHTXLUHGWRDGGUHVV
  FRPPHQWVWKDWSHUWDLQWRWKHDOORFDWLRQRIOLDELOLW\IRUWKHUHPHGLDODFWLRQQRUSRWHQWLDOIXWXUH
  HQIRUFHPHQWDFWLRQVWRLPSOHPHQWWKHUHPHGLDODFWLRQDVWKHVHDUHGLVWLQFWIURPWKHVHOHFWLRQRI
  WKHUHPHGLDODFWLRQ(3$PD\DGGUHVVFRPPHQWVZLWKOLPLWHGSHUWLQHQFHLIGRLQJVRZRXOG
  DGGUHVVDFRQFHUQRIDVLJQLILFDQWVHJPHQWRIWKHSXEOLF
  $VXPPDU\RIWKHPDMRULVVXHVUDLVHGE\FRPPHQWHUVLVSUHVHQWHGLQWKHQH[WVHFWLRQ

   6WDNHKROGHU,VVXHV
  'XULQJWKHGD\SXEOLFFRPPHQWSHULRGWKHFRPPXQLW\UHVSRQVHWR(3$¶V3URSRVHG3ODQZDV
  OLPLWHGWRDQHZVSDSHUDUWLFOH Whittier Daily News1RYHPEHUE\06SUDJXH 
  VHYHUDOTXHVWLRQVDERXWWKHORFDWLRQRIWKHSOXPHUHODWLYHWRUHVLGHQWLDOKRPHVDQGTXHVWLRQV
  IURPSURSHUW\RZQHUVUHJDUGLQJWKHLUSRWHQWLDOOLDELOLW\,QDGGLWLRQ(3$UHFHLYHGDOHWWHURI
  FRPPHQWIURPDORFDOFRQVXOWDQW


                                                                                                  3-1


                                                  246                               Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 256 of 347 Page ID #:290




  
  $VXPPDU\RIDOOFRPPHQWVDQG(3$¶VUHVSRQVHWRWKRVHFRPPHQWVLVSURYLGHGLQ$SSHQGL[$
  7KLVVXPPDU\LQFOXGHVFRPPHQWVUHTXHVWLQJPRGLILFDWLRQVRIWKHUHPHG\DGGLWLRQDO
  LQYHVWLJDWLRQVRURWKHUDFWLRQVE\(3$0DQ\RIWKHFRPPHQWOHWWHUVDOVRFRQWDLQHGRSLQLRQV
  H[SODQDWLRQVDQGJHQHUDOVWDWHPHQWV:KHUHVLPLODUFRPPHQWVZHUHVXEPLWWHGWKHFRPPHQWV
  KDYHEHHQVXPPDUL]HGE\FDWHJRU\WRDYRLGUHSHWLWLRQ7KHQDPHVRIWKHFRPPHQWHUVDUHOLVWHG
  LQSDUHQWKHVLVDIWHUWKHFRPPHQW$GHWDLOHGUHVSRQVHWRWKHFRPPHQWVLVSURYLGHGLQEROGLWDOLFV
  LQ$SSHQGL[$

   7HFKQLFDODQG/HJDO,VVXHV
  7KHPDLQWHFKQLFDODQGOHJDOLVVXHVUDLVHGLQWKHFRPPHQWVLQFOXGHWKHIROORZLQJ
         6HYHUDOSDUWLHVFRPPHQWHGWKDWWKHUHPHG\VKRXOGEHLPSOHPHQWHGLPPHGLDWHO\WR
         SURWHFWGULQNLQJZDWHUZHOOV
         (3$DJUHHVWKDWLWLVKLJKO\LPSRUWDQWWRLQLWLDWHWKHVHOHFWHGLQWHULPUHPHG\ $OWHUQDWLYH
           RFFDVLRQDOO\UHIHUUHGWRKHUHLQDVWKH,QWHULP5HPHG\RU6HOHFWHG5HPHG\ WRFRQWDLQ
         WKH28SOXPHDVTXLFNO\DVSRVVLEOH(3$LVSXUVXLQJDQLQWHULPUHPHG\DWWKLVWLPH
         EHFDXVHLWFDQEHVHOHFWHGDQGLPSOHPHQWHGLQDPRUHWLPHO\PDQQHUWKDQDIXOOILQDO
         FOHDQXSUHPHG\7KHRYHUDOOREMHFWLYHRIWKH,QWHULP5HPHG\LVWRSURWHFWKXPDQKHDOWK
         DQGWKHHQYLURQPHQWE\SUHYHQWLQJIXUWKHUVSUHDGLQJRIWKHFRQWDPLQDWHGJURXQGZDWHU
         6HYHUDOSDUWLHVFRPPHQWHGWKDW$OWHUQDWLYHPD\EHGLIILFXOWWRLPSOHPHQWDQG
         WKDWLWPD\UHTXLUHH[WHQVLYHHIIRUWDQGWLPHWRUHDFKDJUHHPHQWVZLWKDZDWHU
         SXUYH\RUWRDFFHSWWKHWUHDWHGZDWHUQHJRWLDWHZDWHUULJKWVLQWKLVDGMXGLFDWHG
         ZDWHUEDVLQDQGDGGUHVVZDWHUUHSOHQLVKPHQWIHHV7KHUHZDVDOVRFRQFHUQWKDW
         FRPSO\LQJZLWKWKH&DOLIRUQLD'HSDUWPHQWRI3XEOLF+HDOWK3ROLF\0HPR
          3ROLF\*XLGDQFHIRU'LUHFW'RPHVWLF8VHRI([WUHPHO\,PSDLUHG6RXUFHV  &'3+
           ZKLFKHVWDEOLVKHVDVHULHVRIUHYLHZDQGDSSURYDOVWHSVWREHIROORZHG
         EHIRUHDQH[WUHPHO\LPSDLUHGZDWHUVRXUFHFDQEHXVHGDVDGULQNLQJZDWHUFRXOG
         DOVREHDOHQJWK\SURFHVV
         (3$DFNQRZOHGJHVWKHUHPD\EHVLJQLILFDQWFKDOOHQJHVLQYROYHGLQWKHVHVWHSVWRZDUGV
         LPSOHPHQWDWLRQRIWKH,QWHULP5HPHG\(3$KDVLQFOXGHGIOH[LELOLW\LQWKH52'WKDW
         DOORZVGLVFKDUJHRIWUHDWHGZDWHUYLDUHLQMHFWLRQLI(3$GHWHUPLQHVWKHUHTXLUHG
         DJUHHPHQW V IRUGULQNLQJZDWHUHQGXVHFDQQRWEHUHDFKHGLQDWLPHO\PDQQHU$V
         GHVFULEHGLQWKH)6UHLQMHFWLRQZRXOGKDYHWREHLPSOHPHQWHGLQDPDQQHUWKDWGRHVQRW
         FDXVHLQWHUIHUHQFHZLWKFRQWDLQPHQWRIWKHSOXPHDQGGRHVQRWUHVXOWLQIXUWKHUVSUHDGLQJ
         RIH[LVWLQJSOXPHVLQWKHVKDOORZDTXLIHU
  

         6HYHUDOSDUWLHVFRPPHQWHGWKDWWKHGHSWKRIWKHSOXPHHVSHFLDOO\QHDUWKHOHDGLQJ
         HGJHPD\EHJUHDWHUWKDQZKDWZDVGHWHUPLQHGLQWKH5,)6
         ,QIRUPDWLRQFROOHFWHGWRGDWHFRQWLQXHVWRLQGLFDWHWKDWWKHPDMRULW\RIWKHFRQWDPLQDQW
         PDVVLVLQWKHVKDOORZDTXLIHUZLWKVRPHLQFUHDVHLQ92&FRQFHQWUDWLRQVRFFXUULQJLQ
         WKHGHHSHUZHOOV3ULRUWRFRQVWUXFWLRQRIWKH,QWHULP5HPHG\DGGLWLRQDOLQYHVWLJDWLRQRI
         WKHDTXLIHUVZLOOEHSHUIRUPHGWRVXSSRUWWKHUHPHGLDOGHVLJQ 5' DQGHQVXUHWKH
         H[WUDFWLRQZHOOVDUHSURSHUO\SODFHGWRFDSWXUHWKHODWHUDODQGYHUWLFDOH[WHQWRIWKHNQRZQ

                                                                                                   3-2


                                                  247                                    Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 257 of 347 Page ID #:291




         SOXPH(3$ZLOOFRQWLQXHWRZRUNFROODERUDWLYHO\ZLWK:5'DQG8QLWHG6WDWHV
         *HRORJLFDO6XUYH\ 86*6 WRJDWKHUDQGVKDUHH[LVWLQJGDWDWRDVVLVWLQFKDUDFWHUL]LQJ
         WKHGHHSDTXLIHUV
         6HYHUDOSDUWLHVFRPPHQWHGWKDWWKHSURSRVHGUHPHG\GRHVQRWLQFOXGHVRXUFH
         FRQWUROIRUIDFLOLWLHVWKDWDUHORFDWHGLQWKH28SOXPHDUHD
         (3$DJUHHVWKDWWKHLQWHULPUHPHG\ZLOOQRWDGGUHVVLQGLYLGXDOVRXUFHDUHDVPRVWRI
         ZKLFKDUHEHLQJDGGUHVVHGE\WKH6WDWHRI&DOLIRUQLD WKURXJKWKH'HSDUWPHQWRI7R[LF
         6XEVWDQFHV&RQWURO '76& RUWKH5HJLRQDO:DWHU4XDOLW\&RQWURO%RDUG 5:4&% 
         7KH5,DGGUHVVHVVHYHUDOFRQILUPHGDQGSRWHQWLDOVRXUFHDUHDVZLWKLQWKHIRRWSULQWRIWKH
         28SOXPH(3$KDVVHOHFWHGDQLQWHULPUHPHG\WRDFKLHYHDWLPHO\FRQWDLQPHQWRIWKH
         FRPPLQJOHGSOXPH)ROORZLQJLPSOHPHQWDWLRQRIWKHLQWHULPUHPHG\IRU28(3$ZLOO
         FRQGXFWIXUWKHUVWXGLHVDQGH[SHFWVWRSURSRVHDGGLWLRQDOUHPHGLDODFWLRQVIRUWKH28
         SOXPHDVSDUWRIWKHILQDOFOHDQXSUHPHG\IRUWKH6LWH$VSDUWRIWKRVHVWXGLHV(3$ZLOO
         ZRUNZLWKWKH6WDWHWRLGHQWLI\DQGDGGUHVVDOOVLJQLILFDQWVRXUFHVZLWKLQWKH28SOXPH
         DUHDWKDWKDYHFRQWULEXWHGWRWKHJURXQGZDWHUFRQWDPLQDWLRQ0RVWRIWKHNQRZQVRXUFHV
         DUHFXUUHQWO\EHLQJDGGUHVVHGE\6WDWHOHGDFWLRQV(3$H[SHFWVWKDWWKHUHVWRIWKH
         VRXUFHVZLOOEHDGGUHVVHGE\WKHFRPELQHGHIIRUWVRIWKH6WDWHDQG(3$
  $GHWDLOHGUHVSRQVHWRWKHFRPPHQWVUHFHLYHGLVLQFOXGHGLQ$SSHQGL[$




                                                                                                    3-3


                                                  248                               Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 258 of 347 Page ID #:292




  $SSHQGL[$'HWDLOHG5HVSRQVHWR&RPPHQWV
  7KHFRPPHQWVKDYHEHHQFDWHJRUL]HGLQWRWKHIROORZLQJIRXUPDLQFDWHJRULHV
   7DEOH,&RPPHQWV5HODWHGWRWKH&RQWDPLQDWHG*URXQGZDWHU3OXPH
   7DEOH,,&RPPHQWV5HODWHGWRWKH6HOHFWHG,QWHULP5HPHG\
   7DEOH,,,&RPPHQWV5HODWHGWR3HUPLWWLQJDQG&RPSOLDQFH
   7DEOH,92WKHU&RPPHQWV

  7DEOH,&RPPHQWV5HODWHGWRWKH&RQWDPLQDWHG*URXQGZDWHU3OXPH
  
       7KH3URSRVHG3ODQLVEDVHGRQGDWDDQGWKHSOXPHLVPRYLQJDERXWIHHWSHU
         \HDUFRQVHTXHQWO\WKHOHDGLQJHGJHQRZPD\EHFORVHWR,QWHUVWDWH7KHSOXPHPD\
         KDYHPLJUDWHGEH\RQGWKHSODQQHGH[WUDFWLRQORFDWLRQVSUHVHQWHGLQWKH3URSRVHG3ODQ
         7KHFXUUHQWSURSRVHGH[WUDFWLRQZHOOORFDWLRQVPD\QRWFDSWXUHWKHSOXPH7KHSOXPH
         ORFDWLRQXVLQJPRUHUHFHQW  GDWDLVUHTXHVWHG &LW\RI1RUZDON&LW\RI6DQWD)H
         6SULQJV:5'7:%XVLQHVV6ROXWLRQV,QFDQG*6:& 
         5HVSRQVH(3$DFNQRZOHGJHVWKDWWKH3URSRVHG3ODQZDVEDVHGRQWKH
         JURXQGZDWHUGDWDLQWKH5,)6UHSRUWV7KHGDWDFRPSULVHGWKHPRVWFXUUHQWDQG
         FRPSOHWHGDWDVHWDYDLODEOHDWWKHWLPHWKH)6ZDVEHLQJSUHSDUHG(3$DQGRWKHU
         SDUWLHVKDYHFRQWLQXHGWRFROOHFWDGGLWLRQDOJURXQGZDWHUGDWDVLQFHWKH5,)6ZDV
         FRPSOHWHGDQG(3$H[SHFWVWKDWWKHDGGLWLRQDOGDWDZLOOEHXVHGGXULQJWKHGHVLJQ
         SURFHVVWRHQVXUHWKDWWKHH[WUDFWLRQZHOOVDUHSODFHGWRPHHWWKHFRQWDLQPHQWJRDOVRI
         WKHVHOHFWHGUHPHG\
         (3$FRQWLQXHVWRPRQLWRUWKHJURXQGZDWHUDW28ELDQQXDOO\DQGKDVFRQVLGHUHGWKH
         PRUHUHFHQW  JURXQGZDWHUPRQLWRULQJGDWDLQSUHSDULQJWKLV52'(3$
         GRHVQRWEHOLHYHWKDWWKHVHGDWDVXJJHVWWKHQHHGIRUDQ\FKDQJHLQWKHEDVLFHOHPHQWV
         RI(3$¶VVHOHFWHGLQWHULPUHPHG\7KHPRUHUHFHQWDQDO\WLFDOUHVXOWVVXSSRUWWKH
         LPSRUWDQFHRIFRQWDLQLQJWKHSOXPHWRSUHYHQWIXUWKHUVSUHDGLQJRIWKHFRQWDPLQDWHG
         JURXQGZDWHU7KHGDWDLQGLFDWHDQLQFUHDVHLQ92&FRQFHQWUDWLRQVLQWKH
         GRZQJUDGLHQWZHOOVQHDUWKHOHDGLQJHGJHRIWKHSOXPHDQGDOVRLQWKHGHHSHUZHOOV
         7KHLQFUHDVHLQ92&FRQFHQWUDWLRQVDWWKHOHDGLQJHGJHZHOOVLQGLFDWHVWKHSOXPHKDV
         H[SDQGHGODWHUDOO\7KHLQFUHDVHLQ92&FRQFHQWUDWLRQVLQWKHGHHSHUZHOOVPD\
         LQGLFDWHWKDWFRQWDPLQDWLRQPLJUDWHVGRZQZDUGQHDUWKHSOXPH¶VOHDGLQJHGJH
         $OWKRXJKWKHFRQFHQWUDWLRQVDUHKLJKHUWKHRYHUDOOODWHUDOH[WHQWRIWKHSOXPHKDVQRW
         FKDQJHGVXEVWDQWLDOO\IURPWR3OXPHPDSVKDYHEHHQXSGDWHGWRUHIOHFWWKH
         QHZGDWD7KHSOXPHRIFRQWDPLQDWHGJURXQGZDWHUGRHVQRWDSSHDUWRKDYHUHDFKHG
         ,QWHUVWDWH
         'XULQJWKHUHPHGLDOGHVLJQSKDVHWKHVSHFLILFORFDWLRQVGHSWKVDQGSXPSLQJUDWHVRI
         WKHH[WUDFWLRQZHOOVZLOOEHGHVLJQHGWRHQVXUHFDSWXUHRIWKHNQRZQSOXPH6SHFLILF
         SXPSLQJUDWHVZLOOEHIXUWKHUHYDOXDWHGGXULQJUHPHGLDOGHVLJQWRPD[LPL]HWKHLU
         HIIHFWLYHQHVVDQGRSWLPL]HWKHLUHIILFLHQF\
  


                                                                                                  1


                                              249                                Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 259 of 347 Page ID #:293




  7DEOH,&RPPHQWV5HODWHGWRWKH&RQWDPLQDWHG*URXQGZDWHU3OXPH
  
       7KH5,LGHQWLILHVDKRUL]RQWDOSOXPHDW28LWGRHVQRWDFFRXQWIRUD³SOXQJLQJSOXPH´
         DQGYHUWLFDOJUDGLHQWVLQWRWKHGHHSHUDTXLIHUDQGVRGRHVQRWDFFXUDWHO\GHVFULEHWKH
         YHUWLFDOSOXPHH[WHQW7KHSOXPHLVH[SHFWHGWRSOXQJHDQGFRQWDPLQDWHWKHGHHSHU
         DTXLIHUDQGFRQWDPLQDQWVZLOOQRWUHPDLQDWVKDOORZGHSWKV1HZ(3$PRQLWRULQJZHOOV
         VKRXOGEHLQVWDOOHGGHHSHUWKDQIHHWWRGHOLQHDWHWKHFXUUHQWOHDGLQJHGJHDQGGHSWK
         H[WHQWRIWKHSOXPH :5' 
         5HVSRQVH(3$DJUHHVWKDWWKHFRQWDPLQDWHGJURXQGZDWHUSOXPHPD\PLJUDWHWR
         GHHSHUDTXLIHUXQLWV7KH5,)6FRQFOXGHGWKDWWKHUHLVDSRWHQWLDOIRUGRZQZDUG
         PLJUDWLRQRIFRQWDPLQDQWVDW28DQGWKHSOXPHLVH[SHFWHGWRH[SDQGYHUWLFDOO\
         (3$LQYHVWLJDWLRQVFKDUDFWHUL]HGWKHYHUWLFDOH[WHQWRIFRQWDPLQDWLRQ0RQLWRULQJ
         ZHOOVZHUHLQVWDOOHGDWGHSWKVXSWRIHHW$WWKHWLPHRILQVWDOODWLRQ92&VZHUHQRW
         GHWHFWHGLQWKHGHHSHVWZHOOVDQGWKHYHUWLFDOH[WHQWRIWKHSOXPHDSSHDUHGWREHIXOO\
         FKDUDFWHUL]HG7KHUHDUHVRPHK\GURJHRORJLFIHDWXUHV DQWLFOLQDOVWUXFWXUHDQGILQH
         JUDLQHGXQLWV WKDWZRXOGUHVWULFWGRZQZDUGPLJUDWLRQLQWKHFHQWHURIWKHSOXPH
         +RZHYHUQHDUWKHOHDGLQJHGJHRIWKHSOXPHWKHGRZQZDUGVORSLQJ GLSSLQJ DTXLIHU
         XQLWVDUHH[SHFWHGWRIDFLOLWDWHGRZQZDUGPLJUDWLRQRIWKHFRQWDPLQDWLRQ,QIRUPDWLRQ
         FROOHFWHGWRGDWHFRQWLQXHVWRLQGLFDWHWKDWWKHPDMRULW\RIWKHFRQWDPLQDQWPDVVLVLQ
         WKHVKDOORZDTXLIHUZLWKVRPHLQFUHDVHLQ92&FRQFHQWUDWLRQVRFFXUULQJLQWKHGHHSHU
         ZHOOV5HFHQWGDWDGRHVLQGLFDWHVRPHGRZQZDUGPRYHPHQWRIWKHFRQWDPLQDWLRQ
         'HFOLQLQJZDWHUOHYHOVKDYHEHHQREVHUYHGWKURXJKRXW28DQGWKLVPD\EHD
         FRQWULEXWLQJIDFWRUWRWKHGRZQZDUGPRYHPHQWRIWKHFRQWDPLQDWLRQ
         7KHFODVVLF³SOXQJLQJSOXPH´HIIHFWWKDWLVUHFRJQL]HGE\K\GURJHRORJLVWVLVFDXVHGE\
         LQILOWUDWLRQDWRSDQDGYDQFLQJSOXPHDQGLWVGLVSODFHPHQWGRZQZDUG7KLVLVQRW
         H[SHFWHGWREHVLJQLILFDQWLQWKLV&HQWUDO%DVLQDUHDZKHUHJURXQGZDWHUIORZLV
         SULPDULO\GULYHQE\SURGXFWLRQSXPSLQJDQGLQILOWUDWLRQDWWKHVSUHDGLQJEDVLQVZKLFK
         DUHORFDWHGRXWVLGHRIWKH28DUHDDORQJWKH6DQ*DEULHO5LYHU,QILOWUDWLRQLQWKH
         28DUHDLVORZZLWKUDLQIDOODQGLUULJDWLRQDFFRXQWLQJIRUDVPDOOIUDFWLRQRIWKH
         ZDWHUEXGJHW2QHREMHFWLYHRIWKHVHOHFWHGLQWHULPUHPHG\LVWRFRQWDLQWKHODWHUDODQG
         YHUWLFDOPLJUDWLRQRIWKHFRQWDPLQDWHGJURXQGZDWHUSOXPH7KLVZLOOOLPLWWKH
         GRZQZDUGPLJUDWLRQRIWKHFRQWDPLQDWLRQ(3$KDVFRQWLQXHGWRFRQGXFWELDQQXDO
         JURXQGZDWHUPRQLWRULQJDQGZHDJUHHWKDWIXUWKHULQYHVWLJDWLRQVRIWKHGHHSHUDTXLIHU
         XQLWVDW28LQFOXGLQJWKHLQVWDOODWLRQRIDGGLWLRQDOGHHSPRQLWRULQJZHOOVZLOOEH
         QHFHVVDU\
  
       'HHSHUH[WUDFWLRQZHOOV EHORZIHHW PD\EHQHFHVVDU\WRFRQWUROWKHSOXPH :5' 
         5HVSRQVH%DVHGRQLQIRUPDWLRQFROOHFWHGWRGDWHPRVWRIWKHFRQWDPLQDQWPDVVDW
         28LVH[SHFWHGWREHLQWKHVKDOORZDTXLIHU(3$DJUHHVWKDWGHWDLOVUHJDUGLQJWKH
         GHSWKVDQGDSSURDFKWRGHHSHQLQJWKHH[WUDFWLRQZHOOVVKRXOGEHIXUWKHUHYDOXDWHG
         $GGLWLRQDOVWXGLHVZLOOEHFRQGXFWHGGXULQJUHPHGLDOGHVLJQWRHQVXUHWKHH[WUDFWLRQ
         ZHOOVDUHSURSHUO\GHVLJQHGWRDFKLHYHWKHFRQWDLQPHQWJRDOVRIWKHVHOHFWHGUHPHG\
  

                                                                                                 2


                                                                                 Appendix A
                                                  250
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 260 of 347 Page ID #:294




  7DEOH,&RPPHQWV5HODWHGWRWKH&RQWDPLQDWHG*URXQGZDWHU3OXPH
  
       7KH*ROGHQ6WDWH:DWHU&RPSDQ\¶V *6:& 3LRQHHUDQG'DFHZHOOVVKRXOGEHVKRZQ
         ZLWKLQWKH28ERXQGDULHV7KHFRQWDPLQDWLRQFXUUHQWO\IRXQGLQWKHVH*6:&ZHOOVLV
         OLNHO\IURP28EDVHGRQFRPSRXQGVGHWHFWHG7&(3&(UDWLRVDQGGDWHVZKHQ
         FRQWDPLQDWLRQZDVILUVWGHWHFWHG28IDLOVWRPHHWWKH1DWLRQDO&RQWLQJHQF\3ODQ
          1&3 FULWHULDIRUGHILQLQJDQ2SHUDEOH8QLWVLQFHLWGRHVQRWHQFRPSDVVWKHLPSDFWHG
         *6:&ZHOOV(3$VWDWHVWKDW*6:&ZHOOVKDYHEHHQLPSDFWHGE\WKH2PHJDSOXPH
          :5' *6:& 
         5HVSRQVH7KH5,)6VWDWHVWKDWWKH*6:&ZHOOVDUH³OLNHO\´LPSDFWHGE\WKH28
         SOXPHPHDQLQJWKDWDWOHDVWVRPHRIWKHFRQWDPLQDWLRQIRXQGLQWKH3LRQHHUDQG'DFH
         ZHOOVLVOLNHO\FRPLQJIURPWKH28SOXPH
         ,QDGGLWLRQWKHZHOOVDUHOLNHO\H[WUDFWLQJFRQWDPLQDWLRQIURPRWKHUVRXUFHVLQWKH
         DUHDDVZHOO LHVRXUFHVRXWVLGHRIWKH28SOXPH 7KHZHOOQHWZRUNLQWKLVDUHDLV
         QRWLQWHQGHGWRIXOO\FKDUDFWHUL]HVRXUFHVRWKHUWKDQWKRVHFRQWULEXWLQJWRWKH28
         SOXPH7KH*6:&ZHOOVFRXOGEHFDSWXULQJFRQWDPLQDWLRQIURPVRXUFHVZHVWRUVRXWK
         RI28+LVWRULFDOGDWDVKRZWKDW*6:&ILUVWGHWHFWHGFRQWDPLQDWLRQLQWKHVHZHOOVLQ
         WKHHDUO\¶VZKHQFRQWDPLQDWLRQIURPWKHIRUPHU2PHJD&KHPLFDO&RUSRUDWLRQ
         FRXOGQRWKDYHPLJUDWHGWRWKLVDUHD7KHIRUPHU2PHJD&KHPLFDOIDFLOLW\EHJDQ
         RSHUDWLQJLQDQGLVORFDWHGPRUHWKDQIRXUPLOHVDZD\,WLVH[WUHPHO\XQOLNHO\
         WKDWWKHSOXPHFRXOGKDYHPLJUDWHGWKDWGLVWDQFHLQWKDWVKRUWSHULRGRIWLPH
         ,WLVOLNHO\WKDWWKHFRQWDPLQDWLRQLPSDFWLQJWKH*6:&ZHOOVKDVRULJLQDWHGIURP
         PXOWLSOHVRXUFHV VRPHIURPWKH28SOXPHDQGVRPHIURPRWKHUQRQ28VRXUFHV 
         (3$ZLOOH[WHQGWKH28ERXQGDU\WRLQFOXGHWKHVH*6:&ZHOOVLIDGGLWLRQDO
         LQYHVWLJDWLRQV HJGXULQJ5' FRQILUPSOXPHFRQWLQXLW\LQWKLVDUHD
  
       7KHSOXPHRIFRQWDPLQDWHGJURXQGZDWHUPD\KDYHPLJUDWHGEH\RQGWKH*6:&ZHOOV
         $GGLWLRQDOLQYHVWLJDWLRQLVQHHGHGDURXQGWKH*6:&3LRQHHUDQG'DFHZHOOVWRDVVHVV
         WKHSRVVLELOLW\WKDWFRQWDPLQDWLRQLVEHLQJGUDZQGRZQZDUGE\WKH*6:&ZHOOVEXWQRW
         FDSWXUHGDQGPRYLQJIDUWKHUGRZQJUDGLHQW :5' $QWKRQ\0DUWLQH] 
         5HVSRQVH(3$DJUHHVWKDWWKHFRQWDPLQDWLRQPD\EHGUDZQGRZQZDUGE\WKH*6:&
         ZHOOVDQGWKDWWKHSOXPHPD\KDYHPLJUDWHGSDVWVRPHRIWKH*6:&ZHOOORFDWLRQV
         (3$FRQWLQXHVWRJDWKHUGDWDDQGLQIRUPDWLRQRQFRQWDPLQDWLRQLQWKH28DUHDDQG
         DWWKHOHDGLQJHGJHRI28SOXPHQHDURWKHU*6:&ZHOOORFDWLRQV%HFDXVH92&
         FRQWDPLQDWLRQLVSUHVHQWWKURXJKRXWWKH&HQWUDO%DVLQWKHSUHVHQFHRI92&VDWWKH
         *6:&ZHOOVGRHVQRWQHFHVVDULO\PHDQWKDWWKH28SOXPHH[WHQGVWRWKHVHZHOOV
         (3$KDVVXIILFLHQWGDWDWRPRYHIRUZDUGZLWKDQLQWHULPFRQWDLQPHQWUHPHG\WR
         SUHYHQWWKHFRQWDPLQDWLRQIURPVSUHDGLQJWRDUHDVQRWFXUUHQWO\LPSDFWHGDQGWR
         SUHYHQWLPSDFWVWRRWKHUSURGXFWLRQZHOOVGRZQJUDGLHQW7KHVSHFLILFORFDWLRQVRIWKH
         H[WUDFWLRQZHOOVIRUWKHLQWHULPFRQWDLQPHQWUHPHG\ZLOOEHGHWHUPLQHGGXULQJWKH
         GHVLJQSKDVHRIWKHSURMHFWDQGZLOOEHORFDWHGWRHQVXUHIXOOFDSWXUHRIWKHNQRZQ28
         SOXPH$IWHULPSOHPHQWDWLRQRIWKHLQWHULPUHPHG\(3$ZLOOFRQWLQXHWRFRQGXFW
         VWXGLHVDQGFROOHFWDGGLWLRQDOLQIRUPDWLRQWRDVVLVWLQWKHIXWXUHVHOHFWLRQRIDILQDO


                                                                                               3



                                                251                          Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 261 of 347 Page ID #:295




  7DEOH,&RPPHQWV5HODWHGWRWKH&RQWDPLQDWHG*URXQGZDWHU3OXPH
  
         UHPHG\,IIXUWKHUVWXGLHVFRQILUPWKDWWKH28SOXPHH[WHQGVWRWKHVH*6:&ZHOOV
         (3$ZLOOH[WHQGWKH28ERXQGDU\DVDSSURSULDWH
  
       7KHFKDUDFWHUL]DWLRQRIWKHGRZQJUDGLHQWZHVWHUQDQGVRXWKHUQSRUWLRQVRIWKHSOXPHLV
         EDVHGRQUHODWLYHO\IHZVDPSOLQJSRLQWVHVSHFLDOO\DWGHSWKVJUHDWHUWKDQIHHW
          $QWKRQ\0DUWLQH] 
         5HVSRQVH(3$DJUHHVWKDWWKHUHLVOLPLWHGGDWDRQJURXQGZDWHUFRQWDPLQDWLRQDWWKH
         VRXWKHUQ RUOHDGLQJHGJH RIWKHSOXPH 'XULQJWKHGHVLJQRIWKHVHOHFWHGUHPHG\
         DGGLWLRQDOGDWDZLOOEHJDWKHUHGWRDVVLVWLQVHOHFWLQJWKHVSHFLILFH[WUDFWLRQZHOO
         ORFDWLRQVWRHQVXUHWKH\DUHSODFHGWRDGHTXDWHO\FRQWDLQWKHNQRZQSOXPH(3$DOVR
         DJUHHVWKDWPRUHLQYHVWLJDWLRQRIWKHGHHSDTXLIHULVQHFHVVDU\
  
       &RQWDPLQDWLRQIURPWKHIRUPHU2PHJDIDFLOLW\FRXOGQRWKDYHPLJUDWHGDGLVWDQFHRI
         PLOHV(3$¶VUHSHDWHGDWWULEXWLRQRIWKHHQWLUHJHRJUDSKLFH[WHQWRIWKH28SOXPHWR
         FRQWDPLQDQWUHOHDVHVIURPWKH2PHJDSURSHUW\LVIDFWXDOO\LQDFFXUDWH 232* 
         5HVSRQVH(3$GLVDJUHHVZLWKWKLVVWDWHPHQW(3$KDVFROOHFWHGDQGHYDOXDWHG
         H[WHQVLYHGDWDRQFRQGLWLRQVLQWKH28DUHDFRQGXFWHGH[WHQVLYHJURXQGZDWHU
         PRGHOLQJDQGFRQFOXGHGWKDWFRQWDPLQDWLRQIURPWKHIRUPHU2PHJDIDFLOLW\FRXOG
         KDYHPLJUDWHGPLOHVGRZQJUDGLHQWLQWKHSHULRGVLQFHWKDWIDFLOLW\EHJDQ
         RSHUDWLRQV7KHFRQWDPLQDWLRQDW28KDVDGYDQFHGDWDQDSSDUHQWSOXPHH[SDQVLRQ
         UDWHRIDWOHDVWIHHWSHU\HDUWKLVUDWHLVDQHVWLPDWHGPLQLPXPUDWHDQGLQFOXGHV
         WKHFRPELQHGHIIHFWVRIDGYHFWLRQVRUSWLRQGLVSHUVLRQDQGGHJUDGDWLRQ7KLVSOXPH
         H[SDQVLRQUDWHLVFRQVLVWHQWZLWKHVWLPDWHVRIDGYHFWLYHYHORFLW\RIIHHWSHU\HDU
         7KHRSHUDWLRQVDW2PHJD&KHPLFDOEHJDQLQDQGFRQWDPLQDWLRQIURPWKDW
         IDFLOLW\FRXOGKDYHHDVLO\PLJUDWHGDGLVWDQFHRIPLOHVLQWKH\HDUVVLQFHWKHQ
  




                                                                                                   4



                                               252                              Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 262 of 347 Page ID #:296




  7DEOH,&RPPHQWV5HODWHGWRWKH&RQWDPLQDWHG*URXQGZDWHU3OXPH
  
       (3$KDVQRWLQFOXGHGWKHLGHQWLILHGVRXUFHVRIFRQWDPLQDWLRQDVSDUWLFLSDQWVLQWKH
         UHPHG\232*KDVLGHQWLILHGDGGLWLRQDOVRXUFHVRIFRQWDPLQDWLRQ$QXPEHURIIDFLOLWLHV
         KDYHXVHG)UHRQLQFOXGLQJWKHIRUPHU&DO$LUIDFLOLW\DW(:KLWWLHU%OYG
         0F.HVVRQ(DVWPDQ.RGDNDQG&KU\VOHU1X&DU3UHS6LWH/IURP(3$¶V5,LVFOHDUO\D
         VRXUFHRI)UHRQUHOHDVHVWRWKHVXEVXUIDFH7KHH[WHQWRIWKHGLR[DQHSOXPHIURPWKH
         2PHJDSURSHUW\LVDSSUR[LPDWHO\RQHPLOH 232* 
         5HVSRQVH7KHSXUSRVHRIWKH52'LVWRVHOHFWWKHDSSURSULDWHUHPHG\IRUDFKLHYLQJ
         WKH5HPHGLDO$FWLRQ2EMHFWLYHV 5$2V ZKLFKDUHWR  SUHYHQWXQDFFHSWDEOHKXPDQ
         H[SRVXUHWRJURXQGZDWHUFRQWDPLQDWHGE\FRQWDPLQDQWVRIFRQFHUQ &2&V   
         SUHYHQWODWHUDODQGYHUWLFDOVSUHDGLQJRI&2&VLQJURXQGZDWHUDW28WRSURWHFW
         FXUUHQWDQGIXWXUHXVHVRIJURXQGZDWHUDQG  SUHYHQWODWHUDODQGYHUWLFDOPLJUDWLRQ
         RIJURXQGZDWHUZLWKKLJKFRQFHQWUDWLRQVRI&2&VLQWR]RQHVZLWKFXUUHQWO\ORZHU
         FRQFHQWUDWLRQVRI&2&VWRRSWLPL]HWKHWUHDWPHQWRIH[WUDFWHGJURXQGZDWHU,Q
         DGGLWLRQWKH,QWHULP5HPHG\LVH[SHFWHGWREHJLQWKHSURFHVVRIUHVWRULQJWKH
         FRQWDPLQDWHGDTXLIHUE\UHPRYLQJFRQWDPLQDQWPDVVIURPWKHJURXQGZDWHU
         7KH52'GRHVPDNHDQ\GHWHUPLQDWLRQVDVWRZKRLVOLDEOHIRUDQGVKRXOGLPSOHPHQW
         WKHVHOHFWHGUHPHG\(3$¶V5,5HSRUWLGHQWLILHGQXPHURXVFRQILUPHGDQGSRWHQWLDO
         VRXUFHVRIFRQWDPLQDWLRQLQWKH28DUHD(3$LQWHQGVWRUHTXHVWWKHSDUWLFLSDWLRQRI
         NQRZQVRXUFHVLQLPSOHPHQWDWLRQRIWKHVHOHFWHGLQWHULPUHPHG\IRU28(3$KDV
         EHHQDQGUHPDLQVZLOOLQJWRFRQVLGHULQIRUPDWLRQDERXWRWKHUVRXUFHVRI
         FRQWDPLQDWLRQLQWKH28DUHD
         )ROORZLQJLPSOHPHQWDWLRQRIWKHLQWHULPUHPHG\IRU28(3$ZLOOFRQGXFWIXUWKHU
         VWXGLHVDQGH[SHFWVWRSURSRVHDGGLWLRQDOUHPHGLDODFWLRQVIRUWKH28SOXPHDVSDUW
         RIWKHILQDOFOHDQXSUHPHG\IRUWKH6LWH$Q\SRWHQWLDOO\UHVSRQVLEOHSDUWLHV 353V 
         LGHQWLILHGSXUVXDQWWRIXUWKHULQYHVWLJDWLRQVZRXOGEHH[SHFWHGWRSDUWLFLSDWHLQ
         LPSOHPHQWDWLRQRI6LWHFOHDQXSDFWLRQV
         ,QDGGLWLRQ(3$ZLOOFRQWLQXHWRZRUNZLWKWKH6WDWHWRLGHQWLI\DOOVLJQLILFDQWVRXUFHV
         ZLWKLQWKH28SOXPHDUHDWKDWKDYHFRQWULEXWHGWRWKHJURXQGZDWHU FRQWDPLQDWLRQ
         0RVWRIWKHNQRZQVRXUFHVDUHFXUUHQWO\EHLQJDGGUHVVHGE\6WDWHOHGDFWLRQV(3$
         H[SHFWVWKDWDQ\DGGLWLRQDOIDFLOLWLHVFRQILUPHGDVVRXUFHVRIFRQWDPLQDWLRQWRWKH28
         SOXPHZLOOEHDGGUHVVHGWKURXJKWKHFRRUGLQDWHGHIIRUWVRIWKH6WDWHDQG(3$
         (3$¶VLQWHUSUHWDWLRQRIWKH28GDWDLQGLFDWHVWKHGLR[DQHSOXPHLVDSSUR[LPDWHO\
         PLOHVORQJDQGFRQWLQXRXVDFURVV287KHH[WHQWRIWKHGLR[DQHSOXPHLV
         EDVHGRQFROOHFWHGILHOGGDWDDQGLWLVFRQVLVWHQWZLWKWKHH[WHQWRIWKHVROYHQW HJ
         3&(DQG7&( DQG)UHRQSOXPHVIURPWKH2PHJDSURSHUW\
  




                                                                                                 5


                                                 253                              Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 263 of 347 Page ID #:297




  7DEOH,&RPPHQWV5HODWHGWRWKH&RQWDPLQDWHG*URXQGZDWHU3OXPH
  
       5HFHQWLQYHVWLJDWLRQUHVXOWVLQGLFDWHWKDW3KLEUR7HFK,QFLVQRWDFRQWULEXWRURI92&V
         RUKH[DYDOHQWFKURPLXPWRWKH2PHJD28JURXQGZDWHUSOXPH 3KLEUR7HFK,QF 
         5HVSRQVH7KHSXUSRVHRIWKH52'LVWRVHOHFWWKHDSSURSULDWHUHPHG\IRUDFKLHYLQJ
         WKH5HPHGLDO$FWLRQ2EMHFWLYHV 5$2V 7KH52'GRHVPDNHDQ\GHWHUPLQDWLRQVDVWR
         ZKRLVOLDEOHIRUDQGVKRXOGLPSOHPHQWWKHVHOHFWHGUHPHG\(3$KDVGHWHUPLQHGWKDW
         WKH3KLEUR7HFK,QFIDFLOLW\FRQWULEXWHGWRJURXQGZDWHUFRQWDPLQDWLRQLQWKH28
         DUHD7KHUHSRUWVSUHSDUHGE\3KLEUR7HFK,QF¶VFRQVXOWDQWVDQGVWDWHDJHQFLHV
         GRFXPHQWWKHXVHRI92&VFKURPLXPDQGRWKHUFKHPLFDOVDWWKHIDFLOLW\7KH\DOVR
         GRFXPHQWKLVWRULFDOUHOHDVHVRIWKHVHFRPSRXQGVLQWRWKHVXEVXUIDFHDQG
         FRQWDPLQDWLRQIRXQGLQVRLOVRLOJDVDQGJURXQGZDWHUEHQHDWKWKHIDFLOLW\:KLOH(3$
         ZLOOFRQWLQXHWRUHYLHZWKHLQIRUPDWLRQWKDW3KLEUR7HFK,QFUHFHQWO\ )HEUXDU\
          SURYLGHGWKLVLQIRUPDWLRQZRXOGQRWDIIHFWVHOHFWLRQRIWKHLQWHULPFRQWDLQPHQW
         UHPHG\
  
  
  




                                                                                                 6


                                                   254                           Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 264 of 347 Page ID #:298




  7DEOH,,&RPPHQWV5HODWHGWRWKH6HOHFWHG,QWHULP5HPHG\
  
      $FRQWLQJHQF\SODQLVQHHGHGWRDGGUHVVSRWHQWLDOGHOD\VRILPSOHPHQWLQJWKHUHPHG\
          &LW\RI1RUZDON :5' 
         5HVSRQVH(3$XQGHUVWDQGVWKDWWKHGULQNLQJZDWHUHQGXVHRSWLRQZLOOUHTXLUHWKH
         SDUWLFLSDWLRQDQGFRRSHUDWLRQRIRQHRUPRUHORFDOZDWHUXWLOLWLHVLQRUGHUWREH
         VXFFHVVIXOO\LPSOHPHQWHGDQGWKDWWKHUROHRIWKRVHXWLOLWLHVPD\QHHGWREH
         PHPRULDOL]HGLQQHJRWLDWHGDJUHHPHQWVWKDWDGGUHVVDPRQJRWKHUWKLQJVRSHUDWLRQDO
         OLDELOLW\ILQDQFLDODQGZDWHUULJKWVLVVXHV(3$KDVLQFOXGHGIOH[LELOLW\LQWKH52'WKDW
         DOORZVGLVFKDUJHRIWUHDWHGZDWHUYLDUHLQMHFWLRQLI(3$GHWHUPLQHVWKHUHTXLUHG
         DJUHHPHQW V IRUGULQNLQJZDWHUHQGXVHFDQQRWEHUHDFKHGLQDWLPHO\PDQQHU$V
         GHVFULEHGLQWKH)6UHLQMHFWLRQZRXOGKDYHWREHLPSOHPHQWHGLQDPDQQHUWKDWGRHV
         QRWFDXVHLQWHUIHUHQFHZLWKFRQWDLQPHQWRIWKHSOXPHDQGGRHVQRWUHVXOWLQIXUWKHU
         VSUHDGLQJRIH[LVWLQJSOXPHVLQWKHVKDOORZDTXLIHU
  
       'ULQNLQJZDWHUXVHZLOOQRWEHDFFHSWDEOHWRWKHUHVLGHQWVZLWKRXWDGGLWLRQDOHGXFDWLRQDO
          RXWUHDFKE\(3$DQGDQDJJUHVVLYHFDPSDLJQSURPRWLQJWUHDWHGZDWHUTXDOLW\EH\RQG
          GULQNLQJZDWHUVWDQGDUGV &LW\RI1RUZDON &LW\RI6DQWD)H6SULQJV 
          5HVSRQVH(3$LVDZDUHRIWKHQHHGIRUDSXEOLFRXWUHDFKDQGHGXFDWLRQSURJUDPWR
          HQVXUHUHVLGHQWVDUHDZDUHRIWKHVDIHJXDUGVDQGRYHUVLJKWWKDWZLOOEHDSDUWRIWKH
          UHPHG\WRJXDUDQWHHWKDWWKHWUHDWHGZDWHUPHHWVRUH[FHHGVWKHGULQNLQJZDWHU
          VWDQGDUGV(3$ZLOOZRUNZLWKVWDNHKROGHUVWRGHYHORSWKHVFRSHDQGFRQWHQWRID
          FRPPXQLFDWLRQVSODQWKDWLQFOXGHVSXEOLFRXWUHDFKWKURXJKIDFWVVKHHWVQHZV
          UHOHDVHVDQGPHHWLQJV
  
       5HFRPPHQGDWLRQIRUDFRPELQDWLRQRI$OWHUQDWLYHV UHLQMHFWLRQRIWUHDWHGJURXQGZDWHU 
          DQG GLVFKDUJHRIWUHDWHGJURXQGZDWHUWRVSUHDGLQJEDVLQV UDWKHUWKDQDVLQJOHHQGXVH
          $OWHUQDWLYH GULQNLQJZDWHUHQGXVH $FRPELQDWLRQRI$OWHUQDWLYHVDQGZLOO
          EHQHILWWKHUHJLRQDVDZKROHDQGDOORZIRUFRQWLQXRXVSXPSLQJQHFHVVDU\WRDFKLHYH
          FRQWDLQPHQW$K\EULGRI$OWHUQDWLYHVDQGZLWKPXOWLSOHHQGXVHVPD\SURYLGHD
          PRUHFRPSUHKHQVLYHEHQHILWWRWKHUHJLRQDVDZKROHUDWKHUWKDQDVLQJOHHQGXVHRI
          WUHDWHGGULQNLQJZDWHU$OWHUQDWLYHZRXOGEHPRUHGLIILFXOWWRLPSOHPHQWWKDQD
          FRPELQDWLRQRI$OWHUQDWLYHDQGWKDWFDQEHLPSOHPHQWHGPRUHTXLFNO\DQGZLWKRXW
          DGYHUVHORFDOUHDFWLRQWRXVLQJWUHDWHGZDWHUIRUGULQNLQJZDWHU &LW\RI1RUZDON&LW\RI
          6DQWD)H6SULQJVDQG6RXWKHDVW:DWHU&RDOLWLRQ 
          5HVSRQVH$IWHUFRQVLGHUDWLRQRIVWDNHKROGHUV¶FRPPHQWV(3$KDVVHOHFWHGDUHPHG\
          WKDWEHVWPHHWVDOOWKHQLQHUHPHG\HYDOXDWLRQFULWHULDLQWKH1&3:KLOHQRQHRIWKH
          DOWHUQDWLYHVSUHVHQWHGLQWKH5,)6DUHZLWKRXWOLPLWDWLRQVRUFKDOOHQJHV(3$EHOLHYHV
          WKDW$OWHUQDWLYHLVWKHEHVWDSSURDFKWRDFKLHYLQJWKH5$2VLQDFRVWHIIHFWLYH
          PDQQHU(3$KDVLQFOXGHGIOH[LELOLW\LQWKH52'WKDWDOORZVGLVFKDUJHRIWUHDWHGZDWHU
          YLDUHLQMHFWLRQLI(3$GHWHUPLQHVWKHUHTXLUHGDJUHHPHQW V IRUGULQNLQJZDWHUHQGXVH
          FDQQRWEHUHDFKHGLQDWLPHO\PDQQHU$VGHVFULEHGLQWKH)6UHLQMHFWLRQZRXOGKDYH
          WREHLPSOHPHQWHGLQDPDQQHUWKDWGRHVQRWFDXVHLQWHUIHUHQFHZLWKFRQWDLQPHQWRI


                                                                                                       7



                                                    255                               Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 265 of 347 Page ID #:299




  7DEOH,,&RPPHQWV5HODWHGWRWKH6HOHFWHG,QWHULP5HPHG\
  
         WKHSOXPHDQGGRHVQRWUHVXOWLQIXUWKHUVSUHDGLQJRIH[LVWLQJSOXPHVLQWKHVKDOORZ
         DTXLIHU
         $OWHUQDWLYHZRXOGUHVXOWLQLQWHUUXSWHGRSHUDWLRQRIWKHH[WUDFWLRQZHOOV DQGWKXVWKH
         FRQWDLQPHQWV\VWHP GXHWRWKHSHULRGLFPDLQWHQDQFHRIWKHVSUHDGLQJEDVLQV
         FRQVHTXHQWO\WKHUHZRXOGEHUHGXFHGFRQWURORYHULPSOHPHQWDWLRQRIWKHUHPHG\ LH
         RSHUDWLQJWLPHVDQGH[WUDFWLRQUDWHV $OWHUQDWLYHDOVRKDGDKLJKHUFRVWWKDQ
         $OWHUQDWLYHVRU,QFOXGLQJDFRPELQDWLRQRIWZRRUWKUHHHQGXVHVDVVXJJHVWHG
         ZRXOGVXEVWDQWLDOO\LQFUHDVHWKHUHPHG\FRVW
  
       :5'VXSSRUWV(3$¶VDOWHUQDWLYHVH[FHSWIRU$OWHUQDWLYH'LVFKDUJHWRWKHVSUHDGLQJ
          EDVLQV7KLVFRXOGLQWHUIHUHZLWKFXUUHQWUHSOHQLVKPHQWRSHUDWLRQVDQGZRXOGQRWDOORZ
          FRQWLQXRXVH[WUDFWLRQ :5' 
          5HVSRQVH&RPPHQWQRWHG(3$DJUHHVWKDW$OWHUQDWLYHLVQRWWKHEHVWRSWLRQIRU
          DFKLHYLQJWKHJRDOVRIWKHUHPHG\
  
       (3$UHOLHVRQWKH*6:&ZHOOVSXPSLQJWRFRQWUROWKHODWHUDOPLJUDWLRQRIWKHSOXPH
          $OWHUQDWLYHGHSHQGVRQFRQWLQXLQJH[WUDFWLRQIURP*6:&ZHOOV7KH*6:&ZHOOVDUH
          DQLQWHJUDOSDUWRIWKHUHPHG\DQGWKHUHPHG\HIIHFWLYHQHVVZRXOGEHDIIHFWHGVKRXOG
          WKHVHZHOOVUHGXFHRUFHDVHSXPSLQJ7KHUHPHG\LVUHO\LQJRQ*6:&ZHOOVWRFDSWXUH
          DQGWUHDWFRQWDPLQDQWVLQJURXQGZDWHU :5' *6:& 
          5HVSRQVH7KHVHOHFWHGFRQWDLQPHQWUHPHG\GRHVQRWUHO\RQWKHRSHUDWLRQRIWKH
          *6:&ZHOOVWRFRQWUROPLJUDWLRQRIWKH28SOXPH,QIDFWWKH)6QRWHVWKHSOXPH
          ZLGHH[WUDFWLRQZHOOQHWZRUN ZKLFKLVSDUWRIWKHVHOHFWHGUHPHG\ ZRXOGSHUIRUP
          PRUHHIILFLHQWO\DQGFRXOGRSHUDWHDWORZHUH[WUDFWLRQUDWHVDQGORZHUFRVWLIWKH
          *6:&3LRQHHUDQG'DFHZHOOVZHUHWRVWRSSXPSLQJ
         (3$KDVQRWDVNHG*6:&WRVWRSRSHUDWLQJWKHVHZHOOVDQGWKHVHOHFWHGUHPHG\
         DVVXPHVWKDWWKHVHZHOOVZLOONHHSH[WUDFWLQJJURXQGZDWHU6KRXOGWKH*6:&ZHOOV
         FHDVHSXPSLQJWKHUHPHG\ZLOOVWLOOSHUIRUPDVLQWHQGHG
         (3$H[SHFWVWKDWJURXQGZDWHUSXPSLQJE\YDULRXVSDUWLHVLQDQGQHDUWKH28DUHD
          LQFOXGLQJWKRVHSDUWLHVLPSOHPHQWLQJWKHVHOHFWHGUHPHG\ ZLOOQHHGWREHFRRUGLQDWHG
         WRHQVXUHWKDWQHLWKHUDGYHUVHO\DIIHFWVWKHRWKHU7KHLQVWLWXWLRQDOFRQWUROV ,&V 
         VHOHFWHGDVSDUWRIWKHUHPHG\ZLOOKHOSHQVXUHFRRUGLQDWLRQEHWZHHQ(3$DQG6WDWH
         DQGORFDOHQWLWLHVZLWKMXULVGLFWLRQRYHUZHOOGULOOLQJDQGHQWLWLHVZLWKMXULVGLFWLRQRYHU
         JURXQGZDWHUXVHZLWKLQWKH&HQWUDO%DVLQ7KH,&VZLOODOVRKHOSHQVXUHWKHUHLV
         FRPPXQLFDWLRQDQGFRRUGLQDWLRQEHWZHHQWKRVHWKDWKROGULJKWVWRH[WUDFW
         JURXQGZDWHUDQGWKLVZLOOUHGXFHWKHSRVVLELOLW\WKDWRSHUDWLRQRIWKH*6:&
         SURGXFWLRQZHOOVZRXOGLQWHUIHUHZLWKWKHSOXPHFRQWDLQPHQWJRDOVRIWKHLQWHULP28
         UHPHG\
         


                                                                                                    8


                                                 256                                    Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 266 of 347 Page ID #:300




  7DEOH,,&RPPHQWV5HODWHGWRWKH6HOHFWHG,QWHULP5HPHG\

      7KHUHPHG\LVQRWVXIILFLHQWO\SURWHFWLYHEHFDXVHLWGRHVQRWSURYLGHWUHDWPHQWIRU
         FRQWDPLQDQWVWKDWPD\UHDFKWKH*6:&ZHOOV7KHUHPHG\GRHVQRWDGGUHVVWKH
         WUHDWPHQWRIFRQWDPLQDQWVVXFKDVGLR[DQHZKLFKWKHFXUUHQW*6:&ZHOOKHDG
         WUHDWPHQWXQLWVFDQQRWWUHDW :5' *6:& 
         5HVSRQVH7KHVHOHFWHGUHPHG\LQFOXGHVWUHDWPHQWRIGLR[DQHLQWKHH[WUDFWHG
         JURXQGZDWHUDQGWKH52'DOORZVIOH[LELOLW\WRVHOHFWWKHPRVWDSSURSULDWHWUHDWPHQW
         WHFKQRORJ\IRUGLR[DQHGXULQJWKHUHPHGLDOGHVLJQSURFHVV(3$'LVDJUHHV7KH
         SXUSRVHRIWKHVHOHFWHGFRQWDLQPHQWUHPHG\LVWRNHHSWKHFRQWDPLQDWHGJURXQGZDWHU
         SOXPHIURPVSUHDGLQJDQG WRSURWHFWSURGXFWLRQZHOOVVXFKDVWKH*6:&ZHOOVIURP
         EHLQJIXUWKHUGHJUDGHGE\WKHPLJUDWLRQRIFRQWDPLQDWHGJURXQGZDWHUWKDWZRXOG
         RWKHUZLVHRFFXU:LWKRXWWKHLQWHULPUHPHG\JURXQGZDWHUZLWKKLJKFRQFHQWUDWLRQVRI
         92&VDQGGLR[DQHZRXOGUHDFKWKH*6:&ZHOOV(3$QRWHVWKDWGLR[DQHLV
         DOUHDG\SUHVHQWLQWKH*6:&ZHOOVDQGRWKHUSURGXFWLRQZHOOVLQWKHDUHDZHVWRI28
         LQGLFDWLQJZLGHVSUHDGFRQWDPLQDWLRQ
         
      $OWHUQDWLYH GLVFKDUJHRIWUHDWHGJURXQGZDWHUWRVSUHDGLQJEDVLQV LVWKHPRVW
         DSSURSULDWHUHPHG\DQGLWSURYLGHVDGGHGSURWHFWLRQWRUHVLGHQWV,IWKHWUHDWPHQWV\VWHP
         IDLOVXQGHU$OWHUQDWLYHFRQWDPLQDWHGZDWHUFRXOGEHGLVWULEXWHGWRWKHSXEOLFZDWHU
         VXSSO\ $QWKRQ\0DUWLQH] 
         5HVSRQVH(3$GRHVQRWDJUHHWKDW$OWHUQDWLYHZRXOGEHPRUHSURWHFWLYHRIKXPDQ
         KHDOWK7KHWUHDWHGZDWHUSURGXFHGE\WKHVHOHFWHGUHPHG\ZLOOPHHWVWDWHDQGIHGHUDO
         GULQNLQJZDWHUVWDQGDUGVDQGFRPSO\ZLWKDOOWKHPRQLWRULQJWHVWLQJDQGRWKHU
         UHTXLUHPHQWVIRUSXEOLFGULQNLQJZDWHUV\VWHPV,WZLOOLQFOXGHWKHDSSURSULDWH
         VDIHJXDUGV HJUHGXQGDQWWUHDWPHQWXQLWVIRUNH\FRQWDPLQDQWVDQGVWRUDJHSULRUWR
         GLVWULEXWLRQ WRHQVXUHWKDWFRQWDPLQDWHGJURXQGZDWHULVQHYHUDOORZHGWRHQWHUWKH
         GLVWULEXWLRQV\VWHP7KHWUHDWPHQWV\VWHPGHWDLOVZLOOEHIXUWKHUHYDOXDWHGDQGUHILQHG
         GXULQJWKHUHPHGLDOGHVLJQHIIRUW7KHGHVLJQDQGRSHUDWLRQRIWKHWUHDWPHQWSODQWZLOO
         FRPSO\ZLWKWKHVDPHVWULQJHQWUHTXLUHPHQWVDVRWKHUGULQNLQJZDWHUV\VWHPV7KH
         WUHDWPHQWWHFKQRORJLHVDUHZHOOGHYHORSHGDQGKDYHEHHQXVHGDWRWKHU6XSHUIXQG VLWHV
         ZKHUHUHPHGLHVSURYLGHWUHDWHGZDWHUIRUXVHLQPXQLFLSDOZDWHUVXSSO\V\VWHPV
         
      6HFWLRQRIWKH)6LQGLFDWHVWKDWK\GUDXOLFEDUULHUVKDYHQRWEHHQFRQVLGHUHGLQWKH
         WHFKQRORJ\VFUHHQLQJSURFHVVDQGWKHVHOHFWLRQRIWKHSUHIHUUHGUHPHG\7KLVWHFKQRORJ\
         FRXOGEHHPSOR\HGDWWKHOHDGLQJHGJHRIWKHSOXPHRIFRQWDPLQDWHGJURXQGZDWHU$
         K\GUDXOLFEDUULHUZRXOGHOLPLQDWHWKHQHHGIRUOHDGLQJHGJHH[WUDFWLRQZHOOVZKLFK
         ZRXOGUHGXFHWKHIORZRIWUHDWHGFRQWDPLQDWHGJURXQGZDWHUWRWKHGULQNLQJZDWHUV\VWHP
         $QXPHULFDOPRGHOPXVWEHXVHGWRGHVLJQWKHVKDSHDQGSXPSLQJUDWHVRIDEDUULHUWKDW
         ZRXOGEHHIIHFWLYHDQGGHWHUPLQHLIVXFKDEDUULHUZRXOGEHIHDVLEOH$K\GUDXOLFEDUULHU
         KDVWKHVHDGYDQWDJHV
           ,QMHFWLQJWKHWUHDWHGZDWHUQHDUWKHWRHRIWKHSOXPHZRXOGUHYHUVHWKHIORZJUDGLHQW
           DQGFRQWDPLQDQWVIURPWKHGRZQJUDGLHQWSRUWLRQRIWKHSOXPHZRXOGEHSXOOHGWRZDUG

                                                                                                  9



                                                 257                              Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 267 of 347 Page ID #:301




  7DEOH,,&RPPHQWV5HODWHGWRWKH6HOHFWHG,QWHULP5HPHG\

              WKHH[WUDFWLRQV\VWHPVLQWKHFHQWUDOSRUWLRQRIWKHSOXPH7KHRSHUDWLRQDOSHULRGRI
              WKHSXPSDQGWUHDWV\VWHPDQGWKHRYHUDOOFRVWRIWKHUHPHG\FRXOGEHUHGXFHG
              %\HOLPLQDWLQJWKHQHHGIRUOHDGLQJHGJHH[WUDFWLRQZHOOVWKHFRVWRIWKHSLSLQJIURP
              WKHOHDGLQJHGJHH[WUDFWLRQZHOOVWRWKHFHQWUDOO\ORFDWHGWUHDWPHQWSODQWFRXOGEH
              HOLPLQDWHG
              %\UHGXFLQJWKHIORZWRWKHWUHDWPHQWSODQWIURPDERXWJDOORQVSHUPLQXWHWR
              DERXWJDOORQVSHUPLQXWHWKHFRVWRIWKHWUHDWPHQWSODQWZRXOGEHUHGXFHGE\D
              IDFWRURIDSSUR[LPDWHO\
            7:%XVLQHVV6ROXWLRQV,QF 
    
           5HVSRQVH7KHSXUSRVHRIWKHUHPHG\LVWRFRQWDLQWKHJURXQGZDWHUSOXPHDQGNHHS
           WKHFRQWDPLQDQWVIURPVSUHDGLQJ,IZDWHUZHUHWREHUHLQMHFWHGLQWRWKHVKDOORZ
           DTXLIHULWFRXOGPRELOL]HFRQWDPLQDWLRQZLWKLQDQGRXWVLGH28DQGLQWHUIHUHZLWKWKH
           5$2VDQGFRXOGDOVRDIIHFWDQGLQWHUIHUHZLWKUHPHGLDODFWLRQVDWRWKHUVRXUFHDUHDV
           ZLWKLQRUQHDU28(3$KDVLQFOXGHGIOH[LELOLW\LQWKH52'IRUWKHGLVFKDUJHRI
           WUHDWHGZDWHUYLDUHLQMHFWLRQEXWVXFKUHLQMHFWLRQZLOOKDYHWREHLPSOHPHQWHGLQD
           PDQQHUWKDWGRHVQRWFDXVHLQWHUIHUHQFHZLWKFRQWDLQPHQWRIWKHSOXPHDQGGRHVQRW
           UHVXOWLQIXUWKHUVSUHDGLQJRIH[LVWLQJSOXPHVLQWKHVKDOORZDTXLIHU(3$GRHVQRW
           DJUHHWKDWLPSOHPHQWLQJWKHUHPHG\LQWKHPDQQHUVXJJHVWHGLQWKLVFRPPHQWZRXOG
           QHFHVVDULO\EHDQ\PRUHFRVWHIIHFWLYHWKDQRSHUDWLQJH[WUDFWLRQZHOOVDWWKHOHDGLQJ
           HGJHRIWKHSOXPH(3$GRHVQRWDJUHHWKDWDUHGXFWLRQLQH[WUDFWLRQUDWHZRXOG
           UHVXOWLQUHPHG\FRVWUHGXFWLRQE\DVVXJJHVWHG


         7KHUPDOR[LGDWLRQLVDWHFKQRORJ\UHWDLQHGLQWKH)6IRUIXWXUHFRQVLGHUDWLRQLQWKH
            UHPHGLDOGHVLJQ7KHUPDOR[LGDWLRQVKRXOGQRWEHUHWDLQHGIRUFRQVLGHUDWLRQIRUWKH6LWH
            EHFDXVHFRQVWLWXHQWVRIFRQFHUQLQFOXGHFKORULQDWHGYRODWLOHRUJDQLFFRPSRXQGV7KHUPDO
            R[LGDWLRQZKHQXVHGWRWUHDWYDSRUVFRQWDLQLQJFKORULQDWHGFRPSRXQGVKDVWKHSRWHQWLDO
            WRHPLWGLR[LQDKLJKO\WR[LFFDUFLQRJHQIRUZKLFKWKHUHLVQRNQRZQVDIHHPLVVLRQOHYHO
              7:%XVLQHVV6ROXWLRQV,QF 
            5HVSRQVH(3$DJUHHVWKDWWKHRIIJDVIURPDQDLUVWULSSHUZLOOFRQWDLQFKORULQDWHG
            FRPSRXQGV(3$LVDZDUHRIWKHSRWHQWLDOIRUWKHJHQHUDWLRQRIGLR[LQVDQGRWKHU
            XQZDQWHGFRPSRXQGV VXFKDVFKORULFDFLG GXULQJWKHUPDOR[LGDWLRQRIFKORULQDWHG
            K\GURFDUERQYDSRUV+RZHYHUWKHUPDOR[LGL]HUVFDQEHEXLOWDQGRSHUDWHGLQD
            FRQWUROOHGZD\WRSUHYHQWGLR[LQIRUPDWLRQ)LQDOVHOHFWLRQRIWKHVSHFLILFJURXQGZDWHU
            WUHDWPHQWV\VWHPVZLOOEHFRQGXFWHGGXULQJWKH5'SKDVHDQGZLOOEHGHVLJQHGWR
            HQVXUHWKHUHPHG\LVQRWFUHDWLQJVHFRQGDU\KHDOWKULVNV
            
            
            



                                                                                                       10


                                                      258                               Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 268 of 347 Page ID #:302




  7DEOH,,&RPPHQWV5HODWHGWRWKH6HOHFWHG,QWHULP5HPHG\

      $OWHUQDWLYH UHLQMHFWLRQRIWUHDWHGJURXQGZDWHU LVSUHIHUDEOHWR$OWHUQDWLYHEHFDXVH
             7KHULVNRIFRQWDPLQDWLQJWKHGULQNLQJZDWHUVXSSO\LIWKHUHLVDQXSVHWLQWKHSURSRVHG
             JURXQGZDWHUWUHDWPHQWSODQWZRXOGEHHOLPLQDWHG
             5LVNZRXOGEHVKLIWHGDZD\IURPWKHRSHUDWRURIWKHSXEOLFGULQNLQJZDWHUVXSSO\
             V\VWHPWRWKHRSHUDWRURIWKHUHPHG\
             7KHRSHUDWRURIWKHJURXQGZDWHUWUHDWPHQWV\VWHPZRXOGEHHFRQRPLFDOO\LQFHQWLYL]HG
             WRPDLQWDLQH[FHOOHQWTXDOLW\FRQWUROTXDOLW\DVVXUDQFHSURFHGXUHVIRURSHUDWLRQVDQG
             PDLQWHQDQFHRIWKHWUHDWPHQWSODQW
             7KHUHDUHDOVRSRWHQWLDOEHQHILWVWRRWKHUVWDNHKROGHUVLIDK\GUDXOLFEDUULHULVLQFOXGHGLQ
             WKHUHPHG\GHVLJQDQGWUHDWHGZDWHULVLQMHFWHGQRUWKRIWKHK\GUDXOLFEDUULHU7KHVH
             LQFOXGH
                  5HGXFWLRQRIHQYLURQPHQWDOULVNEHFDXVHLQMHFWLRQZRXOGEHLQWRDJURXQGZDWHU
                  JUDGLHQWPRYLQJWRZDUGWKHH[WUDFWLRQZHOOV7KHHFRQRPLFSHQDOW\IRULQMHFWLQJ
                  LQDGHTXDWHO\WUHDWHGZDWHUZRXOGHVVHQWLDOO\EHIRUSURORQJLQJWKHRSHUDWLRQDQG
                  PDLQWHQDQFHSHULRGRIWKHUHPHG\QRWIRUFRQWDPLQDWLQJXQFRQWDPLQDWHGUHJLRQVRI
                  WKHDTXLIHU
                  5HGXFWLRQRIRYHUDOOFRVWRIWKHUHPHG\
               6KRUWHQLQJWKHRSHUDWLRQDOSHULRGRIWKHUHPHG\
         7:%XVLQHVV6ROXWLRQV,QF 

        5HVSRQVH%DVHGRQ(3$¶VH[SHULHQFHZLWKVLPLODUJURXQGZDWHUUHPHGLHVZLWK
        GULQNLQJZDWHUHQGXVHWKH6HOHFWHG5HPHG\FDQEHLPSOHPHQWHGVDIHO\DQGZLWKRXW
        DQ\VLJQLILFDQWULVNRIFRQWDPLQDWLRQRIWKHGULQNLQJZDWHUV\VWHP7UHDWHGZDWHU
        XQGHUWKH6HOHFWHG5HPHG\ZLOOPHHWDOOVWDWHDQGIHGHUDOGULQNLQJZDWHUVWDQGDUGV
        ,QDGGLWLRQWKHVHOHFWHGUHPHG\ZLOOKDYHWRVDWLVI\WKH&'3+UHTXLUHPHQWVIRU
        WUHDWPHQWDQGPRQLWRULQJRIZDWHUIURPDQLPSDLUHGVRXUFH
        (3$KDVVHOHFWHG$OWHUQDWLYH 7UHDWHGZDWHUXVHGDVGULQNLQJZDWHU EHFDXVH LW
        SUHVHQWVWKHPRVWUHDVRQDEOHDQGFRVWHIIHFWLYHUHPHGLDODSSURDFKWRDFKLHYH
        FRQWDLQPHQWRIWKH28SOXPHDQGPHHWVDOOVWDWHDQGIHGHUDOGULQNLQJZDWHU
        VWDQGDUGV(3$KDVLQFOXGHGIOH[LELOLW\LQWKH52'WKDWWKHGLVFKDUJHRIWUHDWHGZDWHU
        YLDUHLQMHFWLRQ FRXOGEHLPSOHPHQWHGLIDJUHHPHQWVZLWKZDWHUSXUYH\RUVFDQQRWEH
        QHJRWLDWHGLQDWLPHO\PDQQHU
        7KH52'LVQRWLQWHQGHGWRIXOO\IRUPXODWHWKHGHWDLOVRIWKHGHVLJQRIWKHVHOHFWHG
        UHPHG\7KLVZLOOEHDFFRPSOLVKHGGXULQJWKH5'SURFHVV
        7KHUHGRQRWDSSHDUWREHDQ\VXLWDEOHORFDWLRQVIRULQMHFWLRQXSJUDGLHQWRI28
        )XUWKHUPRUHXSJUDGLHQWLQMHFWLRQZRXOGUHTXLUHKLJKHUH[WUDFWLRQUDWHVDQG
        DGGLWLRQDOSLSHOLQHVUHVXOWLQJLQLQFUHDVHGFRVWV
        


                                                                                                         11



                                                      259                                    Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 269 of 347 Page ID #:303




  7DEOH,,&RPPHQWV5HODWHGWRWKH6HOHFWHG,QWHULP5HPHG\

        7KH6HOHFWHG5HPHG\LVDQLQWHULPUHPHG\QRWDILQDOUHPHG\WKHGXUDWLRQRILWV
        RSHUDWLRQRI\HDUVZDVVHOHFWHGIRUFRVWHVWLPDWLQJSXUSRVHV$FRQWDLQPHQWUHPHG\
        ZLWKRXWVRXUFHFRQWUROZRXOGKDYHWRRSHUDWHLQGHILQLWHO\ZLWKRUZLWKRXWUHLQMHFWLRQ
        6RXUFHFRQWUROZLOOEHDQLQWHJUDOSDUWRIWKHDQWLFLSDWHGILQDOUHPHG\IRUWKHVLWH
        :KHQWKHILQDOUHPHG\LVVHOHFWHGWKHUHPHG\OLIHWLPHDQGFRVWZLOOEHFRQVLGHUHGLQ
        WKHVHOHFWLRQ
      0F.HVVRQRIIHUVDQ$OWHUQDWH5HPHG\WKDWZRXOG
               (OLPLQDWHWKH/HDGLQJHGJH /( ([WUDFWLRQZHOOVDQG
               0RYHWKH&HQWUDO([WUDFWLRQ &( ZHOOVDSSUR[LPDWHO\òPLOHIDUWKHUVRXWKWR
               PRUHHIIHFWLYHO\FDSWXUHKLJKHUFRQFHQWUDWLRQVRIFRQVWLWXHQWVRIFRQFHUQ &2&V 
               WKDWXQGHU(3$¶V3URSRVHG3ODQ5HPHG\ZRXOGQRWEHFDSWXUHGE\WKHLQWHULP
               UHPHG\ZHOOVDQGZRXOGXOWLPDWHO\EHFDSWXUHGE\WKH3LRQHHU3XEOLF6XSSO\
               :HOOV 3LRQHHU:HOOV DQG
               5HGXFHWKHWRWDOJURXQGZDWHUH[WUDFWLRQUDWHIURPJDOORQVSHUPLQXWH JSP 
               WRJSPZLWKDSSUR[LPDWHO\HTXDOH[WUDFWLRQUDWHVRIJSPIURPWKH&(
               DQG1RUWKHUQ([WUDFWLRQ 1( ZHOOVDQG
                5HLQMHFWWKHWUHDWHGJURXQGZDWHULQWRWKHVKDOORZDTXLIHUIURPZKLFKLWZDV
                H[WUDFWHGUDWKHUWKDQGHOLYHULQJLWDVGULQNLQJZDWHU
         0F.HVVRQ 
        5HVSRQVH7KLVSURSRVHGDOWHUQDWLYHZRXOGQRWPHHWDOORI(3$¶V5$2V(OLPLQDWLRQRI
        WKHOHDGLQJHGJHH[WUDFWLRQZRXOGDOORZNQRZQFRQWDPLQDWLRQWRPLJUDWHWRZDUGV
        *6:&¶VSURGXFWLRQZHOOV0RYLQJWKH&(DUHDZHOOVDVVXJJHVWHGZRXOGDOORZ
        JURXQGZDWHUFRQWDPLQDWHGZLWK3&(DQG7&(FRQFHQWUDWLRQVH[FHHGLQJJ/
         WZHQW\WLPHVWKHGULQNLQJZDWHUVWDQGDUG WRFRQWLQXHWRVSUHDGGRZQJUDGLHQW
        5HLQMHFWLRQLQWRWKHVKDOORZDTXLIHUFRXOGPRELOL]HRWKHUFRQWDPLQDQWSOXPHVVXFKDV
        WKHSOXPHDWWKHIRUPHU&(1&2UHILQHU\DQGKDYHWKHQHWHIIHFWRIFUHDWLQJPRUH
        FRQWDPLQDWLRQLQWKHJURXQGZDWHUSOXPH
        7KH/(&(DQG1(ORFDWLRQVZHUHLGHQWLILHGDVJHQHUDOH[WUDFWLRQORFDWLRQVQHHGHG
        WRDFKLHYHFRQWDLQPHQWRIWKHSOXPHZLWKWKH&(DQG1(ZHOOVDOVRVHUYLQJWRNHHSWKH
        KLJKHUFRQFHQWUDWLRQVRIFRQWDPLQDQWVIURPPRYLQJLQWROHVVFRQWDPLQDWHGDUHDV7KH
        /(ZHOOVZLOONHHSWKHNQRZQORZHUOHYHOVRIFRQWDPLQDWLRQDWWKHOHDGLQJHGJHIURP
        PLJUDWLQJIXUWKHUGRZQJUDGLHQWDQGSURWHFWSURGXFWLRQZHOOVWKDWDUHORFDWHGLQWKDW
        DUHDGRZQJUDGLHQWRIWKHSOXPH7KHDFWXDOH[WUDFWLRQORFDWLRQVZLOOEHRSWLPL]HG
        GXULQJWKHUHPHGLDOGHVLJQWRHQVXUHWKDWWKHH[WUDFWLRQZHOOVDUHSODFHGWRDFKLHYH
        HIIHFWLYHFRQWDLQPHQWRIWKHKLJKO\FRQWDPLQDWHGJURXQGZDWHU
        (3$¶V6HOHFWHG5HPHG\PHHWVWKHREMHFWLYHVRIWKHUHPHG\ZKLFKDUHWRFRQWDLQWKH
        28SOXPH




                                                                                              12



                                                260                            Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 270 of 347 Page ID #:304




  7DEOH,,&RPPHQWV5HODWHGWRWKH6HOHFWHG,QWHULP5HPHG\
  
      7KH/(ZHOOVDUHXQQHFHVVDU\LQHIILFLHQWDQGVKRXOGEHHOLPLQDWHG7KHQHHGIRU
         FRQWDLQPHQWDWWKHWRHRIWKHSOXPHKDVQRWEHHQGHPRQVWUDWHG([WUDFWLRQDWWKHWRHRI
         WKHSOXPHZRXOGEHH[SHQVLYHDQGPD\QRWEHQHFHVVDU\GXHWRWKHORZFRQWDPLQDQW
         FRQFHQWUDWLRQVDQGJURVVO\RYHUVWDWHGSOXPHPLJUDWLRQUDWHV([LVWLQJSURGXFWLRQZHOOV
         FRXOGEHXWLOL]HGWRFOHDQXSWKHORZOHYHOFRQWDPLQDWLRQDQGWKLVZRXOGUHGXFHFRVWV
          0F.HVVRQ 232* 
         5HVSRQVH(3$GLVDJUHHVWKDWWKHOHDGLQJHGJHZHOOVDUHXQQHFHVVDU\DQGDOVR
         GLVDJUHHVWKDWWKHSOXPHPLJUDWLRQUDWHVKDYHEHHQRYHUVWDWHG(3$¶VDQDO\VLV
         FRQFOXGHGWKDWWKHSOXPHH[SDQVLRQUDWHLVDSSUR[LPDWHO\IHHW\HDUDQGIRXQGWKLV
         HVWLPDWHWREHUHDVRQDEOH([WUDFWLRQDWWKHOHDGLQJHGJHRIWKHSOXPHLVQHFHVVDU\WR
         SURWHFWSXEOLFZDWHUVXSSOLHV7KHOHDGLQJHGJHH[WUDFWLRQZLOONHHSNQRZQ
         FRQWDPLQDWLRQIURPPLJUDWLQJIXUWKHUGRZQJUDGLHQWDQGSURWHFWSURGXFWLRQZHOOVWKDW
         DUHORFDWHGLQWKDWDUHDGRZQJUDGLHQWRIWKHSOXPH
         7KHH[LVWLQJSURGXFWLRQZHOOVDUHQRWVXLWDEOHIRUWKHSXUSRVHVRIFRQWDLQPHQWRIWKH
         SOXPH7KH\DUHFRQVWUXFWHGZLWKJHQHUDOO\GHHSVFUHHQVDQGZRXOGGUDZFRQWDPLQDWHG
         JURXQGZDWHULQWRGHHSHUSRUWLRQVRIWKHDTXLIHU7KHSURGXFWLRQZHOOVDUHDOVRORFDWHG
         JHQHUDOO\WRRIDUIURPWKHSOXPHHGJHDQGZRXOGDOORZIRUODWHUDOSOXPHH[SDQVLRQ
         )LQDOO\WKHSURGXFWLRQZHOOVPD\QRWFRPSOHWHO\FDSWXUHWKHSOXPHDOORZLQJLWWR
         E\SDVVWKHPDQGPLJUDWHIDUWKHUGRZQJUDGLHQW
     
      7KHSURSRVDOWRGHOLYHUWKHWUHDWHGZDWHUDVGULQNLQJZDWHUZRXOGXQQHFHVVDULO\LQFUHDVH
         WKHULVNWRWKHSXEOLFZLOOFRVWPRUHWKDQHVWLPDWHGDQGPD\EHLQIHDVLEOH 0F.HVVRQ 
         5HVSRQVH(3$GLVDJUHHVWKDWWKHUHLVDGGHGULVNWRWKHSXEOLFDQGEHOLHYHVWKHFRVW
         HVWLPDWHVDUHUHDVRQDEOHDQGWKDWLPSOHPHQWDWLRQLVIHDVLEOH7KHWUHDWHGZDWHUZLOO
         PHHWDOO)HGHUDODQG6WDWHGULQNLQJZDWHUVWDQGDUGVEHIRUHLWLVGHOLYHUHGWRDZDWHU
         SXUYH\RU(3$KDVQRWHGWKHLQKHUHQWXQFHUWDLQWLHVUHJDUGLQJFRVWDWWKHWLPHRI
         LVVXDQFHRID52'7KHFRVWHVWLPDWHVKDYHDQH[SHFWHGDFFXUDF\RIWR
         ZKLFKDSSOLHVWRDOORIWKHDOWHUQDWLYHVHYDOXDWHG
     




                                                                                                 13


                                                261                          Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 271 of 347 Page ID #:305




  7DEOH,,&RPPHQWV5HODWHGWRWKH6HOHFWHG,QWHULP5HPHG\
  
      (3$LVZLOOLQJWRVDFULILFH*6:&ZHOOVWR2PHJDFRQWDPLQDWLRQ7KHVHZHOOVDUH
         DOUHDG\LQWHUFHSWLQJWKHSOXPH(3$LVQRWSURYLGLQJDQLQWHULPSURWHFWLRQRI*6:&
         ZHOOV *6:& 
         5HVSRQVH(3$GLVDJUHHVZLWKWKHFKDUDFWHUL]DWLRQWKDWLWLV³VDFULILFLQJ´*6:&¶V
         ZHOOVWRWKHFRQWDPLQDWLRQIURPWKHIRUPHU2PHJD&KHPLFDO&RUSRUDWLRQIDFLOLW\2QH
         REMHFWLYHRIWKHVHOHFWHGUHPHG\LVWRSUHYHQWIXUWKHUVSUHDGLQJRIWKHFRQWDPLQDWHG
         JURXQGZDWHU*6:&ILUVWGHWHFWHGFRQWDPLQDWLRQLQLWVZHOOVQHDUO\WKUHHGHFDGHVDJR
         ZKHQFRQWDPLQDWLRQIURPWKHIRUPHU2PHJDIDFLOLW\FRXOGQRWKDYHPLJUDWHGWRWKLV
         DUHD,WLVOLNHO\WKDWWKHFRQWDPLQDWLRQLPSDFWLQJWKH*6:&ZHOOVKDVRULJLQDWHGIURP
         PXOWLSOHVRXUFHV*6:&DGGHGZHOOKHDGWUHDWPHQWV\VWHPVWRVHYHUDORILWVZHOOVLQ
         DQGWRHQVXUHVWDWHDQGIHGHUDOGULQNLQJZDWHUVWDQGDUGVZRXOGEHPHW
         7KRVHV\VWHPVFRQWLQXHWREHLQRSHUDWLRQ
         7KHVHOHFWHGLQWHULPUHPHG\ZLOOSUHYHQWWKHKLJKO\FRQWDPLQDWHGJURXQGZDWHULQWKH
         FHQWHURIWKHSOXPH XSJUDGLHQWIURP*6:&ZHOOV IURPEHLQJGUDZQGRZQDQGLQWR
         WKH*6:&ZHOOV,WZLOODOVRSUHYHQWIXUWKHUVSUHDGLQJRIWKHFRQWDPLQDWHG
         JURXQGZDWHUWRXQFRQWDPLQDWHGSRUWLRQVRIWKHDTXLIHUDQGRWKHUQHDUE\SURGXFWLRQ
         ZHOOV
     
      7KHUHLVQRDQDO\VLVLQWKH5,)6RISRVVLEOHHIIHFWVRIWKHUHPHG\SXPSLQJRQWKH
         JURXQGZDWHUVXSSO\DQG*6:&¶VDELOLW\WRSURGXFHZDWHU *6:& 
         5HVSRQVH(3$FRQGXFWHGFRPSXWHUPRGHOLQJRIJURXQGZDWHUIORZLQDQGDURXQGWKH
         28DUHDGXULQJWKH5,)6DQGWKDWHYDOXDWLRQLQGLFDWHGWKHUHZLOOEHQRVLJQLILFDQW
         GHSOHWLRQRIJURXQGZDWHULQWKH28DUHDIRUDUHPHG\SXPSLQJDWDUDWHRI
         JSP,WLVZLWKLQ*6:&¶VULJKWVWRFRQWLQXHSXPSLQJZDWHUIURPWKHDIIHFWHG3LRQHHU
         DQG'DFHZHOOVRUWRVKLIWSURGXFWLRQWRDQRWKHUDUHDWRDYRLGWUHDWPHQWFRVWV
     
      7KHUHFRPPHQGHGUHPHG\IDLOVWRFRPSO\ZLWK$5$5V7KH)6IDLOVWRDGGUHVVNH\
         $5$5VVXFKDVWKH3XEOLF+HDOWK*RDO 3+* IRUKH[DYDOHQWFKURPLXPSURSRVHGE\
         WKH2IILFHRI(QYLURQPHQWDO+HDOWK+D]DUG$VVHVVPHQW&'3+3ROLF\6WDWH
         :DWHU5HVRXUFHV&RQWURO%RDUG 6WDWH%RDUG 5HVROXWLRQVDQG5:4&%
          /RV$QJHOHV5HJLRQ ¶VDXWKRULW\RYHUGLVFKDUJHRIEULQHWRDQRFHDQRXWIDOODQG
         UHTXLUHPHQWVRIWKH&DOLIRUQLD3XEOLF8WLOLWLHV&RPPLVVLRQ &38& ZKLFKUHJXODWHV
         *6:&)RUGLR[DQH(3$UHFHQWO\ORZHUHGWKHFDQFHUULVNOHYHOIURPSSEWR
         SSEZKLFKFRXOGSURPSW&'3+WRFRUUHVSRQGLQJO\ORZHUWKHQRWLILFDWLRQOHYHO
          1/ WKHSURSRVHGUHPHG\DLPVWRUHGXFHWKHFRQFHQWUDWLRQVWRSSELQRUGHUWRFRPSO\
         ZLWKWKHFXUUHQW&'3+1/RISSE *6:& 
         5HVSRQVH(3$EHOLHYHVWKHVHOHFWHGUHPHG\ZLOOFRPSO\ZLWKDOO$5$5VDQGWREH
         FRQVLGHUHG 7%& FULWHULDDQGZLOODFKLHYHWKHRWKHUSHUIRUPDQFHVWDQGDUGVLGHQWLILHG
         LQWKH52'LQFOXGLQJWKHODWHVW&'3+QRWLILFDWLRQOHYHOIRUGLR[DQHZKLFKZDV
         HVWDEOLVKHGDIWHUWKH3URSRVHG3ODQZDVILQDOL]HG$QXPEHURIWKHLWHPVFLWHGE\WKH
         FRPPHQWHUDUHQRW$5$5VEXWZLOOEHFRQVLGHUHGGXULQJWKHUHPHGLDOGHVLJQSURFHVV

                                                                                               14



                                                262                         Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 272 of 347 Page ID #:306




  7DEOH,,&RPPHQWV5HODWHGWRWKH6HOHFWHG,QWHULP5HPHG\
  
         7KHUHPHG\DOVRPD\DFFRPPRGDWHDQ\QHZRUPRGLILHGUHTXLUHPHQWVWKDWFRPHLQWR
         HIIHFWSULRUWRDQGGXULQJ5'DVWKHVSHFLILFGHWDLOVRIWKHUHPHG\DUHGHYHORSHGLI
         WKRVHUHTXLUHPHQWVFDOOLQWRTXHVWLRQWKHSURWHFWLYHQHVVRIWKHUHPHG\,IWKH6WDWH
         XOWLPDWHO\SURPXOJDWHVDQ0&/IRUKH[DYDOHQWFKURPLXPWKDWLVORZHUWKDQWKH
         SHUIRUPDQFHVWDQGDUGLQWKH52'DQGWKHSURWHFWLYHQHVVRIWKHUHPHG\LVFDOOHGLQWR
         TXHVWLRQWKHUHPHG\ZLOOEHUHHYDOXDWHGDWWKDWWLPHDQGWUHDWPHQWFKDQJHGLI
         QHFHVVDU\WRHQVXUHWKDWWKHWUHDWHGZDWHUFRQWLQXHVWRPHHWDOOGULQNLQJZDWHU
         VWDQGDUGV
         
         7KHIROORZLQJDUHVSHFLILFUHVSRQVHVWRWKH$5$5VLVVXHVUDLVHGLQWKHFRPPHQW
         ,Q-XO\WKH6WDWHDGRSWHGDILQDO3+*IRUKH[DYDOHQWFKURPLXPRIJ/
           SSE +RZHYHUD3+*LVQRWDUHJXODWRU\VWDQGDUGDQGLVQRWDQ$5$5
         $FFRUGLQJWR6WDWHODZ&'3+PXVWQRZGHYHORSDQGDGRSWDQ0&/IRUKH[DYDOHQW
         FKURPLXP7KDWSURFHVVLVH[SHFWHGWRWDNH\HDUVDQGLQWKHLQWHULP&'3+KDV
         VXJJHVWHGXVLQJJ/DVDSODFHKROGHUIRUWKHSHUIRUPDQFHVWDQGDUGDVLWLVZLWKLQ
         WKHFDSDELOLWLHVRIH[LVWLQJWUHDWPHQWWHFKQRORJLHVIRUKH[DYDOHQWFKURPLXP,IWKH
         0&/DGRSWHGE\&'3+LVORZHUWKHOHYHOUHTXLUHGLQWKHSHUPLW(3$ZLOOUH
         HYDOXDWHWKHUHPHG\DQGFKDQJHWKHSHUIRUPDQFHVWDQGDUGDVQHHGHGWRHQVXUHWKDW
         WUHDWHGZDWHUSURYLGHGDVGULQNLQJZDWHUFRQWLQXHVWRPHHWDOOGULQNLQJZDWHU
         VWDQGDUGV
         $OWKRXJKLWLVDSROLF\DQGKDVQRWEHHQSURPXOJDWHGXQGHU)HGHUDORU6WDWHODZ±DQG
         WKHUHIRUHLVQRWDQ$5$5IRUWKHVHOHFWHGLQWHULPUHPHG\WKHSURFHVVVHWIRUWKE\
         &'3+3ROLF\ZLOOQHHGWREHXQGHUWDNHQDQG3ROLF\¶VUHTXLUHPHQWVPHW
         LIWKHWUHDWHGZDWHULVXVHGLQWKHPXQLFLSDOZDWHUVXSSO\3ROLF\KDVEHHQ
         LQFOXGHGDVD7%&LWHPLQWKH52' 7DEOH 
         6WDWH%RDUG5HVROXWLRQLVQRWDQ$5$5IRUWKHVHOHFWHGLQWHULPUHPHG\,WVRQO\
         VXEVWDQWLYHUHTXLUHPHQWIRUSXUSRVHVRI$5$5VDQDO\VLV LH6HFWLRQ,,,* DSSOLHV
         ZKHUHFOHDQXSJRDOVEDVHGRQEDFNJURXQGFRQFHQWUDWLRQVFDQQRWEHDWWDLQHGGXHWR
         WHFKQRORJLFDODQGHFRQRPLFOLPLWDWLRQV%HFDXVHWKHSURSRVHGUHPHG\LVFRQVLGHUHG
         LQWHULP(3$LVQRWVHWWLQJLQVLWXQXPHULFFOHDQXSJRDOVIRUWKH28JURXQGZDWHUDW
         WKLVWLPH
         6WDWH%RDUG5HVROXWLRQLVLGHQWLILHGDVDQ$5$5LQWKH52'
         7KH&38&UHJXODWLRQVFLWHGE\*6:&DUHQRWLGHQWLILHGDV$5$5VIRUWKHVHOHFWHG
         LQWHULPUHPHG\(3$UHFRJQL]HVWKH&38&¶VDXWKRULW\SXUVXDQWWRWKH&DOLIRUQLD
         &RQVWLWXWLRQDQG6WDWHVWDWXWHDVDOVRUHIOHFWHGE\&DOLIRUQLDFDVHODZ&RPSOLDQFH
         ZLWKWKH)HGHUDODQG6WDWHSULPDU\GULQNLQJZDWHUVWDQGDUGV 0&/V LGHQWLILHGDV
         $5$5VLQWKH52'ZLOOFRQVWLWXWHFRPSOLDQFHZLWKWKH&38&¶VUXOHV
         7KH5:4&%/RV$QJHOHV5HJLRQUHJXODWHVGLVFKDUJHVRIWUHDWHGJURXQGZDWHU7KH
         EULQHUHVXOWLQJIURPWKHLQWHULPUHPHG\¶VWUHDWPHQWSURFHVVZRXOGEHGLVFKDUJHGWRD
         QHDUE\LQGXVWULDOVHZHUOLQHIRUGLVSRVDOSXUVXDQWWRDVHZHUXVHSHUPLWIURP/$&6'
         1RDGGLWLRQDOSHUPLWLVQHHGHGIRUWKLVGLVFKDUJH


                                                                                                15



                                                 263                         Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 273 of 347 Page ID #:307




  7DEOH,,&RPPHQWV5HODWHGWRWKH6HOHFWHG,QWHULP5HPHG\
  
      7KH)6GRHVQRWDQDO\]HDOOLPSDFWVWRWKH*6:&ZHOOVVXFKDVLQFUHDVLQJWUHDWPHQW
         FRVWVDQGWKHQHHGIRULQVWLWXWLRQDOFRQWUROV ,&V  *6:& 
         5HVSRQVH7KH)6HYDOXDWHVDQGGLVFXVVHVFHUWDLQSRWHQWLDOLPSDFWVWR*6:&¶VZHOOV
         DVZHOODVWKHQHHGIRULQVWLWXWLRQDOFRQWUROVZKLFKHYHQWXDOO\ZHUHVHOHFWHGDVSDUWRI
         WKH28UHPHG\ VHHHJ)6VHFWLRQVDQG ,&VZLOOFRQVLVWRIDQQXDO
         UHYLHZVQRWLILFDWLRQVDQGPHHWLQJV
         7KH)6GRHVQRWHYDOXDWHLPSDFWVWR*6:&ZHOOVVXFKDVLQFUHDVLQJWUHDWPHQWFRVWV
         7KHREMHFWLYHVRIWKH)6ZHUHWR  GHYHORSDQGHYDOXDWHUHPHGLDODOWHUQDWLYHVWKDW
         PLWLJDWHWKUHDWVWRKXPDQKHDOWKDQGWKHHQYLURQPHQWIURPWKHFRQWLQXHGVSUHDGRI
         FRQWDPLQDWHGJURXQGZDWHUDW28DQG  LGHQWLI\DSUHIHUUHGDOWHUQDWLYHWRSUHVHQWLQ
         WKH3URSRVHG3ODQ(3$EHOLHYHVVXIILFLHQWGDWDZHUHDYDLODEOHWRDFKLHYHWKH
         REMHFWLYHVRIWKH)6
         $OWKRXJK(3$UHFRJQL]HVWKHUHPD\EHDGGLWLRQDOLPSDFWV HJILQDQFLDO WR*6:&¶V
         ZHOOVUHVXOWLQJIURPFRQWDPLQDWLRQDWWKHIRUPHU2PHJD&KHPLFDO&RUSRUDWLRQ
         IDFLOLW\DQGRWKHUVRXUFHVFRQWULEXWLQJFRQWDPLQDWLRQWRWKH28SOXPHWKHVHLPSDFWV
         DUHEH\RQGWKHVFRSHRIWKHVHOHFWLRQRIWKHLQWHULPUHPHG\IRU28
      7KH)6GRHVQRWSURYLGHVXIILFLHQWH[SODQDWLRQRIWKHDFWXDOWHFKQLFDODQGDGPLQLVWUDWLYH
         LPSOHPHQWDELOLW\RIWKH&'3+SURFHVVELRORJLFDOWUHDWPHQWSURFHVVDQGGLVSRVDO
         RIEULQH *6:& 
         5HVSRQVH7KHWUHDWPHQWSURFHVVHVRXWOLQHGLQWKH)6DOOKDYHGHPRQVWUDWHGWHFKQLFDO
         DQGDGPLQLVWUDWLYHLPSOHPHQWDELOLW\ IRUH[DPSOHPDQ\KDYHEHHQXVHGLQRWKHU
         6XSHUIXQGUHPHGLHVWKDWSURYLGHWUHDWHGZDWHUIRUXVHLQGULQNLQJV\VWHPV ,QRUGHU
         IRUWKHWUHDWHGZDWHUWREHVHUYHGDVGULQNLQJZDWHU WKHVHOHFWHGHQGXVH WKHSURFHVV
         VHWIRUWKE\&'3+DQGGHOLQHDWHGLQLWV3ROLF\ZLOOQHHGWREHXQGHUWDNHQDQG
         WKH3ROLF\UHTXLUHPHQWVPHW7KHVSHFLILFGHWDLOVRIWKHWUHDWPHQWSURFHVVHVDQG
         RWKHUV\VWHPUHTXLUHPHQWVUHODWHGWRSXEOLFZDWHUVXSSOLHVZLOOEHGHYHORSHGWKURXJK
         PHHWLQJVDQGFRRUGLQDWLRQZLWK&'3+GXULQJWKH5'SKDVHRIWKHSURMHFW$
         QRQFRQVXPSWLYHZDWHUXVHH[HPSWLRQZLOOEHVRXJKWIURP:5'IRUWKHGLVSRVDORIWKH
         EULQH




                                                                                                 16


                                                 264                           Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 274 of 347 Page ID #:308




  7DEOH,,&RPPHQWV5HODWHGWRWKH6HOHFWHG,QWHULP5HPHG\
  
       (3$GLGQRWHYDOXDWHRUFRQVLGHUDGGLWLRQDOIDFLOLWLHVWKDWDUHSRWHQWLDOVRXUFHVRI
          FRQWDPLQDQWVWRWKHSOXPH7KHDEVHQFHRIDGHTXDWHVRXUFHFRQWUROWKURXJKRXWWKH
          IRRWSULQWRIWKH5HJLRQDOSOXPHLVDIDWDOIODZWRWKHVXFFHVVRIWKHVHOHFWHGUHPHG\7KH
          SXPSDQGWUHDWUHPHG\ZLOOEHLQHIIHFWLYHDQGFRVWO\ZLWKRXWVRXUFHFRQWUROIRUDOO
          FRQWDPLQDWLRQVRXUFHVDW286WDWHDJHQFLHVPD\QRWDGGUHVVWKHVRXUFHVXQGHUWKHLU
          RYHUVLJKWLQDUHDVRQDEOHWLPHIUDPHJLYHQWKH6WDWH¶VILQDQFLDOVLWXDWLRQ 232* 
          5HVSRQVH(3$UHFRJQL]HVWKHLPSRUWDQFHRIVRXUFHFRQWUROVIRUVXFFHVVIXOORQJWHUP
          UHPHGLDWLRQEXWLVQRWVHHNLQJWRDGGUHVVDOOWKHSRWHQWLDOVRXUFHVLQWKLVLQWHULP
          UHPHG\WKHREMHFWLYHVRIZKLFKDUHIRFXVHGRQFRQWDLQPHQWRIWKH28SOXPH(3$
          GRHVQRWEHOLHYHWKDWWKHODFNRIVRXUFHFRQWURORQDOOIDFLOLWLHVLVDIDWDOIODZDVWKH
          VHOHFWHGUHPHG\LVFDSDEOHRIDGHTXDWHO\WUHDWLQJWKHH[LVWLQJFRQWDPLQDQWSOXPH,Q
          DGGLWLRQWKHUHZLOOEHDJURXQGZDWHUPRQLWRULQJQHWZRUNWRHYDOXDWHFKDQJHVLQWKH
          SOXPHDQGSURYLGHDGHTXDWHOHDGWLPHWRPRGLI\WKHWUHDWPHQWV\VWHPDVQHFHVVDU\
          (3$ZLOOFRQWLQXHFRRUGLQDWLRQZLWKDQGLIQHHGHGSURYLGHDVVLVWDQFHWRWKH6WDWH
          DJHQFLHVUHVSRQVLEOHIRURYHUVLJKWRIWKHVHIDFLOLWLHVWRHQVXUHWKDWFOHDQXSHIIRUWVDUH
          XQGHUWDNHQLQDWLPHO\PDQQHU,QDGGLWLRQ(3$ZLOOZRUNZLWKWKH6WDWHWRLGHQWLI\
          DQGDGGUHVVDOOVLJQLILFDQWVRXUFHVZLWKLQWKH28SOXPHDUHDWKDWKDYHFRQWULEXWHGWR
          WKHJURXQGZDWHUFRQWDPLQDWLRQ0RVWRIWKHNQRZQVRXUFHVDUHFXUUHQWO\EHLQJ
          DGGUHVVHGE\6WDWHOHGDFWLRQV(3$H[SHFWVWKDWWKHUHVWRIWKHVRXUFHVZLOOEH
          DGGUHVVHGE\WKHFRPELQHGHIIRUWVRIWKH6WDWHDQG(3$
      
       (3$KDVQRWDGHTXDWHO\HYDOXDWHGZKHWKHUZDWHUSXUYH\RUVZLOODFFHSWWKHWUHDWHGZDWHU
           232* 
          5HVSRQVH(3$KDGLQLWLDOGLVFXVVLRQVZLWKSXUYH\RUVZKRH[SUHVVHGSUHOLPLQDU\
          LQWHUHVWLQDFFHSWLQJWKHZDWHU,IQHFHVVDU\(3$ZLOOIDFLOLWDWHIXWXUHQHJRWLDWLRQV
          EHWZHHQWKHSDUWLHVUHVSRQVLEOHIRULPSOHPHQWLQJWKHUHPHG\WKHZDWHUSXUYH\RUVDQG
          RWKHUVWDNHKROGHUV(3$UHFRJQL]HVWKDWLWPD\EHGLIILFXOWDQGWLPHFRQVXPLQJIRUDQ
          DJUHHPHQWWREHUHDFKHG(3$KDVLQFOXGHGUHLQMHFWLRQLQWKHVHOHFWHGUHPHG\DVDQ
          DOWHUQDWLYHIRUGLVSRVDORIWUHDWHGZDWHULQSDUWWRDGGUHVVWKHXQFHUWDLQW\UHJDUGLQJ
          VHFXULQJQHFHVVDU\DJUHHPHQW V DPRQJVWDNHKROGHUVIRUGULQNLQJZDWHUHQGXVHLQD
          WLPHO\PDQQHU
      
  
  
  
                               




                                                                                                   17

                                                 265                                  Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 275 of 347 Page ID #:309




  

  7DEOH,,,&RPPHQWV5HODWHGWR3HUPLWWLQJDQG&RPSOLDQFH
  
       'LVFKDUJHWR/RV$QJHOHV&RXQW\)ORRG&RQWURO'LVWULFW /$&)&' XQGHU$OWHUQDWLYH
          ZLOOUHTXLUHD)ORRG3HUPLWDQGYHULILFDWLRQRIFRYHUDJHDQGRUH[HPSWLRQXQGHUDQ
          DSSOLFDEOH1DWLRQDO3ROOXWDQW'LVFKDUJH(OLPLQDWLRQ6\VWHP3HUPLW 13'(6 7KHZDWHU
          TXDOLW\ZRXOGQHHGWRPHHWVXUIDFHZDWHUVWDQGDUGV $VSUHDGLQJDJUHHPHQWZRXOGQHHG
          WREHGHYHORSHGLQFOXGLQJLQGHPQLW\FODXVHVDQGSD\PHQWVIRUGLVFKDUJHV /$'3: 
          5HVSRQVH&RPPHQWQRWHG(3$GLGQRWVHOHFW$OWHUQDWLYHDVWKH28LQWHULP
          UHPHG\
  
       7KH&LW\RI1RUZDONLVFRQFHUQHGDERXWWKHDHVWKHWLFVRIWKHUHPHG\DQGLWVLPSDFWVRQ
          WKHDUHD$OO&LW\SHUPLWWLQJUHTXLUHPHQWVVKRXOGEHIROORZHG &LW\RI1RUZDON 
          5HVSRQVH(3$DSSUHFLDWHVWKH&LW\¶VFRQFHUQVUHJDUGLQJWKHDHVWKHWLFVDQGLPSDFWVRI
          WKHLQWHULPUHPHG\DQGZLOOZRUNZLWKWKH&LW\GXULQJLPSOHPHQWDWLRQRIWKHLQWHULP
          UHPHG\WRDGGUHVVWKRVHFRQFHUQV7KHUHZLOOEHFRPSOLDQFHZLWKDOOVXEVWDQWLYH
          DVSHFWVRI&LW\SHUPLWWLQJUHTXLUHPHQWVIRUDFWLRQVRFFXUULQJRQ6LWHDQGZLWKLQ&LW\
          OLPLWV
  
       7KHGULQNLQJZDWHUHQGXVHE\DSXEOLFZDWHUV\VWHPZLOOEHVXEMHFWWR&'3+3ROLF\
          0HPRZKLFKUHTXLUHVPRUHVWULQJHQWWUHDWPHQWWKDQSUHVHQWHGLQWKH)6IRU
          H[DPSOHIRUKH[DYDOHQWFKURPLXP &'3+ 
          5HVSRQVH(3$LVDZDUHRIWKHVHUHTXLUHPHQWVDQGH[SHFWVWKDWGHVLJQRIWKHUHPHG\
          ZLOOFRPSO\ZLWK3ROLF\WRDVVXUHWKDWWKHQHFHVVDU\WUHDWPHQWLVSURYLGHGDQG
          DOORWKHUUHTXLUHPHQWVDUHPHW
  
  
  
                              




                                                                                                   18

                                                266                                   Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 276 of 347 Page ID #:310




  

  7DEOH,92WKHU&RPPHQWV
  
       5HTXHVWWKDW(3$PDNH2PHJDD)XQG/HDGSURMHFWJLYHQWKHXUJHQF\WRFRQVWUXFWWKH
          UHPHG\WRSUHYHQWIXUWKHUSOXPHH[SDQVLRQ
           &LW\RI1RUZDON&LW\RI/DNHZRRGDQG6RXWKHDVW:DWHU&RDOLWLRQ 
          5HVSRQVH(3$¶VSROLF\LVWRSXUVXH³HQIRUFHPHQWILUVW´WKURXJKRXWWKH6XSHUIXQG
          FOHDQXSSURFHVVZKLFKSURPRWHVWKH³SROOXWHUSD\V´SULQFLSOHDQGKHOSVWRFRQVHUYH
          WKHUHVRXUFHVRIWKH+D]DUGRXV6XEVWDQFH7UXVW)XQGIRUWKHFOHDQXSRIWKRVHVLWHV
          ZKHUHYLDEOHUHVSRQVLEOHSDUWLHVGRQRWH[LVW6HH³(QIRUFHPHQW)LUVWIRU5HPHGLDO
          $FWLRQDW6XSHUIXQG6LWHV´SROLF\6HSWHPEHU$PDMRUFRPSRQHQWRIWKH
          ³HQIRUFHPHQWILUVW´SROLF\LVWKDWSRWHQWLDOO\UHVSRQVLEOHSDUWLHVVKRXOGFRQGXFW
          UHPHGLDODFWLRQVZKHUHYHUSRVVLEOH&RQVLVWHQWZLWKWKLVSROLF\(3$ZLOOILUVWVHHNWR
          QHJRWLDWHDWLPHO\VHWWOHPHQWZLWKWKH353VIRULPSOHPHQWDWLRQRIWKHLQWHULPUHPHG\
          ,IDQDJUHHPHQWLVQRWDFKLHYHGLQDWLPHO\PDQQHU(3$ZLOOHYDOXDWHLWVRWKHURSWLRQV
          ZKLFKLQFOXGHPDNLQJWKH6LWHD)XQGOHDGSURMHFW
  
       (3$KDVQRSODQIRUNHHSLQJ353VHQJDJHGWRKROGWKHPUHVSRQVLEOHIRU\HDUV7KH
          52'VKRXOGVWDWHWKHUROHWKH353VDUHWRHQJDJHLQDQGDOVRVWDWHWKHWLPHIUDPHRIWKHLU
          UHVSRQVLELOLW\XQWLOWKHSOXPHLVFRPSOHWHO\FOHDQHGXS &LW\RI6DQWD)H6SULQJV 
          5HVSRQVH&(5&/$SURYLGHV(3$ZLWKYDULRXVPHFKDQLVPVDQGEURDGDXWKRULW\IRU
          NHHSLQJSRWHQWLDOO\UHVSRQVLEOHSDUWLHVHQJDJHGLQUHPHG\LPSOHPHQWDWLRQRYHUWKH
          ORQJWHUP HJFRQVHQWGHFUHHVDQGXQLODWHUDORUGHUVZLWKSURYLVLRQVIRUORQJWHUP
          LPSOHPHQWDWLRQ 7KH$JHQF\KDVEHHQYHU\VXFFHVVIXOLQXVLQJWKRVHPHFKDQLVPVWR
          HQVXUHWKDW353VLPSOHPHQWFOHDQXSVDQG(3$ZLOOPDNHHYHU\HIIRUWWRHQVXUHWKDW
          WKLVRFFXUVIRUWKH28UHPHG\
  
       ,VVXLQJD52'FODLPLQJWRXVH6DQWD)H6SULQJV¶V5HVHUYRLU1RDVDPL[LQJWDQNLV
          SUHPDWXUHZLWKRXWXQGHUVWDQGLQJWKH&LW\¶VV\VWHPRSHUDWLRQ &LW\RI6DQWD)H6SULQJV 
          5HVSRQVH7KH6HOHFWHG5HPHG\LQFOXGHVGULQNLQJZDWHUHQGXVHEXWGRHVQRWVSHFLI\
          DQ\PXQLFLSDOZDWHUV\VWHPWREHXVHGQRUKRZDQ\FRPSRQHQWVRIDV\VWHPVXFKDV
          5HVHUYRLUZRXOGEHXVHG,QWKH)6$OWHUQDWLYHLQFOXGHVWUHDWPHQWRIH[WUDFWHG
          ZDWHUWRPHHW)HGHUDODQG6WDWHGULQNLQJZDWHUVWDQGDUGVDQG5HVHUYRLU1RLV
          LGHQWLILHGDVDSRWHQWLDOORFDWLRQIRUWKHGHOLYHU\RIWKHWUHDWHGZDWHU(3$UHFRJQL]HV
          WKDWDQ\VXFKXVHRIDUHVHUYRLUZRXOGEHVXEMHFWWRDJUHHPHQWVQHJRWLDWHGEHWZHHQWKH
          ZDWHUXWLOLW\DQGWKHSDUW\RUSDUWLHVUHVSRQVLEOHIRULPSOHPHQWLQJWKHUHPHG\$ILQDO
          GHFLVLRQRQWKHGHOLYHU\ORFDWLRQZLOOEHPDGHGXULQJWKH5'DQGPD\LQFOXGHRWKHU
          ZDWHUSXUYH\RUVDVZHOO
  




                                                                                                   19


                                                  267                          Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 277 of 347 Page ID #:311




  7DEOH,92WKHU&RPPHQWV
  
       7KH6DQWD)H6SULQJVZHOO1RLVQRWSDUWRIWKHSURSRVHGUHPHG\,WFRXOGEHXWLOL]HGDV
          DUHPHG\H[WUDFWLRQZHOOEHFDXVHLWFDQEHUHWURILWWHGIRUH[WUDFWLRQIURPFRQWDPLQDWHG
          DTXLIHUV,ILWLVQRWXVHGLWPD\EHDFRQGXLWIRUPLJUDWLRQLQWRGHHSHUDTXLIHUVRI
          FRQVWLWXHQWVKDYLQJDVSHFLILFJUDYLW\KHDYLHUWKDQZDWHU &LW\RI6DQWD)H6SULQJV 
          5HVSRQVH(3$GLGQRWLQFOXGHVSHFLILFH[WUDFWLRQZHOOORFDWLRQVLQWKHDOWHUQDWLYHV
          GHVFULEHGLQWKH)HDVLELOLW\6WXG\7KHORFDWLRQVLQGLFDWHGRQWKHILJXUHVLQWKH)6DQG
          LQWKH52'DUHIRULOOXVWUDWLRQDQGFRVWLQJSXUSRVHVRQO\7KHXVHRIWKLVVSHFLILFZHOO
           ZHOO1R DVDQH[WUDFWLRQZHOOIRUWKHUHPHG\FDQEHFRQVLGHUHGGXULQJWKH5'
          SKDVH7HFKQLFDOFRQVLGHUDWLRQVVXFKDVK\GUDXOLFFRQWURORIWKHSOXPHDQG
          VWDNHKROGHUV¶LQSXWZLOOEHNH\IDFWRUVWKDWQHHGWREHDGGUHVVHG7KHUHDUHGRZQZDUG
          K\GUDXOLFJUDGLHQWVZLWKLQWKHDTXLIHULQWKH28DUHDDQGWKHUHLVDSRWHQWLDOIRU
          YHUWLFDOPLJUDWLRQRIFRQWDPLQDQWVGLVVROYHGLQJURXQGZDWHUWKURXJKFRQGXLWV
          LQFOXGLQJDFWLYHDQGLQDFWLYHZHOOV7KHVHLVVXHVZLOOQHHGWREHHYDOXDWHGGXULQJWKH
          UHPHGLDOGHVLJQ
  
       7KHUHPHG\VKRXOGEHLPSOHPHQWHGLPPHGLDWHO\WRSURWHFWGULQNLQJZDWHUZHOOV:5'
          VXSSRUWVWKH5HPHGLDO$FWLRQ2EMHFWLYHWRGHFUHDVHSOXPHVSUHDGLQJ &LW\RI/DNHZRRG
          DQG:5' 
          5HVSRQVH(3$DJUHHVDQGKDVRSWHGWRSXUVXHDQLQWHULPFRQWDLQPHQWUHPHG\WKDW
          FDQEHVHOHFWHGDQGLPSOHPHQWHGLQDPRUHWLPHO\PDQQHUWKDQZRXOGEHWKHFDVHIRUD
          IXOOILQDOUHPHG\IRUJURXQGZDWHU(3$UHFRJQL]HVWKDWLWZLOOUHTXLUHH[WHQVLYHHIIRUW
          DQGZLOOZRUNZLWKDOOVWDNHKROGHUVWRLPSOHPHQWWKHUHPHG\DVTXLFNO\DVSRVVLEOH
  
       :5'UHTXHVWV(3$¶VUHVSRQVHWRDWHFKQLFDOPHPRUDQGXPSUHSDUHGE\:5'¶V
          FRQWUDFWRULQDGGLWLRQWRUHVSRQGLQJWR:5'¶VSXEOLFFRPPHQWV :5' 
          5HVSRQVH(3$EHOLHYHVWKDW:5'¶VZULWWHQSXEOLFFRPPHQWVVXPPDUL]HGWKHLVVXHV
          LGHQWLILHGLQWKHWHFKQLFDOPHPRUDQGXP(3$LVUHVSRQGLQJWR:5'¶VFRPPHQWVLQ
          WKLV5HVSRQVLYHQHVV6XPPDU\
  
       (3$VKRXOGEHPLQGIXORIZDWHUULJKWVQHJRWLDWLRQVDQGWKHWLPHWKDWZLOOOLNHO\EH
          UHTXLUHGWRUHDFKDQDJUHHPHQWDPRQJVWDNHKROGHUV7KH)6GRHVQRWDQDO\]HKRZWKH
          UHPHG\ZLOOLPSDFW*6:&¶VZDWHUULJKWV (3$ V)HDVLELOLW\6WXG\DQG3URSRVHG3ODQ
          LJQRUHWKHLVVXHRIZDWHUULJKWV:KRVHJURXQGZDWHUULJKWVZLOOEHXVHGIRUWKHH[WUDFWLRQ
          DQGZKRZLOOSD\UHSOHQLVKPHQWDVVHVVPHQWIHHV" :5'*6:&232*DQG&HQWUDO
          %DVLQ0XQLFLSDO:DWHU'LVWULFW 
          5HVSRQVH(3$LVDZDUHRIWKHZDWHUULJKWVLVVXHVDQGXQGHUVWDQGVWKHQHHGWRDGGUHVV
          WKLVGXULQJWKH5'SKDVHRIWKHSURMHFW(3$ZLOODVDSSURSULDWHSDUWLFLSDWHLQ
          GLVFXVVLRQVDQGKHOSIDFLOLWDWHDJUHHPHQWVEHWZHHQVWDNHKROGHUV,I(3$LVVXFFHVVIXOLQ
          UHDFKLQJDQDJUHHPHQWZLWKWKH353VWRLPSOHPHQWWKHUHPHG\LWZLOOEHWKHLU


                                                                                                   20


                                                  268                              Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 278 of 347 Page ID #:312




  7DEOH,92WKHU&RPPHQWV
  
         UHVSRQVLELOLW\WRDGGUHVVWKHZDWHUULJKWVLVVXHV(3$H[SHFWVWKDWWKH353V
         LPSOHPHQWLQJWKHUHPHG\ZLOOHQWHULQWRDQDJUHHPHQWZLWKRQHRUPRUHZDWHUULJKWV
         KROGHUVDQGJURXQGZDWHUZLOOEHH[WUDFWHGXQGHUWKHKROGHU¶VZDWHUULJKWV,IDJUHHPHQW
         FDQQRWEHUHDFKHGZLWKDZDWHUULJKWVKROGHULQDWLPHO\PDQQHUWKHWUHDWHGZDWHUPD\
         EHUHLQMHFWHG
  
       7KHUHPHG\LPSDFWVRQWKLVFRPPXQLW\DUHVXEVWDQWLDODQGORQJWHUP(3$VKRXOG
          SURYLGHWHFKQLFDODVVLVWDQFHWRWKHDIIHFWHGFRPPXQLW\7KH3URSRVHG3ODQGRFXPHQW
          PHQWLRQVWKDWD7HFKQLFDO$VVLVWDQFH*UDQW 7$* LVDYDLODEOHIRUFLWL]HQVZKROLYHQHDUD
          6XSHUIXQGVLWH$7$*UHTXLUHVDSSOLFDWLRQE\DORFDOQRQSURILWRUJDQL]DWLRQWRUHSUHVHQW
          WKHORFDOFRPPXQLW\,WDSSHDUVWKDWQRQRQSURILWRUJDQL]DWLRQKDVDSSOLHGIRUDQGEHHQ
          DFFHSWHGDVWKHFRPPXQLW\UHSUHVHQWDWLYHIRUD7$*7KHDIIHFWHGFRPPXQLW\LQFOXGLQJ
          WKHZDWHUDJHQFLHVVKRXOGEHPDGHDZDUHWKDWD7HFKQLFDO$GYLVRU 7$ FDQEHSURYLGHG
          WRWKHDIIHFWHGFRPPXQLW\E\WKH(3$7HFKQLFDO$VVLVWDQFH6HUYLFHVIRU&RPPXQLWLHV
           7$6& SURJUDP%HFDXVHVRPHPXQLFLSDOGULQNLQJZDWHUZHOOVKDYHEHHQLPSDFWHGDQG
          WKHGULQNLQJZDWHUV\VWHPLVWKHSURSRVHGUHFLSLHQWRIWKHWUHDWHGJURXQGZDWHULIQR
          FRPPXQLW\JURXSLVIRUPHGWRUHSUHVHQWWKHFRPPXQLW\LQWHUHVWDPXQLFLSDODJHQF\PD\
          GHVLUHWRILOOWKLVUROH 7:%XVLQHVV6ROXWLRQV,QF 
          5HVSRQVH(OLJLEOHFRPPXQLW\JURXS V FDQDSSO\IRUD7HFKQLFDO$VVLVWDQFH*UDQW
           7$* E\FRQWDFWLQJ-DFNLH/DQH&RPPXQLW\,QYROYHPHQW&RRUGLQDWRUDW  
          RUHPDLOKHUDWODQHMDFNLH#HSDJRY7RGDWHQRFRPPXQLW\JURXSKDVVXEPLWWHG
          D³/HWWHURI,QWHQW´WRDSSO\IRUD7$*,QDGGLWLRQDFFRUGLQJWRWKH2FWREHU
          7$*5XOH )HG5HJ   WREHFRGLILHGDW&)53DUW
           E  DPXQLFLSDOLW\LVLQHOLJLEOHWRDSSO\*HQHUDO7$*SURJUDPDQG
          UHVRXUFHLQIRUPDWLRQLVDYDLODEOHDW
          KWWSZZZHSDJRYVXSHUIXQGFRPPXQLW\WDJLQGH[KWP,QWHUHVWHGVWDNHKROGHUVZKR
          ZRXOGOLNHWRDSSO\IRU7HFKQLFDO$VVLVWDQFH6HUYLFHVIRU&RPPXQLWLHV 7$6& 
          SURJUDPFDQFDOO9LROD&RRSHU5HJLRQ7$6&FRRUGLQDWRUDW  RU
          HPDLOKHUDWFRRSHUYLROD#HSDJRY)RUJHQHUDO7$6&LQIRUPDWLRQJRWR
          KWWSZZZHSDJRYVXSHUIXQGFRPPXQLW\WDVF
  




                                                                                                  21


                                                   269                           Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 279 of 347 Page ID #:313




  7DEOH,92WKHU&RPPHQWV
  
       7KH)6DQGWKH3URSRVHG3ODQFKDUDFWHUL]HWKH6LWHDQGWKHVXUURXQGLQJDUHDVDV
          ³SUHGRPLQDQWO\FRPPHUFLDOLQGXVWULDOZLWKPLQRUUHVLGHQWLDOODQGXVH´7KLVLVQRW
          FRUUHFW7KHUHLVDVXEVWDQWLDOUHVLGHQWLDODUHDLQ28URXJKO\VRXWKRI)ORUHQFH$YHQXH
          HDVWRI3LRQHHU%RXOHYDUGQRUWKRIWKH,PSHULDO+LJKZD\DQGZHVWRI%ORRPILHOG
          $YHQXH
          7KHUHPD\EHDQRWKHULPSDFWHGZHOOVRXWKRIWKHOHDGLQJHGJHRIWKHSOXPHDVVKRZQLQ
          WKH)6HDVWRI1RUZDON%OYGLQWKHYLFLQLW\RI6DQ$QWRQLR'U7KLVLQGLFDWHVWKDW28
          VKRXOGEHH[WHQGHGWRWKHVRXWKRIZKHUHLWLVVKRZQLQWKH)6DQGUHVLGHQWLDO
          QHLJKERUKRRGVLQ1RUZDONVRXWKRIWKH*ROGHQ6WDWH)UHHZD\VKRXOGEHLQFOXGHGLQ28
           7:%XVLQHVV6ROXWLRQV,QF 
          5HVSRQVH(3$DFNQRZOHGJHVWKDWWKHUHDUHUHVLGHQWLDODUHDVZLWKLQDQGQHDU28EXW
          WKHPDMRULW\RIODQGXVHRYHUO\LQJWKH28SOXPHLVFRPPHUFLDOLQGXVWULDO(3$KDV
          DOVRUHYLHZHGLQIRUPDWLRQRQSURGXFWLRQZHOOVLQWKH28DUHDDQGIXUWKHUVRXWKDQG
          VRXWKZHVW GRZQJUDGLHQW RIWKHSOXPH(3$LVVHOHFWLQJDQLQWHULPFRQWDLQPHQW
          UHPHG\WKDWLVLQWHQGHGWRSURWHFWWKHVHGRZQJUDGLHQWSURGXFWLRQZHOOV(3$ZLOO
          H[SDQGWKHERXQGDU\RI28LILWLVFRQILUPHGWKDWWKHSOXPHLVFRQWLQXRXVEH\RQGWKH
          H[WHQWFXUUHQWO\VKRZQ
  
       &'3+UHFRPPHQGVLWVHDUO\LQYROYHPHQWLQWKHUHPHG\LPSOHPHQWDWLRQ &'3+ 
          5HVSRQVH(3$DJUHHVWKDW&'3+QHHGVWREHLQYROYHGDWWKHRXWVHWRIUHPHG\
          LPSOHPHQWDWLRQ(3$IXOO\H[SHFWVWRFRQWLQXHSDVWGLVFXVVLRQVZLWK&'3+WKURXJKWKH
          UHPHGLDOGHVLJQDQGUHPHG\LPSOHPHQWDWLRQSKDVHVRIWKHSURMHFW
  
       7KHUHLVQRHYLGHQFHWKDWWKHFRQWDPLQDWLRQIURPWKH6LWHLVQRWEHLQJGUDZQGRZQWRD
          GHHSHUOD\HURIWKHDTXLIHULQWKHDUHDRIWKH*6:&ZHOOVDQGJLYHQWKHJHRORJ\RIWKH
          DUHDDQG*6:&¶VXVXDOSXPSLQJSDWWHUQLWLVKLJKO\OLNHO\WKLVLVDOUHDG\RFFXUULQJ
           *6:& 
          5HVSRQVH(3$FRQFXUVZLWK*6:&WKDWSDVWDQGFXUUHQWSXPSLQJIURPWKH3LRQHHU
          DQG'DFHZHOOVKDVOLNHO\GUDZQFRQWDPLQDWLRQGRZQLQWRGHHSHUDTXLIHU]RQHV
          $GGLWLRQDOLQYHVWLJDWLRQLVQHHGHGWREHWWHUGHILQHWKHLQIOXHQFHRIWKHVHZHOOVRQWKH
          28SOXPH
  
       (3$VWDWHGWKDWWKH6WDWHKDGDFFHSWHGWKH3URSRVHG3ODQEHFDXVH'76&VXSSRUWHGWKH
          SUHIHUUHGUHPHG\EXWQRPHQWLRQLVPDGHRI&'3+DQGZKHWKHU(3$KDVJDLQHG&'3+¶V
          DFFHSWDQFH *6:& 
          5HVSRQVH'76&LVWKHOHDGVWDWHDJHQF\IRUWKH6LWHDQGLQWKDWFDSDFLW\FRQFXUUHGRQ
          WKH3URSRVHG3ODQ'76&KDVDOVRFRQFXUUHGRQWKHUHPHG\VHOHFWHGLQWKLV52'$W
          WKLV6LWHDVDWRWKHUV(3$UHOLHVXSRQWKHOHDGVWDWHDJHQF\WRFRQVXOWZLWKLWVVLVWHU
          DJHQFLHVZKHQQHFHVVDU\DQGDSSURSULDWH(3$UHFRJQL]HV&'3+¶VNH\UROHDQG


                                                                                                 22


                                                  270                              Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 280 of 347 Page ID #:314




  7DEOH,92WKHU&RPPHQWV
  
         UHJXODWRU\DXWKRULW\UHODWLQJWRLPSOHPHQWDWLRQRIWKHVHOHFWHGLQWHULPUHPHG\DQG
         DQWLFLSDWHVLWZLOOEHDFWLYHO\LQYROYHGPRYLQJIRUZDUG(3$KDVKDGVXEVWDQWLYH
         GLVFXVVLRQVZLWK&'3+LQWKHSDVWVHYHUDOPRQWKVUHJDUGLQJWKHLQWHULPUHPHG\DQG
         H[SHFWVWRFRQWLQXHFRRUGLQDWLQJZLWK&'3+WKURXJKWKHUHPHGLDOGHVLJQDQGUHPHG\
         LPSOHPHQWDWLRQSKDVHVRIWKHSURMHFW
  
       7DEOHRIWKH5,GRHVQRWLQFOXGH*6:&GDWDWKDW(3$FROOHFWHGLQ *6:& 
          5HVSRQVH7DEOHRIWKH5,OLVWVWKHPD[LPXP0&/H[FHHGDQFHV&RQFHQWUDWLRQV
          PHDVXUHGLQVDPSOHVWDNHQIURPWKH*6:&ZHOOVZHUHQRWWKHKLJKHVWGHWHFWHGDW28
          DQGWKXVDUHQRWOLVWHGLQWKHWDEOH7KH5,)6VHFWLRQRQSURGXFWLRQZHOOV 6HFWLRQ
          RIWKHILQDO5,)6UHSRUW ZDVXSGDWHGWRLQFOXGHWKHGDWDFROOHFWHGIURP*6:&
          
       ,QWKH3URSRVHG3ODQ(3$GLGQRWDGHTXDWHO\VXPPDUL]HLWVRYHUDOOVWUDWHJ\IRU
          UHPHGLDWLQJWKH6LWH HJIXUWKHUVWXGLHVDQGDGGLWLRQDOUHPHGLDODFWLRQV RUKRZWKH
          LQWHULPUHPHGLDODFWLRQILWVLQWRWKDWRYHUDOOVWUDWHJ\ *6:& 
          5HVSRQVH(3$EHOLHYHVWKH3URSRVHG3ODQSUHVHQWHGDQDGHTXDWHVXPPDU\RILWV
          RYHUDOOVWUDWHJ\DQGKRZWKHLQWHULPUHPHGLDODFWLRQILWVLQWRWKDWVWUDWHJ\7KH3ODQ
          QRWHVWKDWIROORZLQJLPSOHPHQWDWLRQRIWKHVHOHFWHGLQWHULPUHPHG\IRU28(3$ZLOO
          FRQGXFWIXUWKHUVWXGLHVDQGH[SHFWVWRSURSRVHDGGLWLRQDOUHPHGLDODFWLRQVIRUWKH28
          SOXPHDVSDUWRIWKHILQDOFOHDQXSUHPHG\IRUWKH6LWH$VSDUWRIWKRVHVWXGLHV(3$
          ZLOOZRUNZLWKWKH6WDWHWRLGHQWLI\DOOVLJQLILFDQWVRXUFHVZLWKLQWKH28SOXPHDUHD
          WKDWKDYHFRQWULEXWHGWRWKHJURXQGZDWHU$OWKRXJKVRPHRIWKHNQRZQVRXUFHVDUH
          FXUUHQWO\EHLQJDGGUHVVHGE\6WDWHOHGDFWLRQVWKH3ODQQRWHVWKDW(3$H[SHFWVWKDWWKH
          UHPDLQGHURIWKHVRXUFHVLGHQWLILHGZLOOEHDGGUHVVHGE\WKHFRPELQHGHIIRUWVRIWKH
          6WDWHDQG(3$
  
         7KH3ODQDOVRGLVFXVVHVKRZWKHLQWHULPUHPHGLDODFWLRQILWVLQWRWKHRYHUDOOFOHDQXS
         VWUDWHJ\IRUWKH6LWH,WGHVFULEHVWKHRWKHURSHUDEOHXQLWVDWWKH6LWHDQGWKHFOHDQXS
         DQGHQIRUFHPHQWDFWLYLWLHVWKDWKDYHEHHQDQGDUHEHLQJWDNHQWRDGGUHVVHDFK
  




                                                                                                      23


                                                 271                                     Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 281 of 347 Page ID #:315




  7DEOH,92WKHU&RPPHQWV
  
       7KH)6GRHVQRWH[SODLQZK\*6:&LVH[FOXGHGIURPSHULRGLFPHHWLQJVEHWZHHQ(3$
          DQG6WDWHDQGORFDOHQWLWLHV *6:& 
          5HVSRQVH(3$LVDZDUHRIDQGDSSUHFLDWHV*6:&¶VDFWLYHLQWHUHVWLQWKH28FOHDQXS
          DFWLRQVDQGZLOOFRQWLQXHWRLQFOXGH*6:&LQIXWXUHVWDNHKROGHUPHHWLQJVZKHQHYHU
          DSSURSULDWH(3$PHHWVIUHTXHQWO\ZLWKVWDWHUHJXODWRU\DJHQFLHVDQGDNH\WRSLFLV
          RIWHQHQIRUFHPHQWDFWLRQV,WZRXOGEHLQDSSURSULDWHWRLQFOXGH*6:&RUDQ\RWKHU
          QRQJRYHUQPHQWDOHQWLW\LQVXFKGLVFXVVLRQV(3$ILUVWFRQWDFWHG*6:&LQ$SULO
          GXULQJSUHSDUDWLRQRIWKH5,)6KDVPHWZLWK*6:&VHYHUDOWLPHV RQRQRQHDQGDW
          RWKHUZDWHUDJHQF\PHHWLQJV DQGKDVSDUWLFLSDWHGLQWHOHFRQIHUHQFHFDOOVZKHQ
          UHTXHVWHG
  
       &RUUHFWWKHLQIRUPDWLRQLQWKH3URSRVHG3ODQUHJDUGLQJWKH:DWHUPDVWHUDQGQRWHWKDWWKDW
          &HQWUDO%DVLQLVJUDQWHGVWDWXWRU\SRZHUVXQGHUWKH:DWHU&RGH &HQWUDO%DVLQ0XQLFLSDO
          :DWHU'LVWULFW 
          5HVSRQVH(3$DJUHHV7KH3URSRVHG3ODQLGHQWLILHGWKH:DWHU5HSOHQLVKPHQW'LVWULFW
          DVWKH³$FWLQJ:DWHUPDVWHU´7KH'HSDUWPHQWRI:DWHU5HVRXUFHV ':5 LVFRUUHFWO\
          LGHQWLILHGDVWKH:DWHUPDVWHULQWKH52'
          7KH&HQWUDO%DVLQ0XQLFLSDO:DWHU'LVWULFW &%0:' LVPDLQO\UHVSRQVLEOHIRU
          LPSRUWLQJVXSSOHPHQWDOZDWHUWKURXJK0HWURSROLWDQ:DWHU'LVWULFW(3$H[SHFWVWKDW
          WKHUHVSRQVLEOHSDUWLHVLPSOHPHQWLQJWKHUHPHG\ZLOOLQYROYH&%0:'DVDSSURSULDWH
  
       &HQWUDO%DVLQ0XQLFLSDO:DWHU'LVWULFWDVNHGIRUDGGLWLRQDOWLPHWRUHYLHZWKHIHDVLELOLW\
          DQDO\VLVDQGUHTXHVWHGWKDW(3$SURYLGHWKHUHODWHGGRFXPHQWVIRUUHYLHZ:LWKRXW
          &HQWUDO%DVLQ0XQLFLSDO:DWHU'LVWULFW¶VLQSXWWKHDOWHUQDWLYHVPD\QRWEHIHDVLEOH
          &HQWUDO%DVLQ0XQLFLSDO:DWHU'LVWULFWRIIHUVDVVLVWDQFHZLWKWKHGLVWULEXWLRQRIWKH
          WUHDWHGZDWHU &HQWUDO%DVLQ0XQLFLSDO:DWHU'LVWULFW 
          5HVSRQVH(3$UHOHDVHGWKH3URSRVHG3ODQLQ$XJXVWWRWKHSXEOLFDQG
          HQFRXUDJHGVWDNHKROGHUVWRSUHVHQWFRPPHQWV7KH3URSRVHG3ODQSUHVHQWVDSURSRVHG
          UHPHG\VHOHFWHGIURPDPRQJUHPHGLDODOWHUQDWLYHVGHYHORSHGLQWKH5,)6WKH5,)6
          LQFOXGHVWKHIHDVLELOLW\DQDO\VLVDQGZDVDOVRPDGHDYDLODEOHWRWKHSXEOLFLQ$XJXVW
          (3$H[WHQGHGWKHUHYLHZSHULRGDQDGGLWLRQDOWZRPRQWKV WKURXJK1RYHPEHU
           WRSURYLGHDGGLWLRQDOUHYLHZWLPHIRUFRPPHQWVRQWKH3URSRVHG3ODQDQGLWV
          VXSSRUWLQJLQIRUPDWLRQ(3$GLGQRWJUDQW&HQWUDO%DVLQ0XQLFLSDO:DWHU'LVWULFW
          DGGLWLRQDOWLPHEH\RQGWKDWH[WHQGHGFRPPHQWSHULRG
          ,I(3$LVVXFFHVVIXOLQUHDFKLQJDQDJUHHPHQWZLWKWKH353VWRLPSOHPHQWWKHUHPHG\
          LWZLOOEHWKHLUUHVSRQVLELOLW\WRHQWHULQWRDJUHHPHQWV(3$DFNQRZOHGJHVDQG
          DSSUHFLDWHVWKH'LVWULFW¶VRIIHUDQGZLOOFRQWDFWWKH'LVWULFWZKHQWKH5'VWDUWV(3$
          ORRNVIRUZDUGWRZRUNLQJZLWK&%0:'LQKHOSLQJWRIDFLOLWDWHDQDJUHHPHQWEHWZHHQ
          VWDNHKROGHUV



                                                                                                   24


                                                272                                Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 282 of 347 Page ID #:316




                                      19                    72

                                       Pico
                                      Rivera                             Former Omega
                                                                            Property
                                                    605


                                                                              Whittier


                                                                     Operable Unit 2
                                                                       Boundary
                                                          Santa Fe
                                                          Springs

                                           5                                 South
                                  Downey                                     Whittier


                                               42
                          105
                                                          Norwalk




                           Whittier




 Figure 1: OU2 Location




                                               273                       Appendix A
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 283 of 347 Page ID #:317




              19


                            d
                       Blv
                      ns                                                                                            Beverly Blvd
                   so
                                                                              72
                  s
               Pa




                                                                                                                          Greenleaf Ave
                        Pico Rivera




                                                                     e
                                                                   Av
                                                                ay
                                                              dw
                                                           oa
                                                         Br                                                                                  Former
                              605
                                                                 Was
                                                                     hing
                                                                          to
                                                                                                                                          Omega Property
                                                                                    n Blv
                                                                                          d


                                                                                       Sl                                                          Whittier
                                                                                            au




                                                                                                                                            e
                                                                                              so




                                                                                                                                          Av
                                                                                                 n                                                                    W
                                                                                                     Av                                                                 hit




                                                                                                                            er
                                                                                                       e                                                                   tie




                                                                                                                         nt
                                                                                       Rd


                                                                                                                                                                              rB



                                                                                                                          i
                                                                                                                       Pa
                                                                                                                                                                                 lvd
                                                                                       gs
                                                                                   rin
                                                                                  Sp
                                                                             Fe
                                                                              a




              Tel
                                                                           nt




                  e gra
                                                                        Sa




                        ph
                           Rd                                                                    Operable Unit 2
                                                             Santa Fe
                                                                                                   Boundary




                                                                                                                                                                                               d
                                                                                                                                                                                            aR
                                                             Springs




                                                                                                                                                                                        lim
                                                                                                                                                                                       Co
                                                                            Florence
                                                                            Flor
                                                                             loren
                                                                                enc
                                                                                 ncce
                                                                                    e Ave
                                                                                      Avve
                                                                                      A
                                                           Bloomfield Ave
                                       Norwalk Blvd
                                  vd
                             er Blvd




                                                                                                     Carmenita Rd




          5                                                                                                                                     South Whittier
                        Pioneer




      Downey                                                                                                                    Legend
                                                                                                                                     Rd
                                                                                                                     e f f i n gwell OU2 Boundary
                                                                                                                    L
                                                                            Impe
                                                                            Im perial Hwy
                                                                               pe                                               PCE Contamination (2007)
                                                                                                                                                  Valley View Ave




                                                                                                                                                ≥ 5 ug/L
                                                                                                                                                                                        La Mirada Blvd




                                                      Norwalk
                                                                                                                                                ≥ 100 ug/L
 0    2,000        4,000                                                                                                                        ≥ 500 ug/L
                      Feet                     42

Figure 2: OU2 Extent of Tetrachloroethylene (PCE) Groundwater Contamination



                                                                                       274                                                                          Appendix A
   Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 284 of 347 Page ID #:318




                                                                                                                                                                                           W
                                                                                                                                                                                            hi t
                                                                                                                                                                                                ti e
                                                                                                                                                                                                 rB
                                                                                                                                                                                                     lvd
                                                                           Wahs
                                                                                h   ingto                                                                                                                        !
                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                        Former Omega Property
                                                                                            n Blv
                                                                                                 d



                                                                                                                                                                                                                      YX
                                                                                                                                                                                                                       Y
                                                                                                                                                                                                                     !
                                                                                                                                                                                                                     .
                                                                                                                                                                                                                     X
                                                                                                                                                                                                                     Y
                                                                                                                                                                                                                     Y
                                                                                                                                                                                                                     XX
                                                                                                                                                                                                                     Y
                                                                                                                                                                                                                     XY
                                                                                                                                                                                                                      X
                                Slau
                                     s
                                                                                                                                                                           !
                                                                                                                                                                           .               !
                                                                                                                                                                                           .              Y
                                                                                                                                                                                                          X
                                         on A
                                             ve
                                                                                                                                                                           Y!.
                                                                                                                                                                           X         !
                                                                                                                                                                                     .          Y
                                                                                                                                                                                                X
                                                                                                                                      !
                                                                                                                                      .
                                                                                                                                                                   !
                                                                                                                                                                   .




                                                                                                                                                                                                                 d
                                                                                                                                                                                                                 R
                                                                                                                                                                                                             g
                                                                                                                                                                                                      rin
                                                                                                                                                                   !
                                                                                                                                                                   .




                                                                                                                                                                                                 Sp
                                                                                                     !
                                                                                                     .                    !
                                                                                                                          .




                                                                                                                                                                                            Fe
                                Los N ie
                                           tos Rd                                                                                                                  !
                                                                                                                                                                   .             !
                                                                                                                                                                                 .
                          ¦
                          ¨
                          §




                                                                                                                                                                                           ta
                                                                                                                                    !
                                                                                                                                    .




                                                                                                                                                                                            n
                          605




                                                                                                                                                                                         Sa
                                                                                             !
                                                                                             .
                                                                                                         !
                                                                                                         .                                                                  !
                                                                                                                                                                            .
                                                                                                                                                                                                                 M




                                                                                                                                                                                                    ve
                                                                                                                                                                                                                  ul
                                                                                                                                                                                                                    be




                                                                                                                                                                                                fA
                                                                                                                          !
                                                                                                                          .                                            !                                                 rry




                                                                                                                                                                                               a
                                                                                                                                                                       .




                                                                                                                                                                                            le
                                                                                                                                                                                                                               Dr




                                                                                                                                                                                          en
                                                                                                                                                                                          re
                                                                                                                                                                                         G
                                                                               !
                                                                               .                                                               !
                                                                                                                                               .
                                                  !
                                                  .


                                                                               !
                                                                               .

                                     !
                                     .
                                                                                                     !
                                                                                                     .
                                                        !
                                                        .




                                                                                                         Telegraph Rd


                                                                       !
                                                                       .




                                !
                                .             Lakeland Rd
                                                                                                                              Greenstone Ave



                                                                                                                                                   Shoemaker Ave




                                                                                                                                                                                                  Carmenita Rd




                                                                                                                                                                            M
                                                                                                                                                                             ey
                                                                                                                                                                               er
                                                                                                                                                                                    Rd



                      ¦
                      ¨
                      §   5
                                                            Norwalk Blvd




                                                                                                             Train Rail




                                                                     !
                                                                     .

                                                                                                                                                          Imperial Hwy
                                                                                                         !
                                                                                                         .




                                                                                                                                                                                                                                            ±
 Legend
                                                      Former Omega Property
  Y OPOG Monitoring Well
  X
                                                      Approximate Boundary of
  . EPA Monitoring Well
  !                                                   Source Areas/Facilities
                                                                                                                                                                                                                                    0        0.3    0.6
                                                      OU2 Boundary
                                                                                                                                                                                                                                                      Miles

Figure 3: Source Areas and Monitoring Well Locations
                                                  275                                                                                                                                                                               Appendix A
                        Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 285 of 347 Page ID #:319




      Primary                      Primary     Secondary     Secondary                         Receptor
      Sources                      Release      Sources       Release
                                  Mechanism                  Mechanism


    Omega Chemical:
    Drums, tanks,                  Spills       Soil
                                                                               Exposure
                                                                                 p      route             Area Resident
    piping
     i i
                                                                             Ingestion                          x
                                                              Ground-
                                                                             Inhalation                         x
                                                               water
                                                                             Dermal contact                     x
    Other facilities:
    Drums, tanks,                  Spills       Soil
    piping




Figure 4: Conceptual Site Model




                                                             276                               Appendix A
   Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 286 of 347 Page ID #:320




                                      do
                                    on




                                                                 iver
                                  oH




                                                                   R
                                Ri




                                                              riel
                                                                                              Puente Hills




                                                          Gab
                                                         in
                                                      San
                                                      as
                                                           V
                                                           U




                                                     gB
                                                            72
                                in




                                                  din
                              as




                                                rea
                           gB




                                                Sp
                           in
                        ad




                                              l
                                           rie
                     re
                    Sp




                                           b
                                        Ga
                 do




                                          n
               on




                                       Sa
              oH




                                                                                            Former Omega Property
            Ri




  ¦
  ¨
  §5




       V
       U
       19
                                                                             Sorenson Ave. Drain



                                                                        Operable Unit 2




             ¦
             ¨
             §
             105                           V
                                           U
                                           42




                     ¦
                     ¨
                     §
                     605




                                                                                                        ±
 Legend
            Spreading Basin

            River

            Former Omega Property
                                                                                                   0        0.5     1
            Drain                                                                                                       Miles

Figure 5: Surface Streams and Spreading Basins in OU2 Area
                                               277                                             Appendix A
   Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 287 of 347 Page ID #:321




                                                                                                                                                                                                                    W
                                                                                                                                                                                                                    hi t
                                                                                                                                                                                                                       t ie
                                                                                                                                                                                                                        rB
                                                                                                                                                                                                                            lvd
                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                         !
                                                                                             Wah s
                                                                                                   h                                                                                              120               125
                                                                                                       ing to
                                                                                                                n Blv                                                                                                                   !
                                                                                                                                                                                                                                        .
                                                                                                                      d
                                                                                                                                                                                      115                                                                          Former Omega Property
                                                                                                                                                                                                                                   X
                                                                                                                                                                                                                                   Y Y
                                                                                                                                                                                                                                     X      .
                                                                                                                                                                                                                                            !
                                                                                                                                                              110                                                                  Y
                                                                                                                                                                                                                                   XY
                                                                                                                                                                                                                                    X
                                                                                                                                                                                                                                    Y
                                                                                                                                                                                                                                    X
                                                                                                                                                                                                                                 Y
                                                                                                                                                                                                                                 X  Y
                                                                                                                                                                                                                                    X 125
                                       Slau                                                                                                                                                 !
                                                                                                                                                                                            .                    .
                                                                                                                                                                                                                 !
                                              so n
                                                     Av e
                                                                                                                              105                                                           Y!
                                                                                                                                                                                            X.              .
                                                                                                                                                                                                            !          Y
                                                                                                                                                                                                                       X
                                                                                                                                                            .
                                                                                                                                                            !                                                                                 120
                                                                                                                     100                                                          .
                                                                                                                                                                                  !




                                                                                                                                                                                                                                        d
                                                                                                                                                                                                                                        R
                                                                                                                                                                                                                                        g
                                                                                                                                                                                                                              rin
                                                                                                           95             .
                                                                                                                          !                                                           !
                                                                                                                                                                                      .




                                                                                                                                                                                                                        Sp
                                                                                                                                               !
                                                                                                                                               .                                                                     115




                                                                                                                                                                                                                     Fe
                                       Los N
                                            ietos R
                                                                                                90                                                                                    .
                                                                                                                                                                                      !                .
                                                                                                                                                                                                       !




                                                                                                                                                                                                                    a
                                                            d                                                                                             !
                                                                                                                                                          .




                                                                                                                                                                                                                nt
                        ¦
                        ¨
                        §




                                                                                                                                                                                                                Sa
                        605                                                             85
                                                                         80
                                                                                                                 .
                                                                                                                 !
                                                                75                                                            .
                                                                                                                              !                                                             .
                                                                                                                                                                                            !
                                                                                                                                                                                                      110                                M




                                                                                                                                                                                                                           ve
                                                                                                                                                                                                                                             ul
                                                     70                                                                                                                                                                                           be




                                                                                                                                                                                                                        fA
                                                                                                                                               .
                                                                                                                                               !                                                                                                       rry
                                                                                                                                                                                      .
                                                                                                                                                                                      !




                                                                                                                                                                                                                      ea
                                                                                                                                                                                                                                                             Dr




                                                                                                                                                                                                                   enl
                                                                                                                                                                                                                re
                                           65




                                                                                                                                                                                                                G
                                                                                                  .
                                                                                                  !
                                                            .
                                                            !

                                   60                                                                                                                                                       105
                                                                                                  .
                                                                                                  !

                                              .
                                              !
                                  55

                                                                     .
                                                                     !
                                  50                                                                                                                                                         100


                                                                                                                              Telegraph Rd
                                  45

                                                                                   .
                                                                                   !
                                  40
                                                                                                                                                                                                       95
                                                                                                                                                                                                  90
                                  35                                                                                                                                                      80 85
                                                                                                                                                     70 75
                                                                                                                                                60 65
                                                                                                                                              55
                                       .
                                       !                  Lakeland Rd                                                                        50
                                  30
                                                                                                                                           45
                                                                                                                                                     Greenstone Ave



                                                                                                                                                                      Shoemaker Ave




                                                                                                                                                                                                                         Carmenita Rd




                                                                                                                                                                                             M
                                                                                                                                                                                                 ey
                                                                                                                                          40                                                          er
                                                                                                                                                                                                           Rd
                                                                                                                                    35
                                       25
                                                                                                                               30
                                                                         Norwalk Blvd




                                                                                                                                  Train Rail




                              ¦
                              ¨
                              §
                              5
                                                     20
                                                                                                                                  25


                                                                                                                                        20

                                                                                 .
                                                                                 !                                                             15
                                                                                    15
                                                                                                                                                                             Imperial Hwy

                                                                                                10                            .
                                                                                                                              !
                                                                                                                                                10




                                                                                                                                                                                                                                                                         ±
 Legend
                                            Composite PCE
  Y
  X   OPOG Monitoring Well
                                            Plume Extent
  .
  !   EPA Monitoring Well
                                                       500 ug/L (Dashed where approximated)
      Former Omega Property
                                                       100 ug/L (Dashed where approximated)
      Approximate Boundary of                          5 ug/L (Dashed where approximated)
      Source Areas/Facilities
                                                       Water Level Contour Third Quarter 2009                                                                                                                                                                       0    0.25   0.5
                                                                                                                                                                                                                                                                                  Miles

Figure 6: September 2009 PCE Plume
                                                                                                                              278                                                                                                                                 Appendix A
   Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 288 of 347 Page ID #:322




                                                                                                                                                                                                                         W
                                                                                                                                                                                                                         hi t
                                                                                                                                                                                                                             t ie
                                                                                                                                                                                                                              rB
                                                                                                                                                                                                                                  lvd
                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                              !
                                                                                        Wah s
                                                                                              h   ing to                                                                                                        120           125!
                                                                                                                                                                                                                                 .
                                                                                                           n Blv
                                                                                                                 d
                                                                                                                                                                                            115
                                                                                                                                                                                                                                                                         Former Omega Property
                                                                                                                                                                                                                                         X
                                                                                                                                                                                                                                         Y  Y
                                                                                                                                                                                                                                            X     .
                                                                                                                                                                                                                                                  !
                                                                                                                                                                                                                                         Y
                                                                                                                                                                                                                                         XY125
                                                                                                                                                                                                                                          X
                                                                                                                                                                  110                                                                     Y
                                                                                                                                                                                                                                          X
                                                                                                                                                                                                                                          Y
                                                                                                                                                                                                                                          X
                                   Slau
                                            so n                                                                                                                                               !
                                                                                                                                                                                               .                         .
                                                                                                                                                                                                                         !             Y
                                                                                                                                                                                                                                       X
                                                   Av e
                                                                                                                                                                                              Y!.
                                                                                                                                                                                              X                  .
                                                                                                                                                                                                                 !           Y
                                                                                                                                                                                                                             X                    120
                                                                                                                               105                      .
                                                                                                                                                        !
                                                                                                                                                                                    .
                                                                                                                                                                                    !




                                                                                                                                                                                                                                              d
                                                                                                                     100




                                                                                                                                                                                                                                              R
                                                                                                                                                                                                                                              g
                                                                                                                                                                                                                                    rin
                                                                                                                                                                                        !
                                                                                                                                                                                        .                                 115




                                                                                                                                                                                                                              Sp
                                                                                                       95             .
                                                                                                                      !
                                                                                                                                            !
                                                                                                                                            .




                                                                                                                                                                                                                          Fe
                                   Los N
                                        ietos R                                                                                                                                         .
                                                                                                                                                                                        !                   .
                                                                                                                                                                                                            !




                                                                                                                                                                                                                         a
                                                          d                                                                                           !
                                                                                                                                                      .




                                                                                                                                                                                                                     nt
                                                                                            90
                       ¦
                       ¨
                       §




                                                                                                                                                                                                                     Sa
                       605
                                                                                    85
                                                                    80
                                                                                                            .
                                                                                                            !
                                                              75                                                           .
                                                                                                                           !                                                                   . 110
                                                                                                                                                                                               !
                                                                                                                                                                                                                                              M




                                                                                                                                                                                                                                 ve
                                                                                                                                                                                                                                                  ul
                                                                                                                                                                                                                                                       be
                                                    70




                                                                                                                                                                                                                             fA
                                                                                                                                            .
                                                                                                                                            !                                                                                                               rry




                                                                                                                                                                                                                           ea
                                                                                                                                                                                        .
                                                                                                                                                                                        !                                                                         Dr




                                                                                                                                                                                                                        enl
                                                                                                                                                                                                                     re
                                                                                                                                                                                                                     G
                                        65                                                   .
                                                                                             !
                                                          .
                                                          !
                                                                                                                                                                                              105
                                   60                                                        .
                                                                                             !

                                            .
                                            !
                                  55

                                                               .
                                                               !
                                                                                                                                                                                               100
                                  50


                                                                                                                           Telegraph Rd
                                  45

                                                                              .
                                                                              !
                                  40                                                                                                                                                                   95
                                                                                                                                                                                                    90
                                                                                                                                                                                            80 85
                                  35                                                                                                          70 75
                                                                                                                                         60 65
                                                                                                                                       55
                                   .
                                   !                  Lakeland Rd
                                                                                                                                      50
                                  30                                                                                                45
                                                                                                                                                 Greenstone Ave



                                                                                                                                                                        Shoemaker Ave




                                                                                                                                                                                                                               Carmenita Rd




                                                                                                                                                                                                  M
                                                                                                                                   40                                                                 ey
                                                                                                                                                                                                           er
                                                                                                                                                                                                                Rd
                                                                                                                               35
                                       25
                                                                                                                           30
                                                                    Norwalk Blvd




                                                                                                                               Train Rail




                             ¦
                             ¨
                             §5                      20
                                                                                                                           25


                                                                                                                                 20


                                                                            .
                                                                            !                                                        15
                                                                                   15
                                                                                                                                                                               Imperial Hwy
                                                                                            10                             .
                                                                                                                           !                10




                                                                                                                                                                                                                                                                              ±
 Legend
                                            Composite TCE
  Y
  X   OPOG Monitoring Well
                                            Plume Extent
  .
  !   EPA Monitoring Well                            500 ug/L (Dashed where approximated)
      Former Omega Property                          100 ug/L (Dashed where approximated)
      Approximate Boundary                           5 ug/L (Dashed where approximated)
      of Facilities                                  Water Level Contour Third Quarter 2009                                                                                                                                                                               0   0.25   0.5
                                                                                                                                                                                                                                                                                       Miles

Figure 7: September 2009 TCE Plume
                                                                                                                          279                                                                                                                                          Appendix A
                                                                                           e
  Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 289 of 347 Page ID #:323




                                                                                         Av
                                                                                      ay




                                                                                                                                                                               Wh
                                                                                    dw




                                                                                                                                                                                            Greenleaf Ave
                                                                                  oa




                                                                                                                                                                                 ittie
                                                                                  Br




                                                                                                                                                                                   rB
                                                                                       Former Omega Property




                                                                                                                                                                                      lvd
                                     605                                                                           Wash
                                                                                                                        in       gton
                                                                                                                                          Blvd



                                                                                   Slauson Ave
                                                       SFS #1




                                                                                                                  ug/L
                                                                                                                ug/L
                                                                                                              500
                                                                                                            100




                                                                                                                                 /L
                                                                                                                               ug
                                                                                                                                0
                        Northern Extraction Area




                                                                                                                             50
                                                                                                                         !
                                                                                                                             !




                                                                                                                                            Rd
                                                                                                                                          gs
                                                                                                       /L
                                                                                                  ug




                                                                                                                                                                                        e
                                                                                                                                      rin
                                                                                              0




                                                                                                                                                                                      Av
                                                                                           50
                       Central




                                                                                                                                    Sp




                                                                                                                                                                                  er
                       Extraction Area




                                                                                                                              Fe




                                                                                                                                                                                nti
                                                                                                                                                                               Pa
                                                                                                                             a
                                                                                   !




                                                                                                                          nt
                                                                                                                         Sa
                                                                                       !

                          Tel
                                                                                             /L




                              e
                                                                             /L




                                                                                           ug




                                     gra
                                                                      100 ug




                                                                                        5




                                         phR
                                                  d                                                                      Groundwater Treatment
                                                                                                                         Plant (GWTP)



                           Waste Brine                                                                                       Connection to an Existing
                           Pipeline                                                                                          Drinking   Water System
                      Pioneer Blvd




                                                                                                                             Florence Ave

                                                                                                                                      Legend
                                                       Norwalk Blvd




                                                                                                  Bloomfield Ave




                                                                                                                                                                Carmenita Rd

                                                                                                                                               Proposed Pipeline
                                                                                                                                               Location
                                                 g/L




                                                                                                                                               Proposed Extraction
                                                  5u




                                                                                                                                       !
   Pioneer #1, 2, 3                                                                                                                            Well Location
                                                                                                                                               Active Production Well
                                                                                                                                               OU2 Boundary
                                                                                                                                                                                                            Leffin
                                                                                                                                      PCE Contamination (2009)
                Leading Edge
                                                                                                                                               ≥ 5 ug/L
                Extraction Area                                                                                    Imperial Hwy
                                                                                                                                               ≥ 100 ug/L
                                                                                   !       !                   !
                                             5                                                                                                 ≥ 500 ug/L
                                                                                                                                      0        1000   2000
                                                                                                                                                         Feet
                                                                                  Dace #1

Figure 8: Schematic of Selected Remedy
                                                                                       280                                                              Appendix A
                                                                   Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 290 of 347 Page ID #:324



Figure 9: Process Flow Diagram of Selected Remedy (Sheet 1 of 2)




                                                                                                            281                             Appendix A
                                                                   Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 291 of 347 Page ID #:325



Figure 9: Process Flow Diagram of Selected Remedy (Sheet 2 of 2)




                                                                                                            282                              Appendix A
 Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 292 of 347 Page ID #:326




1                                  Appendix B
2                               Statement of Work
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                       283
                                 CONSENT DECREE
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 293 of 347 Page ID #:327




                     REMEDIAL DESIGN/REMEDIAL ACTION

                              STATEMENT OF WORK

                                OPERABLE UNIT 02

                     Omega Chemical Corporation Superfund Site

                        Los Angeles County, State of California

                                    EPA Region 9




                                  December 8, 2015




                                                                  Appendix B
                                         284
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 294 of 347 Page ID #:328




                                               TABLE OF CONTENTS


  1.    INTRODUCTION ...............................................................................................................1
  2.    COMMUNITY INVOLVEMENT ......................................................................................4
  3.    REMEDIAL DESIGN .........................................................................................................5
  4.    REMEDIAL ACTION .......................................................................................................12
  5.    LEADING EDGE INVESTIGATION ..............................................................................16
  6.    REPORTING .....................................................................................................................17
  7.    DELIVERABLES ..............................................................................................................19
  8.    SCHEDULES ....................................................................................................................28
  9.    DTSC PARTICIPATION ..................................................................................................31
  10.   REFERENCES ..................................................................................................................31




                                                                  ii


                                                                285                                             Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 295 of 347 Page ID #:329




                                  1.      INTRODUCTION

  1.1   Purpose of the SOW. This Statement of Work (SOW) sets forth the procedures and
        requirements for implementing the Work, as defined in the Consent Decree (CD) relating
        to the Omega Chemical Corporation Superfund Site (Site), Operable Unit 2 (OU2)
        between the United States, the California Department of Toxic Substances Control
        (DTSC) and several potentially responsible parties, including members of the Omega
        Chemical Site PRP Organized Group (OPOG), McKesson Corporation (McKesson), and
        others, as may be added from time to time, identified as Settling Defendants in such CD.
        Parties performing work pursuant to the CD and this SOW are referred to hereinafter as
        “Settling Work Defendants” or "SWDs." The SWDs are identified in the CD.

  1.2   Structure of the SOW. Section 2 (Community Involvement) sets forth EPA’s and
        SWDs’ responsibilities for community involvement. Section 3 (Remedial Design) sets
        forth the process for developing the Remedial Design (RD), which includes the
        submission of specified primary deliverables. Section 4 (Remedial Action) sets forth
        requirements regarding the completion and operation and maintenance of the Remedial
        Action (RA), including primary deliverables related to completion of the RA. Section 5
        (Leading Edge Investigation) sets forth SWDs’ obligations regarding additional data
        collection and analysis in the Leading Edge (LE) Area. Section 6 (Reporting) sets forth
        SWDs’ reporting obligations. Section 7 (Deliverables) describes the content of the
        supporting deliverables and the general requirements regarding SWDs’ submission of,
        and EPA’s review of, approval of, comment on, and/or modification of, the deliverables.
        Section 8 (Schedules) sets forth the schedule for submitting the primary deliverables,
        specifies the supporting deliverables that must accompany each primary deliverable, and
        sets forth the schedule of milestones regarding the completion of the RD, RA, O&M, and
        LE Investigation (LEI). Section 9 (State Participation) addresses DTSC participation, and
        Section 10 (References) provides a list of references, including URLs.

  1.3   Scope of the Remedy. The Scope of the Remedy for the purpose of this SOW and the
        CD includes the design, construction, and operation of one or more groundwater
        extraction and treatment systems to satisfy and maintain Performance Standards (defined
        in subparagraph (c) below) identified in the OU2 Interim Action Record of Decision,
        dated September 20, 2011 (ROD), applicable to the Northern Extraction (NE) Area,
        Central Extraction (CE) Area, and the northern portion of the LE Area as depicted in the
        ROD. (These areas are referenced in this SOW as the NE/CE Area.) The term Work
        Area is defined in the CD as the portions of OU2 that are the subject of Work under the
        CD and this SOW. The Scope of the Remedy is described further in the following
        paragraphs.
        (a)    The NE/CE Area is a portion of the area of the groundwater contamination
               defined by EPA as OU2 in its 2011 ROD. OU2 includes contaminated
               groundwater generally downgradient of OU1, commingled with chemicals
               released from properties near or within the OU2 boundary. The NE/CE Area is
               bounded by the OU2 boundary depicted in the ROD. Chemicals of concern
               (COCs) include but are not limited to tetrachloroethylene (PCE), trichloroethylene
               (TCE), 1,4-dioxane, and hexavalent chromium. OU1 includes the former Omega



                                               286                                Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 296 of 347 Page ID #:330




              Chemical facility and immediate vicinity. As reflected in the ROD, the area of
              contamination addressed by OU2 is more than 4 miles long and 1 mile wide. A
              Site map showing general locations of key SOW components (and locations
              depicted in ROD) is included as Appendix C to the CD.

        (b)   The ROD contemplates remedial extraction near the leading edge of the LE Area.
              That work is beyond the Scope of the Remedy described in this SOW and the CD
              as shown in Appendix C to the CD. Instead, the SOW and CD require specific
              additional investigation work in portions of the LE Area downgradient of the
              planned CE Area. EPA intends to use the results of the LEI, and other
              information (including information on the nature, extent, and movement of
              contamination in the LE Area and the status of the Golden State Water Company
              Pioneer Water Supply Wells), to determine whether to implement the remedy for
              the LE Area described in the ROD or propose a change in the remedy.

        (c)   The Performance Standards for the NE/CE Area are as follows:

              (1)    The RA shall provide sufficient hydraulic control laterally and vertically
                     in the NE/CE Area to prevent spreading of the plume and the movement
                     of groundwater contaminated with COCs exceeding EPA or State
                     Maximum Contaminant Levels, or Notification Levels established by the
                     California State Water Resources Control Board Division of Drinking
                     Water, into less contaminated zones at OU2.

              (2)    Extracted water will meet permit requirements if permits are obtained and
                     any ARARs or "To Be Considered" criteria that are appropriate for the
                     selected water end use.

              Additional performance standards shall also be developed during RD. They shall
              address: i) the level of hydraulic control to be achieved by the extraction of
              contaminated groundwater in the NE Area; ii) requirements related to air
              emissions, if any; and iii) other requirements specific to the end use of the treated
              groundwater.

        (d)   Compliance with the Performance Standards shall be verified by demonstrating
              lateral and vertical hydraulic control of the plume as described in ¶ 1.3(e).
              Although not a criterion for the Certification of RA Completion under ¶ 4.6, after
              the remedy has operated for a period of time, expected to last several years,
              compliance shall be determined by demonstrating continued hydraulic control and
              a decrease in COC concentrations in compliance wells over the long term
              recognizing that data must be interpreted to factor in potential and uncontrolled
              sources. The locations of the compliance wells shall be in accordance with
              ¶ 7.7(g) of this SOW (“Compliance Monitoring Plan”).

        (e)   To demonstrate hydraulic control, there must be evidence that the hydraulic
              capture zone created by the remedy encompasses the target zones of remediation
              in the NE/CE Area. The targeted zones will be within the OU2 boundary as


                                                2
                                                    287                         Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 297 of 347 Page ID #:331




              depicted in the ROD (and Appendix C to the CD) and will be more specifically
              identified during RD. The objectives are to: i) hydraulically contain COCs
              exceeding MCLs or notification levels within the NE/CE Area; and ii) intercept a
              significant amount of the higher concentration COC mass in the NE Area moving
              past Slauson Avenue, with a pumping rate no less than 300 gpm unless EPA
              approves a lower rate. Capture shall be estimated by particle tracking or other
              techniques acceptable to EPA, based on interpreted measured groundwater levels
              and a newly constructed groundwater flow model capable of particle tracking
              simulations or a similar approach. Hydraulic control shall be achieved as soon as
              possible after startup of the remedy and be maintained thereafter.

        (f)   Final groundwater extraction locations will be selected during remedial design.
              Extraction in the CE Area will be in the vicinity of Telegraph Road; extraction in
              the NE Area will be in the vicinity of Sorensen Ave.

        (g)   The current best estimate of the required pumping rate for the NE/CE Area is
              1,100 gallons per minute (total). The design capacity of the extraction and
              treatment system will be the required pumping rate plus a safety factor. The
              required pumping rate and design capacity of the extraction and treatment
              system(s) may be modified during RD, if approved by EPA, after the completion
              of pre-design investigation work. The revised pumping rate may be greater or
              less than the best estimate cited above.

        (h)   The safety factor described above may be as low as 20% if the pre-design
              investigation work is satisfactorily completed to better estimate hydraulic
              conductivity in the NE/CE Area capture zone and refine the areas and depths
              targeted for hydraulic capture.

        (i)   Extraction wells in the NE/CE Area will perform in conjunction with one another
              to meet Performance Standards and variability in extraction rates between the two
              sets of extraction wells may be necessary to achieve capture in the target zones.
              Operating parameters will be optimized through the design and system startup and
              shakedown activities.

        (j)   In addition to groundwater extraction and treatment, the remedy requires the
              construction of water conveyance systems to transport extracted groundwater
              from the groundwater extraction wells to the water treatment plant(s) and from the
              treatment plant(s) to the end use location(s) of the treated water; installation of
              new groundwater monitoring wells and piezometers; monitoring of new and
              existing groundwater monitoring wells and piezometers; and the implementation
              of institutional controls (ICs) as defined in ¶ 7.7(h).

        (k)   Reinjection (shallow and/or deep), basin recharge, and reclamation will be
              evaluated during RD as potential end uses of the treated groundwater unless the
              parties mutually agree that it is no longer appropriate to evaluate one of the
              contemplated end uses after considering the cost-effectiveness and
              implementability of the end use. Drinking water may also be evaluated as a


                                               3
                                                   288                         Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 298 of 347 Page ID #:332




               potential end use, at the SWDs' discretion. As discussed in Section I.L of the
               Consent Decree, EPA has begun preparing an Explanation of Significant
               Differences to clarify that use of treated water for injection, recharge at existing
               spreading basins, reclamation, or a combination of these end uses are potential
               end uses for this interim remedy.

  1.4   This remedial action is considered “interim”; EPA is not setting final “in situ” cleanup
        goals for the groundwater in the NE/CE Area at this time and neither this remedy nor the
        SOW require source control actions at contaminated sites or facilities within or adjacent
        to OU2 that are overseen by the Regional Water Quality Control Board or the
        Department of Toxic Substances Control. Nevertheless, the remedy is expected to begin
        the process of restoring contaminated groundwater in the NE/CE Area by removing
        contaminant mass from the groundwater.

  1.5   The terms used in this SOW that are defined in the Comprehensive Environmental
        Response, Compensation and Liability Act (CERCLA), 42 U.S.C. § 9601, et seq., in
        regulations promulgated under CERCLA, or in the CD to which this SOW is an
        attachment, have the meanings assigned to them in CERCLA, in such regulations, or in
        the CD, except that the term “Paragraph” or “¶” means a paragraph of the SOW, and the
        term “Section” means a section of the SOW, unless otherwise stated.

                          2.       COMMUNITY INVOLVEMENT

  2.1   Community Involvement Responsibilities

        (a)    EPA has the lead responsibility for developing and implementing community
               involvement activities associated with Work required by this SOW. Previously,
               during the RI/FS phase of OU2, EPA developed a Community Involvement Plan
               (CIP) for the Site. Pursuant to 40 C.F.R. § 300.435(c), EPA expects to review the
               existing CIP and determine whether it should be revised to describe further public
               involvement activities during the Work that are not already addressed or provided
               for in the existing CIP.

        (b)    If requested by EPA, SWDs shall support EPA’s community involvement
               activities. This may include providing online access to initial submissions and
               updates of deliverables to Community Advisory Groups (CAGs) (if formed) and
               Technical Assistance Grant (TAG) recipients and their advisors (if a TAG is
               issued) and other entities to provide them with a reasonable opportunity for
               review and comment. EPA may describe in its CIP SWDs’ responsibilities for
               community involvement activities. All community involvement activities
               conducted by SWDs at EPA’s request are subject to EPA’s oversight.

        (c)    SWDs’ CI Coordinator. If requested by EPA after CD entry, SWDs shall, within
               15 days, designate and notify EPA of SWDs’ Community Involvement
               Coordinator (SWDs’ CI Coordinator). SWDs may hire a contractor for this
               purpose. SWDs’ notice must include the name, title, and qualifications of the
               SWDs’ CI Coordinator. If designated, SWDs’ CI Coordinator must have


                                                 4
                                                     289                             Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 299 of 347 Page ID #:333




              appropriate qualifications and experience and is responsible for providing support
              regarding EPA’s community involvement activities, including coordinating with
              EPA’s CI Coordinator regarding responses to the public’s inquiries about Work
              required by this SOW.

                               3.       REMEDIAL DESIGN

  3.1   RD Work Plan. SWDs shall submit a Remedial Design Work Plan for the NE/CE Area
        (RD Work Plan) for EPA approval. The RD Work Plan must include:

        (a)   A brief description of the Site and Work Area within OU2, including the sources,
              nature, and extent of groundwater contamination; a description of the remedy; and
              geographic, hydrogeologic, cultural, and/or natural resource features relevant to
              the RD;

        (b)   Plans for implementing all RD activities identified in this SOW, in the RD Work
              Plan, or required by EPA to be conducted to develop the RD;

        (c)   A description of the overall management strategy for performing the RD;

        (d)   A description of the proposed general approach to contracting, construction,
              operation, maintenance, and monitoring of the RA as necessary to implement the
              Work, including a preliminary discussion of whether design and construction will
              be implemented utilizing a design/bid/build or design/build process (and design
              and construction submittals and approvals associated with each approach);

        (e)   A description of the responsibility and authority of all organizations and key
              personnel, including contractors, involved with the development of the RD;

        (f)   A description of any concerns about the quantity, quality, completeness, or
              usability of water quality or other data upon which the design will be based;

        (g)   Description of the planned pre-design investigation;

        (h)   Description of planned development and use of a groundwater model;

        (i)   Description of planned Work Area groundwater monitoring;

        (j)   Descriptions of the roles and responsibilities of water agencies, cities, or other
              third parties required for implementation of the remedy. Possible third-party roles
              include groundwater extraction well and treatment plant operation and acceptance
              of treated groundwater;

        (k)   Description of the technologies being considered for treatment of groundwater or
              other media, documentation that the technologies under consideration are capable
              of satisfying Performance Standards (defined in ¶ 1.3(c)), and a description of the
              need, if any, for pilot-scale or demonstration-scale treatability studies. Treatment
              may be required for disinfection, corrosion control, or other purposes, in addition


                                               5
                                                   290                          Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 300 of 347 Page ID #:334




              to removal of COCs, depending upon water end use. If a treatability study is
              required, the RD Work Plan (or a separate Treatability Study Work Plan) shall
              include a description of the technology to be tested, test objectives and
              procedures, planned measurements, data management and analysis procedures,
              health and safety requirements, residual waste management handling and
              disposal, and a schedule for completion of testing and preparation of a report that
              evaluates the performance and implementability of the technology;

        (l)   A description of the expected use(s), recipient(s), and delivery locations of the
              treated water;

        (m)   A description of the planned operation of the remedy including plans, if any, to
              operate the remedy at a seasonally-variable or non-constant rate;

        (n)   A preliminary description of the targeted zone of contamination, including a
              summary of geologic, water quality, or other data to be collected as part of the
              pre-design investigation to refine the targeted zone;

        (o)   Required effluent (treated water) quality for all COCs and other compounds
              requiring treatment;

        (p)   To the extent known when the RD Work Plan is submitted, plans for siting
              extraction wells, groundwater monitoring wells, treatment facilities, pipelines, and
              other components of the remedy;

        (q)   Descriptions of the planned use, condition, expected life, and the potential for
              increased maintenance or reduced lifespan (compared to new facilities) of any
              existing facilities (e.g., groundwater extraction wells, water treatment systems,
              water conveyance systems);

        (r)   Descriptions of permitting and other regulatory requirements, and plans for
              compliance with substantive requirements for portions of the Work for which
              permits are not obtained;

        (s)   Description of plans for obtaining access in connection with the Work, such as
              property acquisition, property leases, and/or easements;

        (t)   Description of plans for complying with restrictions on groundwater extraction
              and other relevant requirements included in the judgment "Central and West
              Basin Water Replenishment District, etc., vs. Charles E. Adams, et al.,” Los
              Angeles Superior Court Case No. 786656;

        (u)   All supporting deliverables required to accompany the RD Work Plan as specified
              in the RD Schedule set forth in ¶ 1.1 (RD Schedule). These include a Work Area
              Monitoring Plan (WAMP) and Pre-Design Investigation Work Plan (PDIWP)
              (which include a Health and Safety Plan (HASP), Field Sampling Plan (FSP) and
              Quality Assurance Project Plan (QAPP)); and



                                                6

                                                    291                          Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 301 of 347 Page ID #:335




        (v)    Provisions for complying with reporting requirements in this SOW, including
               periodic reporting and submittal of analytical data.

  3.2   SWDs shall meet with EPA to discuss NE/CE Area design issues as necessary, as
        directed or determined by EPA.

  3.3   Pre-Design Investigation. The purpose of the NE/CE Area Pre-Design Investigation
        (PDI) is to address data gaps by conducting additional field investigations.

        (a)    PDI Work Plan. SWDs shall submit a PDI Work Plan (PDIWP) for EPA
               approval. The PDIWP must include:

               (1)    An evaluation and summary of existing data relevant to items (i) – (iii)
                      below, and description of sampling and analysis activities needed to:

                      (i)     Define the areas and depths targeted for hydraulic control in the
                              NE and CE Areas;

                      (ii)    Estimate hydraulic conductivity in the NE/CE Area capture zone;

                      (iii)   Select groundwater extraction rates and locations for design of the
                              remedy; and

                      (iv)    Address any concerns about the quantity, quality, completeness, or
                              usability of water quality or other data upon which the design will
                              be based;

               (2)    Plans for the installation of groundwater monitoring wells, the
                      measurement of water levels from new and existing wells, the collection
                      and periodic analysis of samples from new and existing groundwater
                      wells, and aquifer testing in the NE/CE Area capture zone;

               (3)    Preparation and submittal of a FSP and QAPP, or references or
                      addendums to approved plans; and

               (4)    Provisions for the preparation of a PDI Evaluation Report.

        (b)    Following the PDI, SWDs shall submit a PDI Evaluation Report for EPA
               approval. This report must include:

               (1)    A summary of the investigations performed;

               (2)    A summary of investigation results, including a summary of validated data
                      (i.e., tables and graphics), the results of data analyses, and a narrative
                      interpretation of data and results;

               (3)    Data validation reports and laboratory data reports; and

               (4)    Conclusions and recommendations relevant to the RD.

                                                7

                                                    292                          Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 302 of 347 Page ID #:336




        (c)    EPA may require SWDs to supplement the PDI Evaluation Report and/or to
               perform additional pre-design studies in the NE/CE Area.

  3.4   Groundwater Flow Modeling. The purpose of Groundwater Flow Modeling is to
        provide information to support the design of the NE/CE Area remedy and to aid in
        evaluating the performance of the remedy.

        (a)    Groundwater Flow Modeling Work Plan. SWDs shall submit a Groundwater
               Flow Modeling Work Plan for EPA approval. The Plan must provide for:

               (1)    The development, calibration, and use of a numeric groundwater flow
                      model to support the selection of the following aspects of the remedy:
                      minimum groundwater extraction rates; extraction well and treatment
                      system flow capacities; and groundwater extraction, monitoring, and
                      compliance well locations. The model shall be calibrated over an
                      appropriate range of hydrogeologic conditions and have the capability to
                      simulate transient conditions in three dimensions and conduct particle
                      tracking simulations to evaluate hydraulic control. The modeling effort
                      should consider the procedures outlined in EPA’s guidance document “A
                      Systematic Approach for Evaluation of Capture Zones at Pump and Treat
                      Systems, EPA/600/R-08/003, January 2008.”

               (2)    Submittals documenting the development and calibration of the model and
                      presenting the results of predictive simulations.

        (b)    Groundwater Flow Modeling Report. As required by the approved
               Groundwater Flow Modeling Work Plan, SWDs shall submit a Groundwater
               Flow Modeling Development and Calibration Report, and a Groundwater Flow
               Model Predictive Report presenting results of predictive simulations for EPA
               approval.

  3.5   Work Area Monitoring Plan. The purpose of the Work Area Monitoring Plan
        (WAMP) is to provide current information on the extent and movement of contaminated
        groundwater to support the remedial design, and baseline information to be used in future
        evaluations of NE/CE Area remedy performance.

        (a)    SWDs shall submit a WAMP for EPA approval. The WAMP must include:

               (1)    Provisions for monitoring groundwater elevations and groundwater quality
                      annually until the NE/CE Area Remedial Action is operational. For the
                      purpose of this provision, “operational” means that construction and
                      startup activities have been completed;

               (2)    Provisions for more frequent monitoring of groundwater elevations if
                      needed to support development and calibration of a NE/CE Area
                      groundwater flow model;




                                                8
                                                     293                         Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 303 of 347 Page ID #:337




               (3)    Monitoring of wells and piezometers installed by EPA or SWDs as part of
                      OU2 Work and of the "Koontz" and "Hawkins" monitoring wells installed
                      by the Water Replenishment District of Southern California in 2014;

               (4)    Preparation and submittal of a FSP and QAPP, or references or
                      addendums to approved plans; and

               (5)    Provisions for preparation and submittal of a report summarizing each
                      annual sampling event. The scope and contents of each report/deliverable
                      shall be detailed in the appropriate Sampling and Analysis Plans.

        (b)    Samples may be collected and analyzed by SWDs or other qualified parties if
               requirements in the WAMP and associated FSP and QAPP are satisfied.

        (c)    EPA will consider recommendations to substitute non-EPA wells for certain
               existing EPA wells.

        (d)    This paragraph does not require SWDs to perform monitoring of wells installed as
               part of investigations directed or overseen by the Regional Water Quality Control
               Board or the Department of Toxic Substances Control.

        (e)    Following each annual sampling event, SWDs shall submit a Work Area
               Monitoring Report for EPA approval. This report must include:

               (1)    A summary of the monitoring performed;

               (2)    A summary of monitoring results, including a narrative interpretation of
                      data and results, a tabular summary of validated results, time-series
                      graphs, and maps depicting interpreted water levels and the interpreted
                      extent of contamination. The reports shall also incorporate any relevant
                      extant groundwater data that are being collected by SWDs for non-OU2
                      work, as well as other publicly or readily available groundwater data
                      generated by third parties for wells that are in or near the OU2 area. EPA
                      will assist SWDs in obtaining third party data, if needed.

               (3)    Data validation reports and laboratory data reports.

        (f)    As required by ¶ 7.7(g) of this SOW SWDs will prepare and implement a NE/CE
               Area Compliance Monitoring Plan. That Plan must discuss appropriate
               monitoring scope and frequency necessary to allow the ongoing performance
               assessment of the NE/CE Area remedy. Once EPA approves this plan, SWDs
               will submit NE/CE Area Monitoring Reports in accordance with the Plan.

  3.6   Treatability Study. If required by the approved RD Work Plan, SWDs shall submit a
        Treatability Study Work Plan (TSWP) for EPA approval, perform a Treatability Study
        (TS) in accordance with the approved TSWP, and submit a TS Evaluation Report for
        EPA approval. If required, the TSWP shall be prepared in accordance with EPA’s Guide


                                                9
                                                    294                            Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 304 of 347 Page ID #:338




        for Conducting Treatability Studies under CERCLA, Final (Oct. 1992), as supplemented
        for RD by the Remedial Design/Remedial Action Handbook, EPA 540/R-95/059 (June
        1995).

  3.7   Preliminary (30%) RD. SWDs shall submit a Preliminary (30%) RD for EPA’s
        comment and approval. The Preliminary RD must present and justify the concepts,
        preliminary assumptions, design criteria, Performance Standards (as defined in ¶ 1.3(c)),
        other requirements, and preliminary interpretations and calculations used in the design,
        including (but not limited to) the following:

        (a)    Any updates to information provided in the RD Work Plan;

        (b)    Projected treatment plant influent quality over the design life of the water
               treatment systems, with a description of the methodology used to develop the
               estimate;

        (c)    A description of the expected waste streams, including approximate rates or
               volumes to be generated (e.g., spent carbon, spent resin, backwash water);

        (d)    A general description of the planned system control strategy and level of operator
               oversight;

        (e)    Preliminary drawings and specifications;

        (f)    A description of how the RA will be implemented in a manner to minimize
               energy use, water use, and waste generation, and otherwise minimize the
               environmental footprint of the RA without delaying or compromising its
               effectiveness, in accordance with EPA’s Principles for Greener Cleanups (Aug.
               2009);

        (g)    A description of monitoring and control measures to protect human health and the
               environment, such as air monitoring and dust suppression, during the RA;

        (h)    The planned contracting strategy. Specifically, SWDs shall indicate in the
               Preliminary RD if they are interested in pursuing a conventional design/bid/build
               strategy or the design/build approach to design and construction. The
               conventional design/bid/build approach is one in which the design is taken to the
               100 percent completion level to allow contractor bidding of the construction
               work. The design/build approach is one in which the design is developed to about
               the 60 percent completion level followed by subsequent field engineering during
               construction. If SWDs propose the design/build approach, the Preliminary RD
               will include a list of the components to be included in the Intermediate Design for
               EPA’s review. EPA will make a final decision on whether to approve the SWD
               proposed design/bid/build or design/build strategy at the time it approves the
               Preliminary Remedial Design;

        (i)    Any proposed revisions to the RA Schedule that is set forth in ¶ 1.1 (RA and
               O&M Schedule); and


                                                10
                                                  295                              Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 305 of 347 Page ID #:339




        Any supporting deliverables required to accompany the Preliminary RD as specified in
        the RD Schedule and updates, if needed, to the supporting deliverables required to
        accompany the RD Work Plan.

  3.8   Intermediate (60%) RD: If SWDs propose and EPA approves a design/build approach
        at the end of the Preliminary RD, SWDs shall conduct the Intermediate Design activities
        in accordance with the RD Work Plan and Preliminary RD. The Intermediate Design
        begins with the completion of the Preliminary Design and ends with the completion of
        approximately 60 percent of the design effort. Supporting deliverables that would, in a
        design/bid/construct approach, be submitted as part of the Pre-final RD would be
        submitted with the Intermediate Design. They include an Operation and Maintenance
        (O&M) Plan, Compliance Monitoring Plan (CMP), Construction Quality Assurance
        (CQA) Plan, Emergency Response Plan (ERP), and an Institutional Controls
        Implementation and Assurance Plan (ICIAP). SWDs shall also update, if needed, the
        supporting deliverables required to accompany the RD Work Plan or Preliminary RD.
        The submittal shall also include a memorandum indicating how comments on the
        Preliminary RD were incorporated into the Intermediate RD. After EPA approves the
        Intermediate (60%) RD, if required, SWDs will provide detailed reports on the status of
        design activities in the progress reports required by ¶ 6.1 of the SOW. All significant
        changes to the design and significant design decisions will be highlighted and require
        EPA review and approval prior to implementation. SWDs will submit to EPA inspection
        reports, interim as-built drawings, and other information as it becomes available to ensure
        that EPA is aware of all significant design changes and decisions. SWDs will provide
        additional design information and arrange progress meetings with EPA and/or its
        construction oversight contractor as requested by EPA.

  3.9   Pre-final (95%) RD. SWDs shall submit the Pre-final (95%) RD for EPA’s comment if
        a conventional design/bid/build strategy is used. The Pre-final RD must be a continuation
        and expansion of the previous design submittal and address EPA’s comments regarding
        the Preliminary RD. The Pre-final RD will serve as the approved Final (100%) RD if
        EPA approves the Pre-final RD without comments.

        Alternatively, if a design/build contracting strategy is used, a revised 60% submittal will
        be submitted which fully addresses EPA comments on the Preliminary and Intermediate
        Design submittals in lieu of the requirements in this paragraph.

        The Pre-final RD, if required, must include:

        (a)    A complete set of construction drawings and specifications that: (1) are certified
               by a professional engineer registered in the State of California; (2) are suitable for
               procurement; and (3) follow the Construction Specifications Institute’s
               MasterFormat 2012;

        (b)    Survey and engineering drawings showing existing features within the Work
               Area, such as elements, property borders, easements, and subsurface utilities;




                                                 11
                                                   296                           Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 306 of 347 Page ID #:340




         (c)    Pre-final versions of the same elements and deliverables as are required for the
                Preliminary RD;

         (d)    A memorandum indicating how comments on the Preliminary RD were
                incorporated into the Pre-final RD;

         (e)    A capital and O&M cost estimate;

         (f)    A specification for photographic documentation of the RA; and

         (g)    Supporting deliverables as specified in the RD Schedule (Operation and
                Maintenance (O&M) Plan; Compliance Monitoring Plan (CMP), a Construction
                Quality Assurance (CQA) Plan, Emergency Response Plan (ERP), and an
                Institutional Controls Implementation and Assurance Plan (ICIAP)). SWDs shall
                also update, if needed, the supporting deliverables required to accompany the RD
                Work Plan or Preliminary RD.

  3.10   Final (100%) RD. If a Pre-final RD submittal is required, unless EPA approves the Pre-
         final RD without comments, SWDs shall submit the Final (100%) RD for EPA approval.
         If submitted, the Final RD must address EPA’s comments on the Pre-final RD and
         include final versions of all pre-final RD deliverables and a memorandum indicating how
         EPA comments on the Pre-final RD were addressed in the Final RD.

                                 4.      REMEDIAL ACTION

  4.1    RA Work Plan. SWDs shall submit a RA Work Plan for the NE/CE Area (RA Work
         Plan) for EPA approval that describes or includes:

         (a)    Updates to the roles and responsibilities of key organizations and personnel,
                schedule, contracting strategy, and planned submittals to EPA during RA;

         (b)    Any outstanding issues regarding access, permitting, water rights, third-party
                agreements, or substantive requirements for activities within the Work Area;

         (c)    An updated health and safety plan that covers activities during the RA; and

         (d)    O&M and compliance monitoring provisions required by ¶7.7 (f) or ¶7.7(g)
                relevant to startup of the remedy.

         Changes to the RA as set forth in the RA Work Plan and approved RD shall not be
         undertaken without the prior approval of EPA.

  4.2    Independent Quality Assurance Team.

         [Not Used.]




                                                12
                                                     297                             Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 307 of 347 Page ID #:341




  4.3   Meetings and Inspections

        (a)   Preconstruction Conference. SWDs shall hold a preconstruction conference
              with EPA and others as directed or approved by EPA and as described in the
              Remedial Design/Remedial Action Handbook, EPA 540/R-95/059 (June 1995).
              SWDs shall prepare minutes of the conference and shall distribute the minutes to
              EPA and the DTSC.

        (b)   Inspections

              (1)    EPA or its representative expect to conduct periodic inspections of, or
                     have an on-site presence during, the Work. At EPA’s request, the
                     Supervising Contractor or other designee shall accompany EPA or its
                     representative during inspections.

              (2)    Upon notification by EPA of any deficiencies in the RA Construction,
                     SWDs shall take all necessary steps to correct the deficiencies and/or
                     bring the RA Construction into compliance with the approved RD, any
                     approved design changes, and/or the approved RA Work Plan. If
                     applicable, SWDs shall comply with any reasonable schedule provided by
                     EPA in its notice of deficiency.

  4.4   Emergency Response and Reporting

        (a)   Emergency Response and Reporting. If any event occurs during performance of
              the Work that causes or threatens to cause a release of Waste Material (as defined
              in the CD) on, at, or from the Work Area and that either constitutes an emergency
              situation or that may present an immediate threat to public health or welfare or the
              environment, SWDs shall: (1) immediately take all appropriate action to prevent,
              abate, or minimize such release or threat of release; (2) immediately notify the
              authorized EPA officer (as specified in ¶ 4.4(c)) orally; and (3) take such actions
              in consultation with the authorized EPA officer and in accordance with all
              applicable provisions of the Health and Safety Plan, the Emergency Response
              Plan, and any other deliverable approved by EPA under the SOW.

        (b)   Release Reporting. Upon the occurrence of any event during performance of the
              Work that SWDs are required to report pursuant to Section 103 of CERCLA,
              42 U.S.C. § 9603, or Section 304 of the Emergency Planning and Community
              Right-to-Know Act (EPCRA), 42 U.S.C. § 11004, SWDs shall immediately
              notify the authorized EPA officer orally.

        (c)   The “authorized EPA officer” for purposes of immediate oral notifications and
              consultations under ¶ 4.4(a) and ¶ 4.4(b) is the EPA Project Coordinator, the EPA
              Alternate Project Coordinator (if the EPA Project Coordinator is unavailable), or
              the EPA Emergency Response Program, Region 9 (if neither EPA Project
              Coordinator is available). The identity of the EPA Project Coordinator and the
              EPA Alternate Project Coordinator are provided in the CD.


                                               13

                                                    298                              Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 308 of 347 Page ID #:342




        (d)   For any event covered by ¶ 4.4(a) and ¶ 4.4(b), SWDs shall: (1) within 14 days
              after the onset of such event, submit a report to EPA describing the actions or
              events that occurred and the measures taken, and to be taken, in response thereto;
              and (2) within 30 days after the conclusion of such event, submit a report to EPA
              describing all actions taken in response to such event.

        (e)   The reporting requirements under ¶ 4.4 are in addition to the reporting required by
              CERCLA § 103 or EPCRA § 304.

  4.5   Waste Material Shipments

        (a)   SWDs may ship hazardous substances, pollutants, and contaminants from the
              Work Area to an area outside the Work Area only if they comply with Section
              121(d)(3) of CERCLA, 42 U.S.C. § 9621(d)(3), and 40 C.F.R. § 300.440. SWDs
              will be deemed to be in compliance with CERCLA § 121(d)(3) and 40 C.F.R. §
              300.440 regarding a shipment if SWDs obtain a prior determination from EPA
              that the proposed receiving facility for such shipment is acceptable under the
              criteria of 40 C.F.R. § 300.440(b).

        (b)   SWDs may ship Waste Material from the Work Area to an out-of-state waste
              management facility only if, prior to any shipment, they provide notice to the
              appropriate state environmental official in the receiving facility’s state and to the
              EPA Project Coordinator. This notice requirement will not apply to any shipments
              leaving the Work Area when the total quantity of all such shipments does not
              exceed 10 cubic yards. The notice must include the following information, if
              available: (1) the name and location of the receiving facility; (2) the type and
              quantity of Waste Material to be shipped; (3) the schedule for the shipment; and
              (4) the method of transportation. SWDs also shall notify the state environmental
              official referenced above and the EPA Project Coordinator of any major changes
              in the shipment plan, such as a decision to ship the Waste Material to a different
              out-of-state facility. SWDs shall provide the notice after the award of the contract
              for RA Construction and before the Waste Material is shipped.

        (c)   SWDs may ship Investigation Derived Waste (IDW) from the Work Area to an area
              outside the Work Area only if they comply with Section 121(d)(3) of CERCLA, 42
              U.S.C. § 9621(d)(3), 40 C.F.R. § 300.440, EPA’s Guide to Management of
              Investigation Derived Waste, OSWER 9345.3-03FS (Jan. 1992), and any IDW-
              specific requirements contained in the ROD. Wastes shipped outside of the Work
              Area to a laboratory for characterization, and RCRA hazardous wastes that meet the
              requirements for an exemption from RCRA under 40 CFR § 261.4(e) shipped outside
              of the Work Area for treatability studies, are not subject to 40 C.F.R. § 300.440.

  4.6   Certification of RA Completion

        (a)   RA Completion Inspection. The RA is “Complete” for purposes of this ¶ 4.6
              after construction and startup are complete, the remedy is functioning as designed,
              and the Performance Standards have been achieved. SWDs shall schedule an



                                               14
                                                    299                               Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 309 of 347 Page ID #:343




              inspection for the purpose of obtaining EPA’s Certification of RA Completion.
              The inspection must be attended by SWDs and EPA and/or their representatives.

        (b)   RA Report. Following the inspection, SWDs shall submit a RA Report to EPA
              requesting EPA’s Certification of RA Completion. The report must: (1) include
              certifications by a registered professional engineer and by SWD’s Project
              Coordinator that the RA is complete; (2) include as-built drawings signed and
              stamped by a registered professional engineer; (3) be prepared in accordance with
              Chapter 2 (Remedial Action Completion) of EPA’s Close Out Procedures for
              NPL Sites guidance (May 2011); (4) contain monitoring data to demonstrate that
              Performance Standards have been achieved; and (5) be certified in accordance
              with ¶ 7.5 (Certification).

        (c)   If EPA concludes that the RA is not Complete, EPA shall so notify SWDs. EPA’s
              notice must include a description of any deficiencies. EPA’s notice may include a
              schedule for addressing such deficiencies or may require SWDs to submit a
              schedule for EPA approval. SWDs shall perform all activities described in the
              notice in accordance with the schedule.

        (d)   If EPA concludes, based on the initial or any subsequent RA Report requesting
              Certification of RA Completion, that the RA is Complete, EPA shall so certify to
              SWDs. This certification will constitute the Certification of RA Completion for
              purposes of the CD, including Section XVI of the CD (Covenants by Plaintiff[s]).
              Certification of RA Completion will not affect SWDs’ remaining obligations
              under the CD.

  4.7   Certification of Work Completion

        (a)   Work Completion Inspection. SWDs shall schedule an inspection for the
              purpose of obtaining EPA’s Certification of Work Completion. The inspection
              must be attended by SWDs and EPA and/or their representatives.

        (b)   Work Completion Report. Following the inspection, SWDs shall submit a report
              to EPA requesting EPA’s Certification of Work Completion. The report must: (1)
              include information to demonstrate that the Work is complete; (2) include
              certifications by a registered professional engineer and by SWDs’ Project
              Coordinator that the Work, including all O&M activities, is complete; and (3) be
              certified in accordance with ¶ 7.5 (Certification).

        (c)   If EPA concludes that the Work is not complete, EPA shall so notify SWDs.
              EPA’s notice must include a description of the activities that SWDs must perform
              to complete the Work. EPA’s notice must include specifications and a schedule
              for such activities or must require SWDs to submit specifications and a schedule
              for EPA approval. SWDs shall perform all activities described in the notice or in
              the EPA-approved specifications and schedule.

        (d)   If EPA concludes, based on the initial or any subsequent report requesting
              Certification of Work Completion, that the Work is complete, EPA shall so certify

                                              15
                                                300                              Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 310 of 347 Page ID #:344




               in writing to SWDs. Issuance of the Certification of Work Completion does not
               affect the following continuing obligations: (1) activities under the Periodic
               Review Support Plan; (2) obligations under Sections VIII (Access), XX
               (Retention of Records), and XIX (Access to Information) of the CD;
               (3) Institutional Controls obligations as provided in the ICIAP; and (4)
               reimbursement of EPA’s Future Response Costs under Section XI (Payments for
               Response Costs and DTSC Response Costs) of the CD.

                       5.       LEADING EDGE INVESTIGATION

  5.1   Leading Edge Investigation. The purpose of the Leading Edge Investigation (LEI) is to
        conduct additional field investigations in the LE Area.

        (a)    SWDs shall submit a Leading Edge Investigation Work Plan (LEI Work Plan) for
               EPA approval. The LEI Work Plan must include:

               (1)    Plans for the installation and sampling of well clusters at three locations
                      downgradient of the Continental Heat Treating property located at 10643
                      Norwalk Blvd. in Santa Fe Springs, CA.

                      (i)     Each well cluster will include multiple wells installed in the
                              approximate locations depicted in Appendix C to the CD.

                      (ii)    It is estimated that up to five wells will be required in each cluster
                              and the deepest well in each cluster will be up to 500 feet deep.

                      (iii)   The number and depth of wells in each cluster, and final locations,
                              must be approved by EPA.

                      (iv)    The wells installed as part of the LEI shall be sampled quarterly for
                              three quarters after installation and incorporated into the Work
                              Area Monitoring Plan (WAMP).

               (2)    Preparation and submittal of an FSP and QAPP, or addendums to
                      approved plans.

        (b)    Following the LEI, SWDs shall submit a LEI Evaluation Report for EPA
               approval. This report must include:

               (1)    A summary of the investigations performed;

               (2)    A summary of investigation results, including a summary of validated data
                      (i.e., tables and graphics), the results of data analyses, and a narrative
                      interpretation of data and results;




                                                16
                                                  301                              Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 311 of 347 Page ID #:345




                (3)    Data validation reports and laboratory data reports; and

                (4)    Conclusions and recommendations.

                                      6.       REPORTING

  6.1    Progress Reports. Commencing with the month following entry of the CD and until
         EPA approves the RA Completion, SWDs shall submit progress reports to EPA on a
         monthly basis. After a minimum of one year of monthly reporting, SWDs may request,
         and EPA will consider, a reduction in the reporting frequency. The reports shall
         summarize activities that took place during the prior reporting period, including:

         (a)    The actions that have been taken toward achieving compliance with the CD;

         (b)    A summary of results of sampling, tests, and other data received or generated by
                SWDs and references to respective deliverables providing the associated
                information to EPA;

         (c)    A description of all deliverables that SWDs submitted to EPA;

         (d)    A description of all activities relating to RA that are scheduled for the next eight
                weeks;

         (e)    A description of any delays encountered or anticipated that may affect the future
                schedule for implementation of the Work, a description of efforts made to
                mitigate those delays or anticipated delays, and, once RA Construction begins,
                percentage completion;

         (f)    A description of any modifications to the work plans or other schedules that
                SWDs have proposed or that have been approved by EPA;

         (g)    A description of activities undertaken in support of the Community Involvement
                Plan (CIP) during the reporting period and those to be undertaken in the next six
                weeks;

         (h)    A summary of efforts to reach agreement with Golden State Water Company
                (GSWC) to shut down its three existing Pioneer water supply wells and replace
                those wells with a single deep well, and implement an agreement if reached.
                SWDs shall, upon request, submit plans or reports related to replacement of the
                existing Pioneer wells.

  After completion of the RA, SWDs will continue to provide periodic reports to EPA in
  accordance with the approved O&M Plan and CMP.

  6.2    Notice of Progress Report Schedule Changes. If the schedule for any future activities
         described in the Progress Reports changes, SWDs shall notify EPA of such change at
         least 7 days before performance of the activity when known, or when discovered if within
         7 days of performance of the respective activity.


                                                 17
                                                    302                                 Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 312 of 347 Page ID #:346




  6.3   Annual Performance Evaluation Reports. After EPA issues a Certificate of
        Completion of the Remedial Action, SWDs shall submit annual performance evaluation
        reports to EPA for approval that provide and evaluate information generated during the
        preceding calendar year by implementation of the O&M Plan and CMP. The reports
        shall include or provide:

        (a)    An Executive Summary;

        (b)    An Introduction, including a brief Site background;

        (c)    A conceptual site model and any refinements made to the conceptual site model
               since the previous annual report;

        (d)    The status of the remedial action;

        (e)    A summary of groundwater monitoring activities completed since preparation of
               the previous annual report (e.g., monitoring well installation, groundwater level
               and potentiometric measurements, water quality analyses, aquifer testing);

        (f)    Groundwater monitoring and analytical results generated since preparation of the
               previous annual report, including validated data; potentiometric maps;
               hydrographs of groundwater elevations for key wells; isoconcentration contours
               and posted concentrations for key contaminants in plan view and cross section;
               concentration‐time series for key contaminants for key wells; analysis of spatial
               and temporal trends (including statistical analysis where appropriate); and
               description of any significant changes in the nature and extent of contamination.
               Separate analyses and separate figures should be prepared for each
               hydrostratigraphic unit if conditions vary significantly between units;

        (g)    Areas and depths depicting groundwater targeted for hydraulic capture, and the
               results of capture zone analyses;

        (h)    A summary of the operation and performance of the treatment facility(ies),
               including days operational/ non‐operational, treatment volumes and/or rates,
               untreated and treated water quality, contaminant mass removed, achievement of
               Performance Standards and compliance with permit requirements, significant
               operational problems, and disposal of treatment residuals (e.g., spent carbon and
               resin);

        (i)    Evaluation of institutional controls (e.g., description of institutional controls
               planned or in place, efforts completed to implement and/or evaluate the
               effectiveness of institutional controls);

        (j)    Any recommendations for RA optimization or improvements for consideration by
               EPA (e.g., proposed changes in routine monitoring, recommended or planned
               remedy improvements); and

        (k)    Laboratory analytical reports provided in an appendix.


                                                 18
                                                    303                              Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 313 of 347 Page ID #:347




        EPA may require modifications to the report content over the life of the remedy.

                                   7.      DELIVERABLES

  7.1   Applicability. SWDs shall submit deliverables for EPA approval or for EPA comment as
        specified in the SOW. If neither is specified, the deliverable does not require EPA’s
        approval or comment. Paragraphs 7.2 (In Writing) through 7.4 (Technical Specifications)
        apply to all deliverables. Paragraph 7.5 (Certification) applies to any deliverable that is
        required to be certified. Paragraph 7.6 (Approval of Deliverables) applies to any
        deliverable that is required to be submitted for EPA approval.

  7.2   In Writing. All deliverables under this SOW must be in writing unless otherwise
        specified.

  7.3   General Requirements for Deliverables, All deliverables must be submitted by the
        deadlines in the RD Schedule, RA Schedule, or LEI Work Schedule, as applicable.
        SWDs shall submit all deliverables to EPA in electronic form. SWDs shall also, upon
        request, provide EPA and/or DTSC with paper copies of any deliverable.

  7.4   Technical Specifications

        (a)    Sampling and monitoring data should be submitted in Electronic Data Deliverable
               (EDD) format acceptable to EPA. Other delivery methods may be allowed if
               electronic direct submission presents a significant burden or as technology
               changes.

        (b)    Spatial data, including spatially-referenced data and geospatial data, should be
               submitted: (1) in the ESRI File Geodatabase format; and (2) as unprojected
               geographic coordinates in decimal degree format using North American Datum
               1983 (NAD83) or World Geodetic System 1984 (WGS84) as the datum. If
               applicable, submissions should include the collection method(s). Projected
               coordinates may optionally be included but must be documented. Spatial data
               should be accompanied by metadata, and such metadata should be compliant with
               the Federal Geographic Data Committee (FGDC) Content Standard for Digital
               Geospatial Metadata and its EPA profile, the EPA Geospatial Metadata Technical
               Specification. An add-on metadata editor for ESRI software, the EPA Metadata
               Editor (EME), complies with these FGDC and EPA metadata requirements and is
               available at https://edg.epa.gov/EME/.

        (c)    Each file must include an attribute name for each site unit or sub-unit submitted.
               Consult http://www.epa.gov/geospatial/policies.html for any further available
               guidance on attribute identification and naming.

        (d)    Spatial data submitted by SWDs does not, and is not intended to, define the
               boundaries of the Site.




                                                19
                                                     304                        Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 314 of 347 Page ID #:348




  7.5   Certification. All deliverables that require compliance with this ¶ 7.5 must be signed by
        the SWDs’ Project Coordinator, or other responsible official of SWDs, and must contain
        the following statement:

               I certify under penalty of law that this document and all attachments were
               prepared under my direction or supervision in accordance with a system
               designed to assure that qualified personnel properly gather and evaluate
               the information submitted. Based on my inquiry of the person or persons
               who manage the system, or those persons directly responsible for
               gathering the information, the information submitted is, to the best of my
               knowledge and belief, true, accurate, and complete. I have no personal
               knowledge that the information submitted is other than true, accurate, and
               complete. I am aware that there are significant penalties for submitting
               false information, including the possibility of fine and imprisonment for
               knowing violations.

  7.6   Approval of Deliverables

        (a)    Initial Submissions

               (1)     After review of any deliverable that is required to be submitted for EPA
                       approval under the CD or the SOW, EPA shall: (i) approve, in whole or in
                       part, the submission; (ii) approve the submission upon specified
                       conditions; (iii) disapprove, in whole or in part, the submission; or (iv) any
                       combination of the foregoing.

               (2)     EPA also may modify the initial submission to cure deficiencies in the
                       submission if: (i) EPA determines that disapproving the submission and
                       awaiting a resubmission would cause substantial disruption to the Work;
                       or (ii) previous submission(s) have been disapproved due to material
                       defects and the deficiencies in the initial submission under consideration
                       indicate a bad faith lack of effort to submit an acceptable deliverable.

        (b)    Resubmissions. Upon receipt of a notice of disapproval under ¶ 7.6(a) (Initial
               Submissions), or if required by a notice of approval upon specified conditions
               under ¶ 7.6(a), SWDs shall, within 14 days or such longer time as specified by
               EPA in such notice, correct the deficiencies and resubmit the deliverable for
               approval. After review of the resubmitted deliverable, EPA may: (1) approve, in
               whole or in part, the resubmission; (2) approve the resubmission upon specified
               conditions; (3) modify the resubmission; (4) disapprove, in whole or in part, the
               resubmission, requiring SWDs to correct the deficiencies; or (5) any combination
               of the foregoing.

        (c)    Implementation. Upon approval, approval upon conditions, or modification by
               EPA under ¶ 7.6(a) (Initial Submissions) or ¶ 7.6(b) (Resubmissions), of any
               deliverable, or any portion thereof: (1) such deliverable, or portion thereof, will be
               incorporated into and enforceable under the CD; and (2) SWDs shall take any


                                                 20
                                                      305                                Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 315 of 347 Page ID #:349




               action required by such deliverable, or portion thereof. The implementation of any
               non-deficient portion of a deliverable submitted or resubmitted under ¶ 7.6(a) or
               ¶ 7.6(b) does not relieve SWDs of any liability for stipulated penalties under
               Section XV (Stipulated Penalties) of the CD.

  7.7   Supporting Deliverables. SWDs shall submit each of the following supporting
        deliverables for EPA approval, except as specifically provided. The deliverables must be
        submitted, for the first time, by the deadlines in the RD Schedule, RA Schedule, or LEI
        Work Schedule, or any other EPA-approved schedule, as applicable. SWDs shall develop
        the deliverables in accordance with all applicable regulations, guidances, and policies
        (see Section 10 (References)). SWDs shall update each of these supporting deliverables
        as necessary or appropriate during the course of the Work, and/or as requested by EPA.

        (a)    Health and Safety Plan. The Health and Safety Plan (HASP) describes all
               activities to be performed to protect on site personnel and area residents from
               physical, chemical, and all other hazards posed by the Work. SWDs shall develop
               the HASP in accordance with EPA’s Emergency Responder Health and Safety
               and Occupational Safety and Health Administration (OSHA) requirements under
               29 C.F.R. §§ 1910 and 1926. The HASP should cover RD and LEI activities and
               should be, as appropriate, updated to cover activities during the RA and updated
               to cover activities after RA completion. EPA does not approve the HASP, but will
               review it to ensure that all necessary elements are included and that the plan
               provides for the protection of human health and the environment.

        (b)    Emergency Response Plan. The Emergency Response Plan (ERP) must describe
               procedures to be used in the event of an accident or emergency that occurs as part
               of the performance of the Work (e.g., release of contaminated water,
               contaminated treatment media, or treatment chemicals to the environment.). The
               ERP must include:

               (1)    Name of the person or entity responsible for responding in the event of an
                      emergency incident;

               (2)    Plan and date(s) for meeting(s) with the local community, including local,
                      State, and federal agencies involved in the cleanup, as well as local
                      emergency squads and hospitals;

               (3)    Notification activities in accordance with ¶ 4.4(b) (Release Reporting) in
                      the event of a release of hazardous substances requiring reporting under
                      Section 103 of CERCLA, 42 U.S.C. § 9603, or Section 304 of EPCRA,
                      42 U.S.C. § 11004; and

               (4)    A description of all necessary actions to ensure compliance with
                      Paragraph 12 (Emergencies and Releases) of the CD in the event of an
                      occurrence during the performance of the Work that causes or threatens a
                      release of Waste Material from the Site that constitutes an emergency or



                                               21
                                                    306                           Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 316 of 347 Page ID #:350




                     may present an immediate threat to public health or welfare or the
                     environment.

        (c)   Field Sampling Plan. One or more Field Sampling Plans (FSPs) shall be required
              to complete the PDI, conduct O&M, and conduct compliance monitoring. A FSP
              addresses sample collection activities and is supplemented by a QAPP. A FSP
              must be written so that a field sampling team unfamiliar with the project would be
              able to gather the samples and field information required. SWDs shall develop a
              FSP in accordance with Guidance for Conducting Remedial Investigations and
              Feasibility Studies, EPA/540/G 89/004 (Oct. 1988).

        (d)   Quality Assurance Project Plan. One or more Quality Assurance Project Plans
              (QAPPs) shall be required. A QAPP addresses sample analysis and data handling
              regarding the Work. A QAPP must include a detailed explanation of SWDs’
              quality assurance, quality control, and chain of custody procedures for all
              treatability, design, compliance, and monitoring samples. SWDs shall develop
              one or more QAPPs in accordance with EPA Requirements for Quality Assurance
              Project Plans, QA/R-5, EPA/240/B-01/003 (Mar. 2001, reissued May 2006);
              Guidance for Quality Assurance Project Plans., QA/G-5, EPA/240/R 02/009
              (Dec. 2002); and Uniform Federal Policy for Quality Assurance Project Plans,
              Parts 1-3, EPA/505/B-04/900A though 900C (Mar. 2005). The QAPP(s) also
              must include procedures:

              (1)    To ensure that EPA and its authorized representatives have reasonable
                     access to laboratories used by SWDs in implementing the CD (SWDs’
                     Labs);

              (2)    To ensure that SWDs’ Labs analyze all samples submitted by EPA
                     pursuant to the QAPP for quality assurance monitoring;

              (3)    To ensure that SWDs’ Labs perform all analyses using EPA-accepted
                     methods (i.e., the methods documented in USEPA Contract Laboratory
                     Program Statement of Work for Inorganic Analysis, ILM05.4 (Dec. 2006);
                     USEPA Contract Laboratory Program Statement of Work for Organic
                     Analysis, SOM01.2 (amended Apr. 2007); and USEPA Contract
                     Laboratory Program Statement of Work for Inorganic Superfund Methods
                     (Multi-Media, Multi-Concentration), ISM01.2 (Jan. 2010)) or other
                     methods acceptable to EPA;

              (4)    To ensure that SWDs’ Labs participate in an EPA-accepted QA/QC
                     program or other program QA/QC acceptable to EPA;

              (5)    For SWDs to provide EPA with notice at least 14 days prior to any sample
                     collection activity;

              (6)    For SWDs to provide split samples and/or duplicate samples to EPA upon
                     request;


                                              22
                                                   307                         Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 317 of 347 Page ID #:351




              (7)    For EPA to take any additional samples that it deems necessary;

              (8)    For EPA to provide to SWDs, upon request, split samples and/or duplicate
                     samples in connection with EPA’s oversight sampling; and

              (9)    For SWDs to submit to EPA and DTSC all sampling and tests results and
                     other data in connection with the implementation of the CD.

        (e)   Construction Quality Assurance/Quality Control Plan (CQA/QCP). The
              purpose of the Construction Quality Assurance Plan (CQAP) is to describe
              planned and systemic activities that provide confidence that the RA Construction
              will satisfy all plans, specifications, and related requirements, including quality
              objectives. The purpose of the Construction Quality Control Plan (CQCP) is to
              describe the activities to verify that RA Construction has satisfied all plans,
              specifications, and related requirements, including quality objectives. The
              CQA/QCP must be reviewed and approved by EPA prior to the initiation of the
              RA and include the following:

              (1)    Identify, and describe the responsibilities of, the organizations and
                     personnel implementing the CQA/QCP, including qualifications and lines
                     of authority;

              (2)    Describe the Performance Standards (PS) required to be met to achieve
                     Completion of the RA;

              (3)    Describe the activities to be performed: (i) to provide confidence that PS
                     will be met; and (ii) to determine whether PS have been met;

              (4)    Describe verification activities, such as inspections, sampling, testing,
                     monitoring, and production controls, under the CQA/QCP;

              (5)    Describe industry standards and technical specifications used in
                     implementing the CQA/QCP;

              (6)    Describe procedures for tracking construction deficiencies from
                     identification through corrective action;

              (7)    Describe procedures for documenting all CQA/QCP activities; and

              (8)    Describe procedures for retention of documents and for final storage of
                     documents.

        (f)   O&M Plan. The O&M Plan describes requirements for inspecting, operating, and
              maintaining the RA after achievement of Performance Standards. SWDs shall
              develop the O&M Plan in accordance with Operation and Maintenance in the
              Superfund Program, OSWER 9200.1 37FS, EPA/540/F-01/004 (May 2001). The
              O&M Plan and CMP should complement each other, with the O&M Plan focused
              on extraction well and treatment plant operation and maintenance and the CMP


                                               23
                                                 308                                 Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 318 of 347 Page ID #:352




              focused on requirements related to hydraulic control and treatment plant effluent
              quality. SWDs shall provide a draft O&M Plan during the design process, and
              subsequently update the plan to incorporate any manufacturer or vendor
              information and any design modifications implemented during the construction or
              startup phases of the RA. The O&M Plan must be reviewed and approved by EPA
              prior to initiation of O&M activities and include the following:

              (1)    A description of material and maintenance needs, and anticipated
                     equipment replacement for significant components;

              (2)    Criteria to determine when activated carbon and resin replacement are
                     needed, if applicable;

              (3)    A summary of O&M staffing, training and certification requirements;

              (4)    A description of routine data collection and analysis activities to be
                     conducted during O&M, including:

                     (i)     Flow rates and volume of groundwater extracted from each
                             extraction well;

                     (ii)    Water quality at remedy extraction wells and within the treatment
                             system(s) to monitor operation and determine the need for
                             activated carbon and resin replacement, if applicable;

                     (iii)   Water quality measurements from new and existing monitoring
                             wells and/or piezometers within the capture zones of the NE/CE
                             Area extraction wells to provide early warning of conditions that
                             may require changes in remedy operation. The O&M Plan shall
                             identify the existing (or new) multi-level monitoring wells (or well
                             clusters) located within the predicted capture zones. The early
                             warning monitoring shall include the collection of samples from
                             multiple depths in the contaminated portion of the aquifer;

              (5)    Description of records and reports that will be generated during O&M,
                     such as daily operating logs, laboratory records, maintenance records, and
                     monitoring reports;

              (6)    A description of planned routine reporting to EPA and DTSC;

              (7)    A description of the plans for the disposal of materials used and wastes
                     generated during O&M (e.g., spent treatment media, wastewater);

              (8)    Provisions for submittal of a FSP, QAPP, and HASP, or addendums to
                     approved plans, to address data collection and analysis related to O&M;

              (9)    Provisions for notification to EPA and DTSC at least 72 hours in advance
                     of any planned shutdowns lasting more than 72 hours; and


                                              24
                                                309                               Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 319 of 347 Page ID #:353




              (10)   Description of planned corrective actions in case of systems failure,
                     including: (i) alternative procedures to prevent the release or threatened
                     release of Waste Material which may endanger public health and the
                     environment or may cause a failure to achieve the Performance Standards;
                     (ii) analysis of vulnerability and additional resource requirements should a
                     failure occur; (iii) notification and reporting requirements should O&M
                     systems fail or be in danger of imminent failure; and (iv) community
                     notification requirements.

        (g)   Compliance Monitoring Plan. The CMP describes data collection and analysis
              activities needed to demonstrate that the Work satisfies requirements related to
              hydraulic control and complies with treatment plant effluent requirements. It
              shall complement the O&M Plan and be supplemented by the Periodic Review
              Support Plan. The CMP shall be implemented after EPA approval. It shall be
              amended, with EPA approval, as necessary over the life of the remedy and
              include or accomplish the following:

              (1)    Identify requirements related to hydraulic control and treatment plant
                     performance, including “performance criteria” described in this SOW and
                     the Performance Criteria subsection of Section 2.12.2 in the ROD as
                     appropriate when applied to the NE/CE Area and the water end use
                     selected in the RD, minimum groundwater extraction rates established
                     during design, and treatment plant effluent requirements;

              (2)    Describe the types of data to be collected, sampling and data gathering
                     methods, monitoring locations, and sampling and measurement
                     frequencies. The data shall include the following at a minimum:

                     (i)    The measurement of hydraulic head at two or more nested wells or
                            piezometer clusters installed adjacent to each extraction well.
                            The wells shall be placed and constructed to allow measurements
                            at multiple locations and depth intervals to help evaluate whether
                            the groundwater extraction system is achieving the required
                            hydraulic control. Water level measurements at the performance
                            monitoring points coupled with groundwater flow modeling will be
                            the primary means of evaluating the extent of capture associated
                            with the NE/CE Area extraction well fields. Performance
                            monitoring points shall be sufficient in number and adequately
                            located to verify that groundwater moving from the area of
                            contaminated groundwater targeted for hydraulic control is
                            intercepted by the remedy extraction wells. Initial monitoring
                            frequency for hydraulic head shall be high enough to assess
                            temporal variability, and the cause of the variability, and may be
                            reduced over time with EPA approval.

                     (ii)   Water quality measurements at one or more depths in multiple
                            groundwater compliance wells downgradient of the NE/CE Area


                                              25
                                                310                            Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 320 of 347 Page ID #:354




                            capture zone. Analytical data will be collected from the monitoring
                            wells before startup to establish baseline conditions and during
                            operation. Wells monitored to establish baseline conditions may or
                            may not serve as compliance wells. The assessment and
                            identification of locations where groundwater quality data that are
                            not impacted by sources outside the NE/CE Area capture zone will
                            be conducted. One of the monitoring objectives will be to collect
                            groundwater quality data able to screen out sources from outside
                            the target zone that impact groundwater quality down-gradient of
                            the CE Area extraction well field. The compliance wells shall be
                            new multi-level monitoring wells (or well clusters). Compliance
                            well screens shall be designed to minimize the dilution of
                            groundwater samples and be sufficient in number and adequately
                            located to verify that groundwater moving from the area of
                            contaminated groundwater targeted for hydraulic control is
                            intercepted by the remedy extraction wells. Each multi-level
                            compliance well or well cluster shall allow the collection of
                            samples from aquifer zones corresponding to the contaminated
                            portion of the aquifer.

                    (iii)   Water quality monitoring of treated water to verify compliance
                            with Performance Standards and other requirements

                    (iv)    Air emission monitoring to verify that air emissions, if any,
                            comply with Performance Standards.

              (3)   Describe how monitoring and performance data shall be analyzed,
                    interpreted, and reported to determine compliance, measure progress, and
                    provide early warning of conditions that may require changes in remedy
                    operation. Evaluations of compliance with hydraulic control requirements
                    shall use multiple lines of evidence, including (but not limited to)
                    groundwater flow gradients computed from water levels, groundwater
                    flow model simulations, and groundwater analytical results. Claims of
                    change, difference, or trend in water quality shall include the use of
                    appropriate statistical concepts and tests.

              (4)   Provisions for periodic reporting, initially monthly, of compliance
                    information to EPA and the DTSC. The reports will include a summary of
                    remedy performance and compliance status in the reporting period, along
                    with tabularized operational and performance data, including (but not
                    limited to) system operating times, extraction rates, and noteworthy
                    highlights and problems (and how they were resolved);

              (5)   Provisions for submittal of a FSP, QAPP, and HASP, or addendums to
                    approved plans;




                                             26
                                                311                           Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 321 of 347 Page ID #:355




               (6)    Procedures for notification to EPA and the DTSC after SWDs’ receipt of
                      information indicating noncompliance or potential noncompliance with
                      Performance Standards. Notification shall occur within one working day
                      of receipt of information indicating noncompliance or potential
                      noncompliance.

        (h)    Institutional Controls Implementation and Assurance Plan. The Institutional
               Controls Implementation and Assurance Plan (ICIAP) describes plans to
               implement, maintain, and enforce the Institutional Controls (ICs) at the Site
               related to the Work. SWDs shall develop the ICIAP in accordance with
               Institutional Controls: A Guide to Planning, Implementing, Maintaining, and
               Enforcing Institutional Controls at Contaminated Sites, OSWER 9355.0-89,
               EPA/540/R-09/001 (Dec. 2012), and Institutional Controls: A Guide to Preparing
               Institutional Controls Implementation and Assurance Plans at Contaminated
               Sites, OSWER 9200.0-77, EPA/540/R-09/02 (Dec. 2012). Specific provisions
               required by the ROD (Section 2.12.2) are:

               (1)    Annual notifications to all water rights holders in the Central Basin to
                      explain the goals of the remedy, the status of the remedy’s
                      implementation, the nature and extent of OU2 groundwater contamination
                      and the most recent available groundwater data, and discuss any related
                      State or local restrictions and prohibitions on well-drilling and
                      groundwater use without necessary approvals and permits;

               (2)    Periodic meetings with EPA, State and local agencies with jurisdiction
                      over well drilling and groundwater use within the Central Basin to
                      exchange information on the planned or current operation of production
                      wells within OU2 or its vicinity;

               (3)    An annual review of available documentation maintained by the State and
                      local entities to determine if water supply wells have been installed or a
                      purveyor or other water rights holder had increased groundwater
                      production or production capacity within OU2 or its vicinity;

               (4)    Provisions, to the extent feasible, for contemporaneous notification from
                      State and local agencies with jurisdiction over well drilling and
                      groundwater use within the Central Basin.


        The ICIAP should specify SWD roles and responsibilities, which should include drafting
        and submitting to EPA a notice containing the information described in 7.7(h)(1) relevant
        to the Work Area; participation, if requested, in meetings described in 7.7(h)(2); the
        annual review described in 7.7(h)(3); and efforts to assist State and local agencies in
        implementing the provisions described in 7.7(h)(4).

        (i)    Periodic Review Support Plan. The Periodic Review Support Plan addresses the
               studies and investigations that SWDs shall conduct to support EPA’s reviews of


                                               27
                                                  312                         Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 322 of 347 Page ID #:356




        (j)    whether the RA is protective of human health and the environment in accordance
               with Section 121(c) of CERCLA, 42 U.S.C. § 9621(c) (also known as “Five-year
               Reviews”). SWD shall develop the plan in accordance with Comprehensive Five-
               year Review Guidance, OSWER 9355.7-03B-P (June 2001), and any other
               relevant five-year review guidances.

               The Periodic Review Support Plan shall identify information that SWDs will
               submit to EPA before each Five-year Review in time to allow its use or
               consideration. EPA typically begins a Five-year Review nine to 12 months before
               its completion date. The Plan may specify that the information will be provided
               as part of an Annual Performance Evaluation Report, or separately.

                                     8.      SCHEDULES

  8.1   Applicability and Revisions. All deliverables and tasks required under this SOW must
        be submitted or completed by the deadlines or within the time durations listed in the RD,
        RA, and LEI Work Schedules set forth below. SWDs may submit proposed revised
        schedules for EPA approval. Upon EPA’s approval, the revised schedules supersede the
        RD, RA, and LEI Work Schedules set forth below, and any previously-approved
        schedules.




                                                28
                                                  313                            Appendix B
     Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 323 of 347 Page ID #:357

8.2     RD Schedule
                                         Supporting
                                         Deliverables
                                         (due at same
                                         time as primary
        Primary Deliverable              deliverable)          ¶ Ref.    Deadline
 1      Remedial Design Work Plan        Work Area               3.1     60 days after the Effective Date and
        (RD Work Plan)                   Monitoring Plan                 EPA’s Authorization to Proceed
                                         (WAMP) and Pre-                 regarding SWD Project Coordinator
                                         Design Work Plan                under CD Paragraph 10.c
                                         (PDIWP) (which
                                         include a HASP,
                                         FSP, and QAPP)
 2      Treatability Study Work Plan &                          3.6      As (and if) required by approved RD
        Treatability Study Evaluation                                    Work Plan
        Report (if required by RD Work
        Plan)
 3      PDI Report                                              3.3      As specified in approved PDI WP
 4      Groundwater Flow Modeling                               3.4      As specified in approved RD Work
        Work Plan                                                        Plan
 5      Groundwater Flow Model                                  3.4      As specified in approved Groundwater
        Development and Calibration                                      Flow Modeling Plan
        Report
 6      Groundwater Flow Model                                  3.4      60 days after EPA approval of
        Predictive Simulations Report                                    Groundwater Development and
                                                                         Calibration Report
 7      Work Area Monitoring Report                             3.5      60 days after receipt of final laboratory
                                                                         reports from Work Area samples
 8      Preliminary (30%) RD                                    3.7      90 days after EPA approval of
                                                                         Groundwater Modeling Predictive
                                                                         Simulations Report
 9      Intermediate (60%) RD            CQA/QCP, O&M           3.8      90 days after EPA approval of the
                                         Plan, CMP,                      Preliminary Design if SWDs select
                                         ICIAP, ERP                      and EPA approves a design/build
                                                                         approach
 10     Pre-final (95%) RD               CQA/QCP, O&M           3.9      90 days after EPA comments on
                                         Plan, CMP,                      Preliminary RD if SWDs select and
                                         ICIAP, ERP                      EPA approves a design/bid/build
                                                                         approach
 11     Final (100%) RD                  Same as above          3.10     60 days after EPA comments on Pre-
                                                                         final RD if SWDs select and EPA
                                                                         approves a design/bid/build approach
 12     Submittal of Analytical Data,                           3.3,     45 calendar days after sample
        whether or not validated                                3.5,     shipment to the laboratory or 14 days
                                                                3.6,     after receipt of analytical results from
                                                                5.1,     the laboratory, whichever occurs first
                                                               7.7(f),
                                                               7.7(g),
                                                               7.7(i)
 13     Progress Reports                                         6.1     As specified in approved RD Work
                                                                         Plan


                                                    29
                                                         314                                  Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 324 of 347 Page ID #:358




  8.3    RA and O&M Schedule


          Description of
          Deliverable / Task              ¶ Ref.      Deadline
                                                      60 days after EPA Approval of the Final
    1     RA Work Plan                       4.1      RD
                                                      60 days after EPA Approval of the Final
    2     Award RA contract                3.1, 4.1   RD
    3     Pre-Construction Conference       4.3(a)    15 days after award of RA contact
    4     Start of Construction           3.1, 4.1    30 days after award of RA contact
          Completion of Construction         4.6
                                                      As specified in approved RA Work Plan
    5     and Start-Up activities
                                                      60 days after completion of construction
    6     Pre-final Inspection               4.6      and start up
                                                      45 days after completion of Pre-final
    7     Pre-final Inspection Report        4.6      Inspection
                                                      45 days after Completion of Work
    8     Final Inspection                   4.6      identified in Pre-final Inspection Report
    9     RA Report                          4.6      45 days after Final Inspection
    10    Work Completion Report             4.7      60 days after completion of Work
          Annual Performance                          March 30 of each year after the
    11    Evaluation Report                  6.3      completion of RA
                                                      At the same time as the first Annual
    12    Periodic Review Support Plan     7.7(i)     Performance Evaluation Report


  8.4    Leading Edge Investigation Work Schedule

                                    Supporting
                                    Deliverables
                                    (due at same
                                    time as
         Description of             primary
         Deliverable, Task          deliverable) ¶ Ref.       Deadline
    1    Leading Edge               FSP and        5.1        60 days after Effective Date and
         Investigation Work Plan    QAPP, or                  EPA’s Authorization to Proceed
                                    addendums                 regarding SWD Project
                                    to approved               Coordinator under CD Paragraph
                                    plans                     10.c
    2    Leading Edge                              5.1        As specified in approved LEI
         Investigation Report                                 Work Plan




                                               30
                                                    315                         Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 325 of 347 Page ID #:359




                                 9.         DTSC PARTICIPATION

  9.1    Copies. SWDs shall, at any time they send a deliverable to EPA, send a copy of such
         deliverable to the DTSC unless copies to DTSC are not required under the CD. EPA
         shall, at any time it sends a notice, authorization, approval, disapproval, or certification to
         SWDs, send a copy of such document to the DTSC.

  9.2    Review and Comment. The DTSC will have a reasonable opportunity for review and
         comment prior to:

         (a)    Any EPA approval or disapproval under ¶ 7.6 (Approval of Deliverables) of any
                deliverables that are required to be submitted for EPA approval; and

         (b)    Any disapproval of, or Certification of RA Completion under ¶ 4.6 (Certification
                of RA Completion), and any disapproval of, or Certification of Work Completion
                under ¶ 4.7 (Certification of Work Completion).

    EPA will coordinate in advance with DTSC to clarify EPA/DTSC lead roles and minimize
    duplication to the maximum extent practicable.

                                      10.      REFERENCES

  10.1   The following regulations and guidance documents, among others, apply to the Work.
         Any item for which a specific URL is not provided below should be available on one of
         the two EPA Web pages listed in ¶ 10.2:

         (a)    A Compendium of Superfund Field Operations Methods, OSWER 9355.0-14,
                EPA/540/P-87/001a (Aug. 1987).

         (b)    CERCLA Compliance with Other Laws Manual, Part I: Interim Final, OSWER
                9234.1-01, EPA/540/G-89/006 (Aug. 1988).

         (c)    Guidance for Conducting Remedial Investigations and Feasibility Studies,
                OSWER 9355.3-01, EPA/540/G-89/004 (Oct. 1988).

         (d)    CERCLA Compliance with Other Laws Manual, Part II, OSWER 9234.1-02,
                EPA/540/G-89/009 (Aug. 1989).

         (e)    Guidance on EPA Oversight of Remedial Designs and Remedial Actions
                Performed by Potentially Responsible Parties, OSWER 9355.5-01, EPA/540/G-
                90/001 (Apr.1990).

         (f)    Guidance on Expediting Remedial Design and Remedial Actions, OSWER
                9355.5-02, EPA/540/G-90/006 (Aug. 1990).

         (g)    Guide to Management of Investigation-Derived Wastes, OSWER 9345.3-03FS
                (Jan. 1992).



                                                   31
                                                     316                             Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 326 of 347 Page ID #:360




        (h)   Permits and Permit Equivalency Processes for CERCLA On-Site Response
              Actions, OSWER 9355.7-03 (Feb. 1992).

        (i)   Guidance for Conducting Treatability Studies under CERCLA, OSWER 9380.3-
              10, EPA/540/R-92/071A (Nov. 1992).

        (j)   National Oil and Hazardous Substances Pollution Contingency Plan; Final Rule,
              40 C.F.R. Part 300 (Oct. 1994).

        (k)   Guidance for Scoping the Remedial Design, OSWER 9355.0-43, EPA/540/R-
              95/025 (Mar. 1995).

        (l)   Remedial Design/Remedial Action Handbook, OSWER 9355.0-04B, EPA/540/R-
              95/059 (June 1995).

        (m)   EPA Guidance for Data Quality Assessment, Practical Methods for Data
              Analysis, QA/G-9, EPA/600/R-96/084 (July 2000).

        (n)   Operation and Maintenance in the Superfund Program, OSWER 9200.1-37FS,
              EPA/540/F-01/004 (May 2001).

        (o)   Comprehensive Five-year Review Guidance, OSWER 9355.7-03B-P, 540-R-01-
              007 (June 2001).

        (p)   Guidance for Quality Assurance Project Plans, QA/G-5, EPA/240/R-02/009
              (Dec. 2002).

        (q)   Institutional Controls: Third Party Beneficiary Rights in Proprietary Controls
              (Apr. 2004).

        (r)   Quality management systems for environmental information and technology
              programs -- Requirements with guidance for use, ANSI/ASQ E4-2004 (American
              Society for Quality. 2004).

        (s)   Uniform Federal Policy for Quality Assurance Project Plans, Parts 1-3,
              EPA/505/B-04/900A though 900C (Mar. 2005).

        (t)   Superfund Community Involvement Handbook, EPA/540/K-05/003 (Apr. 2005).

        (u)   EPA Guidance on Systematic Planning Using the Data Quality Objectives
              Process, QA/G-4, EPA/240/B-06/001 (Feb. 2006).

        (v)   EPA Requirements for Quality Assurance Project Plans, QA/R-5,
              EPA/240/B-01/003 (Mar. 2001, reissued May 2006).

        (w)   EPA Requirements for Quality Management Plans, QA/R-2, EPA/240/B-01/002
              (Mar. 2001, reissued May 2006).



                                              32

                                                317                            Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 327 of 347 Page ID #:361




        (x)    USEPA Contract Laboratory Program Statement of Work for Inorganic Analysis,
               ILM05.4 (Dec. 2006).

        (y)    USEPA Contract Laboratory Program Statement of Work for Organic Analysis,
               SOM01.2 (amended Apr. 2007).

        (z)    EPA National Geospatial Data Policy, CIO Policy Transmittal 05-002
               (Aug. 2008), available at http://www.epa.gov/geospatial/policies.html and
               http://www.epa.gov/geospatial/docs/National_Geospatial_Data_Policy.pdf.

        (aa)   Summary of Key Existing EPA CERCLA Policies for Groundwater Restoration,
               OSWER 9283.1-33 (June 2009).

        (bb)   Principles for Greener Cleanups (Aug. 2009), available at
               http://www.epa.gov/oswer/greenercleanups/.

        (cc)   USEPA Contract Laboratory Program Statement of Work for Inorganic
               Superfund Methods (Multi-Media, Multi-Concentration), ISM01.2 (Jan. 2010).

        (dd)   Close Out Procedures for National Priorities List Sites, OSWER 9320.2-22
               (May 2011).

        (ee)   Groundwater Road Map: Recommended Process for Restoring Contaminated
               Groundwater at Superfund Sites, OSWER 9283.1-34 (July 2011).

        (ff)   Recommended Evaluation of Institutional Controls: Supplement to the
               “Comprehensive Five-Year Review Guidance,” OSWER 9355.7-18 (Sep. 2011).

        (gg)   Construction Specifications Institute's MasterFormat 2012, available from the
               Construction Specifications Institute, www.csinet.org/masterformat.

        (hh)   Updated Superfund Response and Settlement Approach for Sites Using the
               Superfund Alternative Approach , OSWER 9200.2-125 (Sep. 2012)

        (ii)   Institutional Controls: A Guide to Planning, Implementing, Maintaining, and
               Enforcing Institutional Controls at Contaminated Sites, OSWER 9355.0-89,
               EPA/540/R-09/001 (Dec. 2012).

        (jj)   Institutional Controls: A Guide to Preparing Institutional Controls Implementation
               and Assurance Plans at Contaminated Sites, OSWER 9200.0-77, EPA/540/R-
               09/02 (Dec. 2012).

        (kk)   EPA’s Emergency Responder Health and Safety Manual, OSWER 9285.3-12
               (July 2005 and updates), http://www.epaosc.org/_HealthSafetyManual/manual-
               index.htm

        (ll)   Broader Application of Remedial Design and Remedial Action Pilot Project
               Lessons Learned, OSWER 9200.2-129 (Feb. 2013).


                                               33
                                                 318                              Appendix B
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 328 of 347 Page ID #:362




         (mm) Guidance for Evaluating Completion of Groundwater Restoration Remedial
              Actions, OSWER 9355.0-129 (Nov. 2013).

         (nn)   Groundwater Remedy Completion Strategy: Moving Forward with the End in
                Mind, OSWER 9200.2-144 (May 2014).

  10.2   A more complete list may be found on the following EPA Web pages:

         Laws, Policy, and Guidance http://www.epa.gov/superfund/policy/index.htm

         Test Methods Collections     http://www.epa.gov/fem/methcollectns.htm

  10.3   For any regulation or guidance referenced in the CD or SOW, the reference will be read
         to include any subsequent modification, amendment, or replacement of such regulation or
         guidance. Such modifications, amendments, or replacements apply to the Work only after
         SWDs receive notification from EPA of the modification, amendment, or replacement.




                                               34
                                                    319                           Appendix B
 Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 329 of 347 Page ID #:363




1                                  Appendix C
2
                                Map of Omega Site
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                        320
                                 CONSENT DECREE
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 330 of 347 Page ID #:364




                                                               Former Omega
                                                                  Property




                                                                                                           Greenleaf
                                                          n Ave
                                  Wash
                                       ing         ton




                                                               o
                                                         Sorens




                                                                                        gs
                                                                                       rin
                                                                                      Sp
                                                                                 Fe
                                                                                tan
          eer




                                                                               Sa
             n
         Pio




                                                                                          Mu
                                                                                               lbe
                                                                                                     rry



                                                                         Operable Unit 2
                                                                          Boundary, as
                                                                         depicted in 2011
                                                                        Record of Decision


                                                              Telegraph Road
                                      Bloomfield




        Florence




                                                                                      Legend
                                                                                           Conceptual
                                                                                           Extraction Well
                                                                                      !    Location depicted in
                                                                                           2011 ROD

                                                                                      <
                                                                                      &    Water Supply Well
   90                                                                                      Conceptual NE/CE




                 ±
                                                                                           Area Extraction Well
                                                                                           Locations
                                                                                           Targeted Areas for
                                                                                           LE Area Monitoring
                                                                                           Well Clusters
                                                                                           Operable Unit 2
   0       1,500 3,000                                                                     Boundary, as
                    Feet                                                                   depicted in 2011
                                                                                           Record of Decision

   Appendix C: Map of Site with Locations of Key Work Components Notated and
   Compared with ROD Locations
                                       321                    Appendix C
 Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 331 of 347 Page ID #:365




1                                  Appendix D
2
                         List of Settling Cash Defendants
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                       322
                                 CONSENT DECREE
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 332 of 347 Page ID #:366
                                                 Appendix D
                                          Settling Cash Defendants
                                                                            Associated Facility
       No.                               Entity Name                        (See Footnote for
                                                                                  Code)
              1   Abex Aerospace                                                    1
              2   ABM CMS, INC. (fka Commair Mechanical Services)                   1
              3   Air Conditioning Company, Inc.                                    1
              4   Air Products and Chemicals, Inc.                                  1
              5   Aircraft Cylinder & Turbine, Inc.                                 1
              6   Allen Foam Corporation                                            1
              7   Allen L Bender, Inc.                                              1
              8   Anzon Company                                                     1
              9   Appropriate Technologies II, Inc.                                 1
             10   Armor All Products Corporation                                    1
             11   Arrowhead Brass Products, Inc.                                    1
             12   Avery Dennison Corporation                                        1
             13   BC Laboratories, Inc.                                             1
             14   Bell Industries, Inc.                                             1
             15   Betterbilt Chemicals                                              1
             16   Bonanza Aluminum Corp.                                            1
             17   Bourns, Inc.                                                      1
             18   Bowen Printing, Inc.                                              1
             19   Broadway Stores, Inc.                                             1
             20   Building Materials Corporation of America / GAF                   1
             21   Burke Street LLC                                                  2
             22   Cabot Ceramics, Inc.                                              1
             23   CAL-AIR, INC.                                                     1
             24   California Department of Corrections and Rehabilitation           1
             25   California Mart                                                   1
             26   Calsonic North America, Inc.                                      1
             27   Canon Business Machines, Inc.                                     1
             28   CAState, Metropolitan State Hospital                              1
             29   Catholic Healthcare West                                          1
             30   Centre Properties Ltd.                                            1
             31   Ceradyne, Inc.                                                    1
             32   Chemical Waste Management, Inc.                                   1
             33   Cherokee International                                            1
             34   City of Carlsbad                                                  1
             35   City of Costa Mesa                                                1
             36   City of Irvine                                                    1
             37   City of Los Angeles, Department of Airports                       1
             38   City of Santa Barbara                                             1
             39   City of Santa Maria                                               1
             40   CoastCast Corporation                                             1
             41   College of The Desert                                             1
             42   County of San Bernardino                                          1
             43   Covidien                                                          1
             44   Datatronics Romoland, Inc.                                        1



                                                    1 of 5                                    4/6/2016
                                                   323                             Appendix D
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 333 of 347 Page ID #:367
                                                 Appendix D
                                          Settling Cash Defendants
                                                                     Associated Facility
       No.                                Entity Name                (See Footnote for
                                                                           Code)
             45   Del Mar Avionics                                           1
             46   Deutsch Engineered Connecting Devices, Inc.                1
             47   Dole Dried Fruit and Nut Company                           1
             48   Domestic Linen Supply Company, Inc.                        1
             49   Eastman Kodak Company                                      1
             50   Eaton Corporation                                          1
             51   El Paso Energy International Company                       1
             52   Elan Pharmaceuticals, Inc.                                 1
             53   Federal-Mogul Corporation                                  1
             54   Fort Kent Holdings, Inc.                                   1
             55   Fresno Unified School District                             1
             56   Gaiser Tool Co.                                            1
             57   Gambro, Inc.                                               1
             58   General Electric Company                                   1
             59   George Industries                                          1
             60   Giumarra Vineyards Corporation                             1
             61   Golden West Refining Company                               1
             62   Great Western Chemical Company                             1
             63   Greenbridge Technology, Inc.                               1
             64   GSF Energy LLC                                             1
             65   Hartwell Corporation                                       1
             66   Henkel Corporation                                         1
             67   Hilton Hotels Corporation                                  1
             68   HLM Labeling Incorporated                                  1
             69   Hubbell Inc. and Marvin Electric Mfg. Co., Inc.            1
             70   Huntington Park Rubber Stamp Co.                           1
             71   I Coat Company                                             1
             72   IMO Industries, Inc.                                       1
             73   Indalex Inc., d/b/a Columbia Pacific Aluminum              1
             74   Integrated Microelectronics, Inc. for AVX Corp.            1
             75   International Rectifier Corporation                        1
             76   ITT Corporation                                            1
             77   Ivy Hill Corporation                                       1
             78   Jan-Kens Enameling Company                                 1
             79   Johanson Dielectrics, Inc.                                 1
             80   K C Photo Engraving Company                                1
             81   Kester Solder Division, Litton Systems, Inc.               1
             82   Key Mechanical Service Company                             1
             83   Kolmar Laboratories, Inc.                                  1
             84   L.A. Supply Company, dba Label House                       1
             85   La Mirada Products Co., Inc.                               1
             86   Lansdale Semiconductor, Inc.                               1
             87   Lear Siegler Diversified Holding Corp.                     1
             88   Leucadia, Inc.                                             1



                                                    2 of 5                             4/6/2016
                                                      324                     Appendix D
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 334 of 347 Page ID #:368
                                             Appendix D
                                      Settling Cash Defendants
                                                                             Associated Facility
       No.                           Entity Name                             (See Footnote for
                                                                                   Code)
          89   LeVan Specialty Company, Inc.                                         1
          90   Lockheed Martin Librascope Corp.                                      1
          91   Loma Linda University                                                 1
          92   Los Angeles Unified School District                                   1
          93   Madison Industries                                                    1
          94   Martek Power Abbott, Inc.                                             1
          95   Maxon Industries, Inc.                                                1
          96   Maxwell Technologies, Inc.                                            1
          97   McGraw-Edison Company                                                 1
          98   Medeva Pharmaceuticals CA, Inc.                                       1
          99   Melles Griot, Inc.                                                    1
         100   Mico, Inc.                                                            1
         101   Minnesota Mining and Manufacturing (3M) Riker                         1
         102   Montgomery Tank Lines, Inc.                                           1
         103   MTI Engineering Corporation (Mituloyo American Corporation)           1
         104   NCR Corporation                                                       1
         105   New Hampshire Ball Bearings, Inc.                                     1
         106   Northrop Grumman Space & Mission Systems Corp.                        1
         107   Northrop Grumman Systems Corporation                                  1
         108   Novacap, Inc.                                                         1
         109   Ojai Manufacturing Technology, Inc.                                   1
         110   Omni Metal Finishing, Inc.                                            1
         111   Pacesetters Systems Inc./Siemens Corporation                          1
         112   Pacific Gas and Electric Company                                      1
         113   Petro Lock, Inc.                                                      1
         114   Pharmavite LLC                                                        1
         115   Pioneer Video Manufacturing Inc.                                      1
         116   PolyOne Corporation                                                   1
         117   Putzmeister Corporation                                               1
         118   Quad Chemical Corporation                                             1
         119   Quaker Chemical Corporation                                           1
         120   Quality Fabrication, Inc.                                             1
         121   Rathon Corp. (f/k/a Diversey)                                         1
         122   Reed & Graham, Inc.                                                   1
         123   Remet Corporation                                                     1
         124   Resinart Corporation                                                  1
         125   Ricoh Printing Systems America, Inc.                                  1
         126   Robinson Helicopter Company, Incorporated                             1
         127   Rockwell Collins Optronics, Inc.                                      1
         128   Rogers Corporation                                                    1
         129   Sears, Roebuck and Co.                                                1
         130   Shamrock Scientific Specialty Systems, Inc.                           1
         131   Shell Oil Company                                                     1
         132   Siemens Building Technologies, Inc. (fka MCC Powers)                  1



                                               3 of 5                                          4/6/2016
                                                 325                                     Appendix D
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 335 of 347 Page ID #:369
                                                Appendix D
                                         Settling Cash Defendants
                                                                                Associated Facility
       No.                               Entity Name                            (See Footnote for
                                                                                      Code)
           133   Sierracin Corporation                                                  1
           134   Southern California Edison Company                                     1
           135   Stadler Family Limited Partnership                                     2
           136   Structural Composites Industries, Inc.                                 1
           137   Superior Controls Co., Inc.                                            1
           138   Supracote, Inc.                                                        1
           139   Symmetricom, Inc.                                                      1
           140   TDY Industries, Inc.                                                   1
           141   Teledyne Technologies                                                  1
           142   Tension Envelope Corporation                                           1
           143   Teradyne Inc                                                           1
           144   Textron Inc.                                                           1
           145   The A&T Group, Inc.                                                    1
           146   The City of Whittier, California                                       1
           147   The Fairchild Corporation                                              1
           148   The Hertz Corporation                                                  1
           149   The May Department Stores Company                                      1
           150   Timemed Labeling Systems, Inc.                                         1
           151   Titan Corporation                                                      1
           152   Todd Pacific Shipyards Corporation                                     1
           153   Tribune Company                                                        1
           154   Tubing Seal Cap, Inc. Pacific Precision Metals, Inc.                   1
           155   Tyco Electronics                                                       1
           156   Tyoo International                                                     1
           157   United Parcel Service, Inc.                                            1
           158   University of Southern California (USC)                                1
           159   Valeant Pharmaceuticals International                                  1
           160   Valley Motor Center, Inc.                                              1
           161   Ventura Townehouse, Inc.                                               1
           162   Vertex Microwave Products, Inc.                                        1
           163   VIASYS Healthcare, Inc.                                                1
           164   W & B Marketing, Inc.                                                  1
           165   Warner-Lambert Company                                                 1
           166   Western Metal Decorating Co.                                           1
           167   Western Tube & Conduit Corporation                                     1
           168   Westmont College                                                       1
           169   Xard Corp.                                                             1
           170   Yellow Transportation, Inc.                                            1
           171   York International Corporation                                         1

    Facility Code
                 The Former Omega Chemical Recycling Facility located
          1      at 12512 and 12504 Whittier Blvd, Whittier, California 90603




                                                   4 of 5                                         4/6/2016
                                                      326                                   Appendix D
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 336 of 347 Page ID #:370
                                            Appendix D
                                     Settling Cash Defendants
                                                                                 Associated Facility
       No.                             Entity Name                                (See Footnote for
                                                                                        Code)
             Site A, a portion of the former Chrysler Nu‐Car Prep property as referenced in the
             August 2010 Operable Unit 2 Remedial Investigation Report Volume 1 (page 5‐18),
        2    located at 12128 Burke Street, Santa Fe Springs, California. Site A is approximately 4.6
             acres and consists of two parcels: APN 8168‐002‐418 and APN 8168‐002‐407.




                                               5 of 5                                              4/6/2016
                                                 327                                        Appendix D
 Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 337 of 347 Page ID #:371




1                                  Appendix E
2
                         List of Settling Work Defendants
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                       328
                                 CONSENT DECREE
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 338 of 347 Page ID #:372
                                         Appendix E
                                 Settling Work Defendants
                                                                 Associated Facility
                                Entity Name                      (See Footnote for
      No.                                                              Code)
       1    Alcoa Inc.                                                    1
       2    Alpha Therapeutic Corporation                                 1
       3    Applied Micro Circuits Corporation                            1
       4    Arlon Products Inc.                                           1
       5    Astro Aluminum Treating Co. Inc.                              1
       6    Atlantic Richfield Company                                    1
       7    BASF Corporation                                              1
       8    Baxter Healthcare Corporation                                 1
       9    Boeing Satellite Systems, Inc.                                1
      10    BP Amoco Chemical Company                                     1
      11    C.T.L. Printing Industries, Inc.                              1
      12    California Hydroforming Company, Inc.                         1
      13    Cintas Corporation (successor to Unitog Company)              1
      14    Columbia Showcase & Cabinet Company, Incorporated             1
      15    County of Los Angeles                                         1
      16    Crosby & Overton, Inc.                                        1
      17    Disney Enterprises Inc.                                       1
      18    FHL Group                                                     1
      19    Forenco, Inc.                                                 1
      20    General Dynamics Corporation                                  1
      21    GulfStream Aerospace Corporation                              1
      22    Hercules Incorporated                                         1
      23    Hexcel Corporation                                            1
      24    Hitachi Home Electronics (America), Inc.                      1
      25    Honeywell International Inc.                                  1
      26    Howmet Aluminum Casting, Inc.                                 1
      27    International Paper Company                                   1
      28    Johns Manville Celite Corporation                             1
      29    Kimberly Clark Worldwide Inc., Fullerton Mill                 1
      30    Kinder Morgan Liquids Terminals LLC                           1
      31    LA County MTA (So. California RTD)                            1
      32    Luxfer USA Limited by British Alcan Aluminum plc              1
      33    Masco Corporation of Indiana                                  1
      34    Mattel, Inc.                                                  1
      35    McDonnell Douglas Helicopter Company                          1
      36    McKesson Corporation                                          2
      37    Metropolitan Water District of Southern California            1
      38    NBCUniversal Media, LLC                                       1
      39    Pacific Bell Telephone Company                                1
      40    Pfizer Inc.                                                   1
      41    Pilkinton PLC                                                 1


                                          1 of 2                                   4/6/2016
                                           329                          Appendix E
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 339 of 347 Page ID #:373
                                               Appendix E
                                       Settling Work Defendants
                                                                                Associated Facility
                                      Entity Name                               (See Footnote for
      No.                                                                             Code)
      42      Quest Diagnostics Clinical Laboratories, Inc.                              1
      43      Raytheon Company                                                           1
      44      Robison Prezioso Inc.                                                      1
      45      Safety-Kleen Systems, Inc.                                                 1
      46      Schering Corporation                                                       1
      47      Scripto-Tokai Corporation                                                  1
      48      Sempra Energy Solutions                                                    1
      49      Signet Armorlite, Inc.                                                     1
      50      Soco West, Inc. as successor to Holchem, Inc.                              1
      51      Sonoco Products Company                                                    1
      52      Sparton Technology, Inc.                                                   1
      53      State of California DOT                                                    1
      54      Texaco                                                                     1
      55      Texas Instruments Incorporated                                             1
      56      Trane U.S. Inc.                                                            1
      57      The Boeing Company                                                         1
      58      The Dow Chemical Company                                                   1
      59      The Regents of the University of California                                1
      60      The Sherwin-Williams Company                                               1
      61      TriMas Corporation                                                         1
      62      Union Oil Company of California                                            1
      63      Univar Corporation Univar USA Inc.                                         1
      64      Universal City Studios LLC                                                 1
      65      Weber Aircraft Corporation                                                 1
      66      Yort, Inc.                                                                 1

    Facility Code
              Former Omega Chemical Recycling Facility located at 12512 and 12504 Whittier Blvd,
        1
              Whittier, California 90602
              The property located at 9005 Sorensen Avenue, Santa Fe Springs, California 90670, and
        2
              any facilities thereon




                                                 2 of 2                                            4/6/2016
                                                   330                                      Appendix E
 Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 340 of 347 Page ID #:374




1                                  Appendix F
2
                 List of Parties that Collectively Comprise OPOG
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                       331
                                 CONSENT DECREE
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 341 of 347 Page ID #:375
                                     Appendix F
                                   OPOG Members
              No.                        Entity Name
               1    Alcoa Inc.
               2    Alpha Therapeutic Corporation
               3    Applied Micro Circuits Corporation
               4    Arlon Products Inc.
               5    Astro Aluminum Treating Co. Inc.
               6    Atlantic Richfield Company
               7    BASF Corporation
               8    Baxter Healthcare Corporation
               9    Boeing Satellite Systems, Inc.
              10    BP Amoco Chemical Company
              11    C.T.L. Printing Industries, Inc.
              12    California Hydroforming Company, Inc.
              13    Cintas Corporation (successor to Unitog Company)
              14    Columbia Showcase & Cabinet Company, Incorporated
              15    County of Los Angeles
              16    Crosby & Overton, Inc.
              17    Disney Enterprises Inc.
              18    FHL Group
              19    Forenco, Inc.
              20    General Dynamics Corporation
              21    GulfStream Aerospace Corporation
              22    Hercules Incorporated
              23    Hexcel Corporation
              24    Hitachi Home Electronics (America), Inc.
              25    Honeywell International Inc.
              26    Howmet Aluminum Casting, Inc.
              27    International Paper Company
              28    Johns Manville Celite Corporation
              29    Kimberly Clark Worldwide Inc., Fullerton Mill
              30    Kinder Morgan Liquids Terminals LLC
              31    LA County MTA (So. California RTD)
              32    Luxfer USA Limited by British Alcan Aluminum plc
              33    Masco Corporation of Indiana
              34    Mattel, Inc.
              35    McDonnell Douglas Helicopter Company
              36    Metropolitan Water District of Southern California
              37    NBCUniversal Media, LLC
              38    Pacific Bell Telephone Company
              39    Pfizer Inc.
              40    Pilkinton PLC
              41    Quest Diagnostics Clinical Laboratories, Inc.
              42    Raytheon Company


                                        1 of 2                                    4/6/2016
                                         332                             Appendix F
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 342 of 347 Page ID #:376
                                       Appendix F
                                     OPOG Members
              No.                          Entity Name
              43    Robison Prezioso Inc.
              44    Safety-Kleen Systems, Inc.
              45    Schering Corporation
              46    Scripto-Tokai Corporation
              47    Sempra Energy Solutions
              48    Signet Armorlite, Inc.
              49    Soco West, Inc. as successor to Holchem, Inc.
              50    Sonoco Products Company
              51    Sparton Technology, Inc.
              52    State of California DOT
              53    Texaco
              54    Texas Instruments Incorporated
              55    Trane U.S. Inc.
              56    The Boeing Company
              57    The Dow Chemical Company
              58    The Regents of the University of California
              59    The Sherwin-Williams Company
              60    TriMas Corporation
              61    Union Oil Company of California
              62    Univar Corporation Univar USA Inc.
              63    Universal City Studios LLC
              64    Weber Aircraft Corporation
              65    Yort, Inc.




                                          2 of 2                            4/6/2016
                                            333                     Appendix F
 Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 343 of 347 Page ID #:377




1                                  Appendix G
2
         List of Certain Noticed PRPs (Subject to Cost-Sharing Provisions)
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                      334
                                 CONSENT DECREE
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 344 of 347 Page ID #:378
                                               Appendix G
                                           Certain Noticed PRPs

  11756 Burke Street, Santa Fe Springs, CA 90670

                Pilot Chemical Company

  11845 Burke Street, Santa Fe Springs, CA 90670

                Bodycote Thermal Processing, Inc.

  11862 Burke Street, Santa Fe Springs, CA 90670

                Claudette Earl (if this party does not sign an “Ability to Pay” Agreement with EPA)
                Earl Mfg, Co. Inc. (if this party does not sign an “Ability to Pay” Agreement with EPA)

  11920 E. Washington Blvd, Whittier, CA 90606

                Mission Linen Supply

  12128 Burke Street, Santa Fe Springs, CA 90670

                Burke Street LLC
                Palmtree Acquisition Corporation

  8140 Secura Way, Santa Fe Springs, CA 90670

                Foss Plating Company, Inc. (if this party does not sign an “Ability to Pay” Agreement with
                 EPA)

  8851 Dice Road, Santa Fe Springs, CA 90670

                First Dice Road Company, A California Limited Partnership
                Phibro‐Tech, Inc.
                Union Pacific Railroad Company

  10643 Norwalk Blvd, Santa Fe Springs, CA 90670

                Continental Heat Treating, Inc.

  10628 Fulton Wells & 10629 Norwalk Bvld, Santa Fe Springs, CA 90670

                Exxon Mobil Oil Corporation




                                                   335                             Appendix G
 Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 345 of 347 Page ID #:379




1                                  Appendix H
2
                 CERCLA Performance Guarantee Sample Letter
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                      336
                                 CONSENT DECREE
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 346 of 347 Page ID #:380




                                        APPENDIX H
                         CERCLA Performance Guarantee Sample Letter
                               [To be printed on Settling Defendant letterhead]


  [Insert date]

  EPA Regional Financial Management Officer
  U.S. EPA Region 9
  75 Hawthorne Street
  San Francisco, CA. 94105

  Dear EPA Regional Financial Management Officer:

  I am the chief financial officer of [insert name of Settling Defendant] (“the Company”). This letter is in
  support of the Company’s use of a financial test to demonstrate financial assurance of the obligations of
  the Company under Section IX, paragraph 21.f, of the Consent Decree regarding Operable Unit 2 at the
  Omega Chemical Corporation Superfund Site, entered pursuant to the Comprehensive Environmental
  Response, Compensation, and Liability Act of 1980 (CERCLA), 42 U.S.C. §§ 9601‐1975 (“the Consent
  Decree”). This letter confirms the Company’s satisfaction of certain financial criteria that makes the
  Company eligible to utilize the financial test as financial assurance under the Consent Decree. I hereby
  certify that our company fulfills the requirement of 40 C.F.R. [select either § 264.143(f)(1)(i) or §
  264.143(f)(1)(ii)]

  All necessary relevant information supporting this certification is attached to the letter. This includes:

         A copy of the Company’s 10‐K report submitted to the Securities and Exchange Commission,
          which includes:
              o   A copy of a letter signed by our chief financial officer certifying the integrity and
                  accuracy of the financial data, as required pursuant to the Sarbanes‐Oxley Act of 2002,
                  15 U.S.C. § 7241, and ,
              o   A copy of our independent certified public accountant’s report for the latest completed
                  fiscal year which provides the necessary information to support our certification.

         [If certification under § 264.143(f)(1)(ii) is selected, add the following language:] a report,
          including a printout from ratings available online from the Standard and Poor’s or Moody’s
          rating services, indicating the Company’s current bond rating.

  The dollar amount of financial assurance required by paragraph 21 of the Consent Decree is $70 million
  of financial assurance plus the amount of any other federal or state environmental obligations
  financially assured through the use of a financial test or guarantee. For the Company, the total amount
  of such other federal or state environmental obligations is [fill in total dollar value for other applicable



                                                      337                                  Appendix H
Case 2:16-cv-02696-GW-E Document 4-1 Filed 04/20/16 Page 347 of 347 Page ID #:381



  environmental obligations]. The total aggregate amount covered by this financial assurance letter is
  [fill in total amount of performance guarantee].

  I hereby certify that, to the best of my knowledge after thorough investigation, the information
  contained in this letter and its attachments is true, accurate, and complete.

  By [signature]: __________________
  Printed name: __________________
  Title:          __________________
  Address:        __________________
  Email:         __________________
  Date:          __________________




  Cc:
  EES Case Management Unit
  Wayne Praskins
  Deborah Gitin
  Don Indermill




                                                      338                             Appendix H
